Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TechShop, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  274 Redwood Shores Parkway, Suite 275
                                  Redwood City, CA 94065
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  San Mateo                                                      Location of principal assets, if different from principal
                                  County                                                         place of business
                                                                                                 38 S 2nd St, San Jose, CA 95113 San Jose, CA
                                                                                                 95113
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.techshop.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                Case: 18-50398              Doc# 1        Filed: 02/26/18 Entered: 02/26/18 17:48:40                              Page 1 of
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                                                      1568
Debtor    TechShop, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                332710

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                    Relationship
                                                 District                                 When                             Case number, if known




                 Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                                   Page 2 of
Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                                                         1568
Debtor   TechShop, Inc.                                                                            Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




                Case: 18-50398              Doc# 1          Filed: 02/26/18 Entered: 02/26/18 17:48:40                                Page 3 of
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                                        1568
Debtor    TechShop, Inc.                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 26, 2018
                                                  MM / DD / YYYY


                             X   /s/ Daniel Woods                                                         Daniel Woods
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Matthew D. Metzger                                                    Date February 26, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew D. Metzger 240437
                                 Printed name

                                 Belvedere Legal, PC
                                 Firm name

                                 1777 Borel Place, Suite 314
                                 San Mateo, CA 94402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     415-513-5980                  Email address      info@belvederelegal.com

                                 240437
                                 Bar number and State




                 Case: 18-50398            Doc# 1          Filed: 02/26/18 Entered: 02/26/18 17:48:40                                Page 4 of
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                                                       1568
 Fill in this information to identify the case:

 Debtor name         TechShop, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 26, 2018                       X /s/ Daniel Woods
                                                                       Signature of individual signing on behalf of debtor

                                                                       Daniel Woods
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy




               Case: 18-50398                    Doc# 1              Filed: 02/26/18 Entered: 02/26/18 17:48:40                 Page 5 of
                                                                                 1568
 Fill in this information to identify the case:

 Debtor name            TechShop, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        6,219,101.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,219,101.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       21,322,465.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           450,351.38

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       16,276,908.45


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         38,049,724.83




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                Case: 18-50398                             Doc# 1                Filed: 02/26/18 Entered: 02/26/18 17:48:40                                                            Page 6 of
                                                                                             1568
 Fill in this information to identify the case:

 Debtor name         TechShop, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Chase Bank

                    Location:
                    JPMorgan Chase Bank
           3.1.     845 Laurel St, San Carlos, CA 94070                      Checking                       4104                                             $0.00


                    Chase Bank
                    Location:
                    JPMorgan Chase Bank
           3.2.     845 Laurel St, San Carlos, CA 94070                      Checking                       6080                                     $3,778.36



                    Location:
                    First National Bank of Omaha                             Escrow Account as
                    1620 Dodge Street                                        Collateral for Credit
           3.3.     Omaha, NE 68197                                          Card Balances                  7720                                  $192,764.39



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $196,542.75
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case: 18-50398                    Doc# 1              Filed: 02/26/18 Entered: 02/26/18 17:48:40                        Page 7 of
                                                                                 1568
 Debtor           TechShop, Inc.                                                                 Case number (If known)
                  Name



        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Security deposit

           7.1.     Location: balance sheet                                                                                                    $1,684.46



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                $1,684.46
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                    0.00   -                                 0.00 = ....                         $0.00
                                              face amount                          doubtful or uncollectible accounts




           11b. Over 90 days old:                               105,747.00     -                                0.00 =....                  $105,747.00
                                              face amount                          doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                             $105,747.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                          Valuation method used    Current value of
                                                                                                          for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     TechShop Menlo Park, LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.1.     Location: lost leasehold interest                               100%         %       N/A                                        $1.00


                     TechShop San Jose, LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.2.     Location: lost leasehold interest                               100          %       N/A                                        $1.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
               Case: 18-50398                    Doc# 1              Filed: 02/26/18 Entered: 02/26/18 17:48:40                   Page 8 of
                                                                                 1568
 Debtor         TechShop, Inc.                                                               Case number (If known)
                Name



                     TechShop SOMA, LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.3.     Location: lost leasehold interest                              100       %      N/A                               $1.00


                     TechShop Phoenix, LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.4.     Location: lost leasehold interest                              100       %      N/A                               $1.00


                     TechShop Arlington, LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.5.     Location: lost leasehold interest                              100       %      N/A                               $1.00


                     TechShop Austin, LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.6.     Location: lost leasehold interest                              100       %      N/A                               $1.00


                     TechShop DetroitLLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.7.     Location: lost leasehold interest                              100       %      N/A                               $1.00


                     TechShop Pittsburgh,LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.8.     Location: lost leasehold interest                              100       %      N/A                               $1.00


                     TechShop Brooklyn, LLC
                     book value: liabilities exceed assets. Thus
                     valued at $1.
           15.9.     Location: lost leasehold interest                              100       %      N/A                               $1.00


                 TechShop Los AngelesLLC
                 book value: liabilities exceed assets. Thus
           15.10 valued at $1.
           .     Location: lost leasehold interest                                  100       %      N/A                               $1.00


                 TechShop St. Louis, LLC
                 book value: liabilities exceed assets. Thus
           15.11 valued at $1.
           .     Location: lost leasehold interest                                  100       %      N/A                               $1.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                      $11.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
               Case: 18-50398                    Doc# 1              Filed: 02/26/18 Entered: 02/26/18 17:48:40       Page 9 of
                                                                                 1568
 Debtor         TechShop, Inc.                                                                 Case number (If known)
                Name

18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                 Net book value of      Valuation method used    Current value of
                                                                               debtor's interest      for current value        debtor's interest
                                                                               (Where available)

 39.       Office furniture
           Miscelleanous furniture

           Location: various Techshop LLC subsidiaries                                   $4,243.52    Tax records                          $4,243.53



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers

           Location: various Techshop LLC subsidiaries                                 $26,329.48     Tax records                        $26,329.48


           Software

           Location: various Techshop LLC subsidiaries                                $420,784.44     Tax records                       $420,784.44



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $451,357.45
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40               Page 10 of
                                                                                  1568
 Debtor         TechShop, Inc.                                                                 Case number (If known)
                Name

            General description                                                Net book value of      Valuation method used    Current value of
            Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
            (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    1 work van ($1,000)
                     1 trailer - Fujitsu trailer (depreciated
                     value of $10,000)                                                 $11,000.00     Comparable sale                    $11,000.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Miscelleanous Machinery:

            Location: various Techshop LLC subsidiaries                                $49,543.84     Tax records                        $49,543.84




 51.        Total of Part 8.                                                                                                         $60,543.84
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used    Current value of
                                                                               debtor's interest      for current value        debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            TECHSHOP trademarks

            Location: United States Patent and
            Trademarket Office                                                      $5,000,000.00     Comparable sale                 $5,000,000.00



 61.        Internet domain names and websites



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40               Page 11 of
                                                                                  1568
 Debtor         TechShop, Inc.                                                               Case number (If known)
                Name

            www.techshop.com, www.techshop.ws
            (fair market value already included in
            trademark valuations listed hereinbove. Thus,
            token value of $1 is here)

            Location: www.techshop.com,
            www.techshop.ws internet registrar                                              $1.00    N/A                                      $1.00



 62.        Licenses, franchises, and royalties
            Adeo - Prepaid licensing terms

            Location: balance sheet                                                  $341,215.00     Tax records                     $341,215.00



 63.        Customer lists, mailing lists, or other compilations
            CRM system contains contains customer list.
            Value is uncertain/$0.
            Location: CRM System                                                            $0.00    N/A                                      $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Intangible assets

            Location: Balance Sheet                                                   $61,997.50     Tax records                      $61,997.50




 66.        Total of Part 10.                                                                                                   $5,403,213.50
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40         Page 12 of
                                                                                  1568
 Debtor         TechShop, Inc.                                                               Case number (If known)
                Name



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Techshop, Inc. v. Dan Rasure, Techshop 2.0, LLC,
           Techshop 2.0 San Francisco, LLC

           Location: U.S. District Court, Northern District of CA
           (Oakland Division)
           Case No: 4:18-cv-01044-DMR
           Value of lawsuit at this point is illiquid and contains, in
           the very least the value of $5,000,000, as listed in the
           Debtor's valuation of the Trademarks, and all demands
           contained in the case including but not limited to
           damages, punitive damages, pre and post-judgment
           interest, and attorney's fees and costs. See # 60.
           Value here listed at $1 to not double-count value.                                                                    Unknown
           Nature of claim           Tradermark Infringement Action
           Amount requested                       See Complaint.



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Equitable claim against Techshop Global, Ltd.
           Early agreement gave TechShop, Inc. an interest in
           TechShop Global, held by Mr. Paul Dugan, on behalf of
           TechShop Inc., after the formation of TechShop Global,
           as an entity, in Ireland. Value and merits of claim are
           uncertain.

           Techshop Global, Ltd. is/was a value added re-seller
           that represented all TechShop assets and services
           internationally - outside North Ameria).

           Location:
           Techshop Global Ltd.
           Attn: Paul Dugan, CEO/ Current Officer
           Office FD-222
           Incubator Building
           Masdar City
           Abu Dhabi
           United Arab Emirates                                                                                                        $1.00




 78.       Total of Part 11.                                                                                                        $1.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40       Page 13 of
                                                                                  1568
 Debtor          TechShop, Inc.                                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $196,542.75

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $1,684.46

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $105,747.00

 83. Investments. Copy line 17, Part 4.                                                                                    $11.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $451,357.45

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $60,543.84

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $5,403,213.50

 90. All other assets. Copy line 78, Part 11.                                                    +                           $1.00

 91. Total. Add lines 80 through 90 for each column                                                         $6,219,101.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,219,101.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
               Case: 18-50398                      Doc# 1              Filed: 02/26/18 Entered: 02/26/18 17:48:40                                        Page 14 of
                                                                                    1568
 Fill in this information to identify the case:

 Debtor name         TechShop, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim              Value of collateral
                                                                                                                                                 that supports this
                                                                                                                    Do not deduct the value      claim
                                                                                                                    of collateral.
 2.1   Autodesk, Inc                                  Describe debtor's property that is subject to a lien             $18,628,425.00               $6,208,101.00
       Creditor's Name                                Blanket UCC lien on all assets; subject to
       Attn: Andrew Anagnost,                         verification re perfection of security status.
       CEO /
       Other Current Officer
       111 Mcinnis Pkway
       San Rafael, CA 94903
       Creditor's mailing address                     Describe the lien
                                                      UCC Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Lowe's Companies, Inc                          Describe debtor's property that is subject to a lien               $2,694,040.00              $6,208,101.00
       Creditor's Name                                Blanket UCC lien on all assets; subject to
       Attn: Robert Alan Niblock,                     verification re perfection of security status.
       CEO /
       Other Current Officer
       1000 Lowe's Blvd NB4TA
       Mooresville, NC 28117-8520
       Creditor's mailing address                     Describe the lien
                                                      UCC Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
              Case: 18-50398                      Doc# 1             Filed: 02/26/18 Entered: 02/26/18 17:48:40                               Page 15 of
                                                                                  1568
 Debtor       TechShop, Inc.                                                                           Case number (if know)
              Name


        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        San Mateo County Tax
 2.3                                                                                                                             Unknown         $6,208,101.00
        Collector                                     Describe debtor's property that is subject to a lien
        Creditor's Name

        555 County Center
        Redwood City, CA 94063
        Creditor's mailing address                    Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $21,322,465.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case: 18-50398                       Doc# 1            Filed: 02/26/18 Entered: 02/26/18 17:48:40                           Page 16 of
                                                                                  1568
 Fill in this information to identify the case:

 Debtor name         TechShop, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        741-BRO-6459 -ST;
                                                          741-BRO-5202;
                                                          741-BRO-6457;
                                                          741-BRO-5202;
                                                          including 3D printers,
                                                          milling machines and
                                                          much more across
                                                          multiple locations.
                  State the term remaining                                             Banc of California N.A.
                                                                                       Attn: Current Corporate Officer
             List the contract number of any                                           18500 Von Karman Ave. Suite 1100
                   government contract                                                 Irvine, CA 92612


 2.2.        State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        25398522-ST,
                                                          FTC96296, including
                                                          computers,network
                                                          equipment and much
                                                          more across multiple
                                                          locations.
                  State the term remaining                                             De Lage Landen Financial Services
                                                                                       Attn: Current Corporate Officer
             List the contract number of any                                           1111 Old Eagle School Road
                   government contract                                                 Wayne, PA 19087


 2.3.        State what the contract or                   Notice only, originating
             lease is for and the nature of               agent/broker of many
             the debtor's interest                        of the attached leases.

                  State the term remaining                                             Fidelity Capital
                                                                                       Attn: Current Corporate Officer
             List the contract number of any                                           19600 Fairchild Road, Suite 120
                   government contract                                                 Irvine, CA 92612




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                  Page 17 of
                                                                                  1568
 Debtor 1 TechShop, Inc.                                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.4.        State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contract
             the debtor's interest                        24825-ST including
                                                          Universal lasers and
                                                          more across multiple
                                                          locations.
                  State the term remaining                                            First Lease
                                                                                      Attn: Current Corporate Officer
             List the contract number of any                                          1300 Virginia Drive, Suite 400
                   government contract                                                Fort Washington, PA 19034


 2.5.        State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        8749756001 for Flow
                                                          Systems Waterjet            General Electric Capital Corporation
                  State the term remaining                                            Attn: Current Corporate Officer
                                                                                      3333 HESPER ROAD
             List the contract number of any                                          Dept. of Contracts
                   government contract                                                BILLINGS, MT 59107


 2.6.        State what the contract or                   Fujitsu partnership
             lease is for and the nature of               agreement.
             the debtor's interest
                                                                                      Hiroyuki Sakai
                  State the term remaining                                            EVP, Head of Global Marketing United
                                                                                      Fujitsu Limited, 1-1, Kamikodanaka 4-cho
             List the contract number of any                                          Nkahara-ku, Kawasaki 211-8588
                   government contract                                                JAPAN


 2.7.        State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        1352360-001 for
                                                          Universal lasers,
                                                          powder coating booths
                                                          and more across
                                                          multiple locations.
                  State the term remaining                                            LCA Bank
                                                                                      Attn: Current Corporate Officer
             List the contract number of any                                          3150 Livernois Suite 300
                   government contract                                                Troy, MI 48083


 2.8.        State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        0006-329858 for
                                                          bandsaw, vertical
                                                          machining center, 3D
                                                          printer and more
                                                          across multiple
                                                          locations.
                  State the term remaining                                            Leaf Capital
                                                                                      Attn: Current Corporate Officer
             List the contract number of any                                          2005 Market Street, 14th Flr
                   government contract                                                Philadelphia, PA 19103
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40              Page 18 of
                                                                                  1568
 Debtor 1 TechShop, Inc.                                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease



 2.9.        State what the contract or                   facility agreement with
             lease is for and the nature of               New York City
             the debtor's interest                        Economic Development
                                                          Corp.
                  State the term remaining                                            New York City Economic Development Corp
                                                                                      Attn: Current officer
             List the contract number of any                                          110 William Street
                   government contract                                                New York, NY 10038


 2.10.       State what the contract or                   TechShop, Inc. -
             lease is for and the nature of               TechSchop Global
             the debtor's interest                        Nominee Agreeement

                  State the term remaining                                            Paul Duggan
                                                                                      340 Route des Belhiardes
             List the contract number of any                                          St. Jorioz, 74410
                   government contract                                                FRANCE


 2.11.       State what the contract or                   TechShop, Inc. and
             lease is for and the nature of               TechShop Global
             the debtor's interest                        licensing agreement

                  State the term remaining                                            Paul Duggan
                                                                                      340 Route des Belhiardes
             List the contract number of any                                          St Jorioz, 74410
                   government contract                                                FRANCE


 2.12.       State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        2017020960 for Laser,
                                                          3D printer, storage
                                                          cages and more across
                                                          multiple locations.
                  State the term remaining                                            Pawnee Leasing
                                                                                      Attn: Current Corporate Officer
             List the contract number of any                                          3801 Automation Way Suite 207
                   government contract                                                Fort Collins, CO 80525


 2.13.       State what the contract or                   TechShop Global
             lease is for and the nature of               licensing agreement.
             the debtor's interest

                  State the term remaining                                            Shams Hameed
                                                                                      Program Manager, Dept. of Education and
             List the contract number of any                                          P.O. Box No. 36005
                   government contract                                                UNITED ARAB EMIRATES




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40           Page 19 of
                                                                                  1568
 Debtor 1 TechShop, Inc.                                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.14.       State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        72872 - ST,US30408-
                                                          ST, US30438 and 70800
                                                          for 3D printers across
                                                          multiple locations.
                  State the term remaining                                            Stratasys, Inc.
                                                                                      Attn: Current Corporate Officer
             List the contract number of any                                          7665 Commerce Way
                   government contract                                                Eden Prairie, MN 55344-2020


 2.15.       State what the contract or                   Lease finance
             lease is for and the nature of               equipment: contracts
             the debtor's interest                        106519, 106797, 106641
                                                          for computers, network
                                                          equipment and more
                                                          across multiple
                                                          locations.
                  State the term remaining                                            Summit Funding Group, Inc
                                                                                      Attn: Current Corporate Officer
             List the contract number of any                                          4680 Parkway Drive, Suite 300
                   government contract                                                Mason, OH 45040




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 4 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40           Page 20 of
                                                                                  1568
 Fill in this information to identify the case:

 Debtor name         TechShop, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                        Name                       Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                       State      Zip Code




Official Form 206H                                                                Schedule H: Your Codebtors                                  Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40               Page 21 of
                                                                                  1568
 Fill in this information to identify the case:

 Debtor name         TechShop, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                             $2,069,189.73
       From 1/01/2017 to 12/31/2017                                                                      Techshop Inc. Gross
                                                                                                   Other Revenue


       For year before that:                                                                       Operating a business                             $1,952,679.31
       From 1/01/2016 to 12/31/2016                                                                      Techshop Inc. Gross
                                                                                                   Other Revenue

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                          Page 22 of
                                                                                  1568
 Debtor       TechShop, Inc.                                                                            Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attachments A (individuals)                                                       See Attachment

       4.2.    See Attachment B (LLCs)                                                               See Attachment


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       New York City Economic                                    Equipment tools, computer, furniture.                         Nov 17, 2017              $500,000.00
       Development Corp
       Attn: Current officer
       110 William Street
       New York, NY 10038


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Trustee of Patrick W. and                         Re alleged breach          American Arbitration                         Pending
               Lynne McClure Trust v.                            of promissory              Association                                  On appeal
               Techshop, Inc.                                    note                       Western Case Management                      Concluded
               Case 01-16-0004-4125                                                         Center
                                                                                            45 E River Park Place West,
                                                                                            Suite 308
                                                                                            Fresno, CA 93720




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                             Page 23 of
                                                                                  1568
 Debtor       TechShop, Inc.                                                                            Case number (if known)



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.2.    David Bruce Curtis & Shelley                      Re alleged breach         American Arbitration                        Pending
               Smith Curtis V. TechShop,                         of promissory             Association                                 On appeal
               Inc. formerly TechShop, LLC                       note                      Western Case Management                     Concluded
               Case 01-17-0004-1418                                                        Center
                                                                                           45 E River Park Place West,
                                                                                           Suite 308
                                                                                           Fresno, CA 93720

       7.3.    Christensen and Leake v.                          Re alleged breach         Arbitration                                 Pending
               Techshop, Inc.                                    of promissory             ADR Services, Inc.                          On appeal
               ADRS Case No. 17-4121 CHL                         note                      100 First Street                            Concluded
                                                                                           17th Street
                                                                                           San Francisco, CA 94105

       7.4.    BHL Services, Inc. V.                             Lawsuit involving         Santa Clara County                          Pending
               TechShop San Jose LLC and                         breach of contract        Superior Court                              On appeal
               TechShop LLC                                      pertaining to             191 N 1st St.                               Concluded
               17CV317886                                        construction of           San Jose, CA 95113
                                                                 TechShop San
                                                                 Jose

       7.5.    Brendan Flicker v. TechShop                       Personal Injury           Common Pleas Court                          Pending
               Inc., et. al                                      Claim                     Allegheny County, PA                        On appeal
               No. GD 16-16985                                                             414 Grant St.                               Concluded
                                                                                           Pittsburgh, PA 15219

       7.6.    Techshop, Inc. v. Rasure et al.                   Trademark                 U.S. District Court                         Pending
               4:18-cv-01044-DMR                                 Infringement              California Northern District                On appeal
                                                                                           (Oakland)                                   Concluded
                                                                                           1301 Clay Street
                                                                                           Oakland, CA 94612


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                          Page 24 of
                                                                                  1568
 Debtor        TechShop, Inc.                                                                               Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                          If not money, describe any property transferred          Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    Belvedere Legal, PC
                1777 Borel Place, Suite 314
                San Mateo, CA 94402                                                                                            11/14/2017             $30,000.00

                Email or website address
                www.belvederelegal.com

                Who made the payment, if not debtor?




       11.2.    Early Growth Financial
                Services, Inc.
                2033 Gateway Place, 5th floor
                San Jose, CA 95110                                                                                                                      $6,500.00

                Email or website address
                https://earlygrowthfinancialservices
                .com/

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                        Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer         Total amount or
               Address                                           payments received or debts paid in exchange                was made                       value




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
               Case: 18-50398                   Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                             Page 25 of
                                                                                  1568
 Debtor        TechShop, Inc.                                                                           Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer             Total amount or
               Address                                           payments received or debts paid in exchange             was made                           value
       13.1                                                      Sale of use of TechShop brand name in
       .                                                         the country of France to Adeo Groupe,
                                                                 received $1,000,000 from Adeo Groupe in
                                                                 exchange.

               Adeo Groupe                                       Receipients were two (2) Licenses: 1)
               Attn: Philippe Zimmerman,                         Adeo Groupe (above) and 2) Leroy Merlin
               CEO                                               France
               135 rue Sadi Carnot CS 00001                      Attn: Thomas Bouret
               59790 Ronchin                                     Rue Chanzy
               FRANCE                                            59 260 Lezennes, France                                 January 2017               $1,000,000.00

               Relationship to debtor
               third party


       13.2 James Newton
       .    524 Keelson Circle,                                  purchased 2011 Ford Explorer from                       November
               Redwood City, CA 94065                            TechShop, Inc.                                          2017                            $8,075.00

               Relationship to debtor
               President


       13.3 Mark Hatch
       .    390 W. Columbia Road                                                                                         2/3/2017 -
               Thousand Oaks, CA 94025                           severance pay to former CEO.                            8/18/2017                     $42,832.89

               Relationship to debtor
               Former CEO of TechShop


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     38 S. 2nd Street                                                                                          12/2/2013 to 2/13/2018
                 San Jose, CA 95113

       14.2.     120 Independence Drive                                                                                    9/30/2006 - 12/1/2013
                 Menlo Park, CA 94025

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
               Case: 18-50398                   Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                          Page 26 of
                                                                                  1568
 Debtor      TechShop, Inc.                                                                             Case number (if known)




16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  TechShop, Inc. member data is stored in the Customer Relationship
                  Management (CRM) system. The CRM database includes contact
                  information (PII) and operational data linked to each specific member
                  (eg, membership type, start and end dates, training records, etc). The
                  operational data is not PII, because unless it is associated with a
                  specific member, it does not allow a person to be identified.
                  Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    TechShop, Inc. Employees Savings Trust                                                     EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                         Names of anyone with               Description of the contents          Do you still
                                                                       access to it                                                            have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                       Names of anyone with               Description of the contents          Do you still
                                                                       access to it                                                            have it?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                          Page 27 of
                                                                                  1568
 Debtor      TechShop, Inc.                                                                             Case number (if known)



       Facility name and address                                       Names of anyone with               Description of the contents        Do you still
                                                                       access to it                                                          have it?
       RBC, LLC                                                        RBC, LLC and Debtor.               Misc tools and equipment               No
       6800 Redeker Place                                                                                                                        Yes
       Newark, CA 94560



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                        Location of the property           Describe the property                           Value
       Customers may have items &tools                                 Techshop San Jose, LLC                                                       Unknown
       on-site                                                         38 S. 2nd Stret
                                                                       San Jose, CA 95113


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                 Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known    Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known    Date of notice
                                                                       address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 28 of
                                                                                  1568
 Debtor      TechShop, Inc.                                                                             Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    TechShop Arlington, LLC                          TechShop Arlington, LLC --                       EIN:         XX-XXXXXXX
             2100-B Crystal Dr.                               Arlington, VA Location
             Arlington, VA 22202                                                                               From-To      6/18/2012- 11/15/2017

    25.2.    TechShop Austin, LLC                             TechShop Austin, LLC, - Austin,                  EIN:         XX-XXXXXXX
             120 Sundance Pkwy, Ste 350                       TX Location
             Round Rock, TX 78681                                                                              From-To      1/31/2012 - 11/15/2017

    25.3.    TechShop Detroit LLC                             TechShop Detroit LLC - Detroit, MI               EIN:         XX-XXXXXXX
             800 Republic Dr.,                                location
             Allen Park, MI 48101                                                                              From-To      8/26/2010 - 11/15/2017

    25.4.    TechShop Menlo Park LLC                          TechShop Menlo Park LLC -                        EIN:         XX-XXXXXXX
             345 Shoreway Rd.                                 Mid-Peninsula Location
             San Carlos, CA 94070                                                                              From-To      11/30/2010-11/15/2017

    25.5.    TechShop Phoenix, LLC,                           Techshop Phoenix, LLC -                          EIN:         XX-XXXXXXX
             249 E Chicago St.                                Phoenix,, AZ location
             Chandler, AZ 85225                                                                                From-To      8/1/2012 - 11/15/2017

    25.6.    TechShop Pittsburgh, LLC                         TechShop Pittsburgh, LLC -                       EIN:         XX-XXXXXXX
             192 Bakery Square Blvd                           Pittsburgh, PA location
             Pittsburgh, PA 15206                                                                              From-To      4/30/2012 - 11/17/2017

    25.7.    Techshop San Jose, LLC                           Techshop San Jose, LLC - San                     EIN:         XX-XXXXXXX
             300 S 2nd St.                                    Jose location
             San Jose, CA 95113                                                                                From-To      6/16/2010 - 11/15/2017

    25.8.    Techshop SOMA, LLC                               Techshop SOMA, LLC - San                         EIN:         XX-XXXXXXX
             303 Mission St.                                  Francisco location
             San Francisco, CA 94105                                                                           From-To      1/14/2010 - 11/15/2017

    25.9.    TechShop Los Angeles, LLC                        TechShop Los Angeles, LLC - Los                  EIN:         XX-XXXXXXX
             3940 Laurel Canyon Blvd                          Angeles location
             #228                                                                                              From-To      never opened.
             Studio City, CA 91604

    25.10 TechShop Brooklyn LLC                               TechShop Brooklyn LLC -                          EIN:         XX-XXXXXXX
    .                                                         Brooklyn, NY location
             140 58th St.
             Brooklyn, NY 11220                                                                                From-To      Q3/Q4 2017 (start and end)

    25.11 Techshop St. Louis                                  TechShop St. Louis location                      EIN:         XX-XXXXXXX
    .
             4260 Forest Park Ave.
             Saint Louis, MO 63108                                                                             From-To      - 11/15/2017


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                              Page 29 of
                                                                                  1568
 Debtor      TechShop, Inc.                                                                             Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Anurag Pal                                                                                                           1/2012-11-2017
                    Escalon Services
                    2345 Yale Street, 1st Floor
                    Palo Alto, CA 94306
       26a.2.       Mike Hilberman                                                                                                       12/2014-10-2017
                    Early Growth Financial Services
                    2033 Gateway Pl.
                    San Jose, CA 95110
       26a.3.       Diane Hakanson                                                                                                       4/2013 - 10/2017
                    Early Growth Financial Services
                    2033 Gateway Pl
                    San Jose, CA 95110

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Matt Price
                    Frank Rimmerman & Co.
                    1801 Page Mill road
                    Palo Alto, CA 94304

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Escalon Services
                    2345 Yale Street, 1st Floor
                    Palo Alto, CA 94306
       26c.2.       Early Growth Financial Services
                    2033 Gateway Pl.
                    San Jose, CA 95110

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 30 of
                                                                                  1568
 Debtor      TechShop, Inc.                                                                             Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Daniel Woods                                   312 Laurel Way                                      Chief Executive Officer               no shares
                                                      Mill Valley, CA 94941                                                                     owned.
                                                                                                                                                Stock Option
                                                                                                                                                Grants:

                                                                                                                                                300,000
                                                                                                                                                Options
                                                                                                                                                commenceme
                                                                                                                                                nt date:
                                                                                                                                                1/26/12
                                                                                                                                                65,625
                                                                                                                                                Options
                                                                                                                                                commenceme
                                                                                                                                                nt date:
                                                                                                                                                11/15/12
                                                                                                                                                100,000
                                                                                                                                                Options
                                                                                                                                                commenceme
                                                                                                                                                nt date: 1/1/15
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James Newton                                   524 Keelson Cir.                                    Chairman of the Board of              34.74 percent
                                                      Redwood City, CA 94065                              Directors                             (9,000,000
                                                                                                                                                shares)
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Doug Busch                                     2795 Horse-N-Round Lane                             Board Member                          .62% interest
                                                      Penryn, CA 95663                                                                          (160,000
                                                                                                                                                shares)


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See Attachment A
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                        Page 31 of
                                                                                  1568
 Debtor      TechShop, Inc.                                                                             Case number (if known)



    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Techshop, Inc.                                                                                             EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 26, 2018

 /s/ Daniel Woods                                                        Daniel Woods
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 32 of
                                                                                  1568
                                            Attachment A

First Name   Last Name     Gross Pay        Pay Date        Department Description    Job Title Description
Barbara      Newton        $1,846.16        08/18/2017      Corporate - Business DevelpManager, Mobile MakerSpace Project
Barbara      Newton        $3,076.93        09/01/2017      Corporate - Business DevelpManager, Mobile MakerSpace Project
Barbara      Newton        $3,076.93        09/15/2017      Corporate - Business DevelpManager, Mobile MakerSpace Project
Barbara      Newton        $3,076.93        10/03/2017      Corporate - Business DevelpManager, Mobile MakerSpace Project
Barbara      Newton        $3,076.93        10/17/2017      Corporate - Business DevelpManager, Mobile MakerSpace Project
Barbara      Newton        $2,153.85        11/15/2017      Corporate - Business DevelpManager, Mobile MakerSpace Project
James        Newton        $3,916.44        01/06/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        01/20/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        02/03/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        02/17/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        03/07/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        03/21/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        03/31/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        04/14/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        04/28/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        05/12/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        05/26/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        06/09/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $3,916.44        06/23/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        07/07/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        07/21/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        08/04/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        08/18/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        09/01/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        09/15/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        10/03/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,937.33        10/17/2017      Corporate - Executive Mana FOUNCHAI
James        Newton        $2,056.13        11/15/2017      Corporate - Executive Mana FOUNCHAI
Daniel       Woods         $5,127.69        01/06/2017      Corporate - Executive Mana CEO
Daniel       Woods         $5,127.69        01/20/2017      Corporate - Executive Mana CEO
Daniel       Woods         $5,127.69        02/03/2017      Corporate - Executive Mana CEO
Daniel       Woods         $5,127.69        02/17/2017      Corporate - Executive Mana CEO
Daniel       Woods         $5,127.69        03/07/2017      Corporate - Executive Mana CEO



                 Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40          Page 33 of
                                                        1568
Daniel     Woods         $5,127.69        03/21/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        03/31/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        04/14/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        04/28/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        05/12/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        05/26/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        06/09/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        06/23/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        07/07/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        07/21/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        08/04/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        08/18/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        09/01/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        09/15/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        10/03/2017      Corporate - Executive Mana CEO
Daniel     Woods         $5,127.69        10/17/2017      Corporate - Executive Mana CEO
Courtney   Woods         $1,503.75        01/06/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,263.75        01/20/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,477.50        02/03/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,070.63        02/17/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,207.50        03/03/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,158.75        03/17/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,171.88        03/31/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,207.50        04/14/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,312.50        04/28/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $671.25          05/12/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $879.38          05/26/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,042.50        06/09/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,335.00        06/23/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $826.88          07/07/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $993.75          07/21/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,281.38        08/04/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,424.95        08/18/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,366.38        09/01/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead



               Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40         Page 34 of
                                                      1568
Courtney   Woods         $1,156.00        09/15/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,379.13        09/29/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,629.25        10/13/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $1,695.75        10/27/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Courtney   Woods         $2,543.98        11/15/2017      San Francisco - Front Desk Member Ambassador & Front Desk Lead
Emily      Woods         $1,325.25        01/06/2017      San Francisco - Operations EDUCCOOR
Emily      Woods         $1,562.75        01/20/2017      San Francisco - Operations EDUCCOOR
Emily      Woods         $864.50          02/03/2017      San Francisco - Operations EDUCCOOR
Emily      Woods         $173.85          03/03/2017      San Francisco - Operations EDUCCOOR




               Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40         Page 35 of
                                                      1568
Jan 1, '17 ‐ Feb 19, 18
Payments to Insiders (wholly owned subsidiary LLCs)                                                                      Accrual Basis
   Memo                                  Account                        Split                        Debit      Credit      Balance

Stripe Transactions for 01/01/2017     2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                      1,552.33   -15,710.85
Stripe Transactions for 01/01/2017     2620 ꞏ Payable to Pittsburgh 2670 ꞏ Payable to Austin                     1,552.33   -17,263.18
Stripe Transactions for 01/01/2017     2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      4,656.99   -21,920.17
Stripe Transactions for 01/01/2017     2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                       1,552.33   -23,472.50
Stripe Transactions for 01/01/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin      23,472.50                        0.00
Stripe Transactions for 01/02/2017     2670 ꞏ Payable to Austin    -SPLIT-                                        192.93       -192.93
Stripe Transactions for 01/02/2017     2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      4,706.51    -4,899.44
Stripe Transactions for 01/02/2017     2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                      1,552.33    -6,451.77
Stripe Transactions for 01/02/2017     2670 ꞏ Payable to Austin    2670 ꞏ Payable to Austin            429.71                -6,022.06
Stripe Transactions for 01/02/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin          6,022.06                     0.00
Stripe transaction for 01/03/2017      2610 ꞏ Payable to Mid-Penin -SPLIT-                                       1,601.85    -1,601.85
Stripe transaction for 01/03/2017      2670 ꞏ Payable to Austin    2610 ꞏ Payable to Mid-Peninsula                385.86     -1,987.71
Stripe transaction for 01/03/2017      1091 ꞏ Stripe               2610 ꞏ Payable to Mid-Penin       1,987.71                     0.00
Stripe transaction for 01/04/2017      2670 ꞏ Payable to Austin    -SPLIT-                                       1,552.33    -1,552.33
Stripe transaction for 01/04/2017      2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                       1,039.34    -2,591.67
Stripe transaction for 01/04/2017      2620 ꞏ Payable to Pittsburgh 2670 ꞏ Payable to Austin                      463.54     -3,055.21
Stripe transaction for 01/04/2017      1091 ꞏ Stripe               2670 ꞏ Payable to Austin          3,055.21                     0.00
Stripe Transactions for 01/05/2017     2630 ꞏ Payable to SOMA      -SPLIT-                                       3,104.66    -3,104.66
Stripe Transactions for 01/05/2017     2670 ꞏ Payable to Austin    2630 ꞏ Payable to SOMA                        1,552.33    -4,656.99
Stripe Transactions for 01/05/2017     2610 ꞏ Payable to Mid-Penin 2630 ꞏ Payable to SOMA              291.30                -4,365.69
Stripe Transactions for 01/05/2017     2670 ꞏ Payable to Austin    2630 ꞏ Payable to SOMA              872.63                -3,493.06
Stripe Transactions for 01/05/2017     1091 ꞏ Stripe               2630 ꞏ Payable to SOMA            3,493.06                     0.00
Stripe transactions for 01/06/2017     2630 ꞏ Payable to SOMA      -SPLIT-                                       1,745.26    -1,745.26
Stripe transactions for 01/06/2017     2670 ꞏ Payable to Austin    2630 ꞏ Payable to SOMA                         338.58     -2,083.84
Stripe transactions for 01/06/2017     2680 ꞏ Payable to Chandler 2630 ꞏ Payable to SOMA                          969.73     -3,053.57
Stripe transactions for 01/06/2017     2690 ꞏ Payable to DC-Arlingt 2630 ꞏ Payable to SOMA                        338.58     -3,392.15
Stripe transactions for 01/06/2017     2610 ꞏ Payable to Mid-Penin 2630 ꞏ Payable to SOMA                        1,792.54    -5,184.69
Stripe transactions for 01/06/2017     2620 ꞏ Payable to Pittsburgh 2630 ꞏ Payable to SOMA                        969.73     -6,154.42
Stripe transactions for 01/06/2017     1091 ꞏ Stripe               2630 ꞏ Payable to SOMA            6,154.42                     0.00
Stripe Transactions for 01/07/2017     2670 ꞏ Payable to Austin    -SPLIT-                                       2,228.22    -2,228.22
Stripe Transactions for 01/07/2017     2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                       192.93     -2,421.15
Stripe Transactions for 01/07/2017     2620 ꞏ Payable to Pittsburgh 2670 ꞏ Payable to Austin                      675.89     -3,097.04
Stripe Transactions for 01/07/2017     2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      2,663.90    -5,760.94
Stripe Transactions for 01/07/2017     2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                        581.33     -6,342.27
Stripe Transactions for 01/07/2017     2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                       1,043.23    -7,385.50
Stripe Transactions for 01/07/2017     2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                      144.38     -7,529.88
Stripe Transactions for 01/07/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin          7,529.88                     0.00
Stripe Transactions for 01/08/2017     2670 ꞏ Payable to Austin    -SPLIT-                                       5,814.57    -5,814.57
Stripe Transactions for 01/08/2017     2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                       1,499.97    -7,314.54
Stripe Transactions for 01/08/2017     2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                     8,723.76   -16,038.30
Stripe Transactions for 01/08/2017     2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                      2,083.84   -18,122.14
Stripe Transactions for 01/08/2017     2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                      4,750.28   -22,872.42
Stripe Transactions for 01/08/2017     2620 ꞏ Payable to Pittsburgh 2670 ꞏ Payable to Austin                     2,761.00   -25,633.42




      Case: 18-50398                 Doc# 1     Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 36 of
                                                             1568
Stripe Transactions for 01/08/2017     2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                       2,371.33    -28,004.75
Stripe Transactions for 01/08/2017     2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                         917.37     -28,922.12
Stripe Transactions for 01/08/2017     2615 ꞏ Payable to St. Louis 2670 ꞏ Payable to Austin                       4,024.57    -32,946.69
Stripe Transactions for 01/08/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin        32,946.69                       0.00
Stripe transaction for 01/09/2017      2670 ꞏ Payable to Austin    -SPLIT-                                         724.44        -724.44
Stripe transaction for 01/09/2017      2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                        1,498.70     -2,223.14
Stripe transaction for 01/09/2017      2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                       2,083.84     -4,306.98
Stripe transaction for 01/09/2017      2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                       8,820.86    -13,127.84
Stripe transaction for 01/09/2017      2620 ꞏ Payable to Pittsburgh 2670 ꞏ Payable to Austin                      1,498.70    -14,626.54
Stripe transaction for 01/09/2017      2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      12,739.44    -27,365.98
Stripe transaction for 01/09/2017      2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                        4,352.99    -31,718.97
Stripe transaction for 01/09/2017      2615 ꞏ Payable to St. Louis 2670 ꞏ Payable to Austin                       4,212.42    -35,931.39
Stripe transaction for 01/09/2017      2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                      7,122.88    -43,054.27
Stripe transaction for 01/09/2017      1091 ꞏ Stripe               2670 ꞏ Payable to Austin        43,054.27                       0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                  10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     10,000.00                       0.00
Stripe Transactions for 01/10/2017     2610 ꞏ Payable to Mid-Penin -SPLIT-                                         144.38        -144.38
Stripe Transactions for 01/10/2017     2630 ꞏ Payable to SOMA      2610 ꞏ Payable to Mid-Peninsula                2,522.06     -2,666.44
Stripe Transactions for 01/10/2017     2615 ꞏ Payable to St. Louis 2610 ꞏ Payable to Mid-Peninsula                1,552.33     -4,218.77
Stripe Transactions for 01/10/2017     1091 ꞏ Stripe               2610 ꞏ Payable to Mid-Penin       4,218.77                      0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  175,000.00   -175,000.00
Funds Transfer                         1010 ꞏ Chase                2640 ꞏ Payable to San Jose     175,000.00                       0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                   5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin       5,000.00                      0.00
Funds Transfer                         2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                    9,000.00     -9,000.00
Funds Transfer                         1010 ꞏ Chase                2680 ꞏ Payable to Chandler        9,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                   3,000.00     -3,000.00
Funds Transfer                         1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin       3,000.00                      0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                  8,000.00     -8,000.00
Funds Transfer                         1010 ꞏ Chase                2620 ꞏ Payable to Pittsburgh      8,000.00                      0.00
Stripe Transactions for 01/13/2017     2670 ꞏ Payable to Austin    -SPLIT-                                        1,552.33     -1,552.33
Stripe Transactions for 01/13/2017     2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                        674.54      -2,226.87
Stripe Transactions for 01/13/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin          2,226.87                      0.00
Stripe Transactions for 01/14/2017     2670 ꞏ Payable to Austin    -SPLIT-                                        1,552.33     -1,552.33
Stripe Transactions for 01/14/2017     2620 ꞏ Payable to Pittsburgh 2670 ꞏ Payable to Austin                      1,601.85     -3,154.18
Stripe Transactions for 01/14/2017     2620 ꞏ Payable to Pittsburgh 2670 ꞏ Payable to Austin         1,601.85                  -1,552.33
Stripe Transactions for 01/14/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin          1,552.33                      0.00
Stripe Transactions for 01/15/2017     2630 ꞏ Payable to SOMA      -SPLIT-                                         485.20        -485.20
Stripe Transactions for 01/15/2017     2640 ꞏ Payable to San Jose 2630 ꞏ Payable to SOMA                          1,552.33     -2,037.53
Stripe Transactions for 01/15/2017     1091 ꞏ Stripe               2630 ꞏ Payable to SOMA            2,037.53                      0.00
Stripe transactions for 01/16/2017     2670 ꞏ Payable to Austin    1091 ꞏ Stripe                                  1,601.85     -1,601.85
Stripe transactions for 01/16/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin          1,601.85                      0.00
Justin Leathers (4058) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                            270.00       -270.00
Monthly rent for cargo container storag 7920 ꞏ Equipment Rentals   2610 ꞏ Payable to Mid-Penin        270.00                       0.00
Stripe transactions for 01/17/2017     2670 ꞏ Payable to Austin    1091 ꞏ Stripe                       49.52                      49.52
Stripe transactions for 01/17/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin                         49.52          0.00
Funds Transfer                         2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                  24,000.00    -24,000.00


      Case: 18-50398                 Doc# 1     Filed: 02/26/18 Entered: 02/26/18 17:48:40                          Page 37 of
                                                             1568
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA         24,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                 22,000.00   -22,000.00
Funds Transfer                         1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt   22,000.00                      0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                    6,000.00    -6,000.00
Funds Transfer                         1010 ꞏ Chase                 2640 ꞏ Payable to San Jose        6,000.00                    0.00
Funds Transfer                         2670 ꞏ Payable to Austin     1010 ꞏ Chase                                  4,000.00    -4,000.00
Funds Transfer                         1010 ꞏ Chase                 2670 ꞏ Payable to Austin          4,000.00                    0.00
Stripe transactions for 01/19/2017     2620 ꞏ Payable to Pittsburgh -SPLIT-                                        241.48      -241.48
Stripe transactions for 01/19/2017     2610 ꞏ Payable to Mid-Penin 2620 ꞏ Payable to Pittsburgh                   1,552.33    -1,793.81
Stripe transactions for 01/19/2017     2615 ꞏ Payable to St. Louis 2620 ꞏ Payable to Pittsburgh       1,552.33                 -241.48
Stripe transactions for 01/19/2017     1091 ꞏ Stripe                2620 ꞏ Payable to Pittsburgh       241.48                     0.00
Stripe transactions for 01/20/2017     2680 ꞏ Payable to Chandler 1091 ꞏ Stripe                                    192.93      -192.93
Stripe transactions for 01/20/2017     1091 ꞏ Stripe                2680 ꞏ Payable to Chandler         192.93                     0.00
CELESTE CONOWITCH # 8109 for the2630 ꞏ Payable to SOMA              5500 ꞏ Event Costs                             106.00      -106.00
Corporate Meeting                      5500 ꞏ Event Costs           2630 ꞏ Payable to SOMA             106.00                     0.00
Stripe Transactions for 01/24/2017     2670 ꞏ Payable to Austin     1091 ꞏ Stripe                                  674.54      -674.54
Stripe Transactions for 01/24/2017     1091 ꞏ Stripe                2670 ꞏ Payable to Austin           674.54                     0.00
Stripe Transactions for 01/22/2017     2630 ꞏ Payable to SOMA       -SPLIT-                                       1,601.85    -1,601.85
Stripe Transactions for 01/22/2017     2620 ꞏ Payable to Pittsburgh 2630 ꞏ Payable to SOMA                         183.22     -1,785.07
Stripe Transactions for 01/22/2017     2630 ꞏ Payable to SOMA       2630 ꞏ Payable to SOMA             144.38                 -1,640.69
Stripe Transactions for 01/22/2017     1091 ꞏ Stripe                2630 ꞏ Payable to SOMA            1,640.69                    0.00
Stripe Transactions for 01/27/2017     2650 ꞏ Payable to Detroit    -SPLIT-                                        192.93      -192.93
Stripe Transactions for 01/27/2017     2640 ꞏ Payable to San Jose 2650 ꞏ Payable to Detroit                       3,034.07    -3,227.00
Stripe Transactions for 01/27/2017     1091 ꞏ Stripe                2650 ꞏ Payable to Detroit         3,227.00                    0.00
Justin Leathers (4058) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7310 ꞏ Rent                                         883.00      -883.00
Monthly rent for corporate storage     7310 ꞏ Rent                  2610 ꞏ Payable to Mid-Penin        883.00                     0.00
Stripe Transactions for the period 01/282680 ꞏ Payable to Chandler -SPLIT-                                        1,552.33    -1,552.33
Stripe Transactions for the period 01/282650 ꞏ Payable to Detroit   2680 ꞏ Payable to Chandler                     192.93     -1,745.26
Stripe Transactions for the period 01/281091 ꞏ Stripe               2680 ꞏ Payable to Chandler        1,745.26                    0.00
Victoria A Skornia (115440) CREDIT C 2615 ꞏ Payable to St. Louis 8010 ꞏ Software Expense                            19.99        -19.99
Per Ben Lewis                          8010 ꞏ Software Expense      2615 ꞏ Payable to St. Louis         19.99                     0.00
Ford Steam Education revenue for the 2650 ꞏ Payable to Detroit      -SPLIT-                                      15,600.00   -15,600.00
Ford Steam Education revenue for the 2620 ꞏ Payable to Pittsburgh 2650 ꞏ Payable to Detroit                      10,239.29   -25,839.29
Ford Steam Education revenue for the 2640 ꞏ Payable to San Jose 2650 ꞏ Payable to Detroit                         2,400.00   -28,239.29
Ford Steam Education revenue for the 2457 ꞏ Deferred Other          2650 ꞏ Payable to Detroit      28,239.29                      0.00
Stripe Transactions for 01/31/2017     2670 ꞏ Payable to Austin     1091 ꞏ Stripe                      517.54                   517.54
Stripe Transactions for 01/31/2017     1091 ꞏ Stripe                2670 ꞏ Payable to Austin                       517.54         0.00
Office Rental for January 2017 Tahore 2610 ꞏ Payable to Mid-Penin 7310 ꞏ Rent                                     2,000.00    -2,000.00
Office Rental for January 2017 Tahore 7310 ꞏ Rent                   2610 ꞏ Payable to Mid-Penin       2,000.00                    0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                 40,000.00   -40,000.00
Funds Transfer                         1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh   40,000.00                      0.00
Stripe Transactions for 02/01/2017     2610 ꞏ Payable to Mid-Penin -SPLIT-                            1,552.33                1,552.33
Stripe Transactions for 02/01/2017     2690 ꞏ Payable to DC-Arlingt 2610 ꞏ Payable to Mid-Penin        969.73                 2,522.06
Stripe Transactions for 02/01/2017     1091 ꞏ Stripe                2610 ꞏ Payable to Mid-Peninsula               2,522.06        0.00
                                       2695 ꞏ Payable to Los Angel 1010 ꞏ Chase                                   2,076.00    -2,076.00
                                       1010 ꞏ Chase                 2695 ꞏ Payable to Los Angel       2,076.00                    0.00
Karen Davis (546844) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 5600 ꞏ InterCo. COGS                                  424.76      -424.76


      Case: 18-50398                 Doc# 1      Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 38 of
                                                              1568
Printer Bot                            5600 ꞏ InterCo. COGS         2610 ꞏ Payable to Mid-Penin         424.76                       0.00
Stripe Transactions for the period 02/032615 ꞏ Payable to St. Louis -SPLIT-                                         1,601.85     -1,601.85
Stripe Transactions for the period 02/032610 ꞏ Payable to Mid-Penin 2615 ꞏ Payable to St. Louis                     1,552.33     -3,154.18
Stripe Transactions for the period 02/032690 ꞏ Payable to DC-Arlingt 2615 ꞏ Payable to St. Louis                     485.20      -3,639.38
Stripe Transactions for the period 02/032640 ꞏ Payable to San Jose 2615 ꞏ Payable to St. Louis                      1,552.33     -5,191.71
Stripe Transactions for the period 02/031091 ꞏ Stripe               2615 ꞏ Payable to St. Louis        5,191.71                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                    280,000.00   -280,000.00
Funds Transfer                         1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn     280,000.00                        0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    15,000.00    -15,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     15,000.00                        0.00
GMCN -excess payment made from Co2640 ꞏ Payable to San Jose 2000 ꞏ Accounts Payable                 21,489.73                   21,489.73
GMCN -excess payment made from Co2000 ꞏ Accounts Payable            2640 ꞏ Payable to San Jose                     21,489.73         0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     10,000.00                        0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    10,000.00                        0.00
Stripe Transactions for the period 02/072615 ꞏ Payable to St. Louis -SPLIT-                                         3,104.66     -3,104.66
Stripe Transactions for the period 02/072615 ꞏ Payable to St. Louis 2615 ꞏ Payable to St. Louis         965.84                   -2,138.82
Stripe Transactions for the period 02/072620 ꞏ Payable to Pittsburgh 2615 ꞏ Payable to St. Louis                     674.54      -2,813.36
Stripe Transactions for the period 02/072610 ꞏ Payable to Mid-Penin 2615 ꞏ Payable to St. Louis        2,522.06                   -291.30
Stripe Transactions for the period 02/071091 ꞏ Stripe               2615 ꞏ Payable to St. Louis         291.30                       0.00
Stripe Transactions for the period 02/132630 ꞏ Payable to SOMA      -SPLIT-                             872.63                     872.63
Stripe Transactions for the period 02/132630 ꞏ Payable to SOMA      2630 ꞏ Payable to SOMA                          3,104.66     -2,232.03
Stripe Transactions for the period 02/132690 ꞏ Payable to DC-Arlingt 2630 ꞏ Payable to SOMA                         1,601.85     -3,833.88
Stripe Transactions for the period 02/132610 ꞏ Payable to Mid-Penin 2630 ꞏ Payable to SOMA                          1,552.33     -5,386.21
Stripe Transactions for the period 02/132670 ꞏ Payable to Austin    2630 ꞏ Payable to SOMA                           485.20      -5,871.41
Stripe Transactions for the period 02/132640 ꞏ Payable to San Jose 2630 ꞏ Payable to SOMA                           1,820.32     -7,691.73
Stripe Transactions for the period 02/131091 ꞏ Stripe               2630 ꞏ Payable to SOMA             7,691.73                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                      7,000.00     -7,000.00
Funds Transfer                         1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn         7,000.00                      0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                      8,000.00     -8,000.00
Funds Transfer                         1010 ꞏ Chase                 2640 ꞏ Payable to San Jose         8,000.00                      0.00
Funds Transfer                         2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                    8,000.00     -8,000.00
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA             8,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                     8,000.00     -8,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin        8,000.00                      0.00
Funds Transfer                         2670 ꞏ Payable to Austin     1010 ꞏ Chase                                   15,000.00    -15,000.00
Funds Transfer                         1010 ꞏ Chase                 2670 ꞏ Payable to Austin        15,000.00                        0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                     4,000.00     -4,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin        4,000.00                      0.00
Michael Erickson (7030) CREDIT CAR 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                              270.00       -270.00
storage rental                         7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         270.00                       0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                     30,000.00    -30,000.00
Funds Transfer                         1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      30,000.00                        0.00
Stripe Transactions for the period 02/162610 ꞏ Payable to Mid-Penin -SPLIT-                                          485.20       -485.20
Stripe Transactions for the period 02/162680 ꞏ Payable to Chandler 2610 ꞏ Payable to Mid-Peninsula                  4,656.99     -5,142.19
Stripe Transactions for the period 02/162620 ꞏ Payable to Pittsburgh 2610 ꞏ Payable to Mid-Peninsula                1,552.33     -6,694.52


      Case: 18-50398               Doc# 1        Filed: 02/26/18 Entered: 02/26/18 17:48:40                           Page 39 of
                                                              1568
Stripe Transactions for the period 02/162630 ꞏ Payable to SOMA       2610 ꞏ Payable to Mid-Peninsula               1,552.33    -8,246.85
Stripe Transactions for the period 02/161091 ꞏ Stripe                2610 ꞏ Payable to Mid-Penin       8,246.85                    0.00
Funds Transfer                         2630 ꞏ Payable to SOMA        1010 ꞏ Chase                                 45,000.00   -45,000.00
Funds Transfer                         1010 ꞏ Chase                  2630 ꞏ Payable to SOMA         45,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                  15,000.00   -15,000.00
Funds Transfer                         1010 ꞏ Chase                  2690 ꞏ Payable to DC-Arlingt   15,000.00                      0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                    10,000.00   -10,000.00
Funds Transfer                         1010 ꞏ Chase                  2640 ꞏ Payable to San Jose     10,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                   6,000.00    -6,000.00
Funds Transfer                         1010 ꞏ Chase                  2690 ꞏ Payable to DC-Arlingt      6,000.00                    0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    5,000.00    -5,000.00
Funds Transfer                         1010 ꞏ Chase                  2610 ꞏ Payable to Mid-Penin       5,000.00                    0.00
Funds Transfer                         2670 ꞏ Payable to Austin      1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                         1010 ꞏ Chase                  2670 ꞏ Payable to Austin          5,000.00                    0.00
Funds Transfer                         2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                    5,000.00    -5,000.00
Funds Transfer                         1010 ꞏ Chase                  2615 ꞏ Payable to St. Louis       5,000.00                    0.00
Funds Transfer                         2670 ꞏ Payable to Austin      1010 ꞏ Chase                                  4,000.00    -4,000.00
Funds Transfer                         1010 ꞏ Chase                  2670 ꞏ Payable to Austin          4,000.00                    0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   4,000.00    -4,000.00
Funds Transfer                         1010 ꞏ Chase                  2620 ꞏ Payable to Pittsburgh      4,000.00                    0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                     6,000.00    -6,000.00
Funds Transfer                         1010 ꞏ Chase                  2640 ꞏ Payable to San Jose        6,000.00                    0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    4,000.00    -4,000.00
Funds Transfer                         1010 ꞏ Chase                  2610 ꞏ Payable to Mid-Penin       4,000.00                    0.00
Funds Transfer                         2630 ꞏ Payable to SOMA        1010 ꞏ Chase                                  4,000.00    -4,000.00
Funds Transfer                         1010 ꞏ Chase                  2630 ꞏ Payable to SOMA            4,000.00                    0.00
Funds Transfer                         2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                     4,000.00    -4,000.00
Funds Transfer                         1010 ꞏ Chase                  2680 ꞏ Payable to Chandler        4,000.00                    0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                   3,000.00    -3,000.00
Funds Transfer                         1010 ꞏ Chase                  2690 ꞏ Payable to DC-Arlingt      3,000.00                    0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   2,000.00    -2,000.00
Funds Transfer                         1010 ꞏ Chase                  2620 ꞏ Payable to Pittsburgh      2,000.00                    0.00
Funds Transfer                         2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                    2,000.00    -2,000.00
Funds Transfer                         1010 ꞏ Chase                  2615 ꞏ Payable to St. Louis       2,000.00                    0.00
Funds Transfer                         2670 ꞏ Payable to Austin      1010 ꞏ Chase                                  1,000.00    -1,000.00
Funds Transfer                         1010 ꞏ Chase                  2670 ꞏ Payable to Austin          1,000.00                    0.00
Justin Leathers (4058) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7310 ꞏ Rent                                          883.00      -883.00
Monthly rent for corporate storage     7310 ꞏ Rent                   2610 ꞏ Payable to Mid-Penin        883.00                     0.00
Ford Steam Education revenue for the 2620 ꞏ Payable to Pittsburgh 2457 ꞏ Deferred Other                            8,274.29    -8,274.29
Ford Steam Education revenue for the 2457 ꞏ Deferred Other           2620 ꞏ Payable to Pittsburgh      8,274.29                    0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    5,000.00    -5,000.00
Funds Transfer                         1010 ꞏ Chase                  2610 ꞏ Payable to Mid-Penin       5,000.00                    0.00
Funds Transfer                         2630 ꞏ Payable to SOMA        1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                         1010 ꞏ Chase                  2630 ꞏ Payable to SOMA            5,000.00                    0.00
Funds Transfer                         2670 ꞏ Payable to Austin      1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                         1010 ꞏ Chase                  2670 ꞏ Payable to Austin          5,000.00                    0.00
Stripe transactions for the period 02/26 2690 ꞏ Payable to DC-Arlingt -SPLIT-                                      1,552.33    -1,552.33


      Case: 18-50398                 Doc# 1      Filed: 02/26/18 Entered: 02/26/18 17:48:40                          Page 40 of
                                                              1568
Stripe transactions for the period 02/26 2630 ꞏ Payable to SOMA      2690 ꞏ Payable to DC-Arlington                  1,552.33     -3,104.66
Stripe transactions for the period 02/26 2615 ꞏ Payable to St. Louis 2690 ꞏ Payable to DC-Arlington                  1,552.33     -4,656.99
Stripe transactions for the period 02/26 1091 ꞏ Stripe               2690 ꞏ Payable to DC-Arlingt       4,656.99                      0.00
Reclassify Mid Pen Event Income & co 2610 ꞏ Payable to Mid-Penin 1430 ꞏ Receivable from SOMA                         1,830.00     -1,830.00
Reclassify Mid Pen Event Income & co 1430 ꞏ Receivable from SOM2610 ꞏ Payable to Mid-Penin              1,830.00                      0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                    5,000.00     -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt       5,000.00                      0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                      5,000.00     -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose         5,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                    9,000.00     -9,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA             9,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                     3,000.00     -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin        3,000.00                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                    30,000.00    -30,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis       30,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin       10,000.00                      0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh      10,000.00                      0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                    8,000.00     -8,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt       8,000.00                      0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                                  210,000.00   -210,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit        210,000.00                      0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit         10,000.00                      0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit         10,000.00                      0.00
Stripe transactions for the period 03/04 2620 ꞏ Payable to Pittsburgh -SPLIT-                                         965.84       -965.84
Stripe transactions for the period 03/04 2690 ꞏ Payable to DC-Arlingt 2620 ꞏ Payable to Pittsburgh                   1,601.85     -2,567.69
Stripe transactions for the period 03/04 2610 ꞏ Payable to Mid-Penin 2620 ꞏ Payable to Pittsburgh                    1,552.33     -4,120.02
Stripe transactions for the period 03/04 2650 ꞏ Payable to Detroit   2620 ꞏ Payable to Pittsburgh                    1,552.33     -5,672.35
Stripe transactions for the period 03/04 2630 ꞏ Payable to SOMA      2620 ꞏ Payable to Pittsburgh                     485.20      -6,157.55
Stripe transactions for the period 03/04 1091 ꞏ Stripe               2620 ꞏ Payable to Pittsburgh       6,157.55                      0.00
Stripe transactions for the period 03/09 2650 ꞏ Payable to Detroit   1091 ꞏ Stripe                                   1,552.33     -1,552.33
Stripe transactions for the period 03/09 1091 ꞏ Stripe               2650 ꞏ Payable to Detroit          1,552.33                      0.00
Stripe transactions for 03/11/2017      2690 ꞏ Payable to DC-Arlingt -SPLIT-                                         1,552.33     -1,552.33
Stripe transactions for 03/11/2017      2630 ꞏ Payable to SOMA       2690 ꞏ Payable to DC-Arlington                  1,552.33     -3,104.66
Stripe transactions for 03/11/2017      2690 ꞏ Payable to DC-Arlingt 2690 ꞏ Payable to DC-Arlington                  1,552.33     -4,656.99
Stripe transactions for 03/11/2017      1091 ꞏ Stripe                2690 ꞏ Payable to DC-Arlingt       4,656.99                      0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh      10,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                    9,000.00     -9,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA             9,000.00                      0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   14,000.00    -14,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh      14,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin       10,000.00                      0.00


      Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                           Page 41 of
                                                               1568
Funds Transfer                         2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                  6,000.00     -6,000.00
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA           6,000.00                      0.00
Michael Erickson (7030) CREDIT CAR 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                            270.00       -270.00
storage rental                         7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin       270.00                       0.00
Funds Transfer                         2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                 14,000.00    -14,000.00
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          14,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                 12,000.00    -12,000.00
Funds Transfer                         1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    12,000.00                      0.00
Funds Transfer                         2670 ꞏ Payable to Austin     1010 ꞏ Chase                                  7,000.00     -7,000.00
Funds Transfer                         1010 ꞏ Chase                 2670 ꞏ Payable to Austin         7,000.00                      0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                  7,000.00     -7,000.00
Funds Transfer                         1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh     7,000.00                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                  190,000.00   -190,000.00
Funds Transfer                         1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn     190,000.00                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                   60,000.00    -60,000.00
Funds Transfer                         1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn      60,000.00                      0.00
JON BARBARA (657019) CREDIT CA 2680 ꞏ Payable to Chandler 8120 ꞏ Ground Transportation                             168.86        -168.86
Car rental for travel to Bay Area      8120 ꞏ Ground Transportatio 2680 ꞏ Payable to Chandler         168.86                       0.00
Stripe Transactions for the period 03/172615 ꞏ Payable to St. Louis -SPLIT-                                       1,552.33     -1,552.33
Stripe Transactions for the period 03/172610 ꞏ Payable to Mid-Penin 2615 ꞏ Payable to St. Louis                   1,552.33     -3,104.66
Stripe Transactions for the period 03/172610 ꞏ Payable to Mid-Penin 2615 ꞏ Payable to St. Louis      1,358.13                  -1,746.53
Stripe Transactions for the period 03/172615 ꞏ Payable to St. Louis 2615 ꞏ Payable to St. Louis                   1,552.33     -3,298.86
Stripe Transactions for the period 03/171091 ꞏ Stripe               2615 ꞏ Payable to St. Louis      3,298.86                      0.00
Justin Leathers (4058) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7310 ꞏ Rent                                         883.00        -883.00
Monthly rent for corporate storage     7310 ꞏ Rent                  2610 ꞏ Payable to Mid-Penin       883.00                       0.00
Stripe transactions for 03/28/2017     2650 ꞏ Payable to Detroit    1091 ꞏ Stripe                                 1,552.33     -1,552.33
Stripe transactions for 03/28/2017     1091 ꞏ Stripe                2650 ꞏ Payable to Detroit        1,552.33                      0.00
Stripe Transactions for the period 03/232650 ꞏ Payable to Detroit   1091 ꞏ Stripe                                  192.93       -192.93
Stripe Transactions for the period 03/231091 ꞏ Stripe               2650 ꞏ Payable to Detroit         192.93                       0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                 20,000.00    -20,000.00
Funds Transfer                         1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    20,000.00                      0.00
Funds Transfer                         2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                 10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          10,000.00                      0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      10,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                   7,000.00     -7,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin      7,000.00                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                    4,000.00     -4,000.00
Funds Transfer                         1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn       4,000.00                      0.00
Ford Steam Education revenue for the 2620 ꞏ Payable to Pittsburgh 2457 ꞏ Deferred Other                           2,109.29     -2,109.29
Ford Steam Education revenue for the 2457 ꞏ Deferred Other          2620 ꞏ Payable to Pittsburgh     2,109.29                      0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                    3,000.00     -3,000.00
Funds Transfer                         1010 ꞏ Chase                 2640 ꞏ Payable to San Jose       3,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                   3,000.00     -3,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin      3,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                  5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt     5,000.00                      0.00


      Case: 18-50398                 Doc# 1      Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 42 of
                                                              1568
Funds Transfer                        2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                               15,000.00   -15,000.00
Funds Transfer                        1010 ꞏ Chase                2615 ꞏ Payable to St. Louis    15,000.00                    0.00
JON BARBARA (657019) CREDIT CA 2680 ꞏ Payable to Chandler 8130 ꞏ Hotel & Lodging                               331.16      -331.16
Hotel Stay in Austin                  8130 ꞏ Hotel & Lodging      2680 ꞏ Payable to Chandler       331.16                     0.00
Funds Transfer                        2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                               18,000.00   -18,000.00
Funds Transfer                        1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin    18,000.00                    0.00
Funds Transfer                        2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                               6,000.00    -6,000.00
Funds Transfer                        1010 ꞏ Chase                2620 ꞏ Payable to Pittsburgh    6,000.00                    0.00
Funds Transfer                        2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                 3,000.00    -3,000.00
Funds Transfer                        1010 ꞏ Chase                2680 ꞏ Payable to Chandler      3,000.00                    0.00
Funds Transfer                        2670 ꞏ Payable to Austin    1010 ꞏ Chase                                3,000.00    -3,000.00
Funds Transfer                        1010 ꞏ Chase                2670 ꞏ Payable to Austin        3,000.00                    0.00
Funds Transfer                        2650 ꞏ Payable to Detroit   1010 ꞏ Chase                                3,000.00    -3,000.00
Funds Transfer                        1010 ꞏ Chase                2650 ꞏ Payable to Detroit       3,000.00                    0.00
Funds Transfer                        2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 2,000.00    -2,000.00
Funds Transfer                        1010 ꞏ Chase                2640 ꞏ Payable to San Jose      2,000.00                    0.00
Funds Transfer                        2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                               1,000.00    -1,000.00
Funds Transfer                        1010 ꞏ Chase                2690 ꞏ Payable to DC-Arlingt    1,000.00                    0.00
Funds Transfer                        2650 ꞏ Payable to Detroit   1010 ꞏ Chase                        0.00                    0.00
Funds Transfer                        1010 ꞏ Chase                2650 ꞏ Payable to Detroit           0.00                    0.00
Funds Transfer                        2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer                        1010 ꞏ Chase                2615 ꞏ Payable to St. Louis     4,000.00                    0.00
Funds Transfer                        2630 ꞏ Payable to SOMA      1010 ꞏ Chase                               20,000.00   -20,000.00
Funds Transfer                        1010 ꞏ Chase                2630 ꞏ Payable to SOMA         20,000.00                    0.00
Funds Transfer                        2630 ꞏ Payable to SOMA      1010 ꞏ Chase                               17,000.00   -17,000.00
Funds Transfer                        1010 ꞏ Chase                2630 ꞏ Payable to SOMA         17,000.00                    0.00
Funds Transfer                        2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                               15,000.00   -15,000.00
Funds Transfer                        1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin    15,000.00                    0.00
Funds Transfer                        2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 9,000.00    -9,000.00
Funds Transfer                        1010 ꞏ Chase                2640 ꞏ Payable to San Jose      9,000.00                    0.00
Michael Erickson (7030) CREDIT CAR 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                        270.00      -270.00
Rental for Off-Site Storage-Monthly   7920 ꞏ Equipment Rentals    2610 ꞏ Payable to Mid-Penin      270.00                     0.00
Funds Transfer                        2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                               5,000.00    -5,000.00
Funds Transfer                        1010 ꞏ Chase                2690 ꞏ Payable to DC-Arlingt    5,000.00                    0.00
Funds Transfer                        2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer                        1010 ꞏ Chase                2630 ꞏ Payable to SOMA          4,000.00                    0.00
Funds Transfer                        2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 3,000.00    -3,000.00
Funds Transfer                        1010 ꞏ Chase                2640 ꞏ Payable to San Jose      3,000.00                    0.00
Funds Transfer                        2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                2,000.00    -2,000.00
Funds Transfer                        1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     2,000.00                    0.00
Funds Transfer                        2670 ꞏ Payable to Austin    1010 ꞏ Chase                                2,000.00    -2,000.00
Funds Transfer                        1010 ꞏ Chase                2670 ꞏ Payable to Austin        2,000.00                    0.00
Funds Transfer                        2670 ꞏ Payable to Austin    1010 ꞏ Chase                                6,000.00    -6,000.00
Funds Transfer                        1010 ꞏ Chase                2670 ꞏ Payable to Austin        6,000.00                    0.00
Funds Transfer                        2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                 6,000.00    -6,000.00
Funds Transfer                        1010 ꞏ Chase                2680 ꞏ Payable to Chandler      6,000.00                    0.00
Funds Transfer                        2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                5,000.00    -5,000.00


      Case: 18-50398              Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                       Page 43 of
                                                            1568
Funds Transfer                          1010 ꞏ Chase                2630 ꞏ Payable to SOMA           5,000.00                      0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                   5,000.00     -5,000.00
Funds Transfer                          1010 ꞏ Chase                2640 ꞏ Payable to San Jose       5,000.00                      0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                26,000.00    -26,000.00
Funds Transfer                          1010 ꞏ Chase                2620 ꞏ Payable to Pittsburgh    26,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                 10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                2630 ꞏ Payable to SOMA          10,000.00                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                 10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                2615 ꞏ Payable to St. Louis     10,000.00                      0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                   5,000.00     -5,000.00
Funds Transfer                          1010 ꞏ Chase                2640 ꞏ Payable to San Jose       5,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     10,000.00                      0.00
Funds Transfer                          2670 ꞏ Payable to Austin    1010 ꞏ Chase                                 10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                2670 ꞏ Payable to Austin        10,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                 15,000.00    -15,000.00
Funds Transfer                          1010 ꞏ Chase                2630 ꞏ Payable to SOMA          15,000.00                      0.00
JON BARBARA (657019) CREDIT CA 2680 ꞏ Payable to Chandler 8135 ꞏ Meals & Entertainment                                4.45         -4.45
Coffee - travel                         8135 ꞏ Meals & Entertainmen2680 ꞏ Payable to Chandler            4.45                      0.00
Stripe transactions for the period 04/13 2640 ꞏ Payable to San Jose -SPLIT-                           192.93                     192.93
Stripe transactions for the period 04/13 2620 ꞏ Payable to Pittsburgh 2640 ꞏ Payable to San Jose                  1,552.33     -1,359.40
Stripe transactions for the period 04/13 2690 ꞏ Payable to DC-Arlingt 2640 ꞏ Payable to San Jose                   485.20      -1,844.60
Stripe transactions for the period 04/13 2620 ꞏ Payable to Pittsburgh 2640 ꞏ Payable to San Jose                   965.84      -2,810.44
Stripe transactions for the period 04/13 1091 ꞏ Stripe              2640 ꞏ Payable to San Jose       2,810.44                      0.00
Stripe Transactions for the period 04/2 2615 ꞏ Payable to St. Louis -SPLIT-                                      13,251.31    -13,251.31
Stripe Transactions for the period 04/2 2690 ꞏ Payable to DC-Arlingt 2615 ꞏ Payable to St. Louis                 39,553.65    -52,804.96
Stripe Transactions for the period 04/2 2650 ꞏ Payable to Detroit   2615 ꞏ Payable to St. Louis                   9,756.75    -62,561.71
Stripe Transactions for the period 04/2 2680 ꞏ Payable to Chandler 2615 ꞏ Payable to St. Louis                    8,009.25    -70,570.96
Stripe Transactions for the period 04/2 2610 ꞏ Payable to Mid-Penin 2615 ꞏ Payable to St. Louis                  32,182.65   -102,753.61
Stripe Transactions for the period 04/2 1091 ꞏ Stripe               2615 ꞏ Payable to St. Louis    102,753.61                      0.00
Stripe transactions for 04/25/2017      2610 ꞏ Payable to Mid-Penin 1091 ꞏ Stripe                                 1,601.85     -1,601.85
Stripe transactions for 04/25/2017      1091 ꞏ Stripe               2610 ꞏ Payable to Mid-Penin      1,601.85                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                  5,000.00     -5,000.00
Funds Transfer                          1010 ꞏ Chase                2615 ꞏ Payable to St. Louis      5,000.00                      0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                   9,000.00     -9,000.00
Funds Transfer                          1010 ꞏ Chase                2680 ꞏ Payable to Chandler       9,000.00                      0.00
Funds Transfer                          2670 ꞏ Payable to Austin    1010 ꞏ Chase                                 17,000.00    -17,000.00
Funds Transfer                          1010 ꞏ Chase                2670 ꞏ Payable to Austin        17,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                 19,000.00    -19,000.00
Funds Transfer                          1010 ꞏ Chase                2630 ꞏ Payable to SOMA          19,000.00                      0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                24,000.00    -24,000.00
Funds Transfer                          1010 ꞏ Chase                2690 ꞏ Payable to DC-Arlingt    24,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 27,000.00    -27,000.00
Funds Transfer                          1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     27,000.00                      0.00
Funds Transfer                          2650 ꞏ Payable to Detroit   1010 ꞏ Chase                                230,000.00   -230,000.00
Funds Transfer                          1010 ꞏ Chase                2650 ꞏ Payable to Detroit      230,000.00                      0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                28,000.00    -28,000.00


       Case: 18-50398                Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                        Page 44 of
                                                               1568
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh      28,000.00                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                            0.00                      0.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis            0.00                      0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                    320,000.00   -320,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn       320,000.00                      0.00
Stripe Transactions for the period 04/262680 ꞏ Payable to Chandler -SPLIT-                                           1,552.33     -1,552.33
Stripe Transactions for the period 04/262670 ꞏ Payable to Austin     2680 ꞏ Payable to Chandler                       969.73      -2,522.06
Stripe Transactions for the period 04/261091 ꞏ Stripe                2680 ꞏ Payable to Chandler         2,522.06                      0.00
Ford Steam Education revenue for the 2620 ꞏ Payable to Pittsburgh 2457 ꞏ Deferred Other                               857.14        -857.14
Ford Steam Education revenue for the 2457 ꞏ Deferred Other           2620 ꞏ Payable to Pittsburgh        857.14                       0.00
Ford Steam Education revenue for the 2610 ꞏ Payable to Mid-Penin -SPLIT-                                               79.00         -79.00
Ford Steam Education revenue for the 2630 ꞏ Payable to SOMA          2610 ꞏ Payable to Mid-Peninsula                  188.00       -267.00
Ford Steam Education revenue for the 2457 ꞏ Deferred Other           2610 ꞏ Payable to Mid-Penin         267.00                       0.00
Ford Steam Education revenue for the 2457 ꞏ Deferred Other           2610 ꞏ Payable to Mid-Peninsula                  267.00       -267.00
Ford Steam Education revenue for the 1450 ꞏ Receivable from Detro2610 ꞏ Payable to Mid-Penin             267.00                       0.00
Stripe transactions for 05/01/2017      2630 ꞏ Payable to SOMA       1091 ꞏ Stripe                                   1,601.85     -1,601.85
Stripe transactions for 05/01/2017      1091 ꞏ Stripe                2630 ꞏ Payable to SOMA             1,601.85                      0.00
Stripe Transaction for 05/01/2017       2690 ꞏ Payable to DC-Arlingt 1091 ꞏ Stripe                      1,747.50                  1,747.50
Stripe Transaction for 05/01/2017       1091 ꞏ Stripe                2690 ꞏ Payable to DC-Arlington                  1,747.50         0.00
Justin Leathers (4058) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7310 ꞏ Rent                                            883.00        -883.00
Monthly rent for corporate storage      7310 ꞏ Rent                  2610 ꞏ Payable to Mid-Penin         883.00                       0.00
Old Vance hatch Card credit transferre 2610 ꞏ Payable to Mid-Penin 2110 ꞏ Credit Card *0248-Vance Hatch              4,588.85     -4,588.85
Old Vance hatch Card credit transferre 2110 ꞏ Credit Card *0248-Va 2610 ꞏ Payable to Mid-Penin          4,588.85                      0.00
Stripe Transacions for the period 05/012650 ꞏ Payable to Detroit     -SPLIT-                                          969.73        -969.73
Stripe Transacions for the period 05/012690 ꞏ Payable to DC-Arlingt 2650 ꞏ Payable to Detroit            145.65                     -824.08
Stripe Transacions for the period 05/011091 ꞏ Stripe                 2650 ꞏ Payable to Detroit           824.08                       0.00
Stripe transactions for the period 05/05 2640 ꞏ Payable to San Jose -SPLIT-                                           485.20        -485.20
Stripe transactions for the period 05/05 2620 ꞏ Payable to Pittsburgh 2640 ꞏ Payable to San Jose                      965.84      -1,451.04
Stripe transactions for the period 05/05 2680 ꞏ Payable to Chandler 2640 ꞏ Payable to San Jose                       1,552.33     -3,003.37
Stripe transactions for the period 05/05 1091 ꞏ Stripe               2640 ꞏ Payable to San Jose         3,003.37                      0.00
Stripe transaction for 05/09/2017       2620 ꞏ Payable to Pittsburgh -SPLIT-                                          674.54        -674.54
Stripe transaction for 05/09/2017       2670 ꞏ Payable to Austin     2620 ꞏ Payable to Pittsburgh        726.98                      52.44
Stripe transaction for 05/09/2017       1091 ꞏ Stripe                2620 ꞏ Payable to Pittsburgh                      52.44          0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                   50,000.00    -50,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA            50,000.00                      0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   24,000.00    -24,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh      24,000.00                      0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                   20,000.00    -20,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin          20,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin       10,000.00                      0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                   15,000.00    -15,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt      15,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin       10,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA            10,000.00                      0.00


      Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                           Page 45 of
                                                               1568
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                   5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin           5,000.00                    0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh       5,000.00                    0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                    5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis        5,000.00                    0.00
Michael Erickson (7030) CREDIT CAR 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                              270.00      -270.00
Rental for Off-Site Storage-Monthly     7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         270.00                     0.00
Stripe transactions for the period 05/10 2610 ꞏ Payable to Mid-Penin -SPLIT-                                         485.20      -485.20
Stripe transactions for the period 05/10 2650 ꞏ Payable to Detroit   2610 ꞏ Payable to Mid-Peninsula                2,812.39    -3,297.59
Stripe transactions for the period 05/10 2630 ꞏ Payable to SOMA      2610 ꞏ Payable to Mid-Peninsula                1,601.85    -4,899.44
Stripe transactions for the period 05/10 2690 ꞏ Payable to DC-Arlingt 2610 ꞏ Payable to Mid-Peninsula               2,861.91    -7,761.35
Stripe transactions for the period 05/10 1091 ꞏ Stripe               2610 ꞏ Payable to Mid-Penin        7,761.35                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                    15,000.00   -15,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose     15,000.00                       0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                  10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA         10,000.00                       0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                  10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin       10,000.00                       0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                    10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler     10,000.00                       0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                  15,000.00   -15,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt   15,000.00                       0.00
Stripe transactions for 05/17/2017      2680 ꞏ Payable to Chandler 1091 ꞏ Stripe                        1,940.73                1,940.73
Stripe transactions for 05/17/2017      1091 ꞏ Stripe                2680 ꞏ Payable to Chandler                     1,940.73        0.00
Stripe transaction for the period 05/17/22680 ꞏ Payable to Chandler -SPLIT-                                         1,552.33    -1,552.33
Stripe transaction for the period 05/17/22640 ꞏ Payable to San Jose 2680 ꞏ Payable to Chandler                      8,884.05   -10,436.38
Stripe transaction for the period 05/17/21091 ꞏ Stripe               2680 ꞏ Payable to Chandler     10,436.38                       0.00
Stripe transaction for 05/19/2017       2690 ꞏ Payable to DC-Arlingt 1091 ꞏ Stripe                                   485.20      -485.20
Stripe transaction for 05/19/2017       1091 ꞏ Stripe                2690 ꞏ Payable to DC-Arlingt        485.20                     0.00
Stripe transactions for 05/23/2017      2615 ꞏ Payable to St. Louis -SPLIT-                                         1,552.03    -1,552.03
Stripe transactions for 05/23/2017      2610 ꞏ Payable to Mid-Penin 2615 ꞏ Payable to St. Louis                     9,740.77   -11,292.80
Stripe transactions for 05/23/2017      2620 ꞏ Payable to Pittsburgh 2615 ꞏ Payable to St. Louis                    1,735.55   -13,028.35
Stripe transactions for 05/23/2017      2640 ꞏ Payable to San Jose 2615 ꞏ Payable to St. Louis           800.10                -12,228.25
Stripe transactions for 05/23/2017      1091 ꞏ Stripe                2615 ꞏ Payable to St. Louis    12,228.25                       0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                  30,000.00   -30,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA         30,000.00                       0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                   20,000.00   -20,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin    20,000.00                       0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                  10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt   10,000.00                       0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                  26,000.00   -26,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin       26,000.00                       0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                   20,000.00   -20,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin    20,000.00                       0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                    15,000.00   -15,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler     15,000.00                       0.00


      Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                          Page 46 of
                                                               1568
Stripe Transactions for the period 05/262690 ꞏ Payable to DC-Arlingt -SPLIT-                                       2,522.73    -2,522.73
Stripe Transactions for the period 05/262610 ꞏ Payable to Mid-Penin 2690 ꞏ Payable to DC-Arlington                 2,037.53    -4,560.26
Stripe Transactions for the period 05/261091 ꞏ Stripe                2690 ꞏ Payable to DC-Arlingt      4,560.26                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                 10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    10,000.00                     0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                                 10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit       10,000.00                     0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                   6,000.00    -6,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin       6,000.00                    0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                  6,000.00    -6,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh      6,000.00                    0.00
Stripe transactions for 05/30/2017      2620 ꞏ Payable to Pittsburgh -SPLIT-                                        965.84      -965.84
Stripe transactions for 05/30/2017      2630 ꞏ Payable to SOMA       2620 ꞏ Payable to Pittsburgh                  1,601.85    -2,567.69
Stripe transactions for 05/30/2017      1091 ꞏ Stripe                2620 ꞏ Payable to Pittsburgh      2,567.69                    0.00
Nathaniel Padgett (0098) CREDIT CAR2700 ꞏ Payable to Brooklyn -SPLIT-                                               797.58      -797.58
Flight to California for training       8110 ꞏ Airfare               2700 ꞏ Payable to Brooklyn         511.41                  -286.17
Checked back for flight to California (1 8110 ꞏ Airfare              2700 ꞏ Payable to Brooklyn          25.00                  -261.17
Checked back for flight to California (1 8110 ꞏ Airfare              2700 ꞏ Payable to Brooklyn          25.00                  -236.17
Business cards                          7510 ꞏ Advertising           2700 ꞏ Payable to Brooklyn          69.68                  -166.49
Flight change fee                       8110 ꞏ Airfare               2700 ꞏ Payable to Brooklyn         120.99                    -45.50
Pizzas for a marker workshop we ran a8135 ꞏ Meals & Entertainmen2700 ꞏ Payable to Brooklyn               45.50                     0.00
Stripe transaction for 06/01/2017       2610 ꞏ Payable to Mid-Penin -SPLIT-                                        1,260.06    -1,260.06
Stripe transaction for 06/01/2017       2630 ꞏ Payable to SOMA       2610 ꞏ Payable to Mid-Peninsula                485.20     -1,745.26
Stripe transaction for 06/01/2017       1091 ꞏ Stripe                2610 ꞏ Payable to Mid-Penin       1,745.26                    0.00
Allocate Jon's travel expenses to Corp2680 ꞏ Payable to Chandler -SPLIT-                                           1,636.70    -1,636.70
Allocate Jon's travel expenses to Corp8110 ꞏ Airfare                 2680 ꞏ Payable to Chandler        1,596.70                   -40.00
Allocate Jon's travel expenses to Corp8150 ꞏ Parking, Mileage, Gas2680 ꞏ Payable to Chandler             40.00                     0.00
Stripe Transaction for 06/01/2017       2650 ꞏ Payable to Detroit    -SPLIT-                                        969.73      -969.73
Stripe Transaction for 06/01/2017       2690 ꞏ Payable to DC-Arlingt 2650 ꞏ Payable to Detroit                     1,260.06    -2,229.79
Stripe Transaction for 06/01/2017       2620 ꞏ Payable to Pittsburgh 2650 ꞏ Payable to Detroit          564.47                 -1,665.32
Stripe Transaction for 06/01/2017       2680 ꞏ Payable to Chandler 2650 ꞏ Payable to Detroit                       1,552.33    -3,217.65
Stripe Transaction for 06/01/2017       1091 ꞏ Stripe                2650 ꞏ Payable to Detroit         3,217.65                    0.00
Stripe transaction for the period 06/01/22680 ꞏ Payable to Chandler -SPLIT-                                        1,260.06    -1,260.06
Stripe transaction for the period 06/01/22640 ꞏ Payable to San Jose 2680 ꞏ Payable to Chandler                      485.20     -1,745.26
Stripe transaction for the period 06/01/22680 ꞏ Payable to Chandler 2680 ꞏ Payable to Chandler                      485.20     -2,230.46
Stripe transaction for the period 06/01/22690 ꞏ Payable to DC-Arlingt 2680 ꞏ Payable to Chandler                   1,260.06    -3,490.52
Stripe transaction for the period 06/01/22610 ꞏ Payable to Mid-Penin 2680 ꞏ Payable to Chandler                    1,552.33    -5,042.85
Stripe transaction for the period 06/01/22650 ꞏ Payable to Detroit   2680 ꞏ Payable to Chandler                     385.86     -5,428.71
Stripe transaction for the period 06/01/22680 ꞏ Payable to Chandler 2680 ꞏ Payable to Chandler                     1,552.33    -6,981.04
Stripe transaction for the period 06/01/21091 ꞏ Stripe               2680 ꞏ Payable to Chandler        6,981.04                    0.00
Stripe transactions for 06/04/2017      2610 ꞏ Payable to Mid-Penin 1091 ꞏ Stripe                                  1,260.06    -1,260.06
Stripe transactions for 06/04/2017      1091 ꞏ Stripe                2610 ꞏ Payable to Mid-Penin       1,260.06                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                  20,000.00   -20,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     20,000.00                     0.00
Stripe transactions for the period 06/05 2620 ꞏ Payable to Pittsburgh -SPLIT-                                      1,601.85    -1,601.85
Stripe transactions for the period 06/05 2610 ꞏ Payable to Mid-Penin 2620 ꞏ Payable to Pittsburgh                  1,745.26    -3,347.11
Stripe transactions for the period 06/05 2650 ꞏ Payable to Detroit   2620 ꞏ Payable to Pittsburgh                  1,260.06    -4,607.17


       Case: 18-50398                Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 47 of
                                                               1568
Stripe transactions for the period 06/05 2640 ꞏ Payable to San Jose 2620 ꞏ Payable to Pittsburgh                      970.40      -5,577.57
Stripe transactions for the period 06/05 1091 ꞏ Stripe               2620 ꞏ Payable to Pittsburgh       5,577.57                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                   55,000.00    -55,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA            55,000.00                      0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                   45,000.00    -45,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt      45,000.00                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    20,000.00    -20,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin       20,000.00                      0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                     20,000.00    -20,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose        20,000.00                      0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                     10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler        10,000.00                      0.00
Stripe transactions for the period 06/07 2610 ꞏ Payable to Mid-Penin -SPLIT-                                          965.84       -965.84
Stripe transactions for the period 06/07 2690 ꞏ Payable to DC-Arlingt 2610 ꞏ Payable to Mid-Peninsula                1,260.06     -2,225.90
Stripe transactions for the period 06/07 1091 ꞏ Stripe               2610 ꞏ Payable to Mid-Penin        2,225.90                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                    20,000.00    -20,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis       20,000.00                      0.00
Justin Leathers (8952) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7310 ꞏ Rent                                            943.00        -943.00
Monthly rent for corporate storage      7310 ꞏ Rent                  2610 ꞏ Payable to Mid-Penin         943.00                       0.00
Nathaniel Padgett (0098) CREDIT CAR2700 ꞏ Payable to Brooklyn -SPLIT-                                                  81.16         -81.16
Lunch with Lillie Rockler of Rockerler w8135 ꞏ Meals & Entertainmen2700 ꞏ Payable to Brooklyn             39.16                      -42.00
BART ticket for getting around the Bay 8120 ꞏ Ground Transportatio 2700 ꞏ Payable to Brooklyn             15.00                      -27.00
Parking at TechShop San Jose            8120 ꞏ Ground Transportatio 2700 ꞏ Payable to Brooklyn            27.00                       0.00
Stripe transactions for the period 06/10 2690 ꞏ Payable to DC-Arlingt 1091 ꞏ Stripe                                  4,605.22     -4,605.22
Stripe transactions for the period 06/10 1091 ꞏ Stripe               2690 ꞏ Payable to DC-Arlingt       4,605.22                      0.00
Michael Erickson (7030) CREDIT CAR 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                               270.00       -270.00
Rental for Off-Site Storage-Monthly     7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         270.00                       0.00
Stripe transactions for the period 06/13 2610 ꞏ Payable to Mid-Penin -SPLIT-                                          965.84       -965.84
Stripe transactions for the period 06/13 2620 ꞏ Payable to Pittsburgh 2610 ꞏ Payable to Mid-Penin       1,601.85                    636.01
Stripe transactions for the period 06/13 1091 ꞏ Stripe               2610 ꞏ Payable to Mid-Peninsula                  636.01          0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                      5,000.00     -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler         5,000.00                      0.00
Nathaniel Padgett (0098) CREDIT CAR2700 ꞏ Payable to Brooklyn 8120 ꞏ Ground Transportation                           1,017.80     -1,017.80
Rental car for my trip to TechShop HQ 8120 ꞏ Ground Transportatio 2700 ꞏ Payable to Brooklyn            1,017.80                      0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                    545,000.00   -545,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn       545,000.00                      0.00
Stripe transactions for the period 06/16 2690 ꞏ Payable to DC-Arlingt -SPLIT-                                        1,552.33     -1,552.33
Stripe transactions for the period 06/16 2610 ꞏ Payable to Mid-Penin 2690 ꞏ Payable to DC-Arlington                  3,154.18     -4,706.51
Stripe transactions for the period 06/16 2650 ꞏ Payable to Detroit   2690 ꞏ Payable to DC-Arlington                  1,355.59     -6,062.10
Stripe transactions for the period 06/16 1091 ꞏ Stripe               2690 ꞏ Payable to DC-Arlingt       6,062.10                      0.00
5% Noah Chittim Salary transferred ba 2700 ꞏ Payable to Brooklyn 6110 ꞏ Gross Salary                                   35.08         -35.08
5% Noah Chittim Salary transferred ba 6110 ꞏ Gross Salary            2700 ꞏ Payable to Brooklyn           35.08                       0.00
Stripe Transactions for the period 06/242615 ꞏ Payable to St. Louis -SPLIT-                                           485.20        -485.20
Stripe Transactions for the period 06/242690 ꞏ Payable to DC-Arlingt 2615 ꞏ Payable to St. Louis                     1,601.85     -2,087.05
Stripe Transactions for the period 06/242670 ꞏ Payable to Austin     2615 ꞏ Payable to St. Louis                      674.54      -2,761.59
Stripe Transactions for the period 06/242630 ꞏ Payable to SOMA       2615 ꞏ Payable to St. Louis                     1,601.85     -4,363.44
Stripe Transactions for the period 06/242670 ꞏ Payable to Austin     2615 ꞏ Payable to St. Louis         484.23                   -3,879.21


      Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                           Page 48 of
                                                               1568
Stripe Transactions for the period 06/241091 ꞏ Stripe               2615 ꞏ Payable to St. Louis        3,879.21                      0.00
Funds Transfer                         2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                    13,000.00    -13,000.00
Funds Transfer                         1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis       13,000.00                      0.00
Funds Transfer                         2650 ꞏ Payable to Detroit    1010 ꞏ Chase                                  150,000.00   -150,000.00
Funds Transfer                         1010 ꞏ Chase                 2650 ꞏ Payable to Detroit        150,000.00                      0.00
Justin Leathers (8952) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                              460.00       -460.00
Monthly rent for corporate storage     7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         460.00                       0.00
Stripe transacions for 06/29/2017      2690 ꞏ Payable to DC-Arlingt 1091 ꞏ Stripe                                   1,601.85     -1,601.85
Stripe transacions for 06/29/2017      1091 ꞏ Stripe                2690 ꞏ Payable to DC-Arlingt       1,601.85                      0.00
Kenneth Chalk- Refund dated 04/26/202690 ꞏ Payable to DC-Arlingt -SPLIT-                                532.78                     532.78
David Figura -Transaction failed dated 2630 ꞏ Payable to SOMA       2690 ꞏ Payable to DC-Arlingt        549.00                   1,081.78
Transactions related to 2014 earlier no1091 ꞏ Stripe                2690 ꞏ Payable to DC-Arlington                  1,081.48         0.30
Difference recorded under Bank Fees 8820 ꞏ Bank Service Fees        2690 ꞏ Payable to DC-Arlington                      0.30         0.00
Justin Leathers (8952) CREDIT CARD 2610 ꞏ Payable to Mid-Penin -SPLIT-                                               423.00        -423.00
SEAPORT STORAGE                        7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         208.00                     -215.00
SEAPORT STORAGE                        7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         215.00                       0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                   26,000.00    -26,000.00
Funds Transfer                         1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh      26,000.00                      0.00
Funds Transfer                         2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                   34,000.00    -34,000.00
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA            34,000.00                      0.00
Funds Transfer                         2670 ꞏ Payable to Austin     1010 ꞏ Chase                                    9,000.00     -9,000.00
Funds Transfer                         1010 ꞏ Chase                 2670 ꞏ Payable to Austin           9,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt      10,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                    10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin       10,000.00                      0.00
Stripe Transactions for the period 07/072690 ꞏ Payable to DC-Arlingt -SPLIT-                                        1,552.33     -1,552.33
Stripe Transactions for the period 07/072610 ꞏ Payable to Mid-Penin 2690 ꞏ Payable to DC-Arlington                   965.84      -2,518.17
Stripe Transactions for the period 07/072610 ꞏ Payable to Mid-Penin 2690 ꞏ Payable to DC-Arlington                  1,552.33     -4,070.50
Stripe Transactions for the period 07/072640 ꞏ Payable to San Jose 2690 ꞏ Payable to DC-Arlington                   1,601.85     -5,672.35
Stripe Transactions for the period 07/072630 ꞏ Payable to SOMA      2690 ꞏ Payable to DC-Arlington                  1,601.85     -7,274.20
Stripe Transactions for the period 07/072620 ꞏ Payable to Pittsburgh 2690 ꞏ Payable to DC-Arlingt       710.00                   -6,564.20
Stripe Transactions for the period 07/071091 ꞏ Stripe               2690 ꞏ Payable to DC-Arlingt       6,564.20                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                   15,000.00    -15,000.00
Funds Transfer                         1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt      15,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                     5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin        5,000.00                      0.00
Funds Transfer                         2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                    5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA             5,000.00                      0.00
Funds Transfer                         2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                      5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                 2680 ꞏ Payable to Chandler         5,000.00                      0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                    8,000.00     -8,000.00
Funds Transfer                         1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh       8,000.00                      0.00
Funds Transfer                         2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                     7,000.00     -7,000.00
Funds Transfer                         1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis        7,000.00                      0.00
Funds Transfer                         2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                    5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                 2630 ꞏ Payable to SOMA             5,000.00                      0.00


      Case: 18-50398                 Doc# 1      Filed: 02/26/18 Entered: 02/26/18 17:48:40                           Page 49 of
                                                              1568
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        4,000.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     3,000.00                    0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                 10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler     10,000.00                    0.00
Stripe transactions for the period 07/13 2670 ꞏ Payable to Austin    -SPLIT-                                     1,163.93    -1,163.93
Stripe transactions for the period 07/13 2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                      678.43     -1,842.36
Stripe transactions for the period 07/13 2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                     1,601.85    -3,444.21
Stripe transactions for the period 07/13 1091 ꞏ Stripe               2670 ꞏ Payable to Austin        3,444.21                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    5,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 65,000.00   -65,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose     65,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 45,000.00   -45,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose     45,000.00                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    4,000.00                    0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                 4,000.00    -4,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis     4,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      5,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                6,000.00    -6,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          6,000.00                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                               16,000.00   -16,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt   16,000.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                22,000.00   -22,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin    22,000.00                    0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                 24,000.00   -24,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn     24,000.00                    0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                               10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh   10,000.00                    0.00
Stripe transactions for the period 07/20 2640 ꞏ Payable to San Jose -SPLIT-                                      8,207.04    -8,207.04
Stripe transactions for the period 07/20 2615 ꞏ Payable to St. Louis 2640 ꞏ Payable to San Jose                  2,151.81   -10,358.85
Stripe transactions for the period 07/20 2670 ꞏ Payable to Austin    2640 ꞏ Payable to San Jose                  1,842.36   -12,201.21
Stripe transactions for the period 07/20 2680 ꞏ Payable to Chandler 2640 ꞏ Payable to San Jose                   5,434.46   -17,635.67
Stripe transactions for the period 07/20 2690 ꞏ Payable to DC-Arlingt 2640 ꞏ Payable to San Jose                 2,716.26   -20,351.93
Stripe transactions for the period 07/20 2650 ꞏ Payable to Detroit   2640 ꞏ Payable to San Jose                  1,552.33   -21,904.26
Stripe transactions for the period 07/20 2610 ꞏ Payable to Mid-Penin 2640 ꞏ Payable to San Jose                  4,122.64   -26,026.90
Stripe transactions for the period 07/20 2620 ꞏ Payable to Pittsburgh 2640 ꞏ Payable to San Jose                  183.22    -26,210.12
Stripe transactions for the period 07/20 2630 ꞏ Payable to SOMA      2640 ꞏ Payable to San Jose                  1,163.93   -27,374.05
Stripe transactions for the period 07/20 1091 ꞏ Stripe               2640 ꞏ Payable to San Jose     27,374.05                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          4,000.00                    0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                  7,000.00    -7,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler      7,000.00                    0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                7,000.00    -7,000.00


      Case: 18-50398               Doc# 1         Filed: 02/26/18 Entered: 02/26/18 17:48:40                       Page 50 of
                                                               1568
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin           7,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                   10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA            10,000.00                      0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                     57,000.00    -57,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose        57,000.00                      0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                      2,000.00     -2,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn         2,000.00                      0.00
                                        2670 ꞏ Payable to Austin     -SPLIT-                                        14,119.90    -14,119.90
                                        2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                          5,238.02    -19,357.92
                                        2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                       10,916.20    -30,274.12
Stripe transactions for the period 07/28 2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                       10,330.39    -40,604.51
Stripe transactions for the period 07/28 2615 ꞏ Payable to St. Louis 2670 ꞏ Payable to Austin                       10,330.39    -50,934.90
Stripe transactions for the period 07/28 2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                        8,296.07    -59,230.97
Stripe transactions for the period 07/28 2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                         6,981.04    -66,212.01
Stripe transactions for the period 07/28 2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                        8,195.46    -74,407.47
Stripe transactions for the period 07/28 1091 ꞏ Stripe               2670 ꞏ Payable to Austin          74,407.47                      0.00
Justin Leathers (8952) CREDIT CARD 2610 ꞏ Payable to Mid-Penin -SPLIT-                                                883.00        -883.00
Monthly rent for corporate storage      7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         460.00                    -423.00
Monthly rent for corporate storage      7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         423.00                       0.00
Michael Erickson (7030) CREDIT CAR 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                               270.00       -270.00
Rental for Off-Site Storage-Monthly     7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin         270.00                       0.00
June Hayes Salary transferred back fr2700 ꞏ Payable to Brooklyn 6110 ꞏ Gross Salary                                  1,575.00     -1,575.00
June Hayes Salary transferred back fr6110 ꞏ Gross Salary             2700 ꞏ Payable to Brooklyn         1,575.00                      0.00
Stripe transactions for 08/01/2017      2690 ꞏ Payable to DC-Arlingt -SPLIT-                                         5,094.61     -5,094.61
Stripe transactions for 08/01/2017      2640 ꞏ Payable to San Jose 2690 ꞏ Payable to DC-Arlington                    9,603.41    -14,698.02
Stripe transactions for 08/01/2017      2670 ꞏ Payable to Austin     2690 ꞏ Payable to DC-Arlington                  6,694.22    -21,392.24
Stripe transactions for 08/01/2017      2680 ꞏ Payable to Chandler 2690 ꞏ Payable to DC-Arlington                    5,821.59    -27,213.83
Stripe transactions for 08/01/2017      2650 ꞏ Payable to Detroit    2690 ꞏ Payable to DC-Arlington                  2,474.48    -29,688.31
Stripe transactions for 08/01/2017      2610 ꞏ Payable to Mid-Penin 2690 ꞏ Payable to DC-Arlington                   4,219.74    -33,908.05
Stripe transactions for 08/01/2017      2615 ꞏ Payable to St. Louis 2690 ꞏ Payable to DC-Arlington                   1,745.26    -35,653.31
Stripe transactions for 08/01/2017      2630 ꞏ Payable to SOMA       2690 ꞏ Payable to DC-Arlington                  5,965.00    -41,618.31
Stripe transactions for 08/01/2017      1091 ꞏ Stripe                2690 ꞏ Payable to DC-Arlingt      41,618.31                      0.00
Stripe transactions for 08/01/2017      2615 ꞏ Payable to St. Louis -SPLIT-                                           965.84        -965.84
Stripe transactions for 08/01/2017      2680 ꞏ Payable to Chandler 2615 ꞏ Payable to St. Louis                        872.63      -1,838.47
Stripe transactions for 08/01/2017      2640 ꞏ Payable to San Jose 2615 ꞏ Payable to St. Louis                       2,617.89     -4,456.36
Stripe transactions for 08/01/2017      2610 ꞏ Payable to Mid-Penin 2615 ꞏ Payable to St. Louis                       872.63      -5,328.99
Stripe transactions for 08/01/2017      2670 ꞏ Payable to Austin     2615 ꞏ Payable to St. Louis                     3,349.35     -8,678.34
Stripe transactions for 08/01/2017      2630 ꞏ Payable to SOMA       2615 ꞏ Payable to St. Louis         872.63                   -7,805.71
Stripe transactions for 08/01/2017      1091 ꞏ Stripe                2615 ꞏ Payable to St. Louis        7,805.71                      0.00
Stripe transactions for 08/02/2017      2610 ꞏ Payable to Mid-Penin -SPLIT-                              678.43                     678.43
Stripe transactions for 08/02/2017      2680 ꞏ Payable to Chandler 2610 ꞏ Payable to Mid-Peninsula                    674.54          3.89
Stripe transactions for 08/02/2017      1091 ꞏ Stripe                2610 ꞏ Payable to Mid-Peninsula                     3.89         0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                                   30,000.00    -30,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit         30,000.00                      0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                    300,000.00   -300,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn       300,000.00                      0.00
Stripe transactions for the period 08/04 2650 ꞏ Payable to Detroit   -SPLIT-                                          872.63        -872.63


      Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                           Page 51 of
                                                               1568
Stripe transactions for the period 08/04 2690 ꞏ Payable to DC-Arlingt 2650 ꞏ Payable to Detroit                  1,747.50    -2,620.13
Stripe transactions for the period 08/04 2680 ꞏ Payable to Chandler 2650 ꞏ Payable to Detroit                    1,601.85    -4,221.98
Stripe transactions for the period 08/04 2640 ꞏ Payable to San Jose 2650 ꞏ Payable to Detroit                     872.63     -5,094.61
Stripe transactions for the period 08/04 2610 ꞏ Payable to Mid-Penin 2650 ꞏ Payable to Detroit                    872.63     -5,967.24
Stripe transactions for the period 08/04 2630 ꞏ Payable to SOMA      2650 ꞏ Payable to Detroit        872.63                 -5,094.61
Stripe transactions for the period 08/04 1091 ꞏ Stripe               2650 ꞏ Payable to Detroit       5,094.61                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    5,000.00                    0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                               23,000.00   -23,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh   23,000.00                    0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        5,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      5,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                               10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA         10,000.00                    0.00
Stripe transactions for the period 08/09 2630 ꞏ Payable to SOMA      -SPLIT-                                      485.20      -485.20
Stripe transactions for the period 08/09 2680 ꞏ Payable to Chandler 2630 ꞏ Payable to SOMA                       1,601.85    -2,087.05
Stripe transactions for the period 08/09 2690 ꞏ Payable to DC-Arlingt 2630 ꞏ Payable to SOMA                      965.84     -3,052.89
Stripe transactions for the period 08/09 1091 ꞏ Stripe               2630 ꞏ Payable to SOMA          3,052.89                    0.00
Mia Norton Credit Card # 088844 for th2640 ꞏ Payable to San Jose 8110 ꞏ Airfare                                   252.19      -252.19
Airfare                                 8110 ꞏ Airfare               2640 ꞏ Payable to San Jose       252.19                     0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis    10,000.00                    0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                 10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn     10,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      5,000.00                    0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                 5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis     5,000.00                    0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                  3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn      3,000.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 2,000.00    -2,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     2,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          5,000.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     5,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 10,000.00   -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose     10,000.00                    0.00
Per diem payment to Mia Norton as pe 2640 ꞏ Payable to San Jose 8135 ꞏ Meals & Entertainment                     2,442.00    -2,442.00
Per diem payment to Mia Norton          8135 ꞏ Meals & Entertainmen2640 ꞏ Payable to San Jose        2,442.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 6,000.00    -6,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     6,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      5,000.00                    0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                5,000.00    -5,000.00


          Case: 18-50398           Doc# 1         Filed: 02/26/18 Entered: 02/26/18 17:48:40                       Page 52 of
                                                               1568
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        5,000.00                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    5,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                               37,000.00   -37,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA         37,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  8,000.00    -8,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      8,000.00                    0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                 7,000.00    -7,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis     7,000.00                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                6,000.00    -6,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    6,000.00                    0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler      5,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          4,000.00                    0.00
Funds Transfer                          2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2620 ꞏ Payable to Pittsburgh    3,000.00                    0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                2,000.00    -2,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        2,000.00                    0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                 15,000.00   -15,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn     15,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      3,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          3,000.00                    0.00
Stripe transactions for the period 08/20 2650 ꞏ Payable to Detroit   -SPLIT-                                     1,162.96    -1,162.96
Stripe transactions for the period 08/20 2670 ꞏ Payable to Austin    2650 ꞏ Payable to Detroit                    674.54     -1,837.50
Stripe transactions for the period 08/20 2690 ꞏ Payable to DC-Arlingt 2650 ꞏ Payable to Detroit                  2,567.69    -4,405.19
Stripe transactions for the period 08/20 2680 ꞏ Payable to Chandler 2650 ꞏ Payable to Detroit                    1,601.85    -6,007.04
Stripe transactions for the period 08/20 1091 ꞏ Stripe               2650 ꞏ Payable to Detroit       6,007.04                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          5,000.00                    0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                2,000.00    -2,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        2,000.00                    0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                               32,000.00   -32,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit      32,000.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     5,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                2,000.00    -2,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          2,000.00                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                2,000.00    -2,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    2,000.00                    0.00
Justin Leathers (8952) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                           476.00      -476.00
Monthly rent for corporate storage      7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin      476.00                     0.00
Mia Norton Credit Card # 088844 for th2640 ꞏ Payable to San Jose 8110 ꞏ Airfare                                   100.00      -100.00
JETBLUE AIRWAYS (JETBLUE)               8110 ꞏ Airfare               2640 ꞏ Payable to San Jose       100.00                     0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                5,000.00    -5,000.00


      Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                       Page 53 of
                                                               1568
Funds Transfer                         1010 ꞏ Chase                2630 ꞏ Payable to SOMA           5,000.00                      0.00
Funds Transfer                         2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                  1,000.00     -1,000.00
Funds Transfer                         1010 ꞏ Chase                2630 ꞏ Payable to SOMA           1,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                  2,000.00     -2,000.00
Funds Transfer                         1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin      2,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                 3,000.00     -3,000.00
Funds Transfer                         1010 ꞏ Chase                2690 ꞏ Payable to DC-Arlingt     3,000.00                      0.00
Funds Transfer                         2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                   4,000.00     -4,000.00
Funds Transfer                         1010 ꞏ Chase                2680 ꞏ Payable to Chandler       4,000.00                      0.00
Funds Transfer                         2670 ꞏ Payable to Austin    1010 ꞏ Chase                                  4,000.00     -4,000.00
Funds Transfer                         1010 ꞏ Chase                2670 ꞏ Payable to Austin         4,000.00                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                  4,000.00     -4,000.00
Funds Transfer                         1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin      4,000.00                      0.00
Funds Transfer                         2620 ꞏ Payable to Pittsburgh 1010 ꞏ Chase                                 5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                2620 ꞏ Payable to Pittsburgh     5,000.00                      0.00
Funds Transfer                         2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                   5,000.00     -5,000.00
Funds Transfer                         1010 ꞏ Chase                2640 ꞏ Payable to San Jose       5,000.00                      0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                 6,000.00     -6,000.00
Funds Transfer                         1010 ꞏ Chase                2690 ꞏ Payable to DC-Arlingt     6,000.00                      0.00
Funds Transfer                         2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                 13,000.00    -13,000.00
Funds Transfer                         1010 ꞏ Chase                2630 ꞏ Payable to SOMA          13,000.00                      0.00
Stripe Transactions for the perod 08/242670 ꞏ Payable to Austin    -SPLIT-                                       4,364.19     -4,364.19
Stripe Transactions for the perod 08/242680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                       1,047.78     -5,411.97
Stripe Transactions for the perod 08/242690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                     4,837.36    -10,249.33
Stripe Transactions for the perod 08/242610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                      6,807.97    -17,057.30
Stripe Transactions for the perod 08/242630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      7,891.09    -24,948.39
Stripe Transactions for the perod 08/242640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                       3,491.56    -28,439.95
Stripe Transactions for the perod 08/242615 ꞏ Payable to St. Louis 2670 ꞏ Payable to Austin                      4,713.45    -33,153.40
Stripe Transactions for the perod 08/241091 ꞏ Stripe               2670 ꞏ Payable to Austin        33,153.40                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                 130,000.00   -130,000.00
Funds Transfer                         1010 ꞏ Chase                2700 ꞏ Payable to Brooklyn     130,000.00                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                 235,000.00   -235,000.00
Funds Transfer                         1010 ꞏ Chase                2700 ꞏ Payable to Brooklyn     235,000.00                      0.00
Stripe transaction for 08/31/2017      2670 ꞏ Payable to Austin    -SPLIT-                                       1,571.15     -1,571.15
Stripe transaction for 08/31/2017      2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                       3,840.82     -5,411.97
Stripe transaction for 08/31/2017      2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                     4,538.30     -9,950.27
Stripe transaction for 08/31/2017      2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                       698.52     -10,648.79
Stripe transaction for 08/31/2017      2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                       698.52     -11,347.31
Stripe transaction for 08/31/2017      2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      4,364.19    -15,711.50
Stripe transaction for 08/31/2017      2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                       5,062.71    -20,774.21
Stripe transaction for 08/31/2017      2615 ꞏ Payable to St. Louis 2670 ꞏ Payable to Austin                      8,864.32    -29,638.53
Stripe transaction for 08/31/2017      2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin         872.63                  -28,765.90
Stripe transaction for 08/31/2017      1091 ꞏ Stripe               2670 ꞏ Payable to Austin        28,765.90                      0.00
Justin Leathers (8952) CREDIT CARD 2610 ꞏ Payable to Mid-Penin 7920 ꞏ Equipment Rentals                           438.00       -438.00
Monthly rent for corporate storage     7920 ꞏ Equipment Rentals    2610 ꞏ Payable to Mid-Penin       438.00                       0.00
Funds Transfer                         2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                 90,000.00    -90,000.00
Funds Transfer                         1010 ꞏ Chase                2615 ꞏ Payable to St. Louis     90,000.00                      0.00


      Case: 18-50398                 Doc# 1     Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 54 of
                                                             1568
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                  100,000.00   -100,000.00
Funds Transfer                         1010 ꞏ Chase                2700 ꞏ Payable to Brooklyn     100,000.00                       0.00
Stripe Transactions for 09/01/2017     2670 ꞏ Payable to Austin    -SPLIT-                                        6,632.82     -6,632.82
Stripe Transactions for 09/01/2017     2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                        2,269.67     -8,902.49
Stripe Transactions for 09/01/2017     2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                      3,491.56    -12,394.05
Stripe Transactions for 09/01/2017     2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                       1,920.41    -14,314.46
Stripe Transactions for 09/01/2017     2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                       6,109.45    -20,423.91
Stripe Transactions for 09/01/2017     2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                       8,029.86    -28,453.77
Stripe Transactions for 09/01/2017     2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                        9,601.01    -38,054.78
Stripe Transactions for 09/01/2017     2615 ꞏ Payable to St. Louis 2670 ꞏ Payable to Austin                       6,807.97    -44,862.75
Stripe Transactions for 09/01/2017     1091 ꞏ Stripe               2670 ꞏ Payable to Austin        43,990.12                     -872.63
Stripe Transactions for 09/01/2017     2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin            872.63                       0.00
Stripe transaction for 09/02/2017      2680 ꞏ Payable to Chandler -SPLIT-                                          349.26        -349.26
Stripe transaction for 09/02/2017      2610 ꞏ Payable to Mid-Penin 2680 ꞏ Payable to Chandler                      698.52      -1,047.78
Stripe transaction for 09/02/2017      2630 ꞏ Payable to SOMA      2680 ꞏ Payable to Chandler                     2,967.15     -4,014.93
Stripe transaction for 09/02/2017      2640 ꞏ Payable to San Jose 2680 ꞏ Payable to Chandler                      2,793.04     -6,807.97
Stripe transaction for 09/02/2017      2615 ꞏ Payable to St. Louis 2680 ꞏ Payable to Chandler                     4,364.19    -11,172.16
Stripe transaction for 09/02/2017      2670 ꞏ Payable to Austin    2680 ꞏ Payable to Chandler                      872.63     -12,044.79
Stripe transaction for 09/02/2017      1091 ꞏ Stripe               2680 ꞏ Payable to Chandler      12,044.79                       0.00
Stripe Transactions for the period 09/052630 ꞏ Payable to SOMA     -SPLIT-                                        3,203.70     -3,203.70
Stripe Transactions for the period 09/052700 ꞏ Payable to Brooklyn 2630 ꞏ Payable to SOMA                         1,601.85     -4,805.55
Stripe Transactions for the period 09/052615 ꞏ Payable to St. Louis 2630 ꞏ Payable to SOMA            872.63                   -3,932.92
Stripe Transactions for the period 09/052610 ꞏ Payable to Mid-Penin 2630 ꞏ Payable to SOMA                        2,572.25     -6,505.17
Stripe Transactions for the period 09/052640 ꞏ Payable to San Jose 2630 ꞏ Payable to SOMA                          965.84      -7,471.01
Stripe Transactions for the period 09/052700 ꞏ Payable to Brooklyn 2630 ꞏ Payable to SOMA                         1,601.85     -9,072.86
Stripe Transactions for the period 09/051091 ꞏ Stripe              2630 ꞏ Payable to SOMA            9,072.86                      0.00
Funds Transfer                         2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                   40,000.00    -40,000.00
Funds Transfer                         1010 ꞏ Chase                2700 ꞏ Payable to Brooklyn      40,000.00                       0.00
Funds Transfer                         2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                  26,000.00    -26,000.00
Funds Transfer                         1010 ꞏ Chase                2630 ꞏ Payable to SOMA          26,000.00                       0.00
Funds Transfer                         2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                 20,000.00    -20,000.00
Funds Transfer                         1010 ꞏ Chase                2690 ꞏ Payable to DC-Arlingt    20,000.00                       0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                  10,000.00    -10,000.00
Funds Transfer                         1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     10,000.00                       0.00
Funds Transfer                         2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                    8,000.00     -8,000.00
Funds Transfer                         1010 ꞏ Chase                2680 ꞏ Payable to Chandler        8,000.00                      0.00
                                       2610 ꞏ Payable to Mid-Penin -SPLIT-                                         480.34       -480.34
                                       2630 ꞏ Payable to SOMA      2610 ꞏ Payable to Mid-Peninsula                1,451.04     -1,931.38
                                       2650 ꞏ Payable to Detroit   2610 ꞏ Payable to Mid-Peninsula                 485.20      -2,416.58
                                       2630 ꞏ Payable to SOMA      2610 ꞏ Payable to Mid-Penin        727.28                   -1,689.30
                                       1091 ꞏ Stripe               2610 ꞏ Payable to Mid-Penin       1,689.30                      0.00
Funds Transfer                         2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                  30,000.00    -30,000.00
Funds Transfer                         1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     30,000.00                       0.00
Funds Transfer                         2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                  21,000.00    -21,000.00
Funds Transfer                         1010 ꞏ Chase                2630 ꞏ Payable to SOMA          21,000.00                       0.00
Funds Transfer                         2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                    9,000.00     -9,000.00
Funds Transfer                         1010 ꞏ Chase                2680 ꞏ Payable to Chandler        9,000.00                      0.00


      Case: 18-50398                Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                         Page 55 of
                                                              1568
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  7,000.00    -7,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      7,000.00                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                7,000.00    -7,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    7,000.00                    0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        5,000.00                    0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                  5,000.00    -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      5,000.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          4,000.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 6,000.00    -6,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     6,000.00                    0.00
Stripe transactions for the period 09/20 2630 ꞏ Payable to SOMA      -SPLIT-                                     2,824.11    -2,824.11
Stripe transactions for the period 09/20 2670 ꞏ Payable to Austin    2630 ꞏ Payable to SOMA                      1,921.98    -4,746.09
Stripe transactions for the period 09/20 2700 ꞏ Payable to Brooklyn 2630 ꞏ Payable to SOMA                       6,407.40   -11,153.49
Stripe transactions for the period 09/20 2650 ꞏ Payable to Detroit   2630 ꞏ Payable to SOMA                      1,921.98   -13,075.47
Stripe transactions for the period 09/20 2640 ꞏ Payable to San Jose 2630 ꞏ Payable to SOMA                       2,649.93   -15,725.40
Stripe transactions for the period 09/20 1091 ꞏ Stripe               2630 ꞏ Payable to SOMA         15,725.40                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          3,000.00                    0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                11,000.00   -11,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin    11,000.00                    0.00
Stripe transactions for the period 09/28 2700 ꞏ Payable to Brooklyn -SPLIT-                                      4,659.60    -4,659.60
Stripe transactions for the period 09/28 2680 ꞏ Payable to Chandler 2700 ꞏ Payable to Brooklyn                   8,328.48   -12,988.08
Stripe transactions for the period 09/28 2690 ꞏ Payable to DC-Arlingt 2700 ꞏ Payable to Brooklyn                 9,754.95   -22,743.03
Stripe transactions for the period 09/28 2630 ꞏ Payable to SOMA      2700 ꞏ Payable to Brooklyn                 10,746.27   -33,489.30
Stripe transactions for the period 09/28 2640 ꞏ Payable to San Jose 2700 ꞏ Payable to Brooklyn                    727.95    -34,217.25
Stripe transactions for the period 09/28 2670 ꞏ Payable to Austin    2700 ꞏ Payable to Brooklyn                  3,698.01   -37,915.26
Stripe transactions for the period 09/28 2650 ꞏ Payable to Detroit   2700 ꞏ Payable to Brooklyn                  1,485.03   -39,400.29
Stripe transactions for the period 09/28 2610 ꞏ Payable to Mid-Penin 2700 ꞏ Payable to Brooklyn                  2,649.93   -42,050.22
Stripe transactions for the period 09/28 2615 ꞏ Payable to St. Louis 2700 ꞏ Payable to Brooklyn                   524.04    -42,574.26
Stripe transactions for the period 09/28 1091 ꞏ Stripe               2700 ꞏ Payable to Brooklyn     42,574.26                    0.00
Justin Leathers (8952) CREDIT CARD 2610 ꞏ Payable to Mid-Penin -SPLIT-                                            914.00      -914.00
Monthly rent for corporate storage      7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin      476.00                  -438.00
Monthly rent for corporate storage      7920 ꞏ Equipment Rentals     2610 ꞏ Payable to Mid-Penin      438.00                     0.00
Stripe transactions for the period 10/01 2680 ꞏ Payable to Chandler -SPLIT-                                      5,940.72    -5,940.72
Stripe transactions for the period 10/01 2690 ꞏ Payable to DC-Arlingt 2680 ꞏ Payable to Chandler                10,948.68   -16,889.40
Stripe transactions for the period 10/01 2610 ꞏ Payable to Mid-Penin 2680 ꞏ Payable to Chandler                  4,746.09   -21,635.49
Stripe transactions for the period 10/01 2630 ꞏ Payable to SOMA      2680 ꞏ Payable to Chandler                 11,618.67   -33,254.16
Stripe transactions for the period 10/01 2640 ꞏ Payable to San Jose 2680 ꞏ Payable to Chandler                   5,299.86   -38,554.02
Stripe transactions for the period 10/01 2615 ꞏ Payable to St. Louis 2680 ꞏ Payable to Chandler                  3,767.32   -42,321.34
Stripe transactions for the period 10/01 2670 ꞏ Payable to Austin    2680 ꞏ Payable to Chandler                  2,649.93   -44,971.27
Stripe transactions for the period 10/01 2650 ꞏ Payable to Detroit   2680 ꞏ Payable to Chandler                  1,572.12   -46,543.39
Stripe transactions for the period 10/01 2700 ꞏ Payable to Brooklyn 2680 ꞏ Payable to Chandler                   4,164.69   -50,708.08
Stripe transactions for the period 10/01 1091 ꞏ Stripe               2680 ꞏ Payable to Chandler     50,708.08                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                9,000.00    -9,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    9,000.00                    0.00


      Case: 18-50398                 Doc# 1       Filed: 02/26/18 Entered: 02/26/18 17:48:40                       Page 56 of
                                                               1568
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                   8,000.00     -8,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      8,000.00                      0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                   7,000.00     -7,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn      7,000.00                      0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                 5,000.00     -5,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        5,000.00                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                  4,000.00     -4,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis     4,000.00                      0.00
Funds Transfer                          2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                   3,000.00     -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2680 ꞏ Payable to Chandler      3,000.00                      0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                                 3,000.00     -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit       3,000.00                      0.00
Stripe transactions for the period 10/03 2670 ꞏ Payable to Austin    -SPLIT-                                      1,362.38     -1,362.38
Stripe transactions for the period 10/03 2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      419.17      -1,781.55
Stripe transactions for the period 10/03 2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                       419.17      -2,200.72
Stripe transactions for the period 10/03 2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                      1,048.08     -3,248.80
Stripe transactions for the period 10/03 2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                     524.04      -3,772.84
Stripe transactions for the period 10/03 1091 ꞏ Stripe               2670 ꞏ Payable to Austin        3,772.84                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                 10,000.00    -10,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin    10,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                15,000.00    -15,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA         15,000.00                      0.00
Stripe transactions for the period 10/03 2670 ꞏ Payable to Austin    -SPLIT-                                      3,187.56     -3,187.56
Stripe transactions for the period 10/06 2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                     419.17      -3,606.73
Stripe transactions for the period 10/06 2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                      943.21      -4,549.94
Stripe transactions for the period 10/06 2700 ꞏ Payable to Brooklyn 2670 ꞏ Payable to Austin                       524.04      -5,073.98
Stripe transactions for the period 10/06 2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                      2,087.05     -7,161.03
Stripe transactions for the period 10/06 2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                     1,601.85     -8,762.88
Stripe transactions for the period 10/06 1091 ꞏ Stripe               2670 ꞏ Payable to Austin        8,762.88                      0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                  6,000.00     -6,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     6,000.00                      0.00
Funds Transfer                          2670 ꞏ Payable to Austin     1010 ꞏ Chase                                 7,000.00     -7,000.00
Funds Transfer                          1010 ꞏ Chase                 2670 ꞏ Payable to Austin        7,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                 8,000.00     -8,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          8,000.00                      0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                29,000.00    -29,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA         29,000.00                      0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                  58,000.00    -58,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn     58,000.00                      0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                  60,000.00    -60,000.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn     60,000.00                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                 54,000.00    -54,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis    54,000.00                      0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                               149,000.00   -149,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit     149,000.00                      0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                  3,000.00     -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis     3,000.00                      0.00


      Case: 18-50398               Doc# 1         Filed: 02/26/18 Entered: 02/26/18 17:48:40                        Page 57 of
                                                               1568
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                               3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit       3,000.00                   0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      3,000.00                   0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     3,000.00                   0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                               9,000.00    -9,000.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA          9,000.00                   0.00
Stripe transactions for the period 10/12 2670 ꞏ Payable to Austin    -SPLIT-                                    2,880.87    -2,880.87
Stripe transactions for the period 10/12 2700 ꞏ Payable to Brooklyn 2670 ꞏ Payable to Austin                    8,543.60   -11,424.47
Stripe transactions for the period 10/12 2680 ꞏ Payable to Chandler 2670 ꞏ Payable to Austin                     261.87    -11,686.34
Stripe transactions for the period 10/12 2690 ꞏ Payable to DC-Arlingt 2670 ꞏ Payable to Austin                  2,978.13   -14,664.47
Stripe transactions for the period 10/12 2650 ꞏ Payable to Detroit   2670 ꞏ Payable to Austin                   2,094.96   -16,759.43
Stripe transactions for the period 10/12 2610 ꞏ Payable to Mid-Penin 2670 ꞏ Payable to Austin                   3,435.84   -20,195.27
Stripe transactions for the period 10/12 2630 ꞏ Payable to SOMA      2670 ꞏ Payable to Austin                   3,889.81   -24,085.08
Stripe transactions for the period 10/12 2640 ꞏ Payable to San Jose 2670 ꞏ Payable to Austin                    1,751.45   -25,836.53
Stripe transactions for the period 10/12 2615 ꞏ Payable to St. Louis 2670 ꞏ Payable to Austin                   1,309.65   -27,146.18
Stripe transactions for the period 10/12 1091 ꞏ Stripe               2670 ꞏ Payable to Austin       26,996.18                -150.00
Stripe transactions for the period 10/12 2700 ꞏ Payable to Brooklyn 2670 ꞏ Payable to Austin          150.00                    0.00
Stripe transactions for the period 10/24 2650 ꞏ Payable to Detroit   -SPLIT-                                     524.04      -524.04
Stripe transactions for the period 10/24 2615 ꞏ Payable to St. Louis 2650 ꞏ Payable to Detroit                   524.04     -1,048.08
Stripe transactions for the period 10/24 2610 ꞏ Payable to Mid-Penin 2650 ꞏ Payable to Detroit                  1,362.38    -2,410.46
Stripe transactions for the period 10/24 1091 ꞏ Stripe               2650 ꞏ Payable to Detroit       2,410.46                   0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                               3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    3,000.00                   0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                1,000.00    -1,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     1,000.00                   0.00
Funds Transfer                          2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 2,000.00    -2,000.00
Funds Transfer                          1010 ꞏ Chase                 2640 ꞏ Payable to San Jose      2,000.00                   0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                               3,000.00    -3,000.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt    3,000.00                   0.00
Funds Transfer                          2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                8,000.00    -8,000.00
Funds Transfer                          1010 ꞏ Chase                 2610 ꞏ Payable to Mid-Penin     8,000.00                   0.00
Stripe transactions for the period 10/26 2640 ꞏ Payable to San Jose -SPLIT-                                     1,601.85    -1,601.85
Stripe transactions for the period 10/26 2670 ꞏ Payable to Austin    2640 ꞏ Payable to San Jose                  419.17     -2,021.02
Stripe transactions for the period 10/26 1091 ꞏ Stripe               2640 ꞏ Payable to San Jose      2,021.02                   0.00
Funds Transfer                          2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                  200.00      -200.00
Funds Transfer                          1010 ꞏ Chase                 2700 ꞏ Payable to Brooklyn       200.00                    0.00
Funds Transfer                          2615 ꞏ Payable to St. Louis 1010 ꞏ Chase                                 200.00      -200.00
Funds Transfer                          1010 ꞏ Chase                 2615 ꞏ Payable to St. Louis      200.00                    0.00
Funds Transfer                          2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                                400.00      -400.00
Funds Transfer                          1010 ꞏ Chase                 2690 ꞏ Payable to DC-Arlingt     400.00                    0.00
Funds Transfer                          2630 ꞏ Payable to SOMA       1010 ꞏ Chase                                500.00      -500.00
Funds Transfer                          1010 ꞏ Chase                 2630 ꞏ Payable to SOMA           500.00                    0.00
Funds Transfer                          2650 ꞏ Payable to Detroit    1010 ꞏ Chase                               1,000.00    -1,000.00
Funds Transfer                          1010 ꞏ Chase                 2650 ꞏ Payable to Detroit       1,000.00                   0.00
Funds Transfer                          2655 ꞏ Payable to Media      1010 ꞏ Chase                               1,500.00    -1,500.00


      Case: 18-50398               Doc# 1         Filed: 02/26/18 Entered: 02/26/18 17:48:40                      Page 58 of
                                                               1568
Funds Transfer           1010 ꞏ Chase                2655 ꞏ Payable to Media         1,500.00                    0.00
Funds Transfer           2640 ꞏ Payable to San Jose 1020 ꞏ Chase - Investors and New Store       1,000.00    -1,000.00
Funds Transfer           1020 ꞏ Chase - Investors and2640 ꞏ Payable to San Jose      1,000.00                    0.00
Funds Transfer           2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                1,000.00    -1,000.00
Funds Transfer           1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     1,000.00                    0.00
Funds Transfer           2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                1,000.00    -1,000.00
Funds Transfer           1010 ꞏ Chase                2630 ꞏ Payable to SOMA          1,000.00                    0.00
Funds Transfer           2700 ꞏ Payable to Brooklyn 1010 ꞏ Chase                                 2,000.00    -2,000.00
Funds Transfer           1010 ꞏ Chase                2700 ꞏ Payable to Brooklyn      2,000.00                    0.00
Funds Transfer           2690 ꞏ Payable to DC-Arlingt 1010 ꞏ Chase                               3,000.00    -3,000.00
Funds Transfer           1010 ꞏ Chase                2690 ꞏ Payable to DC-Arlingt    3,000.00                    0.00
Funds Transfer           2670 ꞏ Payable to Austin    1010 ꞏ Chase                                3,000.00    -3,000.00
Funds Transfer           1010 ꞏ Chase                2670 ꞏ Payable to Austin        3,000.00                    0.00
Funds Transfer           2650 ꞏ Payable to Detroit   1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer           1010 ꞏ Chase                2650 ꞏ Payable to Detroit       4,000.00                    0.00
Funds Transfer           2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                               10,000.00   -10,000.00
Funds Transfer           1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin    10,000.00                    0.00
Funds Transfer           2670 ꞏ Payable to Austin    1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer           1010 ꞏ Chase                2670 ꞏ Payable to Austin        4,000.00                    0.00
Funds Transfer           2610 ꞏ Payable to Mid-Penin 1010 ꞏ Chase                                4,000.00    -4,000.00
Funds Transfer           1010 ꞏ Chase                2610 ꞏ Payable to Mid-Penin     4,000.00                    0.00
Funds Transfer           2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer           1010 ꞏ Chase                2630 ꞏ Payable to SOMA          5,000.00                    0.00
Funds Transfer           2650 ꞏ Payable to Detroit   1010 ꞏ Chase                               10,000.00   -10,000.00
Funds Transfer           1010 ꞏ Chase                2650 ꞏ Payable to Detroit      10,000.00                    0.00
Funds Transfer           2640 ꞏ Payable to San Jose 1010 ꞏ Chase                                 2,000.00    -2,000.00
Funds Transfer           1010 ꞏ Chase                2640 ꞏ Payable to San Jose      2,000.00                    0.00
Funds Transfer           2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                2,000.00    -2,000.00
Funds Transfer           1010 ꞏ Chase                2630 ꞏ Payable to SOMA          2,000.00                    0.00
Funds Transfer           2680 ꞏ Payable to Chandler 1010 ꞏ Chase                                 3,000.00    -3,000.00
Funds Transfer           1010 ꞏ Chase                2680 ꞏ Payable to Chandler      3,000.00                    0.00
Funds Transfer           2670 ꞏ Payable to Austin    1010 ꞏ Chase                                5,000.00    -5,000.00
Funds Transfer           1010 ꞏ Chase                2670 ꞏ Payable to Austin        5,000.00                    0.00
Funds Transfer           2630 ꞏ Payable to SOMA      1010 ꞏ Chase                               10,000.00   -10,000.00
Funds Transfer           1010 ꞏ Chase                2630 ꞏ Payable to SOMA         10,000.00                    0.00
Funds Transfer           2630 ꞏ Payable to SOMA      1010 ꞏ Chase                                1,000.00    -1,000.00
Funds Transfer           1010 ꞏ Chase                2630 ꞏ Payable to SOMA          1,000.00                    0.00
Funds Transfer           2630 ꞏ Payable to SOMA      1010 ꞏ Chase                               15,000.00   -15,000.00
Funds Transfer           1010 ꞏ Chase                2630 ꞏ Payable to SOMA         15,000.00                    0.00




      Case: 18-50398   Doc# 1     Filed: 02/26/18 Entered: 02/26/18 17:48:40                       Page 59 of
                                               1568
                                                               United States Bankruptcy Court
                                                                      Northern District of California
 In re      TechShop, Inc.                                                                                   Case No.
                                                                                    Debtor(s)                Chapter    7

                                                   STATEMENT PURSUANT TO RULE 2016(B)
The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:

1.          The undersigned is the attorney for the debtor(s) in this case.

2.          The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
             a)      For legal services rendered or to be rendered in contemplation of and in
                     connection with this case                                                                          $                10,000.00
             b)      Prior to the filing of this statement, debtor(s) have paid                                         $                10,000.00
             c)      The unpaid balance due and payable is                                                              $                     0.00

3.          $ 10,000.00             of the filing fee in this case has been paid.

4.          The Services rendered or to be rendered include the following:
            a.     Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining
                   whether to file a petition under title 11 of the United States Code.
            b.     Preparation and filing of the petition, schedules, statement of affairs and other documents required by the
                   court.
            c.     Representation of the debtor(s) at the meeting of creditors.

5.          The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
            services performed, and

6.          The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
            will be from earnings, wages and compensation for services performed, and

7.          The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following
            for the value stated:

8.          The undersigned has not shared or agreed to share with any other entity, other than with members of
            undersigned's law firm, any compensation paid or to be paid except as follows: James Shepherd, Elkington
            Shepherd, LLP

9.          The total paid pre-petition was $30,000.00, broken down as follows: a) $10,000.00 for the services listed
            hereinabove; and b) $20,000.00 for assistance in negotiations with creditors while simultaneously preparing for
            the bankruptcy filing. See Statement of Financial Affairs, question 11.

 Dated: February 26, 2018                                                          Respectfully submitted,

                                                                                   /s/ Matthew D. Metzger
                                                                                   Attorney for Debtor: Matthew D. Metzger 240437
                                                                                   Belvedere Legal, PC
                                                                                   1777 Borel Place, Suite 314
                                                                                   San Mateo, CA 94402
                                                                                   415-513-5980 Fax: 415-513-5985
                                                                                   info@belvederelegal.com




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40             Page 60 of
                                                                                  1568
                                               UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA

 In re                                                                                 Case No.
           TechShop, Inc.




                                                 Debtor(s).                   /


                                                             CREDITOR MATRIX COVER SHEET


        I declare that the attached Creditor Mailing Matrix, consisting of 1506 sheets, contains the correct,
complete and current names and addresses of all priority, secured and unsecured creditors listed in debtor's
filing and that this matrix conforms with the Clerk's promulgated requirements.

DATED: February 26, 2018


                                                                                  /s/ Matthew D. Metzger
                                                                                  Signature of Debtor's Attorney or Pro Per Debtor




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy




              Case: 18-50398                    Doc# 1               Filed: 02/26/18 Entered: 02/26/18 17:48:40         Page 61 of
                                                                                  1568
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




    01 The Entrust Group Inc. FBO Leslie Lev
    43 S. 14th St.
    San Jose, CA 95112



    A.C. Mendiones
    20681 Forge Way #116
    Cupertino, CA 95014



    A.J. Hoffman
    215 Rockwood Ave.
    Pittsburgh, PA 15221



    A.Keith Wojcik
    1717 Ryon
    Round Rock, TX 78681



    Aanya Subramaniam
    1154 Eagle Cliff Ct
    San Jose, CA 95120



    Aaron Hoff
    1592 John Hoff Ct
    Saint Louis, MO 63108



    Aaron Scaturro
    312 e 9th street
    New York, NY 10003



    Aaron Walters
    5295 Waterman Blvd
    St. Louis, MO 63108




    Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 62 of
                                           1568
Aaron Ackley
1155 Overlook
Accokeek, MD 20607



Aaron Baker
630 Picasso Terr.
San Jose, CA 94087



Aaron Bamberger
8807 Slayton Dr
Austin, TX 78753



Aaron Cartwright
p.o box 841
montara, CA 94037



Aaron Chavez
114 Yosemite way
Los Gatros, CA 95124



Aaron Chinault
PO Box 549
Port Republic, MD 20676



Aaron Daar
92 Patricia Ct.
Mountain View, CA 94041



Aaron Diep
490 Fontanelle Court
San Jose, CA 95111




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 63 of
                                       1568
Aaron Fowler
1011 E Rowlands Lane
Phoenix, AZ 85022



Aaron Friedmann
34041 State St
Farmington, MI 48335



AARON GEISLER
525 MIDDLEFIELD RD. #487
REDWOOD CITY, CA 94063



Aaron Goldstein
930 Wayne Avenue #709
Silver Spring, MD 20910



Aaron Haldiman
245 Visitacion Ave
Brisbane, CA 94005



Aaron Haldiman
1335 Yosemite ave.
San Francisco, CA 94124



Aaron Hall
2675 W Ironstone ave
Apache Junction, AZ 85120



Aaron Hall
38 Maddux Ave.
San Francisco, CA 94124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 64 of
                                       1568
Aaron Hall
500 E University Dr
Tempe, AZ 85281



Aaron Holm
100 Acacia Ln
Redwood City, CA 94062



Aaron Jarrett
625 N Euclid Ave #501
St Louis, MO 63108



Aaron Jeromin
2902 Katter Ct
Austin, TX 78734



Aaron Keast
4304 Avery Street
Detroit, MI 48208



Aaron Keast
4304 Avery St.
Detroit, MI 48208



Aaron Keast _V
4304 Avery St.
Detroit, MI 48208



Aaron Laabs
PO Box 193574
San Francisco, CA 94119




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 65 of
                                       1568
Aaron Lesky
212 South Adams Street
Ypsilanti, MI 48197



Aaron Lloyd
18533 Weaver St.
Detroit, MI 48228



Aaron Lobdell
1111 quail park drive
austin, TX 78758



Aaron Mast
1293 Pumpkin Terrace
Sunnyvale, CA 94087



Aaron McGuire
345 Clinton Ave, #14B
Brooklyn, NY 11238



Aaron Melson
32700 True Lake Lane
Femont, CA 94555



Aaron Moss
124 gordon st
pittsburgh, PA 15218



Aaron Mundt
6200 Belcrest Rd, Ste 1
Hyattsville, MD 20782




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 66 of
                                       1568
Aaron Narva
99 Irving Ave.
Atherton, CA 94027



Aaron Nickovich
3026 Ascot Drive
San Ramon, CA 94583



Aaron Parness
121 kentucky ave se
Washington, DC 20003



Aaron Pigeon
518 Ashbury Street
San Francisco, CA 94117



Aaron Prince
18912 Colonial Manor Ln
Pflugerville, TX 78660



Aaron Relph
419 Pierce St. Apt 3
San Francisco, CA 94117



Aaron Rogers
398 South Morningsun ave
Mill valley, CA 94941



Aaron Salls
2453 Lombard St #206
San Francisco, CA 94123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 67 of
                                       1568
Aaron Salmon
518 Laidley St #8
San Francisco, CA 94131



Aaron Shifflett
68 Martha Ave
San Francisco, CA 94131



Aaron Smolinski
7206 W Yucca St
Peoria, AZ 85345



Aaron Spooner
6190 Hwy 116
Forestville, CA 95436



Aaron Stoneburner
4900 E Oltorf Street Apt. 435
Austin, TX 78741



Aaron Stubbendieck
2789 Union Street
San Francisco, CA 94123



Aaron Tate
19 Taylor Woods Drive
St. Louis, MO 63122



Aaron Tse
4230 W. Orchid Lane
Phoenix, AZ 85051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 68 of
                                       1568
Aaron VonderHaar
7212 Weil Ave.
Shrewsberry, MO 63119



Aaron Washington
P.O. Box 470310
San Francisco, CA 94147



Aaron Weintraub
231 Dale Drive
Silver Spring, MD 20910



Aaron Wells
10914 Northview Sq
Cupertino, CA 95014



Aaron Wilder
65 Waterville St
San Francisco, CA 94124



Aaron Willette
385 N 3rd Street, Ste. B2
San Jose, CA 95112



Aaron Williams
777 Sherman Oaks Dr.
san jose, CA 95128



Aaron Windon
21263 E Avenida Del Valle
Queen Creek, AZ 85142




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 69 of
                                       1568
Aaron Wohlmuth
326 30th ave
san mateo, CA 94403



Aaron Zorndorf
350 Townsend Street Suite # 302
San Francisco, CA 94107



Aarti Ramesh
1221 Elm Lake Ct
San Jose, CA 95131



Abbey Jones
3429 Locust Ave
St Louis, MO 63103



Abbie Wertheim
1270 Treat Ave
San Francisco, CA 94110



Abby Schmiedt
1222 Harrison Street
San Francisco, CA 94103



Abby MillerPeterson
146 Hartwood Drive
Pittsburgh, PA 15208



Abby Webber
6400 Shoal Creek Blvd.
Austin, TX 78757




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 70 of
                                       1568
Abby Wilkymacky
538 W Culver St
Phoenix, AZ 85003



Abdul Shabazz
2201 Plainfield Ct
Pflugerville, TX 78660



Abdulaziz Alosaimi
1050 S. Terrace Rd.
Tempe, AZ 85281



Abe Downey
1020 Florence Ln #8
Palo Alto, CA 94025



Abel Aldaco
11104 Boundless Valley Dr
Austin, TX 78754



Abigail Craig
612 Radcliffe Dr
Davis, CA 95616



Abigail Daniels
273 North Danielson Way
Chandler, AZ 85225



Abir Abboud
1898 Meridian Ave
#6
San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 71 of
                                       1568
Abir Abi Abboud
1898 Meridian Ave #6
San Jose, CA 95125



Abraham Qavi
3551 Victor St. Apt. 2W
Saint Louis, MO 63104



Abram Downey
2325 NW Maser Dr
Corvallis, OR 97330



Abraxus Group, LLC
2550 S Ellsworth RD #212
Mesa, AZ 85209



Abubaker Farrah
7872 Tyson oaks circle
Vienna, VA 22182



ACC Business
P.O Box 105306
Atlanta,, GA 30348-5306



Ace Shelander
657 42nd Ave.
San Mateo, CA 94403



Adam Flaster
700 W University Dr, Unit 129
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 72 of
                                       1568
Adam Mcleod
6733 Darwin Ct.
Falls Church, VA 22042



Adam Abrons
641 Waterview Isle
Alameda, CA 94501



Adam Atkinson
15550 N Frank Lloyd Wright Blvd 1114
Scottsdale, AZ 85260



Adam Banker
1893 Lincoln Dr
Canton, MI 48188



Adam Blankespoor
276 Charles Marx Way
Palo Alto, CA 94304



Adam Bowser
814 Grant St.
Turtle Creek, PA 15145



Adam Brailove
60 Descarso Drive #3425
San Jose, CA 95134



Adam Cavan
2061 Powell Street
San Francisco, CA 94133




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 73 of
                                       1568
Adam Clayton
13328 Manor Stone Dr.
Germantown, MD 20874



Adam Croston
33 South 3rd. St. #414
San Jose, CA 95113



Adam Eller
520 Natoma Street
San Francisco, CA 94103



Adam Ericksen
1029 Bluebonnet Drive
Sunnyvale, CA 94086



Adam Flanders
1655 Jones Ste 2
San Francisco, CA 94109



Adam Freigang
47 Lafayette st
Mount Clemens, MI 48043



Adam Glawe
147 N. 132nd Pl.
Chandler, AZ 85225



Adam Glawe
147 N 132nd Pl
Chandler, AZ 85225




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 74 of
                                       1568
Adam Gradzki
5527 Ellsworth Ave
Pittsburgh, PA 15232



Adam Haddad
2718 E. Cozettas Court
Gilbert, AZ 85298



Adam Harris
1302 Alguno Rd.
Austin, TX 78757



Adam Hofmann
21050 N 9th Place Suite 309
Phoenix, AZ 85024



Adam Huang
1733 Crane Ave
Mountain View, CA 94040



Adam Hull
150 17th St Apt 201
Oakland, CA 94612



Adam Kasprzyk
2231 Cottle Ave
San Jose, CA 95125



Adam Kelson
5401 Fair Oaks St.
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 75 of
                                       1568
Adam Knight
225C 9th St.
San Francisco, CA 94103



Adam Koeppel
1939 17th Street NW #12
Washington, DC 20009



Adam Levinthal
956 Wilmington Way
Redwood City, CA 94062



Adam Lindsay
12300 Obrad Drive
Saratoga, CA 95070



Adam Long
274 Hillcrest Circle
Pittsburgh, PA 15237



Adam Martin-Mikesell
4513 Fellows Street
Union City, CA 94587



Adam Menter
29 Henry St.
San Francisco, CA 94114



Adam Mills
520 Clayton St. Apt 1
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 76 of
                                       1568
Adam Montoya
917 E. Granada, Apt. 3
Phoenix, AZ 85006



Adam Mork
158 Baker St
San Francisco, CA 94117



Adam Nelson
5505 Black St
Pittsburgh, PA 15206



Adam Owens
11705 Knoll Park Dr
Austin, TX 78758



Adam Paredes
220 S. Ashland Apt. #1
Mesa, AZ 85204



Adam Petrashune
203 Lehigh Avenue, Apt 2
Pittsburgh, PA 15232



Adam Phelps
1532 Florida St
San Francisco, CA 94110



Adam Rangwala
7631 Carswold Drive
St. Louis, MO 63105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 77 of
                                       1568
Adam Rea
1192 Prescott Ave
Sunnyvale, CA 94089



Adam Ritzel
18 Crosswinds Drive
Olivette, MO 63132



Adam Robert Knight
225C 9th St.
San Francisco, CA 94103



Adam Roth
1068 Barr Run Road
Marianna, PA 15345



Adam Sandlin
3375 17th Street #203
San Francisco, CA 94110



Adam Santaniello
945 Linda Mar Blvd Apt 1
PACIFICA, CA 94044



Adam Saunders
1421 E. Redwood Dr.
Chandler, AZ 85286



Adam Selzer
440 Burroughs St.
Detroit, MI 48202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 78 of
                                       1568
Adam Shirley
10338 Campau Ave.
Hamtrack, MI 48212



Adam Silverman
29 Woodside Dr
Moraga, CA 94556



Adam Sinno
1100 E 7th St. #210
Bloomington, IN 47405



Adam Stein
1144 Dry Dam Rd
Jeannette, PA 15644



Adam Tate
8509 E Potosi Cv
Austin, TX 78717



Adam Troner
600 Patricia Ave
San Mateo, CA 94401



Adam Trujillo
12899 Hwy 142
Martindale, TX 78655



Adam Warner
8490 S. Power Road ste. 105-247
Gilbert, AZ 85297




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 79 of
                                       1568
Adam Wright
8005 Ore Knob Drive
Fenton, MI 48430



Adam Zawalich
6947 Geary Blvd.
San Francisco, CA 94121



Adanna Hayman
13726 W Ballad Dr
Sun City West, AZ 85375



Addie Stone-Richards
800 Republic Drive
Allen Park, MI 48101



Addie Stone-Richards
627 W. Alexandrine Street
Apt No: 5
Detroit, MI 48201



Addison Moore
1067 Market St. #1007
San Francisco, CA 94103



Adea Fong
PO Box 968
Campbell, CA 95009



Adelaide Siegl
1014 New Chester St.
Apex, NC 27502




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 80 of
                                       1568
Adeo Groupe
Attn: Philippe Zimmerman, CEO
135 rue Sadi Carnot CS 00001
59790 Ronchin
FRANCE



Adeo Groupe Attn: Philippe Zimmerman, C
135 rue Sadi Carnot CS 00001
59790 Ronchin
FRANCE



Adeswara Yasoda
67 Elmwood Dr
San Ramon, CA 94583



Adi Singh
185 Channel St. #207
San Francisco, CA 94158



Adil Siddiqui
27159 Arden Park Circle
Farmington Hills, MI 48334



Aditi Khanna
600 Avon Way
Los Altos, CA 94024



Adlai Holler
3879A Jackson St.
San Francisco, CA 94118



Adle Smithson
916 W Harvard Ave
Gilbert, AZ 85233




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 81 of
                                       1568
Adnan Abdullahi
525 S Forest Ave
Tempe, AZ 85281



Adolf Dupre
7267 State Rt 819
Mt. Pleasent, PA 15666



ADP, LLC
PO Box 31001-1874
Pasadena, CA 91110-1874



Adrian Assassi
201 South 4th Street Apt 602
San Jose, CA 95112



Adrian Castro
3606 E Van Buren
Phoenix, AZ 85008



Adrian Everett
918 16th St S
Arlington, VA 22202



Adrian Franklin
11905 Stout Oak Trail
Austin, TX 78750



adrian jones
130 lexington
san francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 82 of
                                       1568
adrian lipinski
1406 34 th ave
san francisco, CA 94122



Adrian Moncada
780 E Lardeo St
Chandler, AZ 85225



Adrian Podpirka
443 New York Ave NW apt#705
Washington, DC 20001



Adrian Rodriguez
10 S. Norfolk St.
San Mateo, CA 94401



Adrian Rodriguez
10 S Norfolk St
San Mateo, CA 94401



Adrian Simoes
5569 Simm Ct
Fremont, CA 94538



Adrian Van Allen
1063 54th st
oakland, CA 94608



Adriana Basurto
5288 Makati Cir
San Jose, CA 95123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 83 of
                                       1568
Adriana Garcia
24 Unger Lane
Pittsburgh, PA 15217



Adriana Jokisch
1505 crystal drive apt 811
Arlington, VA 22202



Adriana Vecchio
6000 N Kings Hwy
Alexandria, VA 22209



Adrien ROUXEL
587 Eddy St
San Francisco, CA 94112



Adrik McIlroy
26000 Adams Rd.
Los Gatos, CA 95033



Adryon Clay
418 s. boylan ave
raleigh, NC 27603



Aed (Ed) Dudar
46979 Yarmouth
Canton, MI 48188



Agnes Wong
909 Brookgrove Lane
Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 84 of
                                       1568
Agustin Isas
820 A Ken Street
Austin, TX 78758



Agustin Isas
820a Ken St
Austin, TX 78758



Ahmad Alothman
1638 S Torre Molinos Cir
Tempe, AZ 85281



Ahmad McCall
1916 Lucas Avenue, Apt 244
St. Louis, MO 63103



Ahmed Al-Sallal
2323 E. Apache Blvd.
Tempe, AZ 85281



Ahmed Saleh
14227 Barclay
Dearborn, MI 48125



Ahren Alexander
16437 Oak Manor Dr.
Westfield, IN 46074



Ahren Nevarez
825 S ALMA SCHOOL RD, APT 228
Mesa, AZ 85210




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 85 of
                                       1568
Aidan Blakistone
809 6th Avenue
Venice, CA 90241



Aidan Bloore
800 Sonia Way
Mountain View, CA 94040



Aidan Lawler
711 E Lemon St
Tempe, AZ 85281



Aimee Bailey
22197 Hazehon ct
Novi, MI 48374



Aimee Dunlap
1408 Hebert St
St. Louis, MO 63107



Aimy Arellanes
4602 N 50th Dr
Phoenix, AZ 85031



Air Center, Inc.
1201 E. Whitcomb Ave.
Madison Heights, MI 48071



Aircastle Enterprises
15941 Goldwin PI
Southfield, MI 48075




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 86 of
                                       1568
AJ Manoulian
24585 Putt Rd
New Boston, MI 48164



AJ McGuire
345 Clinton Ave #14B
Brooklyn, NY 11238



Ajibola-George Akingba
1396 Lakeside Drive
Birmingham, MI 48009



Ajit D'Sa
1411 Norwalk Ln #102
Austin, TX 78703



Akbar Bohra
501 Beale St Apt 21D
San Francisco, CA 94105



Akihiro Takagi
1253 Nadina Street
San Mateo, CA 94402



Akiko Weller
2520 Silver Fern Lane
Pflugerville, TX 78660



Akram Abdallah
9038 N Lava Bluff Trl
Fountain Hills, AZ 85268




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 87 of
                                       1568
Akshara Garner
18503 Bandelier Dr.
Pflugerville, TX 78660



Al Farmer
64 Atwood Ave
Sausalito, CA 94965



Al Feiger
38025 LAKEVILLE ST
Harrison Township, MI 48045



Al Grumet
433 Lovell Avenue
Mill Valley, CA 94941



Al Guzman
2143 Seacliff Dr.
Milpitas, CA 95035



Al Kluge
29145 cambridge st.
Flat Rock, MI 48134



Al Lamfers
26120 Fremont Rd Unit B
Los Altos Hills, CA 94022



Al Marquez
240 Francisco Ln Unit 14222
Fremont, CA 94539




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 88 of
                                       1568
Al Marquez_V
240 Francisco Lane
Unit # 14222
Fremont, CA 94539



Al Moir
4613 rosewold ave.
Royal Oak, MI 48073



Ala Yahya
4679 Darlene Dr
Commerce Twp, MI 48382



Alain Poivet
1176 Tomland Drive
Palo Alto, CA 94303



Alan Walendowski
2162 Cornet Dr
San Jose, CA 95124



Alan Avitia
2822 E Russell St
Mesa, AZ 85213



Alan Cima
7 Pyrola Ln
San Carlos, CA 94070



Alan Culver
PO Box 21257
Oakland, CA 94620




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 89 of
                                       1568
Alan Eustace
205 Hanna Way
Menlo Park, CA 94025



Alan Fanning
765 S 12th St.
San Jose, CA 95112



Alan Federman
7093 Via Blanca
San Jose, CA 95139



Alan Federman_V
7093 Via Blanca
San Jose, CA 95139



Alan Fitzgerald
501 East Park Ave
Gilbert, AZ 85234-5800



Alan Fryer
3451 Yuba Avenue
San Jose, CA 95117



Alan Gates
269 Fir Street
San Carlos, CA 94070



Alan Hagler
2709 Corabella Pl
Cedar Park, TX 78613




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 90 of
                                       1568
Alan Hejl
1903 Woodward Hts
Derndale, MI 48220



Alan Louwerse
1529 Francisco St
Berkeley, CA 94703



Alan Manstof
11216 Lagoon Lane
Reston, VA 20191



Alan Moir _V
4613 Rosewold Ave
Royal Oak, MI 48073



Alan Sands
251 E. Vera Lane
Tempe, AZ 85284



Alan Scherer
8143 N. 13th Way
Phoenix, AZ 85020



Alan Shields
41 Octavia St #1
San Francisco, CA 94102



Alan Smith
508 Giverny Pl.
Cary, NC 27513




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 91 of
                                       1568
ALAN WESTON
465 Fairchild Dr, Suite 209
Mountain View, CA 94043



Alan Wiggs
1113 Indian Trail Dr
Raleigh, NC 27609



Alaric D'Souza
5735 De Giverville
St. Louis, MO 63112



Albert C. McKenna Trust
350 Arguello Blvd
San Francisco, CA 94118



Albert Chae
1125 Dalgety St.
Corona, CA 92882



Albert Dobmeier
2652 Armand Pl #2
Saint Louis, MO 63104



Albert Gutierrez
1212 W. Lydia Lane
Phoenix, AZ 85041



Albert Jo
280 BONITA AVE
SAN JOSE, CA 95116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 92 of
                                       1568
Albert Lowas
6242 Summit Point Ct
Alexandria, VA 22310



Albert Mitchell
3120 A Providence Pl
St. Louis, MO 63111



Alberto Alonso
1101 Cedar Brook
Cedar Park, TX 78613



Alberto Esparza
4236 McPherson Ave. #75
St. Louis, MO 63108



Alberto Goncalves
469 Bedford Loop
Mountain View, CA 94043



Alberto Salinas
649 San Jose Ave
San Francisco, CA 94110



ALCO Parking Corporation
501 Martindale St.
Pittsburgh, PA 15212



Alec Board
445 Vinewood
Wyandotte, MI 48192




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 93 of
                                       1568
Alec Grey
145 San Fernando Way
San Francisco, CA 94127



Alec Wuorinen
329 N. Boyle Ave
St. Louis, MO 63108



Alecia Goode
3601 Oak Meadow Dr
Round Rock, TX 78681



Aleene Reisinger
1023 Kiser Dr
San Jose, CA 95120



Alejandro Garcia
480 eddy apt 204
San francisco, CA 94109



Alejandro J Perez Garcia
480 eddy apt 204
San francisco, CA 94109



Alejandro Perez_V
128 W 73rd st apt 1A
New York, NY 10023



Alejandro-Jorge Perez
460 Natoma St.
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 94 of
                                       1568
Alek Cook
7250 S Kyrene rd.
Tempe, AZ 85283



Aleksandr Ryzhov
548 Adeline Ave
San Jose, CA 95136



Aleksandra Vucinic
2881 Meridian Ave. Unit 247
San Jose, CA 95124



Alerxandre Macedo
1431 9th Street
Oakland, CA 94607



Alessandro Sabatelli
325 Bery St. #404
San Francisco, CA 94158



Alessandro_Maria     Laspina
1115 E Lemon St
Mesa, AZ 85281



Alex Declair
7154 w mohawk ln
Glendale, AZ 85308



Alex Hall
849 Carlista Dr
San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 95 of
                                       1568
Alex Yow
945 taraval Street
San Francisco, CA 94116



Alex Ahrens
404 W Odell St
Austin, TX 78752



Alex Albanese
1982 traver rd #207
Ann Arbor, MI 48105



Alex Arnopol
2100 B Crystal Drive
Arlington, VA 22202



Alex Athey
12503 Oro Valley Tr
Austin-Round Rock, TX 78729



Alex Ayers
1111 6th St. NW, Apt 1
Washington, DC 20001



Alex Banach
4274 Shenandoah Ave.
st. Louis, MO 63110



Alex Barker
29 Plant Ave
Webster Groves, MO 63119




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 96 of
                                       1568
Alex Beeny
53 Countryside Dr.
Saint Peters, MO 63376



Alex Behnke
1941 Leonard Road
Falls Church, VA 22043



Alex Bogdan
26815 Henley
Huntington Woods, MI 48070



Alex Booth
4405 Barrow Ave Unit B
Austin, TX 78751



Alex Boswell
3028 S Edsel
Detroit, MI 48217



Alex Bravenec
701 E Apache Blvd
Tempe, AZ 85281



Alex Brown
710 N. 2nd St. #3
San Jose, CA 95112



Alex Carlson
53 Parker Ave.
Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 97 of
                                       1568
Alex Chappuis
1236 Harker Ave
Palo Alto, CA 94301



Alex Contreras
816 Peralta Ave.
San Francisco, CA 94110



Alex Contreras
812 Peralta St
San Francisco, CA 94110



Alex Cramer
8706 Cunningham Dr
Berwyn Heights, MD 20740



Alex Damgaard
15417 Stroup Circle
Lakeway, TX 78734



Alex Densmore
2430 M L KING JR WAY APT 8
Berkeley, CA 94704



Alex Dingle
26 Brainerd Rd
Allston, MA 02134



Alex Edson
7501 E McDowell Rd
APT 2193
Scottsdale, AZ 85257




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 98 of
                                       1568
Alex Eikenberry
1810 Bay Laurel drive
Menlo Park, CA 94025



Alex Esparza
1037 Aquarius Way
Oakland, CA 94611



Alex Fruzynski
5747 Ellsworth Ave.
Pittsburgh, PA 15232



Alex Gerber
837 W Mesquite Street
Gilbert, AZ 85233



Alex Hayashi
5498 Blackoak Way
San Jose, CA 95129



Alex Hershberger
41-12 39th P. -- Apt. A3
Sunnyside, NY 11104



Alex Hu
3601 Fairfax Dr
Arlington, VA 22201



Alex Hutchins
326 N. Cobblestone Street
Gilbert, AZ 85234




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 99 of
                                       1568
Alex Kaiser
57 Skyhill Rd
Alexandria, VA 22314



Alex Kleissner
425 14th street apt 1
san francicso, CA 94103



Alex Koskinen
65 Crestline Drive Apt 7
San Francisco, CA 94131



Alex Levin
2220 Tunlaw Rd NW
Washington, DC 20007



Alex Long
3328 Jackson St
San Francisco, CA 94118



Alex Lu
4503 Croissant Street
Dearborn Heights, MI 48125



Alex Maki_Jokela
221 11th St
San Francisco, CA 94103



Alex Martinez
2905 Favero Cv
Round Rock, TX 78665




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 100 of
                                        1568
Alex Meyer
4831 Rollingwood Drive
Rollingwood, TX 78746



Alex Mueller
441 980 Rd
McDonald, PA 15057



Alex Norman
9405 Dunraven St.
Frederick, MD 21704



Alex Parker
3030 Hillside Dr.
Burlingame, CA 94010



Alex Petrov
6735 Yellowstone Blvd
Forest Hills, NY 11375



Alex Petty
1409 Peralta Rd
Pacifica, CA 94044



Alex Pham
441 63rd St Apt 2r
Brooklyn, NY 11220



ALEX RAMIREZ
3200 Payne Ave. #921
San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 101 of
                                        1568
Alex Robbins
13993 E. Geronimo Rd.
Scottsdale, AZ 85259



Alex Roy
1953 E Redfiled Rd
Tempe, AZ 85283



Alex Schneider
616 S Hardy Dr Unit 146
Tempe, AZ 85281



Alex Shapiro
2263 Market St. Apt 2
San Francisco, CA 94114



Alex Shults
3110 Elmhurst Ave
Royal Oak, MI 48073



Alex Smith
3200 N. 1st St.
San Jose, CA 95123



Alex Sperling
977 folsom st #24
san francisco, CA 94107



Alex Stahl
P.O. Box 8623
Emeryville, CA 94662




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 102 of
                                        1568
Alex Stupakov
1050 Guerrero St
San Francisco, CA 94110



Alex Sy
PO Box 7902
Fremont, CA 94537



Alex Tang
330 Tyrella Avenue
Mountain View, CA 94043



Alex Temme
101 E San Fernando, apt. # 476
San Jose, CA 95112



Alex Thomas
38 Williams St Apt 5
Pontiac, MI 48341



Alex Thomson
5122 Rosetta St.
Pittsburgh, PA 15224



Alex Tramiel
767 Addison Ave.
Palo Alto, CA 94301



Alex Troy
PO Box 1791
Danville, CA 94526




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 103 of
                                        1568
Alex Valeyev
810 Oak Grove Rd. Apt 85
Concord, CA 94518



Alex Varela
17241 N. 46th ST
Phoenix, AZ 85032



Alex Villanueva
277 Castro St
Mountain View, CA 94041



Alex White
1261 8th Ave apt 104
San Francisco, CA 94122



Alex Wong
1729 NORTH 1ST STREET, APT 20610
SAN JOSE, CA 95112



Alex Zeigle
1911 California St
Mountain View, CA 94040



Alexander Baek
848 S. Springer Rd
Los Altos, CA 94024



Alexander Ward
116 South Aberdeen St.
Arlington, VA 22204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 104 of
                                        1568
Alexander Appleby
218 Kentucky Ave, SE
Washington, DC 20003



Alexander Bain
185 Berry St #550,
San Francisco, AZ 94107



Alexander Bain
41277 N Cambria Dr.
San Tan Valley, AZ 85140



Alexander Beamer
27915 Iberville Glen Dr
Katy, TX 77494



Alexander Blum
1503 E. 13th St. #A
Austin, TX 78702



Alexander Browne
1911 Barbara Dr.
Palo Alto, CA 94303



Alexander Buzzi
899 Valencia St.
San Francisco, CA 94110



Alexander Cochran
10041 S 46th Way
Phoenix, AZ 85044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 105 of
                                        1568
Alexander Davis
55 Northbrook Circle #36
Fairview Heights, IL 62208



Alexander Drobitko
1908 Hillebrant Pl
Santa Clara, CA 95050



Alexander Glasco
11654 Plaza America Drive
Reston, VA 22204



Alexander Gray
13700 Bullick Hollow Rd
Austin, TX 78726



Alexander Guinn
951 Matts Court
Los Altos, CA 94024



Alexander Hayden
1333 Boly Lane
Ballwin, MO 63021



Alexander Ivanisov
7649 Shady Hollow Dr
Newark, CA 94560



Alexander Jacques
102 Lansdowne Dr.
Moon, PA 15108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 106 of
                                        1568
Alexander Jones
1111 Jones St
Berkeley, CA 94702



Alexander Lingo
1700 N 1st St, Apt 376
San Jose, CA 95112



Alexander Lovell
625 Taylor St #401
San Francisco, CA 94102



Alexander Luong
2527 Glen Dundee Way
San Jose, CA 95148



Alexander Manes
5913 onondaga rd
Bethesda, MD 20816



Alexander Marshall
1301 S. Arlington Ridge Road APT 405
Arlington, VA 22202



Alexander Matthews
375 South 9th St
San Jose, CA 95112



Alexander Mellor
5908 Forest Ridge Dr.
Durham, NC 27713




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 107 of
                                        1568
Alexander Mitelman
137 Cook St. Apt. 3
San Francisco, CA 94118



Alexander Nie
6659 N. 23rd St.
Phoenix, AZ 85016



Alexander Pierson
2929 Eskridge Rd, Suite S
Fairfax, VA 22031



Alexander Robinson
33 Clipper St.
San Francisco, CA 94114



Alexander Ryzhov
548 Adeline Ave
San Jose, CA 95136



Alexander Schoettler
3130 Alpine Road #288-481
Portola Valley, CA 94028



Alexander Sherrer
525 S. Forest Ave.
Tempe, AZ 85281



Alexander Sorokin
205 41st ave
San Mateo, CA 94403




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 108 of
                                        1568
Alexander Thomson
798 Norwegian Spruce Dr.
Mars, PA 16046



Alexander Troyer
5122 Rosetta St.
Pittsburgh, PA 15224



Alexander Troyer
5122 Rosetta St.
Pittsburgh, PA 16046



Alexander Westerfield
3985 26th Street
San Francisco, CA 94131



Alexander Wilson
3422 E. University dr.
unit #18
Mesa, AZ 85213



Alexander Wirtz
728 Interdrive Apt. 1E
University City, MO 63130



Alexander Yao
4171 Davis Street
Santa Clara, CA 95054



Alexandra Green
624 Mariposa Ave. Apt. 6
Oakland, CA 94610




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 109 of
                                        1568
Alexandra Green
624 Mariposa Ave
Apt No 6
Oakland, CA 94610



Alexandra Green_V
624 Mariposa Ave. #6
Oakland, CA 94610



Alexandra Gruskos
1317 Macon Ave
Pittsburgh, PA 15218



Alexandra Habeeb
3804 Evans St. #10
Los Angeles, CA 90027



Alexandra Johnson
1 Checkerboard Sq
Saint Louis, MO 63102



Alexandra Jorde
1 turner court
oakland, CA 94605



Alexandra Lee
3256 16th St. Unit 3
San Francisco, CA 94103



Alexandra Liu
270 Club Drive
San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 110 of
                                        1568
Alexandra Stambaugh
2303 28th Ave Apt 3e
Astoria, NY 11102



Alexandra Stambaugh
23-03 28th Ave
Apt #3E
Astoria, NY 11102



Alexandra Stone
14163 N. 90th Place
Scottsdale, AZ 85260



Alexandra Thomas
16575 greenview ave.
Detroit, MI 48219



Alexandre de_Chaumont_Quitry
1155 Indiana Street
San Francisco, CA 94107



Alexey Khripunov
604B 15 Street S
Arlington, VA 22202



Alexis Colinas
Crest Trail #227
San Antonio, TX 78232



Alexis Gomez
17630 Marsh Harbor Ln
Dumfries, VA 22026




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 111 of
                                        1568
Alexis Merriweather
3811 finney ave, 3811
Saint Louis, MO 63113



Alexis Palangie
1106 Shrader St
San Francisco, CA 94117



Alexis Santana
1655 E University
Tempe, AZ 85281



Alexis Smelley
2611 Ivory Runway Unit 104
Raleigh, NC 27603



Alexis Thoeny
1022 Belvedere Lane
San Jose, CA 95129



Alfredo Capps
916 Mariner Dr
Mountain View, CA 94043



Alfredo Capps
916 mariner Dr.
Apt #Unit E
Mountain View, CA 94043



Alfredo Torres
1216 olympic dr
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 112 of
                                        1568
Ali Alosaimi
1050 S. Terrace Rd.
Tempe, AZ 85281



Ali Arsham
PO Box 2008
Napa, CA 94558



Ali Gaskins
1960 W Keating Ave.
Apt. 194
Mesa, AZ 85202



Ali Gharavi
681 Page Street #8
San Francisco, CA 94117



Ali Javidan
858 South Wolfe Rd
Sunnyvale, CA 94086



Ali Oskuie
10103 Tamarack Drive
Vienna, VA 22182



Ali Saidi
5003 Placid Pl
Austin, TX 78731



Ali Suleiman
18308 Outer Dr #2
Dearborn, MI 48128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 113 of
                                        1568
Alias Tagami
1655 Harvard St NW
Washington, DC 20009



Alice Chang
1225 Martha Custis Dr #1417
Alexandria, VA 22302



Alice Grantham
800 high school way #306
mountain view, CA 94041



Alice Liu
1 Hawthorne St. Unit 5C
San Francisco, CA 94105



Alicia Brand
1731 S. Broadway
St. Louis, MO 63104



Alicia Charlberg
360 Hyde Street, Apt. 403
San Francisco, CA 94109



Alicia Giampapa
1362 Hollyburne Ave
Menlo Park, CA 94025



Alicia Lachance
7052 Nashville Avenue
St Louis, MO 63117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 114 of
                                        1568
Alicia Rich
1016 S. Wayne St., #204
Arlington, VA 22204



Alisdair Faulkner
50 Lucerne St Apt 7
San Francisco, CA 94103



Alisha Hanson-Glatzel
17905 Mozelle Court
Los Gatos, CA 95033



Alisha Imamura
1107 N 4th Street
San Jose, CA 95112



Alison Barnsley
475 Church Street
Mountain View, CA 94041



Alison Corbeille
5342 Vincennes
Bloomfield Hills, MI 48302



Alison Darcy
55 Fair Ave
San Francisco, CA 94110



Alison Farrell
1438 42nd Ave.
San Francisco, CA 94122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 115 of
                                        1568
Alison Hwang
205 N George Mason Dr #4
Arlington, VA 22203



Alison Lee
6872 Shearwater Drive
San Jose, CA 95120



Alison Lewis
940 Duncan Street
San Francisco, CA 94131



Alison Sue
3879 Bucknall Rd
Campbell, CA 95008



Alison Sweet
6544 E Palm Lane
Scottsdale, AZ 85257



Alison Twombly
2348 Rosita Ave
Santa Clara, CA 95050



Alissa Briggs
1063 Mercy St.
Mountain View, CA 94041



Alissa Gaerte
548 Seaver Dr
Mill Valley, CA 94941




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 116 of
                                        1568
Alissa Werres
1300 N Street NW, Unit 218
Washington, DC 20005



Alix Gerber
4110 Arsenal St Apt B
Saint Louis, MO 63116



Allan Chin
489 E. Redondo Dr.
Gilbert, AZ 85296



Allan Doctor
5070 Westminister Pl
St. Louis, MO 63108



Allan Estes
24145 Calvin St.
Dearborn, MI 48124



Allan Finch
6821 Thomas Blvd #1
Pittsburgh, PA 15208



Allan Gottlieb
226 Valley Vista Dr
Camarillo, CA 93010



Allan Hessenflow
23097 Summit Road
Los Gatos, CA 95033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 117 of
                                        1568
Allan Ng
1464 12th Ave
San Francisco, CA 94122



Allan Peters
554 W 53rd Street, Apt 5H1
New York, NY 10019



Allan Regis
12802 Timber View Court
Silver Spring, MD 20904



Allan Sadaj
4101 Berkshirl dr
sterling hts, MI 48314



Allanah Jackson
4603 Ave H. Unit A
Austin, TX 78751



ALLEDA TRAVILLION
1103 PENNSYLVANIA AVE
PITTSBURGH, PA 15233



Allen Amis
5240 W Saragosa St
Chandler, AZ 85226



Allen Boger
404 Lomax Cove
Austin, TX 78732




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 118 of
                                        1568
Allen Ellison
747 Geary Street, #104
San Francisco, CA 94109



Allen Given
202 Rolling Rd
Gaithersburg, MD 20877



Allen Hessenflow
23097 Summit Road
Los Gatos, CA 95033



Allen Lavee
24 Santa Margarita Drive
San Rafael, CA 94901



Allen Lorenz
PO Box 3880
Stateline, CA 94025



Allen Mars-Holt
1960 Churton Ave
Los Altos, CA 94024



Allen Nesbitt
1161 Mission St
San Francisco, CA 94103



Allen Tucker
364 Waverly St.
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 119 of
                                        1568
Allen Wang
1709 E. El Pacque Dr.
Tempe, AZ 85282



Alliance Welding Supplies Inc.
P.O. Box 23804
Oakland, CA 94623



Allison Huang
1733 Crane Ave
Mountain View, CA 94040



Allison Andrews
653 Jackson St.
Albany, CA 94706



Allison Berman
46 Tum Suden Way
Redwood City, CA 94062



Allison Gerrits
350 River Oaks Pkwy
San Jose, CA 95134



Allison Lince-Bentley
1794 Columbia Rd NW
Washington, DC 20009



Allison Lull
6441 Castle Dr
Oakland, CA 94611




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 120 of
                                        1568
Allison Tipton
1401 Baronets Trl
Austin, TX 78753



Allyn Reynolds
729 Beaver St
Sewickley, PA 15143



Allysa Nicole Tambanillo Posecion
1917 Mt. Pleasant Rd.
San Jose, CA 95148



Allyson Holtz
3544 Beverly Pl
Pittsburgh, PA 15206



Allyson SEAL
949 Capp St #24
SAN FRANCISCO, CA 94110



Alma Santos
3231 Rocky Water Ln.
San Jose, CA 95148



alpay kasal
1916 ave k, 1A
brooklyn, NY 11230



Alton Brown
4829 E. Karsten Dr.
Chandler, AZ 85249




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 121 of
                                        1568
Alvaro Vazquez
323 E. Veterans Way
Apt: 1611B
Tempe, AZ 85281



Alvin Addisho
7053 W. Glen Dr.
Glendale, AZ 85303



Alvin Barber
5868 A1 Westheimer, #470
Houston, TX 77057



Alvin Cheng
1000 Hazelwood Ave.
Campbell, CA 95008



Alvin Huie
1547 Franklin St.
San Francisco, CA 94109



Alvin Shiu
3144 22nd St.
San Francisco, CA 94110



Alvin Wang
PO Box 50907
Palo Alto, CA 94303



Alvin Yip
1200 14th Ave Apt 107
San Francisco, CA 94122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 122 of
                                        1568
Alycia Osborne
1957 Wilfred Way
San Jose, CA 95124



Alysia Caryl
436 Fulton Rd.
San Mateo, CA 94402



Alyson Freeman
2228 Park Place Circle
Round Rock, TX 78681



Alyssa Pauley
8915 E Guadalupe #2172
Mesa, AZ 85212



Alyssia Harris
4604 Mon Blanc Drive
Bee Cave, TX 78738



Amacker Bullwinkle
639 B Street
Santa Rosa, CA 95401



Amadeo DeSouza
2369 chestnut street
san francisco, CA 94123



Amador Vargas
1919 Fruitdale Avenue #i304
San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 123 of
                                        1568
Amalia Cook
1928 Stowe Ave
San Jose, CA 95116



Amanda Allison
21733 N. Cottonwood St.
Burney, CA 96013



Amanda Dragoni
8212 Buchanan Ave
Saint Louis, MO 63114



Amanda Dupuis
2009 pine st
San Francisco, CA 94108



Amanda Fleig
856 Pine Ave
San Jose, CA 95125



Amanda Fleig_V
856 Pine Ave
San Jose, CA 95125



Amanda Fosnight
6346 Southwood Avenue
St Louis, MO 63105



Amanda Fosnight
6346 Southwood Ave
Apt #3S
St Louis, MO 63105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 124 of
                                        1568
Amanda Fulford
9827 sw 201 ct
Dunnellon, FL 34431



Amanda Kerlee
16509 Bonnie Lane
Los Gatos, CA 95032



Amanda Leesmann
6 Tanya Lane
Washington, MO 63090



Amanda Liv
239 Kensington Way
Los Gatos Way, CA 95032



Amanda Matthews
1304 Lombard Street, #9
San Francisco, CA 94109



Amanda Peck
308 Comanche Circle
Hutto, TX 78634



Amanda Peltier
5541 Anza Street
San Francisco, CA 94121



Amanda Rae Jensen
116 Herlong Ave,
San Jose, CA 95123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 125 of
                                        1568
Amanda Stanec
1556 Foxleigh Ct.
St. Louis, MO 63131



Amanda Stanton
11407 San Jose
Redford, MI 48239



Amanda Synnott
511 S Madison
LA GRANGE, TX 78945



Amanda Tinker
51 Wilson St
Pittsburgh, PA 15223



Amanda Tucker
114 N. Drexel St.
Mesa, AZ 85207



Amanda Tucker
114 N. Drexel street
Mesa, AZ 85207



Amanda Walker
2111 Owls Cove Ln
Reston, VA 20191



Amanda Waltrip
16904 Ardisia Dr
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 126 of
                                        1568
Amanda Watkins
PO Box 576
Springfield, OR 97475



Amanda Wilson
68 Woodland Ave.
Daly City, CA 94015



Amando Miller
1445 Lakeside Dr Apt 107
Oakland, CA 94612



Amaroney Thach
1250 S College Ave
Tempe, AZ 85287



Amazon Capital Services
PO Box 035184
Seattle, WA 98124-5184



Amber Doyle
3401 E Covina Cir
Mesa, AZ 85213



Amber Gerard
3134 East Camelback Road
Phoenix, AZ 85016



Amber Kaplan
782 Carolina St
San francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 127 of
                                        1568
Amber Ross




Amber Tittle
2566 E.Grand Blvd #231
Detroit, MI 48211



Ambrocine Rodriguez
1750 Stokes St Apt 33
San Jose, CA 95116



Ameera Chaaban
3967 Tulane
Dearborn Heights, MI 48125



Amelia Helmick
825 E Evelyn Ave, 402
Sunnyvale, CA 94086



Amelia Mahlstadt
4706 Adelphi Lane
Austin, TX 78727



American Arbitration Association
45 E River Park Place West Suite 308
Fresno, CA 93720



American Express Bank Attn:         Current Off
PO Box 3001
Malvern, PA 19355




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 128 of
                                        1568
Amie Zukowski
2415 3rd Street
San Francisco, CA 94107



Amil Kabil
206 South Bayview Avenue
Sunnyvale, CA 94086



Amin Issa
1927 Altavue Road
Catonsville, MD 21228



Amir Adams
3634 Frazier St
Pittsburgh, PA 15213



Amir Hirsch
821 Folsom St. #508
San Francisco, CA 94107



Amit Balchandani
200 Q Street NE #2208
Washington, DC 20002



Amit Fernandes
10 Main street apt 3s
Dobbs Ferry, NY 10567



Amit Jardosh
1795 Chestnut Street, Apt 7
San Francisco, CA 94123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 129 of
                                        1568
Amos Curlee
337 Westgate Ave
St. Louis, MO 63130



Amre Hariri
1100 S Lamer Blvd Apt 2331
Austin, TX 78704



Amy Erickson
439 Tompkins Ave #4
Brooklyn, NY 11216



Amy Eskind
2046 Fransworth Dr.
Nashville, TN 37205



Amy Everson
533 Village Dr.
El Cerrito, CA 94530



Amy Giver
22547 Silver Oak Way
Cupertino, CA 95014



Amy Grude
530 Bartlett St
San Francisco, CA 94110



Amy Henley
2230 Carmelita Drive
San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 130 of
                                        1568
Amy Hiles
570 Beale Street, 102
San Francisco, CA 94103



Amy Hoagland
1600 Valleyridge Dr
Apt B
Austin, TX 78704



Amy Hoagland
1600 Valleyridge Dr.
Austin, TX 78704



Amy Jermyn
720 Anderson Dr
Los Altos, CA 94024



Amy Jo Harris
928 W. Yale Dr.
Tempe, AZ 85283



Amy Kwok
134 Page St
San Francisco, CA 94117



Amy Liu
1445 E Tierra St
Gilbert, AZ 85297



Amy Malinowski
17 Clover Lane
Jericho, VT 05465




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 131 of
                                        1568
Amy McPherson
1 Hollywood Ct.
San Francisco, CA 94112



Amy Qian
6834 Hampton Drive
San Jose, CA 95120



Amy Russell
221 North Grand
MO, MO 63103



Amy Tuleen
2868 homestead road #2
santa clara, CA 95051



Amy Wells
300 3rd St. #611
San Francisco, CA 94107



Amy Zhang
353 W. Weatherby
Chandler, AZ 85286



Amy-Geene Osborn
445 Iris Street
Redwood City, CA 94062



An Le
2301 Columbia Pike, #320
Arlington, VA 22204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 132 of
                                        1568
Ana Albejar-Gonzalez
359 Whispering Wind Way
Austin, TX 78737



Anand Jain
610 Jackson St., Suite 220
Santa Clara, CA 95050



Anand Kathula
16657 Green Pines Dr
Ballwin, MO 63011



Anand Mandapati
3623 18th St #2
San Francisco, CA 94110



Ananda Norris
1620 Tyer Street
Berkely, CA 94703



AnaRosa PeyrotGonzalez
440 Oak St
Mountain View, CA 94041



Anastacia Spada
350 Bay Street, Suite 100 #85
San Francisco, CA 94133



Anat Sapan
7615 Potrero Ave
El Cerrito, CA 94503




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 133 of
                                        1568
Andee Young
1801 Bluff Drive
Round Rock, TX 78681



Andr s P rez Rodr guez
1477 Kentfield Avenue
Redwood city, CA 94061



Andre Rivero
7823 Enola Street
McLean, VA 22102



Andre Anderson
192 Dogwood Rd
Valley Stream, NY 11580



Andre Lackey
4976 Monroe
Dearborn Heights, MI 48125



Andre Parmentier
1420 N Roadrunner Dr
Gilbert, AZ 85277



Andre Sant'Anna
4451 Jan Way
San Jose, CA 95124



Andre Sibayan
422 Lincoln Circle #7
Millbrae, CA 94030




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 134 of
                                        1568
Andre Sottile
PO box 2031
Monroe, MI 48161



Andrea Butler
19 Kimmie Ct
Belmont, CA 94002



Andrea Chowanic
2863 Greenlawn Ave.
Commerce Twp., MI 48382



Andrea Christensen
261 El Dorado
Palo Alto, CA 94306



Andrea Coens
52 Page Street #8
San Francisco, CA 94102



Andrea Damato
505 E Braddock Rd, apt205
Alexandria, VA 22314



Andrea Hawksley
1326 Hoover Street
Menlo Park, CA 94025



Andrea Jodd
1521 Washington Ave
Saint Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 135 of
                                        1568
Andrea Lober Rockovich, CPA Bakery Squar
6425 Penn Ave.
Pittsburgh, PA 15206



Andrea Longo
1230 Market Street, Box 351
San Francisco, CA 94102



Andrea Rust
255 Arbors Circle
Elgin, TX 78621



Andrea Schaffuer-Dittler
350 Velarde St
Mountain View, CA 94041



Andrea Tisdel
102 Breakaway Rd
Cedar Park, TX 78613



Andrea Tyson
1575 Willowmont Ave
San Jose, CA 95118



Andreas Nowatzyk
938 Sunbonnet Loop
San Jose, CA 95125



Andreas Regus
25820 N 64th Ln
Phoenix, AZ 85083




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 136 of
                                        1568
Andreas Wittenstein
P.O. Box 570
Woodacre, CA 94973



Andrei Garcia
2035 Ralmar Ave
East Palo Alto, CA 94303



Andres Foster
3351 Nesta Drive
San Jose, CA 95118



Andres Kohn
108 Wildwood Ave
San Carlos, CA 94070



Andres Lee
1430 Funston ave
San Francisco, CA 94122



Andres Lopez
542 Brannan St 102
San Francisco, CA 94107



Andres Rocha
4401 Freidrich Ln
Austin, TX 78744



Andrew Castillo
5937 S. Backus Mall
Mesa, AZ 85212




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 137 of
                                        1568
Andrew Doolittle
109 Goldhunter Court
Foster City, CA 94404



Andrew Gliesman
4911 Monroe St
Dearborn Heights, MI 48125



Andrew Renwick
10 S Broadway, Suite 200
st Louis, MO 63102



Andrew Stouppe
7622 Woodside
Westland, MI 48185



Andrew Andrasko
3604 S. Big Bend
Maplewood, MO 63143



Andrew Auchter
3809 Lorcom Ln
Arlington, VA 22207-5127



Andrew Bala-Rasmussen
632 C street
Petaluma, CA 94952



Andrew Ballman
92 29th St, Apt 1
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 138 of
                                        1568
Andrew Barlow
23660 West Lake Circle
Brownstown, MI 48183



Andrew Beam
4591 Oak Pointe Dr.
Brighton, MI 48116



ANDREW BELL
4757 ROSA AVE
ST. LOUIS, MO 63116



Andrew Benjamin Ritger
1492 W. Hedding
San Jose, CA 95126



Andrew Bennett
2440 Chalet Drive
Rochester Hills, MI 48309



Andrew Bernard




Andrew Bonwick
1390 McKenzie Ave
Los Altos, CA 94024



Andrew Brase
Brooklyn, NY 11231




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 139 of
                                        1568
Andrew Brase
355 Jefferson Ave, #4
Brooklyn, NY 11221



Andrew Braum
151 Calderon Ave., Apt. #112
Mountain View, CA 94041



Andrew Brooks
1604 E. Baker Dr.
Tempe, AZ 85282



Andrew Brown
8127 Warfield
Canton, MI 48187



Andrew Brown
1401 Potomac Ave SE, Apt 2
Washington, DC 20003



Andrew Brubaker
605 woodward ave 3R
Queens, NY 11385



Andrew Buckley
30 Lovers Lane
Fairfield, CT 06824



Andrew Burchill
1219 S Farmer Ave Unit 4
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 140 of
                                        1568
Andrew Calvo
3565 Ross Rd
Sebastopol, CA 95472



Andrew Calvo
PO Box 2205
Sebastopol, CA 95472



Andrew Calvo_V
3565 Ross RD,
Sebastopol, CA 95472



Andrew Campbell
114 N Willord Ave
San Jose, CA 95126



Andrew Cardwell
3305 17th St North unit C
Arlington, VA 22201



Andrew Carlson
53 Parker Ave
Atherton, CA 94027



Andrew Carlson
9651 E. Corte Torre Del Sol
Tucson, AZ 85748



Andrew Carlson
3303 46th Ave. SE
Mandan, ND 58554




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 141 of
                                        1568
Andrew Carlson
516 15th Street NE
Washington, DC 20002



Andrew Carmain
134 Beatrice Street
Mountain View, CA 94043



Andrew Chang
26377 Summerglen Pl
Castro Valley, CA 94552



Andrew Cho
21384 Rizzo Ave
Castro Valley, CA 94546



Andrew Corradini
175 Rizal Dr
Hillsborough, CA 94010



Andrew Cunningham
725 S. Alexander Ave
Royal Oak, MI 48067



Andrew Custer
1308 Campbell St
Oakland, CA 94607



Andrew Deagon
149 New Montgomery St.
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 142 of
                                        1568
Andrew Demotte
39 Crestview Dr
San Rafael, CA 94903



Andrew Ditchey
6161 E. Mountain View Rd.
Paradise Valley, AZ 85253



Andrew Eckhardt
1225 Vienna Drive SPC 990
Sunnyvale, CA 94089



Andrew Ehlert
5505 Layne Estates Ct
Alexandria, VA 22310



Andrew Ellis
10066 pasadena ave apt c
cupertino, CA 95014



Andrew Ellison
9412 Robert Deves Drive
St. Louis, MO 63126



Andrew Ferhat Yidirim
3321 21st Street, Apt 4
San Francsico, CA 94110



Andrew Germann
1435 3rd Ave, Apt. 201
Oakland, CA 94606




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 143 of
                                        1568
Andrew Godwin
1160 Mission St Unit 1609
San Francisco, CA 94103



Andrew Hernandez
233 N 3rd St, Apt 4
San Jose, CA 95112



Andrew Herr
7621 Randy
Detroit, MI 48185



Andrew Hodges
18 Dawn Lane
Aliso Viejo, CA 92656



Andrew Hrehor
207 Pheasant Ridge
Round Rock, TX 78665



Andrew Huang
1733 Crane Ave
Mountain View, CA 94040



Andrew James
3621 Utah Place
St. Louis, MO 63116



Andrew Jenks
2666 Harrison St, B
Oakland, CA 94612




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 144 of
                                        1568
Andrew K.Barlow
23660 West Lake Circle
Brownstown, MI 48183



Andrew Kidd
1289 Reamwood Ave #A
Sunnyvale, CA 94089



Andrew Kobler
2618 Delmar Avenue
St. Louis, MO 63103



Andrew Lai
431 Magritte Way
Mountain View, CA 94041



Andrew Lai
1646 Newhall St. Apt. 3
Santa Clara, CA 95050



Andrew Lamonica
#B112 3033 La Selva St
San Mateo, CA 94403



Andrew Leer
216 Churchill Rd.
Turtle Creek, PA 90051



Andrew Leer
216 Churchill Rd.
Turtle Creek, PA 15145




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 145 of
                                        1568
Andrew Leopold
139 Stillman St. #5
San Francisco, CA 94107



Andrew Levitt
43 South 14th St
San Jose, CA 95112



Andrew Linfoot
25 Chattanooga St
San Francisco, CA 94114



Andrew Littlefield
461 2nd Street, T660
San Francisco, CA 94107



Andrew Liu
4114 E. San Remo Ave
Gilbert, AZ 85234



Andrew Lunday
429 Edgewood Rd
San Mateo, CA 94402



Andrew Luong
2454 E Tonto Pl
Chandler, AZ 85249



Andrew Lutomirski
204 2nd Ave #408
Palo Alto, CA 94401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 146 of
                                        1568
Andrew Maag
0
Austin, TX 78756



Andrew Malone
1140 Curtner Ave
San Jose, CA 95125



Andrew Maximow
1704 Barroilhet Ave
Burlingame, CA 94010



Andrew Mayer
307 Tannahill St
Dearborn, MI 48124-1070



Andrew McCarthy
1060 S 3rd St #309
San Jose, CA 95112



Andrew Michelson
7473 Teasdale Ave.
Saint Louis, MO 63130



Andrew Moll
408 Duboce Ave. Apt. A
San Francisco, CA 94117



Andrew Myrick
133 Lexington St. #3
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 147 of
                                        1568
Andrew Nielsen
654 Harrison Ave.
Campbell, CA 95008



Andrew OSullivan
7212 Forsyth Blvd.
Saint Louis, MO 63105



Andrew Pass
3653 S. Soho Lane
Chandler, AZ 85286



Andrew Pfister
11002 Roma St
FAIRFAX, VA 22030



Andrew Pianka
3913 Cadwallader Ave.
San Jose, CA 95121



Andrew Ptaschinski
5913 Penn Ave
Pittsburgh, PA 15206



Andrew Quinn
2731 Lavender Terrace
San Jose, CA 95111



Andrew Ritger
1492 W. Hedding
San Jose, CA 95126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 148 of
                                        1568
Andrew Robinson
2600 Crystal Drive
Arlington, VA 22202



Andrew Routley
19142 north ventana lane
maricopa, AZ 85138



Andrew Rowland
629 Daniels St. Apt. D
Raleigh, NC 27605



Andrew Rutter
1932 Fell St #11
San Francisco, CA 94117



Andrew S. Huang
1733 Crane Ave
Mountain View, CA 94040



Andrew Savage
108 Parkspring Ct
Cary, NC 27519



Andrew Schwartz
120 21st Avenue
San Francisco, CA 94121



Andrew Serrapica
1460 North 4th St. Apt 703
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 149 of
                                        1568
Andrew Shah
4011 Eagle Nest Lane
Danville, CA 94506



Andrew Simsak
66 Everson Street
San Francisco, CA 94131



Andrew Soltis
1917 Washtenaw Ave
Ann Arbor, MI 48104



Andrew Son, VP JBG Smith
4445 Willard Ave., Suite 400
Chevy Chase, MD 20815



Andrew Steele
1001 S. Forest Mall
Tempe, AZ 85287



Andrew Strauss
1033 Rubis Drive
Sunnyvale, CA 94087



Andrew Sweeney
1208 S. Roosevelt St.
Tempe, AZ 85281



Andrew Taylor
236 Clara St #3
San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 150 of
                                        1568
Andrew Tomasic
24385 Colgate St
Dearborn Heights, MI 48125



Andrew Trembley
536 Cassatt Way
San Jose, CA 95125



Andrew Turner
1905 Plantation Ct
Round Rock, TX 78681



Andrew Varney
216 7th st. Apt #2
Brooklyn, NY 11215



Andrew W. Huber
1111 Cardinal Drive
Imperial Missouri, MO 63052



Andrew Waldron
6712 Hammersmith Dr
Raleigh, NC 27613



Andrew Weed
1111 S. Ash Ave.
Tempe, AZ 85281



Andrew Whitmore
249 Acalanes Dr. Apt #1
Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 151 of
                                        1568
Andrew Widdowson
1249 Hoover St Apt 3
Menlo Park, CA 94025



Andrew Wollenberg
402 Sapphire Street
Redwood City, CA 94062



Andrew Wong
5859 Silver Leaf Rd
San Jose, CA 95138



Andrew Yee
5262 Orchard Hill Drive
Pittsburgh, PA 15237



Andrew Yoho
357 Lawn St. Apt. 2
Pittsburgh, PA 15213



Andrey Zaytsev
879 Altaire Walk
Palo Alto, CA 94303



Andriy Pletenetskyy
1180 Lochinvar Ave Apt 41
Sunnyvale, CA 94087-5117



andy aczel
2455 25th ave
San Francisco, CA 94116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 152 of
                                        1568
Andy Brandt
130 S 23rd St
San Jose, CA 95116



Andy Brown
3345 17th Street Apt 3
San Francisco, CA 94110



Andy Budacki
10 Sycamore Spur
Leetsdale, PA 15056



Andy Choi
1616 Granada Drive
Burlingame, CA 94010



Andy Didorosi
2350 Burdette
Ferndale, MI 48220



Andy Filo
22670 Oakcrest Court
Cupertino, CA 95014



Andy Garcia
2601 La Frontera Blvd, #2423
Round Rock, TX 78681



Andy Greenstein
118 Baden St.
San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 153 of
                                        1568
Andy Greenstein
118 Baden st
San Francisco, CA 94131



Andy Hewett
441 Ramona Road
Portola Valley, CA 94028



Andy Hohenner
1560 Alma Terrace
San Jose, CA 95125



Andy Hope
2900 21st Street
San Francisco, CA 94110



Andy Johnston
267 Grand St
Redwood City, CA 94062



Andy Kordsmeier
1099 Solana Drive
Mountain View, CA 94040



Andy Leer
216 Churchill Rd.
Turtle Creek, PA 15145



Andy Lombardo
1310 San Jacinto Ct
St Louis, MO 63139




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 154 of
                                        1568
Andy McDaniel
2010 E Indigo Dr
Chandler, AZ 85286



Andy Miller
1606 Sun Mountain Dr
San Antonio, TX 78258



Andy Ritger
1492 W. Hedding
San Jose, CA 95126



Andy Snee
516 N. Boundary St.
Raleigh, NC 27604



Andy Sundblad
914 Everett Ave.
Oakland, CA 94602



Andy Thyssen
1200 Meadow Ridge Dr.
Dripping Springs, TX 78620



Andy Turudic
PO Box 371
Hillsboro, OR 97123



Ang Chen
781 E. Terrace Rd.
Tempe, AZ 85287




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 155 of
                                        1568
Angel Savoy
3615 Riviera Street
Temple Hills, MD 20748



Angel Giron
312 Chestnut St.
Redwood City, CA 94063



Angel Michel
805 Sleeping Bear Dune
Pflugerville, TX 78660



Angel Rodriguez
137 E Pebble Beach Dr.
Tempe, AZ 85282



Angela Aragon
3133 gateway dr
cameron park, CA 95682



Angela Buchanan
2671 W Mila Way
San Tan Valley, AZ 85142



Angela Buraglia
3118 Paseo de Charros
Leander, TX 78641



Angela Defrancesco
144 S 3rd St Unit 610
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 156 of
                                        1568
Angela Light
3208 Kawalker Ln
San Jose,, CA 95127



Angela Light
3208 Kawalker Lane
San Jose, CA 95127



Angela Maiorano
1 Appain Way Unit 704-1
South San Francisco, CA 94080



Angela Mallett
700 Elm St.
San Carlos, CA 94070



Angela Mills
815 - A Brazos #489
Austin, TX 78701



Angela Puskarich
3022 Arrowhead Point Dr
Oakville, MO 63129-5240



Angela Saxon
1322 El Camino Real
Redwood City, CA 94063



Angela Taylor
104 Old Lowery Ct
Raleigh, NC 27614




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 157 of
                                        1568
Angeleia Hall
219 Erin Street
Pittsburgh, PA 15219



Angeli Hung
1442 Florida St.
San Francisco, CA 94110



Angelica Jenett
76 Manor Rd.
Fairfax, CA 94930



Angelina Parker
3030 Hillside Dr.
Burlingame, CA 94010



Angelo Bertani
22098 Oakwood
Woodhaven, MI 48183



Angelo Petrolino
2371 Sutter Ave.
Santa Clara, CA 95050



Angie Chang
2235 McKinley Ave., Apt #2
Berkeley, CA 94703



Angie Chua
120 Saratoga Ave. #90
Santa Clara, CA 95051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 158 of
                                        1568
Angus Huang
13897 Yerba Santa Ct.
Saratoga, CA 95070



Angus MacDonald
85 Carl St #11
San Francisco, CA 94117



Anh Tran
1702 Kyra Circle
San Jose, CA 95122



Ani Aggarwal
914 Stagi Ct
Los Altos, CA 94024



Ani Ghajanian
2743 Folsom Street
San Francisco, CA 94110



Anil Sreedharan
1140 fernandez way
Pacifica, CA 94044



Anirudh Uppal
11035 Magdalena Rd
Los Altos Hills, CA 94024



Anirudh Mani
2317 Eldridge St
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 159 of
                                        1568
Anirudha Phatak
2900 Warner Drive
West Bloomfield, MI 48324



Anisa Brook
1190 S Mill Ave
Tempe, AZ 85281



Anisa Davis
19616 Midway Rd.
Southfield, MI 48075



Anita Ainsworth
15101 Morris
Allen Park, MI 48101



Anita Benjamin
174 Randall Street
San Francisco, CA 94131



Anita M. Woelfel
12 Telluride dr.
St. Peters,
MO-63376



Anitra Branch
5913 Penn Ave
Pittsburgh, PA 15216



Anja Tranovich
511 Webster St Apt A
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 160 of
                                        1568
Anjani Shidham
26277 E River Rd
Grosse Ile, MI 48138



Ann Ivory
21206 St. Francis
Farmington Hills, MI 48336



Ann Belfield
2941 E. Megan St.
Gilbert, AZ 85295



Ann Johnson
3214 Cherokee Street
Saint Louis, MO 63116



Ann Leung
3631 Santiago Street
San Mateo, CA 94403



Ann Plachecki
1040 E Oakland St
Chandler, AZ 85225



Anna Barensfeld
438 Hartzell School Road
Fombell, PA 16123



Anna Bartolomeo
716 Monroe St NE, #C438
Washington, DC 20017




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 161 of
                                        1568
Anna Chiu
1415 Franklin Street
San Francisco, CA 94109



Anna Dravland
1344 Beaconsfield Ave
Grosse Pointe Park, MI 48230



Anna Hurd
3126 Geary Blvd, #2
San Francisco, CA 94118



Anna Kirby
4200 Wisconsin Ave
Washington, DC 20016



Anna Kong
1501 - A Kirkwood
Austin, TX 78702



Anna Rosch
2700 Q Street, N.W. Apt.143
Washington, DC 20007



Anna Sawyer
369 Upper Terrace
San francisco, CA 94117



Anna Sher
2 Green Oaks Dr
St. Louis, MO 63132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 162 of
                                        1568
Anna Tulchinskaya
1724 W Abingdon Drive Apt 301
Alexandria, VA 22314



Anna Wang
3636 16th St NW, Apt A630
Washington, DC 20010



Anna Zheng
650 Foresail Court
Foster City, CA 94404



Annabelle Ott
9 Crestwood Dr
Clayton, MO 63105



Annabelle Port
217 College St.
Mountain View, CA 94040



Annalee Newitz
128 Jersy
San Francisco, CA 94114



Anne Anderson
1165 Miller Ave
Berkeley, CA 94708



Anne Atteberry
1705 Black Twig Ln
kirkwood, MO 63122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 163 of
                                        1568
Anne Brazauskas
519 east third st
Royal Oak, MI 48067



Anne Butti
Post Office Box 501
Kentfield, CA 94914



Anne Chen_v
202 S Aiken Ave
Pittsburgh, PA 15206



anne fletcher
2349 Hanover St
Palo Alto, CA 94306



Anne Herz
1229 Clark Way
San Jose, CA 95125



Anne Jantz
25593 Tireman
Troy, MI 48127



Anne Renee Wright
3634 Frazier St
Pittsburgh, PA 15213



Anne Sergeant
5 Pine Avenue
Takoma Park, MD 20912




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 164 of
                                        1568
Anne Widera
1050 17th St #502
San Francisco, CA 94107



Anne Wright
3634 Frazier St
Pittsburgh, PA 15213



Anne Zajicek
1606 Blue Meadow Rd
Potomac, MD 20854



Annelies Lottmann
5607 Joe Sayers Ave.
Austin, TX 78756



Annemarie Loyd
1551 Engelbrook Dr
Wildwood, MO 63011



Annette Balli
2157 Hilton Head
Round Rock, TX 78664



Annette Fleishman
206 Bosse Avenue #103
Stanford, CA 94305



Annie Shin
1395 Antietamave #45
Detroit, MI 48207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 165 of
                                        1568
Annie Codiga
313 N 3rd St. #3
Campbell, CA 95108



Annie Litwiller
4281 Express Ln Ste L1016
Sarasota, FL 34238



Annie Maki
1432 12th St.
Oakland, CA 94607



Annika Maas
9 Tupelo Way
Acton, MA 01720



Anny Chen
265 Main Street
Pittsburgh, PA 15201



Anoah Wang
749 27th St
San Francisco, CA 94102



Anoup Kaul
260 Del Norte Drive
San Bruno, CA 94066



Ansh Verma
100 W San Fernando Street
San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 166 of
                                        1568
Anshul Gupta
1 Saint Francis Place
San Francisco, CA 94107



Anson Knoblach
2535 W. Fairview St
Chandler, AZ 85224



Anson Tse
1333 Gough St. Apt 10g
San Francisco, CA 95125



Anthem Blue Cross
PO BOX 511300
Los Angeles, CA 90051



Anthony Anderson
10460 E Natal Ave
Mesa, AZ 85209



Anthony Boczkowski
420 West 47th Street, Apartment 5F
New York, NY 10036



Anthony Colard
415 Detroit Ave
Royal Oak, MI 48073



Anthony Fudd
86 Hill Street
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 167 of
                                        1568
Anthony Godshall
116 Leroy Pl
San Francisco, CA 94109



Anthony Guma
1629 Columbia Road, NW, #723
Washington, DC 20009



Anthony Guma_V
1629 Columbia Road,
NW #723
Washington, DC 20009



Anthony Heinen
260 southwind rd
Comfort, TX 78013



Anthony Hurst
1922 C St. NE
Washington, DC 20002



Anthony Jannotta
10135 Dallas Avenue
Silver Spring, MD 20901



Anthony Klein
29134 Mark Ave.
Madison Heights, MI 48071



Anthony Koch
3371 Medford Drive
Troy, MI 48084-2708




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 168 of
                                        1568
Anthony Mazzei
1982 30th Ave
San Francsico, CA 94116



Anthony Melatti
23073 Nona St
Dearborn, MI 48124



Anthony Pacillo
4164 Victoria Park Drive
San Jose, CA 95136



Anthony Pavilonis
616 Westview Dr
Beaver, PA 15009



Anthony Perri
1398 Bremerton Dr
Sunnyvale, CA 94087



Anthony Quesada
1635 Green St.
San Francisco, CA 94123



Anthony Ryan
948 S Alma School RD #75
Mesa, AZ 85210



Anthony Sarkisian
1148 Morningside Ave
South San Francisco, CA 94080




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 169 of
                                        1568
Anthony Spadafore
3145 E Chandler Blvd
Phoenix, AZ 85048



Anthony Stock
2307 Ravine ct
San Jose, CA 95133



Anthony Stram
250 S. Elizabeth Way, Apt. 2112
Chandler, AZ 85225



Anthony Torza
16 Jesse Street
San Francisco, CA 94105



Anthony Vito
939 S. Roca St.
Gilbert, AZ 85296



Anthony Yates
379 Fayette Springs Rd. PO box 192
Chalk Hill, PA 15421



Anthony Young
6100 W. Post Road
Chandler, AZ 85226



Antione Malloy
39 Elizabeth Street
Pittsburgh, PA 15210




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 170 of
                                        1568
Antoine Alary
1516 Lima Ct
San Jose, CA 95126



Antoine Planche
2821 N. Quebec St.
Arlington, VA 22207



Antoine Planche_V
2821 N. Quebec St.
Arlington, VA 22207



Anton Castro
1137 Hyde St
San Francisco, CA 94109



Anton Castro
1137 Hyde St Apt 5
San Francisco, CA 94109



Anton Fulmen
78 Woodward St.
San Francisco, CA 94103



Anton Willis
2529 frances st
oakland, CA 94601



Antoni Batchelli
874 Page St, Apt 4
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 171 of
                                        1568
Antonina Dominici
3051 OCEAN AVE APT C5
BROOKLYN, NY 11235



Antonio Acuna
1909 W. 3rd St.
Mesa, AZ 85201



Antonio Montoya
163 Carlyn Ave
Campbell, CA 95008



Antonio Perdigon
934 Howard St.
San Francisco, CA 94103



Antonio Rodriguez
3704 Timson Ct
Austin, TX 78731



Antonio Rodriguez Jr
3704 Timson
Austin, TX 78731



antuanette holder
50 rose ave
mill valley, CA 94941



Anu Shidham
26277 E. River Rd
Grosse Ile, MI 48201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 172 of
                                        1568
Anujan Varma
21090 Hazelbrook Dr.
Cupertino, CA 95014



Anujan Varma and Sobha Varma
21090 Hazelbrook Dr.
Cupertino, CA 95014



Anwar Alasfour
1300 N Sycamore Ct
Chandler, AZ 85224



Anya Crane
2331 Winged Foot Rd.
Half Moon Bay, CA 94019



Anya Rosen
429 S. Aiken Ave
Pittsburgh, PA 15213



Aoife McEvoy
3126 Oak Knoll Dr
Redwood City, CA 94062



Apeksha Ambaram
516 Ellis Street, 501
San Francisco, CA 94109



Apichart Sewthaisong
2701 Lorcom Lane
Arlington, VA 22207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 173 of
                                        1568
Apratim Dixit
110 Alma St. Apt 1
Menlo Park, CA 91501



April Kissinger
5601 Stoutwood Circle
Austin, TX 78745



April Rosenberg
27813 Browning Ct
Hayward, CA 94544



April Lawrence
1272 Valencia St
San Francisco, CA 94110



April Merrell
837 N Saint Clair St #2
Pittsburgh, PA 15206



April Orlando
196 E Lynx Pl
Chandler, AZ 85249



Aqheel Mohammad
5124 Heather Drive
Dearborn, MI 48126



Ara Baghdassarian
12079 Broadway Ter
Orinda, CA 94611




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 174 of
                                        1568
Aran Donohue
637 Addison Ave
Palo Alto, CA 94301



Arash Kani
325 Stepney RD
Easton, CT 06612



ARC
P.O Box 192224
San Francisco, CA 94119



ARC
P.O. Box 192224
San Francisco, CA 94119



ARC
P.O.Box 192224
San Francisco, CA 94119-2224



Archana Thampi-Rajagopal
1153 Elena Privada
Mountain View, CA 94040



Archie Hart
11155 Sandy Manor DRive
Fairfax Station, VA 22039



Ardeshir Mostofi
137 San Jose Ave
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 175 of
                                        1568
Ari Duel
7 Country Estates Place
Frontenac, MO 63131



Aria Pakravan
4901 E. Tierra Buena Lane
Scottsdale, AZ 85258



Arian Brackett
319 Deerfield Drive
Moraga, CA 94556



Arie Groeneveld
105 Harlan Dr.
Bloomfield, MI 48301



Ariel Childers
4535 Lindell Blvd. Apt 301
St. Louis, MO 63108



Ariel Zekelman
185 Forest unit 2B
Palo Alto, CA 94301



Arienne Gagui
1320 California St #3
San Francisco, CA 94109



Arienne Gagui
1320 California Street
Apt 3
San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 176 of
                                        1568
Arihant Pandey
1650 Canna Ln
SanJose, CA 95124



Arik McAvoy
333 North Pennington Drive #64
Chandler, AZ 85224



Arjun Menon
425 2nd Street
San Francisco, CA 94107



Arjun Vikuntam
28 Bergen Drive
Cranbury, NJ 08512



Arlen Peckham
2110 Penbridge Dr.
Austin, TX 78757



Arlen Raasch
3 Countryside Drive
Fredericksburg, VA 22406



Arlington County Treasurer
PO Box 1754
Merrifield, VA 22116



Arlington County Tresaurer
PO Box 1754
Merrifield, VA 22116-1754




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 177 of
                                        1568
Arman Sidhu
8 Skypark Circle
South San Francisco, CA 94080



Armando Macedo
5601 Adair Dr.
Austin, TX 78754



Armando Nido
2029 N 22nd St
Phoenix, AZ 85006



Armen Rafaelian
1910 29th Ave.
San Francisco, CA 94116



Armon Walker
2025 w Dixon st
Mesa, AZ 85201



Arnar Birgisson
6 Mint Plz
San Francisco, CA 94103



Arnaud DELUBAC
199 Laureal St
San Francisco, CA 94107



Arnaud Pilpre
1309 B Maple St.
San Mateo, CA 94402




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 178 of
                                        1568
Arnie Cowger
900 Southampton Rd. #42
Benicia, CA 94510



Arnold Ingram
21135 Midway Ave
Southfield, MI 48075



Arnold Kadiu
22271 Audette St
Dearborn, MI 48124



Arron Campi
2621 Fairdell Drive
San Jose, CA 95125



Art Ferdinand
2468 Embarcadero Way
Palo Alto, CA 94303



Art Gehr
6921 W. Stockman
Glendale, AZ 85308



Art Shulenberger
282 San Benito Road
Brisbane, CA 94005



Art Silva
2036 San Jose Ave Apt. E
Alameda, CA 94501




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 179 of
                                        1568
Artem Belevich
1304 Antonio Ln
San Jose, CA 95117



Arthur Bianchi
42873 Richmond Dr
Sterling Heights, MI 48313



Arthur Gabriel
229 Summerwind Drive
Milpitas, CA 95035



Arthur Chan
6950 Almaden Expy #150
SAN JOSE, CA 95120



Arthur Douglass
4827 Hatfield Street
Pittsburgh, PA 15201



Arthur Gianoukos
1209 15th Avenue
San Francisco, CA 94122



Arthur Kho
146 W. Dana St., Apt. B
Mountain View, CA 94041



Arthur Koskela
351 E Thomas Suite D-501
Phoenix, AZ 85012




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 180 of
                                        1568
Arthur Valdez
4912 H Pkwy
Sacramento, CA 95823



Artur Kashperskiy
1547 Palos Verdes Mall #159
Walnut Creek, CA 94597



Arturo Perez
1843 E Kirkland Ln
Unit B
Tempe, AZ 85281



Arvind Thyagarajan
941 Dolores St., Apt. 3
San Francisco, CA 94110



Aryabhat Darnal
625 W. 1st St. #342
Tempe, AZ 85281



Asa Mathat
555 Bryant St #186
Palo Alto, CA 94301



Asbjoern Boehn
1900 W Chandler Blvd 15
Chandler, AZ 85224



Ash Cole
108 Oakview Ave
Pittsburgh, PA 15218




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 181 of
                                        1568
Asher Blum
329 Waverley St.
Menlo Park, CA 94025



Ashley Beardmore
292 Laquesta Dr
Danville, CA 94526



Ashley Brown
18745 E Pine Barrens Ave
Queen Creek, AZ 85142



Ashley Clayton
160 Seville St
San Francisco, CA 94112



Ashley Clayton
427 4th Avenue
San Francisco, CA 94118



Ashley Crawford
8647A Burwell St. NW
Washington, DC 20032



Ashley Davidson
609 Grand St 2R
Brooklyn, NY 11211



Ashley Gomez
1 Somerset Place
Palo Alto, CA 94301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 182 of
                                        1568
Ashley Liu
10222 Byrne Ave
Cupertino, CA 95014



Ashley Longrie
16561 Willow Glen Dr.
Wildwood, MO 63040



Ashley Marze
3908 Main St. Apt 3
Munhall, PA 15120



Ashley Paulisick
957 Wellesley Rd.
Pittsburgh, PA 15206



Ashley Satkowsky
17675 W. Surrey Dr.
Surprise, AZ 85388



Ashley Sherwood
3616 Hawk Ridge
Round Rock, TX 78665



Ashley Vandall
200 Meridan Street
Pittsburgh, PA 15211



Ashley Warren
70 S. 8th St
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 183 of
                                        1568
Ashley Weatherson
770 17th Ave
Menlo Park, CA 94025



Ashley Whetstone
625 Creekside Way APT #1103
New Braunfels, TX 78130



Ashok Janah
91 Woodland Ave.
San Francisco, CA 94117



Ashveta Budhrani
965 Sutter St. Apt 423
San Francisco, CA 94109



Ashwath Anand
2426 Fulton Street
San Francisco, CA 94118



Ashwin Ranade
131 Saratoga Ave, Apt 3208
Santa Clara, CA 95051



Aspen Glatzel
17905 Mozelle Court
Los Gatos, CA 95033



ASSA ABLOY Entrance Systems US Inc.
9746 Dino Drive
Elk Grove, CA 95624-9477




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 184 of
                                        1568
Assi Shalom
1088 s van ness
San Francisco, CA 94110



Astrid MARDON-PREVOST
9808 Faith and Trust Cove
Austin, TX 78717



AT&T - 40828014043430
PO Box 5025,
Carol Stream, IL 60197



AT&T Mobility - 879353507
PO Box 6463
Carol Stream, IL 60197



AT&T-116240578-8
PO Box 5014
Carol Stream, IL 60197



AT&T-116792134-5
PO Box 5014
Carol Stream, IL 60197



AT&T-116792136-9
PO Box 5014
Carol Stream, IL 60197



AT&T-415 243-8677 509 2
PO Box 5025,
Carol Stream, IL 60197




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 185 of
                                        1568
AT&T-415-882-7119-748-0
P.O. Box 5025
Carol Stream, IL 60197



Athena Blair
2237 Cleveland
Granite City, IL 62040



Athena Roberts
87806 MCKELLIPS
SCOTTSDALE, AZ 85257



Athena Saxon
1322 El Camino Real
Redwood City, CA 94063



Athena Snider
1023 Jena Terrace
Sunnyvale, CA 94089



Atmos Energy_V
PO Box 790311
St. Louis, MO 63179



Atziry Vazquez
809 Rollins Rd
Burlingame, CA 94010



Audrey Chaing
338 Spear St #10D
San Francisco, CA 94105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 186 of
                                        1568
Audrey Randazzo
4921 Roundtree Dr
Campbell, CA 95008



Audrey Willey
5230 Twin Falls Rd
Morgan Hill, CA 95037



Audrey Yang
1053 Haight St.
San Francisco, CA 94117



Audrianna Hatch
4046 N Ramona St
Orange, CA 92865



August Lang
465 Fairchild Dr.
Mountain View, CA 94043



August Toman-Yih
14 Eureka St
San Francisco, CA 94114



Augustine Kim
331 Fairchild Dr
Mountain View, CA 94303



Aur lien ONIMUS
1390 Market St
San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 187 of
                                        1568
Austen Corrie
2732 13th Ave
Oakland, CA 94606



Austin Goodrich
1115 E Concorda Dr
Tempe, AZ 85282



Austin Anaya-Sheehan
312 Chestnut St.
Redwood City, CA 94063



Austin Baltes
3233 Clay St. #4
San Francisco, CA 94115



Austin Blackstone
215 Winding Way
San Antonio, TX 78232



Austin Cameron
1780 Primrose
Turlock, CA 95380



Austin Chod
561 10th Avenue Apt. 32G
New York, NY 10036



Austin Cook
2428 E Gadenrod St.
Phoenix, AZ 85048




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 188 of
                                        1568
Austin Epps
339 S 11th St Apt 1
San Jose, CA 95112



Austin Flanigan
8609 Aponi Road
Vienna, VA 22180



Austin Jones
1590 W Post Rd
Chandler, AZ 85224



Austin Kahn
5881 east sapphire lane
paradise valley, AZ 85253



Austin Koo
20 Madison Ave
San Mateo, CA 94402



Austin Newman
3200 N. 1st St.
San Jose, CA 95134



Austin Priebe
2737 Devonshire Pl NW, apt. 205
Washington, DC 20008



Austin Robey
108 Harrison Pl #26
Brooklyn, NY 11237




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 189 of
                                        1568
Austin Rooke
3340 Cady's Alley NW
Washington, DC 20007



Austin Roth
66 N. Gordon Way
Los Altos, CA 94022



Austin Smith
2425 Westgate Ave
San Jose, CA 95125



Austin Smith
2200 W San Angelo St Apt 3037
Gilbert, AZ 85233



Austin Sorvala
31439 N 44th St
Cave Creek, AZ 85331



Austin Trombley
353 King St apt 520
San Francisco, CA 94158



Austin Turnidge
139085 E 31st Pl
Newcastle, WA 98059



Austin Walker
3620 E Broadway Rd.
Phoenix, AZ 85040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 190 of
                                        1568
Autodesk, Inc
Attn: Andrew Anagnost, CEO /
Other Current Officer
111 Mcinnis Pkway
San Rafael, CA 94903



Ava Darbonne
1847 Granite Creek Rd
Santa Cruz, CA 95065



Ava Duel
7 Country Estates
Saint Louis, MO 63131



Ava Weiskopf
254 S.Mathilda st apt 1
Pittsburgh, PA 15224



Available AC & Appliance, Inc.
208 Lookout Road
Hutto, TX 78634



Avery Carter
1081 W 1st St
Tempe, AZ 85281



Avery Marriott
617 5th Street
West Palm Beach, FL 33401



Avery Swihart
4042 Shona Ct.
San Jose, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 191 of
                                        1568
Avery Wong
2516 Blanding Ave
Alameda, CA 94510



Avi Benora
1000 GREEN ST APT 305
SAN FRANCISCO, CA 94133



Aviva Raskin
8 Gypsy Hill Rd
Pacifica, CA 94044



Avra Saslow
2245 Grove Circle
Boulder, CO 80302



Axel Biggi
180 SANSOME ST.
SAN FRANCISCO, CA 94103



Axel Welter
1260 E University
Tempe, AZ 85281



Ayan Rafique
1976 E. Glacier Place
Chandler, AZ 85249



Ayon Dasgupta
1910 Barnett Drive
Cedar Park, TX 78613




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 192 of
                                        1568
Ayse Linde
320 Palo Alto Ave #3
Palo Alto, CA 94301



Ayse Sercan
1566 Pacific Ave.
Alameda, CA 94501



Ayumi Trubschenck
1512 Cullen Avenue
Austin, TX 78757



Azat Salikhov
1925 University Club Dr
Austin, TX 78732



Azeez Abdikarim
13112 Wheeler Way
Herndon, VA 20171



Babette Klaus
9605 S 48th St Apt # 2075
Phoenix, AZ 85044



Bailey Catenazzo
3252 January Ave
Apartment 1
St. Louis, MO 63139



Bailey Meyer
7771 olde english rd
St Louis, MO 63123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 193 of
                                        1568
Bailey Paschall
308 E Liberty
Round Rock, TX 78664



Bailey Stoner
230 9th Street
San Francisco, CA 94103



Bailey West
6750 W. Caribbean Lane
Peoria, AZ 85381



Baker's Gas & Welding Supplies Inc.
1300 Howard St.
Lincoln Park, MI 48146



Baker-Dunn Familiy Trust
2704 All View Way
Belmont, CA 94002



Bakery Square Holdings, LP
Attn: John Kowalski, Capital One, N.A.
P.O. Box 2095
Hicksville, NY 11802



Bala Padmakumar
111 Woodleaf Way
Mountain View, CA 94040



Baldo Faieta
472 Noe Street
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 194 of
                                        1568
Banc of California N.A.
Attn: Current Corporate Officer
18500 Von Karman Ave. Suite 1100
Irvine, CA 92612



Bao Doan
1940 Lakewood Drive Apt. C
San Jose, CA 95132



Barb Pendleton
113 S. Galaxy Drive
Chandler, AZ 85226



Barbara Chang
235 Berry St. Apt 317
San Francisco, CA 94158



Barbara Ellis
904 Peninsula Ave, Apt 409
San Mateo, CA 94401



Barbara Gengler
1944 Beechwood Blvd
Pittsburgh, PA 15217



Barbara Haney
4533 East Sunrise Drive
Phoenix, AZ 85044



Barbara Moore
214 Lexington St
Pittsburgh, PA 15208




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 195 of
                                        1568
Barbara Newton




Barbara Newton
11 English Ct
Belmont, CA 94002



Barbara Newton
524 Keelson Cir.
Redwood City, CA 94065



Barbara Norris
2221 Judah St. #4
San Francisco, CA 94122



Barbara Solomon
952 Sanchez St.
San Francisco, CA 94114-3362



Barbara Solomon and Richard Barr Hibbs
952 Sanchez St.
San Francisco, CA 94114-3362



Barbara Sweet
P.O. Box 1233
Alviso, CA 95002



Barbie Paulson
509 San Benito Ave
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 196 of
                                        1568
Bardia Saeedi
6516 Montrose St
Alexandria, VA 22312



Barrett Karber
2000 Post St. #356
San Francisco, CA 94115



Barry McClure
1700 University #227
Round Rock, TX 78665



Barry Battle
4100 Woodland Rd
Annandale, VA 22003



Barry Duel
7 country estates place
frontenac, MO 63131



Barry Hayes
2344 St Francis Dr.
Palo Alto, CA 94303



Barry Jacobson
147 Brightmoor Ct
henderson, NV 89074



Barry Lai
650 Turk St.
San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 197 of
                                        1568
Barry McClure_V
1700 University Blvd #536
Round Rock, TX 78665



Barry Perkins
2140 Pine street
san francisco, CA 94115



Barry Satterthwaite
38 S.Catalina St.
Gilbert, AZ 85233



Bart Harris
7152 Arbeau Drive
Newark, CA 94560



Bart Murphy
190 Acacia Ave
San Bruno, CA 94066



Bart Adastra
4918 Lotus Ave
St. Louis, MO 63108



Bart Bojanowski
45 Hobson St. #1B
San Jose, CA 95110



Bart Drewes
2054 Avy Ave
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 198 of
                                        1568
Bart Grantham
800 High School Way, Apt 306
Mountain View, CA 94041



bart hawe
6620 Rannoch rd
bethesda, MD 20817



Bart Kylstra
2475 3rd St. #242
San Francisco, CA 94107



Bart Saunders
564 Endicott Dr.
Sunnyvale, CA 94087



Bartholomew Baker
1034 Pine St. #3
Menlo Park, CA 94025



Barton International
PO Box 62516
Baltimore, MD 21264



Barton International
PO Box 62516
Baltimore, MD 21264-2516



Basma Amro
2203 Speidel
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 199 of
                                        1568
Bason Clancy
384 Oyster Point Blvd #8
South San Francisco, CA 94080



Bassel Bekdache
9912 Whitley Bay Dr.
Austin, TX 78717



Baxter Roboto
800 Republic Dr.
Allen Park, MI 48101



Beatrice Perret
4326 W Michigan Ave
Glendale, AZ 85308



Beatrice Schleyer
4840 Mount Eliot St
Detroit, MI 48207



Beatrix Chan
1012 Capp Street
San Francisco, CA 94110



Beau Pauley
85 W Combs Rd #101-249
San Tan Valley, AZ 85140



beckett fishburne
326B infantry terr
san francisco, CA 94129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 200 of
                                        1568
Becky Barber
253 N 13th St.
San Jose, CA 95112



Behzad Vafakhah
2400 Village Rd
Dearborn, MI 48124



Bela Messex
2017 Oak St
San Francisco, CA 94117



Ben Charley
98 Hickory Hill Rd
Pittsburgh, PA 15238



Ben Klein
1612 Lucas, Apt. 502
Saint Louis, MO 63103



Ben Langhorst
32470 Sheridan Dr
Beverly Hills, MI 48025



Ben Laures
2437 McCarran Drive
Plano, TX 75025



Ben Miller
530 Chestnut St Apt 309
San Francisco, CA 94133




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 201 of
                                        1568
Ben Tan
20 South 2nd St #331
San Jose, CA 95113



Ben Aldern
2324 Fillmore St
San Francisco, CA 94115



Ben Balaban
74 Roxbury Street, #3
Santa Clara, CA 95050



Ben Baltes
288 3rd st #317
Oakland, CA 94607



Ben Boyle
2446 E Hope St.
Mesa, AZ 85213



Ben Brown
541 Orchard St.
Vienna, VA 22180



Ben Burford
7344 Northmoor Drive
Clayton, MO 63105



Ben Buzas
651 E. Lemon St.
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 202 of
                                        1568
Ben Chlores
3543 Shadeland Ave
Pittsburgh, PA 15212



Ben Combee
5607 Joe Sayers Ave.
Austin, TX 78756



Ben Corrie
1847 Powell St.
San Francisco, CA 94133



Ben Cottrell
547 W Washington Ave.
Sunnyvale, CA 94086



Ben Dixon
924 Hyde Park Dr
Round Rock, TX 78665



Ben Eynon
612 Unity Drive
Leander, TX 78641



Ben Fletcher
1031 S. Claremont St.
San Mateo, CA 94402



Ben Forman
447 Fulton St
San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 203 of
                                        1568
Ben Foss
57 Peters Ave
San Francisco, CA 94110



Ben Gladden
7725 Clayton Rd
Clayton, MO 63117



Ben Glatt
430 Concord Dr.
Menlo Park, CA 94025



Ben Grandy
873 Union St
San Francisco, CA 94133



Ben Grocholsky
5001 baum bvld, suite 750
pittsburgh, PA 15213



Ben Hidalgo
1001 Hampshire Street Apt. 202
San Francisco, CA 94110



Ben Ho
530 Chesley ave.
Mountain View, CA 94040



Ben Holt
949 Steinway Ave.
Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 204 of
                                        1568
Ben Hoomes
766 Betty Ct
Sunnyvale, CA 94086



Ben Jackson
17380 NW Bernard Pl
Beaverton, OR 97006



Ben Killpack
2452 N. Kachina
Mesa, AZ 85203



Ben Kochie
673 Brannan St #302
San Francisco, CA 94107



Ben Koning
411 Park Ave. Unit 313
San Jose, CA 95110-2655



Ben Laird
2800 Clarendon Blvd
Arlington, VA 22201



Ben Lancaster
1 Washington Sq
San Jose, CA 95113



Ben Lancaster_V
375 S Ninth Street,
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 205 of
                                        1568
Ben Lee
11658 Olive Spring Ct.
Cupertino, CA 95014



Ben Lewis
2023 N 10th St
Phoenix, AZ 85006



Ben Li
455 2nd Ave
Redwood City, CA 94063



Ben Long
896 Guerrero Apt 1
San Francisco, CA 94110



Ben Lozano
1749 Gaylora Dr.
Austin, TX 78728



Ben Margolin
1984 Ticonderoga Dr
San Mateo, CA 94402



Ben Martin
385 South 14th Street
San Jose, CA 95112



Ben Matzke
329 Morewood Ave.
Pittsburgh, PA 15213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 206 of
                                        1568
Ben Park
3545 E. Flower St
Phoenix, AZ 85018



Ben Parsons
6904 Bancroft Woods Dr
Austin, TX 78729



ben partouch
542 E 79th St.
NewYork, NY 10075



Ben Phan
5350 Shawnee Street
Springfield, VA 22202



Ben Rogers
1357 Clay Street, Apt. 13
San Francisco, CA 94109



Ben Tarr
5454 Albemarle Ave.
Pittsburgh, PA 15217



Ben Thacker
200 Parnassus Ave Unit 401
San Francisco, CA 94117



Ben Walker
463 White Chapel Ave
San Jose, CA 95136




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 207 of
                                        1568
Ben Whan
3323 23rd street
San Francisco, CA 94110



Benedict Solis
11798 N jahn Rd
alma center, WI 54611



Bengt Persson
198 Caznew Ave
Sausalito, CA 94965



Benjamin Obeng
525 S Forest Ave
Tempe, AZ 85281



Benjamin Pulawa
630 Grand View Ave #304
San Francisco, CA 94114



Benjamin A Board
445 Vinewood
Wyandotte, MI 48192



Benjamin Andreson
3246 Cambridge Ct.
Fairfax, VA 22030



Benjamin Barrera
1110 Cherokee Ave
Royal Oak, MI 48067




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 208 of
                                        1568
Benjamin Bergansky
9284 E. Amethyst Quartz Dr.
Tucson, AZ 85747



Benjamin blake
1040 howard st apt 3
san francisco, CA 94103



Benjamin Blumenstein
680 Lone Pine Road
Bloomfield Hills, MI 48304



Benjamin Connors
1025 Connecticut Ave NW, Suite 1100
Washington, DC 20036



Benjamin David Hoomes
766 Betty Ct
Sunnyvale, CA 94086



Benjamin Davis
1047 Martin Place
Ann Arbor, MI 48104



Benjamin Davis
2310 Erica Kaitlin Ln
Cedar Park, TX 78613



Benjamin Glenn
2529 Graceland Ave
San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 209 of
                                        1568
Benjamin Griffith
3625 Great Laurel Lane
Fairfax, VA 22033



Benjamin Gross
3021 John Marshall Drive
Arlington, VA 22207



Benjamin Hibbs
18 Worth Street
San Francisco, CA 94114



Benjamin Hill
741 W. Euclid
Detroit, MI 48202



Benjamin Hudson
8111 ox road
Fairfax station, VA 22039



Benjamin J Corrie
1847 Powell St.
San Francisco, CA 94133



Benjamin Johnson
545 E Braddock Rd, APT 201
Alexandria, VA 22314



Benjamin Joseph Holt
949 Steinway Ave.
Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 210 of
                                        1568
Benjamin Klamm
1494 Chickadee Ct
Sunnyvale, CA 94087



Benjamin Klemme
3650 Rutledge Common
Fremont, CA 94538



Benjamin Krantz
531 41st Aves
San Francisco, CA 94121



Benjamin Lee
16006 Knollwood Dr. Apt F
Dearboorn, MI 48120



Benjamin Lippi
21720 Snow Ave
Dearborn, MI 48124



Benjamin Martin
316 B St
South San Francisco, CA 94080



Benjamin McCandless
5529 Jackson St.
Pittsburgh, PA 15206



Benjamin Newton
7501 E MCDOWELL RD APT 2193
Scottsdale, AZ 85257




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 211 of
                                        1568
Benjamin Rigby
44 Elsie St.
San Francisco, CA 94110



Benjamin Saliba
37 Crestwater Ct
Staten Island, NY 10305



Benjamin Shindel
3833 E. Carson Rd
Phoenix, AZ 85042



Benjamin Stark
401 S. Laclede Station Rd.
Webster Groves, MO 63119



Benjamin Stinnett
3473 North First St.
San Jose, CA 95134



Benjamin Stitcher
3015 Paulowna St.
Pittsburgh, PA 15219



Benjamin Tee
54 Grand St
Redwood Cit, CA 94303



Benjamin Tovar
3625 Eagles Nest St.
Round Rock, TX 78665




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 212 of
                                        1568
Benjamin Walker
701 E. Apache Blvd. I-4110
Tempe, AZ 85281



Benjamin Webb
203 Arcadia St.
San Francisco, CA 94131



Benjamin Wechsler
5468 Bartlett St
Pittsburgh, PA 15217



Benjamin Wierzbanowski
1401 21st s
arlington, VA 22202



Benjamin Wilson
2955 N OREGON ST UNIT 6
CHANDLER, AZ 85225



Benjamin Wolf
4990 Columbia Pike, Apt 508
Arlington, VA 22204



Benjamin Wong
30 Sugar Hill Dr.
Hillsborough, CA 94010



Benjasmin Hudson
8111 ox road
Fairfax Station, VA 22039




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 213 of
                                        1568
Benjie Chen
6 Bellingham Dr.
Brookline, MA 02467



Benny Alley
12001 Dessau Rd
Austin, TX 78758



Benny Lyons
6087 Torrington Dr
Reno, NV 89511



Benyavut Jirasut
355 Bryant Street #110
San Francisco, CA 94107



Bergamin Fortunati
919 french st nw
washington, DC 20001



Berj Kalayjian
4323 Madison St
Hyattsville, MD 20781



Bernadette Fernandes
3323 Iowa Ave
St Louis, MO 63118



Bernadette Nisperos
380 14th St. Apt 206
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 214 of
                                        1568
Bernard Beck
5190 Howes Lane
San Jose, CA 95118



Bernard Hsiao
340 N Fig Tree Ln
Plantation, FL 33317



Bernard Kempinski
415 E Alexandria Ave
Alexandria, VA 22301



Bernard M Boyle and Lucyna Boyle
2446 E Hope St
Mesa, AZ 85213



Bernard Nelson
South Jefferson
Saint Louis, MO 63107



Bernardo Soriano-Gama
427 South 5th St App #5
San JHose, CA 95122



Bernhard Behn
1510 Windcrest Dr.
Pittsburgh, PA 15206



Bernie Klampfl
44557 Fenwick Dr.
Canton, MI 48188




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 215 of
                                        1568
Bernie Kramer
1255 25th st NW APT 510
Washington, DC 20037



Bert Mohr
2850 Chaseway Ct
Ann Arbor, MI 48105



Bertha Kuo
19753 Edina Ln
Saratoga, CA 95070



Beryl Perron-Fell
415 greene Ave Apt 4
Brooklyn, NY 11216



Beryl Perron-Feller
415 Greene Ave. Apt. 4
Brooklyn, NY 11216



Bess Siritanapivat
2015 Cedar Bend Dr
Austin, TX 75081



Bess Siritanapivat
1404 Sheltie Ln
Round Rock, TX 78664



Beth Anglin
7564 Dale Ave
St Louis, MO 63117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 216 of
                                        1568
Beth Blankespoor
276 Charles Marx Way
Palo Alto, CA 94304



Beth Burka
8045 Big Bend Blvd. Suite 106
St. Louis, MO 63119



Beth Gable
3126 W El Caminito Dr
Phoenix, AZ 85051



Beth Letscher
4320 Forest Park Ste 201
Saint Louis, MO 63108



Beth Levison
6 Viox Way
San Rafael, CA 94901



Beth Nakamura
1481 Dana Ave
Palo Alto, CA 94301



Bethany Corrie
2732 13th Ave
Oakland, CA 94606



Betsy Gutierrez
1269 Lakeside Drive
Sunnyvale, CA 94085




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 217 of
                                        1568
Bette Houtchens
130 San Juan Court
Los Altos, CA 94022



Bevan Turner-Franks
11353 s Helen Dr
Yuma, AZ 85367



Beverly Achterhof
342 27th Ave
San Francisco, CA 94121



Beverly Pitzer
145 Arkansas Street
San Francisco, CA 94107



Bhatia Family Trust
571 Panchita Way
Los Altos, CA 94022



Bhavi Saklecha
45990 tissiack place
fremont, CA 94539



Bhavik Patel
2012 W. Van Buren St.
Phoenix, AZ 85009



BHL Services, Inc
3839 Chandler Drive Minneapolis
Minneapolis, MN 55421




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 218 of
                                        1568
BHL Services, Inc.
3839 Chandler Drive
Minneapolis, MN 55421-4410



BHL Services, Inc. c/o Michae K. Murray
625 The City Dr S Ste 190
Orange, CA 92868-4983



Bianca Jackson
19 Wayside Dr
St Louis, MO 63135



Bic Luther
1364 S. Almaden Ave
San Jose, CA 95110



Bila Aberra
4433 Lincoln Way, Apt 5
San Francisco, CA 94122



Bill Barany
237 20th ave
San Francisco, CA 94121



Bill Brasier
271 Skyline Ridge
Los Gatos, CA 95033



Bill Brown
1701 W Flintlock Way
Chandler, AZ 85286-0937




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 219 of
                                        1568
Bill Cawthorne
159 Monroe Dr.
Palo Alto, CA 94306



Bill Cheng
127 Belcrest Ave.
Daly City, CA 94105



Bill Croughan
358 Croughan Rd
Crowley, LA 70526



Bill Cuthbert
1267 Fort Park
Lincoln, MI 48146



Bill Dunlevy
721 Six Mile Rd
Whitmore Lake, MI 48189



Bill Dwyer
517 Glenwood Ave., Apt A
Menlo Park, CA 94026



Bill Greenwell
621 Hawthorne Ln
Round Rock, TX 78664



Bill Hastings
1404 Melbourne St.
Foster City, CA 94404




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 220 of
                                        1568
Bill Hathaway
1160 Mckay Dr
San Jose, CA 95131



Bill Heckman
44700 Helm St
Plymouth, MI 48170



Bill Janitor
12047 Coller Hwy
Tipton, MI 49287



Bill Jantz
25593 Tireman
Troy, MI 48127



Bill Latka
10030 Marshall lane
Traverse City, MI 49685



Bill Lloyd
1901 Sky High Drive
New Brighton, MN 55112



Bill McCullough
2535 W. Fairview St.
Chandler, AZ 85224



Bill Moore
4025 Bohannon Dr
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 221 of
                                        1568
Bill Morre
4025 Bohannon Dr
Menlo Park, CA 94025



Bill Owen
24601 Voorhees Dr
Los Altos Hills, CA 94022



Bill Palmer
18780 Aspesi Dr
Saratoga, CA 95070



Bill Porter
1725 S. Coronado Rd.
Gilbert, AZ 85295



Bill Quinn
26609 N 160th St
Scottsdale, AZ 85262



Bill Richett
19391 Clement Rd
Northville, MI 48167



Bill Robertson
6619 Whitbourne Dr
San Jose, CA 95120



Bill Sarette
1602 W. Browning Way
Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 222 of
                                        1568
Bill Selak
300 Marchmont Dr.
Los Gatos, CA 95032



Bill Selak
300 Marchmont Dr.
Los Gatos, CA 95032-5659



Bill Siever
7307 Weil Ave.
Saint Louis, MO 63119



Bill Siever_V
7307 Weil Ave.
St. Louis, MO 63119



Bill Spangler
471 Carolina Ln
Palo Alto, CA 94306



Bill Stender
665 3rd St Ste. 120
San Francisco, CA 94107



Bill Stewart
530 Showers Drive 7-313
Mountain View, CA 94040



Bill Stults
2301 Locust St.
St. Louis, MO 63103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 223 of
                                        1568
Bill Szabo
335 Butler St.
Pittsburgh, PA 15223



Bill Szeles
19113 Barksdale Ct
Germantown, MD 20874



Bill Welch
PO Box 2010
Sunnyvale, CA 94087



Bill Wester
4317 Verdigris Circle
San Jose, CA 95134



Bill Williams
5315 Sierra Rd
San Jose, CA 95132



Billie Luhning
100 Winchester Dr
Dripping Springs, TX 78620



Billy Pierce
3550 E. Aris Dr.
Gilbert, AZ 85298



Binh Thai
216 S Eldorado St
San Mateo, CA 94401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 224 of
                                        1568
Bipin Shah
2723 Morgan Drive Apt 10
San Ramon, CA 94583



Bjorn Berg
5145 Harvest Estates
San Jose, CA 95135



Bjorn Temple
3131 N Main St unit B
Soquel, CA 95073



Black Antelope Inc.
5406 NE 198th Place
Lake Forest Park, WA 98155



Blaine Kubesh
149 Sunrise Cir
Liberty Hill, TX 78642



Blaine Monson
541 S 27TH PL
Mesa, AZ 85204-3040



Blaine Myers
2126 Columbia Ave.
Pittsburgh, PA 15218



Blaine Schanfeldt
353 King St #104
San Francisco, CA 94158




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 225 of
                                        1568
Blair Evans
PO 2488
Detroit, MI 48202



Blair Parsons
4600 S 2nd St.
Austin, TX 78745



Blair Pickerell
107 Resevoir Rd.
Atherton, CA 94027



Blake and Xuan Commagere
934 Baines St
E Palo Alto, CA 94303



Blake Carpenter
96 Sanchez St.
San Francisco, CA 94114



Blake Finnegan
PO Box 320324
Los Gatos, CA 95125



Blake Groves
11102 Spicewood Club
Austin, TX 78750



Blake Welch
15604 N. 47th Pl.
Phoenix, AZ 85032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 226 of
                                        1568
Blake Werner
43480 Southerland Way
Fremont, CA 94539



Blayden Jones
4352 E Santa Rosa Pl
Gilbert, AZ 85234



Blayne Connor
128 E. Horseshoe Ave.
Gilbert, AZ 85296



Bo Bramwell
16439 S. 1st ave.
phoenix, AZ 85045



Bo Pollett
2712 Chanbourne
Vienna, VA 22180



BO2W LLC
12807 Littleton St.
Silver Spring, MD 20906



Board of Regents -ASU Lewis Roca Rothger
One South Church Ave.
Suite 700
Tucson, AZ 85701



Boavida Fillemon
23002 Glenmoor Heights
Farmington Hills, MI 48356




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 227 of
                                        1568
Bob Bartels
70925 Outer Dr.
Dearborn, MI 48124



Bob Bellicitti
1690 Elwood Dr
Los Gatos, CA 95032



Bob Bernstein
1711 Valley View Ave.
Belmont, CA 94002



Bob Carver
9804 Thinleaf Cove
Austin, TX 78759



Bob Cass
756 Harvard Ave
St Louis, MO 63130



Bob Cote
172 Potter Dr.
Belleville, MI 48111



Bob Cousins
17330 Cordwood Ct
Saratoga, CA 95070



Bob Culley
806 Coleman Ave. #15
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 228 of
                                        1568
Bob Dagostino
10875 E. El Rancho Dr.
Scottsdale, AZ 85259



Bob Davidson
7837 NE 112th St.
Kirkland, WA 98034



Bob Davis
226 North Clark Ave
Los Altos, CA 94022



Bob Dyke
101 Commodore Dr.
Richmond, CA 94804



Bob Faull
10491 Menert Rd.
Wexford, PA 15090



Bob Feretich
6868 Eldridge Dr.
San Jose, CA 95120



Bob Gerenser
1731 Rocky Mountain Ave.
Milpitas, CA 95035



Bob Grannan
4501 Connecticut Ave. NW, #1116
Washington, DC 20008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 229 of
                                        1568
Bob Guerrero
740 Cedar Ave
San Bruno, CA 94066



Bob Hartzell
6218 Hancock Avenue
Saint Louis, MO 63139



Bob Kenyon
284 S. 16th St
San Jose, CA 95112



Bob Lavin
1465 Revere Ave.
San Jose, CA 95118



Bob Leads
19172 MacArthur
Redford, MI 48240



Bob Mascarella
1513 Main St.
Cedar Park, TX 78613



Bob McDonald
220 N. Dithridge St
Pittsburrgh, PA 15213



Bob Monteverde
3469 St Marys Pl
Santa Clara, CA 95051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 230 of
                                        1568
Bob Murphy
117 Ipswich Way
Pleasant Hill, CA 94523



Bob OBrien
Box 700
Mountain View, CA 94042



Bob Petee
19320 N 75th Drive
Glendale, AZ 85308



Bob Reynolds
4818 N 124th Ave
Avondale, AZ 85392



Bob Sawyer
25770 Farmington Rd
Farmington Hills, MI 48336



Bob Schoenthal
707 Continental Cir, Apt 1636
Mountain View, CA 94040



Bob Steinfeld
19281 Mountain Way
Los Gatos, CA 95030



Bob Sullivan
197 Hardwick Rd
Woodside, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 231 of
                                        1568
Bob Wallace
1001 Silbury Dr
Austin, TX 78758



Bobby Johnson
240 Vendome Rd.
GPF, MI 48236



Bobby Baca
PB Box 791
San Bruno, CA 94066



Bobby Brown
701 E Apache Blvd #2072
Tempe, AZ 85281



Bobby Chen
2315 W. Alamo Dr.
Chandler, AZ 85224



Bobby Cossum
456 Wayne Ave. Apt. 401
Oakland, CA 94606-1157



Bobby Price
102 Craig Parry
Round Rock, TX 78664



Bobby raddant
1307 ludlow st.
hamilton, OH 45011




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 232 of
                                        1568
Bobby Richards
2506 Grandridge Trail
Cedar Park, TX 78613



Bobby Willis
1530 north and south rd
University city, MO 63130



Bobby Wood
1570 W Maggio Way Apt 1018
Chandler, AZ 85224



Bonnie MacCurdy
PO Box 620684
Woodside, CA 94062



Bonnie Rossi
164 Jefferson Drive, Suite O
Menlo Park, CA 94025



Bonnie Spindler
1550 Fell St
San Francisco, CA 94117



Boopy Bear
800 Republic Dr.
Allen Park, MI 48101



Borzou Azabdaftari
1921 Gallows Road
Vienna, VA 22182




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 233 of
                                        1568
Boyd Charette
463 Belvedere Street
San Francisco, CA 94117



Boyu Jiang
1412 Market St, Room 325
San Francisco, CA 94102



Brad Ashby
88 E San Fernando #1510
San Jose, CA 95113



Brad Berkin
834 Bush St Apt 304
San Francisco, CA 94108



Brad Black
710 Balboa St.
San Francisco, CA 94118



Brad Carlin
1302 Delano St #B
Austin, TX 78721



Brad Elik
1446 Seiler Rd
Alton, IL 62002



Brad Gibson
1705 Scenic Loop
Round Rock, TX 78681




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 234 of
                                        1568
Brad Hedrick
5405 Evans Ave
Austin, TX 78751



Brad Heinemann
101 North Warson Road
St. Louis, MO 63124



Brad Ikard
8010 Manx Drive
Round Rock, TX 78681



Brad Johnson
11215 Georgia Avenue Apt 1621
Wheaton, MD 20902



Brad Martinson
2530 Castello Way,
Santa Clara, CA 95051



Brad Martinson
2530 Castello Way
Santa Clara, CA 95051



Brad Martinson_V
2530 Castello Way
Santa Clara, CA 95051



Brad Pipkin
1920 Sacramento #2
San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 235 of
                                        1568
Brad Richardson
2201 Dry Creek Dr
Round Rock, TX 78681



Brad Ryan
11 Obey Ave
Pittsburgh, PA 15205



Brad Shaw
7268 Joffa Cir
Warrenton, VA 20187



Brad Stronger
1310 Jones St #704
San Francisco, CA 94109



Brad Temple
PO BOX 2706
Rohnert Park, CA 94928



Brad Whaley
1293 E. Parkview Dr.
Gilbert, AZ 85295



Bradford Beuc
780 Radcliffe Avenue
St. Louis, MO 63130



Bradford Watkins
23101 Edsel Ford Court
Saint Clair Shores, MI 48080




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 236 of
                                        1568
Bradley Nokes
500 E University Dr #1148
Tempe, AZ 85281



Bradley Spare
922 Gaspar Vista
San Jose, CA 95126



Bradley Doyle
9620 old lincoln trail
Fairview Hights, IL 62208



Bradley Hall
1104 Tennessee St
San Francisco, CA 94107



Bradley Keister
1307 Ellison St
Falls Church, VA 22046



Bradley Leong
8 Palmer Ln
Atherton, CA 94027



Bradley Postier
4320 Forest Park Ave, Suite 304
Saint Louis, MO 63108



Bradley Taylor
836 El Camino Real Apt 3
Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 237 of
                                        1568
Bradley Woldrich
2120 E Flintlock Way
Chandler, AZ 85286



Bradley Wong
948 Cape Jessup Dr
San Jose, CA 95133



Brady Huff
1380 Karl St
San Jose, CA 95122



Brady Hunt
21302 E Nightingale Rd
Queen Creek, AZ 85142



Brady Parker
298 S. Boulder Ct.
Gilbert, AZ 85296



Brandon Darby
18970 Barnhart Ave
Cupertino, CA 95014



Brandon Gerber
2232 Westglen Park Drive
Maryland Heights, MO 63044



Brandon Lent
1454 E. Warbler Rd.
Gilbert, AZ 85297




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 238 of
                                        1568
Brandon Baeza
908 Towse Dr
Woodland, CA 95776



Brandon Bianco
122 10th Street
San Francisco, CA 94115



Brandon Brucker
503 Roosevelt Blvd., A122
Falls Church, VA 22044



Brandon Davies-Sekle
973 Branch Dr
Herndon, VA 20170



Brandon Flowers
981 n Western Ridge Tr
Tucson, AZ 85748



Brandon Fosdick
430 Navaro Pl, Unit 117
San Jose, CA 95134



Brandon Gardner
13802 Turbine Dr
Austin, TX 78728



Brandon Howard
175 N. Balph Ave.
Pittsburgh, PA 15202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 239 of
                                        1568
Brandon Klos
5361 Patterson Dr
Troy, MI 48085



Brandon Lewis
1530 Irving St
San Francisco, CA 94122



Brandon Locke
5638 Oleatha
Saint Louis, MO 63139



Brandon Masi
1003 Chestnut St.
Pittsburgh, PA 15212



Brandon Masi
1003 chestnut street
Pittsburgh, PA 15212



Brandon Montell
2731 Bryant St
San Francisco, CA 94110



Brandon Rainer
1865 E. Rawhide St.
Gilbert, AZ 85296



Brandon Reiter
616 Grant Street
Reynoldsville, PA 15851




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 240 of
                                        1568
Brandon Schaal
1724 Lodi Ave
San Mateo, CA 94401



Brandon Shapiro
1905 E. University Dr. Unit 168
Tempe, AZ 85281



Brandon Sisco
1092 E. Jade Dr.
Chandler, AZ 85286



Brandon Thiergart
1900 Pine St, Apt 510
St. Louis, MO 63103



Brandon Vangogh
1239 Van Dyke Dr
Sunnyvale, CA 94087



Brandon Wallis
2400 N. Arizona Ave., Apt. 1077
Chandler, AZ 85225



Brandon Wiley
1800 Lavaca St #809
Austin, TX 78701



Brandon Zimmerman
1640 W Springfield Way
Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 241 of
                                        1568
Brandt Hewitt
1009 Irving St Apr 4
San Francisco, CA 94122



Brandt Hewitt
1009 Irvings ST
Apt No: 4
San Francisco, CA 94122



Brandyn Kinsey
12100 Samsung Blvd
Austin, TX 78660



Brannon Smith
135 Devonshire Blvd
San Carlos, CA 94070



Braum Katz
11710 Old Georgetown Rd Apt 413
Rockville, MD 20852



Braunreuther Lambert family Living Trust
1596 Edmond Ct
San Jose, CA 95125



Brayton Batson
531 North Ave.
Pittsburgh, PA 15209



Bre Pettis
306 Livingston St. #2
Brooklyn, NY 11217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 242 of
                                        1568
Brea McClanahan
2601 La Frontera Blvd #4308
Round Rock, TX 78681



Bree Hood
300 Berry St. #806
San Francisco, CA 94158



Brenda Betancourt
878 Castlewood Drive Unit 2
Los Gatos, CA 95032



Brenda Ely
6275 Mojave Dr
San Jose, CA 95120



Brenda Flowers
2543 Erie Dr
Concord, CA 94519



Brenda Johnstone
1496 Brys Dr.
Grosse Pointe Woods, MI 48236



Brenda Larcom
1850 Pruneridge Ave, #1
Santa Clara, CA 95050



Brenda Walker
220 E. Ivanhoe Street
Gilbert, AZ 85296




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 243 of
                                        1568
Brendan A. Flicker, c/o Mintzer, Sarowit
Suite 390, EQT Plaza
Pittsburgh, PA 15222



Brendan Bennet
PO Box 476
Aptos, CA 95001



Brendan DAngelo
1528 Constasso Way
San Jose, CA 95129



Brendan Levy
100 Waller St, Apt 635
San Francisco, CA 94102



Brendan McMullan
555 Idylberry Rd.
San Rafael, CA 94903



Brendan Ngo
32449 Woodland Dr
Union City, CA 94587



Brendan Siegl
1014 New Chester Ct.
Apex, NC 27502



Brendan Smith
1100 Clark Ave
St. Louis, MO 63102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 244 of
                                        1568
Brendan Strongin-Kain
454 58th St
Brooklyn, NY 11220



Brendon Veldboom
25235 Stawberry Lane
Southfield, MI 48033



Brennan Hamilton
1460 S Bates St
Birmingham, MI 48009



Brennon Anderson
3951 E Horseshoe Pl
Chandler, AZ 85249



Brent Baggett
4207 Steve Scarbrough
Austin, TX 78759



Brent Burton
12901 Stanzel Dr
Austin, TX 78729



Brent Durbin
6314 Northwood Apt 2W
Saint Louis, MO 63105



Brent Gammon
25 Fairway Pl.
Half Moon Bay, CA 94019




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 245 of
                                        1568
Brent Gerberding
1293 Hester Avenue
San Jose, CA 95126



Brent Hayashi
820 E Apache Dr
Tempe, AZ 85281



Brent Jackson
Pobox 27131
Austin, TX 78755



Brent Lucas
1481 Wildrose Way
Mountain View, CA 94043



Brent Lupia
3818 El Camino Pl
Alexandria, VA 22309



Brent Musat
916 Cannoneer Ln
Austin, TX 78757



Brent Nelson
PO Box 476
La Honda, CA 94020



Brent Schorsch
1621 Minardi Ave
San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 246 of
                                        1568
Brent Smith
PO Box 1466
Mesa, AZ 85211



Brent Thomas
705 E 47th St
Austin, TX 78751



Brent Thorne
1290 Grove Street #506
San Francisco, CA 94117



Brenton Murray
c/o G Garb, 1141 Polk Avenue
Sunnyvale, CA 94086



Brenton White
69 16th St, Ste 2
Brooklyn, NY 11215



Brett Kalmes
SLPS
St. Louis, MO 63146



Brett Williams
4975 Miami Street
St. Louis, MO 63139



Brett Anderson
1455 Adams Drive, Ste 1081
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 247 of
                                        1568
Brett Bowman
261 Gates St.
San Francisco, CA 94110



Brett Close
2307 S 2nd St
Austin, TX 78704



Brett Gray
1100 E Humano Ln. #400
Austin, TX 78753



Brett Groshong
1338 The Alameda
San Jose, CA 95126



Brett Grossman
318 Cordillera Trace
Boerne, TX 78006



Brett Halle
1807D Santa Rita Road, Suite 266
Pleasanton, CA 94566



Brett Harris
1009 19th ST S
Arlington, VA 22202



Brett Hazlett
1836 Sonoma Ave.
Berkeley, CA 94707




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 248 of
                                        1568
Brett Hileman
1300 E Riverside Dr D408
Austin, TX 78741



Brett Hotze
745 W. Jewel Ave.
Kirkwood, MO 63122



Brett Hotze
745 W. Jewel
Kirkwood, MO 63122



Brett Marinoff
723 Taylor St #601
San Francisco, CA 94108



Brett Reeder
68 Norton Ave.
San Jose, CA 95126



Brett Smith
172 Park St.
San Francisco, CA 94110



Brett Stottlemyer
30051 Marshall St
Southfield, MI 48076



Brett Wilson
1258 E. Mia Lane
GIlbert, AZ 85298




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 249 of
                                        1568
Brett Wingate
1621 W. Del Rio
Chandler, AZ 85224



Brett Wooley
14426 S13th Way
Phoenix, AZ 85048



Brettbrettbrett Kennedy
1206 1/4 S. Ash Ave.
Tempe, AZ 85281



Breya Robinson
2621 Webster Ave.
Pittsburgh, PA 15219



Brian Caponi
1841 Fair Oak Ct
Rochester Hills, MI 48309



Brian Hintz
6245 Sharp rd
Swartz Creek, MI 48473



Brian Marszowski
220 Vera Ave
Redwood City, CA 94061



Brian A. Beardmore
292 Laquesta Dr
Danville, CA 94526




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 250 of
                                        1568
Brian Alexander
7166 Gruber Court
San Jose, CA 95139



Brian Amaral
800 W. Willis Rd. Apt. 2123
Chandler, AZ 85286



Brian Andrade
1360 Vinci Park Way
San Jose, CA 95131



Brian Aswege
14303 Jennave Ln
Austin, TX 78728



Brian Batko
18401 Clearview Drive
Southgate, MI 48195



Brian Batronis
912 E Drexel Dr
Gilbert, AZ 85297



Brian Beardmore
292 Laquesta Dr
Danville, CA 94526



Brian Becker
1899 N Westwood Blvd, PMB219
Poplar Bluff, MO 63901




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 251 of
                                        1568
Brian Boockholdt
6334 Camino Verde Drive
San Jose, CA 95119



Brian Brown
2601 Esperanza Xing
Austin, TX 78757



Brian Buechler
3460 14th St. NW, Apt. 456
Washington, DC 20010



Brian Carlile
6280 McNeil Ranch Apt 712
Austin, TX 78729



Brian Carver
5540 Tea Leaf St
Las Vegas, NV 89031



Brian Case
809 Colby Street
San francisco, CA 94134



Brian Childers
2442 Michele Jean Way
Santa Clara, CA 95050



Brian Chiu
205 E. 77th St Apt. 12B
New York, NY 10075




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 252 of
                                        1568
Brian Cook
1513 Hallcrest Dr.
San Jose, CA 95118



Brian Curcio
2461 S. Nolina Dr.
Chandler, AZ 85286



Brian Czarnecki
1526 Crooks Rd
Royal Oak, MI 48067



Brian DuPraw
758 Maria Way
Gilroy, CA 95020



Brian Engel
9913 Oak Hollow Dr
Austin, TX 78758



Brian Escribano
501 Hillside Drive
Round Rock, TX 78681



Brian Faull
106 Charles Drive
Carnegie, PA 15106



Brian Grimshaw
6969 Queenswood Way
San Jose, CA 95120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 253 of
                                        1568
Brian Guenther
354 Chaparrall Cr Dr
Hazelwood, MO 63042



Brian Haroldson
5915 Nevada Ave NW
Washington, DC 20015



Brian Harrington
2100 Flagler Pl NW
Washington, DC 20001



Brian Harris
2200 Lake Road
Belmont, CA 94002



Brian Hensley
6347 S. Amulet
Mesa, AZ 85212



Brian Jankowski
18859 Gaylord
Redford, MI 48240



Brian Janowski
131 W. Harry Ave
Hazel Park, MI 48030



Brian Janowski
9170 Groh
Grosse Ile, MI 48138




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 254 of
                                        1568
Brian King
PO Box 257
Palo Alto, CA 94301



Brian Kistler
1815 Lafayette Ave.
SAINT LOUIS, MO 63104



Brian Knott
440 w charleston rd
palo alto, CA 94306



Brian Lindemann
P.O. Box 510
New London, MO 63459



Brian M. Trigg
4103 Komes Court
Alexandria, VA 22306



Brian Manley
1855 Turk St. #9
San Francisco, CA 94115



Brian Maslowsky
1801 Crystal Drive
Arlington, VA 22202



Brian Mathews
447 CHATHAM RD
BURLINGAME, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 255 of
                                        1568
Brian May
1108 Collin Wood West Dr.
Austin, TX 78753



Brian Mayer
307 Tannahill St
Dearborn, MI 48124



Brian Menard
1332 Hoover St
Menlo Park, CA 94025



Brian Merrell
700 N Wakefield St. #1
Arlington, VA 22203



Brian Miller
808 Oak Grove Road
Knox, PA 16232



brian murray
1210 bruntford ave
silver spring, MD 20904



Brian Nester
214 McHenry Street
vienna, VA 22180



Brian Nguyen
6180 Jarvis Ave. #J
Newark, CA 94560




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 256 of
                                        1568
Brian Perlstein
1 Village Center Drive, Building 45 Floo
Van Buren TWP, MI 48111



Brian Powell
2619 Pit Cairne Rd
Monroeville, PA 15146



Brian Preston
182 Suffolk Dr.
San Leandro, CA 94577



Brian Ramsey
2801 Wells Branch Pkwy
Austin, TX 78728



Brian Reaume
31755 Middleboro
Livonia, MI 48154



Brian Riley
1000 Foster City Blvd Apt. 4204
Foster City, CA 94107



Brian Rus
715 Eucalyptus Avenue
Novato, CA 94947



Brian Ruskauff
340 1st Street, Apt. 302
Rochester, MI 48307




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 257 of
                                        1568
Brian Sentman
6219 Treywood Lane
Manassas, VA 20112



Brian Sharp
555 Florida St Apt 218
San Francisco, CA 94110



Brian Shire
4104 24th St. #9
San Francisco, CA 94114



Brian Smith
7530 Ironwood Drive
Dublin, CA 94568



Brian Smith
33 Edcina Ave #514
Palo Alto, CA 94301



Brian Smith
250 West 90th Street - Apt 14H
New York, NY 10024



Brian Sparano
1 Batten Ln.
Redwood City, CA 94065



Brian Speir
P.O. Box 352
San Francisco, CA 94104




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 258 of
                                        1568
Brian Sullivan
615 Indiana St
San Francisco, CA 94107



Brian Svoboda
100 Michael Angelo Way
Austin, TX 78728



Brian Tran
2222 Quimby Rd
San Jose, CA 95122



Brian Turner
1905 Plantation Ct
Round Rock, TX 78681



Brian VanderZanden
2232 Larkin St #102
San Francisco, CA 94109



Brian Volker
4068 E. Del Rio
Gilbert, AZ 85296



Brian Waterman
896 E Indian Wells Pl
Chandler, AZ 85249



Brian Werner
2009 Long Castle Forest Ct
Chesterfield, MO 63017




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 259 of
                                        1568
Brian Wilson
5911 howe street apt 10
pittsburgh, PA 15232



Briana Wallace
456 Heatherbray Ct.
San Jose, CA 95136



Brianna Greenwell
621 Hawthorne Lane
Round Rock, TX 78664



Brianna Neeley
4284 N. 81st Street
Scottsdale, AZ 85251



Brianna Pickering
1458 20th Ave. #302
San Francisco, CA 94122



BRIANNE BENNESS_V
847 42nd Ave.
San Francisco, CA 94121



Brice Shelton
2725 Old Course Dr
Austin, TX 78732



Bridget Quaid
1473 Almaden Valley Dr
San Jose, CA 95120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 260 of
                                        1568
Bridget Quinn
1130 Vinewood
Detroit, MI 48216



Bridget Quinn
4661 E Nine Mile Rd.
Warren, MI 48091



Briget Campbell
644 Scofield Ave.
Palo Alto, CA 94303



Brigham Hausman
755 vienna street, san francisco
San Francisco, CA 94112



Brighton Hornbaker
4225 W. Monterey St.
Chandler, AZ 85226



Brigit Ueber
627 Central Ave
San Francisco, CA 94117



Brigitte Richardson
7354 colchester lane
West Bloomfield, MI 48322



Britt Bahney
1525 Cherokee Run
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 261 of
                                        1568
Brittany Daugs
3209 Hartford St
St Louis, MO 63118



Brittany Nez
218 Kiowa
Flagstaff, AZ 86001



Brittany Wells
800 W Willis Rd #2123
Chandler, AZ 85286



Brody Willard
10339 E. Caribbean Lane
scottsdale, AZ 85255



Bronek Dutkiewicz
P.O.Box 246
Quantico, VA 22134



Brooke Fosaaen
4366 Maryland Avenue #110
Saint Louis, MO 63108



Brooke Wills
12590 Miraloma Way
Los Altos, CA 94024



Brooks Gillmore
360 nueces
Austn, TX 78701




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 262 of
                                        1568
Brooks Morgan
140 Beaver St.
San Francisco, CA 94114



Bruce Menning
845 Shadowlawn
Inkster, MI 48141



Bruce Pease
20526 Coachwood Rd.
Riverview, MI 48193



Bruce Beyeler
6402 W. Bluefiled Ave
Glendale, AZ 85308



Bruce Bitner
1307 Pagedale Drive
Cedar Park, TX 78613-5807



Bruce Campney
P.O. Box 1417
Pflugerville, TX 78691



Bruce Chen
1002 N 3rd St.
San Jose, CA 95112



Bruce Deng
50 Lee Ave
San Francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 263 of
                                        1568
Bruce Deng & Terry Leung
50 Lee Ave
San Francisco, CA 94112



Bruce Duncan
12 3rd ave - po box 384
Davenport, CA 95017



Bruce Eng
1032 irving st. #727
san francisco, CA 94122



Bruce Freedman
1142 Sherwood Court
Sunnyvale, CA 94087



Bruce Furman
3230 South Ct
Palo Alto, CA 94306



Bruce Gibson
1753 Harbor Edinburg Rd.
Edinburg, PA 16116



Bruce Gottlieb
236 West Portal Ave#61
San Francisco, CA 94127



Bruce Grant
Natoma Street #4
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 264 of
                                        1568
Bruce Hillsberg
11 Elston Court
San Carlos, CA 94070



Bruce Kendall
881 Pecan Ct.
Sunnyvale, CA 94087



Bruce Koach
7900 Ceberry Drive
Austin, TX 78759



Bruce McCulley
P.O.Box 2002
Washington, DC 20013



Bruce McLellan
P.O. Box 1419
Round Rock, TX 78665



Bruce Mooring
20025 Burbage Cir
Cary, NC 27519



Bruce Orisek, MD
114 New Brighton Road
Aptos, CA 95003



Bruce Pla
1558 Pershing Dr., Apt. D
San Francisco, CA 94129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 265 of
                                        1568
Bruce Taylor
3950 Mount Royal Blvd
Allison Park, PA 15101



Bruce Webb
9217 HWY 290 W STE 160
Austin, TX 78736



Bruce Wonnacott
751 Laurel St #724
San Carlos, CA 94070



Bruno Kranzen
576 Maybell Ave.
Palo Alto, CA 94306



Bryan Bachar
2104 Judah Street
San Francisco, CA 94122



Bryan Barnes
4776 E Guadalupe Rd Apt 2083
Gilbert, AZ 85234



Bryan Beck
303 Tadley Ct.
Redwood City, CA 94061



Bryan Bolger
6925 Sylvania ln
Canton, MI 48187




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 266 of
                                        1568
Bryan Boyd
12103 Salem House Way
Austin, TX 78753



Bryan Camp
4447 E. HARRISON ST
GILBERT, AZ 85295



Bryan Curley
3454 E. Sports Dr.
Gilbert, AZ 85298



Bryan Day
32 Turquoise way
San Francisco, CA 94131



Bryan Edmundson
4115 Russel Blvd
St. Louis, MO 63110



Bryan Flickinger
8880 Brady
Redford, MI 48239



Bryan Ghingold
2043 Kendon Dr East
Pittsburgh, PA 15221



Bryan Glenn
560 Old Frankstown Road
Monroeville, PA 15146




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 267 of
                                        1568
Bryan Groves
11102 Spicewood Club
Austin, TX 78750



Bryan Ingersoll
421 Breezewood Drive
Ballwin, MO 63011



Bryan Kane
306 54th St.
Pittsburgh, PA 15201



Bryan Klech
1725 Celeste Drive
San Mateo, CA 94402



Bryan Kroh
4923 Centre Ave
Pittsburgh, PA 15213



Bryan Levin
707 Continental Cir #1436
Mountain View, CA 94040



Bryan Luhning
100 Winchester dr
Dripping Springs, TX 78620



Bryan McCoid
1101 Vine St.
San Jose, CA 95127




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 268 of
                                        1568
Bryan Ritoper
113 S. Mary Ave Apt 206
Sunnyvale, CA 94086



Bryan Spears
28540 Glasgow St.
Southfield, MI 48076



Bryan Ugaz
17137Patina St.
San Diego, CA 92127



Bryant Davis
21616 Califa St, Suite 204
Woodland Hills, CA 91367



Bryce Alvarez
142 N Milpitas Blvd #329
Milpitas, CA 95035



Bryce Daines
8 Ridgegate Dr
ST. LOUIS, MO 63132



Bryce Edwards
2638 Broad St
Bethal Park, PA 15102



Bryce Nakagawa
1317 Norton St.
San Mateo, CA 94401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 269 of
                                        1568
Bryce Smith
7388 W 83rd Street
Los Angeles, CA 90045



Bryce Stammerjohan
5426 Brookdale Ave
Oakland, CA 94619



Bryon Majusiak
2514 College Ave. #4
Berkeley, CA 94704



Brysen Hannappel
5625 N 4th St
Phoenix, AZ 85012



Buddy Bernhard
516 15th Street NE
Washington, DC 20002



Bunny McCarthy
404 Sheldon St
Petaluma, CA 94952



Burak Nehbit
1390 Market St Apt 1619
San Francisco, CA 94102



Burli Johnson
9826 N lake Creek #16310
Austin, TX 78717




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 270 of
                                        1568
Burt Cyr
2239 Solano Dr
Camarillo, CA 93012



Byron Meinerth
1104 Sanchez Ave.
Burlingame, CA 94010



Byron Revels
143 N. Catamaran Cir
Pittsburg, CA 94565



C. William Spangler and Nancy L. Spangle
471 Carolina Ln
Palo Alto, CA 94306



c/o Enhanced Value Strategies 4260 Fores
c/o Enhanced Value Strategies
1401 South Brentwood Blvd, Suite 400
St. Louis, MO 63144



Cadence Shae
3350 24th St.
San Francisco, CA 94110



Caitlin Deck
20 granite creek road
Santa Cruz, CA 95065



Caitlin Freeman
3219 Joe Hammer Sq.
Pittsburgh, PA 15213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 271 of
                                        1568
Caitlin Gorman
701 Pennsylvania Ave #103
San Francisco, CA 94107



Caitlyn Meeks
1312 Hayes Street
San Francisco, CA 94117



Caleb Crome
5060 Kingston Way
San Jose, CA 95130



Caleb Healy
7704 Walden Dr
Austin, TX 78750



Caleb Henry Crome
5060 Kingston Way
San Jose, CA 95130



Caleb McCord
1720 Wells Branch Pkwy 6204
Austin, TX 78728



Caleb Poenitzsch
260 Lexington Ddr
Austin, TX 78737



Caleb Wright
495 Toft Street
Mountain View, CA 94041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 272 of
                                        1568
Caleigh Clark
740 W. Cinnabar Ave.
Phoenix, AZ 85021



Callahan Blum
638 26th Ave
San Mateo, CA 94403



Callie Koch
208 Devon Drive
San Rafael, CA 94903



Callier's Catering
14787 Manchester Road,
Ballwin, MO 63011-3705



Calvin Olson
5701 Westslope Drive #21
Austin, TX 78731



Calvin R. Olson and Leslie T. Olson
5701 Westslope Drive #21
Austin, TX 78731



Calvin Tung
1331 Pire Ave
San Jose, CA 95125



Calvin Vernon
7241 W Globe Ave
Phoenix, AZ 85043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 273 of
                                        1568
Calvin Waddy
20808 Middle Belt
Farmington Hills, MI 48336



Calvin Zhen
1019 Stockton
San Francisco, CA 94108



Cameron Chen
48277 Hackberry Street
Fremont, CA 94539



Cameron Owens
903 Mammoth Court
Round Rock, TX 78681



Cameron Beach
2656 W. Gold Dust Ave.
San Tan Valley, AZ 85142



Cameron Carver
701 E. Apache Blvd. #1053
Tempe, AZ 85281



Cameron Ekstrand
865 Parma Way,
Los Altos, CA 94024



Cameron Latka
850 W Buno Rd
Milford, MI 48381




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 274 of
                                        1568
Camilla olson
805 MELVILLE AVE
palo alto, CA 94301



Camille North
6 Hillside Court
Austin, TX 78746



Camille Prevost
9808 Faith & Trust Cv
Austin, TX 78717



Camille Schoettler
3130 Alpine Road #288-481
Portola Valley, CA 94028



Camillia Elci
4118 Marble Lane
fairfax, VA 22033



Candace Edgerley
4206 Christine Place
Alexandria, VA 22311



Candace Louie
453 N Rengstorff Ave
Mountain View, CA 94043



Candace S. Edgerley Alexandria
4206 Christine Place
Alexandria, VA 22311




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 275 of
                                        1568
Canon Financial Services, Inc.
14904 Collections Center Drive
Chicago, IL 60693



Carey Jung
8800 Little Laura Dr
Austin, TX 78757



Carey Smith
1295 Woodland Ave
Menlo Park, CA 94025



Carl Roett
521 - 201 Harrison Street
San Francisco, CA 94105



Carl Adams
946 Jackson St.
Albany, CA 94706



Carl Brown
12081 Lincolnshire Dr
Austin, TX 78758



Carl Daltner
289 Mingo Road
Wexford, PA 15090



Carl Fattal
756 7th ave
redwood city, CA 94063




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 276 of
                                        1568
Carl Kuhn
70 palo alto ave
San Francisco, CA 94114



Carl Reeverts
436 Otsego Ave
San Francisco, CA 94112



Carl Reisinger
1023 Kiser Dr.
San Jose, CA 95120



Carl Rosendahl
315 Fletcher Drive
Atherton, CA 94027



Carl Saldanha
718 N 2nd Street
San Jose, CA 95112



Carl Sikes
3371 Medford Drive
Troy, MI 48084



Carl Waldspurger
517 Georgia Ave
Palo Alto, CA 94306



Carla JEGGO
1245 CLAYTON ST.
SAN FRANCISCO, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 277 of
                                        1568
Carla Roley
149 Guererro St
San Francisco, CA 94103



Carlie Trosclair
3305 Halliday Ave
St. Louis, MO 63118



Carlie Trosclair
3305 Halliday Ave FL 2
Apt No: FL 2
St. Louis, MO 63118



Carlos Cueto
425 Chisholm Valley Drive
Round Rock, TX 78681



Carlos Agurto
1555 YOSEMITE AVE, #46
SAN FRANCISCO, CA 94124



Carlos Cardona
3833 Vincent Ct
Castro Valley, CA 94546



Carlos Conde Pereda
1477 Kentfield Avenue
Redwood city, CA 94061



Carlos DiazSanmiguel
189 W Santa Clara St
San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 278 of
                                        1568
Carlos Fogel
3502 Kempton Way
Oakland, CA 94611



Carlos Franco
223 Third Ave
Redwood City, CA 94063



Carlos Koo
359 Austin Ave
Atherton, CA 94027



Carlos Miller
1848 Sonoma Ave
Berkeley, CA 94707



Carlos Morin
565 Geary #106
San Francisco, CA 94102



Carlos Navarro
603 Bay Rd
Redwood City, CA 94063



Carlos Ortiz
2333 E. Southern Ave. #1093
Tempe, AZ 85282



Carlos Reyes
801 Lincoln Lane APT 1303
Dearborn, MI 48126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 279 of
                                        1568
Carlos Rovira Borras
PO Box 411705
San Francisco, CA 94141



Carlos Rubio
855 W Diner
Gilbert, AZ 85233



Carly Heredia
223 Birch Creek Dr.
Pleasanton, CA 94566



Carlyn and Harrolld Luzzolino
2920 Tahiti St NE
Albuquerque, NM 87112



Carmen Dalalo
5979 Bonen Ct.
San Jose, CA 95123



Carmen Almlie-Martinez
648 Giant Way
San Jose, CA 95127



Carmen Chang
2720 madelena ct
Round Rock, TX 78665



Carmen Marie Almlie-Martinez
648 Giant Way
San Jose, CA 95127




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 280 of
                                        1568
Carol Dimpsey
6507 S Hardy #116
Tempe, AZ 85283



Carol Ansley
195 E Meadows Ct
Alpharetta, GA 30005



Carol B/John Teasley
800 Lincoln Lane A1505
Dearborn, MI 48126



Carol Bassett
6361 Janary Way
San Jose, CA 95129



Carol Blumenstein
680 Lone Pine Road
Bloomfield Hills, MI 48304



Carol Desch
4537 E Marion Way
Phoenix, AZ 85018



Carol Espinosa
325M Sharon Park Dr. #536
Menlo Park, CA 94025



Carol Feretich
6868 Eldridge Dr.
San Jose, CA 95120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 281 of
                                        1568
Carol Gottlieb
226 Valley Vista Dr
Camarillo, CA 93010



Carol Gurule
433 W. Teakwood Dr.
Sun Lakes, AZ 85248



Carol Kennedy
506 D St NE
Washington, DC 20002



Carol Koch
208 Frbon Drive
San Rafael, CA 94903



Carol L. Gunby
972 Katherine Ct..
San Jose, CA 95216



Carol Reiley
2111 Latham Street, Apt 201
Mountain View, CA 94040



Carol Rossi
5736 Holland Ln
San Jose, CA 95118



Carol Tinsley
16555 S. Kennedy Road
los gatos, CA 95030




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 282 of
                                        1568
Carol Wang
1105 Vernon Terrace
San Mateo, CA 94402



Carol Wolff
2199 GORDON AVE
MENLO PARK, CA 94025



Carol Wyszomirski
14155 Middle Ellen Rd
Los Gatos, CA 95033



Carole McShea
8172 Stone Ridge Dr
Frederick, MD 21702



Carolina Prempeh
5300 Columbia Pike Apt. 313
Arlington, VA 22204



Carolina Williams
5208 Curtis Street
Fremont, CA 94538



Caroline Hudson-Hale
2935 Garfield St NW
Washington, DC 20008



Caroline Doyle
61-36 Woodbine St 4A
Queens, NY 11385




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 283 of
                                        1568
Caroline Doyle
61-36 Woodbine St.
Apt No: 4A
Queens, NY 11385



Caroline Gallagher
10806 Burr Oak Way
Burke, VA 22015



Caroline Jurney
112 E Street
Redwood City, CA 94063



Caroline Lowe
530 Union Ave. Apt. #709
Saint Louis, MO 63108



Caroline Lowe
12930 Kings Row Lane
Saint Louis, MO 63146



Caroline Michaels
1844 Henrietta St
Birmingham, MI 48009



Caroline Ott
9 Crestwood Dr
Clayton, MO 63105



Caroline Swift
3878 Juniata
St. Louis, MO 63130




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 284 of
                                        1568
Caroline Walker
4507 S. 2nd St.
Austin, TX 78745



Caroline Warmkessel
520 Orchard Rd.
Felton, CA 95018



Carolyn Bierman
263 Winding Way
San Carlos, CA 94070



Carolyn Cookson
1014 West Olive Avenue
Sunnyvale, CA 94086



Carolyn Lee Luce
318 McEvoy St.
Redwood City, CA 94061



Carolyn Luce
318 McEvoy St.
Redwood City, CA 94061



Carolyn White
1431 Dolores St. #3
San Francisco, CA 94110



Carrie Nardini
1004 Bellaire Ave
Pittsburgh, PA 15226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 285 of
                                        1568
Carrie Parker
609 Virginia Avenue Extension
Pittsburgh, PA 15215



Carson Hoyt
115 San Jose Ave #4
San Francisco, CA 94110



Carson Storey
4865 Club Pl
Ypsilanti, MI 48197



Carson Turner
1905 Plantation Ct
Round Rock, TX 78681



Carter Steinmann
3105 High St
Oakland, CA 94619



Carter Adair
4502 S. Hardy Dr.
Tempe, AZ 85282



Carter Durno
6829 Kingsbury Blvd.
St. Louis, MO 63130



Carter Hively
1431 Rosalia Ave
San Jose, CA 95130




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 286 of
                                        1568
Carter Kwon
500 E University Dr
Tempe, AZ 85281



Carter Wolfe
404 W. 35th, #202
Austin, TX 78705



Cary Ellis McHugh
4000 Holly Dr.
San Jose, CA 95127



Cary FitzGerald
102 Southwood Dr.
Palo Alto, CA 94301



Cary McHugh
4000 Holly Dr.
San Jose, CA 95127



Cary Roberts
2005 California St.
Mountain View, CA 94040



Casey Janowski
8104 Burrell
Austin, TX 78757



Casey Countrywood
802 N 4th St.
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 287 of
                                        1568
Casey Dunn
2704 All View Way
Belmont, CA 94002



Casey Fukuda
528 Seastorm Dr
Redwood City, CA 94065



Casey Gardonio - Foat
607 Crofton Circle Court
Ballwin, MO 63021



Casey Gardonio-Foat
607 Crofton Circle Court
Ballwin, MO 63021



Casey Inman
123 Wilshire Ct.
San Carlos, CA 94070



Casey Janowski
8104 Burrell Drive
Austin, TX 78757



Casey McKerchie
45 Lansing st
San Francisco, CA 94105



Casey Powell
16969 Dunblaine Ave.
Beverly Hills, MI 48025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 288 of
                                        1568
Casey Taylor Dunn
25736 Coyote Dr
Brownstown, MI 48134



Cash Weston
1255 Annette Ave
Redwood City, CA 94063



Cassandra Brockett
449 Costa Mesa Ter, Apt C
Sunnyvale, CA 94085



Cassandra Brown
318 Spear Street Unit 5C
San Francisco, CA 94105



Cassandra Strauss
1104 S Ash Ave
Tempe, AZ 85281



Cassie Chamberlain
5610 Scotts Valley Dr. Ste B #522
Scotts Valley, CA 95066



Cassy Stein
1144 Dry Dam Rd
Jeannette, PA 15644



Cat Conley
25 Wabash St Apt 1
Pittsburgh, PA 15220




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 289 of
                                        1568
Cat Paquin
38863 Equestrian South
Farmington Hills, MI 48331



Cate Dolan
4448 arco ave.
Saint Louis, MO 63110



Cate Schorsch
1621 Minardi Ave
San Jose, CA 95125



Catherine Charette
1731 BAyberry Ln
Tracy, CA 95376



Catherine Bohrman
24600 Dutcher Creek Road
Cloverdale, CA 95425



Catherine Conley
25 Wabash St. Apt 1
Pittsburgh, PA 15220



Catherine Fillmore
1410 Judd Rd
Saline, MI 48176



Catherine Horton
4054 Lakeside Dr
San Jose, CA 95148




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 290 of
                                        1568
Catherine Meehan
120 Teresita Way
Los Gatos, CA 95032



Catherine Woods
555 alvarado st
San Francisco, CA 94114



Cathleen Stephens
2312 Matador Circle
Austin, TX 78746-2321



Cathryn Ramin
21 Weatherly Drive
Mill Valley, CA 94941



Cathy Chou
2395 Bryant St
San Francisco, CA 94110



Cathy Gindele
333 S. Highland
Pittsburgh, PA 15206



Cathy Moore
1724 Zenato Pl
Pleasanton, CA 94566



Cathy Moyer
349 Orchard Ave
Redwood City, CA 94061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 291 of
                                        1568
Cathy noble
19320 Milburn
livonia, MI 48152



Cathy Purdy
18333 Bassano Ave
Pflugerville, TX 78660



Cathy Thompson
943 Willow Glen Way
San Jose, CA 94125



CC Courth
PO Box 32623
Detroit, MI 48232



Cecelia Cutler
9821 Inwood Rd
folsom, CA 95630



Cedric Anderson
2624 Osage St.
St. Louis, MO 63118



Cedric Bosch
57 S. 3rd St.
Campbell, CA 95008



Celeste Wizinsky
6946 Lamphere
Dearborn, MI 48127




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 292 of
                                        1568
Celeste Conowitch
1815 27th Ave.
San Francisco, CA 94122



Celia Saino
4104 24th Street #758
San Francisco, CA 94114



Celine Geerling
4353 Westminster Pl
Saint Louis, MO 63108



Central West End
449 North Euclid #130,
St. louis, MO 63108



Cergio Brown
5743 S. 21st Pl.
Phoenix, AZ 85040



Cesar Gomez
1215 Oates St NE
Washington, DC 20002



Cesar Diaz_Fong
3032 S Fairway Dr
Tempe, AZ 85283



Cesar Rivera
4244 Chouteau Ave
St. Louis, MO 63110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 293 of
                                        1568
Cesar-Manuel Leon-Osorio
1823 Irving St NW
Washington, DC 20010



CESC PLAZA LIMITED PARTNERSHP
P.O. BOX 642006
PITTSBURGH, PA 15264-2006



Chad Abramo
924 Tennis Ave.
Ambler, PA 19002



Chad Barker
2364 Masonwood Way
Round Rock, TX 78681



Chad Barth
1912 2S
Richmond Heights, MO 63143



Chad Benigni
22 Delaware St.
Pontiac, MI 48341



Chad Esselink
1996 Causalina S
Caulin, WA 98188



Chad Franke
12101 Dessau Rd 1607
Austin, TX 78754




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 294 of
                                        1568
Chad Hammitt
167 Greenfield Ave. 2F
Pittsburgh, PA 15207



Chad Hazlett
1575 S Crescent Heights Blvd
Los Angeles, CA 90035



Chad Ingerick
973 Market St #107
San Francisco, CA 94103



Chad Lester
88 Howard Street
San Francisco, CA 94105



Chad Miller
3312 Texas Topaz Dr
Austin, TX 78728



Chad Musch
1001 W. 2nd St.
Tempe, AZ 85281



Chad Nelson
604 Ralph Ablanedo
Austin, TX 78748



Chad Patterson
3433 Mt Burnside Way
Woodbridge, VA 22192




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 295 of
                                        1568
Chad Stuemke
20 Terminal Drive, Suite 105
East Alton, IL 62024



Chad VanZandt
20 Lane Pl
Atherton, CA 94027



Chad Weider
600 fall St #706
San Francisco, CA 94102



Chad Weston
1255 Annette Ave.
Redwood City, CA 94063



Chai Ng
645 Quince Ln
Milpitas, CA 95035



Chambers-Edwards Year 2000 Revocable Tru
25690 Adams Rd
Los Gatos, CA 95033-8177



Chance Simone
28064 Marshal
Southfield, MI 48076



Chancellor Simone
28064 Marshall St.
Southfield, MI 48076




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 296 of
                                        1568
Chandar Kamalanathan
5900 Bold ruler way
Austin, TX 78746



Chandler Petrovich Flynn
2105 W Summit Pl
Chandler, AZ 85224



Chang-Lin Yang
1465 65th St Apt364
Emeryville, CA 94608



Changyoul Han
3092 29th Street, #4K
Astoria, NY 11102



Charity Lu
390 Juanita Wa
Los Altos, CA 94022



Charlene Li
770 27TH AVE
San Mateo, CA 94403



Charles Badger
5658 Cardwell
Garden City, MI 48135



Charles Mason
218 N. Columbus St
Alexandria, VA 22314




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 297 of
                                        1568
Charles Ambler
185 Parnassus Avenue
San Francisco, CA 94117



Charles Bennett
1901 E Apache Blvd
APT 355
Tempe, AZ 85281



Charles Blatz
1903 North Monroe St
Arlington, VA 22207



Charles Boardman
4958 Heather Drive, Apt 102
Dearborn, MI 48126



Charles Bock
30 S Galaxy Dr
Chandler, AZ 85226



Charles Bouk
13904 Edgecomb Ct.
Centreville, VA 20120



Charles Broff
302 Fox Chapel Road. #513
Pittsburgh, PA 15238



Charles Chiau
189 Obispo Ct
Fremont, CA 94539




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 298 of
                                        1568
Charles Cole
7610 Doral Dr.
ypsilanti, MI 48197



Charles E. (Rick) Richardson
1925 W. Cornwallis Rd
Durham, NC 27705



Charles Edward Richardson
1925 W. Cornwallis Rd
Durham, NC 27705



Charles Freeman
611 E 20th St
Oakland, CA 94606



Charles G Wade
136 Mary Way
Los Gatos, CA 95032



Charles Galpin
43643 Mink Meadows Street
South RIding, VA 20152



Charles Gatlin
3460 Flowstone Ln
Round Rock, TX 78681



Charles Gatlin
3460 Flowstone
Round Rock, TX 78681




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 299 of
                                        1568
Charles H. Cheung
5332 Hazeltine Ln.
Dublin, CA 94568



Charles Harring
32 s 8th st
San Jose, CA 95112



Charles Harrington
8203 Garland Ave. Apt. 2
Takoma Park, MD 20912



Charles Hawley
2005 Golden Gate
San Francisco, CA 94115



Charles Hollie
22564 Northview Drive
Hayward, CA 94541



Charles Hsiao
340 N Fig Tree Ln
Plantation, FL 33317



Charles Huber
6941 Dartmouth
St. Louis, MO 63108



Charles Kalapati
12417 Enchanted Forest Dr
Austin, TX 78727




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 300 of
                                        1568
Charles Kero
17163 Harman
Melvindale, MI 48122



Charles Key
1297 Laveille Ct.
San Jose, CA 95131



Charles King
8680 Lilly Drive
Ypsilanti, MI 48197



CHARLES KING
1301 Delaware Avenue, SW, N609
Washington, DC 20024



Charles Mallet
10100 N Capitol of TX HWY #108
Austin, TX 78759



Charles Manning
125 Constitution Drive
Menlo Park, CA 94025



Charles McNall
373 Carlos Ave.
Redwood City, CA 94061



Charles Merriam
18366 Vanderbilt
Saratoga, CA 95070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 301 of
                                        1568
Charles Molnar
23837 Edward
Dearborn, MI 48128



Charles Molnar
23837 Edward
Dearborn, MI 48128-1223



Charles Patisaul
212 Mint Hill Dr.
Cary, NC 27519



Charles Phillips
8317 canola bend
Austin, TX 78729



Charles Reavis_V
1043 Savage Rd,
Belleville, MI 48111



Charles Rodriguez
280 S. Evergreen #1266
Tempe, AZ 85281



Charles Rogers
1211 8th Ave. Apt 1
Beaver Falls, PA 15010



Charles Stinson
78 Mars St.
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 302 of
                                        1568
Charles V. Britton
293 Cactus Dr.
Prospect Hill, NC 27314



Charles Wade
136 Mary Way
Los Gatos, CA 95032



Charles Wayman
5850 Herma St.
San Jose, CA 95123



Charles Webb
9509 Bully Hill Cv
Austin, TX 78759



Charles Webster
425 L St NW #1130
Washington DC, DC 20001



Charles Wiltsie
24836 Mary
Taylor, MI 48180



Charlie Akers
0212 Arbor Ave.
Belmont, CA 94404



Charlie Blair
2237 Cleveland Blvd
Granite City, IL 62040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 303 of
                                        1568
Charlie Deckert
1114 Terra St
Round Rock, TX 78665



Charlie Federspiel
1955 Seabee Pl.
San Jose, CA 95131



Charlie Flickinger
1041 Cedar Ridge Run
Showlow, AZ 85901



Charlie Galvin
4105 Cat Hollow Dr
Austin, TX 78731



Charlie Pender
3910 Gross Road
Santa Cruz, CA 95062



Charlie Shields
450 35th Avenue
San Francisco, CA 94121



Charlie Spangler
471 Carolina Lane
Palo Alto, CA 94306



Charlie Wasser
3665 Almaden Road
San Jose, CA 95118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 304 of
                                        1568
Charlie Wong
1419 Silver Avenue
San Francisco, CA 94134



Charlie Xu
301 Fifth Avenue Apt 516
Pittsburgh, PA 15222



Charlotte Guertler
5735 De Giverville Ave
St. Louis, MO 63112



Charlotte Pannell
10873 Wilkinson Ave.
Cupertino, CA 95014



Charneece Fraticelli
65 Rio Robles E. #1310
San Jose, CA 95134



Charu Dwivedi
455 Brahma way
sunnyvale, CA 94080



Chas Tenret
1122 6th st NW
Washington, DC 20001



Chase Doctor
5070 Westminister Pl
St. Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 305 of
                                        1568
Chase Autry
8065 FM 365
Beaumont, TX 77705



Chase Cummings
515 Nth 12th St
San Jose, CA 95112



Chase Damis
481 W Shannon St
Chandler, AZ 85225



Chasen Harris
P.O. Box 27736
Scottsdale, AZ 85255



Chelsea Cleghon
2146 E Watson Dr
Tempe, AZ 85283



Chelsea Kerwin
5255 gates rd
Santa Rosa, CA 95404



Cheri Thompson
10731 N 140th Way
Scottsdale, AZ 85259



Cheri Werner
3720 MIRAMESA Ct
Santa Clara, CA 95051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 306 of
                                        1568
Cheryl Jernigan
Po Box 13413
Pittsburgh, PA 15243



Cheryl Parker
17023 Margate
Southfield, MI 48076



Cheryl Bauer
765 Hillcrest Drive
Redwood City, CA 94062



Cheryl Ghauri
7724 Lee Ave
Alexandria, VA 22308



Cheryl Phillips
4301 Markwood Ln
Fairfax, VA 22033



Cheryl Toeppen
36 Fairview Ave
Atherton, CA 94027



Cheryl Troberg
1718 E Elgin st
Gilbert, AZ 85295



Chet Gallaway
162 Madera Ave
San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 307 of
                                        1568
Chet Kurzeja
1510 Laurel Glen
Leander, TX 78641



Chet Monh
6807 N. 16th St.
Phoenix, AZ 85016



Chet Sandberg
758 Torreya Ct
Palo Alto, CA 94303



Chetan Mahadeswaraswamy
P.O. Box 678
Belmont, CA 94002



Chia Ching Chang
21534 Conradia Court
Cupertino, CA 95014



Chien-Yu Chen
88 E. San Fernando St
San Jose, CA 95113



Chih-Wei Tang
275 Hawthorne Ave Apt. 144
Palo Alto, CA 94301



Chingyao Chang
5573 Forbes Drive
Newark, CA 94560




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 308 of
                                        1568
Chino Monteleon
16910 Tortoise St
Round Rock, TX 78664



Chioke Harris
6105 Spirit Street
Pittsburgh, PA 15206



Chip Hogg
90 Grant Ave.
Bellevue, PA 15202



Chip Senkbeil
10300 Jollyville Rd., Apt. 1111
Austin, TX 78759



Chirag Amin
1114 Nevada Avenue
San Jose, CA 95125



Chiraz HAMMAMI
835 turk st
san francisco, CA 94102



Chisa Family Ltd Partnership
2925 Bond St.
Rochester Hills, MI 48309



Chitra Swaminathan
2079 Edgwood Dr
Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 309 of
                                        1568
Chiyomi Hirose
1309 B Maple St.
San Mateo, CA 94402



Chloe Green
16886 Bold Venture Drive
Leesburg, VA 20176



Chloe LeVine
319 Deerfield Drive
Moraga, CA 94556



Chloe Newman
3952 Woolslayer Way
Pittsburgh, PA 15224



Chloe Taylor
320 Sterling St Apt 5ew
Brooklyn, NY 11225



Chlotilde Connor-Taylor
320 Sterling Apt. 5EW
Brooklyn, NY 11225



Chricitan Adane
5731 N 23rd Ave
Phoenix, AZ 85015



Chris Bowman
1303 Drexel St.
Dearborn, MI 48128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 310 of
                                        1568
Chris Carl
35 Lindorf Dr
Belleville, IL 62223



chris domaradzki
1390 market street #2704
san francisco, CA 94102



Chris Gilfillen
107 S. West Street, PMB 727
Alexandria, VA 22314



Chris Maynes
1288 Clifton
Gilbert, AZ 85295



Chris Nicholson
1 Quarry Lane
Helena, MT 59601



Chris Pine
855 Neff Road
Grosse Pointe, MI 48230



Chris Ware
3440 Cottage Ave.
St. Louis, MO 63115



Chris Adams
8867 Warren
Plymouth, MI 48170




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 311 of
                                        1568
Chris Adoretti
1 St Francis Pl #2809
San Francisco, CA 94107



Chris Agerton
847 Roble Ave #1
Menlo Park, CA 94025



Chris Anderson
1165 Miller Ave
Berkeley, CA 94708



Chris Austin
1225 Magdalena Ct
Los Altos, CA 94024



Chris Banyai
1381 S. Central Dr
Chandler, AZ 85286



Chris Beall
420 7th St NW
Washington, DC 20004



Chris Becker
3167 turk blvd apt 3
San Francisco, CA 94118



Chris Benner
2404 Laura Lane
Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 312 of
                                        1568
Chris Blum
638 26th Ave
San Mateo, CA 94403



Chris Boncha
1200 Dale Ave #64
Mountain View, CA 94040



Chris Booth
2144 Garry Dr
Troy, MI 48083



Chris Boyce
936 S. Mystic Ct
Gilbert, AZ 85233



Chris Brigham
2600 Harrison St
San Francisco, CA 94114



Chris Bromley
830 W Folley St
Chandler, AZ 85225



Chris Brown
650 W Boston Blvd
Detroit, MI 48202



Chris Busch
1304 Lombard St. #9
San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 313 of
                                        1568
Chris Bushick
14430 NW Whistler Ln
Portland, OR 97229



Chris Cabrera
325 Union Ave. Apt 240 G
Campbell, CA 95008



Chris Chaney
1031 Clyde Ave #1901
Santa Clara, CA 95054



Chris Collins
2816 Wakefield drive
Belmont, CA 94002



Chris Cook_V
650 Spruce #3
San Francisco, CA 94118



Chris Cullers
2721 E Virginia Ave
Chandler, AZ 85008



Chris Danowski
330 Town Center Drive
Dearborn, MI 48126



Chris Dastan
2900 W. Highland Street
Apt. #131
Chandler, AZ 85224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 314 of
                                        1568
Chris Deely
941 Savannah Avenue
Pittsburgh, PA 15221



Chris Donegan
405 North 1st Street #214
San Jose, CA 95112



Chris Dunn
1197 Laurie
San Jose, CA 95125



Chris Dusard
5014 Saddlehorn Rd
Phoenix, AZ 85083



Chris Elley
1901 East 51st Street, Stage
Austin, TX 78723



Chris Erchick
936 37th Street
Oakland, CA 94608



Chris Fisher
2132 S. Nancy Lane
Gilbert, AZ 85295



Chris Fitzhugh
3797 Pleasant Vista Dr.
San Jose, CA 95148




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 315 of
                                        1568
Chris Ford
620 w. crestland
austin, TX 78752



Chris Frederick
PO Box 181
Bodega Bay, CA 94923



Chris Fugate
3729 Casanova Dr.
San Mateo, CA 94403



Chris Fulmer
4401 Cornwell Rd.
Soquel, CA 95073



Chris Gant
3256 Sanibel Ct
Round Rock, TX 78681



Chris Gershtein
1418 Valota Rd.
Redwood City, CA 94061



Chris Gonzalez
7931 Carmel St
Gilroy, CA 95020



Chris Green
555 Mission Rock St. #501
San Francisco, CA 94158




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 316 of
                                        1568
Chris Guthrie
705 W Vernon Ave
Phoenix, AZ 85007



Chris Hardin
201S Market
San jose, CA 95113



Chris Harrell
1209 Huntly Place
Alexandria, VA 22307



Chris Hollingshead
1300 Crystal Dr Apt 1409S
Arlington, VA 22202



Chris Holtzclaw
12553 Latona Ct Apt 401
Fairfax, VA 22033



Chris Hosbach
7901 Martenview Dr.
Taylor, MI 48180



Chris Jeane
875 10th ST NW, Apt 416
Washington, DC 20001



Chris Jefferies
228 Stanford Ave
Kensington, CA 94708




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 317 of
                                        1568
Chris Kantarjiev
1530 Portola Ave.
Palo Alto, CA 94306



Chris Kochan
33300 Mission Blvd #18
Union City, CA 94587



Chris Koehne
507 Brunswick St.
San Francisco, CA 94112



Chris Land
2 Allegheny Center
Pittsburgh, PA 15212



Chris Lang
114 Cleland Ave #1
Los Gatos, CA 95030



Chris Linn
2802 Louis Rd
Palo Alto, CA 94303



Chris Lusardi
707 Valley Way
Santa Clara, CA 95051



Chris Mahler
5800 Magee Bend
Austin, TX 78749




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 318 of
                                        1568
Chris Malone
130 E San Fernando St #304
San Jose, CA 95112



Chris Martin
4911 Transit Circle
Austin, TX 78727



Chris Mascarin
1259 El Camino Real
Menlo Park, CA 94025



Chris Mathyssek
1409 Jancey Street
Pittsburgh, PA 15206



Chris Maxfield
5622 Delor Street
Saint Louis, MO 63109



Chris May
888 Brannan St.
San Francisco, CA 94103



Chris May
7365 Winchester Dr
St Louis, MO 63121



Chris McCarthy
42318 Edenbrooke
Canton, MI 48187




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 319 of
                                        1568
Chris McGee
1157 N. Bery Rd
St. Louis, MO 63108



Chris Menke
916 Anza St.
San Francisco, CA 94118



Chris Meyer
1050 Crestview Dr #2
Mountain View, CA 94040



Chris Moore
5500 Columbia Pike Apt 519
Arlington, VA 22204



Chris Moore
332 Fell Street Apt 6
SAN FRANCISCO, CA 94102



Chris Mullin
41 Lebanon Hills Dr
Pittsburgh, PA 15228



Chris Newman
5730 Allen Ave
San Jose, CA 95123



Chris Newman
24868 Lakeland st.
Farmington Hills, MI 48336




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 320 of
                                        1568
Chris Ochocinski
7760 Chichester Rd
Canton, MI 48187



Chris On
3323 Claremont Ave.
Berkeley, CA 94705



Chris Oskuie
504 Meadow Ln SW
Vienna, VA 22180



Chris Pamichev
10450 corte de seville
cupertino, CA 95014



Chris Paulson
3333 Coyote Hill Rd
Palo Alto, CA 94304-1314



Chris Pedersen
1050 Celilo Dr.
Sunnyvale, CA 94087



Chris Pillow
2235 E 6th St. Apt 218
Austin, TX 78702



Chris Pils
145 Avery Road
Kerrville, TX 78028




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 321 of
                                        1568
Chris Pimental
6810 Bluffwood Ct.
San Jose, CA 95120



Chris Rake
406 Warm Breeze Cv
Austin, TX 78717



Chris Robertson
3940 Casanova Dr.
San Mateo, CA 94402



Chris Robinson
276 Fairfield Ct
Palo Alto, CA 94306



Chris Rosner
44A Orchard Avenue
Redwood City, CA 94061



Chris Ross
1333 W Deer Creek Rd
Phoenix, AZ 85045



Chris Roth_V
1254 E Boston St
Chandler, AZ 85225



Chris Ruzicka
259 Lansbrooke Dr.
Chesterfield, MO 63005




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 322 of
                                        1568
Chris Saari
146 1/2 Noe St.
San Francisco, CA 94114



Chris Sapyta
1095 Santa Cruz
Avenue #1
Menlo Park, CA 94025



Chris Sapyta
1095 Santa Cruz Ave #1
Menlo Park, CA 94025



Chris Savage
2021 Mayflower Drive
Woodbridge, VA 22192



Chris Segraves
15844 Burro Dr
Fountain Hill, AZ 85268



Chris Shaffer
824 Grand Avenue Pkwy
Pflugerville, TX 78660



Chris Sharp
1730 Arlington Blvd, Apt 507
Arlington, VA 22209



Chris Shull
1355 Sage Hen Way Unit R
Sunnyvale, CA 94087




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 323 of
                                        1568
Chris Siegl
1014 New Chester Ct.
Apex, NC 27502



Chris Slaughter
1003 Justin Ln
Austin, TX 78757



Chris Smith
2309 Hairy Man Rd.
Round Rock, TX 78681



Chris Stevenson
25A Delmar St
San Francisco, CA 94117



Chris Street
1438 willowmont ave
san jose, CA 95118



Chris Tacklind
250 Cowper St.
Palo Alto, CA 94301



Chris Thomas
4156 Humphrey St
Saint Louis, MO 63116



Chris Thompson
4943 S Dante
Mesa, AZ 85212




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 324 of
                                        1568
Chris Thompson_V
4943 S Dante,
Mesa, AZ 85212



Chris Toeppen
36 Fairview Ave.
Atherton, CA 94027



Chris Vo
2301 Columbia Pike, #320
Arlington, VA 22204



Chris Voellmann
903 Lodosa Dr.
Cedar Park, TX 78613



Chris White
2604 Camloop Dr.
San Jose, CA 95130



Chris Whitney
4829 W. Milky Way
Chandler, AZ 85226



Chris Wiegman
4352 Gibson Ave.
St Louis, MO 63110



Chris Williams
1085 Tasman Dr; #641
Sunnyvale, CA 94089




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 325 of
                                        1568
Chris Winnemann
1001 S. Forest Mall
Tempe, AZ 85287



Chris Wiser
18400 De Leon Bayou Lane
Austin, TX 78738



Chris Yoo
180 Manchester St.
San Francisco, CA 94110



Chris Zegelin
15680 Alum Rock Ave.
San Jose, CA 95127



Christa Ansbergs
2026 Poplar Ave.
East Palo Alto, CA 94303



Christel Coit
2080 Lucretia Ave. , #207
San Jose, CA 95122



Christiaan Marringa
1201 Geraldine Way, Apt. 11
Belmont, CA 94002



Christian Espinoza
278 n 19th St
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 326 of
                                        1568
Christian Chee`
2727 N Price Rd
Chandler, AZ 85244



Christian Cox
618 Stardust Ln.
Los Altos, CA 94041



Christian Delahousse
3158 Hoover Street
Redwood City, CA 94063



Christian Goodman
37077 Bodily Ave
Fremont, CA 94536



Christian Handley
100 gardner ave 322
clawson, MI 48017



Christian Hentges
39727 Boat Creek Ct
Anthem, AZ 85086



Christian Keller
3442 16th street
San Francisco, CA 94114



Christian Krozal
29847 Oakley Street
Livonia, MI 48154




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 327 of
                                        1568
Christian LaRosa
500 E. University Dr. #1105
Tempe, MA 01203



Christian Manders
340 Pearl St
Pittsburgh, PA 15224



Christian Pramuk
1229 Soda Canyon Rd
Napa, CA 94559



Christian Restifo
108 Berwick Drive
Pittsburgh, PA 15215



Christian Riechert
1388 Haight St.
San Francisco, CA 94117



Christian Sclafani
6018 E. Old West Way
Scottsdale, AZ 85286



Christian Young
1410 Pine Meadow Ct
Pearland, TX 77581



Christian Yousif
16422 S 16th Ave
Phoenix, AZ 85054




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 328 of
                                        1568
Christiane Quintans
1175 W. Pecos Rd #1052
Chandler, AZ 85224



Christie Dudley
360 5th Street
San Francisco, CA 94107



Christie Slightam
1286 Hoover St
Menlo Park, CA 94025



Christien Slack
627 Cunard Dr
Napa, CA 94558



Christina Andrade
1360 Vinci Park Way
San Jose, CA 95131



Christina Avgerinos
375 10th Ave #2
San Francisco, CA 94108



Christina Chaivorapol
203 Arcadia St.
San Francisco, CA 94131



Christina Chen
88 E. San Fernando Street Unit 1811
San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 329 of
                                        1568
Christina Chu
107 N. Amphlett Blvd
San Mateo, CA 94401



Christina Connolly
1547 Clay St Apt 105
San Francisco, CA 94109



Christina DeAngelo
3900 Santa Rita St, Unit 1
Oakland, CA 94601



Christina Mancini
1307 Shoal Drive
San Mateo, CA 94404



Christina Morales
12501 Rush Creek Lane
Austin, TX 78732



Christina Neumann
239 Parker Street
Pittsburgh, PA 15223



Christina S Chu
107 N. Amphlett Blvd
San Mateo, CA 94401



Christina Skieller
3003 23rd Street
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 330 of
                                        1568
Christina Tsien
4927 Parkview Place.
Saint Louis, MO 63108



Christina VanZandt
20 Lane Place
Atherton, CA 94027



Christina Walton
600 Spang Rd
Baden, PA 15004



Christina Willrich
2625 Middlefield Rd.
Palo Alto, CA 94306



Christine Calara
5369 Saddlebach Ct
El Sobrante, CA 94803



Christine Clark
3860 S. Peden Dr.
Chandler, AZ 85248



Christine Del Bonta
1408 Jeff Court
Concord, CA 94521



Christine Groves
11102 Spicewood Club
Austin, TX 78750




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 331 of
                                        1568
Christine Luc
2000 Colony St
Mountain View, CA 94043



Christine Mayer
307 Tannahill
Dearborn, MI 48124



Christine Moor
705 Elizabeth Lane
Menlo Park, CA 94025



Christine Nilsson
921 N. Woodburne Drive
Chandler, AZ 85224



Christine Santos
3016 Stevens Lane
San Jose, CA 95148



Christine Spaulding
207 a stowaway
lakeway, TX 78734



Christine Valenti
1934 GROVE ST
San Francisco, CA, CA 94117



Christine Won
1019 N. Negley Ave, Apt. 9
Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 332 of
                                        1568
Christoph Schuba
440 Oak St.
Mountain View, CA 94041



Christophe Chaponot
140 58th st, Unit 6C
Brooklyn, NY 11220



Christophe Pellissier
1299 Settle Ave.
San Jose, CA 95125



Christopher Boyle
104 W Windsor Ave
Alexandria, VA 22301



Christopher DeBrito
39711 Deepwood St
Canton, MI 48188



Christopher McMillin
8517 Rimini Cv
Round Rock, TX 78681



Christopher Sweet
1800 gough st #7
San Francisco, CA 94109



christopher wilkerson
1470 waller st. apt. A
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 333 of
                                        1568
Christopher Ames
1013 W Iris Drive
Gilbert, AZ 85233



Christopher and Elecia White
2604 Camloop Dr.
San Jose, CA 95130



Christopher Ashley
116 Springfield
Granite City, IL 62040



Christopher Austin
1225 MAGDALENA CT
LOS ALTOS, CA 94024



Christopher Barner
200 Meadowside
Hutto, TX 78634



Christopher Beasley
1075 Rose Ave
Oakland, CA 94611



Christopher Blancett
45 Roxbury st
Santa Clara, CA 95050



Christopher Boyd
110 Glasscock Rd
Liberty Hill, TX 78642-5741




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 334 of
                                        1568
Christopher Bundy
3700 Lillick St #110
Santa Clara, CA 95051



Christopher Colarusso
30082 Everett St
Southfield, MI 48076



Christopher Cook
650 Spruce St Apt 3
San Francisco, CA 94118



Christopher DaCunha
15 Alta Mar Way
San Francisco, CA 94121



Christopher Dastan
2900 W. Highland Street Apt. #131
Chandler, AZ 85224



Christopher Dastan
2900 West Highland Street
Chandler, AZ 85226



Christopher DeShon
31 Dogwood Terrace
Maryville, IL 62062



Christopher Detjen
500 Treat #201
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 335 of
                                        1568
Christopher Duling
1222 Euclid Street NW
Washington, DC 20009



Christopher Emig
3475 Edison Unit K
Menlo Park, CA 94025



Christopher Erwin
616 courtney hills dr
saint louis, MO 63119



Christopher Espinosa
325M Sharon Park Dr. #536
Menlo Park, CA 94025



Christopher Falcone
751 W Carob Way
Chandler, AZ 85248



Christopher Ference
3134 Scenic Court
Allison Park, PA 15101



Christopher Friesen
662 Bryan Ave.
Sunnyvale, CA 94086



Christopher Fulmer
4401 Cornwell Rd.
Soquel, CA 95073




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 336 of
                                        1568
Christopher Gillen
1083 Oakmont Drive Apt 3
San Jose, CA 95117



Christopher Graves
75 Lafayette
San Francisco, CA 94103



Christopher Griffin
6404 Harrogate Drive
Austin, TX 78759



Christopher Hanewinkel
116 South Harrison
Kirkwood, MO 63122



Christopher Hatch
390 W. Columbia Rd.
Thousand Oaks, CA 91360



Christopher He
10407 amistad Ct
Cupertino, CA 95014



Christopher Heather
2700 Clarendon Blvd
Arlington, VA 22201



christopher holbrook
654 main st.
sausalito, CA 94965




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 337 of
                                        1568
Christopher Holliday
498 Crile Road
Washington, PA 15301



Christopher Horii
322 Oakberry Way
San Jose, CA 95123



Christopher Hunt
1400 Stafford St Apt B6
San Louis Obispo, CA 93405



Christopher Hurlburt
2821 Autumn Estates
San Jose, CA 95135



Christopher Hykes
1424 Beamer Lane
Apollo, PA 15613



Christopher Ireland
1647 Belleville Way #P
Sunnyale, CA 94087



Christopher Janssen
1507 Michael Drive
Pittsburgh, PA 15227



Christopher Jantze
524 Emerald Ave
San Carlos, CA 94070-4544




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 338 of
                                        1568
Christopher Jeffries
166 Norfolk St
New York, NY 10002



Christopher Jirka
300 S Lamar Blvd
Austin, TX 78704



Christopher Jurney
112 E Street
Redwood City, CA 94063



Christopher Kaprielian
107 E Hedding St
San Jose, CA 95112



Christopher Kikel
8610 Broad Hill Drive
Pittsburgh, PA 15237



Christopher Killen
3136 JOHN R ST
TRENTON, MI 48183-3676



Christopher Lae
1005 E. 8th st
Scottsdale, AZ 85260



Christopher Latiolais
6402 Sailing Breeze Trail
Austin, TX 78744




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 339 of
                                        1568
Christopher Lee
4100 Forest Park Ave
St Louis, MO 63108



Christopher Lopez
3241 Elm Apt A
Oakland, CA 94609



Christopher Marsden
6926 Grizzly Bear Court
Waldorf, MD 20603



Christopher Morgan
220 20th St S Apt 311
Arlington, VA 22202



Christopher Nevill
1827 Golden Gate Ave Apt#4
San Francisco, CA 94115



Christopher Newport
2268 Tulip Rd
San Jose, CA 95128



Christopher Notah
1663 E Oakland St
Chandler, AZ 85225



Christopher P. Toeppen & Cheryl S. Toepp
36 Fairview Ave.
Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 340 of
                                        1568
Christopher Peters
430 Monte Vista Ave
Mill Valley, CA 94941



Christopher Plucinsky
4061 Liberty Ave
Pittsburgh, PA 15224



Christopher Rafie
1824 Lakeshore Ave. Apt#7
Oakland, CA 94606



Christopher Reighley
P.O. Box 7775 #11369
San Francisco, CA 94120



Christopher Riley
2462 S 89th Dr
Tolleson, AZ 85353



Christopher Riley_V
1181 East Cathy Drive
Gilbert, AZ 85296



Christopher Rinaldo
1375 miller ave
san jose, CA 95129



Christopher Roth
1254 E Boston St
Chandler, AZ 85225




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 341 of
                                        1568
Christopher S. Mullin
41 Lebanon Hills Dr
Pittsburgh, PA 15228



Christopher Sadej
1530 Key blvd, apt 330
ARLINGTON, VA 22209



Christopher Sauer
18 Sandstone St
Portola Valley, CA 94028



Christopher Savage
2021 Mayflower Drive
Woodbridge, VA 22192



Christopher Schmitz
5624 Arthur Ave
Saint Louis, MO 63139



Christopher Segraves
15844 E Burro Dr
Fountain Hills, AZ 85268



Christopher Seline
680 Mission, Apt 20T
San Francisco, CA 94105



Christopher Shull
1355 Sage Hen Way Unit R
Sunnyvale, CA 94087




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 342 of
                                        1568
Christopher Steidel
1963 B Villaridge Drive
Reston, VA 20191



Christopher Tani
11129 Sutherland Avenue
CUPERTINO, CA 95014



Christopher Toeppen
36 Fairview Ave.
Atherton, CA 94027



Christopher Unkel
481 Margarita Ave
Palo Alto, CA 94306



Christopher Vaughn
3881 W. Denver St.
Chandler, AZ 85226



Christopher Vogt
524 Union Street Suite 262
San Francisco, CA 94133



Christopher Warnock
427 Traverso Ave.
Los Altos, CA 94022



Christopher Warren Jr
10208 E. Meadow Hill Dr.
Scottsdale, AZ 85260




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 343 of
                                        1568
Christopher Wike
4808 Whispering Valley Dr
Austin, TX 78727



Christopher Williams
1085 Tasman Dr.
Sunnyvale, CA 94089



Christopher Winter
1535 W San Carlos St #410
San Jose, CA 95126



Christopher Woodle
1351 49th Ave
St. Petersburg, FL 33707



christopher yerkes
1200 N Nash St
Arlington, VA 22209



Christy Welch
140 E. 14th St.
New York, NY 10003



Chrisula Bloore
800 Sonia Way
Mountain View, CA 94040



Chrystie Mariano
276 South 20th Street
San Jose, CA 95116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 344 of
                                        1568
Chuck Collins
1019 Canterbury Trail
Georgetown, TX 78626



Chuck Britton
293 Cactus Dr.
Prospect Hill, NC 27314



Chuck Gerbe
4119 Butler Street
Pittsburgh, PA 15201



Chuck Goss
3616 Hawk Ridge
Round Rock, TX 78665



Chuck Hildebrand
3214 Dancy Street
Austin, TX 78722



Chuck House
13 Campbell
Menlo Park, CA 94025



Chuck McCall
534 guerrero street
San Francisco, CA 94110



Chuck Morton
605 Cedar Ridge Drive
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 345 of
                                        1568
Chuck Reavis
1043 Savage Rd
Belleville, MI 48111



Chuck Sikora
3015 Parker
Dearborn, MI 48124



Chuck Smith
28101 E Duluth
Harrison Twp, MI 48045



Chung Kim
13090 Heath St.
Saratoga, CA 95070



Chung Leung New York City Economic Devel
110 William Street
New York, NY 10038



Chung Loh
371 Broadway # 202
San Francisco, CA 94133



Cimarron
PO Box 37
Moss Beach, CA 94038



Cimarron Arts Incorporated
PO Box 37
Moss Beach, CA 94038




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 346 of
                                        1568
Cindy Chen
1922 Bayview Ave
Belmont, CA 94002



Cindy Chung
1082 shady ave
Pittsburgh, PA 15232



Cindy Dick
1329 W. Portland St.
Phoenix, AZ 85007



Cindy Hatch
390 W. Columbia Rd.
Thousand Oaks, CA 91360



Cindy Iverson
12236 S Tonalea Dr
Phoenix, AZ 85044



Cindy McMullan
555 Layberry
San Rafael, CA 94903



Cindy Parker
567 Merrimac Dr
Campbell, CA 95008



Cintas Corporation
P.O. Box 29059
Phoenix, AZ 85038




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 347 of
                                        1568
Cintas Corporation
AR DEPT : 800/547-7877
P.O Box 630803,
Cincinnati, OH 45263



Cintas Fire
P.O. Box 636525
Cincinnati, OH 45263



Ciriaco Sayoc
969 Burnett Ave.
San Francisco, CA 94131



City of Allen Park
Maureen C. Armstrong
16630 Southfield RD. Suite 3100
Allen Park, MI 48101



City of Redwood City
1017 Middlefield Road
Redwood City, CA 94063



City Of Round Rock
Utility Billing Department
221 East Main Street
Round Rock, TX 78664



City of San Jose
Business Tax & Reg Permit Dept #34370 PO
San Jose, CA



City of San Jose
PO Box 11023
San Jose, CA 95103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 348 of
                                        1568
CJ Mertzlufft
6401 Lindenwood Pl.
St. Louis, MO 63109



Claire Barnes
527 Villa Centre Way
San Jose, CA 95128



Claire Jordan
308 W Desert Ave
Gilbert, AZ 85299



Claire Michaels
898 14th Street, 8A
San Francisco, CA 94114



Claire Murtagh
1105 Bayswater Ave #3
Burlingame, CA 94010



Claire Zehner
738 Henrietta Ave
Sunnyvale, CA 94086



Clara Butler
19 Kimmie Ct
Belmont, CA 94002



Clara Worley
1471 Greene Dr.
San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 349 of
                                        1568
Clare Kalapati
12417 Enchanted Forest Dr
Austin, TX 78727



Clare Mason
3601 Horbel Dr.
Brewerton, WA 98310



Clare Shumway
6745 E Superstition Springs Blvd
Mesa, AZ 85206



Clarissa Anderson
145 Sage Lane
Soquel, CA 95073



Clarisse Bret
45 Lansing St
San Francisco, CA 94105



Clark Hatchet
937 Broderick Street
San Francisco, CA 94115



Clark Willison
40 Parkwood Drive
Atherton, CA 94027



Clarke Bacharach
719 S. Lexington Ave
Pittsburgh, PA 15208




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 350 of
                                        1568
Classic Heating & Cooling,Inc
6802 Industrial DR.
STE. 206 BELTSVILLE,, MD 20705



Claude Maugein
850 Regent Court
San Carlos, CA 94070



Claude Noriega
360 5th Street
San Francisco, CA 94107



Claude Noriega
360 Fifth St., #11
San Francisco, CA 94103



Claude Pignol
225 9th Ave
San Mateo, CA 94401



Claudia Pierre
3634 Frazier St
Pittsburgh, PA 15213



Claudine Young
190 S 15th St
San Jose, CA 95112



Clay Douglass
8707 Dorman Cove
Austin, TX 78717




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 351 of
                                        1568
Clay Shaw
7268 Joffa Cir
Warrenton, VA 20187



Clayton Bliss
820 E. Apache Blvd. 3763
Tempe, AZ 85281



Clayton Davis
3255 S Dorsey Lane
Tempe, AZ 85282



Clayton Gordy
1402 Briar Hill Drive
Georgetown, TX 78626



Clayton Hildebrant
308 E. Desert Ln.
Gilbert, AZ 85234



Clayton Hotze
745 W. Jewel Ave.
Kirkwood, MO 63122



Clayton Hotze
745 W. Jewel
Kirkwood, MO 63122



Clement Lan
75 E Santa Clara St 6F
San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 352 of
                                        1568
Cleo McMichael
1697 Taylor St
San Mateo, CA 94403



Cleve Fulton-Franklin
PO Box 8821
Pittsburgh, PA 15221



Cleve Nettles
4409 Water Oak Ct
Condord, CA 94521



Cliff Fauser
3590 Brookshire
Trenton, MI 48183



Cliff Maki
60590 Lamplighter
New Hudson, MI 48105



Cliff Petersen
96 Red Hill Circle
Tiburon, CA 94920



Cliff Standifer
46276 Registry
Canton, MI 48187



Clifford Graham
6972 Inlet Creek Court
Fort Belvoir, VA 22060




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 353 of
                                        1568
Clifford Nies
1819 47th Ave.
San Francisco, CA 94122



Clifton Braun
1155 Ind
San Francisco, CA 94111



Clifton Morgan
PO Box 314
Cupertino, CA 95015



Clint Bidlack
1259 El Camino Real #403
Menlo Park, CA 94025



Clint Greenleaf
1309 Verdant Way
Austin, TX 78746



Clint OConnor
11541 Arbroath Ln
Austin, TX 78754



Clinton Woodard
415 E La Donna Dr.
Tempe, AZ 85283



Clyde Rolfe
8336 Amber Road
Sims, NC 27880




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 354 of
                                        1568
Coburn Watson
914 Hazelnut Court
Sunnyvale, CA 94087



Coco Woods
312 Laurel Way
Mill Valley, CA 94941



Cody Updegrave
1552 Noe St
San Francisco, CA 94114



Cody Abel
1217D Mariner Drive
San Francisco, CA 94130



Cody Badger
48 cumberland st
san francisco, CA 94110



Cody Culbertson
1040 Guerrero
San Francisco, CA 94110



Cody Culver
510 E Sage-brush st.
Gilbert, AZ 85296



Cody Dana
3649 E Edna Dr
Gilbert, AZ 85296




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 355 of
                                        1568
Cody Dodd
10946 E. Ramona Ave
Mesa, AZ 85212



Cody Little
1122 Tennessee Street, Apt 1
San Francisco, CA 94107



Cody McCabe
1449 Cherry Valley Dr
San Jose, CA 95125



Cody Oyler
904 Longmeadow DR
Round Rock, TX 78664



Cody Pinkner
658 North Forest Avenue
St Louis, MO 63119



Cody Snyder
161 Madera Way
Mountain View, CA 94041



Cogent
PO Box 791087
Baltimore, MD 21279



Cogent Communications Inc
P.O.Box 791087
Baltimore, MD 21279




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 356 of
                                        1568
Cogent Communications Inc
P.O. Box 791087
Baltimore, MD 21279-1087



Colby Brooks
701 E. Apache St.
Tempe, AZ 85281



Colby Conner
7237 W Becker Ln
Peoria, AZ 85345



Cole Smith
701 W Del Rio St.
Chandler, AZ 85225



Cole Crews
4915 Lansdowne Ave
Saint Louis, MO 63109



Cole Dunn
1197 Laurie Ave
San Jose, CA 95125



Cole Edmonston
320 Saclan Terrace
Clayton, CA 94517



Cole Finton
324 Meadow st
Meadville, PA 16335




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 357 of
                                        1568
Cole Pratt
1738 E Gaylon Dr
Tempe, AZ 85282



Cole Purohit
122 Johnson Ave
Los Gatos, CA 00095-0303



Cole Schlesinger
505 Cypress Point Drive, Unit 282
Mountain View, CA 94043



Cole Smith
2430 E Country Down Dr
Chandler, AZ 85249



Coleman Knabe
6111 Fifth Ave
Pittsburgh, PA 15232



Colin Jowett
7018 Avignon Dr
Round Rock, TX 78681



Colin Stevens
2123 Lindsey Court
San Jose, CA 95125



Colin Barrett
2295 California St Apt 26
San Francisco, CA 94115




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 358 of
                                        1568
Colin Bean
686 11th Ave #6
San Francisco, CA 94118



Colin Bodell
107 Reservoir Rd
Atherton, CA 94027



Colin Boswell
1120 Millbrae Ave
Millbrae, CA 94030



Colin Flaveny
2243 Oregon Ave
St. Louis, MO 63104



Colin Hawkins
4322 Lazard St
East Ridge, TN 37412



Colin Janssen
1577 Pershing Dr. Unit A
San Francisco, CA 94129



Colin Jaramillo
894 S 2nd St
San Jose, CA 95112



Colin Jaramillo
894 South Second St.
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 359 of
                                        1568
Colin Kelly
3565 Haven Ave. Suite 2
Menlo Park, CA 94025



Colin Price
805 Leavenworth Apt 501
San Francisco, CA 94109



colin pyle
1851 48th ave
san francisco, CA 94122



Colin Rogers
193 Crisfield St
Yonkers, NY 10710



Colin Schimmelfing
556 Guerrero Street
San Francisco, CA 94110



Colin Smith
61 Yale Rd
Menlo Park, CA 94025



Colin Thompson
212 Steiner St.
San Francisco, CA 94117



Colin Wang
1768 Sweetwood Drive
Daly City, CA 94015




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 360 of
                                        1568
Colin Wang_V
1768 Sweetwood Drive
Daly City, CA 94015



Colin Wiel
331 Infantry Terrace
San Francisco, CA 94129



Colleen Nathans
1266 W. Straford Ave.
Gilbert, AZ 85233



Colleen Cauvet
45875 Hanford Rd
Canton, MI 48187



Colleen Leonard
42 Hibiscus Lane
Robbinsville, NJ 08691



Colleen Smith
323 Cardinal Court
Mill Valley, CA 94941



Colleen Ziegler
275 N Gateway Dr
Phoenix, AZ 85034



Collette Thogerson
2354 Old Trail Drive
Reston, VA 20191




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 361 of
                                        1568
Collie Collier
2716 Joseph Ave #1
Campbell, CA 95008



Collin Garrity
6923 Wise Avenue
St. Louis, MO 63139



Collin Garrity_V
3416 Illinois Ave
St. Louis, MO 63118



Collin McGarrett
60 Corte Alegre
Greenbrae, CA 94904



Collin Randles
1863 Lakeview st
Trenton, MI 48183



Collin Smith
4295 E Jasper Dr
Gilbert, AZ 85296



Colman Beech
205 Elva Drive
Aptos, CA 95003



Colton Van Hazel
1162 W Thompson Way
Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 362 of
                                        1568
Comcast - 8155-20-052-2510967
Po Box 34744
Seattle, WA 98124



Computer Aided Technology LLC
165 Arlington Heights Road, Suite 101
Buffalo Grove, IL 60089



Connie Boulay
201 Hardy Ave
Cambell, CA 95008



Connie Leathers
P.O. Box 4143
Leesburg, VA 20177



Connie Brown
9465 Watsonville Rd
Gilroy, CA 95020



Connie Ralls
513 Jackson St.
San Jose, CA 95112



Connie Zeng
628 Brazil Ave.
San Francisco, CA 94112



CONNIEKAY SMITH
2041 RALMAR AVE
EAST PALO ALTO, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 363 of
                                        1568
Connor Dann
16 Grantour
Pontiac, MI 48340



Connor True
3251 S Adelle Circle
Mesa, AZ 85212



Connor Anderson
4220 E South Fork Ave
Phoenix, AZ 85044



Connor Garrison
2111 E Virgo Place
Chandler, AZ 85249



Connor Johnson
16995 Edgewater Lane
Huntington Beach, CA 92649



Connor Rhoades
1019 E Lilac Dr
Tempe, AZ 85281



Connor Tinsley
16555 S Kennedy Rd
Los Gatos, CA 95030



Connor Wallace
465 Heatherbray Ct.
San Jose, CA 95136




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 364 of
                                        1568
Conor Landenberger
463 Broadway
San Francisco, CA 94133



Conrad Wojciechowski
1743 Marco Polo Way#8
Burlingame, CA 94010



Constance Burns
1707 Creek Bend Cir
Round Rock, TX 78681



Constance Cafazza
620S. Taylor
St. Louis, MO 63110



Constantine Zlatev
76 C Deming Street
San Francisco, CA 94114



Constantino Schillebeeckx .
2120-A Portis Ave
St Louis, MO 63110



Cooper Allison
21733 N. Cottonwood St
Burney, CA 96013



Cooper Croft
25-A Crescent Dr # 326
Pleasant Hill, CA 94523




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 365 of
                                        1568
Cooper Dauer
6582 Springpath Ln
San Jose, CA 95120



Cooper Sepulveda
1840 W Thomas rd
Phoenix, AZ 85015



Corbin-McLeod Revocable Trust
102 Anderson St.
San Francisco, CA 94110



Cord Merrell
837 North Saint Clair Apt. 2
Pittsburgh, PA 15206



Cord Struckmann
120 Albion St. #3
San Francisco, CA 94110



Corey Allen
1503 Stallings Rd
Durham, NC 27703



Corey Allhands
524 E DEVON DR
GILBERT, AZ 85296



Corey Bangs
3685 S. Bascom Ave Apt 51
Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 366 of
                                        1568
Corey Breed
1613 Gaston Ave
Austin, TX 78703



Corey Gannon
515 Washington St N
Alexandria, VA 22314



Corey Gibson
43160 E Huron River Dr
Van Buren, MI 48111



Corey Martorano
5401 E Van Buren St
Phoenix, AZ 85008



Corey McGuire
226 Wilshire
Daly City, CA 94015



Corey McGuire_V
2601 Adeline St, Suite 112
Oakland, CA 94607



Corey Sherrill
3221 Clayborne Ave
Alexandria, VA 22306



Corey Wolffs
223 Killdeer Ct.
Foster City, CA 94404




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 367 of
                                        1568
Corie Johnson
12304 Willow Bend Drive
Austin, TX 78758



Corina Chen
48277 Hackberry Street
Fremont, CA 94539



Corinne Blakely
160 Central Ave
San Francisco, CA 94117



Corinne Charlton
402 W North Ave.
Pittsburgh, PA 15206



Corinne Otten
804 PALO DURO LOOP
ROUND ROCK, TX 78664



Corinne Takara
10399 Merriman Rd Apt B
Cupertino, CA 95014



Corrie Brennan
1289 Camino Pablo
San Jose, CA 95125



Corry Blackburn
Objex Design LLC. 7370 Manchester Rd.
Saint Louis, MO 63143




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 368 of
                                        1568
Cortex
4320 Forest Park Ave, Suite 201
St. Louis, MO 63108



Cory Barr
555 De Haro St Suite 120
San Francisco, CA 94107



Cory Hodges
1725 Celeste Dr
San Mateo, CA 94402



Cory Hoover
1749 Hayes St
San Francisco, CA 94117



Cory Hoover
1749 Hayes St
San Francisco, CA 94115



Cory Jarman
1040 Guerrero Apt. A
San Francisco, CA 94110



Cory Logan
162 Randall St
San Francisco, CA 94122



Cory Roxas
446 Charlemagne Drive
Lake Saint Louis, MO 63367




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 369 of
                                        1568
Costco Membership
PO BOX 34783
Seattle, WA 98124



County of Santa Clara Clerk Recorder
1555 Berger Drive, Suite 300,
Santa Clara, CA 95122



Courtney Barger
13201 N 7th Dr
Tempe, AZ 85029



Courtney Brown
1624 Highland Blvd
Hayward, CA 94542



Courtney Nielsen
539 Hyde Park Drive
San Jose, CA 95136



Courtney Sanderson
726 Ruth Street
Pleasent Hill, CA 94523



Courtney Slaughter
1651 Coyote Point Dr.
San Mateo, CA 94401



Courtney Woods
312 Laurel Way,
Mill Calley, CA 94941




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 370 of
                                        1568
Craig Hanly
147 Whispering Pines Dr
Bastrop, TX 78602



Craig Caesar
12199 Rule Place Lane
Maryland Heights, MO 63043



Craig Carraher
P O Box 1793
Freedom, CA 95019



Craig Carter
350 Arguello Blvd
San Francisco, CA 94118



Craig Clingan
1037 South Alamo
San Antonio, TX 78210



Craig Collier
5423 W Harrison Ct
Chandler, AZ 85226



Craig Colvin
452 Oakmead Parkway
Sunnyvale, CA 94085



Craig Conway
122 Forest Trail
Leander, TX 78641




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 371 of
                                        1568
Craig Crall
1479 Tyler Park Way
Mountain View, CA 94040



Craig Davis
4605 S Priest Drive #207
Tempe, AZ 85282



Craig Dillow
1009 Edgehill Dr
Ferguson, MO 63135



Craig Lehocky
612 Edmund Street
Pittsburgh, PA 15224



Craig Mar
932 Praderia Circle
Fremont, CA 94539



Craig Miller
2711 Orlando Place
Pittsburgh, PA 15235



Craig Nelson
4618 W 62 Terrace
Fairway, KS 66205



Craig Payne
740 Wilde Court
Discovery Bay, CA 94555




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 372 of
                                        1568
Craig Richards
2791 Diamond St
San Francisco, CA 94131



Craig Sato
14 Tarry Lane
Orinda, CA 94563



Craig Smelser
2205 Erica Kaitlin Ln
Cedar Park, TX 78613



Craig Smith
4302 Ganymede Dr
Austin, TX 78727



craig thomas
379 60th street
Oakland, CA 94618



Craig Woodhouse
700 South First st. Apt 208
Austin, TX 78704



Craig Yeh
126 W Ahwanee Ave, Apt 14
Sunnyvale, CA 94085



Creative Packaging Resources, Inc
201 E Steins St
St. Louis, MO 63111




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 373 of
                                        1568
Cris Rocha
1268 Missouri St
San Francisco, CA 94107



Cristal Garcia
150 H st
Fremont, CA 94536



Criste Bruce
1695 Milroy Pl
San Jose, CA 95124



Cristian Porter
436 N 13
San Jose, CA 95112



Cristian Cirjan
4475 w Pine Blvd apt 1203
St Louis, MO 63108



Cristian Wicha
6630 Tansey Drive
Falls Church, VA 22042



Cristian Wicha
6630 Tansey Dr
Falls Church, VA 22042



Cristin Winn
2035 Castro #32
San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 374 of
                                        1568
Cristina Mossi
2935 Garfield Street NW
Washington, DC 20008



Cristina Draghicescu
2023 NW Lovejoy St
Portland, OR 97209-1515



Cristina Garibay
525 S Forest Ave
Tempe, AZ 85281



Cristino Alegria
6121 Elkhorn Ct.
Vallejo, CA 94591



Cristofer Adrian
2307 109th Ave
OAKLAND, CA 94603



Cristoforo Feo
821 York St.
San Francisco, CA 94110



Crosby Grant
904 Peninsula Avenue #206
San Mateo, CA 94401



Cruz Monrreal
614 S 1st St Apt 360
Austin, TX 78704




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 375 of
                                        1568
Crystal Archie
298 Lake Ridge Rd.
Kalamazoo, MI 49006



Crystal B. Cruz
3379 Halderman St
Los Angeles, CA 90066



Crystal Hall
56 Beltzhoover Ave
Pittsburgh, PA 15210



Crystal Richey
12219 Encanto Dr. Apt A
Maryland Heights, MO 63043



Crystal Susa
50 Mountain View Pl.
San Mateo, CA 94402



Crystal Teng
340 belmont
detroit, MI 48202



CSN+Design
4618 W.62 Terr
Fairway, KS 66205



Curt Berggren
619 Alcalde Ct
Fremont, CA 94539




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 376 of
                                        1568
Curt O'Donnell
741 Hebrides Way
Sunny, CA 94087



Curt Walsh
434 Orchard Crest Circle
New Market, MD 21774



Curtis .
1533-A 5th St.
Oakland, CA 94607



Curtis C
1533a 5th St.
Oakland, CA 94607



Curtis Chambers
583 Hayes St, Apt 4
San Francisco, CA 94102



Curtis Cleveland Galloway
129 Magnolia St.
Santa Cruz, CA 95062



Curtis Galloway
129 Magnolia St.
Santa Cruz, CA 95062



Curtis Hart
5909 Sutherland
Corpus Christi, TX 78414




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 377 of
                                        1568
Curtis Kulp
815 buana vista ave west
San Francisco, CA 94117



Curtis Lambert
1362 S. Vineyard 1080
Mesa, AZ 85210



Curtis Layton
2485 Ohio Ave
Redwood City, CA 94061



Curtis Newbrough
3900 Santa Rita St Apt 1
Oakland, CA 94601



Curtis Ratzlaff
5821 Taylor Draper Cove
Austin, TX 78759



Curtis Schwebke
24706 Hutchinson Rd.
Los Gatos, CA 95033



Curtis Turner
1905 Plantation Ct
Round Rock, TX 78681



Curtis Turner Studio
1905 Plantation CT,
Round Rock, TX 78681




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 378 of
                                        1568
CW Kreimer
6557 Bartlett St.
Pittsburgh, PA 15217



Cyan Banister
2261 Market St #242
San Francisco, CA 94114



Cyndee Goldstein
1305 Vierra Ct
San Jose, CA 95125



Cynthia McCrea
4306 Cook Avenue
St Louis, MO 63113



Cynthia Andujar
813 Mifflin Ave. #1
Pittsburgh, PA 15221



Cynthia Chandler
165 Cambridge Ave
San Leandro, CA 94577



Cynthia Garb
1141 Polk Ave
Sunnyvale, CA 94086



Cynthia Horn
1525 E. Del Rio St.
Chandler, AZ 85225




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 379 of
                                        1568
Cynthia Monreal
4317 Maryland Avenue, Unit 1E
Saint Louis, MO 63108



Cynthia Strawn
1490 Chestnut St 4
San Francisco, CA 94123



Cynthia Su
48803 Summit View Terrace
Fremont, CA 94539



Cynthia Taylor
1130 Schooner St
Foster City, CA 94404



Cypress Computer Systems Inc.
1778 Imlay City Road, Suite 200
Lapeer, MI 48446



Cyrus Katrak
12 Church Street
Mountain View, CA 94043



D Thorne
1051 Page Street #3
San Francisco, CA 94117



D. Isaac Wolf
2700 Q Street, N.W. Apartment 143
Washington, DC 20007




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 380 of
                                        1568
D. Mars J. Holt
1960 Churton Ave
Los Altos, CA 94024



D. Wesley Wiley and Janice K. Kendall
610 Gennessee St
San Francisco, CA 94127



Dae Han
978 valencia st #305
San Francisco, CA 94110



Dae Woo Son
530 Stockton St Apt 301
San Francisco, CA 94108



Dagan Trnka
2719 Justin Woods Ct.
Cameron Park, CA 95682



Dahven White
5070 Westminister Pl
Saint Louis, MO 63108



Dailon Vesely
25 N Extention
Mesa, AZ 85011



Dale Brimhall
2921 E Cicero St #202
Mesa, AZ 85213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 381 of
                                        1568
Dale Crombez
9615 Ingram
Livonia, MI 48150



Dale Frank
1980 Pacheco Pass Rd.
Gilroy, CA 95020



Dale Gies
471 Clise Ct
San Jose, CA 95123



Dale Loia
1795 Marcy Lynn Ct.
San Jose, CA 95124



Dale Lord
545 Lawton St
San Francisco, CA 94122



Dale N Scott
P.O. Box 31537
San Francisco, CA 94131



Dale N. Scott
P.O. Box 31537
San Francisco, CA 94131



Dale Parker
1369 Phelps Ave., Apt 10
San Jose, CA 95117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 382 of
                                        1568
Dale Schotte
5105 Columbia Avenue
St Louis, MO 63139



Dale Scott
P.O. Box 31537
San Francisco, CA 94131



Dale Smith
P.O. Box 192371
San Francisco, CA 94119



Dalene Stangl
1925 W. Cornwallis
Durham, NC 27705



Dallas Nichols
801 E McKellips Dr
Tempe, AZ 85281



Dalton Natale
2439 E Erie Ct
Gilbert, AZ 85295



Damian Dailey
3535 S Ball St
Arlington, VA 22202



Damian Glennon
6071 Monterey Ave
Richmond, CA 94805




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 383 of
                                        1568
Damien Jones
3018 San Pablo Ave
Berkeley, CA 94702



Damien Liggs
1081 Springfield Dr
Campbell, CA 95008



Damon Bowe
1000 New Jersey Ave SE #PH23
Washington, DC 20003



Damon Cokenias
310 Park St.
San Francisco, CA 94110



Damon Jones
PO Box 471151
District Hts, MD 20753



Damon Nelson
385 Grove St.
San Francisco, CA 94102



damon sanderson
PO Box 11268
Bapchule, AZ 85121



Dan Woods
312 Laurel Way
Mill Valley, CA 94941




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 384 of
                                        1568
Dan Beal
32531 N Scottsdale Rd. Ste. 105-229
Scottsdale, AZ 85266



Dan Book
904 Garden Path Dr.
Round Rock, TX 78664



Dan Bounds
812 Riverside Drive
Arnold, MD 21012



Dan Busuioc
22636 Cherry Hill
Dearborn, MI 48124



Dan Carrier
2221 South Clark St
Arlington, VA 22202



Dan Casper
569 Autumn Bluff Dr
Ellisville, MO 63130



Dan Collins
2251 Eisenhower Avenue Apt 1203
Alexandria, VA 22314



Dan Dongilli
1935 Chislett St.
Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 385 of
                                        1568
Dan Droz
1086 Lyndhurst Dr.
Pittsburgh, PA 15206



Dan Elliott
21173 Randall St
Farmington Hills, MI 48336



Dan Gonzalez
8516 Magnolia Way
Gilroy, CA 95020



Dan Harms
2065 S Glebe Rd
Arlington, VA 22204



Dan Hennage
303 cazrea drive
Mill Valley, CA 94941



Dan Holloway
21943 Windover
Ashburn, VA 20148



Dan Hunter
917 Redwood Ave
Redwood City, CA 94061



Dan Levin
141 Corona Way
Portola Valley, CA 94028




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 386 of
                                        1568
Dan Levine
42 Sharon Street
San Francisco, CA 94114



Dan Lockwood
4506 Coastal Pky
White Lake, MI 48386



Dan Lykowski
3140 Rubino Dr. Apt 205
San Jose, CA 95125



Dan Machak
941 East Grant Place
San Mateo, CA 94402



Dan Mahoney
3 Circle Star Way
San Carlos, CA 94070



Dan Mars
1960 Churton Ave
Los Altos, CA 94024



Dan Mars & J Holt
1960 Churton Ave
Los Altos, CA 94024



Dan Masters
2605 Cami Path Loop
Round Rock, TX 78665




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 387 of
                                        1568
Dan Matthews
13114 E Galveston St
Gilbert, AZ 85233



Dan McGee
PO Box 165
Young, AZ 85554



Dan Mendenhall
555 Morewood Ave
Pittsburgh, PA 15213



Dan Neville
19296 Gleneagles dr
livonia, MI 48157



Dan O Mara
1115 Keppler Ct Unit A
San Francisco, CA 94130



Dan OMara
1115 A Keppler Ct
San Francisco, CA 94130



Dan Rasure
1570 Road 65
Goodland, KS 67735



Dan Reglin
4196 E County Down
Chandler, AZ 85249




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 388 of
                                        1568
Dan Risacher
3709 8th ST S
Arlington, VA 22204



Dan Rolander
14144 Darkwood Circle
Centreville, VA 20121



Dan Rose
1876 Cambridge
Berkley, MI 48072



Dan Shahin
89 Stillman St
San Francisco, CA 94107



Dan Slomski
546 Fillmore St.
San Francisco, CA 94117



Dan Smith
762 Peru Ave
San Francisco, CA 94112



Dan Stuver
1132 Portner Road
Alexandria, VA 22314



Dan Thompson
6483 Jackson Street
Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 389 of
                                        1568
Dan Todd_V
22 Vista del Grande
San Carlos, CA 94070



Dan Underhill
577 Paloma Ave.
Pacifica, CA 94044



Dan Varney
21 Hedges Rd
East Patchogue, NY 11772



Dan Varney
21 Hedges Rd
E Patchogue, NY 11772



Dan Wheeler
907 Parkcrest Ct
Pflugerville, TX 78660



Dan Woodard
1906 Barton St.
Redwood City, CA 94061



Dan Woods
312 Laurel Way
Mill Valley, CA 94941



Dan Woods
1005 Gravenstein Hwy
Mill Valley, CA 94941




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 390 of
                                        1568
Dan Woods
24 Del Casa Drive
Mill Valley, CA 94941



Dana Andersen
2 Hidden Valley Rd
Mammoth, CA 93546



Dana Bell
147 Conselyea St #2R
Brooklyn, NY 11211



Dana Bradley
30 E. Brown Rd. #2083
Mesa, AZ 85201



Dana Gordon
1561 S Wolfe Rd
Sunnyvale, CA 94087



Dana Hansen
1588 B Union St
San Francisco, CA 94123



Dana Kittrelle
90 Zircon Place
San Francisco, CA 94131



Dana Levinthal
956 Wilmington Way
Redwood City, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 391 of
                                        1568
Dana Monroe
103 Westminster Dr
Verona, PA 15147



Dana Monroe
3215 Ward Street #2
Pittsburgh, PA 15213



Dana Sandoval
6537 E Norwood St
Mesa, AZ 85215



Dana Sniezko
584 castro St #364
San Francisco, CA 94114



Dana Taylor
1130 Schooner St.
Foster City, CA 94404



Dana Tongman Yang
13727 Rosetree Ct
Chantilly, VA 20151



Dana Wheeler
1858 Tacoma Avenue
Berkeley, CA 94707



Danial Lemire
4420 18th Street
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 392 of
                                        1568
Daniel Donnelly
1000 New Jersey Ave SE
Washington, DC 20003



Daniel Fusaro
13449 N 76th Street
Scottsdale, AZ 85260



Daniel Holmes
3701 Quick Hill Rd
Austin, TX 78728



Daniel Lu
5225 Pooks Hill Road Apt.1620s
Bethesda, MD 20814



Daniel Owens
1236 Kirkham St
San Francisco, CA 94122



Daniel Reich
1312 Maxwell Ave
Royal Oak, MI 48067



Daniel Slavin
4742 Bridge Run Apt. 1C
Ypsilanti, MI 48197



Daniel White
2469 Streamview Drive
Waldorf, MD 20603




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 393 of
                                        1568
Daniel Aden
152 G St.
Redwood City, CA 94063



Daniel Alnasir
9119 Brienne Way
Elk Grove, CA 95758



Daniel Anderson
175 Stonecrest Dr
San Francisco, CA 94132



Daniel Anderson
1165 Miller Ave
Berkeley, CA 94708



Daniel Anthony
399 Lexington
San Francisco, CA 94110



Daniel Arias
11670 Willow
Southgate, MI 48195



Daniel Baker
303 W Thompson Pl
Chandler, AZ 85286



Daniel Barry
163 Albion St.
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 394 of
                                        1568
Daniel Beckman
557 W Erie St
Chandler, AZ 85225



Daniel Berkowitz
118 Kingsley Ave
Palo Alto, CA 94301



Daniel Bibl
421 Oak Street
San Francisco, CA 94102



Daniel Bickmore
2270 N Towne Ave #2
Pomona, CA 91767



Daniel Bishop
6621 Wakefield Drive Apt 213B
Alexandria, VA 22307



Daniel Bodner
220 MONTGOMERY ST
SAN FRANCISCO, CA 94104



Daniel Boston
3116 Venice St
Dearborn, MI 48124



Daniel Chin
6357 Florio St.
Oakland, CA 94618




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 395 of
                                        1568
Daniel Cuddihy
7850 E Gelding Dr
Scottsdale, AZ 85260



Daniel Danner
130 E. San Fernando St. #425
San Jose, CA 95112



Daniel Domzalski
693 W Carob Pl
Fountain Hills, AZ 85268



Daniel E. Erdman
88 E San Fernando St #510
San Jose, CA 95113



Daniel Egnor
483 Forest Ave #E
Palo Alto, CA 94301



Daniel Erdman
88 E San Fernando St #510
San Jose, CA 95113



Daniel Estrada
0140 Hirasaki Ct
Gilroy, CA 95020



Daniel Flynn
1859 E Zenday Way
Salt Lake City, UT 84121




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 396 of
                                        1568
Daniel ForbesRestifo
108 Berwick Drive
Pittsburgh, PA 15215



Daniel Fraley
2815 Rio Grande St. #207
Austin, TX 78705



Daniel Fullington
559 Alvarado St. (lower unit)
San Francisco, CA 94114



Daniel Gies
286 Monterey Blvd. #C
San Francisco, CA 94131



daniel gimbe
6731 new hamphsir av
takoma park, MD 20912



Daniel Goncharov
318 Laurel St.
Pittsburgh, PA 15218



Daniel Goodwin
2412 Los Robles Street
Grapevine, TX 76051



Daniel Han
756 E Loyota Dr
Tempe, AZ 85282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 397 of
                                        1568
Daniel Herrington
8 Spruce Street, 48D
New York, NY 10038



Daniel Holterhaus
4116 Monument Ct Unit #203
Fairfax, VA 22033



Daniel Horn
1525 E. Del Rio St.
Chandler, AZ 85225



Daniel Horton
18224 N 52nd St
Scottsdale, AZ 85254



Daniel Hurley
5230 Thunder Creek Rd
Austin, TX 78759



Daniel J. Levin
141 Corona Way
Portola Valley, CA 94028



Daniel Kanner
138 Homestead St.
Pittsburgh, PA 15218



Daniel Klein
5606 Northumberland
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 398 of
                                        1568
Daniel Kleinman
629 4th St NE #3
Washington, DC 20002



Daniel Kursave
1535 granite hills dr, apt 34
el cajon, CA 92019



Daniel Lamson
2711 South Compton
St. Louis, MO 63118



Daniel Langley
120 LOWELL AVE
SAN RAFAEL, CA 94109



Daniel Lee
1000 Park Pl Apt E
San Mateo, CA 94403



Daniel Lemke
740 Leavenworth St. #4
San Francisco, CA 94109



Daniel Liebeskind
1 Hallidie Plaza
San Francisco, CA 94102



Daniel Lockwood
1119 Castro Street
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 399 of
                                        1568
Daniel Lubrich
2900 W Highland St
Chandler, AZ 85224



Daniel Luong
3200 Hillview Ave
Palo Alto, CA 94304



Daniel Lynch
619 South Aiken Avenue Apt. 2
Pittsburgh, PA 15232



Daniel Madison
3440 Grindley Park St.
Dearborn, MI 48124



Daniel Madrid
14751 Lavell St
Livonia, MI 48154



Daniel Markevitch
231 Emerson St.
Palo Alto, CA 94301



Daniel Marsch
8804 Terry Lynn Ct
Springfield, VA 22152



Daniel Martin
7212 Forsyth Blvd. Apt 2E
St. Louis, MO 63105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 400 of
                                        1568
Daniel Newman
53 Elsie St.
San Francisco, CA 94110



Daniel Olewine
2929 Eskridge Rd, Suite S
Fairfax, VA 22031



Daniel Orr
2765 Harrison
Trenton, MI 48183



Daniel Owens
1236 Kirkham St
San Francisco, CA 94122



Daniel Pacifico
1709 Canyon Hills Ct.
Fairfield, CA 94534



Daniel Pang
1373 Bedford St
Fremont, CA 94539



Daniel Phelan
36 Rico Way
San Francisco, CA 94123



Daniel Quinlan
3023 20th Street
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 401 of
                                        1568
Daniel Ramos
3714 Columbia Pike Apt 10
Arlington, VA 22204



Daniel Ratner
3674 22nd St.
San Francisco, CA 94114



Daniel Reglin
3105 E. Winged Foot
Chandler, AZ 85249



Daniel Ricciotti
2 lawrence avenue
annapolis, MD 21403



Daniel Rivera
4213 Ramsey Ave #B
Austin, TX 78756



Daniel Roberts
704 A N Wakefield St.
Arlington, VA 22203



Daniel Rosenberry
13407 collingwood ter
silver spring, MD 20904



Daniel Roth
249 E. Paso Fino Way
San Tan Valley, AZ 85143




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 402 of
                                        1568
Daniel Rust
2953 E Dover St.
Mesa, AZ 85213



Daniel Safronoff
8227 Stonewall Drive
Vienna, VA 22180



Daniel Schultz
570 4th Ave.
Redwood City, CA 94063



Daniel Sebahar
717 6th Ave Apt 5
San Francisco, CA 94118



Daniel Sebahar
717 6TH Avenue
Apt No: 5
San Francisco, CA 94118



Daniel Sionov
1005 N. Pitt St.
Alexandria, VA 22314



Daniel Stocker
5618 Nevada Ave NW
WDC, DC 20015



Daniel Stys
1147 Nimitz Lane
Foster City, CA 94404




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 403 of
                                        1568
Daniel Suchomel
58 Sala Terr
San Francisco, CA 94112



Daniel Susca
3700 W Parmer Ln
Austin, TX 78727



Daniel Todd
22 Vista Del Grande
San Carlos, CA 94070



Daniel Tullie
6029 N. 31st Ave
Phoenix, AZ 85017



Daniel Valdez
1652 E La Jolla Dr
Tempe, AZ 85282



Daniel Vianello
750 Yale Ave.
University City, MO 63130



Daniel Vlach
2501 Lake Austin Blvd K205
Austin, TX 78703



Daniel Weiss
5724 Colony Church Rd #6
Farmington, MO 63640




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 404 of
                                        1568
Daniel Wolf
3629 MacGregor Ln.
Santa Clara, CA 95054



Daniel Woods
312 Laurel Way
Mill Valley, CA 94941



Daniel Woods
312 Laurel Way
Mill Valley, CA 00096-4941



Daniel Ziegler
2145 Paradise Drive
Tiburon, CA 94920



Daniela Selbert
1324 Clarkson Clayton Center #108
Ellisville, MO 63011



Daniela Bertol
160 west 77street
New York, NY 10024



Daniela Chavez
701 E Apache Blvd
Tempe, AZ 85281



Daniele Radaelli
557 Crimsonberry Way
San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 405 of
                                        1568
Danielle Deibler
879 29th Ave.
San Francisco, CA 94121



Danielle Johnson
2300 W San Angelo Apt 2136
Gilbert, AZ 85233



Danielle Johnson
2300 W San Angelo St
Apt 2136
Gilbert, AZ 85233



Danielle Lee Deibler
879 29th Ave.
San Francisco, CA 94121



Danielle Simone
28064 Marshal
Southfield, MI 48076



Danielle Yuhasz
825 E. Evelyn Ave. #202
Sunnyvale, CA 94086



Danil Kozyatnikov
77 Domingo Av
Berkeley, CA 94705



Danish Nagda
20 S Sarah St.
St. Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 406 of
                                        1568
Dannette Peltier
5539 Anza Street
San Francisco, CA 94121



Danny Zemanek
274 Redwood Shores Pkwy. #701
Redwood City, CA 94014



Danny Andreev
559 Everett Ave
Palo Alto, CA 94301



Danny Dawson
1252 Arguello Blvd
San Francisco, CA 94122



Danny Dunbar
13629 Linwood St
Detroit, MI 48238



Danny E. Mars
1960 Churton Ave
Los Altos, CA 94024



Danny Garcia
1462 San Bruno Ave
San Francisco, CA 94110



Danny Haeg
850 Meridian Way Apt 58
San Jose, CA 95126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 407 of
                                        1568
Danny Lee
11700 Old Georetown Rd., Unit 513
Rockville, MD 20852



Danny Machak
941 East Grant Place
San Mateo, CA 94402



Danny McBroom
2019 Palos Verdes
Leander, TX 78641



Danny McLane
1200 Franklin Mall #309
Santa Clara, CA 95050



Danny Savard
1101 Hobart St.
Menlo Park, CA 94025



Danny Schaefer
4511 E Ashurst Dr
Phoenix, AZ 85048



Danny Swarzman
3739 Balboa St. #119
San Francisco, CA 94121



Danny Yusupov
8014 Tysons Oaks Court
Gainesville, VA 20155




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 408 of
                                        1568
Dante Repko
514 W. 8th Ave.
Tarentum, PA 15081



Darian Ahler
1157 Valencia Street apt. 5
San Francisco, CA 94110



Darin Lewandowski
2211 E. Weldon
Phoenix, AZ 85016



Darin Phan
1821 W Campbell Ave
Campbell, CA 95008



Darin Wagner
797 W Oakland St
Chandler, AZ 85225



Dario Bianco
2374 Huntington Station Ct
Alexandria, VA 22303



Darius B'Alexander
90 N 9th St, Dungeon Suite
San Jose, CA 95112



Darius B'Alexander_V
90 N 9th St.
Dungeon Suite
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 409 of
                                        1568
Darius Golkar
677 Waverley St.
Palo Alto, CA 94301



Darius Goodall
16 Whittier St.
Milpitas, CA 95035



Darlene Guillot
700 Clearlake Point
Seneca, SC 29672



Darrel Troxel
2805 E. Terrace Ave
Gilbert, AZ 85234



Darrell Brown
1233 Wood Bury Ln.
Stockton, CA 95206



Darrell Hale
9409 FAIRVIEW AVE
Laurel, MD 20723



Darrell Hill
161 Hill Road
Dale, TX 78616



Darrell Ruppel
154 Chestnut St Apt 212
Santa Cruz, CA 95060




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 410 of
                                        1568
Darren Brust
12116 Labrador Bay Ct
Austin, TX 78732



Darren Hughes
1914 W. Canyon Way
Chandler, AZ 85248



Darren Overby
524 San Anselmo Av
San Anselmo, CA 94960



Darren Reis
358 Tennyson Ave.
Palo Alto, CA 94301



Darren Tidwell
10610 New Ave.
Gilroy, CA 95020



Darrin B. Jewell
416 Ridge Rd
Woodside, CA 94062



Darrin Jewell
416 Ridge Rd
Woodside, CA 94062



Darrin Naughton
1602 W. Del Rio St.
Chandler, AZ 85224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 411 of
                                        1568
Darrow Hartman
1982 Dakin Ave
Menlo Park, CA 94025



Darryl Barnes
527 Villa Centre Way
San Jose, CA 95128



Darryl McAdams
2225 NW 6th Terr
Wilton Manors, FL 33311



Darryle Hawes
262 gates ave apt#br
Brooklyn, NY 11216



Darshana Salvi
770 Gemini Lane
Foster City, CA 94404



Darwin Darakananda
1277 S Beverly Glen Blvd. #503
Los Angeles, CA 90024



Daryl Krause
19408 Vilamoura St
Pflugerville, TX 78660



Daryl Anderson
6200 Deer Run Lane
Trumansburg, NY 14850




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 412 of
                                        1568
Daryl Fox
707 Concord Ave
San Jose, CA 95128



Daryl Smith
1749 W Tulsa St
Chandler, AZ 85224



Daryl Thoren Barnes
527 Villa Centre Way
San Jose, CA 95128



Datapipe.Inc
P.O. Box 36477
Newark, NJ 07188



Dav Impossible Yaginuma
126 Bridgeview Dr.
San Francisco, CA 94124



Dav Yaginuma
126 Bridgeview Dr.
San Francisco, CA 94124



Dave Binder
386 N Milton Ave
Campbell, CA 95008



Dave Adams
430 Navaro Place #118
San Jose, CA 95134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 413 of
                                        1568
Dave Atwater
12 Strath Haven Ct
Gaithersburg, MD 20886



Dave Bennett
2500 E. Penedes Drive
Gilbert, AZ 85298



Dave Berdych
101 Schenley Manor Dr
Pittsburgh, PA 15201



Dave Blankenship
1908 Via Veneto Apt D
St. Louis, MO 63125



Dave Brassfield
10612 glenwild rd
silver spring, MD 20901



Dave Cislo
4910 Horger
Dearborn, MI 48126



Dave Clark
3200 College Ave
Beaver Falls, PA 15010



Dave Colbert
2413 Buena Vista Ave
Belmont, CA 94002




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 414 of
                                        1568
Dave Corbin
102 Anderson St.
San Francisco, CA 94110



Dave Curtis
1655 Manitoba Dr.
Sunnyvale, CA 94087



Dave Falkenburg
5199 Bela Drive
San Jose, CA 95129



Dave Field
1 Henry Adams Street S630
San Francisco, CA 94103



Dave Hunkins
3905 Cesar Chavez St.
San Francisco, CA 94131



Dave Jones
2326 Jones
San Francisco, CA 94133



Dave Kaminski
3200 Hillview Ave
Palo Alto, CA 94304



Dave Kodama
12909 Glenda St.
Cerritos, CA 90703




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 415 of
                                        1568
Dave Latka
850 W Buno Rd
Milford, MI 48381



Dave Lyons
1159 Lincoln Ave.
Palo Alto, CA 94301



Dave Marzetta
2927 San Juan Blvd.
Belmont, CA 94002



Dave Matsumoto
6766 Hampton Dr.
San Jose, CA 95120



Dave Menconi
357 Spring Valley Ln
Milpitas, CA 95035



Dave Messink
1293 Antwerp Ln
San Jose, CA 95118



Dave Pence
126 Green Gable Manor
Zelienople, PA 16063



Dave Pifke
1 South Park St. Unit 404
San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 416 of
                                        1568
Dave Rachels
1317 Templeton PL
Rockville, MD 20852



Dave Rohrl
751 Linda Mar Blvd
Pacifica, CA 94044



Dave Sanderson
726 Ruth Dr.
Pleasant Hill, CA 94523



Dave Strong
1644 Tartarian Way
San Jose, CA 95129



Dave Wardoclip
304 Heather Hill Drive
Gibsonia, PA 15044



Dave Yale
54 Lester Ave #6
San Jose, CA 95125



DaVero Garner
22705 Lake Ravires dr.
Clinton Township, MI 48035



David Dainelis
22077 Beech St. Apt 702
Dearborn, MI 48124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 417 of
                                        1568
David Gadling
732 10th Avenue
San Mateo, CA 94402



David Griggs
2022 Wyoming Street
Saint Louis, MO 63118



David Henry
15555 Lundg Pkwy
Dearborn, MI 48126



David Herman
20300 Rotunda
Dearborn, MI 48121



David Jeup
13154 Elgin Ave
Huntington Woods, MI 48070



David Jones
1213 Ridgemont Dr.
Austin, TX 78723



David Moneysmith
934 Howard St
San Francisco, CA 94103



David Paskow
25315 Mackinac
Roseville, MI 48066




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 418 of
                                        1568
David Shen
609 Hickory Run Dr.
Cedar Park, TX 78613



David Smith
830 Quail Ridge Lane
Salinas, CA 93908



David Thomas
723 San Carlos Ave
Albany, CA 94706



David & Jean Kodama
12909 Glenda St.
Cerritos, CA 90703



David (Dave) Koller
204 E Henry St
Saline, MI 48176



David A. Lyons
4497 Poinsettia Ct
San Jose, CA 95136



David Aguirre
1418 Sprucewood Dr
San Jose, CA 95118



David Alexander
2777 Mauricia Ave. Apt. B
Santa Clara, CA 95051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 419 of
                                        1568
David Alexander
551 Ventura Ave
san mateo, CA 94403



David Allan Ellsworth
227 Ramona St.
San Mateo, CA 94401



David Allen
135 Waverly St.
Sunnyvale, CA 94086



David Anchondo
632 Rosinante Rd
El Paso, TX 79922



David Anderson
2200 Lakeshire Dr.
Alexandria, VA 22308



David Ansley
195 E Meadows Ct
Alpharetta, GA 30005



David Arnott
356 E. 40th Ave
San Mateo, CA 94403



David Aronson
6567 Tartan Vista Dr
Alexandria, VA 22312




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 420 of
                                        1568
David Atwater
12 Strath Haven Ct
Gaithersburg, MD 20886



David Babington
137 Ord St
San Francisco, CA 94114



David Bailey
26656 Wexford
Warren, MI 48091



David Baker
274 Joost Ave
San Francisco, CA 94131



David Barry
208 LArimore Valley Dr
Chesterfield, MO 63005



David Basset& Carrol Basset
6361 Janary Way
San Jose, CA 95129



David Bassett
6361 Janary Way
San Jose, CA 95129



David Belleville
1708 Via Flores Ct
San Jose, CA 95132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 421 of
                                        1568
David Bellhorn
1504 Willow Bluff Dr
Pflugerville, TX 78660



David Bend
501 Delancey St #212
San Francisco, CA 94107



David Bernabo
427 Dargan St.
Pittsburgh, PA 15224



David Betonte
PO Box 7232
Santa Rosa, CA 95407



David Bigelow
2525 E Geneva Dr
Tempe, AZ 85282



David Bloom
3945 20TH ST APT 5
SAN FRANCISCO, CA 94114



David Bonwick
1390 McKenzie Ave
Los Altos, CA 94024



David Books
1500 Braided Rope Dr
Austin, TX 78727




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 422 of
                                        1568
David Bordow
977 Howard
San Francisco, CA 94103



David Bradsher
9236 Lodge Pole Lane
Saint Louis, MO 63126



David Bragg
10834 Greene Drive
Lorton, VA 22079



David Browne
19 Alexandria Drive
Oxon Hill, MD 20745



David Bruce Curtis and Shelley Smith Cur
1655 Manitoba Dr.
Sunnyvale, CA 94087



David Brunner
1031 Decatur St
Pittsburgh, PA 15233



David Bruno
308 West 106th street
New York, NY 10025



David Bryson
507 N 5th Street
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 423 of
                                        1568
David Bublitz
2291 E INDIAN WELLS DR
CHANDLER, AZ 85249



David Bui
280 Beatrice Street
Mountain View, CA 94043



David Butcher
1024 Hazelwood Ave.
San Jose, CA 95125



David C Chein
48277 Hackberry St
Fremont, CA 94539



David Calkins
377 Dolan Ave
Mill Valley, CA 94941



David Canavese
744 South Clover
San Jose, CA 95128



David Carlson
316 Laura Lane
Bastrop, TX 78602



David Cervantes
4317 Maryland Ave Apt 1E
St. Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 424 of
                                        1568
David Chang
13601 Paseo Del Roble Dr.
Los Altos Hills, CA 94022



David Chau
2245 Lanai Ave
San Jose, CA 95122



David Chau
2245 Lanai Ave.
Apt #25
San Jose, CA 95122



David Chen
48277 Hackberry St
Fremont, CA 94539



David Chien
120 Flynn Ave. Apt D
Mountain View, CA 94043



David Chronowski
27835 Lauren
Harrison Twp, MI 48045



David Chung
1251 8th Ave, Apt 2
San Francisco, CA 94122



David Clayton Belleville
1708 Via Flores Ct
San Jose, CA 95132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 425 of
                                        1568
David Craig
3839 Webster st
Oakland, CA 94609



David Crane
2331 Winged Foot Road
Half Moon Bay, CA 94019



David Croker
551 Merrimac Dr.
Campbell, CA 95008



David DeNola
1902 Madison Ave.
Redwood City, CA 94061



David Dickey
4495 East Nightingale Lane
Gilbert, AZ 85298



David Dowdle
969 Huntington Common
Fremont, CA 94536



David Dress
566 23rd St. S
Arlington, VA 22202



David Duggan
5740 W. John Cabot Rd.
Glendale, AZ 85308




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 426 of
                                        1568
David Dupuis
34963 Skylark Dr.
Union City, CA 94507



David Duval
2508 Parkland Ct.
Santa Clara, CA 95051



David E Chen
48277 Hackberry St
Fremont, CA 94539



David Earl
17 La Fond Lane
Orinda, CA 94563



David Elisofon
279 Camino Al Lago
Atherton, CA 94027



David Ellsworth
227 Ramona St.
San Mateo, CA 94401



David Endler
603 Davis St. #1003
Austin, TX 78701



David Erkkila
4618 Crows Nest Ct
Brighton, MI 48114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 427 of
                                        1568
David Evers
3815 242nd Ave SE
Issaquah, WA 98029



David Feinberg
136 Winfield St
San Francisco, CA 94110



David Fowler
1310 W. Parmer Lane #203
Austin, TX 78727



David France
14835 S 7th St
Phoenix, AZ 85048



David Frederick Lyons, II
4497 Poinsettia Ct
San Jose, CA 95136



David Fribush
27977 Via Ventana Way
Los Altos Hills, CA 94022



David Fritz
409 N Columbus Street
Alexandria, VA 22314



David Fuentes
106 Ferris Street, 3L
Brooklyn, NY 11231




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 428 of
                                        1568
David Gabel
4516 highland terrace
Austin, TX 78731



David Gaines
33028 Maplenut
Farmington Hills, MI 48336



David Galvin
4105 Cat Hollow Dr
Austin, TX 78731



David Garcia
2317 Folsom St
San Francisco, CA 94110



David Gloede
1739 Vallejo St.
San Francisco, CA 94123



David Glover
1246 Noringside Drive
Sunnyvale, CA 94087



David Goodin
5501 Del Oro Ct
san jose, CA 95124



David Gottlieb
2716 Claridge Ct.
Dunwoody, GA 30360




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 429 of
                                        1568
David Greenspan
711 Pleasant Valley Ln
Aptos, CA 95003



David Griggs
2022 Wyoming Street
Saint Louis, MO 63118



David Gustavson
1946 Fallen Leaf Ln
Los Altos, CA 94024



David Gutelius
1259 El Camino Real #230
Menlo Park, CA 94025



David Hale
618 Benvenue Ave
Los Altos, CA 94024-4013



David Haley
8 Dudley Cir
Durham, NC 27703



David Hall
1296 W. Jeanine Dr.
Tempe, AZ 85284



David Hamilton
2856 Timberwyck Trail
Troy, MI 48098




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 430 of
                                        1568
David Hammerberg
12325 Emery Oaks Rd
Austin, TX 78758



David Hartzell
705 Lagunita Drive
Soquel, CA 95073



David Harutyunyan
551 Myrtle Ave 4L
Brooklyn, NY 11205



David Harvey
620 Gloucester Lane
Foster City, CA 94404



David Haykus
24508 New York
Dearborn, MI 48124



David Hayward
80 Crestline Dr #11
San Francisco, CA 94131



David Heine
800 Sonia Way
Mountain View, CA 94040



David Helms
2709 11th Street N
Arlington, VA 22201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 431 of
                                        1568
David Henderson
805 Knollwood Drive
Austin, TX 78746



David Hess
1058 Santa Clara #11`
Santa Clara, CA 95050



David Hiskens
2188 Lakeview Dr
Ypsilanti, MI 48198



David Hook
2718 E 22nd St.
Austin, TX 78722



David Howard
721 Menlo Ave #B
Menlo Park, CA 94025



David Hunt
4925 33rd Rd N
Arlington, VA 22207-2803



David J. Evers
3815 242nd Ave SE
Issaquah, WA 98029



David J. Evers_Loan
304 S. Broadway
Fallon, NV 89406




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 432 of
                                        1568
David Jarnagin
1310 Barrington Dr.
Austin, TX 78753



David Jennings
PO Box 336
Ben Lomond, CA 95005



David Johnson
222 E. Warren Cmn.
Fremont, CA 94539



David K. Matsumoto
6766 Hampton Dr.
San Jose, CA 95120



David Kadel
857 Cherry Creek Circle
San Jose, CA 95126



David Kaemmerer
7464 Prairietown road
Worden, IL 62097



David Kang
426 Capitol Ave.
San Francisco, CA 94112



David Karvani
One MedImmune Way
Gaithersburg, MD 20878




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 433 of
                                        1568
David Keister
7246 Woodbine Rd
Woodbine, MD 21797



David Kern
1949 E. University #107
Tempe, AZ 85281



David Kowalski
5465 tulane ave
toledo, OH 43611



David Krause
23835 N 21 Pl
Phoenix, AZ 85024



David Krueger
312 west 21st Street Apt 3E
NYC, NY 10011



David L. Greenspan
711 Pleasant Valley Ln
Aptos, CA 95003



David Lalush
1034 Matt Dr
Napa, CA 94558



David lam
1829 Camargo Drive
San Jose, CA 95132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 434 of
                                        1568
David Lang
1 Spinnaker Way
Berkeley, CA 94710



David Lau
770 Highland Ave
Piedmont, CA 94611



David Lawrence
2887 E Kelly Dr.
Gilbert, AZ 85298



David Lehman
5535 Memorial Dr Ste F #464
Houston, TX 77007



David Lin
20105 Northwind Sq
Cupertino, CA 95014



David Lin
19478 Miller Ct.
Saratoga, CA 95070



David Lin
2870 Stonecrest Way
San Jose, CA 95133



David Lindlief
3232 N. Ladera Circle
Mesa, AZ 85207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 435 of
                                        1568
David Lloyd
1111 N Mission Park Blvd #1048
Chandler, AZ 85224



David Loury
1476 Willard St
San Francisco, CA 94117



David Lucero
1931 W Bartlett Ct
Chandler, AZ 85248



David Ludeke
1 Encline Ct.
San Francisco, CA 94127



David Lyle
341 Pierce Street
San Francisco, CA 94117



David Lyon
211 Roxas St.
Santa Cruz, CA 95062



David Lyons
4497 Poinsettia Ct
San Jose, CA 95136



David M. Schmaier
PO Box 1126
Burlingame, CA 94011




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 436 of
                                        1568
David Maggiano
1314 E Beth Dr
Phoenix, AZ 85042



David Mahan
4605 S. Priest #1
Tempe, AZ 85282



David Marcantonio
722 Page St. #3
San Francisco, CA 94117



David Marvit
815 24th Ave
San Francisco, CA 94121



David Massey
15616 Prestancia Dr
Austin, TX 78717



David Mays
226 Paris Street
San Francisco, CA 94112



David Melcher
6273 Sequoia Dr.
Ypsilanti, MI 48197



David Melis
976 Stanford Avenue
Oakland, CA 94608




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 437 of
                                        1568
David Metz
225 Dogwood Drive
Fredericksburg, VA 22405



David Milligan
6239 Gentle Lane
Alexandria, VA 22310



David Mitchell
394 Davis Street
Northborough, MA 01532



David Moberly
3899 Magnolia Drive
Palo Alto, CA 94306



David Molter
520 South Brentwood Blvd Unit 1D
Clayton, MO 63105



David Moosavi
1755 East Bayshore Rd. Suite 26A
Redwood City, CA 94063



David Morales
12501 rush creek lane
Austin, TX 78732



DAVID MORETTI
3501 GORDON STREET
FALLS CHURCH, VA 22041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 438 of
                                        1568
David Morris
955 Ferdinand Ave.
Half Moon Bay, CA 94019



David Moseke
12587 Fair Lakes Cir
fairfax, VA 22033



David Munier
3340 St. Mary's Rd.
Lafayette, CA 94549



David Munier & Tara Munier
3340 St. Mary's Rd.
Lafayette, CA 94549



David Munoz
1974 Alford Ave
Los Altos, CA 94024



David Murphy
38658 Glencoe Drive
Fremont, CA 94536



David Mustelier
325 China Basin St. #112
San Francisco, CA 94158



David Newsome
5235 Diamond Heights
san francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 439 of
                                        1568
David Nichols
1640 Golden Gate Ave. #5
San Francisco, CA 94115



David Noble
857 Clearfield Dr.
Millbrae, CA 94030



David Noe
402 Sapphire St.
Redwood City, CA 94062



David Olivares
2121 S. Mill ave Suite 214
Tempe, AZ 85282



David Orenstein
1317 Macon Ave
Pittsburgh, PA 15218



David Orenstien
1317 Macon Ave
Pittsburgh, PA 15218



David Orris
15038 White Ave
Allen Park, MI 48101



David Ott
9 Crestwood Dr.
Saint Louis, MO 63105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 440 of
                                        1568
David Otto
705 Henry Ave
Ballwin, MO 63011



David Parisean
925 North Edison Ave.
Royal Oak, MI 48067



David Parks
250 E. Chicago St.
Chandler, AZ 85225



David Parrish
9586 S Darrow Dr
Tempe, AZ 85284



David Parvu
4024 Jackson St.
Dearborn Heights, MI 48125



David Patterson
263 Puffin Ct
Foster City, CA 94404



David Payne
2870 Cypress Ridge Ave.
San Jose, CA 95148



David Pellerin
3903 Bridgeberry Ct
College Station, TX 77845




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 441 of
                                        1568
David Pendleton
113 S. Galaxy Dr.
Chandler, AZ 85226



David Perlman
440 Moffett Blvd Spc 3
Mountain View, CA 94043



David Peterson
4050 Norwood St West
Georgetown, TX 78628



David Phelps
1314 w 3rd st
unit 2
Tempe, AZ 85282



David Pianka
3913 Cadwallder Ave
San Jose, CA 95121



David Pickerell
107 Reservoir Road
Atherton, CA 94027



David Pinckney
1367 Braided Rope Drive
Austin, TX 78727



David Power
Jamison, PA 18929




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 442 of
                                        1568
David Preston
432 Los Gatos Almaden Rd
Los Gatos, CA 95032



David Proctor
853 Vista Drive
Emerald Hills, CA 94062



David Richardson
1771 W Mariposa Ct.
Chandler, AZ 85224



David Richardson
625 W 1st Street
Apt 355
Tempe, AZ 85281



David Roberts
807 Aldo Ave. Ste. 107
Santa Clara, CA 95054



David Ross
43 Peninsula Rd
Belvedere Tiburon, CA 94920



David Ryan
3636 16th St NW, Apt A630
Washington, DC 20010



David Sachs
500 W 43rd St #27B
New York, NY 10036




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 443 of
                                        1568
David Sachtleben
600 North Pleasant Avenue
Centralia, IL 62801



david salaverry
344 Jones St #402
san francisco, CA 94102



David Salaverry
344 Jones Street, #402
San Francisco, CA 94102



David Sanders
24461 W. Norwood Dr.
Southfield, MI 48075-5532



David Schiffrin
141 Mercy St
Mountain View, CA 94041



David Schimon
374 11th St, Unit 5
San Francisco, CA 94103



David Schlessman
511 S Meramec Ave
St. Louis, MO 63105



David Schneider
431 Olmsted Rd
Stanford, CA 94305




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 444 of
                                        1568
David Scott
1099 23rd street #14
San Francisco, CA 94107



David Scurlock
265 Scurlock Farms Rd
Georgetown, TX 78626



David Shull
1164 Morse Ave unit 207
Sunnyvale, CA 94089



David Smith
5022 Rodgers Dr.
Clinton, MD 20735



David Smith
3312 E. Merlot St.
Gilbert, AZ 85298



David Smolarek
16425 Rougeway St
Livonia, MI 48154



David Solomon
58 Sala Terrace
San Francisco, CA 94112



David Sperman
165 Cambridge Ave
San Leandro, CA 94577




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 445 of
                                        1568
David Stueve
549 E. Tremaine Ave
Gilbert, AZ 85234



David Sywalski
1515 Jefferson Davis Highway Apt 103
Arlington, VA 22202



David Szarzynski
500 William Street Apt 405
Oakland, CA 94612



David Taylor
7508 Oxford Dr., Apt 1W
St. Louis, MO 63105



David Tibbs
2151 18th Ave
San Francisco, CA 94116



David Torrez
14900 Lipton Lane
Pflugerville, TX 78660



David Tran
4941 Seaview Ave
Castro Valley, CA 94546



David Treadwell
179 Trailblazer Dr
Bastrop, TX 78602




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 446 of
                                        1568
David Tu
645 Eastview Way
Redwood City, CA 94062



David Tullis
P.O. Box 410422
San Francisco, CA 94141



David Urbieta
360 Carnegie
Milpitas, CA 95035



David Valencia
2300 E. Magma rd. apt 114
San Tan Valley, AZ 85143



David Valencic
605 Brockhampton Lane, 301
Westerville, OH 43082



David Vannier
14776 via de Marcos
Saratoga, CA 95070



David Vasquez
65 La Mesa Dr.
Menlo Park, CA 94025



David Vasquez
65 La Loma Drive
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 447 of
                                        1568
David Villaverde
150 Hallock St
Pittsburgh, PA 15211



David Weinshenker
728 City Walk Place #7
Hayward, CA 94541



David Wheeler
4264 Grand River
Detroit, MI 48208



David Whitney
2040 Franklin Street Unit 1205
San Francisco, CA 94109



David Wiens
181 OFarrell St, Apt 502
San Francisco, CA 94102



David Williams
39939 Stevenson Blvd. #3053
Fremont, OK 74538



David Wilson
227 North Wakefield St
Arlington, VA 22203



David Wise
3714 Manorwood Rd.
Austin, TX 78723




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 448 of
                                        1568
David Wolf
3629 MacGregor Ln.
Santa Clara, CA 95054



David Wolfenbarger
530 E Phelps Ct
Gilbert, AZ 85295-1594



David Wurmfeld
901 Pollard St. #1701
Arlington, VA 22203



David Yanoshak
1506 Romeria Dr.
Austin, TX 78757



David Yost
6696 Buggywhip Court
San Jose, CA 95120



David young
pobox 21735
el sobrante, CA 94820



David Yuk Hei Wong
2362 Walsch Avenue
Santa Clara, CA 95051



David Zandman
1267 Page St. Apt. E
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 449 of
                                        1568
David Zehrbach
2943 E. South Fork Dr.
Phoenix, AZ 85048



Davis Page
530 S forest Ave. #2240
Tempe, AZ 85281



Davis Palmer
P.O. Box 1417
Pflugerville, TX 78691



Dawn Balinkski
10310 Breeden Road
Lusby, MD 20657



Dawn Balinski
10310 Breeden Road
Lusby, MD 20657



Dawn Cramer
1601 Magic Hill
Pflugerville, TX 78660



Dawn Lenz
726 Ruth Dr.
Pleasant Hill, CA 94523



Dawn Mcintosh
353 Heller St
Redwood City, CA 94063




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 450 of
                                        1568
Dawn Mondock
410 Frankin Ave #2
Pittsburghq, PA 15221



Dawn Murakami
18780 Aspesi Dr
Saratoga, CA 95070



Dayrl Snderson
726 Ruth Dr.
Pleasant Hill, CA 94523



De Lage Landen Financial Services
Attn: Current Corporate Officer
1111 Old Eagle School Road
Wayne, PA 19087



DE Lage Landen Financial Services, Inc
PO BOX 41604
Philadelphia, PA 19101



DE Lage Landen Financial Services, Inc
PO BOX 41605
Philadelphia, PA 19101



De Lage Landen Financial Services, Inc.
PO BOX 41606
Philadelphia, PA 19101



De Lage Landen Financial Services, Inc.
PO BOX 41606
Philadelphia, PA 94297




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 451 of
                                        1568
Dean Pierce
1817 N. Dobson Rd. Apt 2084
Chandler, AZ 85224



Dean Antolin
911 Crockett Ave
Campbell, CA 95008



Dean Barker
2877 Fernwald Road
Pittsburgh, PA 15217



Dean Chang
6598 Rainbow Dr.
San Jose, CA 95129



Dean Fjelstul
2 Summit Ct
Redwood City, CA 94062



Dean Fox
4029 Ambler Way
San Jose, CA 95111



Dean Lewandowski
2211 E Weldon
Phoenix, AZ 85016



Dean Merrifield
14546 Northline Road #15
Southgate, MI 48195




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 452 of
                                        1568
Dean Mulla
18690 Westview Dr
Saratoga, CA 95070



Dean Paavola
22031 N Van Loo Dr
Maricopa, AZ 85138



Dean Petrella
834 Monaca Rd
Monaca, PA 15061



Dean Reece
313 Bluefish Ct.
Foster City, CA 94404



Deana Tolentino
1724 Lodi Ave
San Mateo, CA 94401



Deandre Jamison
25061 Lyncastle
Farmington Hills, MI 48336



Deanne Williams
10406 Loring Dr.
Austin, TX 78750



Dear John Trailer Inc.
1618 Route 65
Ellwood City, PA 16117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 453 of
                                        1568
Deb Houghtaling
324 Hendrie Street Apt #24
Detroit, MI 48202



Deb Kilpatrick
151 Mountain View Ave.
Los Altos, CA 94024



Deb McQueen
776 Mansfield Dr.
San Jose, CA 95128



Debbie Davidson
7837 NE 112th Street
Kirkland, WA 98034



Debbie Harriman
14672 Gypsy Hill Rd
Saratoga, CA 95070



Debbie Latka
850 W Buno Rd
Milford, MI 48381



Debbie Mancuso
972 Katherine Court
San Jose, CA 95126



Debbie Zylstra
2424 E Barnhart Rd
Denair, CA 95316




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 454 of
                                        1568
Debi Fong
689 66th St.
Oakland, CA 94609



Deborah Bishopp
1880 E. Linorick Dr.
Chandler, AZ 85249



Deborah & John Bishopp
1880 E. Linorick Dr.
Chandler, AZ 85249



Deborah Nolen
777 W. Chandler Blvd. #1264
Chandler, AZ 85225



Deborah Smith Zylstra
2424 E Barnhart Rd
Denair, CA 95316



Debra Walker
921 Park Street SE
Vienna, VA 22180



Debra Bailey
105 Snapdragon Ct
Winston-Salem, NC 27130



Debra DiBiase
4686 Alex
San Jose, CA 95130




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 455 of
                                        1568
Debra Hara
10856 Linda Vista Dr.
Cupertino, CA 95014



Debra Jacobson
147 Brightmoor Dr.
Henderson, NV 89074



Debra Mischel
2302 MAYFIELD
ROUND ROCK, TX 78681



Debra Pope
1346 The Alameda, #7-202
San Jose, CA 95126



DeBray Carpenter
1474 Innes Ave.
San Francisco, CA 94124



Deep Patel
1551 W. Ramsey St.
Banning, CA 92220



Deepak Ramanathan
1053 Sonoma Ave
Menlo Park, CA 94025



Defne Civelekoglu
332 Pine St, Floor 8
San Francisco, CA 94104




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 456 of
                                        1568
Deirdre Visser
1350 Guerrero #3
San Francisco, CA 94110



Dejan Vucinic
2881 Meridian Ave. #247
San Jose, CA 95124



Del Barnwell
77 Shelly Ave
Campbell, CA 95008



Del Coates
7232 Via Vista
San Jose, CA 95139



Del Hatch
319 Texas St.
San Francisco, CA 94107



Del Roy Hatch
319 Texas St.
San Francisco, CA 94107



Delbert Friesen
9181 Willhelm Circle
Huntington Beach, CA 92646



DELETE Delete
120 Independence Drive
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 457 of
                                        1568
Delilah   Waldrip
2221 S Clark st. #717
Arlington, VA 22202



Demetris Roumis
11 Loyola Ter
San Francisco, CA 94117



Denis Britto
11148 Glade Drive
Reston, VA 20191



Denis Concordel
53 BIG TREE WAY
WOODSIDE, CA 94062



Denis Gray
25 E Braddock Rd
Alexandria, VA 22301



Denis Ivanov
2877 Chapman St, #A
Oakland, CA 94601



Denise Amling
660 4th St. #499
San Francisco, CA 94107



Denise Andersen
1050 Acacia Street
Montara, CA 94037




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 458 of
                                        1568
Dennis Aman
2976 Southwood Dr.
Alameda, CA 94501



Dennis Anderson
1228 S. Brentwood Ct.
Chandler, AZ 85286



Dennis Bashur
30630 Vernon Drive
Beverly Hills, MI 48025



Dennis Beaver
535 Placitas Ave
Menlo Park, CA 94025



Dennis Brozzo
442 Excelsior Ave.
San Francisco, CA 94112



Dennis Dowling
92 Garden Grove Drive
Daly City, CA 94015



Dennis Griffin
188 Minna St., Apt. 27F
San Francisco, CA 94105



Dennis Isken
509 Sunburst Dr.
Frankenmuth, MI 48734




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 459 of
                                        1568
Dennis Jones
10947 E. Sebring Ave.
Mesa, AZ 85212



Dennis Leary
80 Alta St
San Francisco, CA 94133



Dennis Lingad
1591 Greenwood Way
San Bruno, CA 94066



Dennis Lower, CEO CORTEX Innovation Comm
4320 Forest Park Ave., Ste 201
St. Louis, MI 63108



Dennis McCloud
8803 Edward Gibbs Place
Alexandria, VA 22309



Dennis Morrow
1661 Four Oaks Rd
San Jose, CA 95131



Dennis Noecker
201 Ada Ave # 42
Mountain View, CA 94043



Dennis Orgeron
2403 Tivoli Drive
Cedar Park, TX 78613




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 460 of
                                        1568
Dennis Smith
8981 E Captain Dreyfus Ave
Scottsdale, AZ 85251



Dennis Stewart
18247 Bayview Dr.
Los Gatos, CA 95033



Dennis Willis
32271 N North Butte Dr
San Tan Valley, AZ 85142



Dennis Wittekind
3009 Fresh Spring Rd
Pflugerville, TX 78660



Dennis Yang
742 Natoma St
San Francisco, CA 94103



Denny Steele
4153 El Camino Way #E
Palo Alto, CA 94306



Deno Fabbre
620 Audubon Dr
Clayton, MO 63105



Department of Taxation - VA
P. O. BOx 1777
Richmond, VA 23218-1777




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 461 of
                                        1568
Deqing Sun
330 E 49th St, 12C
New York, NY 10017



Derek Anderson
721 North 17th Street, apt. 509
St. Louis, MO 63103



Derek Baker
303 W. Thompson Pl.
Chandler, AZ 85286



Derek Basehore
1730 W El Camino Real, Apt 422
Mountain View, CA 94040



Derek Braun
2645 W. Flint St
Chandler, AZ 85224



Derek Chow
343 Santa Elena Terrace
Sunnyvale, CA 94085



Derek Diesburg
211 N Lindbergh Blvd
St Louis, MO 63141



Derek Gladding
1061 Fassler Ave
Pacifica, CA 94044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 462 of
                                        1568
Derek Julkowski
3 Swan Drive
Pittsburgh, PA 15237



Derek Lang
1645 via Laguna
San Mateo, CA 94404



Derek Owen
299 S. Kenwood Ave
Chandler, AZ 85226



Derek P. Young
3315 Gloucester Pl
Fremont, CA 94555



Derek Robinson
19357 Wreape Ave
Litchfield Park, AZ 85340



Derek Seney
815 Pershing Dr Apt 319
Silver Spring, MD 20910



Derek Young
3315 Gloucester Pl
Fremont, CA 94555



Derreck Barber
11654 Plaza America Drive Suite 631
Reston, VA 20190-4700




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 463 of
                                        1568
Derry Kabcenell
4900 Alpine Rd
Portola Valley, CA 94028



DeShawn Ray
6325 S. Nash Way
Chandler, AZ 85249



Desiree Ward
300 Milton Cv.
Pflugerville, TX 78660



Destiny Augustine
4508 Little Hill Circle
Austin, TX 78725



Detroit Band Saw Works Inc
P.O. Box 530566
Livonia, MI 48153



Devaraj Dhakshinamurthy
10020 Commonwealth Blvd
Fairfax, VA 22032



Devin Arnold
566 Carrick Ct
Sunnyvale, CA 94087



Devin Bergkamp
8080 N. 15th Drive
Phoenix, AZ 85021




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 464 of
                                        1568
Devin Clunn
3670 Charter Park Dr. Ste A
San Jose, CA 95136



Devin Drew
750 Van Ness Ave #1203
San Francisco, CA 94102



devin fell
519 parrott st
san jose, CA 95112



Devin Nickoloff
622 Haight St
San Francisco, CA 94117



Devin Seman
6901 Lynn Way
Pittsburgh, PA 15208



Devon Dill
1229 Itin street
Pittsburgh, PA 15212



Devon Ferguson
1648 Great Hwy
San Francisco, CA 94122



Devon Gelb
11132 E Clinton Street
Scottsdale, AZ 85259




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 465 of
                                        1568
Devon Luna
1648 Jacob Ave
San Jose, CA 95124



Devon McGuire
437 36th Street, #4
Oakland, CA 94609



Devon Winrick
48 Birch Street Apt 3
Redwood City, CA 94062



Devrath Iyer
2310 W Maplewood St
Chandler, AZ 85286



Dhananjay Joshi
PO Box 77377
Baton Rouge, LA 70879



Dharma Tamm
PO Box 14956
Stanford, CA 94305



Dheera Venkatraman
670 Live Oak Ave.
Menlo Park, CA 94025



Diana Huang
75 Folsom St Apt804
San Francisco, CA 94105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 466 of
                                        1568
Diana Petitti
1711 W. Lodge Drive
Phoenix, AZ 85041



Diana Prkacin
460 Francisco St. #302
San Francisco, CA 94133



Diane Jaros
250 King St. #1006
San Francisco, CA 94107



Diane Vasiliou-Scheffel
1142 Pome Ave.
Sunnyvale, CA 94087



Diane Danforth
8000 Christopher Wren Dr #316
Wexford, PA 15090



Diane Doran
21490 Mayfair
Woodhaven, MI 48183



Diane levinthal
956 wilmington way
redwood city, CA 94062



Diane Scheffel
1142 Pome Ave
Sunnyvale, CA 94087




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 467 of
                                        1568
Diane Webster
8735 Dexter
Detroit, MI 48206



Dianna Mendoza
1519 S Chestnut Circle
Mesa, AZ 85204



Dianna Adair
399 E Maude Ave.
Sunnyvale, CA 94085



Dianne Ferguson
8802 Balcones Club
Austin, TX 78750



Diante Murtaza
159 Central
North Versailles, PA 15137



Diego Rodriguez
940 Matadero St.
Palo Alto, CA 94306



Diego SBernardo
5559 Hobart St, 20
Pittsburgh, PA 15217



Dietrich Bragg
10834 Greene Drive
Lorton, VA 22079




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 468 of
                                        1568
Digital Paper Source
PO Box1066
Danville, CA 94526



Dillon Kwiat
953 Indiana Street
San Francisco, CA 94107



Dimitri Gudgenov
7312 Bonnie Ridge Ct.
Raleigh, NC 27615



Dimitrie Vincent
19454 Dalby
Redford, MI 48240



Dinah Sanders
556 Fell Street
San Francisco, CA 94102



DinChun Chen
3442 E Indigo St.
Gilbert, AZ 85298



Dio Nazzetta
4270 Albany, Apt H310
San Jose, CA 95129



Diptikanta Sandhibigraha
19480 Mayfield Ave
Livonia, MI 48152




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 469 of
                                        1568
Dipu Pramanik
12667 Cheverly Ct.
Saratoga, CA 95070



Dirk A. Kabcenell and Charlene C. Kabcen
4900 Alpine Rd
Portola Valley, CA 94028



Dirk Harms-Merbitz
PO Box 595
El Granada, CA 94018



Dmitri Koluch
7862 Midday Lane
Alexandria, VA 22306-2724



Dmitri Wolf
906 Capital Court, Unit A
Austin, TX 78756



Dmitri Zima
695 Bristol Dr 378
Hayward, CA 94544



Dmitriy Khatayevich
3150 Hoover St #B
Redwood City, CA 94063



Dmitry Shapiro
810 Fell St
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 470 of
                                        1568
DMV
PO Box 942897
Sacramento, CA 95663



Doaa Al_Esmaeel
1811 E. Apache Blvd. #2017
Tempe, AZ 85281



Doherty Steven
220 Haight ST
Menlo Park, CA 94025



Domingo Garcia III
134 Ridgewood Cove
Georgetown, TX 78633



Dominic Borg
1630 Bonita Ave.
Mountain View, CA 94040



Dominic Evangelista
2031 E Indigo Dr
Chandler, AZ 85286



Dominic Petty
1600 S Eads St #2315
Arlington, VA 22202



Dominion Virginia Power
P.O.Box 26543
Richmond, VA 23290-0001




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 471 of
                                        1568
Dominique Munoz
7364 Lee hwy Apt 102
Falls Church, VA 22046



Don Alden
1312 Nelson Way
Sunnyvale, CA 94087



Don Basile
21880 east river rd
grosse ile, MI 48138



Don Bonfoey
3 allegheny center apartment 501
Pittsburgh, PA 15212



Don Brager
220 20th Street South, Apt 508
Arlington, VA 22202



Don Cabaluna
705 CRANE AVE
FOSTER CITY, CA 94404



Don Carl Ferguson
1648 Great Highway
San Francisco, CA 94122



Don Chamberlain
1210 Kotenberg Av
San Jose, CA 95125-2353




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 472 of
                                        1568
Don Chennavasin
18826 Blythswood Dr
Los Gatos, CA 95030



Don Chesarek
280 Belblossom Way
Los Gatos, CA 95032



Don Chu
1828B River Crossing Circle
Austin, TX 78741



Don Curry
333 Leland Ave.
Menlo Park, CA 94025



Don Davis
13276 Darwin Lane
AUSTIN, TX 78729



Don DeBear
528 Downing Ave.
San Jose, CA 95128



Don Elthon
404 East Broad St
Falls Church, VA 22046



Don Fedorko
7814 S. Broadway
St. Louis, MO 63111




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 473 of
                                        1568
Don Ferguson
1648 Great Highway
San Francisco, CA 94122



Don Hackler
PO Box 62139
Sunnyvale, CA 94088



Don Hess
1000 York St.
Plymouth, MI 48170



Don Iacovoni
948 Dewey St
Plymouth, MI 48170



Don Johnson
3800 North Fairfax Drive
Arlington, VA 22203



Don Johnson
455 Elm Street
Indiana, PA 15701



Don Jones
601 Laurel Ave. #408
San Mateo, CA 94401



Don Knuth
1063 Vernier Place
Stanford, CA 94305




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 474 of
                                        1568
Don Lee
209 Lincoln Pl
Brooklyn, NY 11217



Don Mackenzie
1119 Rochioli Dr.
Windsor, CA 95492



Don Martin
2963 Green St
Lincoln Park, MI 48146



Don Newman
3773 Farm Hills Blvd.
Redwood City, CA 94061



Don Oh
20595 Debbie Ln
Saratoga, CA 95070



Don P. Jones Trust Dated May 10, 1984
601 Laurel Ave. #408
San Mateo, CA 94401



Don Pannell
10873 Wilkinson Ave.
Cupertino, CA 95014



Don Perlick
31181 Westhill
Farmington Hills, MI 48336




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 475 of
                                        1568
Don Price
21485 Silchester Ct.
Northville, MI 48167



Don Sheridan
16026 Lacona Cir
Woodbridge, VA 22191



Don Simpson
977 Kains Avenue
Albany, CA 94706



Don Stack
1900 N Calvert St. Apt 204
Arlington, VA 22201



Don Ukrainec
2131 Trenton Drive S
Trenton, MI 48183



Don Vince-Cruz
601 Alameda Drive # D4
Campbell, CA 95008



Don Wilde
300 W Gila Springs
Chandler, AZ 85226



Don Yuhasz
825 E. Evelyn Ave. #202
Sunnyvale, CA 94086




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 476 of
                                        1568
Donald Bradfield
4624 Rochester Rd
Royal Oak, MI 48073



Donald Van Court
2065 Flint Rock Loop
Driftwood, TX 78619



Donald Bennett
14 Woodside RD
Pittsburgh, PA 15221



Donald Chesarek
280 Belblossom Way
Los Gatos, CA 95032



Donald Coates
633 Maryland Ave NE
Washington, DC 20002



Donald Cober
5410 Kent Way
Pittsburgh, PA 15201



Donald Cook
1107 Nancy Jean Cove
Cedar Park, TX 78613



Donald Coupe
8945 Valcour Ave #2W
St. Louis, MO 63123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 477 of
                                        1568
Donald Duval
3462 Bonita Avenue
Santa Clara, CA 95051



Donald Glockner
119 RAPELYE ST
BROOKLYN, NY 11231



Donald Glockner
119 Rapelye
Brooklyn, NY 11231



Donald Klingbeil
200 California St. STE 300
San Francisco, CA 94111



Donald Ludwig
4806 Plainfield Dr.
San Jose, CA 95111



Donald Martin
2963 Green Street
Lincoln Park, MI 48146



Donald Price
21485 Silchester Ct.
Northville, MI 48167



Donald Stuart DeBear As Trustee of The D
528 Downing Ave.
San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 478 of
                                        1568
Donelle Reed
1878 7th Avenue
new york, NY 10017



Dong Phan
1821 W Campbell Ave
Campbell, CA 95008



Donna Cheng
220 E 95th St, Apt 3D
New York, NY 10128



Donna Dosik
13857 Gullane Drive
Woodbridge, VA 22191



Donna Hale
9409 FAIRVIEW AVE
Laurel, MD 20723



Donna Harris
4604 Mount Blanc Dr
Bee Cave, TX 78738



Donna Lehman
3952 Mt. Royal Blvd
Allison Park, PA 15101



Donna Lew
3065 Emerald Wind St.
Henderson, NV 89052




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 479 of
                                        1568
Donna Nicholas
915 Estudillo Ave
San Leandro, CA 94577



Donna Rosenlof
2110 E. Cindy St.
Chandler, AZ 85225



Donna Wong
1331 S Eads St #1402
Arlington, VA 22202



Donnie Barnes
200 Carefree Way
Chapel Hill, NC 27516



Donovan Mott
2941 E. Megan St.
Gilbert, AZ 85295



Donya White
2298 Cornell St
Palo Alto, CA 94306



Doreen O'Donovan
629 E JULIAN ST
San Jose, CA 95112



Dorian DAGNAS
1950 Golden Gate
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 480 of
                                        1568
Doron Markus
1336 Pearl St
Alameda, CA 94501



Dorothy Smith
6121 Blantyre Rd.
Broad Run, VA 20137



Dottie Larson
24044 Oak Knoll Circle
Los Altos, CA 94022



Doug Kusey
4106 Tablerock Dr
Austin, TX 78731



Doug Osterfeld
2500 Takata Dr
Auburn Hills, MI 48329



Doug Yukihiro
1533 Crespi Dr
San Jose, CA 95129



Doug Bend
88 King St #1019
San Francisco, CA 94107



Doug Busch
2795 Horse-n-Round Lane
Penryn, CA 95663




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 481 of
                                        1568
Doug Busch
P.O.Box 740810
Los Angeles, CA 90074



Doug Chang
1057 Saginaw Terrace, unit 101
Sunnyvale, CA 94089



Doug Cheek
2360 Shibley Ave
San Jose, CA 95125



Doug Crowder
169 Charles Ave.
Sunnyvale, CA 94086



Doug Dale
3017 Riverdale Ave Apt 4B
Bronx, NY 10463



Doug Dodd
15034 Dickens Ave
San Jose, CA 95124



Doug Eichert
1309 Alegria Rd
Austin, TX 78757



Doug Faunt
6405 Regent St.
Oakland, CA 94618




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 482 of
                                        1568
Doug Janowski
1000 Lower Elgin Rd.
Elgin, TX 78621



Doug Jones
5441 S. Wesley
Mesa, AZ 85212



Doug Larson
2770 Pruneridge Avenue
Santa Clara, CA 95051



Doug May
1129 South Shelter Bay
Hercules, CA 94547



Doug McCoy
268 Willard North Street
San Francisco, CA 94118



Doug McEwan
1320 Crooks Rd, apt 101
Royal Oak, MI 48067



Doug Mytty
6 Harmony Lane
Carbondale, CO 81623



Doug Pan
317 Bowsman Ct
Oakland, CA 94601




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 483 of
                                        1568
Doug Seelig
20894 Waveview Dr
Topanga, CA 90290



Doug Shortes
1108-A Bryant Street
San Francisco, CA 94103



Doug Tozzini
114 Myrtle St.
Redwood City, CA 94062



Douglas Bourne
1114 Linda Drive
Campbell, CA 95008



Douglas Craig
713 Garden Meadow Dr
Georgetown, TX 78628



Douglas Dale
3017 Riverdale Ave.
Apt #4B
Bronx, NY 10463



Douglas Dickerson
11 Haight St. #2
San Francisco, CA 94102



Douglas Faunt
6405 Regent St.
Oakland, CA 94618




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 484 of
                                        1568
Douglas Fritz
306 Elm Grove Ave
Hazelwood, MO 63042



Douglas Gritzinger
2879 Abingdon St
Arlington, VA 22206



Douglas Harakal
36 Abbey St
San Francisco, CA 94114



Douglas Marrs
5350 E Jacob Waltz St
Apache Junction, AZ 85119



Douglas Myers
8940 Nesbit Lakes Dr.
Alpharetta, GA 30022



Douglas Oliver
19540 Lennane
Redford, MI 48240



Douglas Pan
317 Bowsman Ct
Oakland, CA 94601



Douglas Ponciano
4038 Kelvington Ct
San Jose, CA 95121




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 485 of
                                        1568
Douglas Purvis
P.O. box 270133
Austin, TX 78727



Douglas Rhode
32743 Hearthstone Rd.
Farmington Hills, MI 48334



Douglas Rieck
1177 Howard
San Francisco, CA 94103



Douglas Rosner
18141 GlennGarry Dr
Livonia, MI 48152



Douglas Ruth
324 Kenmore Ave.
Sunnyvale, CA 94086



Douglas Taphouse
610 Bennington Drive
Silver Spring, MD 20910



Douglas Tihen
111 George Bush Blvd.
Troy, IL 62294



Douglas Weston
97 Shadyside Avenue
Port Washington, NY 11050




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 486 of
                                        1568
Douglas Wood
340 Arco Ct.
San Jose, CA 95123



Douglas Wright
175 Ortega Ave
Mountain View, CA 94040



Douglas Younger
695 Tasman Drive Apt 3224
Sunnyvale, CA 94089



Douglas Zimmerman
8880 Ashgrove Ln
Vienna, VA 22182



Drake Moore
47 View St
Los Altos, CA 94022



Draven Francisco
1072 W Morelos St
Chandler, AZ 85224



Drew Chidester
912 Summit Dr
Wexford, PA 15090



Drew Hamilton
323 53rd St. APT 1
Brooklyn, NY 11220




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 487 of
                                        1568
Drew Hammitt
4343 N Pershing Drive
Arlington, VA 22203



Drew Kutlik
6900 Koll Center Pkwy #401
Pleasanton, CA 94566



Drew Lentz
11 4th Place Apt 3A
Brooklyn, NY 11231



Drew Lentz
111 4th Place
Apt Number 3 A
Brooklyn, NY 11231



Drew Robinson
1119 Alabama
San Francisco, CA 94110



Drew Thomas
7024F Pennsylvania Avenue
St. Louis, MO 63111



DTE Energy
P.O. Box 740786
Cincinnati, OH 45274-0786



Duane Rothacher
586 Curie Dr
San Jose, CA 95123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 488 of
                                        1568
Duane Hess
4016 Orme St
Palo Alto, CA 94306



Duane Phinney
645 San Jose Avenue
San Francisco, CA 94110



Duane Pinkerton
5453 Roberts Ave
OAKLAND, CA 94619



Dudley Chamberlin
1411 El Camino Real #203
Burlingame, CA 94010



Duke Cox
7480 E Jolly Rogue Ln
Williams, AZ 86046



Duleesha Kulasooriya
1628 Alemany Blvd
San Francisco, CA 94112



Duncan Marks
1143 W. 10th st
Tempe, AZ 85281



Duncan Anderson
550 14 Rd South Apt 523
Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 489 of
                                        1568
Duncan Lord
1714 Elizabeth St.
San Carlos, CA 94070



Duncan McNamara
4 Gaylord Court
San Carlos, CA 94070



Duncan Palm
18704 E. Mary Ann Way
Queen Creek, AZ 85142



Duncan Werner
1233 Howard Street, Apt. 3F
San Francisco, CA 94103



Duquesne Light Company
Payment Processing Center
PO Box 10
Pittsburgh, PA 15230



Duran Mapson
27300 ParkView compound Apt 7305
Warren, MI 48092



Durb Curlee
232 N. Kingshighway Blvd., Unit 2302
Saint Louis, MO 63108



Dustin Byford
1151 De Haro St
San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 490 of
                                        1568
Dustin Coker
1551 Madison Street. #306
Oakland, CA 94612



Dustin Pfannenstiel
11400 Domain Dr. #5102
Austin, TX 78758



Dustin Robbins
3600 S Glebe Rd Unit 720
Arlington, VA 22202



Dustin Smith
1900 R St SE
Washington, DC 20020



Dustin Williams
155 E. Frye Rd.
Chandler, AZ 85225



Dustin Yautz
216 RIDC Park West Dr.
Pittsburgh, PA 15275



DW Williams
PO Box 248
Warhougal, WA 98671



Dwain Osborne
13125 Old Gregg Ln
Manor, TX 78653




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 491 of
                                        1568
Dwayne Anderson
85 Cleary Court #2
San Francisco, CA 94109



Dwayne Barlow
209 Vista Ln.
Georgetown, TX 78633



Dylan Barlett
4225 N #4 Henderson Rd
Arlington, VA 22203



Dylan Covington
533 w 17th street
Tempe, AZ 85281



Dylan Dey
16607 Burning Glade
San Antonio, TX 78247



Dylan Drummond
2665 Velvet Way
Walnut Creek, CA 94596



Dylan Eacret
951 Jackson St
San Francisco, CA 94133



Dylan Erb
610 S. Melborn St.
Dearborn, MI 48124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 492 of
                                        1568
Dylan Hively
1431 Rosalia Avenue
San Jose, CA 95130



Dylan Lovett
2130 Fell Street, APT 4
San Francisco, CA 94117



Dylan Mascarella
639 W 3rd St
Tempe, AZ 85281



Dylan Mascarella
639 W. 3rd St.
Tempe, AZ 85281



E.Louise Larson
5121 Dearborn St
Pittsburgh, PA 15224



Earl Brown
130 Legacy Park Circle
Dearborn Heights, MI 48127



Earl Powell
1050 Borregas Ave. #92
Sunnyvale, CA 94089



Earl Scott
327 Thomposon Ave
Turtle Creek, PA 15145




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 493 of
                                        1568
Early Growth Financial Services
P.O.Box 740809
Los Angeles, CA 90074



Earthlink Business
1058 PO Box 2252
Birmingham, AL 35246



Easton Piaget
3708 Sacramento Street
San Francisco, CA 94118



Eastwick Communication, Inc
222 Kearny Street Suite 400
San Francisco, CA 94108



Echo International
Three Gateway Center Floor 14
West Pittsburgh, PA 35246



Ed & Julie Hall
1528 Constanso Way
San Jose, CA 95129



Ed Bardsley
13100 Byrd Lane
Los Altos Hills, CA 94022



Ed Cardinal
1341 University Drive
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 494 of
                                        1568
Ed Cirimele
1573 Gretel Lane
MOUNTAIN VIEW, CA 94040



Ed Haazer
17 Skyline drive
Woodside, CA 94062



Ed Hall
1528 Constanso Way
San Jose, CA 95129



Ed Korthof
126 Jersey St.
San Francisco, CA 94114



Ed Niemeyer
2217 E Frye Rd
Chandler, AZ 85225



Ed Ulibarri
PO Box 1466
Mesa, AZ 85211



Eddie Lee
1463 Bittern Dr.
Sunnyvale, CA 94087



Eddie Pavlu
499 Mill River Ln
San Jose, CA 95134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 495 of
                                        1568
Eddie Saurenman
6337 Southwood Ave 3W
Clayton, MO 63105



Eddie Williams
225 Butte Drive Apt C
Los Osos, CA 93402



Eddy Lopez
1230 Palou Ave.
San Francisco, CA 94124



Eddy Vromen
430 East Okeefe Apt 203
Palo Alto, CA 94303



Eden Sherry
548 Market St. #40486
San Francisco, CA 94104



Edgar Wagner
97 Aberdeen Pl
Clayton, MO 63105



Edgar Aguirre
2785 S. Bascom Ave #48
Campbell, CA 95008



Edgar Malave
227 Telluride Dr.
Georgetown, TX 78626




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 496 of
                                        1568
Edgar Manriquez_Sandoval
615 S Hardy Dr Apt 1245
Tempe, AZ 85281



Edison Ditto
511 Bellwood Dr
Santa Clara, CA 95054



Edison Siu
6945 E. Cheney Dr.
Paradise Valley, AZ 85253



Edith Root-CLARK
6306 Tamerlane Dr
West Bloomfield Township, MI 48322-2377



Edmond Soun
862 37th St
Oakland, CA 94608



Edmund Dupont
209 Johnston St.
New Braunfels, TX 78130



Edoardo Croce
452 Eureka Street
San Francisco, CA 94108



Eduard Gorina
3225 Upper Lock Ave.
Belmont, CA 94002




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 497 of
                                        1568
Eduardo Bustamante
351 Modrid St
San Francisco, CA 94112



Eduardo Moreno
1045 Noel Dr.
Menlo Park, CA 94025



Eduardo Serrano
1303 Montgomery st
San Francisco, CA 94133



Edward Bulin
3706 17th St
Arlington, VA 22207



Edward Engel
1521 Washington Ave
St. Louis, MO 63103



Edward & Deborah Harriman
14672 Gypsy Hill Rd
Saratoga, CA 95070



Edward Ash
850 John Carlyle Street; #336
Alexandria, VA 22314



Edward Bailey
105 Snapdragon Ct
Cary, NC 27513




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 498 of
                                        1568
Edward Calvey
2610 E. 2nd Street
Austin, TX 78702



Edward Chen
88 E. San Fernando St Unit 1811
San Jose, CA 95113



Edward Cheung
555 4th St. #833
San Francisco, CA 94107



Edward Clapper
101 East Riviera Drive
Tempe, AZ 85282



Edward Conger
1064 Hickorynut Ct
Sunnyvale, CA 94087



Edward DeVaucorbeil
2317 S. Pleasant Valley Rd - APT 826
Austin, TX 78741



Edward Dobner
100 I St. SE Apt 804
Washington, DC 20003



Edward Edjourian
3378 E. Devonshire ave
Gilbert, AZ 85297




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 499 of
                                        1568
Edward Eugenio
11 S Central Ave., #1508
Phoenix, AZ 85004



Edward Gilbert
168 Glacier St
Woodland, CA 95695



Edward Harriman
14672 Gypsy Hill Rd
Saratoga, CA 95070



Edward Harris
556 Boden Way #5
Oakland, CA 94610



Edward Hartman
1982 Dakin Ave
Menlo Park, CA 94025



Edward Holman
3026 Angelina
Round Rock, TX 78665



Edward Hudgins
1301 N. Quintana St
Arlington, VA 22205



Edward Kang
2501 9th Rd S #533
ARLINGTON, VA 22204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 500 of
                                        1568
Edward Koch
208 Devon Dr.
San Rafael, CA 94903



Edward Korthof
126 Jersey St.
San Francisco, CA 94114



Edward L Koch
208 Devon Dr.
San Rafael, CA 94903



Edward Li
520 N Daisy Ave
Pasadena, CA 91107



Edward Madden
901 brantford ave
silver spring, MD 20904



Edward Marks
30 Walter St
San Francisco, CA 94114



Edward Nolan Leake and Tennille Marie Ch
1788 Elsie Ave.
Mountain View, CA 94043



Edward Plaza
885 Highview
Dearborn, MI 48128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 501 of
                                        1568
Edward S. Conger
1064 Hickorynut Ct
Sunnyvale, CA 94087



Edward Savage
108 Parkspring Ct
Cary, NC 27519



Edward thomas
18554 blakely dr
woodhaven, MI 48183



edward villegas
14837 elton drive
san jose, CA 95124



Edward Vinces
915 Park Pacifica
Pacifica, CA 94044



EdwardSr Cardinal
1132 Kayellen Ct
San Jose, CA 95125



Edwin Montgomery
103 Overdale Rd
Pittsburgh, PA 15221



Edwin Aoki
115 Stadler Dr.
Woodside, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 502 of
                                        1568
Edwin Chang
1215 45th St
Emeryville, CA 94608



Edwin Gaddis
3100 Clarendon Blvd Ste 200
Arlington, VA 22201



Edwin Hall
1528 Constanso Way
San Jose, CA 95129



Edwin McPherson
3629 Eagles Nest St
Round Rock, TX 78665



Effatina Behjat
1268 Bouret Dr. Unit 4
San Jose, CA 95118



Ehoud Amos
530 Showers Dr Apt 7-236
Mountain View, CA 94040



Eiji Jimbo
ATTN: Emily Gallivan
1728 Parker St.
Berkeley, CA 94703



Eiji Kobayashi
1154 Eddy Street, Unit D
San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 503 of
                                        1568
Eileen Kuletz-Burke
607 N. Tazewell Street
Arlington, VA 22203



EJ Brown
1006 Rebecca Drive
Austin, TX 78703



EJ Swanson
668 Jamaica
Troy, MI 48083



Eknoor Dhillon
49198 Dominion Ct
Canton, MI 48187



Elaina Jacob
5818 Stanton Ave Apt 4
Pittsburgh, PA 15206



Elaine Drake
327 Curie Dr.
San Jose, CA 95119



Elaine Uang
321 Kipling Street
Palo Alto, CA 94301



Elaine Wherry
334 Santana Row APT 335
San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 504 of
                                        1568
Elaine Wong
175 Bellavista Drive
Hillsborough, CA 94010



Elana Quint
13201 N. 7th Dr.
Phoenix, AZ 85029



Eldar Causevic
7552 Wydown Blvd 1E
Saint Louis, MO 63105



Eleanor Lawson
689 South 6th St.
San Jose, CA 95112



Elecia White
2604 Camloop Dr.
San Jose, CA 95130



Elena Ilieva
3112 Lindenwood Dr
Dearborn, MI 48120



Eli B. Wenger
414 South Graham Street
Pittsburgh, PA 15232



Eli Gabriele
4250 E. Hartford Ave
Phoenix, AZ 85032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 505 of
                                        1568
Eli McGlothern
403 West 11th
Tempe, AZ 85281



Eli Phillips
10305 Stubble Quail Circle
Austin, TX 78758



Eli Wiel
331 Infantry Terrace
San Francisco, CA 94129



Eli Zajicek
1606 Blue Meadow Rd
Rockville, MD 20854



Elias Fedorowski
800 Jefferson St
Oakland, CA 94607



Elias Senter
2903 Traymore Lane
Bowie, MD 20715



Eliezer Ramos
3110 Orthello Way
SANTA CLARA, CA 95051



Elijah Guinanao
10300 E Calle Decamso
Tucson, AZ 85749




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 506 of
                                        1568
Elijah Phillips
9500 Jollyville Rd
# 164
Austin, TX 78759



Eliot Barker
2987 22nd St
San Francisco, CA 95134



Eliot Brown
19 Moss St #4
San Francisco, CA 94103



Eliot Tarlov
379 Eureka St
San Francisco, CA 94114



Elisa jo
555 4th St Unit 102
San Francisco, CA 94107-1604



Elisa Wiel
331 infantry terrace
San Francisco, CA 94129



Elise DeChard
523 Highland Ave
Pontiac, MI 48341



Elise Engelhardt
349 Avenida Arboles
San Jose, CA 95123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 507 of
                                        1568
Elisha Peck
2209 Henslowe Dr
Raleigh, NC 27603



Elissa Maune
1945 Berkeley Way #129
Berkeley, CA 94704



Elissa Wolf
4990 Columbia Pike, Apt 508
Arlington, VA 22204



Eliza Nguyen
660 4th Street #431
San Francisco, CA 94107



Elizabeth Michelle Brant
7427 E Thunderhawk Rd
Scottsdale, AZ 85255



Elizabeth Moore
130 Carl St
San Francisco, CA 94117



Elizabeth Palombo
630 N. Woodlawn Ave.
St. Louis, MO 63122



Elizabeth Welder
po box 151513
Austin, TX 78715




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 508 of
                                        1568
Elizabeth Barley
2808 Saint Mary's View Road
Accokeek, MD 20607



Elizabeth Bauer
460 Sunshine Circle
Ashland, OR 97520



Elizabeth Bender
6045 Kingsbury
St. Louis, MO 63112



Elizabeth Bifano
6450 Golfview Street
Garden City, MI 48135



Elizabeth Broomall
100 E. McDowell Rd
Phoenix, AZ 85004



Elizabeth Chiarelli
104 Stewart Ave. #4
Arlington, VA 22301



Elizabeth Dombrowski
2700 S Adams St #407
Arlington, VA 22206



Elizabeth Emond
5812 Bush Hill Drive
Alexandria, VA 22310




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 509 of
                                        1568
Elizabeth Geerling
4353 Westminster Pl
Saint Louis, MO 63108



Elizabeth Greer
244 Johnson Ave.
Los Gatos, CA 95030



Elizabeth Klasek
6557 Creek Run Dr
Centreville, VA 20121



Elizabeth Larson
5121 Dearborn St
Pittsburgh, PA 15224



Elizabeth Lee
701 Canyon Bend
Pflugerville, TX 78660



Elizabeth Lira
234 S 11th St
San Jose, CA 95112



Elizabeth Lopez
325 Arleta Ave.
San Francisco, CA 94134



Elizabeth Mistler
1038 Lafeyette Drive
Yandley, PA 19067




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 510 of
                                        1568
Elizabeth Munnelly
218 N. Tomahawk Island Drive
Portland, OR 97217



Elizabeth Neely
501 Slaters Lane
Alexandria, VA 22314



Elizabeth Newell
24 Henderson Place
Menlo Park, CA 94025



Elizabeth Pollom
2035 Amherst St
Palo Alto, CA 94306



Elizabeth Saeger
1526 N. Lafayette
Dearborn, MI 48128



Elizabeth Shaya
2221 S Clark St
Arlington, VA 22202



Elizabeth Siemanski
350 Arguello Blvd.
San Francisco, CA 94118



Elizabeth Smith
9801 Stonelake Blvd
#2036
Austin, TX 78759




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 511 of
                                        1568
Elizabeth Spracklen
1190 Talley Loop
Buda, TX 78610



Elizabeth torrance
1007 86th Ave AptB
Oakland, CA 94621



Elizabeth Willits
25050 Riding Plaza,
Suite 130-182
Chantilly, VA 20152



elizabeth willits
25050 Riding Plz #130-182
chantilly, VA 20152



Elizabeth Wolf
7701 Beech Tree Ln.
Bethesda, MD 20817



Elizabeth Woll
2400 24th St.
San Francisco, CA 94110



Elizabeth Woodfill
560 Chapman Dr.
Campbell, CA 95008



Elke Augustino
4609 25th Street
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 512 of
                                        1568
Ella Suter
5930 Bush Hill Drive
Alexandria, VA 22310



Elle Stapleton
341 Clement St.
San Francisco, CA 94118



Ellen Chisa
616 11th Ave. E.
Seattle, WA 98102



Ellen Cousins
14330 Cordwood Ct
Saratoga, CA 95070



Ellen Dombrowski
11336 Van Gilder Rd
Delevan, NY 14042



Ellen Isaacs
2162 Coroner Dr
San Jose, CA 95124



Ellen Ocampo
2475 Post Street
San Francisco, CA 94115



Ellen Ridjway
575 Elizabeth St.
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 513 of
                                        1568
Ellen Wang
1357 Webster Street
Palo Alto, CA 94301



Ellie Flanigan
8609 Aponi Rd
Vienna, VA 22180



Ellie Sonnenwirth Weisz
7733 Delmar Blvd
St. Louis, MO 63130



Elliot Roe
25 Camp St APt 5
San Francisco, CA 94110



Elliot Kopitske
4327 Grace Ave
St. Louis, MO 63116



Elliot Roth
3400 Prospect St NW
Washington, DC 20007



Elliot Sanders
15-2662 Pahoa Village Road, Ste 306-8632
Pahoa, HI 96778



Elliot Seibert
315 U Street
Washington, DC 20001




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 514 of
                                        1568
Elliott Hobbs
1317 E. Coolidge Street
Phoenix, AZ 85014



Elliott Martin
PO Box 1116
Santa Fe, NM 87504



Elliott Rosner
722 N Buchanan St
Arlington, VA 22203



Elliott Williams
5407 black st
pittsburgh, PA 15206



Ellyn Cox
1900 McNair PL
Saint Louis, MO 63301



Elodie Corrie
2732 13th Ave
Oakland, CA 94606



Elon Smith
8213 Light Horse Ct
Arlington, VA 22003



Elon Smith
8213 Light Horse Court
Annandale, VA 22003




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 515 of
                                        1568
Elroy Grandy
882 5th st
Wyandotte, MI 48192



Elva Groves
11102 Spicewood Club
Austin, TX 78750



Ely Albalos
1690 Monte Vista Dr
Hollister, CA 95023



Elymar Vargas
18941 Quiet Oak Lane
Germantown, MD 20874



Elyse McDonald
218 Haight Street #2
San Francisco, CA 94107



Emerson Beech
205 Elva Drive
Aptos, CA 95003



Emerson Glassey
380 Maple St.
Willits, CA 95490



Emerson SwanII
210 Crest Rd.
Woodside, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 516 of
                                        1568
Emerson SwanIII
210 Crest Road
Woodside, CA 94062



Emil Forsman
748 Tuttle Ave
Watsonville, CA 95076



Emilia Feria
1688 Tacoma Ave
Berkeley, CA 94707



Emilio Couchee
8498 E Twisted Leaf
Gold Canyon, AZ 85118



Emilio Zacarias
221 Crest Trail
San Antonio, TX 78232



Emily Ward
1229 divisadero st
San Francsico, CA 94115



Emily Agostino
6 Willow Lane
Londonderry, NH 03053



Emily Alcazar
683 e Fairview Ct
Gilbert, AZ 85295




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 517 of
                                        1568
Emily Barbara
3309 E Flossmoor Ave
Mesa, AZ 85204



Emily Beighley
149 Elm Street
San Mateo, CA 94401



Emily Dunlap
2166 Tower Grove Ave
St. Louis, MO 63110



Emily Dunlap
2166 Tower Grove Ave,
Apt #1s
St. Louis, MO 63110



Emily Elhoffer
119 Peruque Estates Lane
Wentzville, MO 63385



Emily Eustace
205 Hanna Way
Menlo Park, CA 94025



Emily Hunt
4925 33rd Rd N
Arlington, VA 22207-2803



Emily Kellison-Linn
2802 Louis Rd.
Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 518 of
                                        1568
Emily Kistler
66 Spring St
Marion, MA 02738



Emily Kuhlman
4265 Cleveland Avenue
St. Louis, MO 63101



Emily Lysyk
7458 E. Clovis Cir.
Mesa, AZ 85208



Emily Ma
100 Forest Ave.
Palo Alto, CA 94301



Emily Obert
4240 Cass Ave Apt 215
Detroit, MI 48201



Emily P Quesada
1629 Green St.
San Francisco, CA 94123



emily Peters
4155 Magnolia Ave apt # 5
St. Louis, MO 63110



Emily Pryor-Slade
2443 Fillmore Street #333
San Francisco, CA 94115




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 519 of
                                        1568
Emily Quesada
1629 Green St.
San Francisco, CA 94123



Emily Ramos
44065 Owl Drive
Fremont, CA 94539



Emily Shields
2060 Leavenworth Street Apt 1
San Francisco, CA 94133



Emily Winston
1373 Fountain St.
Alameda, CA 94501



Emily Woods
312 Laurel Way
Mill Valley, CA 94941



Emily Wray
5016 Deville Ave.
St. Louis, MO 63108



Emma Blankespoor
276 Charles Marx Way
Palo Alto, CA 94304



Emma Bodell
107 Reservoir Rd
Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 520 of
                                        1568
Emma Camell
131 Malberry
New York, NY 10013



EMMA HINNIGAN
PO BOX 71994
OAKLAND, CA 94612



Emma Howell
4204 E Ravenswood Dr
Gilbert, AZ 85298



Emma Knight
1108 North East 15th Place
Gainsville, FL 32601



Emma Nowlin
2107 S Grand Blvd Apt 1000
St. Louis, MO 63104



Emma Rose Mahoney-Rohrl
2230 Caremlita Drive
San Carlos, CA 94070



Emma Waldspurger
517 Georgia Ave.
Palo Alto, CA 94306



Emmanuel Atsin
26 Muirwood Dr.
Daly City, CA 94014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 521 of
                                        1568
Emmanuel Wilson
1117 10th St NW, Unit 1104
Washington, DC 20001



Emmett Cunningham
195 Rizal Drive
Hillsborough, CA 94010



Emmett Nelson
2155 Prospect St
Menlo Park, CA 94025



Emory Dunn
4325 Salem Street
Emeryville, CA 94608



Employment Development Department
Bankruptcy Unit-MIC 92E
P.O. Box 826880
Sacramento, CA 94280-0001



Endeavour Inc.
45949 Warm Springs Blvd.
Fremont, CA 94539



Ennis Olson
340 Ulloa St
San Francisco, CA 94127



Enrique Romero
212 Cowper St.
Palo Alto, CA 94301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 522 of
                                        1568
Entrust Carolinas, LLC FBO Matthew Ho IR
2121 Peralta St. Ste #125
Oakland, CA 94607



Eoin Keane
275 Hawthorne Ave Apt 142
Palo Alto, CA 94301



Eoin Keane
555 Mission Rock Street Unit 626
San Francisco, CA 94158



Epilog Corporation
16371 Table Mountain Parkway
Golden, CO 80403



Epilog Laser
16371 Table Mountain Pkwy,
Golden, CO 80403



Equifax Information Services
P.O. Box 740256
Atlanta, GA 30374



Eri Takahashi
1306 Dartmouth St
Albany, CA 94706



Eric Doyle
322 Laurel Ave
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 523 of
                                        1568
Eric Havenhill
10165 Abrams Fork
Brighton, MI 48114



Eric Kustarz
1105 Fell St. #2
San Francisco, CA 94117



Eric Shrewsberry
3572 Arbytre Ave
Palo Alto, CA 94303



Eric Timmerman
25 Nickelby Ct
Damascus, MD 20872



Eric Wolter
2340 Delaware Dr
Saint Louis, MO 63303



Eric Wood
4024 E Flower Ave
Mesa, AZ 85206



Eric Acosta
20427 Bloomingville Ct
Germantown, MD 20876



Eric Baker
113 Kirkwood
PGH, PA 15215




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 524 of
                                        1568
Eric Bitondo
1521 Fallen Leaf Lane
Los Altos, CA 94024



Eric Butler
2137 Samaritan Drive
San Jose, CA 95124



Eric Carlson
Laurel Glen Terrace
San Rafael, CA 94903



Eric Cavazos-Smith
920 Bluebonnet Drive
Sunnyvale, CA 94086



Eric Chamberlain
4449 18th St
San Francisco, CA 94114



Eric Corley
3105 Rabbits Tail Dr
Leander, TX 78641



Eric Dahl
330 13th St. #302
Oakland, CA 94612



Eric Danch
180 Clifford Terrace Apt. 7
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 525 of
                                        1568
Eric DeFeo
770 Bariszamo Rd. #204
Redwood City, CA 94063



Eric Eaton
1075 Syracuse Dr.
Sunnyvale, CA 94087



Eric Edwards
288 Whitmore Street #403
Oakland, CA 94611



Eric Eggel
2816 Stemple Ct.
San Jose, CA 95121



Eric Escamilla
1480 S. Rural Rd.
Tempe, AZ 85281



Eric Frasch
3212 BAKER ST
SAN FRANCISCO, CA 94123



Eric Fredricksen
170 Stacia St
Los Gatos, CA 95030



Eric Glassey
380 Maple St.
Willits, CA 95490




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 526 of
                                        1568
Eric Glover
260 King St #527
San Francisco, CA 94107



Eric Haengel
2525 10th St N
Arlington, VA 22201



Eric Hanson
855 Folsom st apt#120
San Francisco, CA 94107



Eric Hay
5821 22nd St N
Arlington, VA 22205



Eric Hepfinger
4550 S Fresno St
Chandler, AZ 85249



Eric Hess
1505 De Rose Way, Apartment #139
San Jose, CA 95126



Eric Hsiung
1523 Asbury Place
Pittsburgh, PA 15217



Eric Jackson
2221 South Clark Street
Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 527 of
                                        1568
Eric Jacobson
2391 Downing Ave.
San Jose, CA 95128



Eric Kommer
485 Miranda Road
Pittsburgh, PA 15241



Eric Konieczynski
8489 Charmed Days
Laurel, MD 20723



Eric Larow
88 Harbour Heights Drive
Annapolis, MD 21401



Eric Larsen
601 Cornwallis Lane
Foster City, CA 94404-3737



Eric Larsen_V
601 Cornwallis Lane
Foster City,, CA 94404



Eric Lee
228 S Bernardo Ave.
Sunnyvale, CA 94086



Eric Lee and Xuhua Wang Revocable Trust
701 Hartranft Avenue
Fort Washington, PA 19034




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 528 of
                                        1568
Eric Lichtenheld
501 W Grant Road
Tucson, AZ 85705



Eric Litwiller
4281 Express Ln Ste L1016
Sarasota, FL 34238



Eric Liu
270 Club Dr
San Carlos, CA 94070



Eric Manes
5913 onondaga rd
Bethesda, MD 20816



Eric Maschwitz
1651 Coyote Point Drive
San Mateo, CA 94401



Eric Matthews
4486 e. Ivanhoe St.
Gilbert, AZ 85295



Eric Mead
201 South 4th Street #417
San Jose, CA 95112



Eric Miller
3555 Partition Road
Woodside, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 529 of
                                        1568
Eric Mitchell
117 Mirage drive
Cranberry Twnshp, PA 16066



Eric Mittleman
1129 E Eli Ct.
Gilbert, AZ 85295



Eric Mueller
1012 Bonita Ave. Apt. A
mountain View, CA 94040



Eric Munoz
1546 Mount Herman Dr.
San Jose, CA 95127



Eric Nellen
839 Dederick Court
San Jose, CA 95125



Eric Offermann
1931 Anderson Road
Falls Church, VA 22043



Eric Page
88 King St Apt 618
San Francisco, CA 94107



Eric Probst
3505 West Kent Circle
Chandler, AZ 85226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 530 of
                                        1568
Eric Ruby
1185 Broadway
San Francisco, CA 94109



Eric Sabelman
711 Central Ave.
Menlo Park, CA 94025



Eric Sanders
984 Curtner Ave
San Jose, CA 95125



Eric Sanders
1130 W Roma Ave
Phoenix, AZ 85013



Eric Savage
2751 Warrior Drive
Wixom, MI 48393



Eric Schactman
7221 Greenway Ave
Saint Louis, MO 63130



Eric Sebastiani
1036 Tahoe Drive
Belmont, CA 94002



Eric Sheen
6935 McPherson Blvd.
Pittsburgh, PA 15208




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 531 of
                                        1568
Eric Shoults
36 Stillmeadow
Round Rock, TX 78604



Eric Silver
1063 Parkview Blvd
Pittsburgh, PA 15217



Eric Singer
6623 Dalzell Pl
Pittsburgh, PA 15217



Eric Skaggs
100 Grant Ave. Apt 202
Duquesne, PA 15110



Eric Stahl-David
1365 york street
San Francisco, CA 94110



Eric Steinberg
Box 863
Sausalito, CA 94966



Eric Stratten
9110 Rocker Ave
Plymouth, MI 48170



Eric Sutherland
14817 S 7th Way
Phoenix, AZ 85048




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 532 of
                                        1568
Eric Tank
11709 Potomac Crossing Way Apt 4
Fairfax, VA 22030



Eric Turcotte
865 Rambling Pine Dr
Saint Charles, MO 63303



Eric Uhrhane
1600 Amphitheatre Pkwy
Mountain View, CA 94043



Eric Ullrich
1108 R Street #334
Sacramento, CA 95811



Eric Vincent
2636 East Ave
Hayward, CA 94541



Eric Wedel
1023 Tulane Drive
Mountain View, CA 94040



Eric Wells
1118 Brussels St
San Francisco, CA 94134



Eric Werner
619 Mountian View Ave.
Mountain View, CA 94041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 533 of
                                        1568
Eric Werner, Birgit Werner
619 Mountian View Ave.
Mountain View, CA 94041



Eric Wilms
1505 Ernestine Lane
Mountain View, CA 94040



Eric Wu
2063 31st Avenue
San Francisco, CA 94116



Eric Yee
4257 MARSTON LANE
SANTA CLARA, CA 95054



Eric Yu
1921 Culver Ave
Dearborn, MI 48124



Erica Barrueto
1453 1/2 66th Street
Berkeley, CA 94702



Erica Brown
7500 Leadale dr
Saint louis, MO 63121



Erica Brown
6423 Woodrow
St. Louis, MO 63121




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 534 of
                                        1568
Erica Brown
6423 Woodrow Ave
Pine Lawn, MO 63121



Erica Ronchetto
3333 Coyote Hill Road
Palo Alto, CA 94304



Erich Ewy
5349 W Buffalo Pl
Chandler, AZ 85226



Erik Alan Wagenheim
8200 East Jefferson #511
Detroit, MI 48214



Erik Bolyard
42375 Woodwind Ln
Canton, MI 48188



Erik Brandt
142 farallones St.
San Francisco, CA 94112



Erik Brobyn
83 Basswood Ct
Warrington, PA 18976



Erik Gatz
938 Oranmore St
Pittsburgh, PA 15201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 535 of
                                        1568
Erik Hartwig
370 Church Street Apt F
San Francisco, CA 94114



Erik Hilsdale
113 W Ferndale Ave
Sunnyvale, CA 94085



Erik Kinservik
1001 Hidden Ridge CT
Round Rock, TX 78681



Erik Koppl
800 Airport Blvd, Suite 510
Burlingame, CA 94010



Erik Newton
240 Stockton Street, Suite 300
San Francisco, CA 94108



Erik Pfleiderer
P.O Box 191012
San Francisco, CA 94119



Erik Schoenfeld
525 Chesepeake Drive
Redwood City, CA 94063



Erik Soderlind
379707 circle Drive
Harrison Twp., MI 48045




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 536 of
                                        1568
Erik Sunden
177 henry
San Francisco, CA 94114



Erik VanLandingham
25028 Cary St.
Taylor, MI 48180



Erik Withers
8102 Burrell Drive
Austin, TX 78757



Erika Boeing
998 Emge Road
O'Fallon, MO 63366



Erika Daniels
8232 E Camelback Rd
Scottsdale, AZ 85251



Erika Duscha
38255 Paseo Padre Pky
Fremont, CA 94536



Erika Hale
64 S 75th Place
Mesa, AZ 85208



Erika Hirose
1309 B Maple St
San Mateo, CA 94402




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 537 of
                                        1568
Erika Peinado
7025 S. 40PL
Phoenix, AZ 85042



Erika Peinado
4284 N. 81st. Street
Scottsdale, AZ 85251



Erin Beneke
7842 E Harvard St
Scottsdale, AZ 85257



Erin Huber
9938 N 181st Ave
Waddell, AZ 85355



Erin Anderson
1165 Miller Ave
Berkeley, CA 94708



Erin Beck
8103 E Obispo Ave
Mesa, AZ 85212



Erin Gatz
938 Oranmore Street
Pittsburgh, PA 15201



Erin HetrickHohenner
445 Ignacio Blvd #345
Novato, CA 94949




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 538 of
                                        1568
Erin Hipp
121 Broderick Street #5
San Francisco, CA 94117



Erin Smelcer
875 Amersham Dr
St. Louis, MO 63141



Erin Stainken
1817 E. Oltorf
Austin, TX 78741



Erin Young
15532 Sarahs Creek Drive
Pflugerville, TX 78660



Ernest Herrold
867 Hercules Lane
Foster City, CA 94404



Ernest Kahn
1251 21st Ave
San Francisco, CA 94122



Ernest Manders
1401 Forbes Ave. Ste 237
Pittsburgh, PA 15219



Ernest Romito
12 Margaret Street
New Kensington, PA 15068




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 539 of
                                        1568
Ernie Manders
1401 Forbes Ave. Ste 237
Pittsburgh, PA 15219



Errica Crome
5060 kingston way
San Jose, CA 95130



Errol Davis
19616 Midway Rd
Southfield, MI 48075



Ersin Akinci
147 Monterey Blvd.
San Francisco, CA 94131



Ertem Mutlu
13600 Fowke Ln
Woodbridge, VA 22192



Erwin Tan
4798 Sutcliff Ave
San Jose, CA 95118-2339



Erynn Truex
1545 W Lynwood St
Phoenix, AZ 85007



Escalon Services Inc
Escalon TPC, Box 606
405 El Camino Real Menlo Park, CA




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 540 of
                                        1568
Escalon Services, Inc
Escalon TPC, Box 606
405 El Camino Real
Menlo Park, CA 94025



Escalon Services, Inc
Escalon TPC, Box 606,
405 El Camino Real
Menlo Park, CA 94025



Escalon Services, Inc.
Escalon TPC, Box 606 405 El Camino Real
Menlo Park, CA 94025



Escalon Services, Inc.
Escalon TPC, Box 606
405 El Camino Real,
Menlo Park, CA 94025



Escalon Services, Inc.
Escalon TPC, Box 606
405 El Camino Real
Menlo Park, CA 94025



Escalon Services, Inc.
[Notice only] Techshop Austin -
405 El Camino Real
Menlo Park, CA 94025



Escalon Services, Inc.
Escalon TPC, Box 606, 405 El Camino Real
Menlo Park, CA 94025



Escalon Services, Inc.
Escalon TPC, Box 606,
405 El Camino Real,
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 541 of
                                        1568
Esteban Cruz_Rangel
750 E Dana Ave, Apt. 2
Mesa, AZ 85204



Esteban Ruiz
700 Masson Avenue,
San Bruno, CA 94066



Esteban Ruiz
P.O. Box 71384
Pittsburgh, PA 15213



Estrella Nantel
2202 Charter Way
San Leandro, CA 94597



Estuardo Xigua
54 East 38th Street
San Mateo, CA 94403



Ethan Aaron Port
217 College St.
Mountain View, CA 94040



Ethan Ananny
149 Commonwealth Drive
Menlo Park, CA 94102



Ethan Desautels
314 Waverly Road
Shelton, CT 06489




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 542 of
                                        1568
Ethan Jaranson
22059 olmstead
dearborn, MI 48128



Ethan Klein
1120 S Ash Ave
Tempe, AZ 85281



Ethan Odom
11117 Edgecomb Cv
Austin, TX 78737



Ethan Port
217 College St.
Mountain View, CA 94040



Ethan Sanborn
867 Country Creek Dr
Saline, MI 48176



Ethan Waldman
3122 N. Nottingham St.
Arlington, VA 22207



Ethan Watson
914 Hazelnut Court
Sunnyvale, CA 94087



Ethan Wissinger
1041 N Ash dr.
Chandler, AZ 85224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 543 of
                                        1568
Eugene Abovsky
60 Hallam St
San Francisco, CA 94103



Eugene Gershtein
1418 Valota Rd
Redwood City, CA 94061



Eugene Kim
14781 Keavy Ridge Ct
Haymarket, VA 20169



Eugene Levinthal
956 Wilmington Way
Redwood City, CA 94062



Eugene Tam
245 5th Street Suite 302
San Francisco, CA 94103



Eva Greenwell
621 Hawthorne Lane
Round Rock, TX 78664



Eva Marie Cooper
3490 stanley road
Winterville, NC 28590



Eva Martin
909 Marina Village Pkwy #400
Alameda, CA 94501




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 544 of
                                        1568
Eva Martin
66 Rockwell Pl #27F
Brooklyn, NY 11217



Eva Waterman
780 Bucknall Rd
Campbell, CA 95008



Eva Watte
36 Circle Road
Redwood City, CA 94062



Evan Kimbrell
707 A Shotwell St.
San Francisco, CA 94110



Evan Andersen
1616 Wellington St
Oakland, CA 94602



Evan Bailey
860 N McQueen Rd #1046
Chandler, AZ 85225



Evan Blaser
1688 Sacramento St.
San Francisco, CA 94109



Evan Bodell
107 Reservoir Rd
Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 545 of
                                        1568
Evan Buttemer
1218 3rd Ave
San Francisco, CA 94122



Evan Frazier
1912 Garrick Dr.
Pittsburgh, PA 15235



Evan Gealy
2130 E. Carson St.
Pittsburgh, PA 15203



Evan Gericke
165 Merrimac St., Front
Pittsburgh, PA 15211



Evan Hazlett
4032 Willow St.
Pittsburgh, PA 15201



Evan Hogan
3483 Brodhead Road
Monaca, PA 15061



Evan Johnson
6315 Kenilworth Ave Unit B
Riverdale, MD 20737



Evan Josa
1301 Pebble Drive
San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 546 of
                                        1568
Evan Leach
1533 Bavona
Saint Louis, MO 63108



Evan McGinnis
48 South 14th St.
San Jose, CA 95112



Evan Morckel
36303 N. Livorno Way
Scottsdale, AZ 85262



Evan Swinger
28944 Leamington Dr.
Farmington Hills, MI 48334



Evans Pang
3500 Braxton Cmn
Fremont, CA 94538



Eve Lebwohl
637 Guerrero st
San francisco, CA 94110



Eveline Schneider
1449 Broadway
Brooklyn, NY 11221



Evelyn Egan
1805 Crystal Dr. #906
Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 547 of
                                        1568
Everett Kleven
605 Clara Ave Apt 310
Saint Louis, MO 63112



Everett Wurz
1131 Rhode Island Street
San Francisco, CA 94107



Evgueni Orlov
699 Dekalb Ave., Apt. 1R
Brooklyn, NY 11216



Evie Moeckel
960 Hanna Rd
Manchester, MO 63021



Ewin Hong
5250 valley forge dr apt 415
Alexandria, VA 22304



Experian
Po Box 2002
Allen, TX 75013



Eyad Al_Sulaimi
280 S. Evergreen #1297
Tempe, AZ 85281



Eyal Cohen
62 Dolores Ter.
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 548 of
                                        1568
Ezekial Carnes_Mason
3773 Mission St
San Francisco, CA 94110



Ezra Ehrhard
3391 S Huachuca Way
Chandler, AZ 85286



Ezra LeVine
319 Deerfield Drive
Moraga, CA 94556



Ezra Ranz-Schleifer
491 Country Club Rd
Greensboro, VT 05841



Fabian Flores
3818 E Earll Dr Apt 206
Phoenix, AZ 85018



Fabian Ramirez
6245 Arlington Blvd
Richmond, CA 94805



Fabienne Bismuth
2872 Cowper St
Palo Alto, CA 94306



Facet Plus LLC
Attn. Jason Granado
4850 Eisenhower Ave. Unit. #324
Alexandria, VA 22304




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 549 of
                                        1568
Fadi Bakour
2413 San Carlos Ave
San Carlos, CA 94070



Fahed Shreim
2975 Chesham st
Fairfax, VA 22031



Faheem Inayat
20600 Aldercroft hts
Los Gatos, CA 95033



Faisal Al-Rsheed
1811 E. Apache Blvd.
Tempe, AZ 85281



Faith Olson
1155 Clark St
Unit 1
Detroit, MI 48209



Faithe Olson
1155 Clark St
Detroit, MI 48209



Fan Yangyang
108 BRYANT ST APT 8
MOUNTAIN VIEW, CA 94041



Farah Weheba
88 Hillside Blvd apt 314
Daly City, CA 94014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 550 of
                                        1568
Fardad Hashemi
1399 Shoreway Road
Belmont, CA 94002



Fariba Rahimian marnani
4353 Payne Ave #702
San Jose, CA 95117



farrah abubaker
7872 Tyson Oaks Circle
vienna, VA 22182



Fastenal
P.O. Box 1286
Winona, MN 55987-1286



Faye Silverman
5555 Forbes Ave
Pittsburgh, PA 15217



Fazil Khan
6953 S. Topaz Place
Chandler, AZ 85298



FedEx
P.O. Box 7221
Pasadena, CA 91111



FedEx
P.O. Box 7221
Pasadena, CA 91112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 551 of
                                        1568
FedEx
P.O. Box 7221
Pasadena, CA 91113



Felipe Melivilu
2221 South Clark Street
Arlington, VA 22202



Felipe Payet
6005 Bon Terra Dr.
Austin, TX 78731



Felix Madrid
43748 W. Carey Dr.
Maricopa, AZ 85138



Felix Rusu
6062 Fairborn Dr.
Canton, MI 48187



Felix Watte
36 Circle Road
Redwood City, CA 94062



Feliza Conway
122 FOREST TRAIL
LEANDER, TX 78641



Feraidoon Esmailloo
1723 Wilson Blvd
Arlington, VA 22209




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 552 of
                                        1568
Ferenc Lazar
1047 Grebe St.
Foster City, CA 94404



Ferhat Yildirim
3321 21st Street Apt 4
San Francisco, CA 94110



Fernanda Abogado
5512B Rayburn Ave
Alexandria, VA 22211



Fernando Spadaro
213 Alton St
Milpitas, CA 95035



Fernando Zetina
1557 Commodore Cir
Canton, MI 48187



Fidelity Capital
Attn: Current Corporate Officer
19600 Fairchild Road, Suite 120
Irvine, CA 92612



Finn Tseng
3230 Springbrook
Ann Arbor, MI 48108



Fire Alert, Inc.
15732 Los Gatos Blvd.,
PMB 700 Los Gatos,, CA 95032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 553 of
                                        1568
First Choice
3130 Alfred St.
Santa Clara, CA 95054



First Choice Coffee Services
3130 Alfred St.
Santa Clara,, CA 95054



First Lease
Attn: Current Corporate Officer
1300 Virginia Drive, Suite 400
Fort Washington, PA 19034



First Lease Inc.
PO Box 57309
Philadelphia, PA 19111



First National Bank of Omaha 1620 Dodge
1620 Dodge Street
Omaha, NE 68197



Fivel Muntian
728 Guerrero
San Francisco, CA 94110



Flora Garcia
199 New Montgomery St. #1509
San Francisco, CA 94105



Florian Oberstrass
810 Coleman Ave #18
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 554 of
                                        1568
Flow International Corporation




Flow International Corporation
PO BOX 749647,
Los Angeles, CA 90074-9647



Flynn Oldfield
209 E JAVA DR # 60819
SUNNYVALE, CA 94088



Ford Credit
PO Box 552679
Detroit, MI 48255



Ford Motor Land
Dept 18601
P. O. Box 67000
Detroit, MI 48267



Forest Lowry
1850 Gough Street, Apt 602
San Francisco, CA 94109



Forest Thola
4531 Flintstone Rd
Alexandria, VA 22306



Fori Owurowa
31275 N41st st
cave creek, AZ 85331




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 555 of
                                        1568
Formech Inc.
2324 Pinehurst Drive
Middleton, WI 53562



Forrest Greene
3431 N Hills Dr
Austin, TX 78731



Forrest Novy
4712 Avenue G
AUSTIN, TX 78751



Fox Peterson
13083 bell rd
los gatos, CA 95033



Foy Thompson
3319 Lambrusco Ln
Leander, TX 78641



Fran Henderson
873 E. Butler Dr.
Chandler, AZ 85225



Frances (Chia wen) Chang
2101 Bryant Street, #206
San Francisco, CA 94110



Frances Ho
1921 Broderick Street
San Francisco, CA 94115




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 556 of
                                        1568
Francesco Meschia
2309 Rock Street, Apt. 18
Mountain View, CA 94043



Franchesca Pena
22 Villa Avenue
San rafael, CA 94901



Franchise Tax Board
Bankruptcy Section, MS A-340
PO Box 2952
Sacramento, CA 95812-2952



Francis Bostick
6166 Cottle Road
San Jose, CA 95123



Francis Govers
NASA Research Park, PO Box 345
Mountain View, CA 94035



Francis Li
1875 Mission St #202
San Francisco, CA 94103



Francis Silva
16602 N 25th St #214
Phoenix, AZ 85032



Francis Yu
3 Maple Drive
Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 557 of
                                        1568
Francisca Dominguez
3675 Corkhill Way
San Jose, CA 95121



Francisco Alvarez
140 58th St Bldg A Suite A
Brooklyn, NY 11220



Francisco Gularte
1667 21st avenue
San Francisco, CA 94122



Francisco Bertran-Salvans
277 Randall St.
SAN FRANCISCO, CA 94131



Francisco Sanchez
858 W. Remington Dr.
Sunnyvale, CA 94087



Franco Salguero
43621 McDowell SQ
Leesburg, VA 20176



Frank Schwarzenau
1470 Valencia St
San Francisco, CA 94110



Frank Sudia
5735 Ellsworth Ave Apt C1
Pittsburgh, PA 15232




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 558 of
                                        1568
Frank Cusack
12424 Skyline Blvd
Woodside, CA 94062



Frank DeFrancesco
2469 High St
Palo Alto, CA 94301



Frank Dressel
4932 Wilderness Pt
Smithton, IL 62285



Frank Ford
619 Fulton St.
Palo Alto, CA 94301



Frank Goodman
10305 Bushman Dr.
Oakton, VA 22124



Frank Halasz
130 Bradley Dr.
Santa Cruz, CA 95060



Frank Hanson
513 Whitetail Dr
Georgetown, TX 78628



Frank Key
5903 Moss Wood Ln.
Mclean, VA 22101




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 559 of
                                        1568
Frank Liu
270 Club Dr
San Carlos, CA 94070



Frank Plew
1250 4th St SW, APT W410
Washington, DC 20024



Frank Purrington
7309 Highview
Dearborn Heights, MI 48127



Frank Raniolo
49 D Hangar Way
Watsonville, CA 96076



Frank Rodriguez
13071 Brown Ave
San Jose, CA 95111



Frank Rodriguez_V
13071 Brown Ave
San Jose, CA 95111



Frank Rossi
5736 Holland Ln
San Jose, CA 95118



Frank Rothacker
PO Box 1084
Los Altos, CA 94023




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 560 of
                                        1568
Frank Rowand
80 Cherry Ridge Ct
San Jose, CA 95136



Frank Zaugg
476 Quartz Str
Redwood City, CA 94062



Frankie Wong
1219 8th Ave.
San Francisco, CA 94118



Franklin Roberts
1164 Bearkat Canyon Dr
Dripping Spring, TX 78620



Franklin Wong
1579 Scenic St.
Berkeley, CA 94708



Frazer Bradshaw
845 47th St
Oakland, CA 94608



Fred Co
622 Bucher Ave
Santa Clara, CA 95051



Fred Bauer
1526 Carol Ave
Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 561 of
                                        1568
Fred Etcheverry
1820 Hector Lane
Santa Cruz, CA 95062



Fred Gannod
916 Mohawk
Royal Oak, MI 48067



Fred Grandy
4592 E 2nd Street, Ste P
Benicia, CA 94510



Fred Hansen
3600 Stevenson Blvd #Q37
Fremont, CA 94538



Fred Kemp
1320 Geders lane
Saint Louis, MO 63122



Fred Kull
506 Brookwood Dr
Durham, NC 27707



Fred Liang
7232 Sleepy Creek Drive
San Jose, CA 95120



Fred Salan
667 22nd Ave
San Francisco, CA 94121




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 562 of
                                        1568
Fred Stahl
60 W Seaview Avenue
San Rafael, CA 94901



Fred Worley
1471 Greene Dr
San Jose, CA 95129



Freda Fanning
3209 12th St S
Arlington, VA 22202



Freddy Kellison-Linn
2602 Louis Road
Palo Alto, CA 94303



Freddy Mesiha
6859 Ural Ave., Unit 2
Mesa, AZ 85212



Fredeerick Kull
8313 Oxford Rd
Timberlake, NC 27583



Frederick Garcia
131 Brighton Rd
Pacifica, CA 94044



Frederick Hockett
230 Lakeside Rd
Raeford, NC 28376




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 563 of
                                        1568
Frederick Lee
2470 Monroe St
Santa Clara, CA 95051



Frederick Lough
2708 23rd St
San Francisco, CA 94110



FREDERICK SHADRACKS
3930 HAMILTON AVE APT 9
SAN JOSE, CA 95130



Frederick Zeise
1949 Grand Teton Drive
Milpitas, CA 95035-6614



Fredrick Gonzales
PO Box 781
Pflugerville, TX 78691



Free Form LLC
4802 E Ray Rd. Ste. 23-538
Phoenix, AZ 85044



Fritz Jacobs
1259 48th ave
San Francisco, CA 94103



Fritz Koenig
2806 SE 36th Ave.
Portland, OR 97202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 564 of
                                        1568
FUHANG DAO
1489 Webster St.
San Francisco, CA 94115



Fujitsu




Furkan Filiz
6635 Hollis St.
Emeryville, CA 94608



G Jackson Tanner
7847 Brompton Street
Springfield, VA 22152



Gabe Cottrell
1041 Pine St.
Ambridge, PA 15003



Gabe Higgins
8455 N 90th St Ste4
Scottsdale, AZ 85258



Gabe Seelig
20894 Waveview Dr
Topanga, CA 90290



Gabriel Robson
7724 Seneca Falls Loop
Austin, TX 78739




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 565 of
                                        1568
Gabriel Baltaian
175-09 73 Ave
Fresh Meadows, NY 11366



Gabriel Corbett
11508 Arroyo Blanco Dr.
Austin, TX 78748



Gabriel Cottrell
1041 Pine Street
AmBridge, PA 15003



Gabriel DeGuire
4268 Shenandoah Ave
Saint Louis, MO 63110



Gabriel Faber
3027 Rubino Cir
San Jose, CA 95125



Gabriel Faber and Hilluus Faber
3027 Rubino Cir
San Jose, CA 95125



Gabriel Keeven
1536 Sanford Avenue
St. Louis, MO 63139



Gabriel Mecklenburg
600 California St
San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 566 of
                                        1568
Gabriel Mellan
1204 Lamont St NW
Wasington, DC 20010



Gabriel Orozco
734 Arce Street
Watsonville, CA 95076



Gabriel Rogers
2743 Via Caballero del Sur
Santa Fe, NM 87505



Gabriel Santistevan
3227 N 20th PL
Phoenix, AZ 85016



Gabriel Silk
255 3rd Street
Oakland, CA 94607



Gabriel Soares
888 N Quincy St, Apt 1811
Arlington, VA 22203



Gabriel Zuniga
1840 Alford Ave.
Los Altos, CA 94024



Gabriele Di Fiore
1268 West St.
Hayward, CA 94545




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 567 of
                                        1568
Gabriele Di Fiore
1268 West Street
Hayward, CA 94545



Gabriella Grahek
851 California St
San Francisco, CA 90265



Gabrielle Halberg
1101 5th Ave.
Redwood City, CA 94063



Gadsden Merrill
4822 Coleridge St
Pittsburgh, PA 15201



Gae Shulman
563 Vermont St
San Francisco, CA 94107



Gail Knight
4523 Sherwood Trace
Gainsville, FL 32605



Gail Massot
21 S. Fenwick St.
Arlington, VA 22204



Gale Iguchi
713 Borello Way
Mountain View, CA 94041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 568 of
                                        1568
Galen Giampetro
1110 L Street #5
Modesto, CA 95354



Gareth Rose
3773 Farm Hills Blvd.
Redwood City, CA 94061



Garret Autry
5555 Memorial Dr Ste F #464
Houston, TX 77007



Garret Willis
1516 Foppiano Loop
Round Rock, TX 78665



Garrett Monson
541 South 27th Place
Mesa, AZ 85204-3040



Garrett Bishopp
2880 E. Lindrick Dr
Chandler, AZ 85249



Garrett Corey
417 A St. APT 326
Daly City, CA 94014



Garrett Geraci
300 L St. NE Apt. 107
Washington, DC 20002




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 569 of
                                        1568
Garrett Grimm
140 Divisadero #2
SAN FRANCISCO, CA 94117



Garrett Hara
2041 Atlas Loop
Mountain View, CA 94043



Garrett Mancillas
11009 Silo Valley Drive
Austin, TX 78754



Garrett Mattrocce
100 Esplanade Ave #110
Pacifica, CA 94044



Garrett ODonohue
11325 Ingram
Livonia, MI 48150



Garrett Rayner
407 Wayne Avenue
Oakland, CA 94606



Garrett Schander
1890 e appleby rd
gilbert, AZ 85298



Garrett White
6234 Washington Ave
Saint Louis, MO 63130




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 570 of
                                        1568
Garrick Beaster
6023 Treetops Dr
Romulus, MI 48174



Garrie Burr
Box 1245, Lindell & Skinker Blvds.
St. Louis, MO 63130



Garth Webb
997 Tennessee St.
San Francisco, CA 94107



Gary Thomason
4300 Duncan
St. Louis, MO 63110



Gary Aden
350 Turkshead Ln
Redwood City, CA 94065



Gary Aurit
1427 Floribunda Avenue, #102
Burlingame, CA 94010



Gary Banta
27185 Prado Del Sol
Carmel Valley, CA 93923



Gary Beberman
697 Douglass St.
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 571 of
                                        1568
Gary Buhrmaster
107 S Mary Ave, Apt 6
Sunnyvale, CA 94086



Gary Campbell
211 Kindlewood Dr
Durham, NC 27703



Gary D. Aden
350 Turkshead Ln
Redwood City, CA 94065



Gary Feierbach
3206 E. Laurel Ck. Rd.
Belmont, CA 94002



Gary Fitzgerald
984 Chestnut Oak Drive
St. Charles, MO 63303



Gary Grzebienik
420 N Crooks Rd
Clawson, MI 48017



Gary Hemby
26 Underwood Place NW.
Washington, DC 20012



Gary Kish
1018 Sunnybrae Blvd
San Mateo, CA 94402




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 572 of
                                        1568
Gary Lindsey
3920 Kingsbarns Dr
Roseville, CA 95747



Gary Malady
6732 Hot Springs Drive
Austin, TX 78749



Gary McGregor
PObox 388
Elgin, TX 78621



Gary Middelkamp
3317 E. Bell Rd. #101-423
Phoenix, AZ 85032



Gary Moschetta
1440 Abers Creek Road
Plum, PA 15239



Gary Murry
958 Desmet Way
San Jose, CA 95125



Gary Nola
1915 W Fort St Apt 517
Detroit, MI 48216



Gary Oliver
1618 sullivan ave suite 105
Daly City, CA 94015-1968




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 573 of
                                        1568
Gary Prischak
111 Hahn Rd.
Pittsburgh, PA 15209



Gary Rabins
961 Chehalis Dr.
Sunnyvale, CA 94087



Gary Rashed
1775 York Ave Apt 23E
New York, NY 10128



Gary Rauscher
2135 Denise Drive
Santa Clara, CA 95050



Gary Saxon
1322 El Camino Real
Redwood City, CA 94063



Gary Snyder
790 Mariner Park Way, #12
Santa Cruz, CA 95062



Gary Stoll
1176 S. San Tomas Aquino Rd.
Campbell, CA 95008



Gary Thomas
4002 E Turney Ave
Phoenix, AZ 85018




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 574 of
                                        1568
Gary Withey
135 Lexington St
San Francisco, CA 94110



Gary Wozniak
200 Winchester Circle
Apt C313, CA 95032



Gary Young
1850 Montecito Ave
Mountain View, CA 94043



Gary Yuhara
20410 Santa Cruz Hwy
Los Gatos, CA 95033



Gary Zellweger
236 Saint Francis St
Redwood City, CA 94062



Gary Zhibin Zhang
1408 Nighthawk Dr
Santa Rosa, CA 95409



Gary Zoellner
1501 W. 24th Street, Suite 204
Yuma, AZ 85364



Gashaw Bizana
851 E. Lemon St. #5176
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 575 of
                                        1568
Gaspar Raj
532 N jordon rd,apt 304
alexandria, VA 22304



Gaurav Khatri
1510 S BASCOM AVE APT 112
CAMPBELL, CA 95008



Gautham Shankar Ayyapessur
1255 East University Dr., #1075
Tempe, AZ 85281



Gavin Barr
1062 Byerley
San Jose, CA 95125



Gavin Rea_V
314 Walnut St
Menlo Park, CA 94025



Gavin Stevens
770 E Cherrywood Pl
Chandler, AZ 85249



Gazal Sahai
400 River side ct, apt no 110
Santa Clara, CA 95054



Geary Chew
701 Bahama Lane
Foster City, CA 94404




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 576 of
                                        1568
Gene Durkin
17221 13th Ave. NW
Shoreline, WA 98177



Gene Homicki
2111 Hearst Ave.
Berkeley, CA 94709



Gene Joe
4425 Destinys Gate
Austin, TX 78727



General Electric Capital Corporation
Attn: Current Corporate Officer
3333 HESPER ROAD
Dept. of Contracts
BILLINGS, MT 59107



Genevieve Laroche
135 Rio Robles E. Unit 406
San Jose, CA 95134



Genevieve Patterson
3433 Mount Burnside Way
Woodbridge, VA 22192



Genna Hodges
1725 Celeste
San Mateo, CA 94402



Geoff Budd
1101 5th Ave.
Redwood City, CA 94063




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 577 of
                                        1568
Geoff Cant
445 Tehama St. Apt. C
San Francisco, CA 94103



Geoff Facer
Levitas c/o TechShop, 2415 Bay Rd, Tahoe
Redwood City, CA 94061



Geoff Guidetti
822 53rd St
Oakland, CA 94608



Geoff Larson
455 Blackwood St
Sacramento, CA 95815



Geoff Moyer
276 La Cuesta Drive
Portola Valley, CA 94028



Geoff Ricco
1967 Eastern Avenue Suite 2
Verona, PA 15147



Geoff Schmidt
140 9th St
San Francisco, CA 94103



Geoffrey Dubridge
1347 N Redwood Ave
San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 578 of
                                        1568
Geoffrey Gratz
1 Federal Street #49
San Francisco, CA 94107



Geoffrey Moyer
276 La Cuesta Drive
Portola Valley, CA 94028



Geoffrey Schecht
1600 Bengal Drive
Round Rock, TX 78664



Geoffroy Birtz
1516 Lima Ct
San Jose, CA 95126



George Kitchen
11760 Sunrise Valley Dr #413
Reston, VA 20191



George Lewis
2107 Wilson Blvd, Suite 1100
Arlington, VA 22201



George Rapley
45 Carmel street
San Francisco, CA 94117



George A. Miller
1750 Taylor St. #205
San Francisco, CA 94133




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 579 of
                                        1568
George Barrinuevo
PO Box 640792
San Jose, CA 95164



George Blass
921 Drexel
Dearborn, MI 48128



George Bollinger
4887 N. Cactus Rd
APACHE JCT, AZ 85119



George Campbell
10890 Wunderlich Drive
Cupertino, CA 95014



George Chisa
2925 Bond St.
Rochester Hills, MI 48309



George Clessas
5913 Brookview Dr
Alexandria, VA 22310



George Constas
4815 Trumbull
Detroit, MI 48208



George Deines
3231 S. Martingale Rd.
Gilbert, AZ 85297




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 580 of
                                        1568
George Denison
6772 Harrison
Garden City, MI 48135



George Denison_V
6772 Harrison St.
Garden City, MI 48135



George Ekas
959 Arlington
Redwood City, CA 94062



George Glaser
815 18th Street South G-1
Arlington, VA 22202



George Happens
225 East 36th St, Ste 17F
New York, NY 10016



George Koodarappally
41786 Chadbourne Dr
Fremont, CA 94539



George McConnell
35 Vista Drive
Maytown, PA 17550



George Menard
PO BOX 1170
Watsonville, CA 95077




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 581 of
                                        1568
George Miller
1750 Taylor St. #205
San Francisco, CA 94133



George Mitchell
3344 runny mede place nw
Washington dc, DC 00020-0015



George Pickett
865 Florida Street, 1
San Francisco, CA 94110



George Polacek
1911 Branston Rd.
Catonsville, MD 21228



George Primbs
11547 Hill Meade Lane
Lake Ridge, VA 22192



George Repple
229 O'Connor Street
Menlo Park, CA 94025



George Scott
5980 Richmond Hwy #607
Alexandria, VA 22303



George Teske
1105 Cresswell Dr
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 582 of
                                        1568
George Thomas
7024F Pennsylvania Ave
Saint Louis, MO 63111



George Vo
400 Buttercup Lane
Pleasant Hill, CA 94523



Georgel Williams
3100 Highland Terrace West
Austin, TX 78731



Georgio Malouf
538 72nd street
Brooklyn, NY 11209



Gerald Damian
515 N. Franklin
Dearborn, MI 48128



Gerald F. Davis
1047 Martin Pl
Ann Arbor, MI 48104



Gerald Lovelace
1641 Country Club Drive
Milpitas, CA 95035



Gerald Sauer
18 Sandstone St
Portola Valley, CA 94028




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 583 of
                                        1568
Gerald Smith
2760 Melendy Dr.
San Carlos, CA 94070



Gerald Witters
679 N 11th St
San Jose, CA 95112



Gerald Zhou
2028 Jones St
San Francisco, CA 94133



Geralyn Moore
47 View St
Los Altos, CA 94022



Gerard Stocker
5618 Nevada Ave NW
Washington, DC 20015



Gerardo Pelayo
15510 Ranch Road , 620 N Apt 01307
Austin, TX 78717-5222



Gerin River
3912 Ruby St.
Oakland, CA 94609



Gerrit Coetzee
1201 Dolores St Apt 5
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 584 of
                                        1568
Gerry Alcocer
2857 Regatta Dr
Oakland, CA 94601



Gerry Brown
1724 EAST AVE
McLEAN, VA 22101



Gervais Tompkin
14 Willow Avenue
Fairfax, CA 94930



Getty Hill
1245 N State Pkwy
Chicago, IL 60610



GG Gala Living Trust
290 Walnut Ave #205
Santa Cruz, CA 95060



Ghadah Alhasan
7567 Clayton Rd
Saint louis, MO 63117



Gianluca Martini
1111 Pine street, 202
San Francisco, CA 94109



Gil Citro
PO Box 81786
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 585 of
                                        1568
Gilles Roux
104 Baker St Apt 5
San Francisco, CA 94117



Gillian Brockett
1501 Cullen Ave
Austin, TX 78757



Gillian Preston
5436 Stanton Ave. Apt 2
Pittsburgh, PA 15206



Gillian Wallace
456 Heatherbray Ct.
San Jose, CA 95136



Gina Falsetto
93 Buena Vista Terrace
San Francisco, CA 94117



Gina Grafos
5383 Reber Place
St. Louis, MO 63139



Gina Mann
14163 N 90th Pl
Scottsdale, AZ 85260



Gina Su
2332 Channing Way Unit B
Berkeley, CA 90274




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 586 of
                                        1568
Ginny Machak
941 East Grant Place
San Mateo, CA 94402



Gint Puskorius
22559 Fuller Drive
Novi, MI 48374



Giovanni Garcia
8200 Tonupa Ln.
Austin, TX 78724



Giovanni Lupo
1013 King street
Alexandria, VA 22314



Girma Bekele
14985 Citation Ct
Morgan Hill, CA 95037



Girts Folkmanis
1480 Fulton St. Apt, 3
San Francisco, CA 94117



Gisele Nimic
1529 Longfellow Ct
Mclean, VA 22101



Giselle Lee
1127 High School Way
Mountain View, CA 94041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 587 of
                                        1568
Giselle Oliveira
825 Marshall Stret #310
Redwood City, CA 94063



Giulio Gratta
937 Wing Place
Stanford, CA 94305



Glen Dils
1829 Eaton Ave
San Carlos, CA 94070



Glen Emory
1280 Westwood St.
Redwood City, CA 94061



Glen Selle
811 Ganahl Dr.
Ballwin, MO 63011



Glen Wester
2037 Olive Ave
San Jose, CA 95128



Glenn Barnes
9848 Arv Ellen Drive
Saint Louis, MO 63123



Glenn Black
235A 36th Ave
San Mateo, CA 94403




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 588 of
                                        1568
Glenn Eagens 5m Project, LLC
5 Third Street, Suite 200
San Francisco, CA 94103



Glenn Eason
3500 Arrowhead
Round Rock, TX 78681



Glenn Ellingson
450 S 13th St
San Jose, CA 95112



Glenn Flaten
20958 E. Arroyo Verde Dr.
Queen Creek, AZ 85142



Glenn Robertson
365 Creekside Dr
Buda, TX 78610



Global Capacity
PO BOX 674041
Dallas, TX 75267



Global Equipment Company Inc.
29833 Network Place
Chicago 60673-1298



gloria cardenas
1253 B exposition Dr
san Francisco, CA 94130




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 589 of
                                        1568
Gloria Walls
4807 Gypsy Cv
Austin, TX 78727



Glynis Hively
1431 Rosalia Ave
San Jose, CA 95130



Glynniece Westmoreland
3362 W Ross Dr
Chandler, AZ 85226



GM 99 GMSS INC.
1710 S Holt Ave
Los Angeles, CA 90035



GMCN
115 East Laurel Street
Garden City, KS 67846



GMCN
115 E. LAUREL ST
GARDEN CITY, KS 67846



Golden Gate Office Solutions_V
927 Howard Street
San Francisco, CA 94103



Gonz Jove
5415 Page
St. Louis, MO 63112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 590 of
                                        1568
Gonzalo Cabrera
3367 Oak West Dr
Ellicot City, MD 21043



Gonzalo Martinez
3 White Oak Way
Novato, CA 94949



Gopi Flaherty
1308 Alton Avenue
Pittsburgh, PA 15216



Gordon Crago
PO Box 2532
FAlls CHurch, VA 22042



Gordon Cutler
9821 Inwood Rd
Folsom, CA 95630



Gordon Garb
1141 Polk Ave.
Sunnyvale, CA 94086



Gordon Kirkwood
216 park lane
atherton, CA 94027



Gordon Kwan
7143 Galli Dr.
San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 591 of
                                        1568
Gordon Russell
701 E Apache Blvd
D2043D
Tempe, AZ 85281



Gordon Waite
885 E. Cindy St.
Chandler, AZ 85225



Gordon Wallace
320 23rd Street S Apt 1301
Arlington, VA 22202



Gordon Walton
600 Spang Rd.
Baden, PA 15005



Gordon White
6351 Dublin Blvd
Dublin, CA 94568



Grace Breyley
149 Morse Street
San Francisco, CA 94112



Grace Cousins
14330 Cordwood Ct
Saratoga, CA 95070



Grace Credo
1430 Via Vista
San Mateo, CA 94404




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 592 of
                                        1568
Grace Lee
3200 Hillview Ave.
Palo Alto, CA 94304



Grace Lin
92 Hillcrest Rd.
San Carlos, CA 94070



Grace Moss
505 62nd St Apt D1
Brooklyn, NY 11220



Grace Moss
505 62nd Street,
Apt D1
Brooklyn, NY 11220



Graeme Ware
116 Hillcrest Road
San Carlos, CA 94070



Graham Browne
2724 Utah st
st. Louis, MO 63118



Graham Arthur
5032 Forbes Avenue, SMC 4613
Pittsburgh, PA 15289



Graham Galloway
129 Magnolia St.
Santa Cruz, CA 95065




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 593 of
                                        1568
Graig Marx
216 Ligonier Ln
Newbensrgh, PA 15068



Grainger
DEPT 871006326
Palatine, IL 60038



Grainger
DEPT. 871006326
PALATINE, IL 60038-0001



Grant Bouvier
311 Fourth Avenue
Phoenixville, PA 19460



Grant Compton
17505 Rexwood
Livonia, MI 48152



Grant Peterson
16417 S. Mountain Stone Trail
Phoenix, AZ 85048



Grant Toeppen
36 Fairview Ave.
Atherton, CA 94027



Grant Willig
1297 Carson St.
Redwood City, CA 94061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 594 of
                                        1568
Gray Dunn
1197 Laurie Ave
San Jose, CA 95125



Grayson Schlichting
11601 Century Oaks Terr #4109
Austin, TX 78758



Grayson Willis
989 Nettle Place
Sunnyvale, CA 94086



Greater St. Louis Area Council, BSA
4568 West Pine Blvd.
St. Louis, MO 63108



Greg Ansley
195 E Meadows Ct
Alpharetta, GA 30005



Greg Barr
1062 Byerley Ave
San Jose, CA 95125



Greg Brant
721 209th Avenue Court East
Lake Tapps, WA 98391



Greg Buchner
690 Covington Rd.
Los Altos, CA 94024




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 595 of
                                        1568
Greg Butler
72 W. Prospect Ave
Pittsburgh, PA 15205



Greg Corrado
274A Connecticut St
San Francisco, CA 94107



Greg Cory
1391 6th Ave
san francisco, CA 94122



Greg Courville
7151 Wooded Lake Dr.
San Jose, CA 95120



Greg Cutler
151 Duncan Street
San Francisco, CA 94110



Greg Fadell
9420 allen rd
clarkston, MI 48348



Greg Feneis
903 Fourth Avenue
Redwood City, CA 94063-4006



Greg Geerling
4353 Westminster Pl
Saint Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 596 of
                                        1568
Greg Good
444 Cambridge
Royal Oak, MI 48007



Greg Gunn
300 Ivy St, Apartment #500
San Francisco, CA 94102



greg humphrey
166 del vale ave
San Francisco, CA 94127



Greg Justice
1131 Park St NE
Washington, DC 20002



Greg Kaine
508 Ironwood Terrace #3
Sunnyvale, CA 94086



Greg Kaspherskiy
15547 Palos Verdes Mall #159
Walnut Creek, CA 94597



Greg King
12800 Centerlake Drive APT 234
Austin, TX 78753



Greg LaKomski
PO Box 671
Elgin, TX 78621




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 597 of
                                        1568
Greg Lindahl
1259 Lakeside Drive #2206
Sunnyvale, CA 94085



Greg McConville
4458 Blossom Hill Trail
Ann Arbor, MI 48108



Greg McGovern
10269 Dorchester Place
Manassas, VA 20110



Greg McPheeters
741 Seaside St.
Santa Cruz, CA 95060



Greg Melia
1915 Wells Branch Parkway, Apt 1114
Austin, TX 78728



Greg Melia _V
14000 Renaissance Court
Apt 3090
Austin, TX 78728



Greg Minion
5521 Margaretta St
Pittsburgh, PA 15206



Greg Moran
1330 S Fern St
Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 598 of
                                        1568
Greg Onstott
3300 Bee Cave Rd, Ste 650-203
Austin, TX 78746



Greg Place
329 McDonald Pl
St. Louis, MO 63119



Greg Shipley
3267 N St. NW Unit 5
Washington, DC 20007



Greg Smith
1709 Stanhope Ave.
grosse Pointe Woods, MI 48236



Greg Sumner
788 17th Ave
San Francisco, CA 94121



Greg Waner
407 Battle Bend Blvd.
Austin, TX 78745



Greg Werner
43480 Southerland Way
Fremont, CA 94539



Greg Zuber
PO Box 4611
Walnut Creek, CA 94596




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 599 of
                                        1568
Gregg Camp
230 Shoreview Drive
Aptos, CA 95003



Gregg Louis
2900 Indiana Ave, Unit 1
St. Louis, MO 63118



Gregg Oleksa
6144 Deer Ridge Trail
Springfield, VA 22150



Gregg Roos
133 Kingston St.
San Francisco, CA 94110



Gregg Wrobleski
2601 La Frontera Blvd. Apt #2318
Round Rock, TX 78681



GreggWilliamson Perez
259 Wyckoff St. Apt. 3
Brooklyn, NY 11217



Gregoire HENRY
180 SANSOME ST.
SAN FRANCISCO, CA 94103



Gregori Niculitcheff
214 Redwood Dr.
La Honda, CA 94020




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 600 of
                                        1568
Gregory Castellanos
926 Howard Street
San Francisco, CA 94103



Gregory Castellanos_V
TechShop SF
926 Howard St
San Francisco, CA 94103



Gregory Gingell
2695 S Tucana Ct
Gilbert, AZ 85295



Gregory Harriman
14672 Gypsy Hill Rd
Saratoga, CA 95070



Gregory Henry
1790 S. Lynn St.
Arlington, VA 22202



Gregory Hughes
440 Belmont Ave.
San Jose, CA 95125



Gregory Jaworski
333 Main ST APT 224
Redwood City, CA 94063



Gregory Luedtke
1589 Rebel Way
San Jose, CA 95118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 601 of
                                        1568
Gregory Miller
One Clarence Place #1
San Francisco, CA 94107



Gregory Nicol
1310C Gateview Avenue
San Francisco, CA 94130



Gregory Sadowy
936 Beverly Way
Altadena, CA 91001



Gregory Stone
472 n winchester blvd #4
santa clara, CA 95050



Gregory Thomas McPheeters
741 Seaside St.
Santa Cruz, CA 95060



Gregory Voigt
1832 E. Mountain Sky Ave.
Phoenix, AZ 85048



Gregory Woods
6802 Brisbane Street
Springfield, VA 22152



Gregory Zak
116 E Middlefield Rd #C
Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 602 of
                                        1568
Gregory Zumsteg
1563 Fraser Drive
Sunnyvale, CA 94087



Gregory-Adam Terry
1709 Otis Place NE
Washington, DC 00020-0018



Greta Galindo
33590 Canvas Back St
Woodland, CA 95695



Gretchen Briggs
1793 Paducah Court
Woodbridge, VA 22191



Griffin Crown
1260 E University Dr
Apt 1080
Tempe, AZ 85281



Guglielmo Morandin
956 Franquette Ave
San Jose, CA 95125



Guillermo Cornejo
38 Broadway Street
Redwood City, CA 94063



Gulu Gambhir
436 West St NW
Vienna, VA 22180




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 603 of
                                        1568
Guo Feng
3573 Sunnymead Court
San Jose, CA 95117



Guoyu Liu
1571 W El Camino Real Apt#16
Mountain View, CA 94040



Gus Andrade
1360 Vinci Park Way
San Jose, CA 95131



Gustav Rutecki
9320 Saddlebrook Court
Plymouth, MI 48170



Gustavo Adolfo Gil
14837 West Escondido Dr. North
Litchfield Park, AZ 85340



Gustavo Berga
300 N Lamar Blvd, Apt 207
Austin, TX 78703



Gustavo Correa
13629 Kings
Fontana, CA 92236



Gustavo Gil
14837 West Escondido Dr. North
Litchfield Park, AZ 85340




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 604 of
                                        1568
Gustavo Moreno
105 Hilltop Dr. #1
Liberty Hill, TX 78642



Gutelius Family Revocable Trust
1259 El Camino Real #230
Menlo Park, CA 94025



Guy Bieber
662 S. Colonial Ct.
Gilbert, AZ 85296



Guy El_Jamous
623 W Guadalupe Rd
Mesa, AZ 85210



Guy Jirrels
1300 W. Brooks St.
Chandler, AZ 85224



Guy Mackenzie
100 Copper Leaf Ct
Georgetown, TX 78633



Guy McCarthy
1710 W. Montery St.
Chandler, AZ 85224



Guy Wilson
1646A Filbert Street
San Francisco, CA 94123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 605 of
                                        1568
Gwelle Boissiere
8902 E Via Linda #66
Scottsdale, AZ 85258



Gwen Brown
290 Wheeler Ave
Redwood City, CA 94061



Gwendolyn Chung
6158 Chesbro Ave
San Jose, CA 95123



Gyne Riser
3021 Maxwell Ave
Oakland, CA 94619



Gypsy Rogers
590 Avocet Dr, Apartment 7102
Redwood City, CA 94065



Hacene Gherbi
1770 bay ridge pkwy, 1d
brooklyn, NY 11204



Hadi Tabatabai
2571 Shattuck Avenue, Berkeley 94704, St
berkeley, CA 94704



Hadley Pratt
351 Stratford Ave
Pittsburgh, PA 15122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 606 of
                                        1568
Haile Negussie
2325 3rd St. Suite 215
San Francisco, CA 94107



Hailey Boshell
26275 N Heeler Ln
Paulden, AZ 86334



Haitham Mokahel
4833 Montague Ave
Fremont, CA 94555



Hajarat Yusuf
1118 Cambria Drive
East Lansing, MI 48823



Haji Uesato
60 East 8th Street Apt 33F
New York, NY 10003



Hal Rodriguez
525 19th Avenue
San Francisco, CA 94121



Halbert Tam
1102 Courtland Ave.
Milpitas, CA 95035



Hallsi Killian
616 S Main St
Pittsburgh, PA 15220




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 607 of
                                        1568
Hallsi Killian
4210 Millington Road
Pittsburgh, PA 15217



Hamad Esmail
1275 E. University Dr.
Tempe, AZ 85281



Hamid Motalebi
1401 Red Hawk Cir, AptH202
Fremont, CA 94538



Hamza Yusuf
1118 Cambria Drive
East Lansing, MI 48823



Hanaa Zeid
4196 Lemoyne Way
Campbell, CA 95008



Hanmi Bank
C/O Lease Services
P.O. Box 3892
Seattle, WA 98124



Hanmi Bank
C/O Lease Services
P.O Box 3892
Seattle, WA 98124



Hanna Saurenman
6337 SOUTHWOOD AVE 3W
Clayton, MO 63105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 608 of
                                        1568
Hannah Bowers
305 Oakland Ave, Apt A
Oakland, CA 94611



Hannah Capel
868 43rd St.
Emeryville, CA 94608



Hannah Ireland
131 Ellsworth St.
San Francisco, CA 94110



Hannah Kerner
3506 S. Terrace Rd
Tempe, AZ 85282



Hannah Robinson
2795 Golden Gate Ave
San Francisco, CA 94118-4108



Hannah Weintraub
231 Dale Drive
Silver Spring, MD 20910



Hannah Zachritz
126 Hancock St
San Francisco, CA 94114



Hannah Zampaglione
1615 Canyon View Dr.
San Jose, CA 95132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 609 of
                                        1568
Hanover Insurance Co
PO Box 580045 Charlotte, NC 28258-0045
Charlotte, NC 28258



Hanqing Zhu
2351 11th St
San Jose, CA 95112



Hans Schellenberg
144 Shorebird Circle
Redwood City, CA 94065-5107



Hanson Linek
4635 capitan drive
Fremont, CA 94536



Hany Nassef
2150 Shattuck Ave. PH
Berkeley, CA 94704



Hao Lin
2827 S Paseo Loma
Mesa, AZ 85202



Hardev Kahlon
2089 Cinderella Lane
San Jose, CA 95116



Hareesh Iyer
100 W San Fernando St Suite 114
San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 610 of
                                        1568
Harlan Kilbourn
12107 Shetland Chase
Austin, TX 78727



Harmanjeet Bains
2945 S 296th Pl
Federal Way, WA 98003



Harold Gibbs
140 E Rio Solado Pkwy
Tempe, AZ 85281



Harold Russell
1012 Bonita Ave
Mountain View, CA 94040



Harold Sears
15065 Blue Skies St.
Livonia, MI 48154



Harold Williamson
2614 Belmont Canyon Road
Belmont, CA 94002



Haroon Dirie
4351 Hamilton Ave Apt 1
San Jose, CA 95130



Harriman Revocable Trust Dated May 17, 2
14672 Gypsy Hill Rd
Saratoga, CA 95070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 611 of
                                        1568
Harris Chaiklin
1055 Escalon Ave Apt. 607
Sunnyvale, CA 94085



Harrison Smith
4111 N DrinkWater Blvd A 405
Scottsdale, AZ 85251



Harrison McHugh
1263 11th Ave APT#1
San Francisco, CA 94122



Harrison Oglesby
6354 Blackwood Dr
Cupertino, CA 95014



Harrison Richards
1201 W 6th Street, Suite G
Austin, TX 78703



Harrison Steves
3452 W Jefferson Ave
Trenton, MI 48183



Harry Arnold
18141 Anglin
Detroit, MI 48234



Harry Cheung
2479 E Bayshore Rd Ste 250
Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 612 of
                                        1568
Harry Guillen
5401 East Van Buren Street Unit 3047
Chandler, AZ 85224



Harry Lobo
20901 Oakwood Blvd
Dearborn, MI 48124



Harry Mullin
41 Lebanoon Hills Drive
Pittsburgh, PA 15228



Harry Nagel
3000 McCully Road
Allison Park, PA 15101



Harry Price/ Wantin Living Trust CDI Dev
490 Chadbourney Rd.
Fairfield, CA 94534



Harry Ragland
7646 Carswold
Clayton, MO 63105



Harry Scott
7101 Easy Wind Dr.
Austin, TX 78752



Harry Weppner
1620 Connecticut Drive
Redwood City, CA 94061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 613 of
                                        1568
Harsha Srivatsa
2000 Walnut Ave Apt. H201
Fremont, CA 94538



Harvey Sellner
1014 Millspring Dr.
Durham, NC 27705



Hasan Alenezi
1050 S Terrace rd
Tempe, AZ 85281



Hasti Afsarifard
311 Atherton Avenue
Atherton, CA 94027



Hatim Amro
2203 Speidel Dr
Pflugerville, TX 78660



Hattie Hardt
8603 Parkdale Dr
Caseyville, IL 62232



Hayle Estrada
1040 Hirasaki Ct.
Gilroy, CA 95020



Hazel McLaws
1371 W Canary Way
Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 614 of
                                        1568
Hearst Communications Inc
Chronicle Downtown Properties
5 Third Street, Suite 200
San Francisco, CA 94103



Heath Conaway
613 Leo Lane
Killeen, TX 76542



Heath Culp
383 Logan Ranch Rd
Georgetown, TX 78628



Heath Dieckert
11508 Champion Drive
Austin, TX 78750



Heath Sullivan
4326 E Clayton ave
Gilbert, AZ 85297



Heather Boswell
1120 Millbrae Ave
Millbrae, CA 94030



Heather Bowers
966 Lakeview Way
Emerald Hills, CA 94062



Heather Deshazer
314 Lakechime Dr
Sunnyvale, CA 94089




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 615 of
                                        1568
Heather diMarco
1918 Meadowbrook Rd.
Prescott, AZ 86303



Heather DiTore
2125 S. Longmore
Mesa, AZ 85202



Heather Houska
120 Forest Lane
Berkeley, CA 94708



Heather Klaubert
1104 Pine St
Menlo Park, CA 94025



Heather Mallak
129 41st St
Pittsburgh, PA 15201



Heather Martinez
2251 Eisenhower Avenue #1522
Alexandria, VA 22314



Heather Stewart
1960 mandela pkwy
Oakland, CA 94607



Heather Tadlock
902 Country Aire Unit A
Round Rock, TX 78664




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 616 of
                                        1568
Heather Tom
14959 Crosby Street
San Leandro, CA 94579



Hector DeLaTorre
712 Trailside Bend
Round Rock, TX 78665



Hector Lopez
1313 Portchester Castle Path
Pflugerville, TX 78660



Hector Salamanca
3341 Ohio Ave
St. Louis, MO 63116



Heidi Green
16886 Bold Venture
Leesburg, VA 20176



Heidi Abdul
6725 E Nicolet Ave
Glendale, AZ 85303



Heidi Hitchcock
743A Union St.
San Francisco, CA 94133



Heidi Sodemann
1110 Stratford Ct
Round Rock, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 617 of
                                        1568
Heidi Stern
4282 Suzanne Drive
Palo Alto, CA 94306



Helen Julson
108 Palo Duro Drive
Cedar Creek, TX 78612



Helen Co
630 N. Dixboro Rd.
Ann Arbor, MI 48105



HelenaFitzgerald Lindsay
12300 Obrad Dr
Saratoga, CA 95070



Hem Korubilli
1268 Casa Marcia Pl
Fremont, CA 94539



Hema-Lou VARMA
402 ST.FRANCIS BLVD.
SAN FRANCISCO, CA 94127



Hendrik Lies
312 Fillmore Street, Apt. #15
San Francisco, CA 94117



Henri Bai
2370 market St. Ste 112
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 618 of
                                        1568
Henry Briggs
226 Henquin Dr.
Saint Louis, MO 63108



Henry Blankespoor
276 Charles Marx Way
Palo Alto, CA 94304



Henry Braunreuther
1596 Edmond Ct.
San Jose, CA 95125



Henry C. Moore
205 Laning Dr.
Woodside, CA 94062



Henry Crome
5060 Kingston Way
San Jose, CA 95130



Henry Goffin
578C Hickory St
San Francisco, CA 94102



Henry Graham
7307 Huntington Dr.
St. Louis, MO 63121



Henry Graves
803 Oakridge Drive
Round Rock, TX 78681




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 619 of
                                        1568
Henry Jovanovic
2722 West Estrella Drive
Chandler, AZ 85224



Henry Lam
46 Long Pond Lane
Staten Island, NY 10304



Henry Lee
1922 Bayview Ave
Belmont, CA 94002



Henry Moore
205 Laning Dr.
Woodside, CA 94062



Henry Nester
214 McHenry Street
vienna, VA 22180



Henry Pang
732 bounty drive #3212
Foster City, CA 94404



Henry Sullivan
105 East Oak Street
Alexandria, VA 22301



Henry Thorne
143 H V Dr
Pittsburgh, PA 15213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 620 of
                                        1568
Henry Thorne-Thomsen
1902 Inverness Blvd
Austin, TX 78745



Henry Tran
581 Paloma Avenue
Pacifica, CA 94044



Henry Ubik
818 bishop rd
Grosse pt park, MI 48230



Herb Hundt
2600 Crystal Drive #1804
Arlington, VA 22202



Herman Wong
4601 Korbel St
Union City, CA 94587



Herminio Gonzalez
1316 Town Center Dr. Apt 3118
Pflugerville, TX 78660



Hernando Chovil
1554 Great Falls St
Mclean, VA 22101



Herrick Family Limited Partnership
3970 Peninsula Dr.
Bay Harbor, MI 49770




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 621 of
                                        1568
Hilarion Sivananthan
4557 W. Ivanhoe St.
Chandler, AZ 85226



Hilary Ball
2805 31st Street NW
Washington, DC 20008



Hilary Darbonne
1847 Granite Creek Road
Santa Cruz, CA 95065



Hilary E Ball
2805 31st Street NW
Washington, DC 20008



Hilary Heincer
8621 spring creek ct
Springfield, VA 22153



Hilary Pendleton
113 S GALAXY DR
Chandler, AZ 85226



Hilda Buxbaum
928 Bellefont St
Pittsburgh, PA 15232



Hildreth Garb
1141 Polk Ave
Sunnyvale, CA 94086




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 622 of
                                        1568
Himanshu Patel
1114 Nevada Ave.
San Jose, CA 95125



Hind Ourahou
540 E Chesterfield
Ferndale, MI 48220



Hinshaw & Culbertson, LLP
8142 Solutions Center DR.
Chicago, IL 60677



Hinshaw & Culbertson, LLP
8142 Solutions Center DR.
`
Chicago, IL 60678



Hiro Kanahori
440 N Wolfe Rd
Sunnyvale, CA 94085



Hiroko Kurihara
341 62 St.
Oakland, CA 94618



Hiroyuki Sakai
EVP, Head of Global Marketing United
Fujitsu Limited, 1-1, Kamikodanaka 4-cho
Nkahara-ku, Kawasaki 211-8588
JAPAN



Hnin Ookhin
135 Eureka Street
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 623 of
                                        1568
HNK Ventures, LLC
2479 E Bayshore Rd Ste 250
Palo Alto, CA 94303



Holden Karau
3407 24th st apt 2
San Francisco, CA 94110



Holly Earl
808 Ramona Ave
Albany, CA 94706



Holly Gurwell
2146 E Sunland Ave
Phoenix, AZ 85040



Holly Mendenhall
4170 17th Street #202
San Francisco, CA 94114



Holly Ngo
357 S 4th St #8
San Jose, CA 95112



Holly Ngo
529 S 10th St Apt 5
San Jose, CA 95112



Holly O'Leary
631 O'Farrell St Apt 302
San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 624 of
                                        1568
Holly Rankin
622 Haight St
San Francisco, CA 94117



Holly Rice
1058 Joshua Drive
Rio Rancho, NM 87124



holly schwarz
1522 Henry St., Apt. B
Berkeley, CA 94709



Holly Scudder
1200 Rice Ave
Cedar Park, TX 78613



Hope Kusy
92 South 5th Street Apt. #3
San Jose, CA 95112



Hope Nam
3605 Kenwood Ave.
San Mateo, CA 94403



Hortense FANOUILLAIRE
186 BELLEVUE AVE.
SAN FRANCISCO, CA 94014



Hossein Yazdi
310 Crescent Village Circle
San Jose, CA 95134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 625 of
                                        1568
Howard Degenholtz
939 N. Sheridan Ave
Pittsburgh, PA 15206



Howard Edington
176 Thousand Oaks Dr
Pittsburgh, PA 15241



Howard Fink
202 West 107th St Apt 6W
New York, NY 10025



Howard Hsieh
1071 Regency Knoll Dr.
San Jose, CA 95129



Howard Hsieh
1071 Regency Knoll Dr.
Apt 517
San Jose, CA 95129



Howard Paczynski
Barley Field Pass
Pflugerville, TX 78660



Howard Wieman
26 Sereno Cir
Oakland, CA 94619



Hubert Lee
6872 Shearwater Dr.
San Jose, CA 95120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 626 of
                                        1568
Hudson Barnes
527 Villa Centre Way
San Jose, CA 95128



Hugh Ragsdale
41 Sunset Trail
Clinton Corners, NY 12514



Hugh Reynolds
1810 Ayers Rd
Concord, CA 94521



Hugh Sutton-Gee
1839 Ygnacio Valley Rd. #203
Walnut Creek, CA 94598



Hugh Walker
2915 Aftonshire Way 5-306
Austin, TX 78748



Hugo Wang
2425B Channing Way Suite 357
Berkeley, CA 94704



Hung Hoang
571 English Avenue
Monterey, CA 93940



Hung-Vuong Pham
441 63rd Street
Apt #2R
Brooklyn, NY 11220




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 627 of
                                        1568
Hunter Marckwald
4247 E Sells Dr
Phoenix, AZ 85018



Hunter Nordhauser
555 O'Farrell St.
San Francisco, CA 94102



Hunter Verbeck
736 Oakview Way
Redwood City, CA 94062



Hunter Whitchurch
908 Kennedy Dr
Capitola, CA 95010



Hunter Wills
12590 Miraloma Way
Los Altos, CA 94024



Huntting Jessup
4649 West Gail
Chandler, AZ 85226



Hurwitz Family 2008 Trust
6405 Vicanna Dr.
San Jose, CA 95129



Husni Almoubayyed
5000 Forbes Ave
Pittsburgh, PA 15213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 628 of
                                        1568
Huy Hong
735 Emerson St.
Palo Alto, CA 94301



Huyen Pham
7236 N 26th Ln
Phoenix, AZ 85051



Iain Weissburg
1601 Molitor Rd.
Belmont, CA 94002



Ian Manger
22 Grove St #3E
New York, NY 10014



Ian Saxton
32 Turquoise Way
San Francisco, CA 94131



Ian A Twombly
2348 Rosita Ave
Santa Clara, CA 95050



Ian Bain
1772 Anamor St.
Redwood City, CA 94061



Ian Beamer
27915 Iberville Glen Dr
Katy, TX 77494




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 629 of
                                        1568
Ian Bettinger
243 Monterey Blvd
San Francisco, CA 94131



Ian Brown
602 Arcadia Terrace #304
Sunnyvale, CA 94085



Ian Brown
51 Surrey St
San Francisco, CA 94131



Ian Bruce
448 N 10th St
San Jose, CA 95112



Ian Buckley
73 Highland Ave
San Carlos, CA 94070



Ian Carmack
11816 Breton Ct, 11
Reston, VA 20191



Ian Cashen
3776 E. Marlene Dr
Gilbert, AZ 85296



Ian Christoph
4058 26th Street
San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 630 of
                                        1568
Ian Darby
18970 Barnhart Ave
Cupertino, CA 95014



Ian Emmons
1220 Tasman Drive #280
Sunnyvale, CA 94089



Ian Fong
3396 Capulet Circle
Fremont, CA 94555



Ian Harvey
1480 S. Rural Rd.
#0316
Tempe, AZ 85281



Ian McCutcheon
11085 center ave
Gilroy, CA 95020



Ian Million
PO box 843
Ballwin, MO 63011



Ian Pang
454 35th Ave
San Francisco, CA 94121



Ian Shain
735 Market Street, Floor 4
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 631 of
                                        1568
Ian Sights
5413 Agatha Circle
Austin, TX 78724



Ian Smelser
9621 Sandbur Pl
Salinas, CA 93907



Ian Spiro
822A Cedar St
Redwood City, CA 94063



Ian Tran
43121 Laundonderry Ct
Canton, MI 48188



Ian Ulibarri
1280 15th Ave. #109
San Francisco, CA 94122



Ian Very
732 Robinwood Drive
Pittsburgh, PA 15220



Ida Mayer
1355 Sage Hen Way Unit R
Sunnyvale, CA 94087



Idan Fiksel
5249 E. Blanche Dr.
Scottsdale, AZ 85254




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 632 of
                                        1568
Idan Warsawski
200 Rector Pl Apt 25N
New York, NY 10280



Ikem Ajaelo
328 Arrowhead way
Hayward, CA 94544



Ikhyun Choi
853 Commodore Dr. Apt. 526
San Bruno, CA 94066



Ikuyo Cochran
10041 S 46th Way
Phoenix, AZ 85044



Iliyan Malchev
39 Encline Ct
San Francisco, CA 94127



Ilona Isaacs
11501 Hyde Pl
Raleigh, NC 27614



Ilya Gribov
221 Ditmas AVE
Brooklyn, NY 11218



Ilya Neizvestny
50 S. Montgomery St
San Jose, CA 95126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 633 of
                                        1568
Ilya Polyakov
1276 18th Ave #1
San Francisco, CA 94122



ILYA SHOR
1026 HYDE AVE
SAN JOSE, CA 95129



Ilya Smelansky
411 Saint Johns Place
Brooklyn, NY 11238



Ilya Smelansky
411 Saint John's Place
Apt No: 16
Brooklyn, NY 11215



Imad Elayle
2339 benton st
Santa Clara, CA 95050



Imar Uriostegui
3217 W Fillmore St.
Phoenix, AZ 85009



Imen Guediche
2277 Moss Rose Ct.
Ann Arbor, MI 48103



Immanuella Kankam
525 S Forest
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 634 of
                                        1568
Incite Networks, Inc.
A Superne Technologies Divison
2885 Sanford Ave SW#22296
Grandville, MI 49418



Indira Joshi
19950 Bonnie Ridge Way
Saratoga, CA 95070



Ingrid Werber
3320 valley drive
Arlington, VA 22302



Insiya Dhatt
2143 North Point St
San francisco, CA 94123



Internal Revenue Service
Centralized Insolvency Unit
PO Box 7346
Philadelphia, PA 19101-7346



Ioana Browne
1911 Barbara Dr.
Palo Alto, CA 94303



Ioann Larsen
23411 E. Orville St.
Florence, AZ 85132



IPFS Corporation
24722 Network Place
Chicago, IL 60673




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 635 of
                                        1568
Ira Elo
PO Box 90107
Pittsburgh, PA 15224



Irene Tsang
16481 LIBERTY ST
SAN LEANDRO, CA 94578



Irene Wittig
1619 S Quincy St.
Arlington, VA 22204



Irina Zaks
1143 Carver
Mountain View, CA 94040



Iris LANGLET
1245 CLAYTON ST.
SAN FRANCISCO, CA 94114



Irma Collins
1019 Canterbury Trail
Georgetown, TX 78626



Irvin Deener
43746 Calistoga Sq
Ashburn, VA 20147



Isaac Asaro
1725 Michaelwood Ct
Saint Charles, MO 63303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 636 of
                                        1568
Isaac Dixon
924 Hyde Park Dr
Round Rock, TX 78665



Isaac Gonzalez
123 bay place, #204
oakland, CA 94610



Isaac Hepworth
2828 Harrison St
San Francisco, CA 94110



Isaac Levine
336.5 S. State St
Ann Arbor, MI 48104



Isabel Anderson
1165 Miller Ave
Berkeley, CA 94708



Isabel Maas
9 Tupelo Way
Acton, MA 01720



Isabella Rhein
2933 Garfield St NW
Washington, DC 20008



Isabella Baynard
4388 El Camino Real Unit 339
Los Altos, CA 94022




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 637 of
                                        1568
Isabella Cates
2422 Menokin Dr Apt 201
Alexandria, VA 22302



Isabella Cates
2422 Menokin Dr,
Apt #201
Alexandria, MD 22304



Isabelle Borie
1005 E 8th St #20090
Tempe, AZ 85281



Isaiah Jones
2027 Fillmore Street
San Francisco, CA 94115



Isaiah LyndPorter
2631 louisiana Avenue
St. Louis, MO 63118



Isaiah Malloy
39 Elizabeth St
Pittsburgh, PA 15220



Isao Yagi
827 Coventry Ct
Sunnyvale, CA 94087-3575



Ishit Shah
4638 Centre Ave
Pittsburgh, PA 15213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 638 of
                                        1568
Isidro Garcia
20300 Rotunda Dr
Dearborn, MI 48124



Itay Donanhirsh
55 Vallecito Lane
Walnut Creek, CA 94596



Iva Wallace
320 23rd Street S Apt 1301
Arlington, VA 22202



Ivan Dorflinger
5616 South 1st #37
Austin, TX 78745



Ivan Echevarria
119 12th Ave.
San Mateo, CA 94402



Ivan Ivisic
448 Saratoga Ave. Apt. 109
San Jose, CA 95133



Ivan Lopez
1051 Geneva Ave.
San Francisco, CA 94110



Ivan Stolze
1619 Ashby #2
Berkeley, CA 94703




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 639 of
                                        1568
Ivan Sutherland
2623 NW Northrup St
Portland, OR 97210



Ivan Yen
15 Mountain View Place
San Mateo, CA 94402



Ivanovich Valentino
2498 cove place
Discovery bay, CA 94505



Iwalani Kaya
2301 Lass Dr.
Santa Clara, CA 95054



Iwan Grau
3606 E. Red Oak Ln.
Gilbert, AZ 85297



Izaak Rohman
4495 E Peach Tree
Chandler, AZ 85249



J Hugh Visser
40 Balceta Ave.
San Francisco, CA 94127



J r mie LEVRAY
622 Leavenworth St
San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 640 of
                                        1568
J. Evans
945 Sonoma Street
Richmond, CA 94805



J. Simmons
3828 Georgia Ave. Nw
Washington DC, DC 20011



J.F. Ellman
240 11th St.#A
San Francisco, CA 94103



Jaaron Leibson
3175 Stonegate Dr
Alamo, CA 94507



Jace Cao
9702 E. Jan Ave.
Mesa, AZ 85209



Jace Cleron
1160 Klamath Drive
Menlo Park, CA 94025



Jack Cackler
146a Kittoe Dr
Mountain View, CA 94043



Jack Chin
1847 E. Merlot St.
Gilbert, AZ 85298




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 641 of
                                        1568
Jack Chin_V
1847 E Merlot St
Gilbert, AZ 85298



Jack Doherty
4026 E Lavender ln
Phoenix, AZ 85044



Jack Faraone
15840 Kennedy Road
Los Gatos, CA 95032



Jack Fisher
714 E. McKinley
Phoenix, AZ 85006



Jack Forney
462 Westlake Dr
San Jose, CA 95117



Jack Frosch
6209 Mid Rivers Mall Drive, #314
Saint Peters, MO 63304



Jack Glenn
2529 Graceland Ave
San Carlos, CA 94070



Jack Gratteau
17147 Tassajara Circle
Morgan Hill, CA 95037




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 642 of
                                        1568
Jack Greenfield
2632 Gonzaga st
East Palo Alto, CA 94303



Jack Greenfield
100 San Bruno Ave.
Apt #7
Brisbane, CA 94005



Jack Griffin
1839 E Jola Dr
Tempe, AZ 85282



Jack Henley
2230 Carmelita Drive
San Carlos, CA 94070



Jack Kafafian
13651 Ludlow
Oak Park, MI 48237



Jack Leblond
3716 Apple Vista Circle
Pflugerville, TX 78660



Jack Lin
35-21 81st Street #5B
Jackson Heights, NY 11372



Jack Powers
747 SE 27th St.
Gresham, OR 97080




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 643 of
                                        1568
Jack Rowe_V
36364 Fairway DR,
Livonia, MI 48152



Jack Southard
2128 Grove St.
San Francisco, CA 94117



Jack Withers
903 Floradale Dr.
Austin, TX 78753



Jack Withers
903 Floradale
Austin, TX 78753



Jack Yarborough
8604 Mesa Dr, Unit A
Austin, TX 78759



Jackie Callahan
1958 Ellen Ave
San Jose, CA 95125



Jackie Chin
1600 Villa St Apt 263
Mountain View, CA 94041



Jackie DelCastillo
432 High St #301
Palo Alto, CA 94301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 644 of
                                        1568
Jackie Hasa
1245 hayes st #4
San Francisco, CA 94117



Jackie Huck
164 Lundys
San Francisco, CA 94110



Jackie Qiang
525 Middlefield Rd #981
Redwood City, CA 94063



Jackie Quirin
1822 West Blvd.
Belleville, IL 62221



Jackie Soussan
1045 W. Iowa Ave
Sunnyvale, CA 94086



Jackson Troll
3420 Commonwealth Ave
Maplewood, MO 63143



Jackson White
331 Marion ave
St. Louis, MO 63119



Jackson Wolfe
365 S Graham Street
Pittsburgh, PA 15232




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 645 of
                                        1568
Jaclyn Stosz
2225 E Sausalito Ct
Gilbert, AZ 85234



Jacob Adams
3305 Grooms St Apt C
Austin, TX 78705



Jacob Alexander
2277B Mauricia Ave Apt. B
Santa Clara, CA 95051



Jacob Adler
1927 E. Loyola Dr.
Tempe, AZ 85282



Jacob Apontes
809 Laurel St 257
San Carlos, CA 94070



Jacob Boyce
936 S. Mystic
Gilbert, AZ 85233



Jacob DeHart
12215 Hunters Chase Dr 6106
Austin, TX 78729



Jacob Demo
563 Jackson Ave, Apt. #3
Redwood City, CA 94061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 646 of
                                        1568
Jacob Fenwick
140 9th st
San Francisco, CA 94103



Jacob Francois
4101 Mcdonald Ave
St. Louis, MO 63116



Jacob Fredette_Roman
4441 E Sports Dr
Gilbert, AZ 85298



Jacob Hilton
711 N Evergreen Rd
Mesa, AZ 85201



Jacob Kelsay
3617 West Morelos St
Chandler, AZ 85226



Jacob LaBenz
1443 E. Butler Circle
Chandler, AZ 85225



Jacob Lemus
3811 E Kent Dr
Phoenix, AZ 85044



Jacob Lineberry
423 Kern St.
Woodstock, VA 22664




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 647 of
                                        1568
Jacob Lineberry
423 Kern St
Woodstock, VA 22664



Jacob Lynn
220 S. 17th St.
Camp Hill, PA 17011



Jacob Orenstein
1317 Macon Ave
Pittsburgh, PA 15218



Jacob Reid
1140 Sutter St, Apt 307
SAN FRANCISCO, CA 94109



Jacob Sams
33 Empire Dr
Belleville, IL 62220



Jacob Spann
3810 duval st
austin, TX 78751



Jacob Sprowes
4549 El Cajon Avenue
Fremont, CA 94536



Jacob Sullivan
5122 W Pershing Ave
Glendale, AZ 85304




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 648 of
                                        1568
Jacobo Galina
312 Chestnut
Redwood City, CA 94063



Jacqeline Pennoyer
977 Howard street
San Francisco, CA 94103



Jacqueline Armada
301 Main St
San Francisco, CA 94105



Jacqueline Fontaine
10819 Oaklane #19305
Bellevilee, MI 48111



Jacqueline Barba Dsouza
4300 The Woods Drive #1803
San Jose, CA 95136



Jacqueline Brady
1417 E. Darrel Rd
Phoenix, AZ 85042



Jacqueline Byers
6208 Beard Pl
Edina, MN 55410



Jacqueline Church
8636 Tyndall St #A SW
Washington, DC 20032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 649 of
                                        1568
Jacqueline Jay
623 33rd St Ave
San Francisco, CA 94121



Jacqueline Villaba-Larson
369 West 3rd Avenue
Tempe, AZ 85210



Jacqueline Villalba-Larson
850 S River Dr #1053
Tempe, AZ 85281



Jacqui Hendricks
860 Fell St.
San Francisco, CA 94117



Jad Hamdan
4876 Keithdale In
Blommfield Hills, MI 48302



Jade Garrett
9412 Talisman Dr
Vienna, VA 22182



Jade Feria
1688 Tacoma Ave
Berkeley, CA 94707



Jade Garrett
9412 Talisman Dr
Vienna, VA 22182




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 650 of
                                        1568
Jade Russell
286 W. Palomino Dr. #87
Chandler, AZ 85225



Jae-Ho Pyeon
1 Washington Square
San Jose, CA 95112



Jai Krishnan
206 Surrey Street
San Francisco, CA 94131



Jaime SanchezDeLaVega
2121 South Pennington
Mesa, AZ 85202



Jaime Ballesteros
114 Grant St.
Burgettstown, PA 15021



Jaime Mahaffey
45 Hobson St #7B
San Jose, CA 95110



Jaime Ng
153 St Francis Blvd
Daly City, CA 94015



Jaime Trujillo
3206 Sanaloma Dr
Georgetown, TX 78628




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 651 of
                                        1568
Jaime Zahorian
419 Prince St. APT5
Alexandria, VA 22314



Jairus Cesarz
1368 Myrtle Ave Apt 3
Brooklyn, NY 11237



Jairus Cesarz
1368 Myrtle Ave
Apt No: 3
Brooklyn, NY 11237



Jake Carps
4557 W. Albain Road
Monroe, MI 48161



Jake Fisher
6224 Marmaduke Ave.
St. Louis, MO 63139



Jake Al-Haffar
511 Greene Ave
Brooklyn, NY 11216



Jake Anderson
113 Greenmont Ln.
Cary, NC 27511



Jake Galbreath
1125 Park Pl, #117
San Mateo, CA 94403




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 652 of
                                        1568
Jake Haggmark
1300 Convention Plaza Unit 208
St. Louis, MO 63103



Jake Hosking
1901 Larchwood Circle
Prescott, AZ 86301



Jake Kolojejchick
1212 LaClair St
Pittsburgh, PA 15218



Jake Laktas
1100 Corporate Square Dr
Creve Coeur, MO 63132



Jake Martin
580 Middlefield Road
Atherton, CA 94027



Jake Rankinen
6627 Cavalier Dr
Alexandria, VA 22307



Jake Schultz
26 O'Farrell st, 7th Floor
San Francisco, CA 94108



Jake Smith
1503 Edwards Ferry Rd NE, Suite 201
Leesburg, VA 20176




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 653 of
                                        1568
Jake Weppner
1769 Valley View Ave
Belmont, CA 94002



Jake Xu
2941 S. Tumbleweed Ln. Chandler AZ
Chandler, AZ 85286



Jakob Hoellerbauer
1575 Stacy Dr
Canton, MI 48188



Jalal Clemens
2389 39th ave
San Francisco, CA 94116



Jamal Alezzani
9930 Frederick
dearborn, MI 48120



Jamal Cahoon
577 Castro St Apt 105
San Francisco, CA 94114



Jamal Davis
88 North Jackson Avenue
San Jose, CA 95110



Jameco Electronics
1355 Shoreway Road
Belmont,, CA 94002




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 654 of
                                        1568
Jamel Belwafa
2277 Moss Rose Ct.
Ann Arbor, MI 48103



James Farris
13505 Abraham Lincoln St
Manor, TX 78613



James (Jim) Stall
5205 N 8th Place
Phoenix, AZ 85014



James Anderson
4600 S. Four Mile Run Dr., Apt 520
Arlington, VA 22204



James Appleby
218 Kentucky Ave, SE
Washington, DC 20003



James Barrese
51 Alice Ave
Campbell, CA 95008



James Barton
2835 Halsey ave
Redwood City, CA 94063



James Begole
897 Highlands Circle
Los Altos, CA 94024




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 655 of
                                        1568
James Bell
500 WEST MIDDLEFIELD RD #88
MOUNTAIN VIEW, CA 94043



James Biesemeyer
5939 Garces Ave.
San Jose, CA 95123



James Biggs
481 N Santa Cruz Ave
Los Gatos, CA 95030



James Bobowski
527 23rd Ave Apt 113
Oakland, CA 94606



James Bodnar
7418 Brian Run Ct
Springfield, VA 22153



James Bowerman
729 north george mason drive
arlington, VA 22203



James Brady
250 Omira Dr
San Jose, CA 95123



James Brinkman
3330 Cesar Chavez ap 321
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 656 of
                                        1568
James Buck
1934 Old Post Rd
Crofton, MD 21114



James Burkhardt
517 Madera Ave
San Jose, CA 95111



James Bynum
5645 Oak blvd
Austin, TX 78735



James Byrd
1045 S. San Jose
Mesa, AZ 85021



James Campbell
580 West Middlefied #88
Mountain View, CA 94043



James Campbell
1858 Culver Ave
Dearborn, MI 48124



James Carthew
1724 35th Ave.
Oakland, CA 94601



James Clark
4942 Kemper Avenue
St. Louis, MO 63139




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 657 of
                                        1568
James Cook
1913 Spahn Lane
Placenha, CA 92870



James Cordle
183 west street
Annapolis, MD 21403



James Courtney
904 Harmon Drive
Menlo Park, CA 94025



James Covian
13450 Research Blvd # 111
Austin, TX 78750



James Crenshaw
12028 W. Alex Ct.
Sun City, AZ 85373



James Crouchman
3762 Kenmore
Berkley, MI 48072



James Cummiskey
2 Botant Court
Gaithersburg, MD 20878



James Dancer
702 W. Quinn
Thorndale, TX 76577




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 658 of
                                        1568
James Davis
2871 Lausanne Ct
San Jose, CA 95132



James Dawson
2212 N 63rd Pl
Mesa, AZ 85215



James Doherty
991 Lundy Lane
Los Altos, CA 94024



James Donovan
227 Sanchez Street 10
San Francisco, CA 94114



James Doty
14190 Amherst Ct.
Los Altos Hills, CA 94022



James Dowe
5114 Spring Drive
Killeen, TX 76542



James Duffy
450 Abrams Rd.
Georgetown, TX 78633



James Dunger
33 Frontenac Estates Dr
St. Louis, MO 63131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 659 of
                                        1568
James E. Kutz
1340 Garthwick Dr
Los Altos, CA 94024



James Early
128 College Ave
Mountain View, CA 94040



James Egan
1805 Crystal Dr. #906
Arlington, VA 22202



James Egbert
106 Cascades Dr.
Saint Charles, MO 63303



James Egenrieder
1615 N. Cleveland St.
Arlington, VA 22201



James Feezell
538 Colecroft Court
Alexandria, VA 22314



James Feezell_V
538 Colecroft Ct
Alexandria, VA 22314



James Fialho
320 S Mathilda St #8
Pittsburgh, PA 15224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 660 of
                                        1568
James Fitzgerald
23124 Beech
Dearborn, MI 48124



James Folden
340 Belmont
Detroit, MI 48202



James Ford
344 Carl Street Apt 7
San Francisco, CA 94117



James Garb
1141 Polk Ave
Sunnyvale, CA 94086



James Gasser
12005 Wander Ln.
Austin, TX 78750



James Gloudemans
2309 Clipper St.
San Mateo, CA 94403



James Gyre
5 Sagwa St.
Pittsburgh, PA 15212



James H Somerville
129 Bradford Park Rd.
Baden, PA 15005




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 661 of
                                        1568
James Hagerman
723 Old Country Road Apt O
Belmont, CA 94002



James Hartman
921A Alvarado Street
san Francisco, CA 94114



James Hastings
4111 E Firestone Dr
Chandler, AZ 85249



James Hauk
1045 Wallea Dr
Menlo Park, CA 94025



James Herman
6712 Fennimore st.
Pittsburgh, PA 15206



James Holis
527 12th St SE
Washington, DC 20003



James Hollis
527 12th St SE
Washington, DC 20003



James Hughes
719 Middlefield Rd
Palo Alto, CA 94301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 662 of
                                        1568
James Hurd
1000 N. Edgewood St.
Arlington, VA 22201



James Jonas
P.O. Box 367
Redwood City, CA 94064



James Kalin
2150 Allston Way, #400
Berkeley, CA 94530



James Kao
4388 El Camino Real #139
Los Altos, CA 94022



James Kerchenfaut
107 S Mary Ave Apt 73
Sunnyvale, CA 94086



James Lechner
5581 Andromeda Circle
Fremont, CA 94538



James Leibson
3175 stonegate Dr
Alamo, CA 94507



James Lewis
722 Roble Ave
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 663 of
                                        1568
James Liu
12720 East Lupine Avenue
Scottsdale, AZ 85259



James Loftus-Mercer
12400 Blue Water Circle
Austin, TX 78758



James M Kao
4388 El Camino Real #139
Los Altos, CA 94022



James Manganaro
225 Lexington Drive
Menlo Park, CA 94025



James Manou
394 O'Connor St.
Menlo Park, CA 94025



James Markevitch
231 Emerson St.
Palo Alto, CA 94301



James Mason
2336 Sylvan Ln
Glendale, CA 91208



James Maxcy
240 S. Dakota St.
Chandler, AZ 85225




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 664 of
                                        1568
James Mazzaferro
1223 Franklin St NE
Washington, DC 20017



James McBennett
3841 18th Avenue
Brooklyn, NY 11218



James Melnyk
6434 Jackson St.
Pittsburgh, PA 15206



James Mensch
6536 Purple Cliff Ct
San Jose, CA 95119



James Mirowski
527 Hillcrest Rd
San Carlos, CA 94070



James Morgan
pob 720112
san jose, CA 95172



James Moulton
12720 E. Lupine Ave.
Scottsdale, AZ 85259



James Mueller
1545 18th ST nw 916
Washington, DC 20036




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 665 of
                                        1568
James Newton
524 Keelson Circle,
Redwood City, CA 94065



James Noble
19156 Bainbridge
Livonia, MI 48152



James Ogles
3532 E. Dublin St.
Gilbert, AZ 85296



James Palinkas
106-20 Shore Front PKWY Apt. 7H
Rockaway Park, NY 11694



James Palmer
4214 Venado Dr.
Austin, TX 78731



James Palmer
P.O. Box 1417
Pflugerville, TX 78691



James Pan
15466 Heron Dr.
San Leandro, CA 94579



James Parker
P.O. Box 28745
Austin, TX 78755




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 666 of
                                        1568
James Pendegraft
6443 Wydown Blvd
Clayton, MO 63105



James Peverill
650 Shetland Court
Milpitas, CA 95035



James Pistorino
224 Lexington Dr.
Menlo Park, CA 94025



James Poleto
902 Slater Lane
Alexandria, VA 22214



James Prout
15216 Sweet Caddies Dr.
Pflugerville, TX 78660



James Rankin
307 Langton St
San Francisco, CA 94103



James Rast
11144 E. Villa Park St.
Chandler, AZ 85248



James Rawcliffe
602 Bull Creek Pkwy
Cedar Park, TX 78613




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 667 of
                                        1568
James Reagan
1428 Yates Store Rd
Cary, NC 27519



James Ritts
3015 Myrtle Street Apt 14
Emeryville, CA 94608



James Rogers
1001 N Randolph St. #717
Arlington, VA 22201



james rojas
313 So. Cordova
Alhambra, CA 91801



James rubinstein
12469 saratoga ave
saratoga, CA 95070



James Saxon
1624 Highland Blvd
Hayward, CA 94542



James Shepherd, Esq.
Elkington Shepherd LLP
409 13th Street, 10th Floor
Oakland, CA 94612



James Shook
809 San Antonio Rd. #8
Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 668 of
                                        1568
James Stelzer
1905 Montecito #1
Mountain View, CA 94043



James Stephens
2312 Matador Circle
Austin, TX 78746



James Stoughton
8517 Rimini Cove
Round Rock, TX 78681



James Sunstrum
1838 McMillan
Dearborn, MI 48128



James Swoish
17496 Maple Hill Dr.
Northville, MI 48168



James Tarr
800 west queen creek road #2177
chandler, AZ 85248



James Teasley
800 Lincoln Lane Apt 1505
Dearborn, MI 48126



James Ter Beest
1425 P ST NW #202
Washington, DC 20005




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 669 of
                                        1568
James Thompson
1700 Bryant Dr #205
Round Rock, TX 78664



James Trevor Clark
196 Farley St
Mountain View, CA 94043-4418



James Vandall
200 Meridan ST
Pittsburgh, PA 15211



James Waller
10958 E Sombra Ave
Mesa, AZ 85212



James Waterstripe
3659 E Secretariat Rd
Tucson, AZ 85739



James West
44th St.
Pittsburgh, PA 15238



James West
2750 Hunters Cir. Apt. 523
Allison Park, PA 15101



James Westphal
265 Union Street #2D
Brooklyn, NY 11231




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 670 of
                                        1568
James Whetstone
625 Creekside Way APT #1103
New Braunfels, TX 78130



James White
2972 E Beechnut Pl
Chandler, AZ 85249



James White
12816 Waynespur Lane
Elgin, TX 78621



James Wilson
66 Danton St.
San Francisco, CA 94112



James Woodford
3209 IH-35 Apt 3088
Austin, TX 78741



James Woods
12366 Kent Ct
Southgate, MI 48195



james yett
po box 4895
san jose, CA 95150



James Yong
3415 Santa Barbara Ave.
Santa Clara, CA 95051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 671 of
                                        1568
JamesD Clark
8699 Empire Grade
Santa Cruz, CA 95060



JamesLee Fabian
6804 N Capital of Texas Hwy
Austin, TX 78731



Jameson Yung
150 Franklin St Apt 108
San Francisco, CA 94102



Jamie Porter
3642 Darwin Dr
Fremont, CA 94555



Jamie Bresner
100 E Cliff St
Alexandria, VA 22301



Jamie Brim
1388 Gough St #1203
San Francisco, CA 94109



Jamie Cordelier
30 E. Cairo Dr
Tempe, AZ 85282



Jamie Foster
1400 Colby Lane
Cedar Park, TX 78613




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 672 of
                                        1568
Jamie Gaspar
255 Los Palmos Way
San Jose, CA 95119



Jamie Goforth
8652 Byron Rd.
Howell, MI 48855



Jamie Gray
1445 Lakeside Dr #107
Oakland, CA 94612



Jamie Greene
880 36th St
Emeryville, CA 94608



Jamie Haberman
1248 Wadams Blvd
Los Angeles, CA 90007



Jamie Joaquin
75 Gough St
San Francisco, CA 94102



Jamie Kidd
2806 Innsbruck Drive, Apartment E
St. Louis, MO 63129



Jamie Lawrence
22 Russ St.
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 673 of
                                        1568
Jamie Riotto
PO Box 370628
Montara, CA 94037



Jamie Robertson
2402 Roosevelt Ave.
Berkely, CA 94703



Jamil Scott
16722 Hamilton Sta. Rd
Hamilton, VA 20158



Jamila Keba
115 San Jose Ave. #1
San Francisco, CA 94110



Jamison Beaver
442 F Costa Mesa Ter
Sunnyvale, CA 94085



Jamus MacDonald
1060 Bush Street Apt 210
San Francisco, CA 94109



Jan Bottorff
47 Chaucer Court
San Ramon, CA 94583



Jan Brander Kinnison
25 Country Lakes Lane
Waterloo, IL 62298




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 674 of
                                        1568
Jan Cislo
4910 Horger Street
Dearborn, MI 48126



Jan Dressel
4932 Wilderness Pt
Smithton, IL 62285



Jan Groza
140 58th st, Unit 6C
Brooklyn, NY 11220



Jan Hobbel
20 Elm Avenue
Larkspur, CA 94939



Jan Morris
1520 Spruce Street #2
South Pasadena, CA 91030



Jan Scardina
225 Pearl Ave
San Carlos, CA 94070



Jan Stenstadvolden
24903 Granite Bluff Ln
Katy, TX 77494



Jana Halle
1989A Santa Rita Road, Suite 266
Pleasanton, CA 94566




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 675 of
                                        1568
Jana Harvison
152 Manor Road
Pittsburgh, PA 15237



Jana Rokos
489 Northave Drive #101
San Jose, CA 95117



Janaina DeSousa
299 Bayview Ave
San Jose, CA 95127



Jane Thipphavong
4317 Verdigris Circle
San Jose, CA 95134



Jane Thompson
3636 25th St
San Francisco, CA 94110



Janeka Johnson
140 Lacrosse st.
Pittsburgh, PA 15218



Janeka Johnson
320 Rochelle st.
Pittsburgh, PA 15210



Janelle Sapantay
2368 Greendale Drive
South San Francisco, CA 94080




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 676 of
                                        1568
Janet Best
100 Rohrer Lane
Mars, PA 16046



Janet Davis
400 ferreira ct
milipitas, CA 95035



Janet Diaz
812 1/2 S Maple Ave
Tempe, AZ 85281



Janet Livingston
PO Box 56622
Hayward, CA 94545



Janet Tabas
335 Butler St.
Pittsburgh, PA 15223



Janett Peace
258 N. 15th Street
San Jose, CA 95112



Janice Bouk
13904 Edgecamb Court
Centerville, VA 20120



Janice Kendall
610 Gennessee St
San Francisco, CA 94127




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 677 of
                                        1568
Janice Martinson
2530 Castello Way
Santa Clara, CA 95051



Janie Oliphant
4101 Magnolia Ave Apt209
St. Louis, MO 63110



Janie White
9471 E. Orange Grove
Florence, AZ 85132



Janna Fox
4029 Ambler Way
San Jose, CA 95111



Jannat Saxena
5002 Kingston Way
San Jose, CA 95130



Jannie Buckley
249 Los Gatos Blvd
Los Gatos, CA 95030



Jannie Rose Que
7550 Saint Patrick Way #438
Dublin, CA 94568



Japheth Gielen
1812 S Hardy Dr
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 678 of
                                        1568
Jared Hein
821 Villa Lane, Apt 1.
Moraga, CA 94556



Jared Barretto
945 E. Empire Street
San Jose, CA 95112



Jared Bullock
715A Interdrive
University City, MO 63130



Jared Gruber
2011 key blvd, apt 598
Arlington, VA 22201



Jared Holstein
2730 West Lake Road
Cazenovia, NY 13035



Jared Hsu
214 Mark Train Ct
Santa Clara, CA 95050



Jared Miller
14624 Laketrails Court
Chesterfield, MO 63017



Jared Miller
680 Shotwell st
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 679 of
                                        1568
Jared Renfro
1549 W 2nd St
Mesa, AZ 85201



Jared Rudiak
10320 Boulder Ln apt 1825
Austin, TX 78726



Jared Saussy
2000 S Eads St Apt 1130
Arlington, VA 22202



Jared Shaw
728 Alabama Street Apt 202
San Francisco, CA 94110



Jared Shroyer
3612 Heritage Parkway
Dearborn, MI 48124



Jared Thorn
15255 S. 14th Place
Phoenix, AZ 85048



Jarett Baker-Dunn
2704 All View Way
Belmont, CA 94002



Jarrett Herold
1690 Bay Street, Apartment 205
San Francisco, CA 94123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 680 of
                                        1568
Jarrod Hsu
555 Benvenue Ave.
Los Altos, CA 94024



Jasmin Lim
3051 Dohr St. Apt A
Berkeley, CA 94702



Jasmine Lawrence
800 W. Willis Rd.
Chandler, AZ 85286



Jasmine OLeary
4422 24th Street
San Francisco, CA 94114



Jason Douglas
1448 Clary Sage Lp
Round Rock, TX 78665



Jason Granado
1420 West Abingdon Drive Apt 217
Alexandria, VA 22314



Jason Lambert
3912 Woolslayer Way
Pittsburgh, PA 15224



Jason McKay
319 E Del Ray Ave
Alexandria, VA 22301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 681 of
                                        1568
Jason Mendus
21350 Audette ST.
Dearborn, MI 48124



Jason Rasmussen
3000 Nicol Ave # 1
Apt No: 1
Oakland, CA 94602



Jason Roesslein
22220 Carrington Cir.
Redwood City, CA 94062



Jason Worrell
604 Yeonas Dr SW
Vienna, VA 22180



Jason Abele
2172 15th St Apt #5
San Francisco, CA 94114



Jason Aguirre
1418 Sprucewood Dr
San Jose, CA 95118



Jason Altekruse
624 Morse Ave Apt 15
Sunnyvale, CA 94085



Jason Appelbaum
5540 Doyle St.
Emeryville, CA 94608




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 682 of
                                        1568
Jason Bagby
PO Box 15
Rockdale, TX 76567



Jason Beaver
1342 Hillcrest Ct.
San Jose, CA 95120



Jason Belich
33 Higuera Ave
San Francisco, CA 94132



Jason Bellinger
4908 Bristow DR
Annandale, VA 22003



Jason Black
1068 S. Roca St.
Gilbert, AZ 85296



Jason Bowen
17212 N Scottsdale Rd Apt 1103
Scottsdale, AZ 85048



Jason Brush
512 Chenery St.
San Francisco, CA 94131



Jason Bulluck
3511 Upshur Street
Brentwood, MD 20722




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 683 of
                                        1568
Jason Campbell
5552 Beacon St
Pittsburgh, PA 15217



Jason Cohn
425 Center Street
Pittsburgh, PA 15221



Jason Cox
1942 15th Street, Apt.5
San Francisco, CA 94114



Jason DeCruz
325 Sutter St., APT 200
San Francisco, CA, CA 94108



Jason Dombrowski
2700 S Adams St #407
Arlington, VA 22206



Jason Eads
1111 W El Camino Real STE 109-189
Sunnyvale, CA 94087



Jason Enriquez
10752 W. Woodland Ave.
Avondale, AZ 85323



Jason Erickson
439 connecticut st
san francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 684 of
                                        1568
Jason Fields
1121 Myrtle Eve
Kansas City, MO 64127



Jason Francois
4866 S. Covalent Ln.
Mesa, AZ 85212



Jason Fulbrook
3478 Barrister's Keepe Circle
Fairfax, VA 22031



Jason Gao
9457 Wooded Glen Ave
Arlington, VA 22202



Jason Gilbert
74 New Montgomery Street, Unit 415
San Francisco, CA 94105



Jason Gridley-Waters
2001 Burger St
Dearborn, MI 48128



Jason Grix
31627 Norfolk St
Livonia, MI 48152



Jason Hansen
907 Savannah Avenue
Wilkinsburg, PA 15221




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 685 of
                                        1568
Jason Harris
3301 6th St S
Arlington, VA 22204-1703



Jason Haskins
703 Elder Way
Round Rock, TX 78664



Jason Hawke
3920 7th ST NE
Washington, DC 20017



Jason Heller
1710 Industrial Road
San Carlos, CA 94070



Jason Katzer
190 Ryland #5204
San Jose, CA 95110



Jason Keenan
24521 Winona
Dearborn, MI 48124



Jason Kelley
253 Kelley Road
Connellsville, PA 15425



Jason Kim
1401 Marcello
San Jose, CA 95131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 686 of
                                        1568
Jason Krznarich
353 King St Apt 103
San Francisco, CA 94158



Jason Lee
10410 Miller avenue
Cupertino, CA 95014



Jason Lentz
940 Laurel St Unit A
San Carlos, CA 94070



Jason Lentz
245 Visitacion Ave.
Brisbane, CA 94005



Jason Libsch
584 Chetwood Street
Oakland, CA 94610



Jason Marks
722 Live Oak Ave
Menlo Park, CA 94025



Jason Martin
117 36th Street
Pittsburgh, PA 15201



Jason Meekhof
20765 Delaware St,
Southfield, MI 48033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 687 of
                                        1568
Jason Meekhof
20765 Delaware
Southfield, MI 48033



Jason Meyer
45438 Augusta Dr.
Canton, MI 48188



Jason Miller
22260 Churchveiw
woodhaven, MI 48183



Jason Miller
13404 Creole Cv
Austin, TX 78727



Jason Moline
22 Amicita Ave
Mill Valley, CA 94941



Jason Olson
9648 W. Keyser Dr.
Peoria, AZ 85383



Jason Park
133 Brosnan Ct.
South San Francisco, CA 94080



Jason Peck
5 Country Green Dr
Holtsville, NY 11742




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 688 of
                                        1568
Jason Petersen
255 Potrero Ave
San Francisco, CA 94103



Jason Pittman
800 High School Way #304
Mountain View, CA 94041



Jason Powell
131 Otis Avenue
Woodside, CA 94062



Jason Proch
6315 W Banff Ln
Glendale, AZ 85306



Jason R. Williams
536 Hopkins St.
Menlo Park, CA 94025



Jason Radcliffe
3654 Farm Hill Blvd
Redwood City, CA 94061



Jason Raifsnyder
7424 Maple Ave
St. Louis, MO 63143



Jason Rasmussen
50 Liberty Dock
Sausalito, CA 94965




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 689 of
                                        1568
Jason Rasmussen_V
616 Throckmorton Ave,
Mill Valley, CA 94941



Jason Rivers
47671 Pembroke Dr
Canton, MI 48188



Jason Robbins
10507 Yucca DR
Austin, TX 78759



Jason Ruff
1300 W Warner Rd #2092
Gilbert, AZ 85233



Jason Sankovitch
1703 Lakeshore Dr
St. Charles, MO 63303



Jason Smith
50103 Flintrock Dr.
Georgetown, TX 78626



Jason Sollman_V
3505 Leafield Dr, Unit B
Austin, TX 78749



Jason Speck
1562 E. Elgin Street
Gilbert, AZ 85295




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 690 of
                                        1568
Jason Springs
1055 Bennett Way
San Jose, CA 95125



Jason Stephan
635 S. Newport St
Chandler, AZ 85225



Jason Stone
440 Davis Court Apt 1121
San Francisco, CA 94111



Jason Trujillo
222 East Riverside
Austin, TX 78704



Jason UnzelmanLangsdorf
2654 Eaton Ave
Redwood City, CA 94062



Jason Vaughn
1100 N Priest Dr
#1120
Chandler, AZ 85226



Jason Vetsch
5615 N 7th St Apt 60
Phoenix, AZ 85014



Jason Vincent
1005 East rot St Apt 12
Seattle, WA 98102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 691 of
                                        1568
Jason Wang
2627 37th Ave.
San Francisco, CA 94116



Jason Ware
3915 East Taro Lane
Phoenix, AZ 85050



Jason Wellman
1741 W Laredo
Chandler, AZ 85224



Jason Wiegand
13301 Lahbrook lane east
brighton, MI 48114



Jason Williams
536 Hopkins St.
Menlo Park, CA 94025



Jason Winkleman
450 s aiken ave
pittsburgh, PA 15232



Jason Wou
25695 Laramie Dr
Novi, MI 48374



Jason Wu
3060 EL CERRITO PLZ #203
EL CERRITO, CA 94530




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 692 of
                                        1568
Jason Wyant
817 N. Main Street
Niles, OH 44446



Jason Young
15532 Sarahs Creek Drive
Pflugerville, TX 78660



Jason Young_V
PO Box 2616
Pflugerville, TX 78691



JASPER BOTE
167 VALMAR TER
SAN FRANCISCO, CA 94112



Jasper Thomas
3154 26th Street
San Francisco, CA 94110



Jasper Thomas_V
926 Howard St.
San Francisco, CA 94103



Jasper van Tongeren
1707 Oak street
San Francisco, CA 94117



JAVIER DIAZ
1253 B
SAN FRANCISCO, CA 94130




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 693 of
                                        1568
Javier YepValencia
1286 Sunny Ct #4
San jose, CA 95116



Jay King
2 W. Vinedo Ln.
Tempe, AZ 85284



Jay Stosz
2225 E Sausalito Ct
Gilbert, AZ 85234



Jay Buffington
5 Cook St.
San Francisco, CA 94118



Jay Davidson
579 7th Ave
San Francisco, CA 94118



Jay Davis
1806 Princeton Ave
Austin, TX 78757



Jay Degenkolb
20064 Herzog
Rockwood, MI 48173



Jay Doherty
1445 Eddy St
SAN FRANCISCO, CA 94115




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 694 of
                                        1568
Jay Hsin
4200 Love Bird Ln
Austin, TX 78730



Jay Jackson-Doyle
2001 Enterprise Dr #130
Round Rock, TX 78664



Jay Jurma
3405 Doremus
Hamtramck, MI 48212



Jay Logue
3382 Olsen Dr
San Jose, CA 95117



Jay Malvar
639 Grove Street Apt. 9
San Francisco, CA 94102



Jay Miah
2310 Arlington Avenue
Pittsburgh, PA 15209



Jay Parsons
6904 Bancroft Woods Dr
Austin, TX 78729



Jay Roberts
8221 S FM 1174
Bertram, TX 78605




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 695 of
                                        1568
Jay Roy
511 S Madison St.
La Grange, TX 78945



Jay Shah
87 Swanton News Unit 100
Gaithersburg, MD 20878



Jay Weber
1902 Mulligan Drive
Round Rock, TX 78664



Jaya Griscom
1026 Ringwood Ave
Menlo Park, CA 94025



Jayant Mehta
2367 Middlefield Ave
Fremont, CA 94539



Jayant Sanders
650 Park Court
Santa Clara, CA 95050



Jayden Hilton
744A Portola Drive
San Francisco, CA 94129



Jaye Sosa
140 E. 14th St Apt 706B
new York, NY 10003




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 696 of
                                        1568
Jayesh Patil
451 n Cordoba Pl
Chandler, AZ 85226



Jayla Patton_V
2407 Salisbury St
Pittsburgh, PA 15210



Jaymes Winger
550 Mansion Park Dr., #302
Santa Clara, CA 95054



Jayne Brownlee
700 Central Ave.
Menlo Park, CA 94025



Jazz Sabian
200 Sherdan Ave #208
Palo Alto, CA 94306



JB Foreman
639 Bair Island Road #502
Redwood City, CA 94063



JC Escalante
217 San Luis Ave
San Bruno, CA 94066



JD Cole
3097 Turk Blvd
San Francisco, CA 94118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 697 of
                                        1568
JD Durst
989 Chenery St.
San Francisco, CA 94131



Jean Sausele-Knodt
202 Forest Drive
Falls Church, VA 22046



JEAN JACQUES LOESCH
1616 West El Camino Real, STE 1202
Mountain View, CA 94040



Jean Kodama
12909 Glenda Street
Cerritos, CA 90703



Jean Turney
4112 Wyoming St
St. Louis, MO 63108



Jean-Baptiste KALOYA
2419 2419 spalding ave
Berkely, CA 95703



Jean-Fran ois BOTTIAU
1353 Bush st.
San Francisco, CA 94109



Jeanie Linden
163 Zander Dr.
Orinida, CA 94563




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 698 of
                                        1568
Jeanna Kim
3918 W St NW, Unit #1
Washington, DC 20007



Jeanne CHAUVEAU
1245 CLAYTON ST.
SAN FRANCISCO, CA 94114



Jeanne Christiansen
2114 Anthony Dr.
Campbell, CA 95008



Jeannette H. Taggart, Esq. Taggart Law O
111 North Market Street, Suite 300
San Jose, CA 95113



Jeannette Whitcomb
2260 Cobblehill Place
San Mateo, CA 94402



Jeannie Llewellyn
867 East Meadow Dr
Palo Alto, CA 94303



Jeannie Llewellyn
867 E. Meadow Dr.
Palo Alto, CA 94303



Jeannie Parker
3030 Hillside Dr.
Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 699 of
                                        1568
Jeannie Stamberger
479 Waverly Street
Menlo Park, CA 94401



Jeannique McGlothen
1473 Gateway dr
Vallejo, CA 94589



Jeb Buie
319 Sendero Lane
Leander, TX 78641



Jeb Phillips
50612 Paine St
Canton, MI 48188



Jed Phillips
870 E El Camino Real #82
Mountain View, CA 94040



Jeff Baxter
13177 Briar Hill
Carleton, MI 48117



Jeff Chyatte
7605 Honeywell Lane
Bethesda, MD 20814



Jeff Galac
5366 Northumberland
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 700 of
                                        1568
Jeff Peterson
146 Hartwood Dr
Pittsburgh, PA 15208



Jeff Abramovitz
1288 Denniston
PGH, PA 15217



Jeff Angwin
3455 Casa Loma Rd
Morgan Hill, CA 95037



Jeff Bonwick
1390 McKenzie Ave
Los Altos, CA 94024



Jeff Brachhausen
33060 Lake Wawasee St.
Fremont, CA 94555



Jeff Carloni
1037 Coleman Rd. Apt. # 5303
San Jose, CA 95123



Jeff Clark
3860 S. Peden Dr.
Chandler, AZ 85248



Jeff Coulam
14403 Tucumcari trail
Austin, TX 78734




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 701 of
                                        1568
Jeff Cronk
29 Juniper Berry Way
Austin, TX 78734



Jeff Cutting
19561Canon Dr
Los Gatos, CA 95030



Jeff Daugherty
4406 Hunters Lodge Dr
Round Rock, TX 78681



Jeff DePaso
2108 Polo Pointe Dr.
Vienna, VA 22181



Jeff Dowler
832 Thorn St.
Sewickley, PA 15143



Jeff Edmonston
320 Saclan Terrace
Clayton, CA 94517



Jeff Georgette
136 Mesa Verde Way
San Carlos, CA 94070



Jeff Georgette
831 Sweeney Ave.
Redwood City, CA 94063




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 702 of
                                        1568
Jeff Hentschel
40555 Mill Road Ct E
Novi, MI 48375



Jeff Jacobs
505 Cornell Ave
San Mateo, CA 94402



Jeff Jeffries
5133 Harding Pike B10-118
Nashville, TN 37205



Jeff Kaddas
111 Lowell St.
Redwood City, CA 94062



Jeff Keyzer
227 Dellbrook Ave
San Francisco, CA 94131



Jeff LaBenz
1443 E. Butler Circle
Chandler, AZ 85225



Jeff Leanse
1057 Menlo Oaks Dr.
Menlo Park, CA 94025



Jeff McFall
1525 Sharon Pl.
San Mateo, CA 94401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 703 of
                                        1568
Jeff McGlew
9705 Zion Way
Austin, TX 78733



Jeff Mecredy
2652 Polk st. #2
San Francisco, CA 94109



Jeff Miller
1531 Washington Avenue 4C
St Louis, MO 63103



Jeff Moorhead
7322 Reddfield Ct
FALLS CHURCH, VA 22043



Jeff Mueller
498 8th Ave
San Francisco, CA 94118



Jeff Mullins
15586 Regina
Allen Park, MI 48101



Jeff Nabhan
704 Valley Way
Santa Clara, CA 95051



Jeff ODonohue
1321 Waverly Street
Palo Alto, CA 94306




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 704 of
                                        1568
Jeff Osborn
3130 Alpine Rd. #288 box 401
Portola Valley, CA 94028



Jeff Paddock
6155 North Silvery Lane
Dearborn Heights, MI 48127



Jeff Pettit
2775 Market Street Apartment 303
San Francisco, CA 94114



Jeff Polus
4240 Duncan
St. Louis, MO 63108



Jeff Porter
346 S Buena Vista Ave.
Gilbert, AZ 85296



Jeff Ranken
6609 Allen Rd.
Allen Park, MI 48101



Jeff Royer
614 E Breckenridge
Ferndale, MI 48220



Jeff Ryan
168 N. Meramec
Clayton, MO 63105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 705 of
                                        1568
Jeff Sgroi
8829 Wildwood Links
Raleigh, NC 27613



Jeff Sherman
774 Owl Ct
Louisville, CO 80027



Jeff Sid
554 Hawthorne Ave.
Palo Alto, CA 94301



Jeff Simpson
718 Shiny Rock Dr
Austin, TX 78748



Jeff Sims
711 Gier Ct
San Jose, CA 95111



Jeff Singer
50422 monroe
canton, MI 48188



Jeff Soares--Loether
973-C Russell Ave
Gaithersburg, MD 20879



Jeff Southard
2128 Grove St.
San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 706 of
                                        1568
Jeff Southard & Maria Ray
2128 Grove St.
San Francisco, CA 94117



Jeff Staebler
2566 East Grand Blvd. Unit 231
Detroit, MI 48211



Jeff Tomasello
9214 Orinda Way
Gilroy, CA 95020



Jeff Visser
2312 19th Avenue
San Francisco, CA 94116



Jeff Wang
25 King St
Redwood City, CA 94062



Jeff Warrow
17540 hennebec st
riverview, MI 48193



Jeff Whaley
360 South Market St Unit 2104
San Jose, CA 95113



Jeff Wilbur
709 Shorefront Cir.
Midland, MI 48640




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 707 of
                                        1568
Jeff Winkelman
1316 Town Center Dr, #3603
Pflugerville, TX 78660



Jeff Wishner
650 Delancey Street APT 415
San Francisco, CA 94107



Jefferson Fleming
1021 W 9th St
Tempe, AZ 85706



Jefferson Huang
907 Quincy St NW
Washington, DC 20011



Jeffery Whaley
360 South Market St Unit 2104
San Jose, CA 95113



Jeffery Hall
9229 Waterford Center Blvd. #110
Austin, TX 78758



Jeffey Ly
2257 Octavia Ct
Tracy, CA 95377



Jeffrey Hess
6817 Chadwick Dr
Canton, MI 48187




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 708 of
                                        1568
Jeffrey A Porter
346 S Buena Vista Ave.
Gilbert, AZ 85296



Jeffrey A. Sherman
774 Owl Ct
Louisville, CO 80027



Jeffrey Arnold
804 Dwight St
Ypsilanti, MI 48198



Jeffrey Ayer
3408 N Glebe Rd
Arlington, VA 22207



Jeffrey Bernstein
1711 Valley View Ave.
Belmont, CA 94002



Jeffrey Bloker
4126 E Pindnot Ave.
Phoenix, AZ 85018



Jeffrey Chininis
1 Briarbrook Trail
Saint Louis, MO 63131



Jeffrey Clark
3860 S. Peden Dr.
Chandler, AZ 85248




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 709 of
                                        1568
Jeffrey Doering
46240 Spinning Wheel Dr
Canton, MI 48187



Jeffrey Flower
1089 1/2 Lincoln Ave.
San Jose, CA 95112



Jeffrey Ford
5017 Powell Rd
Fairfax, VA 22032



Jeffrey Gamble
4253A Russell Avenue
St. Louis, MO 63110



Jeffrey Haag
2850 Burns St
Dearborn, MI 48124



Jeffrey Kenyon
284 S 16th St
San Jose, CA 95112



Jeffrey L. Stabel
9605 S 48th St Apt # 2075
Phoenix, AZ 85044



Jeffrey Litz
1631 Fillmore Ave
San Mateo, CA 94403




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 710 of
                                        1568
Jeffrey Mosley
742 N Beatty
Pittsburgh, PA 15206



Jeffrey Moy
729 Stone Canyon Circle
Inverness, IL 60010



Jeffrey Odell
643 17th Ave.
San Francisco, CA 94121



Jeffrey Olson
616 Caroline St.
San Francisco, CA 94107



Jeffrey Oppenheimer
16 Terrace Ave.
Kentfield, CA 94904



Jeffrey Queisser
804 17th Ave.
Menlo Park, CA 94025



Jeffrey Reiter
3814 Jarrett Way
Austin, TX 78728



Jeffrey Robert Angwin & Joan Goddard Ang
3455 Casa Loma Rd
Morgan Hill, CA 95037




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 711 of
                                        1568
Jeffrey Robert Angwin and Joan Goddard A
3455 Casa Loma Rd
Morgan Hill, CA 95037



Jeffrey Rule
3906 Laird Place
Chevy CHase, MD 20815



Jeffrey Scruggs
8323 Liberty Walk Dr
Round Rock, TX 78681



Jeffrey Sims
711 Gier Ct
San Jose, CA 95111



Jeffrey Sligar
611 La Maison Drive
San Jose, CA 95128



Jeffrey Spaulding
110 lake dawn rd
port angeles, WA 98362



Jeffrey Spragg
1220 N. Fair Oaks
Sunnyvale, CA 94089



Jeffrey Sun
940A Shotwell St
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 712 of
                                        1568
Jeffrey Taylor
6013 Castello Dr
San Jose, CA 95120



Jeffrey Waggett
2811 12th ST S
Arlington, VA 22204



Jeffrey Wolfe
247 Superior Blvd
Wyandotte, MI 48192



Jeffrey Yeung
45245 Seabrook Dr
Canton, MI 48188



Jein Kim
Whitestone, NY 11357




Jein Kim
163-57 17th Ave
Whitestone, NY 11357



Jeizzon Viana_Mendes
400 Brazil Avenue
San Francisco, CA 94112



Jemeer Loveberry
4486 W Jefferson
Ecorse, MI 48229




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 713 of
                                        1568
Jen Hawthorne
1302 The Alameda Apt 201
San Jose, CA 95126



Jen Hitchcock
10208 Clair Ave
Pittsburgh, PA 15235



Jen Rizzo
3649 26th St.
San Francisco, CA 94110



Jena Chafin
2626 Kitsap Ct.
Santa Clara, CA 95051



Jenae Michelle
3305 8th Street NE
Washington, DC 20017



Jenalea Schultz
610 Webster St #11
San Francisco, CA 94117



Jeni Jones
4352 E. Santa Rosa Pl
Gilbert, AZ 85234



Jenn Gooch
5179 Kincaid St
Pittsburgh, PA 15224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 714 of
                                        1568
Jenna Esposito
12620 Pony Lane
Austin, TX 78727



JENNA ANAST
38660 hastings st, Apt 204
fremont, CA 94536



Jenna Clark
3860 S. Peden Drive
Chandler, AZ 85248



Jennifer Gray
5274 26th St N
Arlington, VA 22207



Jennifer Kruman
465 Springer Road
Freedom, PA 15042



Jennifer Nelson
5122 Westminster Place
Saint Louis, MO 63108



Jennifer Bardsley
13100 Byrd Lane
Los Altos, CA 94022



Jennifer Beaver
1528 Ivan Place
San Jose, CA 95120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 715 of
                                        1568
Jennifer Bernstein
928 Heather Dr.
San Carlos, CA 94070



Jennifer Brandon
4310 Chouteau Ave
Saint Louis, MO 63110



Jennifer C. Elliott
23054 Evergreen Ln
Los Gatos, CA 95033



Jennifer Colliau
2126 Roosevelt Avenue
Berkeley, CA 94703



Jennifer Downing
1552 Guerrero St #3
San Francisco, CA 94110



Jennifer Dunn
1453 Revere Avenue
San Jose, CA 95118



Jennifer Elliott
23054 Evergreen Ln
Los Gatos, CA 95033



Jennifer Forbes
108 Berwick Dr
Pittsburgh, PA 15215




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 716 of
                                        1568
Jennifer Grimes
5769 Vicente St.
Oakland, CA 94609



Jennifer Grysho
500 E. Montebello Ave Apt 4
Phoenix, AZ 85012



Jennifer Hatch
2270 N Towne Ave #2
Pomona, CA 91767



Jennifer Holley
41 Octavia St #1
San Francisco, CA 94102



Jennifer Huie
3146 Reva Dr.
Concord, CA 94519



Jennifer Johnson
P.O. Box 240
Santa Clara, CA 95052



Jennifer Johnson
1300 crystal drive
arlington, VA 22202



Jennifer Kesteloot
1120 Persia Avenue
San Francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 717 of
                                        1568
Jennifer King
1465 Shasta Ave
San Jose, CA 95126



Jennifer Lew
2230 Byron St.
Berkeley, CA 94702



Jennifer Liao
631 Alerton Loop
Campbell, CA 95008



Jennifer Melnyk
5511 Margaretta St.apt3
Pittsburgh, PA 15206



Jennifer Merideth
33707 Glen St.
Westland, MI 48186



Jennifer Meyer
4831 Rollingwood Drive
Rollingwood, TX 78746



Jennifer Murphy-Tong
Jennifer Murphy 65 Norfolk St Unit 2
San Francisco, CA 94103



Jennifer Savage
108 Parkspring Ct
Cary, NC 27519




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 718 of
                                        1568
Jennifer Stuart
5601 S Quaker
Alexandria, VA 22303



Jennifer Taggart
1620 W Southern Ave Apt 101
Mesa, AZ 85202



Jennifer Taylor
13329 Carters Way Rd.
Chesterfield, VA 23838



Jennifer Torloni
651 S. Jay St.
Chandler, AZ 85225



Jennifer Walker
5500 Friendship Blvd Apt 2126
Chevy Chase, MD 20815



Jennifer Weimer
12100 Samsung Blvd
Austin, TX 78754



Jennifer Whaley
209 S. Wallace
Ypsilanti, MI 48197



Jennings L. Hart, III
Mintzer Sarowitz Zeris Ledva &Meyers LLP
EQT Plaza, Suite 390
Pittsburgh, PA 15222




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 719 of
                                        1568
Jenny Ackermann
1116 Lanvale Drive
Webster Groves, MO 63119



Jenny Leonard
42 Hibiscus Lane
Robbinsville, NJ 08691



Jenny Mott
3301 Windy Harbor Dr.
Austin, TX 78734



Jenny Rearick
7422 Picadilly Ave
Maplewood, MO 63143



Jens Alfke
819 Frederick Commons
San Jose, CA 95126



Jens Leerssen
2127 Fillmore St., #17
San Francisco, CA 94115



Jens Malmborg
1028 W Peralta Ave.
Mesa, AZ 85210



Jens Voges
1735 Vistazo St. W
Tiburon, CA 94920




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 720 of
                                        1568
Jerald Flowers
2543 Erie Dr
Concord, CA 94519



Jeremiah Bailey
1410 Massachusetts Ave SE
Washington, DC 20003



Jeremiah Hanley
1321 Oak Ave.
Redwood City, CA 94061



Jeremiah Hill
50 Aquavista Way
San Francicso, CA 94131



Jeremiah Jeffries
26 Burlington Dr
Petaluma, CA 94952



Jeremiah Mallin
245 Union Ave Apt A1003
Campell, CA 95008



Jeremiah Pepper
1441 Hampton drive
Sunnyvale, CA 94087



Jeremiah Robbins
92 Garden Grove Drive
Daly City, CA 94015




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 721 of
                                        1568
Jeremiah Twitty
8915 Westlake
Taylor, MI 48180



Jeremy Barnes
6515 Wydawn Blvd
Clayton, MO 63105



Jeremy Rausch
326 Channing Street NE
Washington, DC 20002



Jeremy Richardson
411 S Murtland St.
Pittsburgh, PA 15208



Jeremy Trilling
237 Churchill Avenue
Palo Alto, CA 94301



Jeremy Boyette
13641 Ferncrest Ct
Saratoga, CA 95070



Jeremy Cooper
15450 FM 1325 #1818
Austin, TX 78728



Jeremy Demarest
1244 Dundee Drive
Waterford, MI 48327




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 722 of
                                        1568
Jeremy Dunck
PO Box 788
San Bruno, CA 94066



Jeremy Espino
236 Broadmoor Avenue
Pittsburgh, PA 15228



Jeremy Feldman
9121 Harrington Drive
Potomac, MD 20854



Jeremy Fox
2601 Scofield Ridge Pkwy #236
Austin, TX 78727



Jeremy Freiss
98 Maplewood Road
Pittsburgh, PA 15214



Jeremy Friedenthal
46 Tum Suden Way
Redwood City, CA 94062



Jeremy Gillick
615 Noe St #1
San Francisco, CA 94114



Jeremy Henson
1322 VALLEJO ST
SAN FRANCISCO, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 723 of
                                        1568
Jeremy Hidalgo
913 Sirocco Dr Unit A
Austin, TX 78745



Jeremy Hurwitz
2468 Embarcadero Way
Palo Alto, CA 94303



Jeremy Leckington
2110 E Cindy st
Chandler, AZ 85225



Jeremy Lin
2641 Agua Vista Dr
San Jose, CA 95132



Jeremy Ljunggren
12005 Wander Ln.
Austin, TX 78749



Jeremy Maylard
802 W. Remington Dr
Sunnyvale, CA 94087



Jeremy McKowski
1330 South Fair St Apt 710
Arlington, VA 22202



Jeremy Moore
28 S Summit St
Ypsilanti, MI 48197




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 724 of
                                        1568
Jeremy Mott
100 MichaelAngelo Way
Austin, TX 78728



Jeremy Posner
4560 Valleyview Dr
West Bloomfield, MI 48323



Jeremy Regenbogen
1058 De Haro St.
San Francisco, CA 94107



Jeremy Richardson and Sarah Aerni_ Loan
411 S. Murtland St.
Pittsburgh, PA 15208



Jeremy Smith
1465 Revere Ave.
San Jose, CA 95118



Jeremy Thurman
23130 Harmon
St Clair Shores, MI 48080



Jeremy Untalan
15512 oceanside way
san leandro, CA 94579



Jeremy Zelsnack
4515 Depew Ave
Austin, TX 78751




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 725 of
                                        1568
Jereomy Faber
720 Stansted Manor Dr
Pflugerville, TX 78660



jericho green
3311 1/2 mission st
San Francisco, CA 94110



Jerimiah Hall
11909 alpheus ave
Austin, TX 78759



Jerol Enoch
312 S. Elizabeth
St.Louis, MO 63135



Jerome Buckley
249 Los Gatos Blvd. #2
Los Gatos, CA 95030



Jerome Mungapen
37 Powers Ave.
San Francisco, CA 94110



Jerrett Levensalor
125 N. 2nd Street Suite 110 # 132
Phoenix, AZ 85004



Jerrold Ancheta
335 Bautista Place
San Jose, CA 95126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 726 of
                                        1568
Jerry and Catherine Gindele
333 S. Highland
Pittsburgh, PA 15206



Jerry Bassler
70 corte real
greenbrae, CA 94904



Jerry Brooks
1416 W Temple Pl
Chandler, AZ 85224



Jerry Burka
8045 Big Bend Blvd. Suite 106
St. Louis, MO 63119



Jerry Carlin
3417 Trickling Springs Way
Pflugerville, TX 78660



Jerry Chacon Jr.
1098 Cherry Ave.
San Jose, CA 95125-4311



Jerry Chacon Sr.
1320 Minnesota Ave.
San Jose, CA 95125



Jerry Coyle
332 Le Roi Rd
Pittsburgh, PA 15208




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 727 of
                                        1568
Jerry Craig
4610 E. Everett
Phoenix, AZ 85032



Jerry Davis
1047 Martin Pl
Ann Arbor, MI 48104



Jerry Drew
1100 17th Street NW, Suite 605
Washington, DC 20036



Jerry Gable
3126 W El Caminito Dr
Phoenix, AZ 85051



Jerry Gindele
333 S. Highland
Pittsburgh, PA 15206



Jerry Greenberg
4531 W Chicago St
Chandler, AZ 85226



Jerry Knoblach
2535 W. Fairview St
Chandler, AZ 85224



Jerry Murry
3056 Dow Dr
San Jose, CA 95136




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 728 of
                                        1568
Jerry OSullivan
43419 Livery Sq
Ashburn, VA 20147



Jerry Ricciotti
85 N. 3rd St.
Brooklyn, NY 11211



Jerry Schauffler
3812E Happy Valley Rd
Lafayette, CA 94549



Jerry Shubert
115 Merlin Ct
SPRING BRANCH, TX 78070



Jerry Siebe
1026 Foxchase Dr Apt 126
San Jose, CA 95123



Jerry Stark
900 limerock dr
round rock, TX 78681



Jerry Sun
645 CALIFORNIA ST
MOUNTAIN VIEW, CA 94041



Jervoni Franklin
11905 Stout Oak Trail
Austin, TX 78750




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 729 of
                                        1568
Jess Lanham
1945 McAllister Ave.
San Francisco, CA 94133



Jess Neely
20000 Rotunda Dr #124071
Dearborn, MI 48124



Jessa Lee
10856 Linda Vista Dr
Cupertino, CA 95014



Jesse Florig
7 Logan Circle NW
Washington, DC 20005



Jesse Burns
128 Jersey St.
San Francisco, CA 94114



Jesse Cortez
2142 Buena Vista Ave
Alameda, CA 94501



Jesse Easudes
3945 Forbes Ave. #469
Pittsburgh, PA 15213



Jesse England
1034 Murray Hill Ave #5
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 730 of
                                        1568
Jesse Feuer
343 101st St., 4H
Brooklyn, NY 11209



Jesse Flores
4000 tunlaw rd. #602
Washington, DC 20007



Jesse Handsher
1366 18th Avenue
San Francisco, CA 94122



Jesse Harrington Au
3895 Green Road
Bristol, NY 14469



Jesse Johnson
170 Seminary Dr.
Menlo Park, CA 94025



Jesse Kimble
3080 E San Pedro Ct
Gilbert, AZ 85234



Jesse Maschmeyer
512 VAN NESS AVE #203
SAN FRANCISCO, CA 94102



Jesse Morris
72 Lansing
San Francisco, CA 94105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 731 of
                                        1568
Jesse Rapsack
2412 Morrow Place
Bethel Park, PA 15102



Jesse Rocco
2010 19th Street
San Francisco, CA 94107



Jesse Rosalia
128 Morris St #13
San Francisco, CA 94107



jesse VanVleck
740 N 2nd St.
San Jose, CA 95112



Jessi Tallarita
351 La Questa Way
Woodside, CA 94062



Jessica Selin-Williams
2945 Garfield Ter NW
Washington, DC 20008



Jessica Bickmore
2270 N Towne Ave #2
Pomona, CA 91767



Jessica Chien
670 Morse Ave #6
Sunnyvale, CA 94085




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 732 of
                                        1568
Jessica Dahl
177 Spence Lane
Elgin, TX 78621



Jessica Drosche
805 Cactus Dr.
Round Rock, TX 78681



Jessica Dzielinski
3061 N. 24th Lane
Phoenix, AZ 85015



Jessica Gadling
732 10th Ave
San Mateo, CA 94402



Jessica Galfas
1507 Kinney Ave Apt 214
Austin, TX 78704



Jessica Herrera-Flanigan
8609 Aponi Rd
Vienna, VA 22180



Jessica Hicks
1281 New Hope Church Rd.
Apex, NC 27523



Jessica Hogan
5915 Jacob Gln
Austin, TX 78727




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 733 of
                                        1568
Jessica Kopitske
4327 Grace Ave
SAINT LOUIS, MO 63116



Jessica lee
1100 Birmingham Blvd
Birmingham, MI 48009



Jessica Marzetta
1230 Alden Ct
Belmont, CA 94002



Jessica Maschino
1501 E. Ibis St.
Gilbert, AZ 85297



Jessica Mills
848 Charlesgate Dr.
Saint Louis, MO 63132



Jessica Munro
1588 Hanchett Ave
San Jose, CA 95126



Jessica Nguyen
247 Vista Roma Way
San Jose, CA 95136



Jessica Parker
730 Bicknell
Los Gatos, CA 95030




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 734 of
                                        1568
Jessica Reddy
85 Ora Way #301
San Francisco, CA 94131



Jessica Rose
38600 Lexington St. #636
Fremont, CA 94536



Jessica Sobhani
1066 London Ln
Georgetown, TX 78626



Jessica Starr
3206 Impala Dr #12
San Jose, CA 95117



Jessie Becker
1270 Cedar St
Palo Alto, CA 94301



Jessie Bell
980 Woodland Drive
Hillsborough, CA 94010



Jessie Jackson
1190 Mendell St,
San Francisco, CA 94124



Jessie McCool
945 Old Bonhomme Road
St. Louis, MO 63132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 735 of
                                        1568
Jessie Tymoczko
138 Homestead St.
Pittsburgh, PA 15218



JessRose Narsinghia
49840 Parkside Drive
Northville, MI 48168



Jessup Miller
7373 Wells Avenue
Newark, CA 94560



Jesus Arzaga
2507 Waizel Way
Georgetown, TX 78626



Jesus Gonzalez
359 Whispering Wind Way
Austin, TX 78737



Jesus Medrano
102 n Trenton st #4
Arlington, VA 22203



Jesus Ruiz
714 Braxton Drive
San Jose, CA 95111



Jesus Santiago
506 Hidden Brook Ln
Round Rock, TX 78665




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 736 of
                                        1568
Jian Shen
922 Oakes St.
East Palo Alto, CA 94303



Jiaxi Fang
4320 Forest Park Ave STE 304
St Louis, MO 63108



Jie_Rui_Jezreel Ng
4220 Cesar Chavez St, Apt 212
San Francisco, CA 94131



Jill Waring
4317 Maryland
St Louis, MO 63108



Jill Braun
2725 S. Grant Street
Arlington, VA 22202



Jill DeLine
3617 Meadow Park Dr
Round Rock, TX 78665



Jill Knuth
1063 Vernier Pl
Stanford, CA 94305



Jill Steiner
722 A Copeland St.
Pittsburgh, PA 15232




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 737 of
                                        1568
Jill Wilker
42668 Lerwick Street
Fremont, CA 94539



Jim Fulbrook
3478 Barristars Keepe Circle
Fairfax, VA 22031



Jim Papageorge
21029 starflower way
Ashburn, VA 20147



Jim Surman
17317 Merryweather
Clinton Twp., MI 48038



Jim Aarhus
1549 E Robinson Way
Chandler, AZ 85225



Jim and Karen Mott
3301 Windy Harbor Dr.
Austin, TX 78734



Jim Aspinwall
329 Dallas Dr.
Campbell, CA 95008



Jim Austin
1225 Magdalena Ct
Los Altos, CA 94024




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 738 of
                                        1568
Jim Baack
92 Garden Grove Drive
Daly City, CA 94015



Jim Bauer
1317 Yorkshire Dr
Austin, TX 78723



Jim Bayler
18677 Martha Avenue
Saratoga, CA 95070



Jim Bell
5036 A Oleatha Ave.
Saint Louis, MO 63139



Jim Billy
1005 Market st.,apt 313
SanFrancisco, CA 94103



Jim Burwinkel
2618 S. Jefferson Avenue
St Louis, MO 63103



Jim Bury
5380 S Miller Pl
Chandler, AZ 85249



Jim Cordova
1495 Barton Drive
Sunnyvale, CA 94087




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 739 of
                                        1568
Jim Craven
7485 Oakmont Drive
Canton, MI 48187



Jim Dalton
1842 Jason Circle
Rochester Hills, MI 48306



Jim DeFeo
106 Dasher Drive
Cedar Park, TX 78613



Jim Dickey
7817 Aylesford Lane
Laurel, MD 20707



Jim Dooley
6030 22nd St N
Arlington, VA 22205



Jim Dunaway
22617 Royal Oak Way
Cupertino, CA 95014



Jim Feniello
9883 Moccasin Trail
Wexford, PA 15090



Jim Foraker
2150 Lakeshore Ave Apt 2
Oakland, CA 94606




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 740 of
                                        1568
Jim Goetzinger
105 N. Beebe #1025
Gilbert, AZ 85234



Jim Hansen
P.O. Box 2085
Dearborn, MI 48123



Jim Harrison
218 Murlagan Ave. Unit C
Mountain View, CA 94043



Jim Hejl
2907 Edgewater Dr
Austin, TX 78733



Jim Hendrickson
465 Springer Road
Freedom, PA 15042



Jim Hollis
1324 Clarkson Clayton Center #108
Ellisville, MO 63011



Jim Jones
1780 Pine Ave.
Petaluma, CA 94954



Jim Jue
1980 Spylgass Dr.
San Bruno, CA 94066




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 741 of
                                        1568
Jim Klocinski
491 Eastlock
Saline, MI 48176



Jim Kutz
1340 Garthwick Dr
Los Altos, CA 94024



Jim Loftus
P. O. Box 3726
Santa Clara, CA 95055



Jim Luther
20373 Via Portofino
Cupertino, CA 95014



Jim McCollum
537 Fillmore St., Apt. 1
San Francisco, CA 94117



Jim McCormick
3506 Kings Cross Rd
Alexandria, VA 22303



Jim Mensch
6536 Purple Cliff Ct
San Jose, CA 95119



Jim Miller
4331 Palladio
Austin, TX 78731




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 742 of
                                        1568
Jim Mischel
2302 Mayfield Dr
Round Rock, TX 78681



Jim Mott
3301 Windy Harbor Dr.
Austin, TX 78734



Jim Newton




Jim Newton
524 Keelson Cir
Redwood City, CA 94065



Jim Nicholas
20 Edgewood Road
Pittsburgh, PA 15215



Jim Nisbet
320 Santa Margarita Avenue
Menlo Park, CA 94025



Jim Noble
139 Johnson Ave
Los Gatos, CA 95030



Jim Noble
19156 Bainbridge
Livonia, MI 48157




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 743 of
                                        1568
Jim Ockers
244 Berkley
Dearborn, MI 48124



Jim Parker
P.O. Box 28745
Austin, TX 78755



Jim Piscopo
4142 N. 86th Place
Scottsdale, AZ 85251



Jim Robinson
107 S Mary Ave, #61
Sunnyvale, CA 94086



Jim Schrempp
14587 Oak St.
Saratoga, CA 95070



Jim Sencenbaugh
12 Iris St.
Redwood City, CA 94062



Jim Smutek
21228 Whitlok Dr.
Dearborn Heights, MI 48127



Jim Somers
P.O. Box 1081
San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 744 of
                                        1568
Jim Stall
5205 N 8th Pl
Phoenix, AZ 85014



Jim Stanec
1556 Foxleigh Ct.
St.Louis, MO 63131



Jim Tarr
825 W. Queen Creek Road
#2048
Chandler, AZ 85248



Jim Temple
4402 Temilance Dr.
Austin, TX 78741



Jim Thompson
3800 N Lamar Suite 730-203
Austin, TX 78756



Jim VanHorn
16747 Babler View Drive
Wildwood, MO 63011



Jim VanLoon
600 River Place Dr.
Detroit, MI 48207



Jim Wallace
2023 University Way
San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 745 of
                                        1568
Jim Wano
701 Hilltop Terrace
Alexandria, VA 22301



Jim Wilfong
2727 Victoria Manor
San Carlos, CA 94070



Jim Williams
7820 Grand Estate Dr #2214
Apex, NC 27523



Jim Wyman
300 W Woodcroft Pkwy #31B
Durham, NC 27713



Jim Yorke
1256 Echo Ridge Ct.
San Jose, CA 95120



Jimmey Todd
42029 Bear Tooth Drive
Aldie, VA 20105



Jimmie L. Trigg Jr.
4103 Komes Court
Alexandria, VA 22306



Jimmie Sancious
655 Alabama St.
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 746 of
                                        1568
Jimmy McWherter
21518 Bridge St
Southfield, MI 48033



Jimmy Hairston
14877 prest st
detroit, MI 48227



Jimmy Mann
533 5th street SE
Washington, DC 20003



Jimmy Rico
5856 Casita Way
Gilroy, CA 95020



Jin Dai
5562 Hobart St. Apt 304
Pittsburgh, PA 15217



Jin-Ching Lim
18847 Casa Blanca Lane
Saratoga, CA 95070



Jinghan Peng
375 S. 9th St.
San Jose, CA 95112



Jingwen Peng
375 S. 9th Street
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 747 of
                                        1568
Jinhyoung Oh
3119 Southwycke
Fremont, CA 94536



Jinju Carlson
801 N PITT ST Apt 309
Alexandria, VA 22314



Jinju Carlson
801 N Pitt St
Apt #309
Alexandria, VA 22314



Jinju Carlson_V
7205 Tyler Ave
Falls Church, VA 22042



Jitka Mele
104 Creeks Edge
Chapel Hill, NC 27516



Jiunn Chang
16 Lagoon Ct.
San Rafael, CA 94903



JJ Jasper
426 Attucks St
Kirkwood, MO 63130



Jo Toscana
13999 Alta Vista Ave
Saratoga, CA 95070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 748 of
                                        1568
Joan Angwin
1442 Shasta Ave
San Jose, CA 95726



Joan McCreary
4921 Roundtree Dr
Campbell, CA 95008



Joann Cobb
2960 Monte Cresta Dr
Belmont, CA 94002



Joanna Chen
1074 Laureles Dr
Los Altos, CA 94022



Joanna Conlu
533 Iris St
Redwood City, CA 94062



Joanna Gick
783 W. Honeysuckle Dr
Chandler, AZ 85248



Joanna Tong
109 Buchanan Street #2
San Francisco, CA 94102



Joanne Debyah
2415 Arbor Dr
Round Rock, TX 78681




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 749 of
                                        1568
Joanne Ha
4526 20th st
San Francisco, CA 94114



Joanne Evangelista
1688 York St.
San Francisco, CA 94110



Joanne Neukirchen
121 12th Street SE, Apt. 501
Washington, DC 20003



Joanne Ng
1464 12th Ave
San Francisco, CA 94122



Joanne Verbeck
736 Oakview Way
Emerald Hills, CA 94062



Joao Lopes
20 N Grand
St. Louis, MO 63103



Joao Paulo Legai
20 S. 2nd St. #236
San Jose, CA 95113



Jocelyn Ting
1149 Skyline Dr
Daly City, CA 94015




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 750 of
                                        1568
Jochen Frey
147 Alabama St.
San Francisco, CA 94123



Jodi Bade
10106 Falcon Ridge Dr.
Austin, TX, TX 78733



Jodi Mascarenas
1895 camden ave.
San Jose, CA 95124



jody burford
312 Bowdoin St
san francisco, CA 94134



Jody Jensen
2615 Deep River Circle
Round Rock, TX 78665



Jody-Ann Allen
953 Newkirk Avenue
Brooklyn, NY 11230



Joe Donelko
119 S Gainsborough Ave
Royal Oak, MI 48067



Joe Wisniewski
3046 Bamlet Rd
Royal Oak, MI 48073




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 751 of
                                        1568
Joe Beiser
20300 rotonda
dearborn, MI 48124



Joe Besser
8834 Sturdy Dr
Saint Louis, MO 63126



Joe Betancourt
20251 N 75th Ave #1036
Glendale, AZ 85308



Joe Campeau
14738 Longtin Street
Southgate, MI 48195



Joe Carver V
54 Bonita Ave
Redwood City, CA 94061



Joe Carver_III
4749 Nicol Cmn #104
Livermore, CA 94550



Joe CarverIV
54 Bonita Avenue
Redwood City, CA 94061



Joe Coveney
854 Elizabeth St
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 752 of
                                        1568
Joe Cuniberti
46864 Covington Dr
Macomb, MI 48044



Joe Dakoske
40170 Alden Drive
Belleville, MI 48111



Joe DeLiso
3720 Laclede Avenue
St. Louis, MO 63108



Joe Girard
229 Puffin Court
Foster City, CA 94404



Joe Hershberger
7412 Tovar Dr
Austin, TX 78729



Joe Jacks
353 King Street
San Francisco, CA 94158



Joe Jensen
990 E. Drake Dr.
Tempe, AZ 85283



Joe Katona
1475 Ridge Ct
Rochester, MI 48306




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 753 of
                                        1568
Joe Kennedy
P.O. Box 2070
Los Altos, CA 94023



Joe Lin
969 Broadleaf Lane
San Jose, CA 95128



Joe Lovelace
20754 Summerfield
Macomb, MI 48044



Joe Malkowski
2638 Hollywood St
Dearborn, MI 48124



Joe Mayer
18117 W Townley Ave
Waddell, AZ 85355



Joe Menard
13999 Alta Vista Ave
Saratoga, CA 95070



Joe Mertz
107 Bentley Dr
Pittsburgh, PA 15238



Joe Metz
310 G Street
Fremont, CA 94536




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 754 of
                                        1568
Joe Mizrahi
2317 Beach Blvd. #303
Pacifica, CA 94044



Joe Mobley
910 Lenora St. #1502
Seattle, WA 98121



Joe Monahan
6202 Civic Drive
Lago Vista, TX 78645



Joe Murphy
3211 Nevin Ave
Richmond, CA 94804



Joe O'Brien
223 Spring Ave.
Webster Groves, MO 63119



Joe Peck
308 Comanche Circle
Hutto, TX 78634



Joe Perch
3323 Perch Trail
Round Rock, TX 78665



Joe Ricioppo
4131 24th Street #2
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 755 of
                                        1568
Joe Rosales
7403 Castle Wood
San Antonio, TX 78218



Joe Saman
11581 Laurel Lake Square
Fairfax, VA 22030



Joe Sanders
8249 Normandy Trace Ct. Apt. F
Normandy, MO 63121



Joe Smay
966 Summerplace Dr
San Jose, CA 95122



Joe Stafura
2A Monastery St.
Pittsburgh, PA 15203



Joe Sullivan
8400 Taylor Lane
Annandale, VA 22003



Joe Thomas
605 Peralta Ave.
San Francisco, CA 94110



Joe Tocci
1242 Howard St. Apt. 4
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 756 of
                                        1568
Joe Traenkle
320 Tula Trail
Leander, TX 78641



Joe Tutterow
428 A Pierce St.
San Francisco, CA 94117



Joe Walp
6006 Claremont Ave #4
Oakland, CA 94618



Joe White
1585 Terrace Way #344
Santa Rosa, CA 95404



Joe Winkles
4412 Paseda Lane
Round Rock, TX 78681



Joe Young
190 S. 15th St.
San Jose, CA 95112



Joe Zagar
10106 Woodglen Drive
Austin, TX 78753



Joe Zhou
86 Pierce Ave Apt 1
San Jose, CA 95110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 757 of
                                        1568
Joel Cammarata
265 Avalon Drive
Daly City, CA 94015



Joel Cotton
7260 Bruno Avenue
Saint Louis, MO 63143



Joel Curtin
3222 20th street NE
Washington, DC 20018



Joel Davidson
7837 NE 112th Street
Kirkland, WA 98034



Joel Dixon
924 Hyde Park Dr
Round Rock, TX 78665



Joel Gabel
4925 Cromwell Drive, Apt 6107
Kyle, TX 78640



Joel Goode
1402 Ash Street
Georgetown, TX 78626



Joel Goodin
5501 Del Oro Ct
San Jose, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 758 of
                                        1568
Joel Hawkins
2060 Leavenworth St.
San Francisco, CA 94133



Joel Katako




Joel Nikolaus
88 Bush St
San Jose, CA 95126



Joel Pierce
10875 Calumet
whitmore lake, MI 48189



Joel Sadler
449 Banks Street
San Francisco, CA 94110



Joel St_John
8127 E Gary Road
Scottsdale, AZ 85260



Joel Traylor
3311 Rhode Island Avenue #218
Mount RAinier, MD 20712



Joel Warner
16303 Chelsea
Selma, TX 78154




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 759 of
                                        1568
Joel Zhou
5821 Pearson Lane
Alexandria, VA 22304



Joeseph Davis
607 San Gabriel Pl.
St.louis, MO 63125



Joey Cheng
526 Libson St
San Francisco, CA 94118



Joey Hakanson
804 Westbrooke Village Drive Apt. B
Manchester, MO 63021



Joey Havlisch
1618 Naomi Ct
Redwood City, CA 94062



Joey Hayes
999 16th Street #15
San Francisco, CA 94107



Joey Kellison-Linn
2802 Louis Rd.
Palo Alto, CA 94303



Joey Lee
5 Scotia Ave.
San Francisco, CA 94124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 760 of
                                        1568
Joey Madrigal
7681 Dowdy St.
Gilroy, CA 95020



Joey Reinhart
6117 Silberman Dr.
San Jose, CA 95120



Joey Tulumello
7544 E. Grandview Circle
Mesa, AZ 85207



Joey Zhao
2647 Boren Dr
San Jose, CA 95121



Johan Koning
1360 Flicker Way
Sunnyvale, CA 94087



Johan Sanmartin
159 East 106 Street Apt#4B
New York, NY 10029



Johann Dreyer
116 Santa Rosa Ave
Sausalito, CA 94965



Johann Koenig
413 1/2 Buena Vista Ave.
Santa Cruz, CA 95062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 761 of
                                        1568
Johanna Evans
6018 Shelter Bay Ave.
Mill Valley, CA 94941



Johanna Kwan
4150 Hepner Ln.
San Jose, CA 95136



Johanna Silverthorne
540 East William St.
San Jose, CA 95112



Johanna Wright
495 Toft St
Mountain View, CA 94041



Johannes Hacker
543 South Park Victoria Drive #520
Milpitas, CA 95035



Johannes Eissing
1124 Pomeroy Ave.
Santa Clara, CA 95051



Johannes Kristinsson
2404 Leslie Circle
Ann Arbor, MI 48105



John Joyce
6655 Beverly Crest
West Bloomfield, MI 48322




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 762 of
                                        1568
John Bishopp
2880 E. Lindrick Dr
Chandler, AZ 85249



John Brosnan
1561 Boyle Ct.
Pinole, CA 94564



John Brunetti
1505 North Rhodes St.
Arlington, VA 22202



John Carver
1411 Saratoga Ave., Apt. 259
San Jose, CA 95129



John Khouri
13580 Heritage Farms Drive
Gainesville, VA 20155



John Lamberton
514 19th AVE. Apt 311
Seattle, WA 98112



John Locke
920 Lochaven
Waterford, MI 48327



John Myer
140 Allenhurst Ave
Royal Oak, MI 48067




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 763 of
                                        1568
John Sharvin
445 Ella St
Pittsburgh, PA 15224



John Trimarco
1311 Lakeside Loop
Round Rock, TX 78665



John Zwerner
27226 N 96th wy.
Scottsdale, AZ 85262



John Acton
4921 Canto Dr #4
San Jose, CA 95124



John Adams
245 5th St #305
San Francisco, CA 94103



John Ames
3200 Zanker Rd Apt 1429
San Jose, CA 95134



John Archield
5155 Jones Ct
JB Andrews, MD 20762



John Bailey Jr
1018 N. Negley Ave Apt4
Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 764 of
                                        1568
John Baker
113 KirkWood Ave
Pittsburgh, PA 15215



John Beans
231 Daylight Pl
Danville, CA 94526



John Beasley
403 Lippershey Ct.
Cary, NC 27513



John Benoit
1059 W. McKinley Ave
Sunnyvale, CA 94086



John Bida
234 Ramona
Palo Alto, CA 94301



John Binns
1714 Enfield Rd Apt 104
Austin, TX 78703



John Blessing
911 Guerrero St
San Francisco, CA 94110



John Bohn
P.O Box 871100
Canton, MI 48187




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 765 of
                                        1568
John Bolyard
42375 Woodwind Ln
Canton, MI 48188



John Borton
20300 Bear Creek Rd
Los Gatos, CA 95033



John Boyer
58 Treehaven Dr.
San Rafael, CA 94901



John Bradley
309 Rayos Del Sol Dr
San Jose, CA 95116



John Braunreuther
1596 Edmond Ct
San Jose, CA 95125



John Brevick
39175 Parkhurst
Livonia, MI 48154



John Brisbin
1857 Andrews Avenue
San Jose, CA 95124



John Burnett
700 Castro St
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 766 of
                                        1568
John Cardillo
1700 Fairlane
Allen Park, MI 48101



John Carmichael
85 Middlegate Street
Atherton, CA 94027



John Carnes
1755 La Honda Road #95
Woodside, CA 94062



John Carpenter
15210 S.16th place
Phoenix, AZ 85048



John Cashin
6346 Southwood Ave Apt 25
St. Louis, MO 63105



John Chamberlin
353 Jersey St
San Francisco, CA 94114



John Chen
12075 SARAGLEN DR
SARATOGA, CA 95070



John Chicoski
P.O. Box 5215
Arlington, VA 22205




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 767 of
                                        1568
John Chris Ford
620 W. Crestland
Austin, TX 78752



John Clark
397 NewCastle Dr
Redwood City, CA 94061



John Cobb
40 idlewood rd
kentfield, CA 94904



John Coffman
19529 Kennemer Dr
Pflugerville, TX 78660



John Coller
269 Campus Dr
Stanford, CA 94305-5177



John Conturo
7100 Thomas Blvd
Apt 4
Pittsburgh, PA 15208



John Conturo
6343 Jackson St.
Pittsburgh, PA 15206



John Copeland
919 CLINTON, APT 3
Redwood City, CA 94061-1781




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 768 of
                                        1568
John Cottrell
1503 Wethersfield Rd.
Austin, TX 78703



John D Durst and Susan E. McComg
989 Chenery St.
San Francisco, CA 94131



John DAmours
162 S. Forest Ct.
Chandler, AZ 85226



John Davidson
7837 NE 112th Street
Kirkland, WA 98034



John Dietz
137 N 10th Street
San Jose, CA 95112



John Dolinsky
3747 Tanglewood Ct.
Ann Arbor, MI 48105



John Drain
3909 Woodward Ave
Detroit, MI 48201



John Drybread
6390 escallonia dr
Newark, CA 94560




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 769 of
                                        1568
John Duken
510 Salem Heights Drive
Gibsonia, PA 15044



John Eggers
2777 Yulupa Ave #241
Santa Rosa, CA 95405



John Emery
7744 Northcross Drive N 139
Austin, TX 78757



John Emery
1103 Stephanie Lee lane
Austin, TX 78753



John Engle
MSC 1043, 20 N Grand Blvd
St Louis, MO 63025



John Eric Doyle
322 Laurel Ave
Menlo Park, CA 94025



John F. McClusky
317 School St.
Fremont, CA 94536



John Ference
3134 Scenic Court
Allison Park, PA 15101




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 770 of
                                        1568
John Ferrell
2333 Camino Del Verdes Place
Round Rock, TX 78681



John Fisher
8915 Colesbury Place
Fairfax, VA 22031



John Foster
945 High School Way #19
Mountain View, CA 94041



John Frank
1702 Mariposa Dr
Austin, TX 78741



John Friend
90 Pinegrove
Pontiac, MI 48342



JOHN Gadbaw
1828 academy st
Dearborn, MI 48124



John Garrison
2111 E. Virgo Pl.
Chandler, AZ 85249



John Gillespie
PO Box 1871
Mason, TX 76856




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 771 of
                                        1568
John Gillham
203 E 2nd
Georgetown, TX 78626



John Godwin
1801 Pyramid Dr
Austin, TX 78634



John Goins
647 Light Tower Dr.
Bellville, MI 48111



John Goldsmith
1045 Mission St Apt 480
San Francisco, CA 94103



John Goodson
550 W Baseline Rd. #102-353
Mesa, AZ 85210



John Grant
1423 Ruby Ave
Rochester Hills, MI 48309



John Gruse
404 Virginia Ave Apt 12
Royal Oak, MI 48067



John H Eggers
17503 Hwy 12
Sonoma, CA 95476




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 772 of
                                        1568
John Haliburton
3475 Edison Way
Menlo Park, CA 94025



John Hammontree
310 channing way, apt 209
san rafael, CA 94903



John Hansmann
337 S Fremont Street, #313
San Mateo, CA 94401



John Hawkins
2516 Buena Vista Ave.
Belmont, CA 94002



John Hay
312 Midvale
Lansing, MI 48912



John Heber
4917 Mcphersom
St. Louis, MO 63108



John Heinze
915 Olive Street Unit 1101
Saint Louis, MO 63101



John Helfen
5555 Whitehaven
Troy, MI 48085




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 773 of
                                        1568
John Hempel
123 Gordon St
Edgewood, PA 15218



John Hermannsson
314 Grand Street
Redwood City, CA 94062



John Hill
80 S. Market St
San Jose, CA 95113



John Huber
44115 Stassen Ave
Novi, MI 48375



John Hunt
4008 Claitor Way
San Jose, CA 95132



John Huynh
112 Kenbrooke Cir
San Jose, CA 95111



John Jack
3011 E Glendale Dr
Chandler, AZ 85249



John Jaranson
22059 Olmstead
Dearborn, MI 48124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 774 of
                                        1568
John Jaranson_V
22059 Olmstead
Dearborn, MI 48124



John Joseph
338 27th Street
San Francisco, CA 94131



John Joseph
201 4th St, Apt 309
Oakland, CA 94607



John Kelley
1685 Oak St. #201
San Francisco, CA 94117



John Kelly
5471 S Big Horn Pl
Chandler, AZ 85249



John Kimball
1314 E Evergreen St
Mesa, AZ 85203



John Kingscott
8109 Riverside Ave.
Cabin John, MD 20818



John Kloman
3200 Dominy Ct.
Oakton, VA 22124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 775 of
                                        1568
John Lai
1771 Flint Creek Way
San Jose, CA 95148



John Landino
29108 congress
roseville, MI 48066



John Lara
17205 County Line Rd
Elgin, TX 78621



John Law
846 Bush Street Apartment 28
San Francisco, CA 94108



John Lawton
7003 Vallecito Dr
Austin, TX 78759



John Lazear
2123 E. Redmon Dr.
Tempe, AZ 85283



John Lazear
1535 Valley Dr.
Topanga, CA 90290



John Lehman
25 Aztec Drive
Stafford, VA 22554




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 776 of
                                        1568
John Lewy
5993 Beech Daly Rd
Taylor, MI 48180



John Lewy
130 woodcrest ave
Dearborn, MI 48124



John Lockwood
530 Lytton Ave 2nd Floor
Palo Alto, CA 94301



John Lucey
105 Michele CIrcle
Novato, CA 94947



John Ludeke
1 Encline Ct.
San Francisco, CA 94127



John Luo
2400 W El Camino real Apt 714
Mountain View, CA 94040



John Ly
4833 Shetland Ave
Oakland, CA 94605



John Magdziarz
1224 Castro St
San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 777 of
                                        1568
John Maier
3518 5th Ave
Pittsburgh, PA 15201



John Manford
17 Bull Elk
Cloudcraft, NM 88317



John Marsh
111 W 6TH ST APT 2201
TEMPE, AZ 85281



John Marshall
7625 Journeyville Dr.
Austin, TX 78735



John Martin
1309 Alviso St
Santa Clara, CA 95050



John Martin
120 David Duval Ct
Round Rock, TX 78664



John McCarthy
6723 Grey Fox Drive
Springfield, VA 22152



John McCaughey
732 Cedar St.
San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 778 of
                                        1568
John McCool
945 Old Bonhomme Road
Saint Louis, MO 63132



John McCreight
500 Race St. APT 5113
San Jose, CA 95126



John McMaster
1807 Valdez Ave
Belmont, CA 94002



John Mendieta
739 Mirimar
San Francisco, CA 94112



John Micali
16105 Greenwood Lane
Monte Sereno, CA 95030



John Michael O'Toole
2502 10th street
berkeley, CA 94710



John Miller
292 Sandpiper Ct
Foster City, CA 94404



John Mishanski
555 4th St. Unit 641
San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 779 of
                                        1568
John Monda
6053 Scanlan Ave
St. Louis, MO 63139



John Moran
1620 S Hardy
Tempe, AZ 85281



John Muth
2410 Campus Shore Dr., 334 Monteith Rese
Raleigh, NC 27606



John Nagle
1510 Deer Creek Ln.
Emerald Hills, CA 94062



John Nathan
1175 Park Ave
new york, NY 10128



John Oliver
1929 E. Springfield Pl.
Chandler, AZ 85286



John Osborne
15941 Goldwin Pl
Southfield, MI 48075



John Otto
87136 Camelback
Scottsdale, AZ 85251




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 780 of
                                        1568
John Owen
3956 oneill
San Mateo, CA 94403



John Passacantando
8419 West Blvd. Dr.
Alexandria, VA 22038



John Patten
P.O. BOX 111025
Campbell, CA 95011



John Paul Michael Turner
308 Pheasant Cove
Hutto, TX 78634



John Peck
204 Killian Loop
Hutto, TX 78634



John Phillips
20 South 2nd Street #329
San Jose, CA 95113



John Phung
2059 2nd St
Santa Clara, CA 95054



John Pilgrim
438 Duncan St
San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 781 of
                                        1568
John Plocher
406 Belmont
San Jose, CA 95125



John Rainwater
5128 Grimm Drive
Alexandria, VA 22304



John Randolph
17225 Federal Drive
Allen park, MI 48101



John Reynolds
501 Pamela Lane
Kirkwood, MO 63122



John Robert Sisler
795 Whispering Pines Dr.
Scotts Valley, CA 95066



John Rokos
3173 Neal Ave. Unit 2
San Jose, CA 95117



John Rowland
1530 New Stock Rd
Weaverville, NC 28787



John Sankovitch
1308 Kinyon circle
Ames, IA 50010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 782 of
                                        1568
John Scheesele
1521 Fox Chase Ln
Pittsburgh, PA 15241



John Scheffel
1142 Pome Ave
Sunnyvale, CA 94087



John Schiavi
2709 Kings Crossing Drive
Barnhart, MO 63012



John Schiffman
3000 Town Center Suite 2222
Southfield, MI 48075



John Schneider
4648 E. Piedmont Rd.
Phoenix, AZ 85044



John Selin
1741 Francis Ct
Belmont, CA 94002



John Shern
57 West 39th Ave
San Mateo, CA 94403



John Sheu
1018 Thistle Ct.
Sunnyvale, CA 94086




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 783 of
                                        1568
John Sheu
3301 Mission apt 301
San Francisco, CA 94110



John Shield
3109 Sunset Ter
San Mateo, CA 94403



John Sisler
795 Whispering Pines Dr.
Scotts Valley, CA 95066



John Skidgel
5 Bonita Lane
Orinda, CA 94563



John Slater
1021 Jones CT
Redwood City, CA 94063



John Sleeman
721F Menlo Ave
Menlo Park, CA 94025



John Stacey
PO Box 752
Menlo Park, CA 94025



John Stanec
3730 Callison St
Loomis, CA 95650




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 784 of
                                        1568
John Stehman
7 Klein Ct.
Collinsville, IL 62234



John Steinberg
481 N. Santa Cruz Ave.
Los Gatos, CA 95030



John Stewart
1800 Wilson Blvd APT 413
Arlington, VA 22201



John Stimmer
422 Cliff St
Santa Cruz, CA 95060



John Stirton
4200 Suter St.
Oakland, CA 94619



John Subranni
1642 Hobart St. NW
Washington, DC 20009



John Swearingen
7855 Hartwell
Dearborn, MI 48126



John Taylor
13329 Carters Way Rd.
Chesterfield, VA 23838




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 785 of
                                        1568
John Teodecki
500 Barrington
Grosse Pointe Park, MI 48230



John Terry
6081 Foothill Glen Ct
San Jose, CA 95123



John Thomason
500 Race Street, Apt 3214
San Jose, CA 95126



John Thorne-Thomsen
1902 Inverness Blvd
Austin, TX 78745



John Thornton
16776 Potter Court
Los Gatos, CA 95032



John Tierney
368 N 6th St.
San Jose, CA 95113



John Todd
25 Miraloma Dr.
San Francisco, CA 94125



John Tronsor
145 40th St Apt 2
Pittsburgh, PA 15201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 786 of
                                        1568
John Turik
29900 Franklin Rd # 122
Southfield, MI 48034



John Turner
12864 Royal Grand
Redford, MI 48239



John Turner
5713 Heatherstone Dr.
Raleigh, NC 27606



John Tyler
P.O. Box 205
Indianola, WA 98342



John Umberger
3612 Massachusetts Ave NW
Washington, DC 20007



John Vangelov
162 Easton Dr
South Lyon, MI 48178



John Vasquez
1428 E Buffalo St
Gilbert, AZ 85295



John Viator
309 Libermann Hall
Pittsburgh, PA 15282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 787 of
                                        1568
John Vink
927 Radcliffe Drive
San Jose, CA 95117



John W Shield
3109 Sunset Ter
San Mateo, CA 94403



John Wagner
97 Aberdeen Pl.
Clayton, MO 63105



John Wahl
714 19th St S
Arlington, VA 22202



John Ware
857 Clearfield Dr.
Millbrae, CA 94030



John Watters
20503 McShepherd Cove
Georgetown, TX 78626



John Welch
1309 Green Tarrace Dr.
Round Rock, TX 78664



John Wesley Williams II
1458 Miller Ave.
San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 788 of
                                        1568
John Whitman
200 Yarborough
redwood city, CA 94061



John Whitman_V
200 Yarborough Lane
Redwood City, CA 94061



John Widman
11708 Summerchase Circle # D
Reston, VA 20194



John Wilbur
20618 Nob Hill Cir
Groveland, CA 95321



John Williams
1458 Miller Ave.
San Jose, CA 95129



John Winters
17004 Simsbrook Dr
Pflugerville, TX 78660



John Worthington
777 Masson Ave.
San Bruno, CA 94066



John Zeok
2810 Lee Oaks Ct #301
Falls Church, VA 22046




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 789 of
                                        1568
John Zitterkopf
5007 Trail West Dr
Austin, TX 78735



John-Michael Seng-Wheeler
2609 Blake St. #404
Berkeley, CA 94704



John-Paul Martin
330 2nd St, Suite 202
Oakland, CA 94607



Johnathan Ashbrook
204 Russia Ave
San Francisco, CA 94112



Johnathan Boyd
12140 Monument Dr #262
Fairfax, VA 22033



Johnathan Boyt
315 Sheridan Ave
Palo Alto, CA 94306



JohnMichael Ferrer
3200 Hillview Ave #200
Palo Alto, CA 94304



Johnna Spikes
3222 Madera Ave.
Oakland, CA 94619




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 790 of
                                        1568
Johnny Butler
5703 Reynolds Rd
Austin, TX 78749



Johnny Lemoine
1232 E 19th St
Oakland, CA 94606



Johnny Chung Lee
1075 Space Park Way #28
Mountain View, CA 94043



Johnny DePalma
801 Miller Ave
Campbell, CA 95008



Johnny Dukovich
1201 Pine Hill Rd.
McLean, VA 22101



Johnny Dukovich
1201 Pine Hill Rd
Mc Lean, VA 22101



Johnny Lee
1075 Space Park Way #28
Mountain View, CA 94043



Jolie Karno_V
1472 University Ave # J
Berkeley, CA 94702




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 791 of
                                        1568
Jomo Tariku
7287 Olde Lantern Way
Springfield, VA 22152



Jon Firpach
15001 N HAYDEN rd # 101
Scottsdale, AZ 85260



Jon Andrews
1577 Koch Ln.
San Jose, CA 95125



Jon Baney
5908 Sierra Madre
Austin, TX 78759



Jon Barbara
3309 E. Flossmoor Ave.
Mesa, AZ 85204



Jon Barbara
3309 E Floosmoor Ave
Mesa, AZ 85204



Jon Barnard
672 Mayten Dr.
Livermore, CA 94551



jon bradford
2027 18th st
San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 792 of
                                        1568
Jon Bradley
281 14th street
San Francisco, CA 94103



Jon Colias
817F Quarry Road
San Francisco, CA 94129



Jon Davis
1207 Indiana Street #10
San Francisco, CA 94107



Jon Eric Watt
36 Circle Road
Redwood City, CA 94062



Jon Friesell
144 s park ave
SANTA CRUZ, CA 95062



Jon Garza
1144 E Liberty Shores
Gilbert, AZ 85234



Jon Gold
888 Brannan St, Floor 3
San Francisco, CA 94103



Jon Hamilton
15835 Foothill Farms Lp
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 793 of
                                        1568
Jon Hoffmann
2181 Lowrie Street
Pittsburgh, PA 15212



Jon Levy
8714 Garfield St
Bethesda, MD 20817



Jon Lorman
114 North Willard Avenue
San Jose, CA 95126



Jon Maiara
930 Pine St. #108
San Francisco, CA 94108



Jon Mayo
970 Meridian Ave Apt 38
San Jose, CA 95126



Jon Meyers
3896 E Palo Verde St
Gilbert, AZ 85296



Jon Mueller
3330 2nd St. S.
Arlington, VA 22204



Jon Pannell
10873 Wilkinson Ave.
Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 794 of
                                        1568
Jon Peters
14486 SE Lyon CT
Happy Valley, OR 97086



Jon Pittman
111 McInnis Pkwy
San Francisco, CA 94903



Jon Rabinovitz_ V
324 5th st (c/o datafox)
San Fransisco, CA 94107



Jon Saunders
550 23rd Pl, NE
Washington, DC 20002



Jon Schuette
41312 W Sanders Way
Maricopa, AZ 85207



Jon Thoms
130 E San Fernando St. PH7
San Jose, CA 95112



Jon Wallace
6916 E Minton St
Mesa, AZ 85207



Jon Watte
36 Circle Road
Redwood City, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 795 of
                                        1568
Jon-Paul Kelly
1167 Burrows Street
San Francisco, CA 94134



Jonah Harley
15290 Kennedy Rd.
Los Gatos, CA 95032



Jonalyn Lancaster
88 E. San Fernando St #510
San Jose, CA 95113



Jonathan Blecherman
241 Menlo oaks Drive
Menlo Park, CA 94025



Jonathan Chung
One MedImmune Way
Gaithersburg, MD 20878



Jonathan Clarke
1127 Winthrop
Troy, MI 48083



Jonathan Havlik
3318 A Magnolia Avenue
St. Louis, MO 63118



Jonathan Mullen
37485 Dale Dr, # 204
Westland, MI 48185




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 796 of
                                        1568
Jonathan Abner
5911 Crane Circle
Saint Louis, MO 63109



Jonathan Adams
1209 Derby St
Berkeley, CA 94702



Jonathan Andrews
1942 Witt Street
Pittsburgh, PA 15226



Jonathan Baeckel
109 McKay Street
Pittsburgh, PA 15215



Jonathan Bair
2938 Avalon Avenue
Berkeley, CA 94705



Jonathan Barnard
672 Mayten Drive
Livermore, CA 94551



Jonathan Barnes
600 Capp st.
San Francisco, CA 94114



Jonathan Barron
1545 w lynwood st
Phoenix, AZ 85007




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 797 of
                                        1568
Jonathan Bremer
59 Santa Rosa Ave.
Half Moon Bay, CA 94019



Jonathan Buckalew
3641 Jackson St
San Francisco, CA 94118



Jonathan Butts
411 Aspen st NW
Washington, DC 20012



Jonathan Butzke
1147 Jancey St
Pittsburgh, PA 15206



Jonathan Byars
1331 S Eads Street #1402
Arlington, VA 22202



Jonathan Casero
15134 W Corrine Dr
Surprise, AZ 85379



Jonathan Claypool
18662 Tenash Rd
Murrieta, CA 92562



Jonathan Dagle
417 N Peyton St.
Alexandria, VA 22314




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 798 of
                                        1568
Jonathan Edwards
12820 John Adams ST
Manor, TX 78653



Jonathan Finchum
353 South York St.
Dearborn, MI 48124



Jonathan Friedman
1235 Waller St
San Francisco, CA 94117



Jonathan Gorday
1000 Green Arbor Dr.
St. Louis, MO 63026



Jonathan Gunger
42592 Crawborn
Canton, MI 48187



Jonathan Harris
4139 W Holly St
Phoenix, AZ 85009



Jonathan Hernandez
8311 W Glenrosa Ave
Phoenix, AZ 85037



Jonathan Hodges
2174-A 22nd Ave.
San Francisco, CA 94116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 799 of
                                        1568
Jonathan Hodges
144 13th street apt14
Richmond, CA 94801



Jonathan Hoogendoorn
2636 Wagon Drive Apt 273
Alexandria, VA 22303



Jonathan Jacobs
637 s eton St
Birmingham, MI 48009



Jonathan Latorre
4740 Victorian SQ E
Canton, MI 48188



Jonathan Lee
450 N Mathilda Ave
Sunnyvale, CA 94085



Jonathan Lockard
330 W. New Dawn Dr.
Chandler, AZ 85248



JONATHAN MA
26 PERITA DR
DALY CITY, CA 94015



Jonathan Manzo
463 Texas Street
San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 800 of
                                        1568
Jonathan Mayer
3353 Cesar Chavez St.
San Francisco, CA 94110



Jonathan McHugh
205 Jackson ST
Falls Church, VA 22046



Jonathan Moisant-Thompson
3275 Irlanda Way
San Jose, CA 95124



Jonathan Newton
5510 Peppercorn Dr.
Burke, VA 22015



Jonathan Pease
375 Upper Terrace
San Francisco, CA 94117



Jonathan Petrashune
203 Lehigh Ave, Apt. 2
Pittsburgh, PA 15232



Jonathan Petrashune
203 Lehigh Ave
Pittsburgh, PA 15232



Jonathan Prouty
7904 S Peppertree Dr
Gilbert, AZ 85298




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 801 of
                                        1568
Jonathan Reimers
275 South 22nd Street
San Jose, CA 95116



Jonathan Sandheinrich
2014 S. 11th St.
St Louis, MO 63104



Jonathan Schaefer
1 N Grand
St. Louis, MO 63103



Jonathan Thacher
3715 Merlin Way
Annandale, VA 22003



Jonathan Thorn
20638 Maria Ct
Castro Valley, CA 94546



Jonathan Vlock
1272 DOLORES ST
SAN FRANCISCO, CA 94110



Jonathan Vogt
1336 San Reliez ct
Lafayette, CA 94549



Jonathan Weiss
4840 Kingbrook Dr
San Jose, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 802 of
                                        1568
Jonathan West
2211 JEFFERSON DAVIS HWY UNIT 102
ALEXANDRIA, VA 22301-1775



Jonathan Wilkins
237 Kearny st #229
San Francisco, CA 94108



Jonathan Wolk
21556 Field Station Terrace
BROADLANDS, VA 20148



Jonathan Woolf
1725 Washington St. Apt. 3
San Francisco, CA 94109



Jonathon Anthony
600 Fell St. Apt 208
San Francisco, CA 94102



Jonathon Rogers
19444 Greenwood Dr. #1
Cupertino, CA 95014



Jonathon-Tyler Webb
9217 Hwy 290W Ste 160
Austin, TX 78736



Jong Won Choi
1508 grandview dr.
berkeley, CA 94705




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 803 of
                                        1568
Jongan Sunn
350 Alabama St. #7
San Francisco, CA 94110



Joni Mici
2131 Sterling Ave
Menlo Park, CA 94025



Joost Kemink
255 Berry Street, #318
San Francisco, CA 94158



Jordan Chaffin
1200 W. Relation St.
Safford, AZ 85546



Jordan Colby
4141 N. 78th way
Scottsdale, AZ 85251



Jordan Furness
3344 Polk st.
Dearborn, MI 48124



Jordan Sharpe
1206 1/4 S. Ash Ave.
Tempe, AZ 85281



Jordan Baker
Po box 1246
San Jose, CA 95108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 804 of
                                        1568
Jordan Blackthorne
635 Tennessee St Apt 401
San Francisco, CA 94107



Jordan Chaffin
800 N Federal St
Chandler, AZ 85226



Jordan Humble
14475 Liddichoat Circle
Los Altos, CA 94022



Jordan Kochavi
47 Kathleen Ct.
Pacifica, CA 94044



Jordan Littlejohn
3001 Colonial Pkwy #7128
Cedar Park, TX 78610



Jordan Oberhaus
5744 Pershing
St. Louis, MO 63112



Jordan Patterson
5511 S. Jolly Roger Rd
Tempe, AZ 85283



Jordan Patton
454 Bailey Ave
Pittsburgh, PA 15211




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 805 of
                                        1568
Jordan Patton
454 Bailey Ave.
Pittsburgh, PA 15211



Jordan Pepe
642 Wilson Ave
Brooklyn, NY 11207



Jordan Reece
313 Bluefish Court
Foster City, CA 94404



Jordan Rejaud
945 Larkin Street, Apt 16
SAN FRANCISCO, CA 94109



Jordan Romaidis
370 6th Ave
San Francisco, CA 94118



Jordan Rosenbaum
42 Zita Manor
Daly City, CA 94015



Jordan Sutton
5301 MLK way
Oakland, CA 94609



Jordan Whitney
1025 Otter Ave
Waterford, MI 48328




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 806 of
                                        1568
Jordan Wills
8000 Snook Hook Trail
Austin, TX 78729



Jordan Wilson
667 o-farrel
San Francisco, CA 94109



JORETH TOROPOV
917 PASEITO TERRACE
Pacifica, CA 94044



Jorge Losada
17 Rio Vista Avenue
Oakland, CA 94611



Jorge martinez
681 old county road
san carlos, CA 94070



Jorge Medrano
308 Pheasant Cove
Hutto, TX 78634



Jorge Pinedo
708 Crestwood Lane
Round Rock, TX 78665



Jorge Sanchez
87 E. San Fernando St.
San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 807 of
                                        1568
Jorge Suarez-Rivaya
3200 Hillview Ave
Palo Alto, CA 94304



Jorge Supkay
3201 Esperanza Crossing
Austin, TX 78758



Jorgen Cederlof
69 Wood Street
San Francisco, CA 94118



Jory Post
184 Kenny Ct.
Santa Cruz, CA 95065



Jos Cocquyt
70 Museum Way
san francisco, CA 94114



Jose Esquitin
986 Princess Anne Dr
San Jose, CA 95128



Jose Camero
117 Bastian Lane
Georgetown, TX 78626



Jose Flores
5327 Cypress Rd
Oxnard, CA 93033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 808 of
                                        1568
Jose Gonzalez
359 Whispering Wind Way
Austin, TX 78737



Jose Guerrero
15801 S 48th St.
Apt. #1055
Phoenix, AZ 85048



Jose jaquez
877 s 9th st
san jose, CA 95112



Jose Landivar
3019 Ruby Ave
San Jose, CA 95135



Jose Leos
1055 Filbert Street
San Francisco, CA 94133



Jose Lopez
665 Santa Paula Ave.
Sunnyvale, CA 94085



Jose M.Soto
Landscaping & Tree Service
PO.Box 2447
Menlo Park, CA 94026



Jose Maldonado
15184 Merriman Rd
Livonia, MI 48154




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 809 of
                                        1568
Jose Marquez
23185 S. Country Club Dr.
Mesa, AZ 85210



Jose Martinez
11061 la Paloma Loop East
Salado, TX 76571



Jose Melendez
2025 Tobago Ave
San Jose, CA 95122



Jose Pfondevida
320 Camino Aroyo E
Danville, CA 94506



Jose Pulido
2316 Mt. Pleasant Rd.
San Jose, CA 95148



Jose Quinteiro
711 48th Avenue
San Francisco, CA 94121



Jose Sanchez
6480 Living Place Apt. 432
Pittsburgh, PA 15206



Jose Soltren
1201 W Park St
Cedar Park, TX 78613-2801




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 810 of
                                        1568
Jose Vega
3841 Dale PL.
Oakland, CA 94619



Joseph Contreras
61 Terrace Drive,
Sausalito, CA 94965



Joseph Young
3311 E Brookwood Ct
Phoenix, AZ 85048



Joseph Balough
609 Virginia Avenue Extension
Pittsburgh, PA 15215



Joseph Barker
242 5th Ave #2
San Francisco, CA 94118



Joseph Bautista
4973 Seneca Park Loop
Fremont, CA 94538



Joseph Bello
411 N 8TH ST APT 2303
ST LOUIS, MO 63101



Joseph Bogusky
144 S 3rd St, Unit 331
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 811 of
                                        1568
Joseph Burch
2805 E Cathedral Rock Dr
Phoenix, AZ 85048



Joseph Cadwallader
30521 Hennigan St
Roseville, MI 48066



Joseph Cafferata
1613 Harvard ST NW # 211
Washington, DC 20009



Joseph Caglio
500 N Roosevelt Ave. Unit #21
Chandler, AZ 85226



Joseph Castle
353 Heller St
Redwood City, CA 94063



Joseph Chotiros
6910 Hart Ln #104
Austin, TX 78731



Joseph Cuniberti
46864 Covington Dr.
Macomb, MI 48044



Joseph Daugherty
4244 Shenandoah
St. Louis, MO 63110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 812 of
                                        1568
Joseph Dombrowski
11336 Van Gilder Rd
Delevan, NY 14042



Joseph Dupre
544 31st Street
Richmond, CA 94804



Joseph E. Peck & Mary G. Peck_V
308 Comanche Circle
Hutto, TX 78634



Joseph Engel
3264 Saint Ignatius Place
Santa Clara, CA 95051



Joseph Fratantoni
17850 Iroquois Trace
Tinley Park, IL 60477



Joseph Gratz
556 Fell St
San Francisco, CA 94102



Joseph Helvey
19323 Oakland Green Rd.
Leesburg, VA 20175



Joseph Jackson
1254 W Sunrise St
Bisbee, AZ 85603




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 813 of
                                        1568
Joseph Johnnie
26132 Enzos Way
Montgomery, TX 77316



Joseph Kennedy
P.O. Box 2070
Los Altos, CA 94023



Joseph Kielian
120 Claremont Ave.
South San Francisco, CA 94080



Joseph Koon
239 Dorland St.
San Francisco, CA 94114



Joseph Kral
P.O. Box 710
La Honda, CA 94020



Joseph L. Kral and Lisa E. Lee, Trustees
P.O. Box 710
La Honda, CA 94020



Joseph LaTourette
88 Bush St. Unit 4182
San Jose, CA 95126



Joseph Ly
10125 South Blaney Ave. #A
Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 814 of
                                        1568
Joseph M. Cuniberti
950 Village Green Lane,
Apt. #3005 Waterford,, MI 48328



Joseph Mansour
2929 Landover St
Alexandria, VA 22305



Joseph Mardall
677 Valencia St. Apt #1
San Francisco, CA 94110



Joseph McNeely
1200 First St Apt 1329
Alexandria, VA 22314



Joseph Miller
488 Castro Street
San Francisco, CA 94114



Joseph Miller
2354 W. University Dr., Apt. 2146
Mesa, AZ 85201



Joseph Miller
2354 W University DR
Apt 2146
Mesa, AZ 85201



Joseph Mobley
910 Lenora St. #1502
Seattle, WA 98121




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 815 of
                                        1568
Joseph Newcomer
610 Kirtland Street
Pittsburgh, PA 15208



Joseph Ols
PO Box 2266
Los Gatos, CA 95031



Joseph Pachan
P.O. Box 1901
San Ramon, CA 94583



Joseph Phaneuf
210 Murlagan Ave Apt C
Mountain View, CA 94043



Joseph Porcelli
6007 Curtier Drive, Unit B
Alexandria, VA 22310



Joseph Rodriguez
87 Silcreek Dr
San Jose, CA 95116



Joseph Rork
575 Irvin St
Plymouth, MI 48170



Joseph Segura-Conn
706 More Ave
Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 816 of
                                        1568
Joseph Segura-Conn
609 Louise Court
Campbell, CA 95008



Joseph Sprowes
4549 El Cajon Avenue
Fremont, CA 94536



Joseph Tartaglia
15805 Uvas Road, Unit D
Morgan Hill, CA 95037



Joseph Thomas
6947 Flinchbaugh
Kimball, MI 48074



Joseph Tonner
8945 S Oakley Ave
Chicago, NE 68643



Joseph Tovar
966 Martiri Ct
Gilroy, CA 95020



Joseph Unruh
900 Minnesota St. #118
San Francisco, CA 94107



Joseph Villaveces
4348 Broadway Apt. D
Oakland, CA 94611




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 817 of
                                        1568
Joseph Wahlquist
100 Bartlett Peak Drive
Georgetown, TX 78633



Joseph Young
11215 Research BLVD APT 1169
Austin, TX 78759



Joseph Zisa
611 Bounty Drive, Apt. 611-205
Foster City, CA 94404



JosephCarlo Daite
16660 West Sandra Lane
Surprise, AZ 85388



Josephine Oppenheimer
16 Terrace Ave.
Kentfield, CA 94904



Josh Anacker
128 College Avenue
Mountain View, CA 94040



Josh Butts
13509 Will Rogers Ln
Austin, TX 78727



Josh Chang
21534 Conradia Ct
Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 818 of
                                        1568
Josh Clauser
3266 Jasper Park
St. Louis, MO 63139



Josh De La Rosa
977 Howard St
San Francisco, CA 94301



Josh Dorese
620 cypress ln
campbell, CA 95008



Josh Favara
1901 Greenmeadow Court
Arlington, TX 76015



Josh Geating
2507 Bowen Road SE
Washington, DC 20020



Josh Graham
2000 FM 1460, APT 9307
Georgetown, TX 78626



Josh Gunnar
4112 Hyridge Dr
Austin, TX 78759



Josh Hirt
658 Sierra Vista Ave.
Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 819 of
                                        1568
Josh Katz
2914 Martin Luther King jr way apt B
Oakland, CA 94609



Josh Klein
1562 N. Horne Street
Mesa, AZ 85203



Josh Korsower
5814 MacArthur Blvd NW
Washington, DC 20016



Josh Lozano
1210 Glenda Dr Apt B
Round Rock, TX 78681



Josh Meyerson
5621 Delmar Blvd, APT# 603
St. Louis, MO 63112



Josh Morton
1616 W. Germann Rd. #1015
Chandler, AZ 85286



Josh Nauman
2307 Ravine Ct
San Jose, CA 95133



Josh Norwood
642 West Forest Apt 1
Detroit, MI 48201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 820 of
                                        1568
Josh Olsen
103 8th St NE
Washington, DC 20002



Josh Peck
5722 Kingsbury Place
St. Louis, MO 63112



Josh Plaisted
2607 7th Street, Suite G
Berkeley, CA 94710



Josh Postell
1235 Electric
Wyandotte, MI 48192



Josh Stauffer
13201 Legendary Dr Apt 4204
Austin, TX 78727



Josh Tidsbury
206 Chenery Street
San Francisco, CA 94131



Josh Villegas
1824 Keesling Ave
San Jose, CA 95125



Josh VonAllworden
9160 S. Rural Rd
Tempe, AZ 85284




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 821 of
                                        1568
Josh Walker
26058 Carol
Franklin, MI 48025



Josh Wizinsky
6946 Lamphere
Dearborn, MI 48127



Josh Wolf
112 Glenwood Glade
Oakland, CA 94611



Josh Young
5229 Krueger Lane
Austin, TX 78723



Josh_J Smith
1600 Ampitheatre Parkway
Mountain View, CA 94043



Joshua Smith
4310 Westlake Circle
Belleville, MI 48111



Joshua A. Postell
1235 Electric St.
Wyandotte, MI 48192



Joshua Benham
401 Belvedere St.
SAN FRANCISCO, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 822 of
                                        1568
Joshua Berer
625 Elm Ave
Takoma Park, MD 20912



Joshua Brooks
525 Middlefield Rd #981
Redwood City, CA 94063



Joshua Burchard
1635 W. Hudson Dr.
Tucson, AZ 85704



Joshua Carpoff
548 Market Street #84090
SAN FRANCISCO, CA 94104



Joshua Cruz
1665 East 12th St
Brooklyn, NY 11229



Joshua Cruz
1665 East 12th street
Brooklyn, NY 11229



Joshua Cuevas
500 E. University Dr. #1975
Tempe, AZ 85281



Joshua Curry
88 S, 3rd St
San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 823 of
                                        1568
Joshua DeWitt
1107 Carlisle Drive
San Mateo, CA 94402



Joshua Gonzalez
7318 Melrose Blvd.
University City, MO 63130



Joshua Gunnar
4112 Hyridge Dr
Austin, TX 78759



Joshua Haunschild
101 West 5th St., Apt. 3021
Tempe, AZ 85281



Joshua Hayashi
6365 S Amulet
Mesa, AZ 85212



Joshua Helfert
833 Twosome Ct
Ballwin, MO 63011



Joshua Kivijarv
7 Ocean View Avenue
Greenwich, CT 06830



Joshua Kostroun
10205 Chestnut Ridge Road
Austin, TX 78726




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 824 of
                                        1568
Joshua Letner
9301 Concordia Rd
Belleville, IL 62223



Joshua Levine
549 53rd Street
Brooklyn, NY 11201



Joshua Lindsay
30 Martin Lane
Woodside, CA 94062



Joshua Lowe
6561 E Palm St
Mesa, AZ 85215



Joshua Lozano
1210 Glenda Dr Apt B
Round Rock, TX 78681



Joshua MacDonald
3009 26th St.
San Francisco, CA 94110



Joshua Mason Leslie
793 Flatbush Avenue #3
Brooklyn, NY 11226



Joshua McKee
PO Box 789
Los Gatos, CA 95031




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 825 of
                                        1568
Joshua Moore
6901 Lynn Way Suite 310
PITTSBURGH, PA 15208



Joshua Neal
391 Kincora Ct.
San Jose, CA 95136



Joshua Parise
428 Delaware Avenue
Oakmont, PA 15139



Joshua Postell
1235 Electric
Wyandotte, MI 48192



Joshua Reiter
3110 S. Hayes St
Arlington, VA 22202



Joshua Robertson
33255 Lark Way
Fremont, CA 94555



Joshua Rosenberg
5350 Felter Road
San Jose, CA 95132



Joshua Russell
934 Millie Ave.
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 826 of
                                        1568
Joshua Rutherford
17507 Port Hood Dr
Leander, TX 78641



Joshua Schachter
60 E Portola Ave
Los Altos, CA 94022



Joshua Schisser
2040 W. Middlefield Rd.
Mountain View, CA 94043



Joshua Schmidt
3003 Van Ness Street NW, W406
Washington, DC 20008



Joshua Sellers
4100 Ave C #202
Austin, TX 78751



Joshua Thomson
9542 Eagle Hills Way
Gilroy, CA 95020



Joshua Twyman
6631 Wakefield Dr Apt 210
Alexandria, VA 22307



Joshua Veltman
3 Wildwood Lane
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 827 of
                                        1568
Joshua Wendelken
11433 N 66th St
Scottsdale, AZ 85254



Josiah Copley
868 S Arizona Ave Apt 2070
Chandler, AZ 85225



Josiah Copley
868 S Arizona
Apt 2070
Chandler, AZ 85225



Josiah Copley_V
868 S Arizona Ave Apt 2070
Chandler, AZ 85225



Josie McHale
3630 Sneath Ln
San Bruno, CA 94066



Josuha Stevens
1330 nw 12th street
corvallis, OR 97330



Joty Dhaliwal
521 33rd Unit #1
Oakland, CA 94609



Jovani Hernandez
1725 N Date St Unit 39
Mesa, AZ 85201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 828 of
                                        1568
Joy Carter
1030 W Estrella Dr
Chandler, AZ 85224



Joy Craig
127 Andrew's Store Rd
Pittsboro, NC 27312



Joy Jacobs
15770 Robinwood
Northville, MI 48168



Joy Liu
1209 Socorro Ave
Sunnyvale, CA 94089



Joyce Choi
331 N. Bridlegate Dr.
Gilbert, AZ 85234



Joyce DeLaTorre
712 Trailside Bend
Round Rock, TX 78665



Joyce Lin
6 Montague Pl
San Francisco, CA 94133



Joyce Steinfeld
19281 Mountain Way
Los Gatos, CA 95030




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 829 of
                                        1568
JP Abgrall
2464 Crystal Dr
Santa Clara, CA 95051



JPMorgan Chase Bank Attn: Current Office
4601 Six Forks Rd
Raleigh, NC 27609



JPW Industries Inc.
7812 Solution Center
Chicago, IL 60677



JT Vagnino
3528 Pestalozzi Street
St.Louis, MO 63118



Juan Moncada
2769 Agate dr, Apt 2
santa clara, CA 95051



Juan Carlos Santilli
601 Andover st
San Francisco, CA 94110



Juan Garcia_Leyva
2348 N 47th Ave
Phoenix, AZ 85035



Juan Hernandez
1803 Orchard Ave
Glendale, CA 91206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 830 of
                                        1568
JUAN NEGRETE
611 GUERRERO ST
SAN FRANCISCO, CA 94110



Juan Saenz
1410 Mass Ave SE Apt B
Washington, DC 20003



Juan Turcios
629 11th street
Richmond, CA 94801



Juan-Carlos Oliva
28422 N. 51st. St.
Cavecreek, AZ 85331



Juanito Co
630 N. Dixboro Rd.
Ann Arbor, MI 48105



Juanjuan Sun
441 W. Trimble Rd.
San Jose, CA 95131



Jude Sullivan
8400 Taylor Lane
Annandale, VA 22003



Judith Richardson
18692 Devon Ave
Saratoga, CA 95070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 831 of
                                        1568
Judith Speck
924 Deely St
Pittsburgh, PA 15217



Judy Sanborn
24301 Rockford
Dearborn, MI 48124



Judy & Sergio Feria/Li-Hua Peng
1688 Tacoma Ave
Berkeley, CA 94707



Judy Feria
1688 Tacoma Ave
Berkeley, CA 94707



Judy Palmer
441 Carolina Lane
Palo Alto, CA 94306



Judy Schulz
1701 Buttercup Road
Pflugerville, TX 78660



Juhee Chung
30-92 29th Street, 4K
Astoria, NY 11102



Julea Dunn
2418 Stuart St
Berkeley, CA 94705




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 832 of
                                        1568
Jules Houts
71 Nueva Ave.
Redwood City, CA 94061



Julia Piehler
455 W Evelyn #1128
Mountain View, CA 94041



Julia Gatliff
18328 Masi Loop
Pflugerville, TX 78660



Julia Gorina
3225 Upper Lock Ave.
Belmont, CA 94002



Julia Graves
2130 VanTine
Pittsburgh, PA 15221



julia gray
2711 South Compton
St. Louis, MO 63118



Julia Hall
1528 Constanso Way
San Jose, CA 95129



Julia Hunt
4008 Claitor Way
San Jose, CA 95132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 833 of
                                        1568
Julia Menshenina
1718 HIllman Ave,
Belmont, CA 94002



Julia Piehler
455 W Evelyn #1128
Mountain View, CA 94041



Julia Roessner
4110 Bunny Run #8
Austin, TX 78746



Julia Zaks
255 Kang Street, Apt. 523
San Francisco, CA 94107



Julian Carpenter
507 E. Kingsley St.
Ann Arbor, MI 48104



Julian Coto
385 River Oaks Parkway Apt 2032
San Jose, CA 95134



Julian David Christian Richardson
871 Robb Rd
Palo Alto, CA 94306



Julian Hricik
3460 Beechwood Blvd.
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 834 of
                                        1568
Julian quayle
555 key blvd
richmond, CA 94805



Julian Richardson
871 Robb Rd
Palo Alto, CA 94306



Julian Sandoval
714 Filbert Street Apt 1
Pittsburgh, PA 15232



Julian Schwartz
2523 Ridge Rd. #320
Berkeley, CA 95709



Julian Silva
18812 E. Via De Arboles
Queen Creek, AZ 85142



Julian Symonds
154 Sunol Street
San Jose, CA 95126



Julie Campbell
451 Kansas St #426
SanFrancisco, CA 94107



Julie Hundt
2600 Crystal Drive
Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 835 of
                                        1568
Julie Basu
3583 Madison Common
Fremont, CA 94538



Julie Baxter
3912 Ruby St.
Oakland, CA 94609



Julie Busch
2795 Horse-n-Round Lane
Penryn, CA 95663



Julie Chin
87 Dolores Street Apt. 501
San Francisco, CA 94103



Julie Diaz-Asper
3432 Lowell Street, NW
Washington, DC 20016



Julie Hall
1528 Constanso Way
San Jose, CA 95129



Julie Hayes
1050 Ringwood Ave.
Menlo Park, CA 94025



Julie Mok
1608 Rivera Street
San Francisco, CA 94116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 836 of
                                        1568
Julie Nabhan
704 Valley Way
Santa Clara, CA 95051



Julie Neubauer
2229 Lombard Street
San Francisco, CA 94147



Julie Newdoll
36 Coronado Avenue
San Carlos, CA 94070



Julie OBrien
6921 Gabion Dr
Austin, TX 78749



Julie Petrie
1114 Camino La Costa #2041
Austin, TX 78752



Julie Pompizzi
116 Brookston Drive
Cranberry Twnsp, PA 16066



Julie Velky
3571 Far West Blvd #134
Austin, TX 78731



Julie Vuong
15415 S. 45th St.
Phoenix, AZ 85044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 837 of
                                        1568
Julie West
921A Alvarado Street
San Francisco, CA 94114



Julie Willey
5230 Twin Falls Road
Morgan Hill, CA 95037



Julieanne Sparrow
11512 Clematis Blvd
Pittsburgh, PA 15235



Julien Lallemand
67 Mirabel Ave.
San Francisco, CA 94110



Juliet McCurry
20093 Bernard St
Taylor, MI 48180



julieta guillermet
2300 18th NW #304
DC, DC 20009



Juliette CUNY
1245 CLAYTON ST.
SAN FRANCISCO, CA 94114



Juliette Faraco
3130 Alpine Road #288-481
Portola Valley, CA 94028




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 838 of
                                        1568
Julio Hernandez
22750 Hwy 321
Cleveland, TX 77327



Julio Martinez
88 S 3rd St #104
San Jose, CA 95113



Julio Vargas
18941 Quiet Oak Ln
Germantown, MD 20874



Julius Ball-Heldman
2805 31 St NW
Washington, DC 20008



Julius Ball-Heldman
2805 31st Street NW
Washington, CA 90008



Julius Beberman
697 Douglass St.
San Francisco, CA 94114



Julius Marchwicki
1247 Woodward Ave #1010
Detroit, MI 48226



Jumbo Duclayan
1060 S. 3rd St #1350
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 839 of
                                        1568
June Campbell
5511 Begonia Dr.
San Jose, CA 95124



June Grant
4228 martin luther king jr way
oakland, CA 94609



June Hayes
5227 Catharine St
Floor 2
Philadelphia, PA 19143



June Hayes
5414 First Place NW
Washington, DC 20011



June Hayes
5414 1st Place NW
Unit 402
Washington, DC 20011



Jung Na
1428 E Iris Dt
Chandler, AZ 85286



Junnosuke kurihara
1312 gingerwood dr
milpitas, CA 95035



Juraj Mihalik
16 Linda St Apt 3
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 840 of
                                        1568
Justice Kimbo
1624 Forbes Avenue
Pittsburgh, PA 15219



Justin Gauvin
235 East Main St
Northville, MI 48167



Justin Mendenhall
3418 Harding St
Deaborn, MI 48124



Justin Bray
760 Union St Apt C
San Francisco, CA 94133



Justin Bronder
633 Villa Centre Way
San Jose, CA 95128



Justin Care
41277 N Cambria Dr
Santan Valley, AZ 85140



Justin Carlson
5911 Hobart St.
Pittsburgh, PA 15217



Justin Cesarin
150 Cleaveland Road, Apt. 97
Pleasant Hill, CA 94523




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 841 of
                                        1568
Justin Church
1154 18th Ave. E
Seattle, WA 98112



Justin Coughlin
37934 Greenwich
Clinton TWP, MI 48036



Justin Counts
449 N Eton apt 506
Birmingham, MI 48009



Justin Covington
2170 N. Ithica St.
Chandler, AZ 85225



Justin Fritz
2149 Castro St
San Francisco, CA 94131



Justin Fritz
804 E Wood Dr
Chandler, AZ 85249



Justin George
110 North Pacific Ave.
Pittsburgh, PA 15224



Justin George
916 Deely Street
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 842 of
                                        1568
Justin Goyer
524 E Coconino Dr
Chandler, AZ 85249



Justin Graham
304 Atherton St
Saginaw, MI 48603



Justin Harvilla
713 7th Street
Mather, PA 15346



justin jones
945 Capp St #1
San Francisco, CA 94110



Justin Kim
8054 Russell Dr.
Westland, MI 48185



Justin Kruger
548 Brannan Street #409
San Francisco, CA 94107



Justin Krull
151 Calderon Ave. #175
Mountain View, CA 94041



Justin Leathers
721 Menlo Ave. Apt B
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 843 of
                                        1568
Justin Leathers
721 Menlo Ave.
Apt. B
Menlo Park, CA 94025



Justin Manzo
7233 Deborah Drive
Falls Church, VA 22046



Justin Marini
216 RIDC Park West Drive
Pittsburgh, PA 15275



Justin Masone
311 7th St NE #203
Washington DC, DC 20002



Justin McCollin
38 N Almaden Blvd
San Jose, CA 95110



Justin Mcfarland
1387 E 32nd Street
Oakland, CA 94602



Justin Meisse
2410 Spring Wagon Ln
Austin, TX 78728



Justin Melendez
1053-2 South Vandeventer Ave
Saint Louis, MO 63110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 844 of
                                        1568
Justin Mesina
535 S. Market St Apt. 310
San Jose, CA 95113



Justin Metcalf
515 Congress Ave, Ste 1515
Austin, TX 78701



Justin Moen
1960 McAllister St
San Francisco, CA 94115



Justin Muller
130 BARONI AVE #37
SAN JOSE, CA 95136



Justin Quimbly
2121 Peralta St. #102
Oakland, CA 94607



Justin Raines
616 23rd St South Apt. B
Arlington, VA 22202



Justin Salinel
3668 E. Constitution Dr.
Gilbert, AZ 85296



Justin Seganti
1655 E University
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 845 of
                                        1568
Justin Shum
1727 Bay St SE
Washington, DC 20003



Justin Smith
1506 East 19th Street
GEORGETOWN, TX 78626



Justin Strait
3415 Elmwood Dr
Alexandria, VA 22303



Justin Suryanata
6092 W Dublin
Chandler, AZ 85226



Justin Trumbull
1470 9th Avenue, Apt. 3
San Francisco, CA 94122



Justin Vincent
564 Annie Laurie St Unit 1
Mountain View, CA 94043



Justin Wilson
2822 S. Pasero Loma
Mesa, AZ 85202



Justin Works
1332 Mills Ave
Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 846 of
                                        1568
Justin Wright
1401 Columbia Rd NW Apt 316
Washington, DC 20009



Justin Young
50 Flint St #2
San Francisco, CA 94114



Justine Tang
3109 E Battala Crt
Gilbert, AZ 85297



Juuls Aleman Salas
1401 S. Interstate 35
Austin, TX 78741



Jyoti Jain
45990 Tissiack Pl
Fremont, CA 94539



K.Griffith Moore
4340 McRee Ave, Apt 2E
St.Louis, MO 63110



Kacey Fitzpatrick
151 Mountain View Ave
Los Altos, CA 94024



Kacie Shintani
977 E. Apache Blvd. 4013 B
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 847 of
                                        1568
Kade Flegel
5546 AMBY DR
SAN JOSE, CA 95124



Kael Fitzpatrick
151 Mountain View Ave.
Los Altos, CA 94024



Kai Marx
3626 Dumbarton St.
Concord, CA 94519



Kai ozawa
180 W. Wisteria Pl
Chandler, AZ 85248



Kai Triantos
351 La Questa Way
Woodside, CA 94062



Kailee Sanderson
726 Ruth Dr.
Pleasent Hill, CA 94523



Kailey Allan
25616 Moody Road
Los Altos, CA 94022



Kailyn Vanlandingham
25028 Cary St
Taylor, MI 48180




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 848 of
                                        1568
Kaiser Foundation Health Plan
File 5915
Los Angeles, CA 90074



Kaitlind Gittings
45979 Omega Dr
Fremont, CA 94587



Kalia Crowder
169 Charles Ave.
Sunnyvale, CA 94086



Kalina Kheirolomoom
207 Vicksburg St
San Francisco, CA 94114



Kamaljit Bains
1768 Page Street Apt #2
San Francisco, CA 94117



Kameron Gentry
12330 Little Emily Way
Austin, TX 78753



Kameron Chan
1760 Cesar Chavez St Suite D
San Francisco, CA 94124



Kami Wilt
2013 Holly
austin, TX 78702




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 849 of
                                        1568
Kanav Mahotra
723 Shoreview Dr
Canton, MI 48188



Kar Rosen
Holbrook, NY 11741




Kar Rosen
124 Bradford Ave
Holbrook, NY 11741



Kara Bressie
504 Fell St.
San Francisco, CA 94102



Kara Selberis
347 Sunbury Rd.
Slippery Rock, PA 16057



Karan Ramchandani
400 Clementina St #423
San Francisco, CA 94103



Karan Rao
314 N. Neville Apt. #7
Pittsburgh, PA 15289



Kareem Carter
1329 Pierce St #7
San Francisco, CA 94115




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 850 of
                                        1568
Kareemullah Shaik
5523 Santa Cruz Ave
Richmond, CA 94804



Karel Youssefi
2173 Hillstone Drive
San Jose, CA 95138



Karen Johnson
3344 Runnymead Pl NWP
Washington, DC 20015



Karen Althe
1000 Madison Street
Port Townsend, WA 98068



Karen Au
1165 White Pine Court
San Jose, CA 95125



Karen Carley
44861 Weymouth Dr.
Canton, MI 48188



Karen Conroy
1105 Lorne Way
Sunnyvale, CA 94087



Karen Davis
275 S 20th St
San Jose, CA 95116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 851 of
                                        1568
Karen DeGuire
4268 Shenandoah Ave
Saint Louis, MO 63110



Karen Guerrero
721 E Madero Cir
Mesa, AZ 85210



Karen Hill
9010 E. Harborage Dr
Tucson, AZ 85710



Karen Huie
885 San Carlos Ct.
Fremont, CA 94539



Karen Inman
5300 Columbia Pike #710
Arlington, VA 22204



Karen Jarratt
3414 Elliott St.
Baltimore, MD 21224



Karen Kocher
45 Vine ST.
Pittsburgh, PA 15223



Karen Liggett
15234 S. 40th Place
Phoenix, AZ 85044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 852 of
                                        1568
karen metzger
4030 west rincon ave
campbell, CA 95008



Karen Mott
3301 Windy Harbor Dr
Austin, TX 78734



Karen Pigott
2026 E. Tecoma Rd
Phoenix, AZ 85048



Karen Powell
31570 Page Mill Road
Los Altos Hills, CA 94022



Karen Reed
4466 Grindley PArk St
Dearborn Heights, MI 48125



Karen Robinson
230 Palmita Place
Mountain View, CA 94041



Karen Smid
5003 Placid Pl
Austin, TX 78731



Karen Snipes
4324 Graham newton Rd
Raleigh, NC 27606




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 853 of
                                        1568
Karen Swartz
1053-2 South Vandeventer Ave
saint louis, MO 63110



Karen Tierney
7111 E Pasadena Ave
Scottsdale, AZ 85253



Karen Walton
1151 Nimitz Lane
Foster City, CA 94404



Kari Gerrits
371 Elan Village Ln #310
San Jose, CA 95134



Kari Gerrits
371 Elan Village Lane #310
San Jose, CA 95134



Kari Ryder Wilkie
302 N St SW
Washington, DC 20024



Kari Wehrs
801 E. McKellips Road, Apt 28D
Tempe, AZ 85281



Karim Nice
2812 Silver Stirrup Ln
Apex, NC 27502




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 854 of
                                        1568
Karin Barend
500 Race St., APT 5113
SAN JOSE, CA 95126



Karina Santillan
4323 N. 53rd Lane, Apt. 2034
Box 5131 Cereus Hall
Phoenix, AZ 85031



Karissa Huang
776 Sequoia Dr
Sunnyvale, CA 94086



Karl Bradley Saclolo
1002 Victories Loop
San Jose
San Jose, CA 95116



Karl Clark
44940 Lindsey
Belleville, MI 48111



Karl Eason
808 Estes Park
Taylor, TX 76574



Karl Feldman
2511 Q street NW
Washington, DC 20007



Karl Kistler
66 Spring St
Marion, MA 02738




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 855 of
                                        1568
Karl Murphy
145 E Estero
Litchfield Park, AZ 85340



Karl Nelson
5846 15th RD N
Arlington, VA 22205



Karl Paetzel
2914 Stonecreek Drive
Round Rock, TX 78681



Karl Pedersen
506 Sang Saloon
Cedar Park, TX 78613



Karl Petrosky
349 Landfaire Ave.
San Mateo, CA 94403



Karl Saclolo
1002 Victories Loop
San Jose, CA 95116



Karl Schulz
1701 Buttercup Road
Pflugerville, TX 78660



Karl Smith
456 el Dorado
Daly City, CA 94015




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 856 of
                                        1568
Karl Sorensen
1070 green street apt 1003
SAN FRANCISCO, CA 94133



Karl Stahl
904 Fremont Pl #2
Menlo Park, CA 94025



Karl W. Schulz
1701 Buttercup Road
Pflugerville, TX 78660



Karla Burns
165 Monroe Dr.
Campbell, CA 95008



Karrie Quong
1340 Garthwick Drive
Los Altos, CA 94024



Karriem Muhammad
4708 Pear Ave
East St. Louis, IL 62207



Karthik Krishnamurthy
27 Bradford Ct
Dearborn, MI 48126



Karthik Subramanian Sankaran
1255 East University Dr., #1075
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 857 of
                                        1568
Karthik Vijayraghavan
1965 Grosvenor Drive
San Jose, CA 95132



Kartik Lamba
730 Norvell St
El Cerrito, CA 94530



Kasey Gibbs
P. O. 220157
Saint Loiuis, MO 63122



Kasey Gibbs
2340 Delaware Drive
Saint Charles, MO 63303



Kasey Gibbs_V
P.O. Box 220157
Saint Louis, MO 63122



Kasha Williams
930 Parker Court apt 1
Santa Clara, CA 95050



Kasitalea Talakai
24607 Amador St.
Hayward, CA 94544



Kaspar Sakmann
2721 Midtown Ct
Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 858 of
                                        1568
Kassie Kussman
353 Clark Ave
Webster Groves, MO 63116



Kat Burdine
5524 Cass Ave
Detroit, MI 48202



Kat Jurick
1067 Washington St #10
San Francisco, CA 94108



Kat Montgomery
6880 Shiloh Rd
Midlothian, TX 76065



Kate Anderson
10 kirkland ct
oakland, CA 94605



Kate Burrus
3333 Iowa Avenue
St. Louis, MO 63118



Kate Ford
1640 W Desert Broom Dr
Chandler, AZ 85248



Kate Gage
1430 T Street, NW
Washington, DC 20009




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 859 of
                                        1568
Kate Kealy
39 E Woodward Dr
Phoenix, AZ 85004



Kate Laue
222 Valencia St #7
San Francisco, CA 94103



Kate Orr
2765 Harrison
Trenton, MI 48183



Kate Sofis
2617 19th St
San Francisco, CA 94110



Katelyn Eustace
205 Hanna Way
Menlo Park, CA 94025



Katelyn Wolfenberger
2379 Leslie Circle
Ann Arbor, MI 48105



KATERINA JUSZCZAK
402 N. Birmingham Avenue
Avalon, PA 15202



Katha Gazda
2199 Radio Ave.
San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 860 of
                                        1568
Katha S. Gazda
2199 Radio Ave.
San Jose, CA 95125



Katharina Lenz
1612 Mary Drive
Pleasant Hill, CA 94523



Katharine Ku
846 Lathrop Drive
STanford, CA 94305



Katharine Petrashune
203 Lehigh Avenue Apt. 2
Shadyside, PA 15232



Katherine Shield
734 Cragmont Ave
Berkeley, CA 94708



Katherine Allen
2040 Santa Clara Ave, Apt P
Alameda, CA 94501



Katherine Dykes
575 Diamond St.
San Francisco, CA 94114



Katherine Frattini
3835 9th St. N 302W
Arlington, VA 22203




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 861 of
                                        1568
Katherine Fulwood
138 G Street SW
Washington, DC 20024



Katherine GloriosoDress
566 23rd St. S
Arlington, VA 22202



Katherine Kam
2116 Robert Browning Street
Austin, TX 78723



Katherine Khor
250 King Street, Apt 1416
San Francisco, CA 94107



Katherine Leon
1506 Kooser Rd
San Jose, CA 95118



Katherine Mackenzie
1808 Dwight Way
Berkeley, CA 94703



Katherine Paur
117 GREENWOOD AVE
SAN RAFAEL, CA 94901-3624



Katherine Plunkard
2946 Higgins
austin, TX 78722




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 862 of
                                        1568
Katherine Randall
21701 Audette
Dearborn, MI 48124



Katherine Scott
1203 Tewkesbury Place, NW
Washington, DC 20012



Katherine Scott
805 Florida St #1
San Francisco, CA 94110



Katherine Spencer
1742 Naglee Avenue
San Jose, CA 95126



Katherine Vonderhaar
1600 South Joyce St, Apt 424
Arlington, VA 22202



Kathleen Berg
5145 Harvest Est
San Jose, CA 95135



Kathleen Cederlof
1637 Notre Dame Ave
Belmont, CA 94002



Kathleen Digby
6821 Fyler Ave
Saint Louis, MO 63139




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 863 of
                                        1568
Kathleen Durkin
101 Commodore Dr
Richmond, CA 94804



Kathleen Flood
9101 Rockville Pike
Bethesda, MD 20814



Kathleen Grimley
2111 Yale Drive
Alexandria, VA 22307



Kathleen Isaac
2028 Fulton Rd
Santa Rosa, CA 95403



Kathleen Jamieson_V
1615 N. Quincy Street
Arlington, VA 22207



Kathleen Kramer
3403 E Main #3239
Mesa, AZ 85213



Kathleen Luce
1725 Celeste Drive
San Mateo, CA 94402



Kathleen Mandis
19395 Montevina Road
Los Gatos, CA 95033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 864 of
                                        1568
Kathleen McCabe
2422 Caron Lane
Falls Church, VA 22043



Kathleen Orr
2765 Harrison Avenue
Trenton, MI 48183



Kathleen Wilfong
2727 Victoria Manor
San Carlos, CA 94070



Kathrine H Chang
18762 E Cavendish Drive
Castro Valley, CA 94552



Kathryn Gallagher
25 Capistrano Ave
San Francisco, CA 94112



Kathryn Niemela
1903 Rampart dr
Alexandria, VA 22301



Kathryn Bush
291 Justin Drive
San Francisco, CA 94112



Kathryn Gallagher
25 Capistrano Ave.
San Francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 865 of
                                        1568
Kathryn Hedges
158 E Saint John St #516
San Jose, CA 95112



Kathryn Keister
1307 Ellison St.
Falls Church, VA 22046



Kathryn Kelly
234 Emerson St.
Pittsburgh, PA 15206



Kathryn Olsen
3445 Cade Drive
Fremont, CA 94536



Kathryn Osborn
2053 Skyline Dr.
Milpitas, CA 95035



Kathryn Tullis
4320 California Street, #5
San Francisco, CA 94118



Kathy Adasiewicz
360-A Alta Vista Drive
South San Francisco, CA 94080



Kathy Conte
349 Orchard Ave.
Redwood City, CA 94061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 866 of
                                        1568
Kathy Fulton
10431 Lansdale Ave
Cupertino, CA 95014



Kathy Lin
226 Caselli Ave.
San Francisco, CA 94114



Katie Bordenave
110 Van Tassel Ct
San Anselmo, CA 94960



Katie Breton
4917 43rd Place, NW
Washington, DC 20016



Katie Christman
1340 Byron Street
Palo Alto, CA 94301



Katie Freiberg
675 Tashman Drive #2416
Sunnyvale, CA 94089



Katie Helldorfer
406 N Pitt St
Alexandria, VA 22204



Katie Noonan
2605 Louisiana Avenue
St. Louis, MO 63118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 867 of
                                        1568
Katie Owen
1701 Springlake Drive
Dripping Springs, TX 78620



Katie Taylor
6386 Sussex Ct
Dublin, CA 94568



Katrin Gosling
101 Phillips Lane
Woodside, CA 94062



Katrina Fralick
1422 11th Ave
San Francisco, CA 94122



Katrina Decker
916 Anza St.
San Francisco, CA 94118



Katrina Merritt
1500 E. Broadway Rd. #2099
Tempe, AZ 85281



Katsu Stibich
230 Donahue St
Sausalito, CA 94965



Katsunori Mizuno
2216 Sun Mov Ave
Mountain View, CA 94040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 868 of
                                        1568
Katy Dickinson
406 Belmont
San Jose, CA 95125



Katy Downey
388 Sonia Way
Mountain View, CA 94040



Katy Giesken
102 Timber Hollow Ct #211
Chapel Hill, NC 27514



Katy Hearey
170 Roosevelt Way
San Francisco, CA 94114



Katy Petrashune
203 Lehigh Avenue, Apt 2
Pittsburgh, PA 15232



Katz Mizuno
1240 E. Arques
Sunnyvale, CA 94085



Katzo Jamieson
1615 N. Quincy St
Alexandria, VA 22207



Kauna Lei
773 Bryn Mawr Court.
Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 869 of
                                        1568
Kaushik Valluri
7201 Rain Creek Parkway
Austin, TX 78759



Kavi Bidlack
1259 El Camino Real, #403
Menlo Park, CA 94025



Kavita Mistry
1696 Gretel Lane
Mountain View, CA 94040-3707



Kay Freund
216 La Mesa Ln
Georgetown, TX 78628



Kay Whaley
360 South Market St Unit 2104
San Jose, CA 95113



Kaydee Boone
33 S. 3rd Street #311
San Jose, CA 95113



Kayte Rose
614 Mellon St. Apt. 1
Pittsburgh, PA 15206



Keavon Chambers
25690 Adams Road
Los Gatos, CA 95033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 870 of
                                        1568
Keefe Butler
PO Box 220154
Brooklyn, NY 11205



Keegan Darbonne
681 37th Ave. Suite A
Santa Cruz, CA 95062



Keegan McDermott
528 1st Street SE
Washington, DC 20003



Keenan Chicovsky
1412 willard street
San Francisco, CA 94117



Keenan Chicovsky
2945 Harrison
San Francisco, CA 94110



Keene Owen
1701 Springlake Drive
Dripping Springs, TX 78620



Kegan Scannell
714 Lexington
Royal Oak, MI 48073



Keiichiro Ichiryu
95 Salice Way
Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 871 of
                                        1568
Keita Kasahara
9635 Heinrich Hertz Dr.
San Diego, CA 92154



Keith Hartupee
7728 Meadow View Cr.
Union, MO 63084



Keith Amidon
88 Higgins Ave.
Los Altos, CA 94022



Keith Baldwin
PO Box 101956
Arlington, VA 22210



Keith Beals
1581 Applewood
Lincoln Park, MI 48146



Keith Blackey
3553 Jefferson Ave
Redwood City, CA 94062



Keith Blackey
3553 Jefferson Ave.
Redwood City, CA 94062



Keith Blackey_V
3553 Jefferson Ave
Redwood City, CA




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 872 of
                                        1568
Keith Burton
25833 S. Val Vista
Gilbert, AZ 85298



Keith Erhart Rasmussen, Terrie Rasmussen
1018 Water St. Unit 2A
Port Townsend, WA 98363



Keith Gagne
849 E Charleston St
Palo Alto, CA 94303



Keith Henry
6728 Clifford Drive
Cupertino, CA 95014



Keith Kritselis
10613 pinehurst dr
Austin, TX 78747



Keith Kritselis
10613 Pinehurst Dr.
Austin, TX 78747



Keith Kritselis_V
10613 Pinehurst Dr.
Austin, TX 78747



Keith Miazgowicz
1612 N. Lafayette
Dearborn, MI 48128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 873 of
                                        1568
Keith Plagens
49665 s. glacier
Northville, MI 48168



Keith Rasmussen
1018 Water St. Unit 2A
Port Townsend, WA 98363



Keith Rothman
29 Church St Apt 4
Mountain View, CA 94041



Keith Ryon
26 Sunny View Dr
St. Peters, MO 63376



Keith Stattenfield
1395 Gazdar Ct
Santa Clara, CA 95051



Keith Teleki
245 College St.
Mountain View, CA 94040



Keith Whitehouse
22781 Doncaster
Brownstown, MI 48193



Keith Wiley
1247 Moonsail Ln
Foster City, CA 94404




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 874 of
                                        1568
Keith Woeltje
665 Dougherty Terrace Dr.
Manchester, MO 63021



Keith Wojcik
5024 R 1/2 Rear #2
Galveston, TX 77551



Kel Helmick
250 E. Chicago St.
Chandler, AZ 85225



Kelcea Lesinski
1600 Locust Street #703
Saint Louis, MO 63106



Keli Alark
22711 Law St.
Dearborn, MI 48124



Keller Latka
850 W Buno Rd
Milford, MI 48381



Kelli Blucher
149 Jackson Ave. #107
Redwood City, CA 94061



Kelli Burns
4920 Magnolia Ave
St. Louis, MO 63139




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 875 of
                                        1568
Kelly Alexander
7602B Hardy Dr
Austin, TX 78757



Kelly Boyer
10825 Show Pony Place
Damascus, MD 20872



Kelly Boyer
1011 West Marshall St
Richmond, VA 23220



Kelly Brady
598 Westridge Drive
San Jose, CA 95117



Kelly Cheng
1 Bayside Village Pl., Apt 413
San Francisco, CA 94107



Kelly Cox
204 Gentry Ave
Alexandria, VA 22305



Kelly Eastman
6000 Fulton street
San Francisco, CA 94121



Kelly Gallamore
3359 cesar chavez
san francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 876 of
                                        1568
Kelly Householder
3290 S Colt Dr
Gilbert, AZ 85297



Kelly Joyner
1559 S Wolfe Rd
Sunnyvale, CA 94087



Kelly King
1223 El Camino Real, #2
Burlingame, CA 94010



Kelly Levy
1 Lakeside Drive, #811
Oakland, CA 94612



Kelly Orgeron
12001 Dessau Rd Apt 1825
Austin, TX 78754



Kelly Pike
2077 Touraine Lane
Half Moon Bay, CA 94019-1444



Kelly Ryan
982 E. Divot Dr.
Tempe, AZ 85283



Kelly Teal
2066 E. Ellis Drive
Tempe, AZ 85282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 877 of
                                        1568
Kelly Tinker
133 Cliffside Drive Apt.C
Monroeville, PA 15146



Kelly Yamanishi
6072 Castello Drive
San Jose, CA 95120



Kelsea Helmick
1 Mountain Rd.
Scott Depot, WV 25560



Kelsey Jirrels
1300 West Brooks Street
Chandler, AZ 85224



Kelsey Moffitt
6030 22nd st n
arlington, VA 22205



Kelsey Risi
2189 Hogan Dr
Santa Clara, CA 95050



Ken McGuire
2506 WHITE MOON DRIVE
HARKER HEIGHTS, TX 76548



Ken Anderson
21111 Rainbow Dr
Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 878 of
                                        1568
Ken Baker
1034 Pine St. #3
Menlo Park, CA 94025



Ken Balderrama
1616 Highland Way
Brentwood, CA 94513



Ken Brady
598 Westridge Drive
San Jose, CA 95117



Ken Bruce
4539 E. Longhorn st
San Tan Valley, AZ 85140



Ken Callegari
333 26th Ave.
San Mateo, CA 94403



Ken Caluwaerts
139 Stillman st. Apt. 4
San Francisco, CA 94107



Ken Chambers
25690 Adams Rd
Los Gatos, CA 95033-8177



Ken Chaney
13436 Pastel Lane
Mountian View, CA 94040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 879 of
                                        1568
Ken Dunlap
6454 Living Place #530
Pittsburgh, PA 15206



Ken Dwiggins
1030 Guinda St.
Palo Alto, CA 94301



Ken Hatch
838 Hyde Street Apartment #5
San Francisco, CA 91409



Ken Hay
1 Mandalay Place 1006
South San Francisco, CA 94080



Ken Jackson
22165 Park
dearborn, MI 48124



Ken Joye
3793 Park Blvd
Palo Alto, CA 94306



Ken Koblas
729 Anderson Ave
Los Altos, CA 94024



Ken Milnes
35815 Hibiscus Ct
Fremont, CA 94536




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 880 of
                                        1568
Ken Moore
1724 Zenato Pl
Pleasanton, CA 94566



Ken Namimatsu
2219 Maykirk Kd
San Jose, CA 95129



Ken Nelson
3518 Waverley St
palo Alto, CA 94306



Ken Randles
1863 Lakeview St
Trenton, MI 48183



Ken Smith
1123 Thorntree Ct
San Jose, CA 95120



Ken Tokunaga
39250 Marbella Terraza
Fremont, CA 94538



Ken Wolff
2199 GORDON AVE
MENLO PARK, CA 94025



Ken Woo
133 Foote
San Francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 881 of
                                        1568
Ken Zheng
6314 Northwood Ave Apt. W
Saint Louis, MO 63105



Kenan Wollborg
336 Biltmore St
Inkster, MI 48141



Kendrick Coburn_V
C/o TechShop
926 Howard Street,
San Francisco, CA



Kenishe Bradley
309 Rayos Del Sol
San Jose, CA 95116



Kenji Music
355 Roosevelt Way
San Francisco, CA 94114



Kennedy Childers
2436 Rick Whinery
Austin, TX 78728



Kenneth Kinosian
1941 California St. #16
Mountain View, CA 94040



Kenneth Mai
607 Pitcairn Pl.
Pittsburgh, PA 15232




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 882 of
                                        1568
Kenneth Nip
808 Seal Pointe Drive
Redwood City, CA 94065



Kenneth A Milnes and Janice E Milnes
35815 Hibiscus Ct
Fremont, CA 94536



Kenneth Brownlee
3617 Louis Rd
Palo Alto, CA 94303



Kenneth Cline
7201 Ranch Road 2222 Apt 3315
Austin, TX 78730



Kenneth Davis
3201 Landover St. Apt 416
Alexandria, VA 22305



Kenneth Dominguez
51 Golden EYe Ln
Port Monmouth, NJ 07758



Kenneth G Moore
1724 Zenato Pl
Pleasanton, CA 94566



Kenneth Hawthorn
650 Castro St
Mountain View, CA 94041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 883 of
                                        1568
Kenneth Johns
9 Old Mine Ct
Wimberley, TX 78676



Kenneth Keast
976 Sakura Drive
San Jose, CA 95112



Kenneth L Schultz
1374 W Remington Dr.
Chandler, AZ 85286



Kenneth Nagaishi
647 Orizaba ave
San Francisco, CA 94132



Kenneth Pifher
10038 Michael
Taylor, MI 48180



Kenneth Pursley
2727 Exposition Blvd #119
Austin, TX 78703



Kenneth Quinn
30438 Colehaven Ct.
Westly Chapel, FL 33543



Kenneth Schultz
1374 W Remington Dr.
Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 884 of
                                        1568
Kenneth Scott
1040 S 12th St
San Jose, CA 95112



Kenneth Scott
7006 S UTE TRL
Austin, TX 78729



Kenneth Volkmann
1 Locust Street
San Francsico, CA 94118



Kenneth Webb
232 Athol Avenue
Oakland, CA 94606



Kenneth Weipert
453 E Bridgeport Pkwy
Gilbert, AZ 85295



Kenneth Wong
1280 15th Ave #309
San Francisco, CA 94122



Kenny Chen
907 Brighton Rd. Apt. 3
Pittsburgh, PA 15233



Kenrick Fernandes
4920 Centre Ave
Pittsburgh, PA 15213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 885 of
                                        1568
Kent Diehl
664 College Ave
Palo Alto, CA 94306



Kent Herrick
9693 Woodbend Dr.
Saline, MI 48176



Kent Manske
33 Dexter Ave
Redwood City, CA 94063



Kent Mason
3594 Payne Ave. Apt 5
San Jose, CA 95117



Kent McKernan
236 Watson Drive #2
Campbell, CA 95008



Kent Piesbergen
1903 Rampart Drive
Alexandria, VA 22308



Kenton Hoover
774 ALCATRAZ AVENUE
OAKLAND, CA 94609



Kenton Johnston
10939 Harpers Square Ct.
Reston, VA 20191




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 886 of
                                        1568
Kenya Wortherly
PO Box 15706
Arlington, VA 22215



Kenyi Donoso
819 College Ave
Palo Alto, CA 94306



Keon Honaryar
14 Beaconsfield Court
Orinda, CA 94563



Keri Morgret
8160 Olympic Court
Newark, CA 94560



Kermit Zarley
16600 N. Thompson Peak Pky., #2081
Scottsdale, AZ 85260



Kerri DeWaters
PO Box 206
Pinetop, AZ 85935



Kerry Terry
3296 Farthing Way
San Jose, CA 95132



Kevan Lawrence
10031 E June Circle
Mesa, AZ 85207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 887 of
                                        1568
Kevan Martone
316a 28th ave
San Mateo, CA 94403



Kevan Pimentel
1409 Enfield #8
Austin, TX 78703



Kevin Fah
1450 E. Folley Pl.
Chandler, AZ 85225



Kevin Hsu
1228 Cordelin Ave
San Jose, CA 95129



Kevin McRae
1148 Krista Lane
Rochester, MI 48307



Kevin and Connie Murphy
4050 Yellowstone Dr.
San Jose, CA 95130



Kevin Armstrong
75 S 14th St.
San Jose, CA 95112



Kevin Ball
PO Box 3482
Redwood City, CA 94064




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 888 of
                                        1568
Kevin Belleville
1708 Via Flores Ct
San Jose, CA 95132



Kevin Bingham
427 w Greendale
Detroit, MI 48203



Kevin Blasko
191 Easy St, Unit B
Mountain View, CA 94043



Kevin Burns
1413 n Eucalid Ave
Pittsburgh, PA 15206



Kevin Busque
610 Edinburgh Street
San Mateo, CA 94402



Kevin Butler
3260 E. Forge Ave.
Mesa, AZ 85204



Kevin Charles
4177 Barrymore Dr
San Jose, CA 95117



Kevin Collins
868 S. Arizona Ave.
Chandler, AZ 85225




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 889 of
                                        1568
Kevin Flahavan
6 Honeysuckle Lane
San Carlos, CA 94070



Kevin Glatzel
17905 Mozelle Court
Los Gatos, CA 95033



Kevin Hague
4150 Heppner Lane
San Jose, CA 95136



Kevin Hale
450 N Emerson
Mesa, AZ 85201



Kevin Harriford
777 7th St NW #817
Washington, DC 20001



Kevin Hart
2213 Deacon
Detroit, MI 48217



Kevin Harvell
2521 Central Ave 103
Alameda, CA 94501



Kevin Hermida
300 Mercer St. #31G
New York, NY 10003




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 890 of
                                        1568
Kevin Hille
8931 Whittlesey Lake Dr
Plymouth, MI 48170



Kevin Hoogland
8801 Slayton Drive
Austin TX 78753



Kevin Hoogland
6401 Hopkins Drive
Austin, TX 78734



Kevin Jones
156 Azalia Drive
East Palo Alto, CA 94303



Kevin Jorde
1 turner court
oakland, CA 94605



Kevin Kenney
1535 Grandview
Rochester Hills, MI 48306



Kevin Knuth
1063 Vernier Place
Stanford, CO 80908



Kevin Krause
2457 E. Winchester Place
Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 891 of
                                        1568
Kevin Krumwiede
406 Manzanita
Corte Madera, CA 94925



Kevin LaVoie
104 LaVonne Dr.
Campbell, CA 95008



Kevin Lee
8701 Waynick Dr
Raleigh, NC 27617



Kevin Low
6901 Lynn Way, Suite 310
Pittsburgh, PA 15208



Kevin Lu
2406B Bluegrass Dr
Mt Laurel, CA 94611



Kevin Mar
1622 Canary Dr
Sunnyvale, CA 94087



Kevin Marks
1900 Hillman Ave.
Belmont, CA 94002



Kevin Marx
1509 N. Washington
Royal Oak, MI 48067




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 892 of
                                        1568
Kevin McCabe
2422 Carron Ln.
FALLS CHURCH, VA 22043



Kevin McShea
8172 Stone Ridge Dr
Frederick, MD 21702



Kevin Moriarty
1140 E Broadmor
Tempe, AZ 85282



Kevin Mott
3301 Windy Harbor Dr.
Austin, TX 78734



Kevin Muir
3020 Prathenhu
Santa Cruz, CA 95065



Kevin Murphy
4050 Yellowstone Dr.
San Jose, CA 95130



Kevin Obradovits
8504 Elmore Ave
University City, MO 63132



Kevin ODonnell
31545 Robinhood
Beverly Hills, MI 48025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 893 of
                                        1568
Kevin Pankhurst
1551 20th Avenue
San Francisco, CA 94112



Kevin Pelto
21818 Ruth Street
Farmington Hills, MI 48336



Kevin Price
5720 Shore Dr.
Orchard Lake, MI 48324



Kevin Przewodek
58985 Carriage Lane
South Lyon, MI 48178



Kevin Rabideau
1250 Borregas Ave.
Sunnyvale, CA 94089



Kevin Reynolds
8 Bernice St. #102
San Francisco, CA 94103



Kevin Robertson
33255 Lark Way
Fremont, CA 94555



Kevin Roche
536 Cassatt Way
San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 894 of
                                        1568
Kevin Rowe
707 Newton Street
Lansing, MI 48912



Kevin Rowe_V
707 Newton St.
Lansing, MI 48912



Kevin Rowett
21906 Monte Ct
Cupertino, CA 95014



Kevin Rumon
230 San Rafael Ave
San Rafael, CA 94901



Kevin Rushing
4131 Weddel
Dearborn Heights, MI 48125



Kevin Ruybal
508 W. 57th St
Erie, PA 16509



Kevin Ryszka
36108 Dominion Cr
Sterling Hts., MI 48310



Kevin Saxon
835 Milo Ct
San Jose, CA 95133




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 895 of
                                        1568
Kevin Schweikert
13305 Lismore Ln
Pflugerville, TX 78660



Kevin Scott Armstrong
75 S 14th St.
San Jose, CA 95112



Kevin Sok
1403 McQuesten Drive APT C
San Jose, CA 95122



Kevin Stampfl
1025 Park Way
Moss Beach, CA 94038



kevin tran
835 N Capitol Ave Apt#2, 2
San Jose, CA 95133



Kevin Travers
1455 Adams Dr.
Menlo Park, CA 94025



Kevin Trigg
4103 Komes Court
Alexandria, VA 22306



Kevin VanNuland
4301 Renaissance Dr Apt 126
San jose, CA 95134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 896 of
                                        1568
Kevin Vokes
12000 Dessau Rd #824
Austin, TX 78754



Kevin Wegner
2000 Connecticut Avenue
washington, DC 20008



kevin wegner
3200 16 St.. NW
Washington, DC 20010



Kevin Wetzel
3545 23rd St, Apt B
San Francisco, CA 94110



Khalid Almo
2803 16th rd s
Arlington, VA 22204



Khalifa Almazrouei
2402 E 5th st
Tempe, AZ 85281



Khiem Nguyen
1107 Blue Fox Dr
Austin, TX 78753



Khoi Nguyen
4718 Davenport Avenue
Oakland, CA 94619




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 897 of
                                        1568
Khoi Nguyen
880 Mitten Road, Suite 105
Burlingame, CA 94010



KI_WOONG KIM
3400 Richmond Pkwy #4217
San Pablo, CA 94806



Kiera Wells
3829 w. 7th st. #4
los angeles, CA 90005



Kieran Baack
92 Garden Grove Drive
Daly City, CA 94015



Kieran Batchelli-Hennessey
874 Page St, Apt 4
San Francisco, CA 94117



Kiet Kuru
532 S Bay Shore Blvd.
Gilbert, AZ 85233



Kim Davis
317 W Holly St
Phoenix, AZ 85003



Kim Fedewa
4973 Menominee LN
Clarkston, MI 48348




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 898 of
                                        1568
Kim Filiatrault
6050 Ronchamps Dr
Round Rock, TX 78681



Kim Law
7713 Ricardo Ct.
el cerrito, CA 94530



Kim Martin
2879 Louis Road
Palo Alto, CA 94303



Kim Parham
20501 Livernois, Unit 211223
Detroit, MI 48221



Kim Phillips
7109 North Ute Trail
Austin, TX 78729



KIM SMIT
2111 SAN PABLO AVE UNIT 2309
BERKELEY, CA 94702



Kimberley Clayton
2814 Hermosa St.
Pinole, CA 94564



Kimberley Miller
783 41st Ave
San Francisco, CA 94121




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 899 of
                                        1568
Kimberly Bridges Moss
14612 Big Timber Lane
Chesterfield, MO 63017



Kimberly Chacra
3819 18th Street Apt 2
San Francisco, CA 94114



Kimberly Lyle
636 E Wesleyan Dr
Tempe, AZ 85282



Kimberly Mouton
3521 Fitzroy Avenue
Austin, TX 78748



Kimberly Smith
140 E Dana St.
Mountain View, CA 94041



Kimberly Williams
9000 Crow Canyon Rd, Ste 349
Danville, CA 94506



Kimi Naval
20 S. 2nd St. #236
San Jose, CA 95113



King Chan
671 Cypress Ave
Sunnyvale, CA 94085




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 900 of
                                        1568
Kingston Baynard
4388 El Camino Real Unit 339
Los Altos, CA 94022



Kinsey Turk
6178 W Megan St
Chandler, AZ 85226



Kinyavong Phrathep
10005 Berwick
Livonia, MI 48150



Kiran Malladi
1177 Harrison St
San Francisco, CA 94110



Kirby Charles
541 Steiner St
San Francisco, CA 94117



Kirill Novitchenko
1436 Dolores St
San Francisco, CA 94110



Kirk Fetzer
14 Godeus St
San Francisco, CA 94110



Kirk Kozlowski Saratoga Capital Manageme
485 Alberto Way, Suite 200
Los Gatos, CA 95032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 901 of
                                        1568
Kirk McLarty
2722 East Amelia Ave.
Phoenix, AZ 85016



Kirk Shindle
1405 South Carolina Ave. SE
Washington, DC 20003



Kirsten Scheliga
1053 Parkwood Dr, Apt 4
Cupertino, CA 95014



Kirsten Winkelbauer
161 Lake Drive
San Bruno, CA 94066



Kirsten Winky" Winkelbauer"
161 Lake Dr.
San Bruno, CA 94066



Kirt Eschtruth
16795 Mayfield
Livonia, MI 48154



Kirt Fitzpatrick
807 Haight Street, Apt 1
San Francisco, CA 94117



Kit Gallagher
25 Capistrano Ave
San francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 902 of
                                        1568
Kit Halvorsen
322 Greenwich Street
San Francisco, CA 94133



Kit Hough
14817 East Hills Drive
San Jose, CA 95127



Kit Mueller
111 N. Whitfield
Pittsburgh, PA 15206



Kitae Kwon
6771 Crosby Ct.
Santa Clara, CA 95051



Kitty Lee
825 Oregon Ave
Palo Alto, CA 94303



Klaus Sinner
Lichtenbergstr 8
Munich, Germany, CO 80807



Kong Sham
238 Vicente St.
San Francisco, CA 94127



Konrad Dudek
62 Joost Ave
San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 903 of
                                        1568
Konrad Schiffert
4914 Paseo Olivos
San Jose, CA 95130



Konstantin Azarov
1425 Lakeside drive apt 306
OAKLAND, CA 94612



Konstantin Gredeskoul
1113 Carolina Street
San Francisco, CA 94107



Konstantin Kisly
1717 Woodland ave, apt 209
Palo Alto, CA 94303



Konstantin Popov
310 2nd St #3
Jersey City, NJ 07302



Koon Wong
1150 Apt 3L, Ovington Ave
Brooklyn, NY 11219



Kory Russel
169 Waverley St. Apt B
Palo Alto, CA 94301



Kozine lewis
30771 Tamarack
wixom, MI 48393




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 904 of
                                        1568
Kraig Daniels
2618 Delmar
St. Louis, MO 63103



Kreg Enterprises, Inc.
DBA Kreg Tool Company
201 Campus Drive
Huxley, IA 50124



Kregg Phillips
7109 North Ute
Austin, TX 78729



Kris Besley
8400 Oceanview Terrace, #305
San Francisco, CA 94132



Kris Mendenhall
726 Golden Gate Ave
Richmond, CA 94801



Krista Camero
722 Niantic Ave
Daly City, CA 94014



Krista Erickson
106 Charles Drive
Carnegie, PA 15106



Kristen Anderson
550 14th Rd S, #523
Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 905 of
                                        1568
Kristen Berg
256 Page Street
San Francisco, CA 94102



Kristen Demarjian
631 18th Street
Oakland, CA 94612



Kristen Hoeflinger
1337 Argall Place
Alexandria, VA 22314



Kristen Kennedy
400 Baker Street
San Francisco, CA 94117



Kristen Merek
10 Auburn Court Apt 10C
Alexandria, VA 22305



Kristen Seiler
7489 Stanford Ave
Saint Louis, MO 63130



Kristen Wheeler
1281 Lawrence Station Rd Apt 373
Sunnyvale, CA 94089



Kristen Willis
363 N. Ocean Dr.
Gilbert, AZ 85233




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 906 of
                                        1568
Kristena Bins-Turner
1905 Plantation Ct
Round Rock, TX 78681



KRISTI Kelly
30 E. Julian Street #306
San Jose, CA 95112



Kristian Parker
1717 Lyon St.
San Francisco, CA 94115



Kristiann Garrett
237 Winding Way
San Carlos, CA 94070



Kristin Jardina
745 W Longhorn Dr.
Chandler, AZ 85286



Kristin Slater
3858 Shenandoah Ave
St Louis, MO 63110



Kristin Abkemeier
1800 Wilson Boulevard, Unit 442
Arlington, VA 22201



Kristin Gustavson
123 Park Watson Pl
San Jose, CA 95136




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 907 of
                                        1568
Kristin Jamieson
1711 46th Ave
San Francisco, CA 94122



Kristin Jardina
725 W Longhorn Dr.
Chandler, AZ 85286



Kristin Raymaker
318 2nd Avenue
San Francisco, CA 94118



Kristina Andrews
653 Jackson Street
Albany, CA 94706



Kristina Genslak
1566 Capri Dr
Campbell, CA 95008



Kristina Genslak
1566 Capri Drive
Capbell, CA 95008



Kristina Kotlier
2413 Seville Court
Pinole, CA 94564



Kristina Lewis
626 Hampshire St
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 908 of
                                        1568
Kristina Ricci
303 N. Miller Rd Unit 1008
Scottsdale, AZ 85257



Kristine Massey
15616 Prestancia Dr
Austin, TX 78717



Kristine Zehner
738 Henrietta Ave
Sunnyvale, CA 94086



Kristine Ahlport
2537 Claire Court
Mountain View, CA 94043



Kristine Glenz
501 Hillside Dr
Round Rock, TX 78681



Kristine Kaemmerer
7464 Prairietown Rd
Worden, IL 62097



Kristofer Gleason
PO Box 301534
Austin, TX 78703



Kristopher Allen
614 PRINCETON PL NW
WASHINGTON, DC 20010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 909 of
                                        1568
Kristopher Vassallo
601 3rd Ave
Redwood City, CA 94063



Kristy Hsiao
340 N Fig Tree Ln
Plantation, FL 33317



Kristy McKoy
597 Guerrero St #16
San Francisco, CA 94110



Kroy Richardson
3338 Page St.
Redwood City, CA 94063



Krystian Zimowski
1924 8TH ST NW APT 610
WASHINGTON, DC 20001



Kuan Khor
645 Quince Ln
Milpitas, CA 95035



Kuan Khor and Chai Hiong Ng
645 Quince Ln
Milpitas, CA 95035



Kunal Patel
1114 Nevada Ave
San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 910 of
                                        1568
Kunal Sahasrabuddhe
85 S 11th St
San Jose, CA 95112



Kunal Sarkar
2963 22ns St
San Francisco, CA 94110



Kurt Dalmas
1400 El Camino Real #329
South San Francisco, CA 94080



Kurt Finnie
42235 N. La Plata Rd.
Cave Creek, AZ 85331



Kurt Grubaugh
10 Milland Dr. C5
Mill Valley, CA 94941



Kurt Lieber
7116 E Gary Road
Scottsdale, AZ 85254



Kurt M. Leiber
7116 E Gary Road
Scottsdale, AZ 85254



Kurt Ohms
1796 Park Blvd.
Palo Alto, CA 94306




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 911 of
                                        1568
Kurt Petersen
8130 Greenslope Dr.
Austin, TX 78759



Kurt Schaefer
PO Box 98
La Honda, CA 94020



Kurt Smith
616 w crestland
Austin, TX 78752



Kurt Weipert
4936 Zenith St #114
Metairie, LA 70001



Kurtis Simpson
25 Oak Knoll Place
Belleville, IL 62223



Kyle Amelung
18 Kingshighway Blvd #145
Saint Louis, MO 63108



Kyle Bolyard
43275 Woodwind Ln
Canton, MI 48188



Kyle St John
42941 Northville Place Drive, Apt: 1615
Northville, MI 48167




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 912 of
                                        1568
Kyle Anderson
1262 W McKinley Apt 6
Sunnyvale, CA 94086



Kyle Bancroft
4710 40th Ave
Hyattsville, MD 20781



Kyle Bancroft
4710 40th Avenue
Hyattsville, MD 20781



Kyle Brague
20340 E. Stomelnest Dr.
Queen Creek, AZ 85142



Kyle Burgard
315 E. Lavitt Ln
Phoenix, AZ 85086



Kyle Cameron
11720 Timber Heights Dr
Austin, TX 78754



Kyle Craig
1325 River Forest Dr.
Round Rock, TX 78665



Kyle Ferguson
2434 33rd St, Flr 1
Queens, NY 11102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 913 of
                                        1568
Kyle Fleming
1188 Mission St Apt 1701
San Francisco, CA 94103



Kyle Heffernan
446 e bluebell ln
Tempe, AZ 85281



Kyle Hoover
13777 Forest Park Dr
Grand Haven, MI 49417



Kyle Johnson
500 E University Dr #2407
Tempe, AZ 85287



Kyle Kepley
14406 Middlefield Ln
MOUNTAIN VIEW, FL 33336



Kyle McClay
818 Treehaven Ct
Pleasant Hill, CA 94523



Kyle Morford
1601 Argonne Place NW Apt 434
Washington, DC 20009



Kyle Moss
265 Sobrante Way, Suite M
Sunnyvale, CA 94086




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 914 of
                                        1568
Kyle Ness
2905 Benjamin Ave
Royal Oak, MI 48073



Kyle O'Rourke
24 Lynnbrook Ct.
San Ramon, CA 94583



Kyle Petrich
1343 Paloma
Belmont, CA 94002



Kyle Potter
P.O. Box 191544
St. Louis, MO 63119



Kyle Ramirez
455 Arlington St, Apt 1
San Francisco, CA 94131



Kyle Richardson
5549 Brush St
Detroit, MI 48202



Kyle S. Butt
654 San Pedro Ave
Sunnyvale, CA 94085



Kyle Scholz
245 Ramona St.
Palo Alto, CA 94301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 915 of
                                        1568
Kyle Thorson
6916 Pinnacle Ridge Rd.
Raleigh, NC 27603



Kyle Torrico
1976 Eastern Ave Suite 2
Verona, PA 15147



Kyle Watson
1255 Lakepointe
Grosss Pointe Park, MI 48230



Kyle Whatley
1009 Fazio Cove
Round Rock, TX 78664



Kyle Withrow
2722 mirasol loop
Round rock, TX 78681



Kyle Zurawski
355 N. Wolfe Rd. #815
Sunnyvale, CA 94085



Kyley N Smithers
860 Saratoga Ave. Apt.
H212
San Jose, CA 95129



Kyley Smithers
860 Saratoga Ave Apt H212
San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 916 of
                                        1568
Kyley Smithers
860 Saratoga Ave
Apt. H212
San Jose, CA 95129



Kyosuke Inoue
1001 NATIONAL AVE
SAN BRUNO, CA 94066



KyuKyu Hyun    Kim
10 Avenida Dr.
Berkeley, CA 94708



L a KOWALYK-CANGEMI
1245 CLAYTON ST.
SAN FRANCISCO, CA 94114



L na RIVIERE
1950 Golden Gate Avenue
San Francisco, CA 94115



La Frontera Village LP
PO Box 204372
Dallas, TX 75320



Lacey Ingalls
1040 Steiner St, Apt 12
San Francisco, CA 94115



Lafe Spietz
1150 Galapago St. #501
Denver, CO 80204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 917 of
                                        1568
Lai Kuku
1138 E. Wendsor Dr.
Gilbert, AZ 85296



Laine Tammer
1777 Lafayette St. Ste. 101
Santa Clara, CA 95050



Lainne Bacharach
323 S. Winebiddle St
Pittsburgh, PA 15224



Laird Plastics
75 Remittance Drive
Suite 2720
Chicago, IL 60675



Lake Nieltawee
2217 Rosemount Lane
San Ramon, CA 94582



Lakshi Joshi
1917 Emma Long
Austin, TX 78723



Lamont Alan Lucas
178 Henry St.
San Francisco, CA 94114



Lamont Holm
1327 Kains
San Bruno, CA 94066




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 918 of
                                        1568
Lamont Lucas
178 Henry St.
San Francisco, CA 94114



Lan-Chi Nguyen
3297 Vin Santo Lane
San Jose, CA 95148



Lana Hawkins
1917 Washtenaw
Ann Arbor, MI 48104



Lance Booth
4562 E 2nd ST. STE F
Benicia, CA 94510



Lance Sprague
1036 Cayuga Street
Santa Cruz, CA 95062



Lance Gibson
1244 East Sequioa Drive
Phoenix, AZ 85024



Lance Liggett
15234 S. 40th Place
Phoenix, AZ 85044



Lance Moore
508 Larkin St
San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 919 of
                                        1568
Lance Moore
PO Box 3248
Cedar Park, TX 78630



Lance Oswald Sanchez
1305 mayapple st
Pflugerville, TX 78660



Lance Scarrow
414 1st St. NE
Mason City, IA 50401



Lance Smith
2780 B Lighthouse Point East #3
Baltimore, MD 21224



Landon Harris
4604 Mon Blanc Drive
Bee Cave, TX 78738



Landon Long
35580 Ribera Court
Fremont, CA 94536



Landon Sturgeon
660 King Street
San Francisco, CA 94107



Lane Wilson
1114 Darnell Hollow Rd
Bruceton Mills, WV 26525




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 920 of
                                        1568
Lang Hames
631 O'Farrell St #1516
San Francisco, CA 94109



Lani Morris
6022 Broad Street
Pittsburgh, PA 15206



Lara OrtizdeMontellano
335 Granada Ave
San Francisco, CA 94112



Larissa Russell
3425 23rd St.
San Francisco, CA 94110



Larry Banasky Sr.
117 Walnut St.
River Rouge, MI 48218



Larry Berg
5145 Harvest Estates
San Jose, CA 95135



Larry Birch
4830 N. 74th Place
Scottsdale, AZ 85251



Larry Bisares
312 Chestnut St.
Redwood City, CA 94063




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 921 of
                                        1568
Larry Black
1718 Ranch Road 2233
Llano, TX 78643



Larry Burriesci
20900 Alves Drive
Cupertino, CA 95014



Larry Chappel
15969 shannon rd
Los Gatos, CA 95032



Larry Cox
2657 Windmill Pkwy #339
Henderson, NV 89074



Larry Dosik
13857 Gullane Drive
Woodbridge, VA 22191



Larry Gomes
26241 Mocine Ave
Hayward, CA 94544



Larry Hubbman
33 Empire Dr
Belleville, IL 62220



Larry Jacobson
4416 Enclave Cove
Austin, TX 78731




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 922 of
                                        1568
Larry Karas
20901 Oakwood Blvd
Dearborn, MI 48164



Larry Larson
95 Azucar Ave.
San Jose, CA 95111



Larry Lesniak
380 Dodds Road
Butler, PA 16002



Larry Marshall
616 Canyon Rd. Apot. 306
Redwood City, CA 94062



Larry McDonald
906 King Street
Redwood City, CA 94061



Larry Prentice
15444 Windsong Dr.
Macoma, MI 48044



Larry stec
2492 22nd st.
wyandotte, MI 48192-4430



Larry Stone
20630 W Virgil Dr
Queencreek, AZ 85142




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 923 of
                                        1568
Larry Stone
316 W McDowell Rd,
#104
Phoenix, AZ 85003



Lars Issa
3101 Olin Drive
Falls Church, VA 22044



Lars Florio
1502 N Fillmore St.
Arlington, VA 22201



Lasbrey Nwachukwu
233 Enterprise
Kyle, TX 78640



LaShun Washington
19327 Belleau Wood Dr., Apt. 201
Triangle, VA 22172



Latoya Harris
P.O. Box 1798
Chandler, AZ 85244



Laura Flavin
229 N Graham St
Pittsburgh, PA 15206



Laura Aden
350 Turkshead Lane
Redwood City, CA 94065




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 924 of
                                        1568
Laura Atkins
955 Mouton Circle
East Palo Alto, CA 94303



Laura Bunger
1743, 17th Avenue
San Francisco, CA 94122



Laura Denton
1539 Greenwich St #5
San Francisco, CA 94123



Laura DeWald
45 Lansing St Unit 4001
San Francisco, CA 94105



Laura Gyre
5 sagwa st
pittsburgh, PA 15212



Laura Herzberg
996 Whitcomb Ct.
Milpitas, CA 95035



Laura Holmes
68 Collingwood St
San Francisco, CA 94114



Laura Jones
85 Bluxome St
San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 925 of
                                        1568
Laura Latimer
6814 Pioneer Place
Austin, TX 78757



Laura McConnell
29205 Broadmoor St.
Livonia, MI 48154



Laura Menard
16360 S. Kennedy Rd.
Los Gatos, CA 95030



Laura Phipps
615 N Main St. #150
Euless, TX 76039



Laura Rhodes
3839 Bret Harte Drive
Redwood City, CA 94061



Laura Stewart
918 N Rengstorff Ave #882
Mountain View, CA 94043



Laura Tabakman
137 Alleyne Dr.
Pittsburgh, PA 15215



Laura Ward
1245 S Mountain View Rd
Apache Junction, AZ 85119




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 926 of
                                        1568
LauraBeth Konopinski
5129 Liberty Ave Apt. 2
Pittsburgh, PA 15224



Laurel Buell
750 N 97th Pl
Mesa, AZ 85207



Laurel Clarke
319 Missouri St.
San Francisco, CA 94107



Laurel Gaddie
527 Page St.
San Francisco, CA 94117



Laurel Machak
941 E. Grant Place
San Mateo, CA 94402



Laurel Smith_V
700 Steiner St apt 601
San Francisco, CA 94117



Lauren Barghout
3420 Rubin Drive
Oakland, CA 94602



Lauren Towles
16247 Norhtlawn St
Detroit, MI 48221




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 927 of
                                        1568
Lauren Zemering
5561 Beeler St.
Pittsburgh, PA 15213



Lauren Castellano
1320 Byron Street
Palo Alto, CA 94043



Lauren Clifton
2600 Lake Austin Blvd #3305
Austin, TX 78703



Lauren Conners
1013 Lonesome Lilly Way
Pflugerville, TX 78660



Lauren Copley
2413 E Nathan Way
Chandler, AZ 85225



Lauren Copley
868 S Arizona Ave Apt 2070
Chandler, AZ 85225



Lauren Fahey
596 S 2nd St
San Jose, CA 95112



Lauren Franklin
1357 Hancock St apt 3r
Brooklyn, NY 11237




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 928 of
                                        1568
Lauren Franklin
1357 Hancock St
Brooklyn, NY 11237



Lauren Goeser
197 Lyndhurst Ave
San Carlos, CA 94070



Lauren Harriman
14672 Gypsy Hill Rd.
Saratoga, CA 95070



Lauren Kim
903 Bonneville Way
Sunnyvale, CA 94087



Lauren Meyer
4831 Rollingwood Drive
Rollingwood, TX 78746



Lauren Piehler
455 W, Evelyn Ave #1128
Mountain View, CA 94041



Lauren Somersille Sibley
1531 Begen Ave
Mountain View, CA 94040



Lauren Tichy
640 Brooklyn Ave #6
Oakland, CA 94606




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 929 of
                                        1568
Lauren Zemering_v
147 Jefferson Drive
Pittsburgh, PA 15228



Laurence Hubby
985 Harriet St
Palo Alto, CA 94301



Laurence Srinivasan
584 Castro St. #775
San Francisco, CA 94114



Laurens Gunnarsen
691 Victor Way, Apt. 4
Mountain View, CA 94040



Laurent Stadler
1730 Dolores St., Apt #2
San Francisco, CA 94110



Laurent Stadler
1027 Portola Dr.
San Francisco, CA 94127



Laurent Trieu
10117 Round Top Ct
Fairfax, VA 22032



Lauri Myers
11323 E Chestnut Dr
Chandler, AZ 85249




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 930 of
                                        1568
Laurie Andrade
1360 Vinci Park Way
San Jose, CA 95131



Laurie Bowers Connolly
355 Sunrise Shores
Harrodsburg, KY 40330



Laurie Brown
541 W. Oakridge
Ferndale, MI 48220



Laurie Brown
3018 Sylvan Drive
Falls Church, VA 22042



Laurie Childers
2436 Rick Whinery
austin, TX 78728



Laurie Chin
36 San Carlos St.
San Francisco, CA 94110



Laurie Dixon
924 Hyde Park Dr
Round Rock, TX 78665



Laurie Masyga
1374 W Remington Dr.
Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 931 of
                                        1568
Laurie Mobilio
20979 Saraview Court
Saratoga, CA 95070



Laurie Pianka
3913 Cadwalladu Ave
San Jose, CA 95121



Laurie Woodfill
550 Chapman Dr.
Campbell, CA 95008



Laurin Davis
2644 Beacon Hill Ct.
Auburn Hills, MI 48326



Laurisa Goergen
4825 Regiment CT
Woodbridge, VA 22193



Laurus Myth
2065 Limewood Dr.
San Jose, CA 95132



LAVELL CARRADINE
131 TUSCANY CT
HERCULES, CA 94547



LaVerne Kemp
5825 Elgin Street
Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 932 of
                                        1568
Law Offices of Derek K. Yu
1939 Harrison Street, Suite #612
Oakland, CA 94612



Law Offices of Derek Yu
1939 Harrison Street
Oakland, CA 94612



Lawrence Banasky
14090 Riga
Livonia, MI 48154



Lawrence Bell
900 Soapberry Circle
Irvington, TX 75063



Lawrence Gallagher
455 W. Evelyn Ave. #1128
Mountain View, CA 94041



Lawrence Gresko
2509 Terrett Ave
Alexandria, VA 22301



Lawrence Gunn
1014 West Olive Avenue, APT 2
Sunnyvale, CA 94086



Lawrence Johnston
605 Stannage Ave #4
Albany, CA 94706




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 933 of
                                        1568
Lawrence Kesteloot
1120 Persia Ave.
San Francisco, CA 94112



Lawrence Koepke
3460 Ramstad Drive
San Jose, CA 95127



Layla Miller
5334 Nebraska Ave. NW
Washington, DC 20015



Layne Muilman
209 Innwood Dr
Georgetown, TX 78628



Lazaro Cardenas
PO BX 1985
San Jose, CA 95109



LC Shelton
Po Box 90071
Alexandria, VA 22309



LCA Bank
Attn: Current Corporate Officer
3150 Livernois Suite 300
Troy, MI 48083



LCA Bank Corporation
PO Box 1650
Troy, MI 48099




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 934 of
                                        1568
Leaf Capital
Attn: Current Corporate Officer
2005 Market Street, 14th Flr
Philadelphia, PA 19103



LEAF Capital Funding, LLC.
P.O. Box 742647
Cinccinnati, OH 45274



Leah Bryson
1489 Webster St Apt #404
San Francisco, CA 94115



Leah Mawhinney
767 River Rd
Mexico, ME 04257



Leah Mendelson
5228 Miles Avenue
Oakland, CA 94618



Leah Robertson
33255 Lark Way
Fremont, CA 94555



Leah Triantos
351 La Questa Way
Woodside, CA 94062



Leann Scott
2638 E Azalea Ct
Gilbert, AZ 85298




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 935 of
                                        1568
Leanne BakkemoAltberg
38 Country Club Dr.
Mill Valley, CA 94941



Leanne Davis
2322 N 11th Street
Phoenix, AZ 85006



Lee Burnette
PO Box 390
Clanton, AL 35046



Lee Helpingstine
3270 Minerva St
Ferndale, MI 48220



Lee Anderson
441 E Crescent Place
Chandler, AZ 85249



Lee Bryant
12024 Hwy 290 West
Austin, TX 78737



Lee Buckland
3423 Tourmaline Trail
Round Rock, TX 78681



Lee Burnette
1751 Cr 107
Hutto, TX 78634




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 936 of
                                        1568
Lee Carter
350 Arguello Blvd
San Francisco, CA 94118



Lee Dydo
414 Richmond Ave
San Jose, CA 95128



Lee Finewood
1919 Clarendon Blvd Apt 214
Washington, DC 20001



Lee Haddad
400 Beale Street, #707
San Francisco, CA 94105



Lee Hernandez
507 Sundance Way
Chandler, AZ 85225



Lee Ludden
2308 E Stottler Dr
Gilbert, AZ 85296



Lee Wright
3351 S. Horizon Place
Chandler, AZ 85248



Lee Zello
403 S 15th St
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 937 of
                                        1568
Leef Armontrout
2319 South 12th St
ST. Louis, MO 63104



Leesa Lee
402 Headlands Court
Sausalito, CA 94965



Lei Lu
5610 Bellagio Dr
San Jose, CA 95118



Leigh Linden
205 E 35th St
Austin, TX 78705



Leigh Quinn
9 Laurel Oaks Court
Lake Saint Louis, MO 63367



Leigh West
20584 Sunrise Drive
Cupertino, CA 95014



Leigh Williams
1458 Miller Ave.
San Jose, CA 95129



Leila Janah
2501 Harrison St.
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 938 of
                                        1568
Leila Rodriguez
824 Grand Avenue Pkwy
Pflugerville, TX 78660



Lekan Wang
1210A Emerson St
Palo Alto, CA 94301



Leland Wallace
456 Heatherbray Ct
San Jose, CA 95136



Lemi Conrad
950 Charter St.
Redwood City, CA 94063



Lena Selzer
440 Burroughs St., Suite 200
Detroit, MI 48202



Lena Kim
525 Middlefield Rd. #487
Redwood City, CA 94063



Lensyl Urbano
2367 Highway T
Lebadie, MO 63055



Leo Early
22634 Michigan Ave.
Dearborn, MI 48124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 939 of
                                        1568
Leo Breton
4917 43rd Place, NW
Washington, DC 20016



Leo Butler
19 Kimmie Ct.
Belmont, CA 94002



Leo Chan
575 Corbett Ave.
San Francisco, CA 94114



Leo Chan
1600 Wyatt Drive Ste 16
Santa Clara, CA 95054



Leo Gutierrez
395 Madison Street
Santa Clara, CA 95050



Leo Singer
941 O St. NW
Washington, DC 20001



Leo Wright
495 Toft St
Mountain View, CA 94041



Leo Zuckerman
1801 Clydesdale Pl NW
Washington, DC 20011




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 940 of
                                        1568
Leon Marucchi
225 Queen St
Leesburg, VA 20176



Leon Horne
P.O. Box 181
Bodega Bay, CA 94923



Leon Urdahl
1205 Mayan Way
Austin, TX 78733



Leona Messink
1293 Antwerp Ln
San Jose, CA 95118



Leonard Prezecki
2968 Leslie Park Cir
Ann Arbor, MI 48105



Leonard Sherman
12795 Viscaino Rd
Los Altos, CA 94022



Leonard Shustek
160 Cherokee Way
Portola Valley, CA 94028



Leonardo Meza
303 S 9th St
Pflugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 941 of
                                        1568
Leonardo Pelegrine
202 Ammunition ave
Odenton, MD 21113



Leonora Egoutkina
651 Ardis Ave.
san jose, CA 95117



Leopold Dittler
350 Velarde St
Mountain View, CA 94041



Leroy Merlin France
Attn: Thomas Bouret
Rue Chanzy
59 260 Lezennes
France



Leroy Merlin France Attn: Thomas Bouret
Rue Chanzy
59 260 Lezennes
FRANCE



Les Carter
987 Desert Isle Dr.
San Jose, CA 95117



Les LaZar
4417 Bergamo Dr.
Encino, CA 91436



Les Levitt
43 S. 14th St.
San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 942 of
                                        1568
Les Rosenberg
27813 Browning Ct
Hayward, CA 94544



Lesley Dipiazza
11330 w. clements cir
livonia, MI 48150



Leslie Foster
3351 Nesta Drive
San Jose, CA 95118



Leslie Middleton
812 Huron Ct.
Gibsonia, PA 15044



Leslie Nguesso
183 Channel St
San francisco, CA 94158



Leslie Olson
5701 Westslope Drive #21
Austin, TX 78731



Leslie Picardo
1249 Lakeside Dr #3064
Sunnyvale, CA 94085



Leslie RAMLALL
10 Ayril Magnin St
San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 943 of
                                        1568
Leslie Swan
210 Crest Road
Woodside, CA 94062



Leslie Tagorda
2124 15th st
San Francisco, CA 94114



Leslie Terzian
469 Douglass Street
San Francisco, CA 94114



Leslie Trieu
10117 Roundtop Ct
Fairfax, VA 22302



Leslie Wolff
14414 N. 20th Place
Phoenix, AZ 85022



Lester Quan
70 McCreery Drive
Hillsborough, CA 94010



Lev Israel
174 Hudson St, 6th Floor
New York, NY 10013



Levy Ring
157 Ashton Ave.
Millbrae, CA 94030




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 944 of
                                        1568
Lew Glendenning
543 Grand Fir Avenue
Sunnyvale, CA 94086



Lewis Obermiller
408 W. Balsam Drive
Chandler, AZ 85248



Lewis Guignard
1109 Virginia Ave
Durham, NC 27705



Lex Lewyckyj
202 Hillsboro Drive
Silver Spring, MD 20902



Lex Nakashima
9337 Laurel Canyon Blvd
Arleta, CA 91331



LGSONS Auction_2015_01
19601 Black Road
Los Gatos, CA 95033



LGSONS Auction_2015_02
19601 Black Road
Los Gatos, CA 95033



Liam benkert
454 Holladay Ave
san francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 945 of
                                        1568
Liam Chasteen
379 N Murphy Ave
Sunnyvale, CA 94085



Liam Dumanske
410 Poplar Ave
Redwood City, CA 94061



Liam O'Leary
4422 24th Street
San Francisco, CA 94114



Liam Staskawicz
644 Cole St., #4
San Francisco, CA 94117



Liam Tilenius
30 Drayton Rd.
Hillsborough, CA 94010



Liana Tomchesson
1904A Newton
Austin, TX 78704



Liane Fang
PO Box 7127
Redwood City, CA 94063



Libardo Cardenas
4360 N Desert Oasis Circle
Mesa, AZ 85207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 946 of
                                        1568
Liberty Mutual Insurance
PO Box 85834
San Diego, CA 92186



Light Path Capital Inc.
5670 Wilshire Blvd, #1800
Los Angeles, CA 90036



Lightower Fiber Networks I, LLC
PO Box 27135
New York, NY 10087-7135



Lilah Crews-Pless
5518 Genoa Street
berkley, CA 94510



Lilah Sperman
165 Cambridge Ave
San Leandro, CA 94577



Lilian Bocanegra_Batriz
1133 W 5TH St
Tempe, AZ 85281



Lilli Thompson
2347 Clipper St
San Mateo, CA 94403



Lillian Denhardt
110 North Pacific Avenue
Pittsburgh, PA 15224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 947 of
                                        1568
Lillian Morris
1717 Old Cahert Ct
Severn, MD 21144



Lily Abrons
641 Waterview Isle
Alameda, CA 94501



Lily Han
3456 Cesar Chavez #5
San Francisco, CA 94110



Lily Homer
1005 Market Street, Suite 302
San Francisco, CA 94103



Lily Israel
2726 N Harrison St
Arlington, VA 22207



Lily Montgomery
1118 N 18th St
Phoenix, AZ 85006



Lincoln Jaros
5372 Elrose Ave.
San Jose, CA 95124



Linda Minden
4552 GIBSON AVE
SAINT LOUIS, MO 63110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 948 of
                                        1568
Linda Baek
2889 Fresno St.
Santa Clara, CA 95051



Linda Becker
643 2nd Ave
San Francisco, CA 94118



Linda Bradford
759 taylor ave
alameda, CA 94501



Linda Calderone
1380 Masonic Avenue
san Francisco, CA 94117



Linda Chin
836 Santa Rita Ave
Los Altos, CA 94022



Linda Halvorson
3395 Taper Ave.
Santa Clara, CA 95124



Linda Hartley
804 Black Locust Dr
Pflugerville, TX 78660



Linda Hooi
Box 1791
Danville, CA 94526




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 949 of
                                        1568
Linda Liebenow
765 Orkney Avenue
Santa Clara, CA 95054



Linda Lobato
934 Howard St.
San Francisco, CA 94103



Linda McAllister
149 Webster St.
Palo Alto, CA 94301



Linda McMahon
304 Laurelwood Dr
Austin, TX 78733



Linda Mompalao
50 Lyman Ave
Staten Island, NY 10305



Linda Peix
871 Cape Breton Drive
Pacifica, CA 94044



Linda Pond
16786 Fulton Pings
Livonia, MI 48154



Linda Sampson CBRE Global Workplace Solu
1000 Republic Drive, Suite 670
Allen Park, MI 48101




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 950 of
                                        1568
Linda Tran
736 Charter Street
Redwood City, CA 94063



Linda Warren
433 E Taylor St
Trempe, AZ 85281



Linda Yee-Chen
48277 Hackberry St
Fremont, CA 94539



Lindell Sapp
557 E 26 Street
Brooklyn, NY 11210



Lindsay Evanish
814 Pittsburgh-McKeesport Rd
West Mifflin, PA 15122



Lindsay Wyszomirski
19281 Mountain Way
Los Gatos, CA 95030



Lindsey Mangan
1703 Silverwood Dr
San Jose, CA 95124



Lindsey Stouffer
414 North 23rd Street Unit 416
St. Louis, MO 63103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 951 of
                                        1568
Lindsley Etienne
4373 Maryland Avenue
St. Louis, MO 63108



Ling Triantos
351 La Questa way
Woodside, CA 94062



Linnea Oliver
1633 Market Street
San Francisco, CA 94103



Lino Velo
PO BOX 2690
San Ramon, CA 94583



Linus Kung
1481 Webster St. Apt. 404
San Francisco, CA 94115



Lisa Savage
2731 Warrior Drive
Wixom, MI 48393



Lisa Scott
151 Mabledrough
bloomfield, MI 48302



Lisa Bruemmer
7100 Thomas Blvd
Pittsburgh, PA 15208




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 952 of
                                        1568
Lisa Chan
3357 Jordan Road
Oakland, CA 94602



Lisa Fernandez
280 Coral Reef Ave.
Half Moon Bay, CA 94019



Lisa Fisher
4779 18th St.
San Francisco, CA 94114



Lisa Healy
792 Madison St Apt 2L
Brooklyn, NY 11221



Lisa Kwietniak
1042 Promenade St
Hercules, CA 94547



Lisa Lee
P.O. Box 710
La Honda, CA 94020



Lisa Lorenzin
3614 Laurel Creek Way
Durham, NC 27712



Lisa Lunday
429 Edgewood Rd
San mateo, CA 94402




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 953 of
                                        1568
Lisa Nakano
1326 Alridge Dr
Sunnyvale, CA 94087



Lisa Pavlu
499 Mill River Ln
San Jose, CA 95134



Lisa Pelgrim
1197 Laurie Ave
San Jose, CA 95125



Lisa Piehler
455 W. Evelyn Ave #1128
Mountain View, CA 94041



Lisa Robinson
216 Blackstone Dr.
Boulder Creek, CA 95006



Lisa Wolfe
365 S Graham St
Pittsburgh, PA 15232



Lise Currie
2683 15th Ave
San Francisco, CA 94127



Lisha McCurry
20093 Bernard St
Taylor, MI 48180




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 954 of
                                        1568
Lissa Doty
4104 24th St #328
San Francisco, CA 94114



Lithium Networks, LLC
PO Box 29941, Austin, TX 78755




Lito J. Cruz
3379 Halderman St
Los Angeles, CA 90066



Liv Witkowski
4944 Lindell Blvd. Apt. 4W
St. Louis, MO 63108



Liyan Liu
750 W Baseline Rd
Tempe, AZ 85283



Liz Batronis
912 E Drexel Dr
Gilbert, AZ 85297



Liz Conley
645 Bush St. #103
San Francisco, CA 94108



Liz Dietrich
1043 Treat Ave.
San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 955 of
                                        1568
Liz Konsella
4201 Ulloa Street
San Francisco, CA 94116



Liz Liguori
141 SPENCER STREET APT 103
BROOKLYN, NY 11205



Liz Pasek-Allen
348 Shotwell st.
San Francisco, CA 94110



Liz Sabol
1410 Fox Chapel Road
Pittsburgh, PA 15238



Liz Seip
400 Penn Center Blvd, Suite 800
Pittsburgh, PA 15235



Liz Teifer
265 E Saratoga St
Ferndale, MI 48220



Lizz Porter
3642 Darwin Dr
Fremont, CA 94555



Lizz Andrews
19160 Hilton dr.
Southfield, MI 48075




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 956 of
                                        1568
Lizz Milota
3458 Richmond blvd
Oakland, CA 94611



Lizzee Solomon
260 Gross Street #7
Pittsburgh, PA 15224



Lizzee Solomon_v
5009 Friendship Avenue
Pittsburgh, PA 15224



Lizzie Bontrager
12700 16th St. S
Arlington, VA 22204



Lizzie Orr
528 Patricia Ln
Palo Alto, CA 94303



Lizzy Taber
1081 North Parkside Dr C302
Tempe, AZ 85281



Llewelynn Fletcher
439 49th St. #22
Oakland, CA 94609



Lloyd Eakin
7 CHILTON AVE.
SAN FRANCISCO, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 957 of
                                        1568
Lloyd Leanse
1057 Menlo Oaks Dr
Menlo Park, CA 94025



Lloyd Taylor
1130 Schooner St
Foster City, CA 94404



Loc Nguyen
2642 Kendrick Cir
San Jose, CA 95121



Loc Vo
400 Buttercup Lane
Pleasant Hill, CA 94523



Loddie Alspach
1018 Price Street
Taylor, TX 76574



Lodelle Marcelino
33048 Compton Ct
Union city, CA 94587



Loel Gnadt
429 Ford Blvd.
Lincoln Park, MI 48146



Logan Becker
701 E Apache Blvd
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 958 of
                                        1568
Logan Fagg
10050 Great Hills Trl # 1318
Austin, TX 78759



Logan Herr
1152 South Van Ness
San Francisco, CA 94110



Logan Jager
2130 Bay St
San Francisco, CA 94123



Logan Jones
4240 Duncan
St. Louis, MO 63110



Logan Lieber
7116 E Gary Rd
Scottsdale, AZ 85254



Logan Powell
801 15th street south, Apt 1006
Arlington, VA 22202



Logan Randolph
509 S Trenton Ave #3
Pittsburgh, PA 15221



Logan Randolph
411 South Trenton
Apt. 3
Pittsburgh, PA 15221




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 959 of
                                        1568
Logan Riley
322 Parnassus Ave. Apt. 4
San Francisco, CA 94117



Logan Smith
1749 W Tulsa St
Chandler, AZ 85224



Logan Weintraub
231 Dale Drive
Silver Spring, MD 20910



Loliya Memberr
16223 N 37th
Phoenix, AZ 85032



Lonna Peters
30530 Appalachian Dr
Castaic, CA 91384



Lora Everett
918 16th St S
Arlington, VA 22202



Loren Carrier
2455 E. Westchester Dr.
Chandler, AZ 85249



Loren Carpenter
5749 Lucas Valley Road
Nicasio, CA 94946




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 960 of
                                        1568
Loren Olson
7192 Via Colina
San Jose, CA 95139



Lorenz Redlefsen
1600 Forest Trail
Austin, TX 78703



Lorenzo Parra
4300 Columbine Dr.
Austin, TX 78727



Lorenzo Parra
4300 Columbine Dr
Austin, TX 78727



Lorenzo Zesati
P.O. Box 44
Gilbert, AZ 85299



Loretta Beavers
1395 Gazdar Ct.
Santa Clara, CA 95051



Lori LaRue
251 Portola State Park Road
La Honda, CA 94020



Lori Champagne
2135 Watkins Lane Rd
Waterford, MI 48328




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 961 of
                                        1568
Lori Champagne_V
2135 Watkins Lake Road
Waterford, MI 48328



Lori Filiatrault
6050 Ronchamps Dr
Round Rock, TX 78681



Lori Frey
3955 Mayfair
Dearborn Heights, MI 48125



Lori Hebert
95 Stoney ford Ave,
San Francisco, CA 94112



Lori Hepner
3603 California Ave. Unit A
Pittsburgh, PA 15212



Lori Jain
610 Jackson St., Suite 220
Santa Clara, CA 95050



Lori Petitt
2334 21st St.
Santa Monica, CA 90405



Lori Petitti
2334 21st St.
Santa Monica, CA 90405




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 962 of
                                        1568
Lori Richards
12234 Arcola st.
Livonia, MI 48150



Lori Saxon
835 Milo Ct
San Jose, CA 95133



Lori Tierney
368 N 6th St.
San Jose, CA 95112



Lorne Zhang
1115 St. Joseph Ave.
Los Altos, CA 94024



Lorraine Allard
2213 Crescent ave
Montrose, CA 91020



Lorrie McPheeters
2994 Cotttonwood Ct
Santa Clara, CA 95051



Loryn Bertoti
618 Parkview Ave
North Braddock, PA 15104



Lou Lippincott
720 Anderson Dr
Los Altos, CA 94024




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 963 of
                                        1568
Louane Kuang
475 Paiute Lane
San Jose, CA 95123



Louie Carmona
1503 E. Ivyglen St.
Mesa, AZ 85203



Louie Fielding
1057 Montgomery St.
San Carlos, CA 94070



Louie Patacsil
139 Tellerday Ct
Vallejo, CA 94589



Louis Chapman
One MedImmune Way
Gaithersburg, MD 20878



Louis De La Cruz
1006 Olympic Dr
Pflugerville, TX 78660



Louis Erickson
2716 Joseph Av. #1
Campbell, CA 95008



Louis Freitas
1766 Gilda Way
San Jose, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 964 of
                                        1568
Louis Garbis
5504 Sacramento Mews Pl
Alexandria, VA 22309



Louis Gerbarg
45 Lansing St. #4001
San Francisco, CA 94105



Louis Wilcox
227 W Caroline Ln
Tempe, AZ 85284



Louisa Cheung
288 3rd St #601
San Francisco, CA 94607



Louise Hobbs
221 11th St.
San Francisco, CA 94103



Louisiane WORMSER
1080 Folsom St
San Francisco, CA 94102



Lourdes Muguerza
4451 Jan Way
San Jose, CA 95124



Lowe's Companies, Inc
Attn: Robert Alan Niblock, CEO /
Other Current Officer
1000 Lowe's Blvd NB4TA
Mooresville, NC 28117-8520




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 965 of
                                        1568
Lowell Daniels
800 Olive, Apt. 1319
St. Louis, MO 63101



Lu Han
5515 Waterman
St. Louis, MO 63112



Luba Lieber
7116 E Gary Rd
Scottsdale, AZ 85254



Luba Reznikova
300 Mercer St
New York, NY 10003



Lucas Fritz
135 Corwin Apt 1
San Francisco, CA 94114



Lucas Krull
17300 Brook Hill Drive
Orland Park, IL 60467



Lucas Nene
1016 Woodbine Ave.
Pittsburgh, PA 15201



Lucas Pierson
551 E Apache Blvd.
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 966 of
                                        1568
Lucas Robinson
423 6th St NE
Washington, DC 20002



Lucas Saugen
3201 Colfax Ave
Minneapolis, MN 55408



Lucas Shryock
7352 Fernbrook Dr.
Saint Louis, MO 63123



Lucas Vogelsang
1449 Broadway
Brooklyn, NY 11221



Lucas Whipple
2439 Hastings Dr.
Belmont, CA 94002



Lucia Casu
33 Shorebreeze Ct
East Palo Alto, CA 94303



Lucia Leal
297 Chenery St
San Francisc, CA 94131



Lucien Hollins
1216 E Vista Del Cerro Dr Apt 1014
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 967 of
                                        1568
Lucky Landsverk
479 Naples Street
San Francisco, CA 94112



Lucy Hsu
555 Benvenue Ave.
Los Altos, CA 94024



Lucy im
801 Minnesota, 19
san francisco, CA 94107



Lucy Wright
495 Toft St
Mountain View, CA 94041



Lucya Koroleva
1388 Gough St #1203
San Francisco, CA 94109



Lucyna Boyle
2446 E Hope St
Mesa, AZ 85213



Ludwig Dittler
350 Velarde St
Mountain View, CA 94041



Luis Ibarra
1115 E Lenor St
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 968 of
                                        1568
Luis Lorenzotti
33-20 48th Ave
Long Island City, NY 11101



Luis Medina
1050 S Terrace Rd
Apt 2002
Tempe, AZ 85281



Luis Moreno
1312 Willow St.
Austin, TX 78702



Luis Santilla
1328 84th Ave
Oakland, CA 94621



Luise Hipolito
1314 Lausuen Dr.
Millbrae, CA 94030



Luise Jones
1780 Pine Ave
Petauluma, CA 94954



Luka Mullen
588 Page St
San Francisco, CA 94117



Lukas Flenner
529, 44th st
Oakland, CA 94609




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 969 of
                                        1568
Luke Burgtorf
6640 Madison
Taylor, MI 48180



Luke Allen
1175 Park Place #106
San Mateo, CA 94403



Luke Hatch
390 W. Columbia Rd.
Thousand Oaks, CA 91360



Luke Jacobs
44963 Sondra
Belleville, MI 48111



Luke Keyes
11803 Dove Haven Drive
Austin, TX 78753



Luke Kung
3297 Vin Santo Lane
San Jose, CA 95054



Luke Matthys
1225 Balboa Ave.
Burlingame, CA 94010



Luke Matthys & Marily Good JNT TEN
1225 Balboa Ave.
Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 970 of
                                        1568
Luke Mullen
3420 Bay Rd
Redwood City, CA 94063



Luke O'Malley
275 Hawthorne Ave, Apt. 203
Palo Alto, CA 94301



Luke Pan
426 W Thunderhill Dr.
Phoenix, AZ 85045



Luke Raymer
3110 Phelau Way
Pittsburgh, PA 15219



Luke Stangel
1543 Lincoln Ave
San Jose, CA 95125



Luke Stevens
1091 Calcot Pl. #216
Oakland, CA 94606



Luke Williamson
2607 Sunflower Trail
Copperas Cove, TX 76522



Luke Winterstein
3257 E. University Dr.
Mesa, AZ 85213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 971 of
                                        1568
Luke Zito
1011 Union St. Apt. 2
San Francisco, CA 94133



Lulu Ren
2085 Denise Dr
Santa Clara, CA 95050



Lumio LLC
8 Gallagher Lane
San Francisco, CA 94103



Luther Patenge
635 Ellis Street, Apt 401
San Francisco, CA 94109



Lydia Bellevue
243 Greene Avenue, #2
Brooklyn, NY 11238



Lydia Bestul
6022 Broad Street
Pittsburgh, PA 15206



Lydia Harry
1050 Borregas Ave. Apt.92
Sunnyvale, CA 94089



Lyle Chamberlain
2359 1/2 Tilbury Ave.
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 972 of
                                        1568
Lyle Franklin
1111 Pine St., Apt. 400
San Francisco, CA 94109



Lyle Hailey
1724 S Sierra Vista Dr.
Tempe, AZ 85281



Lyle Smith
61 Yale Rd
Menlo Park, CA 94025



Lyle Tucker
215 Main Street Apt2
Romeo, MI 48065



Lyn Azevedo
216 Rodonovan Drive
Santa Clara, CA 95051



Lynden Johnson
941 Delbert Way
San Jose, CA 95126



Lynette Jarrette
16822 S. 15th Ave
Phx, AZ 85045



Lynn Bodell
107 Reservoir Rd
Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 973 of
                                        1568
Lynn caldwell
1990 josephine drive
san jose, CA 95126



Lynn Fernandez
743 S Granada St
Arlington, VA 22204



Lynn Jepsen
651 Scott St
San Francisco, CA 94117



Lynn McGraw
674 Applewood Dr.
Saint Louis, MO 63122



Lynn McLeod
26950 Orchard Hill Ln
Los Altos Hills, CA 91011



Lynn Rosen
261 N. Glenhurst
Bloomfield Hills, MI 48301



Lynn Skora
1503 North Village Road
Reston, VA 20194



Lynn Wu
526 E Santa Inez Ave.
San Mateo, CA 94401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 974 of
                                        1568
Lynne Avadenka
26116 York
Huntington Woods, MI 48070



Lynne Angeloro
1813 Channing Ave
Palo Alto, CA 94303



Lynne Freeman
355 Bryant St Unit 110
San Francisco, CA 94107



Lynne Irvin
1354 N. Sheridan Ave.
Pittsburgh, PA 15206



M Khong & H Khong
1343 W Roadrunner Dr
Chandler, AZ 85286



M. Gilligan Designs
956 Milton St.
Pittsburgh, PA 15218



Maansi Desai
1962 11th Avenue
San Francisco, CA 94116



Maayan Zuniga
1840 Alford Ave.
Los Altos, CA 94024




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 975 of
                                        1568
Mabel Fong
10570 White Fir Court
Cupertino, CA 95014



Mabel Owen
17001 Springlake Drive
Dripping Springs, TX 78620



Mac Garrison
3812 12th St S
Arlington, VA 22204



Mac McJunkin
1853 Embarcadero 2B
Oakland, CA 94606



MacColl Nicolson
3280 South Debbie st
Flagstaff, AZ 86005



Machinery Finance Resources
PO BOX 858178
MINNEAPOLIS,, MN 55485-8178



Mack Lutz
708 S. Negley Ave., Apt 2
Pittsburgh, PA 15232



Mackenna Donahue
637 Collins Ave
Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 976 of
                                        1568
Mackenzie Cowell
690 Pennsylvania ave #120
San Francisco, CA 94107



Mackenzie Ross
8210 Bent Tree Rd APT 106
Austin, TX 78759



Maclain Bonfield
11438 S. 45th Ct
Phoenix, AZ 85044



MADCO Welding Supply Company Inc
1988 Old Middlefield Way
Mountain View, CA 94043



Maddie Howell
4202 E Ravenswood
Gilbert, AZ 85298



Maddison Hovestadt
180 Buckingham Ave #223
Redwood City, CA 94063



Maddison Hovestadt_V
299 Franklin St. Unit 531
Redwood City, CA 94063



Maddy Cika
109 E Broadway Rd
Tempe, AZ 85282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 977 of
                                        1568
Madeline Beaver
1342 Hillcrest Ct
San Jose, CA 95120



Madeline Boatwright
739 Pecan Way
Campbell, CA 95008



Madeline Kistler
66 Spring St
Marion, MA 02738



Madeline Zehner
738 Henrietta Ave
Sunnyvale, CA 94086



Madison Ethington
1142 E. Lynx
Chandler, AZ 85249



Madison Evans
1645 Hawkins Cove Trail
Roswell, GA 30076



Maged Nabawy
3400 Stevenson Blvd., Unit D32
San Francisco, CA 94110



Maggie Porter
18740 Grey Ave
Allen Park, MI 48101




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 978 of
                                        1568
Maggie Blatnick
1281 Holly St
Westmoreland City, PA 15692



Maggie Grabmeier
670 De Haro St
San Francisco, CA 94107



Maggie Porter
18740 Grey Ave
Allen Park, MI 48101



Mahmoud Abou-Nasr
501 Delaford Ct
Canton, MI 48188



Mai Nguyen
1477 Ernestine Lane
Mountain View, CA 94040



Maia Adar
706 Chimalus Dr
Palo Alto, CA 94306



Maia Jacobson
2391 Downing Ave.
San Jose, CA 95128



Maia Stern
602 w willow st
Carbondale, IL 62901




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 979 of
                                        1568
Maite Teran
3225 Upper Lock Ave.
Belmont, CA 94002



Maiya Skye
1825 7th Street NW #312
Washington, DC 20001



Maja Watte
36 Circle Road
Redwood City, CA 94062



Majd Taby
14 Dolores Terrace
San Francisco, CA 94110



Makram Fehri
7016 Longwood rd
Canton, MI 48187



Malcolm Knapp
1435 Martin Luther King Jr Way #3
Berkeley, CA 94706



Malcolm McLane
2108 West Cortez Place
Chandler, AZ 85224



Malissa Smith
370 Ashton Ave.
San Francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 980 of
                                        1568
Mallory Kato
5266 Camden Ave
San Jose, CA 95124



Malorie Coughlin
37934 Greenwich
Clinton TWP, MI 48036



Man-Fai Tam
10109 Marshall Canyon Ct
Dublin, CA 94568



Mandar Joshi
19950 Bonnie Ridge Way
Saratoga, CA 95070



MANDIMBY RAHARISON
2700 Pleasantdale Rd, Apt 204
Vienna, VA 22180



Mandira Sareen
1322 Half Street SW Apt 201
Washington, DC 20024



Mandy Brady
5350 Fetter Road
San Jose, CA 95132



Mandy Kendall
215 Grant Ave. Apt. 1
Millvale, PA 15209




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 981 of
                                        1568
Mani Kulasooriya
170 Sunrise Dr.
Woodside, CA 94062



Manidipa Basu
60 South Market Street, Suite 150
San Jose, CA 95113



Manish Gupta
482 Thompson Ave
Mountain View, CA 94043



Manny DeBattista
3965 Jefferson Ave
Emerald Hills, CA 94062



Manny Debattista
3965 Jefferson Ave.
Emerald Hills, CA 94062



Manpreet Bajwa
23139 Sagebrush
Novi, MI 48375



Manuel Flamerich
986 La Mesa Terrace #E
Sunnyvale, CA 94086



Manuel Rodriguez
1701 E. 8th St.
Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 982 of
                                        1568
Mara Beardmore
292 Laquesta Dr
Danville, CA 94526



Marat Nepomnyashy
PO Box 610322
San Jose, CA 95161



Marc Augustine
2610 Windy Hill Road
Durham, NC 27703



MARC BODMER
3731 24TH ST
SAN FRANCISCO, CA 94114



Marc Boechat
10368 B Haven Ave.
Redwood City, CA 94063



Marc Davis
1404 Alta Vista Ave
Austin, TX 78704



Marc DeAngelis
128 S. Aberdeen St.
Arlington, VA 22204



Marc Dubresson
2885 Sanford Ave. SW #16497
Grandville, MI 49418




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 983 of
                                        1568
Marc Finley
2100 Sidney St
Saint Louis, MO 63104



Marc Fong
148 Central Ave #2
San Francisco, CA 94117



Marc Fong
148 Central Ave #2, ----
San Francisco, CA 94117



Marc Kreidler
645 E. McKinley Ave
Sunnyvale, CA 94086



Marc Mainville
1681 Lochmoor Blvd
groosepoint woods, MI 48236



Marc Paust
10572 N 79th Street
Scottsdale, AZ 85258



Marc Piche
1725 Noe Street
San Francisco, CA 94131



Marc Reed
1401 Baronets Trl
Austin, TX 78753




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 984 of
                                        1568
Marc Reed
1401 Baronets Trl
Austin, TX 78621



Marc Taylor
95 Park Terrace East Apt AC
New York, NY 10034



Marc Warsowe
456 St. Francis St.
Redwood City, CA 94062



Marc Williams
441 Nolden Ave
San Jose, CA 95117



Marcela Cabrera
199 montecito ave #209
oakland, CA 94610



Marcelle Bolding
1018 4th Avenue, APT 304
Oakland, CA 94606



Marcelo Pando
11823 N 76th Way
Scottsdale, AZ 85260



Marcia Makarenko
9471 E. Orange Grove
Florence, AZ 85132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 985 of
                                        1568
Marcial Sanchez
1207 Dove Haven Dr
Pflugerville, TX 78660



Marcie   Bolyard
42375 Woodwind Ln
Canton, MI 48188



Marcie Anne S Sayoc
1586 9th Ave.
San Francisco, CA 94122



Marcie Sayoc
1586 9th Ave.
San Francisco, CA 94122



Marcile Miller
47447 San Clemente Terr
Fremont, CA 94539



Marco Manuelian
89 Shearer Dr
Atherton, CA 94027



Marco Mularoni
2007 E. Rock Wren Rd.
Phoenix, AZ 85048



Marcos Perez
1251 E. Vine Ave.
Mesa, AZ 85204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 986 of
                                        1568
Marcos Ruelas
20 S. 2ND ST. Unit 331
San Jose, CA 95113



Marcus Barriga
3510 W Fillmore
Phoenix, AZ 85009



Marcus Branch
133 Franklin Ave
Pittsburgh, PA 15221



Marcus Garcia
1196 E. Canyon Creek Dr.
Gilbert, AZ 85295



Marcus Garcia
1196 E Canyon Creek Dr
Gilbert, AZ 85295



Marcus Garcia_V
1196 E. Canyon Creek Dr.
Gilbert, AZ 85295



Marcus Hertlein
1347 N Redwood Ave.
San Jose, CA 95128



Marcus Keiper
3282 North Bridgepointe Lane
Dublin, CA 94568




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 987 of
                                        1568
Marcus Lloyd
1901 Sky High Dr.
New Brighton, MN 55112



Marcus Lopez
317 Epiphany Lane
Pflugerville, TX 78660



Marcus Merideth
33707 Glen Street
Westland, MI 48186



Marcus Najac
5745 S Raven
Mesa, AZ 85212



Marcus Ponce
1028 56th Street
Oakland, CA 94608



Marcus Ulrich
6812 Meade St #2
Pittsburgh, PA 15208



Mareike Vellandi
941 Hesters Crossing Rd
Round Rock, TX 78681



Marek Travnikar
110 San Antonio Street
Austin, TX 78701




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 988 of
                                        1568
Margaret Atmar
1738 Indian Way
Oakland, CA 94611



Margaret Cottingham
333 Harrison St.
San Francisco, CA 94105



Margaret Denelsbeck
1122 Woodbourne Ave
Pittsburgh, PA 15226



Margaret Hanson
18802 Nathans Pl
Montgomery Village, MD 20886



Margaret Jerene
3721 Fruitvale Ave #D
Oakland, CA 94602



Margaret Mason
2336 Sylvan Ln
Glendale, CA 91208



Margaret Mateer
5417 Bartlett St
Pittsburgh, PA 15217



Margaret Woodlief
2315 Bright Future Way
Raleigh, NC 27614




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 989 of
                                        1568
Margariette Hoomes
4805 Shady Waters Lane
Birmingham, AL 35243



Margarita Ganeva
6006 Claremont Ave.
Oakland, CA 94618



Margarita Kleibel
4430 Albany Dr, Apt 86
San Jose, CA 95129



Margaux Capo
711 Post St.
San Francisco, CA 94109



Margery Challenger-Lee
4285 Payne Ave. Unit 10201
San Jose, CA 95117



Margie Mathewson
210 Murlaga Ave Apt
Mountain View, CA 94043



Margie Saurenman
6337 Southwood Ave 3W
Clayton, MO 63105



Margo Whitt
17 Bull Elk Run
Cloudcroft, NM 88317




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 990 of
                                        1568
Marguerite Cardinal
1132 Kayellen Ct
San Jose, CA 95125



Mari Izumikawa
660 King Street, Unit 463
San Francisco, CA 94107



Maria Sam
10386 Somerset Court
Cupertino, CA 95014



Maria Banghart
400 Buttercup Lane
Pleasant Hill, CA 94523



Maria Bernard
2390 E. Derringer Way
CHandler, AZ 85286



Maria Bornski
3770 Flora Vista #103
Santa Clara, CA 95051



Maria Collado
1045 Noel Dr.
Menlo Park, CA 94025



Maria Dalalo
PO Box 53146
San Jose, CA 53372




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 991 of
                                        1568
Maria Hernandez
4704 23rd St. N
Arlington, VA 22207



Maria McCormac
928 Rose Ave.
Redwood City, CA 94063



Maria Melo Bento
302 Pecan Dr.
Austin, TX 78753



Maria Montenegro
121 S. Highland Ave.ap.505
pittsburgh, PA 15206



Maria Munto-Garrigos
2464 CRYSTAL DR
SANTA CLARA, CA 95051



Maria Negrete
2301 Bailey Ave.
San Jose, CA 95128



Maria Prus
2428 Mill Grove Road
Pittsburgh, PA 15241



Maria Veronica Aponte
1220 E Medolock Dr.
Apt 206
Phoenix, AZ 85014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 992 of
                                        1568
MariaAna Robertson
33255 Lark Way
Fremont, CA 94555



Mariam khalil
3900 Adeline Street unit109
Emeryville, CA 94608



Mariana Folberg
327 ordway st
san francisco, CA 94134



Marianna Marrone
3011 Covington Place
Round Rock, TX 78681



Marianne Walton
4100 Laclede Ave Unite 301
Saint Louis, MO 63108



Marianne Sarette
1602 W. Browning Way
Chandler, AZ 85286



Maricopa County Treasurer
P.O. Box 52133
Phoenix, AZ 85072-2133



Marie Brooks
82 Alfred St
Detroit, MI 48201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 993 of
                                        1568
Marie Dennis
11820 Tesson Ferry Rd, Ste 203
Saint Louis, MO 63128



Marie Herring
22 Arch St. Unit 4
REDWOOD CITY, CA 94062



Marie Lambert
420 Alberto Way, Unit 41
Los Gatos, CA 95032



Marie Lo
1000 South Rd Apt 12
Belmont, CA 94002



Marie McNeely
7019 Pernod Ave.
Saint Louis, MO 63139



Marie Pelzlova
700 Walnut Stree 3
San Carlos, CA 94070



Mariel Sokolov
6169 Waterman
Saint Louis, MO 63112



Mariela Montero
1510 Union St. #8
San Francisco, CA 94123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 994 of
                                        1568
Mariela Montero
1510 Union Street, APT 8
Apt No: 8
San Francisco, CA 94109



Marilia Poggiali
315 Russia Ave #3
San Francisco, CA 94112



Marilyn Early
128 College Ave
Mountain View, CA 94040



Marilyn Early_V
128 College Ave.
Mountain View, CA 94040



Marilyn Everett
PO Box 2371
Los Gatos, CA 95031



Marilyn Manriquez
3941 W. Alice Ave.
Phoenix, AZ 85051



Marilyn Wong
996 Whitecomb Ct
Milpitas, CA 95035



Marina Paz
4054 Crawford Circle
San Jose, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 995 of
                                        1568
Mario Giron
125 S. Dobson Rd. Apt #1095
Chandler, AZ 85224



Mario Lara
3809 Canyon Ridge Dr
San Jose, CA 95148



Mario Vellandi
941 Hesters Crossing Rd #1301
Round Rock, TX 78681



Marisa Rheem
8016 Shepherd Canyon Road
Oakland, CA 94611



Marissa Pimentel
328 North Market St #237
San Jose, CA 95110



Marita Ogden
2437 S Jen Tilly Lane
Tempe, AZ 85282



Maritza Fuerte
820 Buttercup Cir.
Galt, CA 95632



Marjorie Carlson
5911 Hobart St
Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 996 of
                                        1568
Marjorie Drake
6388 Buena Vista Dr. #B
Newark, CA 94560



Marjorie Gonzalez
713 South I Street
Livermore, CA 94550



Marjorie Mountainsong
3380 Kincaid St.
Eugene, OR 97405



Marjorie Risk
7734 E. Billings Street
Mesa, AZ 85207



Mark A Pizarek
216 Rodonovan Drive
Santa Clara, CA 95051



Mark Cuddihy
32975 West Rd
New Boston, MI 48164



Mark Dano
629 S 2nd Street Apt #4
San Jose, CA 95112



Mark Doty
2679 Icard Rhodhiss Rd
Connelly Springs, NC 28612




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 997 of
                                        1568
Mark Kirschenbaum
2211 W. Shannon St.
Chandler, AZ 85224



Mark Lopez
1417 Circle Drive
Round Rock, TX 78664



Mark Mudri
509 E Palmer
Detroit, MI 48202



Mark Mullen
500 Filmore #302
San Francisco, CA 94117



Mark Muntean
214 Cerrito Avenue
Redwood City, CA 94061



Mark Rockwell
2352 6th St.
Wyandotte, MI 48192



Mark Rozhin
651 Briar Ranch Lane
San Jose, CA 95120



Mark Shoffner
88 Turquoise Way
San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 998 of
                                        1568
Mark A Kluge
29145 Cambridge St.
Flat Rock, MI 48134



Mark Acquaviva
34678 Greentrees
Sterling Heights, MI 48312



Mark Andrew Huie
1675 Martin Ave.
Sunnyvale, CA 94087



Mark Astorino
4648 West Earhart Way
Chandler, AZ 85226



Mark Benavides
1329 Amistad Drive
Round Rock, TX 78664



Mark Bowman
697 Moraga
Livermore, CA 94550



Mark Boyer
58 Treehaven Dr.
San Rafael, CA 94901



Mark Bunger
1743 17th Avenue
San Francisco, CA 94122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 999 of
                                        1568
 Mark Carpenter
 8610 Becker
 Allen Park, MI 48101



 Mark Carpenter
 33606 Hillcrest Dr.
 Farmington, MI 48335



 Mark Crawford
 13858 Wiading Pond W
 Belleville, MI 48111



 Mark Curtis
 655 South Fair Oaks Ave
 Sunnyvale, CA 95051



 Mark Davis
 1200 Rice Ave
 Cedar Park, TX 78613



 Mark Dawson
 801 E McKellips Rd Apt 28-D
 Tempe, AZ 85281



 Mark Dearth
 1434 Dacosta
 Dearborn, MI 48128



 Mark Dehner
 PO Box 411828
 Kansas City, MO 64141




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1000 of
                                        1568
 Mark Dietzel
 301 S Benton
 New Athens, IL 62264



 Mark Dineson
 6301 W Linda Ln
 Chandler, AZ 85226



 Mark Donohoe
 7205 Dorset Ave.
 St. Louis, MO 63130



 Mark Draghicescu
 2023 NW Lovejoy St
 Portland, OR 97209



 Mark Drake
 710 W Loughlin Dr
 Chandler, AZ 85225



 Mark Duncan
 1765 Hudson Dr
 San Jose, CA 95124



 Mark Dunger
 33 Frontenac Estates Dr
 Frontenac, MO 63131



 Mark Edelman
 42668 Lerwick Street
 Fremont, CA 94539




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1001 of
                                        1568
 Mark Ellis
 4435 Center Ave.
 Richmond, CA 94804



 Mark Emanuel
 228 Berryessa Pass
 Austin, TX 78732



 Mark Erickson
 2703 South Court
 Palo Alto, CA 94306



 Mark Fairclaugh
 5471 Kincaid St
 Pittsburgh, PA 15206



 Mark Fenwick
 154 Bonny St.
 Mountain View, CA 94043



 Mark Fiorenza
 9617 Great Hills Trail #1736
 Austin, TX 78759



 Mark Flaa
 1081 Carolyn Ave
 San Jose, CA 95125



 Mark Freeland
 PO Box 193
 Keego Harbor, MI 48320




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1002 of
                                        1568
 Mark Girard
 22059 Cherrylawn Dr.
 Brownstown, MI 48134



 Mark Goergen
 4825 Regiment Court
 Woodbidge, VA 22193



 Mark Grant
 P.O. Box 306
 Chinle, AZ 86503



 Mark Gray
 5274 26th st N
 Arlington, VA 22207



 Mark Greeno
 2924 Advance Dr.
 Florissant, MO 63031



 Mark Guzak
 810 W. Jerome Cir.
 Mesa, AZ 85210



 Mark Hale
 370 Jackson St
 San Jose, CA 95112



 Mark Hamilton
 1765 Whispering Willow Pl.
 San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1003 of
                                        1568
 Mark Hammond
 1515 Oxford St. #2C
 Berkeley, CA 94709



 Mark Harris
 4105 Dauphine Dr
 Austin, TX 78727



 Mark Hatch
 390 W. Columbia Road
 Thousand Oaks, CA 94025



 Mark Hellar
 2140 20th St, apt 6
 SAN FRANCISCO, CA 94107



 Mark Howards
 32 N. Prospect St.
 Amherst, MA 01002



 Mark Huie
 1675 Martin Ave.
 Sunnyvale, CA 94087



 Mark Isaac Hammond
 1515 Oxford St. #2C
 Berkeley, CA 94709



 Mark J Johnson
 3814 Jarrett Way
 Austin, TX 78728




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1004 of
                                        1568
 Mark James
 1105 Vernon Terrace
 San Mateo, CA 94402



 Mark Jaremko
 407 Costa Rica Avenue
 San Mateo, CA 94402



 Mark Jreissaty
 22012 Wisonsin Ave NW
 Washington, DC 20007



 Mark Kahrhoff
 108 Portland Terrace
 Webster Groves, MO 63119



 Mark Kelley
 1100 Wild Basin Ledge
 Austin, TX 78746



 Mark Knudsen
 1088 El Solyo Avenue
 Campbell, CA 95008



 Mark Kooy
 3461 W Baylor Ln
 Chandler, AZ 85226



 Mark Krawczuk
 3041 Mission St.
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1005 of
                                        1568
 Mark Kreis
 15 Robinson Drive
 San Francisco, CA 94112



 Mark Larus
 48 Cumberland St
 San Francisco, CA 94110



 Mark Levatich
 PoBox 4073
 Burlingame, CA 94110



 Mark Liu
 1331 44th Ave
 San Francisco, CA 94122



 Mark Longley
 321 Scott St
 Livermore, CA 94551



 Mark Lottor
 10 Cathy Pl
 Menlo Park, CA 94025



 Mark Maaske
 4860 Clydelle Ave
 San Jose, CA 95124



 Mark Mackenzie
 10646 Wunderlick Drive
 Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1006 of
                                        1568
 Mark Majdanski
 900 Folsom Street Apt 452
 San Francisco, CA 94107



 Mark Martinez
 5832 Shreveport Dr
 Austin, TX 78727



 Mark Marzona
 4528 19th St
 San Francisco, CA 94114



 Mark MBAPPOU
 835 turk st.
 San Francisco, CA 94102



 Mark McBride
 172 Park Ave
 Palo Alto, CA 94306



 Mark Mccormick
 100 43rd st studio 214
 pittsburgh, PA 15201



 Mark Meaut Mullen
 500 Filmore #302
 San Francisco, CA 94117



 Mark Mendenhall
 317 W. Laguna Dr
 Tempe, AZ 85282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1007 of
                                        1568
 Mark Mendenhall
 317 W Laguna
 Tempe, AZ 85282



 Mark Merrill
 91 Wilburn Ave.
 Atherton, CA 94027



 Mark Moore
 1340 Bent Drive
 Campbell, CA 95008



 Mark Muendelein
 1691 Lederer Circle
 San Jose, CA 95131



 Mark Murphy
 12820 Valley Hill St
 Woodbridge, VA 22192



 Mark Nathans
 1266 W. Stanford Ave.
 Gilbert, AZ 85233



 Mark Negrete
 2301 Bailey Ave
 San Jose, CA 95128



 Mark Nestegard
 7386 Coldwater Cyn
 Austin, TX 78730




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1008 of
                                        1568
 Mark Norwood
 1055 S Taylor
 St Louis, MO 63110



 Mark O'Leary
 631 O'Farrell St Apt 302
 San Francisco, CA 94109



 Mark Odom
 11117 Edgecomb Cv
 Austin, TX 78737



 Mark Ott
 12330 Little Emily Way
 Austin, TX 78753



 Mark Patrick
 401 e st se, WASHINGTON, DC
 Washington, DC 20003



 Mark Pavlyukovskyy
 720 Arkansas St
 San Francisco, CA 94107



 Mark Peschiutta
 2685 Munster Rd
 Rochester Hills, MI 48309



 Mark Pimentel
 537 Bear Paw Lane, South
 Colorado Springs, CO 80906-3216




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1009 of
                                        1568
 Mark Pizarek
 216 Rodonovan Drive
 Santa Clara, CA 95051



 Mark Prus
 2428 Millgrove Road
 Pittsburgh, PA 15241



 Mark Riegel
 1118 Elko Dr
 Sunnyvale, CA 94089



 Mark Robinson
 18486 Southampton St
 Livonia, MI 48152



 Mark Rogers
 3043 S. 81st Circle
 Mesa, AZ 85212



 Mark Saba
 2182 E Tonto Place
 Chandler, AZ 85249



 Mark Schmick
 1380 Masonic Ave #1
 San Francisco, CA 94117



 Mark Schmidt
 35 Wilson Street - Suite 201
 Pittsburgh, PA 15223




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1010 of
                                        1568
 Mark Seiden
 1920 Bishop Rd
 Belmont, CA 94002



 Mark Seidenstricker
 939 Orr Street
 Pacific, MO 63069



 Mark Sellan
 5219 Lindenwood Ave.
 St. Louis, MO 63109



 Mark Shuck
 7012 Armagh Dr.
 Austin, TX 78754



 Mark Simpson
 3860 Harvest drive
 Redwood City, CA 94061



 Mark Smith
 2448 liberty Street.
 Canton, MI 48188



 Mark Sochan
 9539 Via Del Cielo
 Gilroy, CA 95020



 Mark Sparks
 300 Bayside Ct
 Glen Carbon, IL 62034




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1011 of
                                        1568
 Mark Stevens
 800 W. Queen Creek #1012
 Chandler, AZ 85224



 Mark Stodter
 1150 Ripley Street Apt 407
 Silver Spring, MD 20910



 Mark Streeter
 3133 Casa de Campo Apt 301
 San Mateo, CA 94403



 Mark Sundt
 170 Blackrock Lane
 Weldon Spring, MO 63304



 Mark T Hamilton
 1765 Whispering Willow Pl.
 San Jose, CA 95125



 Mark Towfiq
 3493 South CT
 Palo Alto, CA 94306



 Mark Tsuchida
 1030 El Monte Ave Apt 12
 Mountain View, CA 94040



 Mark Verbeck
 736 Oakview Way
 Emerald Hills, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1012 of
                                        1568
 Mark Volmer
 45 Kingsbury Place
 St. Louis, MO 63112



 Mark Wagner
 530 University Ave #6
 Los Gatos, CA 95032



 Mark Welch
 151 Calderon Ave Apt 326
 Mountain View, CA 94041



 Mark Wetzel
 1700 Chula Vista
 Cedar Park, TX 78613



 Mark Wheeler
 1318 Guerrero St.
 San Francisco, CA 94110



 Mark Woon
 390 Juanita Way
 Los Altos, CA 94022



 Mark Yamazaki
 43808 Frederkburg
 canton, MI 48188



 Mark_D Kelley
 653a minna street
 san francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1013 of
                                        1568
 Markanthony Rivera
 328 N. 15th St
 San Jose, CA 95112



 Marko Haarma
 3456 s valerie dr
 Chandler, AZ 85286



 Markus Roskothen
 2538 Humboldt Avenue
 Oakland, CA 94601



 Marla Erwin
 507 n kirkland
 brusly, LA 70719



 Marla Parker
 730 Bicknell Rd
 Los Gatos, CA 95030



 Marlow Weston
 1705 O'Callahan Drive
 Austin, TX 78748



 Marn-Yee Lee
 1850 Montecito Avenue
 Mountain View, CA 94043



 Marnia Johnston
 1807 Oakmead Dr.
 Concord, CA 94520




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1014 of
                                        1568
 Marsha Droz
 9301 Beck
 Plymouth twp, MI 48170



 Marsha Gastwirth
 10646 Wunderlick
 Cupertino, CA 95014



 Marshall Strouse
 426 Streeker Road
 Wildwood, MO 63011



 Marshall Corso
 32099 N Thompson Rd
 Queen Creek, AZ 85142



 Marshall Strouse
 426 Strecker Road
 Wildwood, MO 63011



 Marta Ali
 902 WOLFE ST
 ALEXANDRIA, VA 22314



 Marta Carrillo
 18690 Westview Drive
 Saratoga, CA 95070



 Martha Merrill
 4222 Coleridge St
 Pittsburgh, PA 15201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1015 of
                                        1568
 Martha Phelps
 1532 Florida St
 San Francisco, CA 94110



 Martha Simmons
 19 Kimmie Ct
 Belmont, CA 94002



 Marti Brickner
 10926 Jollyville Rd, 101
 Austin, TX 78759



 Martin Abresch
 1216 W 6th St
 Tempe, AZ 85281



 Martin Arthur
 15450 FM 1325 Apt 2124
 Austin, TX 78728



 Martin Baladon
 1212 Whipple Avenue #205
 Redwood City, CA 94062



 Martin Bogomolni
 12227 Tanglewild Dr
 Austin, TX 78758



 Martin Casey
 755 William Pitt Way
 Pittsburgh, PA 15238




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1016 of
                                        1568
 Martin Chavez
 1056 E. San Fernando St.
 San Jose, CA 95116



 Martin Chavez
 688 S Roca
 Gilbert, AZ 85296



 Martin Derry
 29609 Oakview St.
 Livonia, MI 48154



 Martin Elthon
 404 E Broad St
 Falls Church, VA 22046



 Martin Gaerttner
 2601 Detroit St
 Dearborn, MI 48124



 Martin Geisler
 11300 Hartland St
 North Hollywood, CA 91605



 Martin Hudson
 2935 Garfield Street NW
 Washington, DC 20008



 Martin Hudson
 1270 N Firehouse Court
 Chandler, AZ 85224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1017 of
                                        1568
 Martin Kazinski
 369 Bellevue Ave. 401
 Oakland, CA 94610



 Martin Lee
 392 N Murphy Ave
 Sunnyvale, CA 94085



 Martin Lippincott
 1249 E. Spence Ave. Apt. 241
 Tempe, AZ 85281



 Martin Magana
 380 Northlake Drive #5
 San Jose, CA 95117



 Martin Sweat
 4163 South Four Mile Run Drive, Unit 402
 Arlington, VA 22204



 Martin Wasserman
 1812 Sand Hill Rd #405
 Palo Alto, CA 94304



 Martina Bucciantonio
 2516A Nason Ave
 El Cerrito, CA 94530



 Martina Wiesner
 30 2 Rita Ln
 Chandler, AZ 85226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1018 of
                                        1568
 Martine Neider
 747 55th st
 Oakland, CA 94609



 Martins Bluzma
 180 E. William St
 San Jose, CA 95112



 Marty Keeter
 317 N. Prospect
 ypsilanti, MI 48198



 Marty Swartz
 7723 Abbott Street
 Pittsburgh, PA 15221



 Marv Wachendorf
 2223 E. San Tan Street
 Chandler, AZ 85225



 Marvalisa Coley
 2904 4th St, Apt 1
 Trenton, MI 48183



 Marvin Garcia
 2499 Borren Dr
 San Jose, CA 95121



 Marvin Kraska
 24830 Richmond
 Dearborn, MI 48124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1019 of
                                        1568
 Marvin Nguyen
 165 Blosson Hill Rd. Sp. 54
 San jose, CA 95123



 Mary Beck
 1300 Crystal Drive #802
 Arlington, VA 22202



 Mary Telling
 386 Richland Ave
 San Francisco, CA 94110



 Mary Whitt-Dinkins
 18687 George Washington
 Southfield, MI 48075



 Mary Albitz
 1314 Kentfield Ave.
 Redwood City, CA 94061



 Mary Angela Rae Tolosa
 23 Maywood Ave
 Daly City, CA 94015



 Mary Banach
 4274 Shenandoah ave.
 St. Louis, MO 63110



 Mary Chavez
 688 S Roca
 Gilbert, AZ 85296




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1020 of
                                        1568
 Mary Echevarria
 119 12th Avenue
 San Mateo, CA 94402



 Mary Ellen Coe
 2163 East Firestone Dr.
 Chandler, AZ 85249



 Mary Flynn
 4114 Blackthorn St.
 Chevy Chase, MD 20815



 Mary Garrison
 3812 12th St S
 Arlington, VA 22204



 Mary Gerbic
 2280 Paul Minnie Ct
 Santa Cruz, CA 95062



 Mary Harrington
 4208 George Ave #2
 San Mateo, CA 94403



 Mary Javadi
 350 River Oaks Parkway, apt 1206
 San jose, CA 95134



 Mary Jo Richardson
 6403 Windwood Dr.
 College Station, TX 77845




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1021 of
                                        1568
 Mary Lovering
 6323 Cavalier Corridor
 Falls Church, VA 22044



 Mary MacDougal
 8400 Lakewood Dr
 Raleigh, NC 27613



 Mary March
 146 1/2 Noe St
 San Francisco, CA 94114



 Mary Mason
 5393 Royal Vale Lane
 Dearborn, MI 48126



 Mary Olson and Christopher Friesen
 662 Bryan Ave.
 Sunnyvale, CA 94086



 Mary Parker
 109 Los Patios
 Los Gatos, CA 95032



 Mary Polacek
 1911 Branston Rd.
 Catonsville, MD 21228



 Mary Ruppert-Stroescu
 5501 Waterman Blvd
 St. Louis, MO 63109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1022 of
                                        1568
 Mary Sawvell
 408 W Balsam Drive
 Chandler, AZ 85248



 Mary Schnyder
 7520 E Windsor
 Scottsdale, AZ 85257



 Mary Shaw
 5131 Penton Rd.
 Pittsburgh, PA 15213



 Mary Tabasko
 228 S. Winebiddle Street
 Pittsburgh, PA 15224-1681



 Mary Tolosa
 20 Jacqueline Ct
 Daly City, CA 94014



 Mary Troll
 3420 Commonwealth Ave
 Maplewood, MO 63143



 Mary Walker
 1322 West Selby lane
 Redwood City, CA 94061



 Maryann Hinden
 3271 Murray Way
 Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1023 of
                                        1568
 MaryAnne Brannigan
 225 Clifton St. #123
 Oakland, CA 94618



 Marybeth Thomson
 1836 Divisadero, Apt 300
 San Francisco, CA 94115



 Marybeth Weider
 4609 25th St
 San Francisco, CA 94114



 MaryEsther Middleton
 7505 Waldon Drive
 Austin, TX 78750



 Masha Sedova
 2250 Jerrold Ave #13
 San Francisco, CA 94124



 Mason Wolak
 5710 Ridge View Dr.
 Alexandria, VA 22310



 Masood Rasooli
 2320 Anna Dr.
 Santa Clara, CA 95050



 Mat Thorne
 2031 Wendover St. Apt 32
 Pittsburgh, PA 15217




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1024 of
                                        1568
 Mathew & Glynis
 1431 Rosalia Ave
 San Jose, CA 95130



 Mathew Jenkinson
 500 Buchanan St #A
 San Francisco, CA 94102



 Mathew Porkola
 1600 Fell St, Apt 105
 San Francisco, CA 94117



 Matias Serebrinsky
 597C Dolores St
 San Francisco, CA 94110



 Matt Cushman
 2844 Laurel View Lave
 Maryland Heights, MO 63043



 Matt Houtekier
 3737 Chevron
 Highland, MI 48356



 Matt Humphries
 119 South 4th Street
 San Jose, CA 95112



 Matt Lepalm
 2544 David
 Melvindale, MI 48122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1025 of
                                        1568
 Matt Pulliam
 PO Box 5805
 Austin, TX 78763



 Matt Reed
 765 Lewiston Ct.
 Sunnyvale, CA 94087



 Matt Aaron
 647 W. Baseline Unit 1099
 Tempe, AZ 85283



 Matt Ackeret
 2751 Benton Street
 Santa Clara, CA 95051



 Matt Alvarado
 6318 E Winchcomb
 Scottsdale, AZ 85254



 Matt and Vanessa Ginzton
 228 San Jose Ave.
 San Francisco, CA 94110



 Matt Berels
 909 E. Dallas
 Madison Heights, MI 48071



 Matt Berger
 1247 Harriet Ave
 Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1026 of
                                        1568
 Matt Berry
 1915 Biltmore St
 Washington, DC 20009



 Matt Blech
 250 E. Chicago Street
 Chandler, AZ 85225



 Matt Bornski
 3770 Flora Vista #103
 Santa Clara, CA 95051



 Matt Buchter
 1744 Hayes St.
 San Francisco, CA 94117



 Matt Bushore
 7271 Plymouth
 Ann Arbor, MI 48105



 Matt Caggiano
 425 W Mountain Sage Dr
 Phoenix, AZ 85045



 Matt Chiste
 4704 23rd St. N
 Arlington, VA 22207



 Matt Claudius
 68 S. 19th St.
 San Jose, CA 95116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1027 of
                                        1568
 Matt Contreras
 202 s. 23rd st.
 san Jose, CA 95116



 Matt Cushman
 2844 Laurel View Lane
 Maryland Heights, MO 63043



 Matt Darrow
 560 8th Ave.
 San Francisco, CA 94133



 Matt Eckerle
 1657 Foxleigh Ct
 Saint Louis, MO 63131



 Matt Eliot
 1322 roxanna rd nw
 washington, DC 20012



 Matt Fellows
 244 Grafton Ave.
 San Francisco, CA 94112



 Matt Feroce
 2028 Constitution blvd.
 Arnold, PA 15068



 Matt Ginzton
 228 San Jose Ave.
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1028 of
                                        1568
 Matt Heck
 3218 West Street
 Oakland, CA 94608



 Matt Herron
 26823 Durham Way
 Hayward, CA 94542



 Matt Highstreet
 7045 Riverside Blvd
 Sacramento, CA 95831



 Matt Hill
 3101 Wilson Blvd Sutie 900
 Arlington, VA 22202



 Matt Hively
 1431 Rosalia Ave
 San Jose, CA 95130



 Matt Ho
 2121 Peralta St. Ste #125
 Oakland, CA 94607



 Matt Johnston
 11 West Glendale Avenue
 Alexandria, VA 22301



 Matt Kim
 122 Roble Road Apt. 308
 Walnut Creek, CA 94597




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1029 of
                                        1568
 Matt Klais
 104 Garland Way
 Waterford, MI 48327



 Matt Lavoie
 8217 Morrell Ln
 Durham, NC 27713



 Matt Lawrence
 1205 GEMINI DR
 AUSTIN, TX 78758



 Matt Leanse
 P.O. Box Q
 Menlo Park, CA 94026



 Matt Liwienski
 29243 Ridgefield
 Warren, MI 48088



 Matt Lyon
 497 36th St.
 Oakland, CA 94608



 Matt Markiewicz
 145 Arkansas St
 San Francisco, CA 94107



 Matt Mastroly
 2121 Victor Street B
 St. Louis, MO 63104




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1030 of
                                        1568
 Matt McEntee
 1310 Delafield Place NW
 Washington, DC 20011



 Matt McLean
 6401 Pleasant Pines Dr
 Raleigh, NC 27613



 Matt Moropoulos_V
 1708 Pine Knoll Drive
 Belmont, CA 94002



 Matt Mullin
 1728 Drake Drive
 Oakland, CA 94611



 Matt Oliveira
 50 Parkridge Dr #5
 San Francisco, CA 94131



 Matt Pace
 805 S. Bogle Ste.4
 Chandler, AZ 85225



 Matt Patane
 53 Octavia St.
 San Francisco94102, CA 94102



 Matt Pintarelli
 18712 Mangan Way
 Pfugerville, TX 78660




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1031 of
                                        1568
 Matt Poley
 2030 rugby Ct.
 Ann Arbor, MI 48103



 Matt Rasmussen
 3049 Market St.
 San Francisco, CA 94114



 Matt Rupp
 8930 Kingsley
 Canton, MI 48187



 Matt Sanchez
 137 Clifford Terrace #5
 San Francisco, CA 94117



 Matt Santelli
 603 Bluestone Rd.
 Durham, NC 27713



 Matt Scanlan
 1640 Kirkham Street, #18
 San Francisco, CA 94122



 Matt Schiller
 988 Franklin St, Apt 1202
 Oakland, CA 94607



 Matt Shindel
 3833 E Carson Rd
 Phoenix, AZ 85042




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1032 of
                                        1568
 Matt Snyder
 16551 Victoria Crossing Drive, unit D
 Grover, MO 63040



 Matt Sonic
 216 Jersey St. #3
 San Francisco, CA 94114



 Matt Stollenwerk
 1300 B Kobbe Ave.
 San Francisco, CA 94129



 Matt Stumpf
 3665 Fillmore Street, Unit 8
 San Francisco, CA 94123



 Matt Summers
 3101 Shoreline Dr
 Austin, TX 78728



 Matt Terry
 10629 Bramblecrest Dr.
 Austin, TX 78726



 Matt Theobald
 4049 26th Street
 San Francisco, CA 94131



 Matt Vana
 205 Beacon St
 San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1033 of
                                        1568
 Matt Walliser
 3956 Casanova Dr
 San Mateo, CA 94403



 Matt Ward
 749 wisconsin St
 San Francisco, CA 94107



 Matt Wicker
 754 S 3rd St
 San Jose, CA 95112



 Matt Zambelli
 209 Canterbury Lane
 Pittsburgh, PA 15137



 Matthew Cross
 4350 Gregory Rd
 Lake Orion, MI 48359



 Matthew Curnen
 407 Mount Vernon Ave
 Alexandria, VA 22301



 Matthew Knudsen
 1262 Stanyan St
 San Francisco, CA 94117



 Matthew Nelson
 5122 Westminster
 Saint Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1034 of
                                        1568
 Matthew Ruffino
 4190 Rochester RD Apt 109
 Royal Oak, MI 48073



 Matthew Wang
 2713 S Beverly Pl
 Chandler, AZ 85286



 Matthew Alexander
 57 Noe St.
 San Francisco, CA 94114



 Matthew Ansley
 195 E Meadows Ct
 Alpharetta, GA 30005



 Matthew Baker
 783 Roble Ave #1
 Menlo Park, CA 94025



 Matthew Beaver
 1342 Hillcrest Ct.
 San Jose, CA 95120



 Matthew Berlin
 1737 Willard St NW, 7
 Washington, DC 20009



 Matthew Birder
 2412 Harrison St #107
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1035 of
                                        1568
 Matthew Birkel
 6425 Penn Ave #700
 Pittsburgh, PA 15206



 Matthew Bozelka
 766 Cedarville Lane
 San Jose, CA 95133



 Matthew Campagna
 254 State Street
 San Mateo, CA 94401



 Matthew Carpenter
 19755 Fry Rd
 Northville, MI 48167



 Matthew Claridge
 402 W.Catalina
 Safford, AZ 85546



 Matthew conway
 911 broderick
 san francisco, CA 94115



 Matthew Cooke
 10500 Lakeline Mall Dr. #4607
 Austin, TX 78717



 Matthew Cooper
 20671 Forge Way #224
 Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1036 of
                                        1568
 Matthew Czapar
 1476 Valencia
 San Francisco, CA 94110



 Matthew Darby
 210 Holladay Ave
 San Francisco, CA 94110



 Matthew Davis
 400 freeira ct
 milipitas, CA 95035



 Matthew Degges
 1412 Cedarmeadow Ct
 San Jose, CA 95131



 Matthew Dowling
 2111 Jefferson Davis Highway
 Arlington, VA 22202



 Matthew Dryer
 4544 Wheeler Dr
 Fremont, CA 94538



 Matthew Ettus
 604 Mariposa Ave.
 Mountain View, CA 94041



 Matthew Evans
 976 Harrison Street
 SAN FRANCISCO, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1037 of
                                        1568
 Matthew Felder
 2800 Waymaker Way #33
 Austin, TX 78746



 Matthew Ferguson
 7022 rhoden ct
 Springfield, VA 22151



 Matthew Frazier
 3835 Ninth St N Apartment 905 East
 Arlington, VA 22203



 Matthew Frerichs
 3310 W Braker Ln Suite 300-922
 Austin, TX 78758



 Matthew Gardner
 803 Folkstone Ave.
 San Mateo, CA 94402



 Matthew Ghabrial
 960 Natoma Street #4
 San francisco, CA 94103



 Matthew Giampapa
 1362 Hollyburne Ave
 Menlo Park, CA 94025



 Matthew Goodsell
 1071 Oak St.
 Hollister, CA 95023




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1038 of
                                        1568
 Matthew Gregory
 2295 Francisco #202
 San Francisco, CA 94123



 Matthew Guerra
 447 22nd ave
 San Mateo, CA 94403



 Matthew Hanson
 1752 N Troy St #688
 Arlington, VA 22201



 Matthew Harrison
 25248 MapleBrook Dr.
 Southfield, MI 48033



 Matthew Hattori
 3917 Picardy Place Ct
 San Jose, CA 95121



 Matthew Hirsch
 1113 W Shawnee Dr
 Chandler, AZ 85224



 Matthew Holzman
 290 Wheeler Ave.
 Redwood City, CA 94061



 Matthew Hourigan
 4289 Beechmont Ave
 San Jose, CA 95136




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1039 of
                                        1568
 Matthew House
 24570 US HWY 281 South
 San Antonio, TX 78264



 Matthew Hung
 62 Wabash Terrace
 San Francisco, CA 94134



 Matthew Jones
 2354 Mission Glen Dr
 Santa Clara, CA 95051



 Matthew Kessler
 6101 Belfast Drive
 Austin, TX 78723



 Matthew Kingham
 19609 E Emperor Blvd
 Queen Creek, AZ 85142



 Matthew Lacey
 212 W Roma Ave
 Phoenix, AZ 85013



 Matthew Lanza
 1412 33rd St. NW
 Washington, DC 20007



 Matthew Larner
 627 Central Ave
 San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1040 of
                                        1568
 Matthew Leacock
 958 Cambridge Ave
 Sunnyvale, CA, CA 94087



 Matthew Leonard
 42 Hibiscus Lane
 Robbinsville, NJ 08691



 Matthew Lepper
 15 Hawthorne Way Apt 305
 San Jose, CA 95110



 Matthew Liao
 12051 Little Patuxent Pkwy
 Columbia, MD 21044



 Matthew MacPhail
 1711 N Fillmore St
 Arlington, VA 22201



 Matthew Malnar
 460 W Canfield St Unit 305
 Detroit, MI 48201



 Matthew McClure
 1755 O'Farrell St.
 San Francisco, CA 94115



 Matthew McPherrin
 587 Burnett ave
 San Francisco, CA 94131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1041 of
                                        1568
 Matthew Mike-Wilson
 1716 Nash ave.
 Pgh, PA 15235



 Matthew Miller
 3704 Dover Ferry Crossing
 Austin, TX 78728



 Matthew Oharen
 60 Belgrave Ave
 San Francisco, CA 94117



 Matthew Oliveira
 50 Park Ridge Dr Apt #5
 San Francisco, CA 94131



 Matthew Patterson
 3309 Eldon Drive
 Imperial, MO 63052



 Matthew Price
 25603 S 188th Pl
 Queen Creek, AZ 85142



 Matthew Randazzo
 4921 Roundtree Dr.
 Campbell, CA 95008



 Matthew Sejnowski
 9016 Yucca Mountain Rd
 Austin, TX 78759




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1042 of
                                        1568
 Matthew Serniotti
 18209 Flathead Dr
 Manor, TX 78653



 Matthew Sikkink
 2407 Ridge Road Dr
 Alexandria, VA 22302



 Matthew Smith
 9301 S. Alder Dr.
 Tempe, AZ 85284



 Matthew Smith
 500 Race Street, Apt 4202
 San Jose, CA 95126



 Matthew Solovay
 9050 Hwy 9, #A
 Ben Lomond, CA 95005



 Matthew Sprague
 45 White Plains Drive
 Chesterfield, MO 63017



 Matthew Stone
 3145 Mission St Apt 3
 San Francisco, CA 94110



 Matthew Sullivan
 1305 Palo Duro Rd
 Austin, TX 78757




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1043 of
                                        1568
 Matthew Tait
 1949 Leitch rd. #1
 FERNDALE, MI 48220



 Matthew Torti
 514 McCandless Ave Apt.2
 Pittsburgh, PA 15201



 Matthew Tran
 902 Blue Bonnet Drive
 Sunnyvale, CA 94086



 Matthew Vaughn
 823 W Kyle Ct
 Gilbert, AZ 85233



 Matthew Verlinich
 124 Mohican Ave.
 Pittsburgh, PA 15237



 Matthew Vincenz
 4323 reno rd nw
 washington, DC 20008



 Matthew Werner
 73 Alvarado Road
 Berkeley, CA 94705



 Matthew Westrick
 1474 Carrington Circle
 San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1044 of
                                        1568
 Matthew Wisnieski
 565 West Campbell Ave.
 Campbell, CA 95008



 Matthew Wright
 1543 Colonial Dr. Apt. 101
 Woodbridge, VA 22192



 Matthew Wright
 1 St. Francis Pl., 3302
 San Francisco, CA 94107



 Matthew Wyczalkowski
 4236 Laclede Ave
 St. Louis, MO 63108



 Matthew Yamasaki
 276 Lexington St. Apt 4
 SAN FRANCISCO, CA 94110



 Matthew Younkins
 4952 Paseo Tranquillo
 San Jose, CA 95118



 Matthias Hanel
 2250 Latham Street, Apartment 70
 Mountain View, CA 94040



 Matthieu Piot
 1950 GalduCole Ave
 San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1045 of
                                        1568
 Maunika Gosike
 953 Indiana St,
 San Francisco, CA 94107



 Maura Schaffer
 10010 Lake Ridge Dr
 Austin, TX 78733



 Maura Visser
 258 Polaris Way
 Daly City, CA 94014



 Maureen Beavers
 1395 Gazdar Court
 Santa Clara, CA 95051



 Maureen OBrian
 540 Franklin Street
 Mountain View, CA 94041



 Maureen Schneider
 7832 Jeanette Ct
 Cupertino, CA 95014



 maurice bey
 516 west 143rd street
 Manhattan, NY 10031



 Maurice Calvendra
 6501 S. McKemy St.
 Tempe, AZ 85283




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1046 of
                                        1568
 Mauricio Echeverry
 5902 Eastern Lake Dr
 San Jose, CA 95123



 Mauricio Echeverry
 920 Foxworthy Ave
 San Jose, CA 95125



 Mauro Segura
 2225 W Frye Road, 1040
 Chandler, AZ 85224



 Max Aredez
 13500 Yoongwood Turn
 Bowie, MD 20715



 Max Belleville
 1708 Via Flores Ct.
 San Jose, CA 95132



 Max Borghino
 290 Sussex St.
 San Francisco, CA 94131-2937



 Max Dirat
 3692 Sundale Road
 Lafayette, CA 94549



 Max Goodman
 3300 Bundeck Dr
 Oakland, CA 94602




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1047 of
                                        1568
 Max Heinritz
 83 Mcallister St #508
 San Francisco, CA 94102



 Max Johnson
 631 O'Farrell St, Apt 1604
 San Francisco, CA 94109



 Max Levine
 2518 44th St NW
 Washington, DC 20007



 Max McFarland
 10440 Bubb Road, Suite E
 Cupertino, CA 95014



 Max McKinnon
 667 Kodiak Apt. 3
 Sunnyvale, CA 94087



 Max Mullen
 1587 15th Street #401
 San Francisco, CA 94103



 Max Palmer
 331 Anza Street
 San Francisco, CA 94118



 Max Selig
 4855 Old Dominion Dr
 Arlington, VA 22207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1048 of
                                        1568
 Max Shimshak
 241 Tingley Street
 San Francisco, CA 94112



 Max Shoka
 88 Greenock Lane
 Pleasant Hill, CA 94523



 Max Sims
 1095 Santa Cruz Ave. #1
 Menlo Park, CA 94025



 Max Wang
 736 Escondido Rd. #100
 Stanford, CA 94305



 Maxim Adelman
 82 Guernsey St, 2A
 Brooklyn, NY 11222



 Maxim Ritzenberg
 888 Waller Street, apt. 4
 San Francisco, CA 94117



 Maximilian Nachman
 7104 Central Ave
 Takoma Park, MD 20912



 Maximillian Luna
 5 Fratessa Court
 San Francisco, CA 94134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1049 of
                                        1568
 Maxine Blakovich
 9801 Stonelake Blvd, APT #2036
 Austin, TX 78758



 Maxine Blakovich
 9801 Stonelake Blvd
 APT 2036
 Austin, TX 78759



 Maxwell Boykin
 901 Red River St APT 1401
 Austin, TX 78701



 Maxwell Breton
 4917 43rd Place, NW
 Washington, DC 20016



 Maxwell Forden-Biebusch
 3330 E Main St #111
 Mesa, AZ 85213



 Maxwell Fortney
 3509 N Somerset Street
 Arlington, VA 22213



 Maxwell Urbani
 1400 Hillside Cir.
 Burlingame, CA 94010



 Maxwell Urbani
 1400 Hillside Cr
 Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1050 of
                                        1568
 Maxwell Yourman
 325 Union Ave #G337
 Campbell, CA 95008



 Maxym Runov
 994 Furlong Drive
 San Jose, CA 95123



 Maya Basu
 3583 Madison Cmn
 Fremont, CA 94538



 Maya Atsina
 PO Box 2148
 Murphys, CA 95247



 Maya Bishop
 1604 California Ave
 White Oak, PA 15131



 Maya Collins
 702 Harvard Ave.
 Santa Clara, CA 95051



 Maya Ott
 239 Kensignton Way
 Los Gatos, CA 95032



 Maya Varma
 21090 Hazelbrook
 Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1051 of
                                        1568
 MCI Small Business Service
 PO Box 4830
 Trenton, NJ 08650



 McKenzie Scoggins
 2621 Oak Meadow Drive
 Round Rock, TX 78681



 McKinnley Workman
 108 Central Ave
 Redwood City, CA 94061



 Mcmaster-Carr
 PO Box 7690
 Chicago, IL 60680



 McMaster-Carr
 PO Box 7690
 Chicago, IL 60680-7690



 McMaster-Carr Supply Co.
 PO Box 7690
 Chicago, IL 60680-7690



 McMaster-Carr Supply Company
 PO Box 7690
 Chicago, IL 60680



 MD_Mahir Faisal
 1050 S Terrace Rd
 Tempe, AZ 85201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1052 of
                                        1568
 Meagan Chuey
 346 E. Marshall St.
 Ferndale, MI 48220



 Meagan Madej-Stratten
 9110 Rocker Ave
 Plymouth, MI 48170



 Meaghan Renkey
 2011 Condor Lane
 Gibsonia, PA 15044



 Meave Cunningham
 1322 Kobbe Ave.
 San Fransisco, CA 94129



 Medardo Vasques
 2341 90th Ave
 Oakland, CA 94603



 Medardo Vasquez
 2341 90th AVE #12
 Oakland, CA 94603



 Medardo Vasquez
 2341 90th Ave
 Apt #12
 Oakland, CA 94063



 Meg Mason
 2336 Sylvan Ln
 Glendale, CA 91208




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1053 of
                                        1568
 Meg Selin-Williams
 2945 Garfield Ter NW
 Washington, DC 20008



 Megan Drennan
 1428 Putnam Ave #1R
 Brooklyn, NY 11237



 Megan Gardner
 4171 Byron Street
 Palo Alto, CA 94306



 Megan Goldkamp
 723 Florence Avenue
 saint louis, MO 63119



 Megan Gutelius
 1259 El Camino Real
 Menlo Park, CA 94025



 Megan Kingham
 19609 E Emperor Blvd
 Queen Creek, AZ 85142



 Megan Lovejoy
 21719 gregory st
 Dearborn, MI 48124



 Megan McGuinn
 1009 Irving St. #4
 San Francisco, CA 94122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1054 of
                                        1568
 Megan Moore
 3131 N. 70th Street
 Scottsdale, AZ 85251



 Megan Radyk
 5540 Pershing Ave Apt 115
 Saint Louis, MO 63112



 Megan Robinson
 3306 Ohio Ave., Apt. A
 St. Louis, MO 63118



 Megan Wachs
 734 14th St. 4A
 San Francisco, CA 94114



 Megan Williams
 750 Van Ness Ave #1203
 San Francisco, CA 94102



 MegaPath-3076763
 Dept. 0324 PO Box 120324
 Dallas, TX 75312



 Meghan McAndrew
 5850 Centre Ave #503
 Pittsburgh, PA 15206



 Meghan Slack
 3458 Willis Dr.
 Napa, CA 94558




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1055 of
                                        1568
 Meghan Wallace
 456 Heatherbray Ct.
 San Jose, CA 95136



 Mehrshad Mansouri
 1161 Mission Street
 San Francisco, CA 94103



 Mehul Patel
 10008 LOXLEY LANE
 AUSTIN, TX 78717



 Mei Li
 825 S. 22nd Street
 San Jose, CA 95116



 Mei_Hsiu Lin
 1550 eddy street
 San Francisco, CA 94115



 Meisam Mehravaran
 15075 Lincoln St Apt 906
 Oak Park, MI 48237



 Melana Orton
 601 Alabama St. #102
 San Francisco, CA 94110



 Melanie Cameron
 3726 Anne Place
 Fairfax, VA 22031




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1056 of
                                        1568
 Melanie Flowers
 20505 Pinewalk Dr.
 Pflugerville, TX 78660



 Melanie McCormick
 1728 Drake Drive
 Oakland, CA 94611



 Melanie Pullen
 4244 Chouteau Ave, Apt 112
 St Louis, MO 63110



 Melanie Stone
 239 Highland Terrace
 Woodside, CA 94062



 Melanie Suckarieh
 1624 15th st
 oakland, CA 94607



 Melina Fan
 6 Bellingham Dr.
 Chestnut Hill, MA 02476



 Melinda Lubiens
 810 Hamann Rd
 San Jose, CA 95117



 Melinda Messing
 2512 Quint St.
 San Francisco, CA 94124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1057 of
                                        1568
 Melinda Messing_V
 5871 Mission St. Apt. 5
 San Francisco, CA 94112



 Melisa Blum
 638 26th Ave
 San Mateo, CA 94403



 Melissa Berman
 1612 Sherwood Ct
 Dearborn, MI 48124



 Melissa Dailey
 3012 Sutter St.
 San Francisco, CA 94602



 Melissa Fossum
 1281 Summit Road
 Lafayette, CA 94549



 Melissa Frost
 174 38th st
 Pittsburgh, PA 15201



 Melissa Haimowitz
 492 Withington St Apt 2
 Ferndale, MI 48220



 Melissa Hawkins
 2728 Mission Street
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1058 of
                                        1568
 Melissa Ho
 236 Montana St.
 San Francisco, CA 94112



 Melissa Meyer
 1800 Veneer Drive
 Austin, TX 78748



 Melissa Newton
 524 Keelson Circle
 Redwood City, CA 94065



 Melissa Quijano
 1105 Bush Street #206
 San Francisco, CA 94109



 Melissa Shelton
 2725 Old Course Dr
 Austin, TX 78724



 Melissa Watkins
 23101 edsel ford
 St. Clair Shores, MI 48080



 Melody Godwin
 1801 Pyramid Dr
 Austin, TX 78634



 Melquiades Olivares
 926 Howard
 San Francisco, CA 94063




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1059 of
                                        1568
 Melquiades Olivares III
 85 Anzavista Ave
 San Francisco, CA 94115



 Melvin Edgerley
 4206 Christine Place
 Alexandria, VA 22311



 Melvyn Lim
 79 Lily Court
 Brisbane, CA 94005



 Mennatallah Hussein
 701 E Apache
 Tempe, AZ 85281



 Menno Marringa
 101 Maple Street, #3204
 Redwood City, CA 94063



 Mercedes Coyle
 4442 Cabrillo St.
 San Francisco, CA 94121



 Mercy Odhner
 1200 Crane Ave
 Pittsburgh, PA 15220



 Mercy Odhner_v
 1200 Crane Ave
 Pittsburgh, PA 15220




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1060 of
                                        1568
 Meredith Bassler
 3649 25th St
 San Francisco, CA 94110



 Meredith Edmonston
 320 Saclan Terrace
 Clayton, CA 94517



 Meredith Espinosa
 325 M. Sharon Park Dr. #536
 Menlo Park, CA 94025



 Meredith Glover
 260 King St #527
 San Francisco, CA 94107



 Meredith Johns
 15012 Haley Hollow
 Austin, TX 78728



 Meredith Johns_V
 15012 Haley Hollow,
 Austin, TX 78728



 Meredith Pierce
 801 N. 11th Street
 Saint Louis, MO 63101



 Meredith Thiergart
 1900 Pine St. Apt 510
 St. Louis, MO 63103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1061 of
                                        1568
 Merila Thorne-Thomsen
 1902 Inverness Blvd
 Austin, TX 78745



 Merl ne VAL
 848 42nd AVE.
 SAN FRANCISCO, CA 94121



 Merlin Jackson
 1388 Haight St
 San Francisco, CA 94117



 Merrill Snell
 831 Sweeney Ave #F
 Redwood City, CA 94063



 Merrisa Bishop
 4241 Oslo Court
 Antelope, CA 95843



 Merv Staton
 18692 Devon Avenue
 Saratoga, CA 95070



 Meshal Alenezi
 101 W 5th St.
 Tempe, AZ 85281



 Metal Mart USA Inc
 31164 Dequindre Rd
 Warren, MI 48092




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1062 of
                                        1568
 Mia Norton
 3500 Pleasant Acre Ln
 Aromas, CA 95004



 Mia Norton_V
 3500 Pleasant Acre Ln.
 Aromas, CA 95004



 Mia Ranard
 327 N. Taylor Ave. Apt. 107
 St. Louis, MO 63108



 Mia Rattazzi
 359 Austin Ave.
 Atherton, CA 94027



 Mia Salazar
 1215 S Forest Ave
 Tempe, AZ 85281



 Micael Ekstrom
 9633 S 46th St
 Phoenix, AZ 85044



 Micah Beverly
 3362 W Ross Dr
 Chandler, AZ 85226



 Micah Cade
 878 Castlewood dr
 Los gatos, CA 95032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1063 of
                                        1568
 Micah Green
 16886 Bold Ventur Dr
 Leesburg, VA 20176



 Micah Omaits
 627 Webster St
 SAN FRANCISCO, CA 94117



 Micah Vestal
 5512B Rayburn Ave
 Alexandria, VA 22311



 Mich le ABOU_NAKAD
 1080 Folsom St
 San Francisco, CA 94107



 Michael   Lu
 2900 Semiconductor Drive Building E, 22
 santa clara, CA 95051



 Michael Alexander
 33 Lemon Blossom
 San Jose, CA 95123



 Michael Amann
 1957 Karlin Dr
 St. Louis, MO 63131



 Michael Brennan
 19800 Westhill St
 Northville, MI 48167




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1064 of
                                        1568
 Michael Chadwick
 2711 Ice House Rd #301
 Alexandria, VA 22314



 Michael Cheng
 12308 Bedrock Trl
 Austin, TX 78727



 Michael Collino
 313 Pare St
 Clawson, MI 48017



 Michael Drapiza
 39539 Dorchester Circle
 Canton, MI 48188



 Michael Drummond
 2241 marconi ave
 st louis, MO 63110



 Michael Gardner
 27505 Franklin Rd
 Southfield, MI 48034



 Michael Green
 7019 Pernod Ave
 St. Louis, MO 63139



 Michael Harle
 12100 Metric Blvd, Apt 1938
 Austin, TX 78758




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1065 of
                                        1568
 Michael Julson
 108 Palo Duro Drive
 Cedar Creek, TX 78612



 Michael Koliner
 100 McConell Mill Lane
 Pittsburgh, PA 15228



 Michael Kuo
 630 Taylor Ct. Apt. 7
 Mountain View, CA 94043



 Michael Levien
 15 Broad St. Apt. 2308
 New York, NY 10005



 Michael Mark
 349 Avenida Arboles
 San Jose, CA 95123



 Michael McCormick
 3506 Kings Cross Rd
 Alexandria, VA 22303



 Michael McCown
 132 Nichols Lane
 Bastrop, TX 78602



 Michael McKinley
 PO Box 43
 Driftwood, TX 78619




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1066 of
                                        1568
 Michael Mosseau
 304 Madison St/
 Santa Clara, CA 95050



 Michael Norris
 2605 39th street nw
 Washington, DC 20007



 Michael Taylor
 6805 Penn Ave. Apt. 5
 Pittsburgh, PA 15208



 Michael Tsai
 850 Basking Lane
 San Jose, CA 95138



 Michael Wang
 1357 Webster St.
 Palo Alto, CA 94301



 Michael Watkins
 1107 Brushy Creek Drive
 Round Rock, TX 78664



 Michael Albaugh
 14260 Lutheria Way
 Saratoga, CA 95070



 Michael Amoroso
 3908 8TH ST NW
 WASHINGTON, DC 20011




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1067 of
                                        1568
 Michael and Susie Zampaglione
 1615 Canyon View Dr.
 San Jose, CA 95132



 Michael Anderson
 1305 E Monte Vista Rd
 Phoenix, AZ 85006



 Michael Anselmi
 928 E. Nolan Place
 Chandler, AZ 85249



 Michael Antaran
 25900 Pembroke
 Huntington Woods, MI 48070



 Michael Anthony
 2777 B Maciricia Ave
 Santa Clara, CA 95051



 MIchael Arnold
 3101 Wilson Blvd.
 Arlington, VA 22201



 Michael Ashe
 10931 E. Becker Ln
 Scottsdale, AZ 85259



 Michael Azzouz
 33700 Cindy
 Livonia, MI 48150




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1068 of
                                        1568
 Michael Balsamo
 750 Van Ness Ave apt 205
 San Francisco, CA 94102



 Michael Beaubien
 1748 Nash Dr
 San Mateo, CA 94401



 Michael Behrmann
 16 Alexander Street
 Alexandria, VA 22314



 Michael Blair
 10500 Newmont
 Austin, TX 78758



 Michael Blanchard
 3500 Wadley Pl Bldg B
 Austin, TX 78728



 Michael Borja
 3016 Stevens Lane
 San Jose, CA 95148



 Michael Bortfeld
 1031 E 9th Ave
 Mesa, AZ 85204



 Michael Braillard
 3018 Madeline St
 Oakland, CA 94602




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1069 of
                                        1568
 Michael Brandt Handler
 306 Sanchez St.
 San Francisco, CA 94114-1616



 Michael Brondos
 13802 Braddock Springs Rd. Apt. C
 Centreville, VA 20121



 Michael Bruce
 1695 Milroy Pl
 San Jose, CA 95124



 Michael Burch
 916 Deely St.
 Pittsburgh, PA 15217



 Michael Butterfield
 1021 N Garfield St
 Arlington, VA 22201



 Michael Calyer
 1959 Wilfred Way
 San Jose, CA 95124



 Michael Carter
 4256 Wheeled Caisson Sq
 FAIRFAX, VA 22033



 Michael Chafin
 2626 Kitsap Ct
 Santa Clara, CA 95051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1070 of
                                        1568
 Michael Chan
 8 Commodore Drive, C362
 Emeryville, CA 94608



 Michael Charles Browne
 1911 Barbara Dr.
 Palo Alto, CA 94303



 Michael Chavez
 PO Box 320 295
 San Francisco, CA 94132



 Michael Chung
 938 Wisconsin St
 San Francisco, CA 94107



 Michael Ciavaglia
 825 Mohawk
 dearborn, MI 48124



 Michael Cleron
 1160 Klamath Drive
 Menlo park, CA 94025



 Michael Cook
 4869 Willow Road, #104
 Pleasanton, CA 94588



 Michael Corr
 53 Oakwood St
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1071 of
                                        1568
 Michael Cosson
 333 Main Street Unit 7B
 San Francisco, CA 94105



 Michael Cowser
 110 Technology Drive
 Pittsburgh, PA 15275



 Michael Crimando
 35054 Cavant Dr.
 Sterling Hts, MI 48310



 Michael Curtis
 581 Waller St
 San Francisco, CA 94117



 Michael D. Harris
 4604 Mon Blanc Drive
 Bee Cave, TX 78738



 Michael Daly
 3550 North First St
 San Jose, CA 95134



 Michael Damm
 140 S. Van Ness Ave. Unit 807
 San Francisco, CA 94103



 Michael Davis
 1259 Cordilia St
 San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1072 of
                                        1568
 Michael Davis
 29126 N. 22nd Lane
 Phoenix, AZ 85085



 Michael DeMartini
 6484 Sproul Ct
 San Jose, CA 95120



 Michael Dickinson
 6303 Shoal Creek Blvd.
 Austin, TX 78757



 Michael Drews
 3582 Arbutus Ave
 Palo Alto, CA 94303



 Michael Dube
 1998 Spyglass Hill
 Leander, TX 78641



 Michael Eck
 1329 E St SE
 Washington, DC 20003



 Michael Eddington
 1400 Garner Ave
 Austin, TX 78704



 Michael Erickson




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1073 of
                                        1568
 Michael Erickson
 1072 Fiesta Dr
 San Mateo, CA 94403



 Michael Erickson
 1072 Fiesta Drive,
 San Mateo, CA 94403



 Michael Eydman
 2940 Ocean Pkwy Apt 12T
 Brooklyn, NY 11235



 Michael Ezell
 7601 Alicia Ave
 Maplewood, MO 63143



 Michael Foley
 814 N. Fillmore St.
 Arlington, VA 22201



 Michael Ford
 410 Arbor Ln.
 Austin, TX 78745



 Michael Fourkas
 862 Quetta Ave
 Sunnyvale, CA 94087



 Michael Fugrad-Hill
 2538 43rd Ave
 San Francicso, CA 94116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1074 of
                                        1568
 Michael G. Chafin
 2626 Kitsap Ct
 Santa Clara, CA 95051



 Michael Gerchar
 203 E. Monte Cristo Ave.
 Phoenix, AZ 85022



 Michael Gerrits
 371 Elan Village lane APT.
 #310 San Jose, CA 95134



 Michael Gillespie
 2407 W. Webster Ct
 Anthem, AZ 85086



 Michael Graf
 15700 Rose Drive
 Allen Park, MI 48101



 Michael Graff
 7225 SE 179th ST.
 Norman, OK 73071



 Michael Green
 1030 Highlands Plaza
 St. Louis, MO 63110



 Michael Greene
 3323 Farthing Way
 San Jose, CA 95132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1075 of
                                        1568
 Michael Gudz
 1732 Hyde St. #3
 San Francisco, CA 94109



 Michael Gutierrez
 1221 Algarita Dr
 Austin, TX 78704



 Michael Guy
 3728 Columbia Pike
 Arlington, VA 22204



 Michael Handler
 306 Sanchez St.
 San Francisco, CA 94114-1616



 Michael Hasz
 1503 N Village Rd
 Reston, VA 20194



 Michael Heinicke
 2862A S. Jefferson
 St. Louis, MO 63118



 Michael Hill
 5456 Oakvilla Manor Dr
 St. Louis, MO 63129



 Michael Holly
 1103 Hawkens Meadow ct.
 Fenton, MO 63026




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1076 of
                                        1568
 Michael Hong
 92 Hillcrest Road
 San Carlos, CA 94070



 Michael Honsel
 6406 Colton Blvd
 Oakland, CA 94611



 Michael Hoyer
 908 Rolling Holly Drive
 Great Falls, VA 22066-1236



 Michael Hsiao
 340 N Fig Tree Ln
 Plantation, FL 33317



 Michael Hsueh
 108 McFarland Ct #108
 Stanford, CA 94305



 Michael Irwin
 971 Alice Lane
 Menlo Park, CA 94025



 Michael Jacobson
 175 S saginaw
 Pontillac, MI 48342



 Michael Jurkovic
 po box 3179
 san ramon, CA 94583




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1077 of
                                        1568
 Michael Kemp
 52 S. 12th St.
 San Jose, CA 95112



 Michael Kennedy
 2248 Stokes St.
 San Jose, CA 95128



 Michael King
 1585 E Moreles
 Chandler, AZ 85225



 Michael Koehler
 516 Georgia Ave.
 Palo Alto, CA 94306



 Michael Kolich
 20901 Oakwood
 Dearborn, MI 48124



 Michael Koliner
 100 McConnell Mill Lane
 Pittsburgh, PA 15228



 Michael Kulik
 235 Buchanan Street #6
 San Francisco, CA 94102



 Michael Kurylo
 6682 W. Coon Lake Rd
 Howell, MI 48843




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1078 of
                                        1568
 Michael L Ott
 239 Kensington Way
 Los Gatos, CA 95032



 Michael Lady
 151 Impearal Crown Way
 Wildwood, MO 63040



 Michael Lapid
 242 Rolph Street
 San Francisco, CA 94112



 Michael Lavelle
 13443 Argonne Dr
 Saratoga, CA 95070



 Michael Lawrence
 2315 Saidel Drive #1
 San Jose, CA 95124



 Michael Lazzaro
 748 temescal way
 redwood city, CA 94062



 Michael Leads
 33924 Cotswold
 Farmington Hills, MI 48335



 Michael Lenihan
 7543 Fallenleaf Lane
 Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1079 of
                                        1568
 Michael Litschewski
 1017 Forest Bluff trl
 Round Rock, TX 78665



 Michael Lohmeyer
 840 Pretoria Court
 San Jose, CA 95127



 Michael Lovell
 2472 Tonquin St
 East Meadow, NY 11554



 Michael Macdonald
 1390 Saddle Rack St #303
 San Jose, CA 95126



 Michael Madson
 300 S. 2nd Street
 San Jose, CA 95113



 Michael Malick
 1415 Louisville Ave
 Saint Louis, MO 63139



 Michael Mann
 1680 mallard cove
 Ann Arbor, MI 48108



 Michael Mathers
 921 E. Toledo Street
 Gilbert, AZ 85295




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1080 of
                                        1568
 Michael Maxam
 1155 W. Grove Pkwy #257
 Tempe, AZ 85283



 Michael Maximo Furniture & Design
 1801 Warner Ranch Dr. Unit 1534
 Round Rock, TX 78664



 Michael Mccoy
 6078 Countess Dr
 San Jose, CA 95129



 Michael McCullough
 6 Buttercup Ln
 San Carlos, CA 94070



 Michael McCusker
 934 Millie Ave
 Menlo Park, CA 94025



 Michael Menta
 2211 Kenbridge Dr Apt A
 Austin, TX 78757



 Michael Metzger
 6880 Shiloh Rd
 Midlothian, TX 76065



 Michael Morena
 305 2nd Ave, APT 718
 NEW YORK, NY 10003




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1081 of
                                        1568
 Michael Morse
 8109 E. Cortez Dr.
 Scottsdale, AZ 85260



 Michael Mosseau
 304 Madison Street
 Santa Clara, CA 95050



 Michael Mulder
 14070 Brougham Ct Apt 4
 plymouth, MI 48170



 Michael Murray
 627 Morley Ct
 Deraborn, MI 48124



 Michael Mwesigwa
 109 Wynstay Ave.
 Valey Park, MO 63088



 Michael Myers
 1201B Howard St.
 San Jose, CA 95110



 Michael Neil
 1801 Warner Rance Dr. Apt#1111
 Round Rock, TX 78664



 Michael Neumeyer
 860 Prospect Row APT 2
 San Mateo, CA 94401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1082 of
                                        1568
 Michael Nguyen
 1388 Calle Oriente #3
 Milpitas, CA 95035



 Michael Norris
 6975 Heaton Moor Dr
 San Jose, CA 95119



 Michael ONeal
 1401 Park Avenue Apt. 104
 Emeryville, CA 94608



 Michael ONeal
 1401 Park Avenue 104
 Emeryville, CA 94608



 Michael Orr
 1002 Big Bend Station Drive
 Manchester, MO 63088



 Michael Ott
 239 Kensington Way
 Los Gatos, CA 95032



 Michael Ou
 20 N Grand Blvd
 St. Louis, MO 63103



 Michael Pace
 1767 26th Ave
 San Francisco, CA 94122




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1083 of
                                        1568
 Michael Panoff
 2001 McAllister St, #320
 San Francisco, CA 94118



 Michael Parker
 730 Bicknell Rd.
 Los Gatos, CA 95030



 Michael Parkin
 940 Del Monte Drive
 Hollister, CA 95023



 Michael Patterson
 2830 Cleave Drive
 Falls Church, VA 22042



 Michael Peltier
 4205 ne clevland
 Portland, OR 97122



 Michael Pereira
 20 Griswold Court
 Sterling, VA 20165



 Michael Perez
 3015 N Hayden Rd #
 Scottsdale, AZ 00085-2551



 Michael Perlmutter
 2359 14th Ave
 San Francisco, CA 94116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1084 of
                                        1568
 Michael Perry
 9868 N. 101st Street
 Scottsdale, AZ 85258



 Michael Peters
 430 Monte Vista Ave
 Mill Valley, CA 94941



 Michael Peterson
 2478 Hallmark Dr.
 Belmont, CA 94002



 Michael Peterson
 3730 Eagles Nest St
 Round Rock, TX 78665



 Michael Petrick
 9801 Stonelake Blvd
 Apt 113
 Austin, TX 78759



 Michael Phan
 1657 48th Ave Apt A
 San Francisco, CA 94122



 Michael Piotter
 819 E University Ave Apt 5
 Ann Arbor, MI 48104



 Michael Poon
 2457 Carolina ave
 Redwood City, CA 94061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1085 of
                                        1568
 Michael Porter
 18740 Grey
 Allen Park, MI 48101



 Michael Quinn
 9 Laurel Oaks Court
 Lake Saint Louis, MO 63367



 Michael Rabalais
 16575 Greenview
 Detroit, MI 48219



 Michael Randazzo
 4921 Roundtree Dr.
 Campbell, CA 95008



 Michael Ray
 5604 Southwest Parkway, Apt 117
 Austin, TX 78735



 Michael Regalbuto
 3734 Benton St
 Santa Clara, CA 95051



 Michael Richard Ditto
 511 Bellwood Dr.
 Santa Clara, CA 95054



 Michael Richardson
 269 S. Jesse St.
 Chandler, AZ 85225




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1086 of
                                        1568
 Michael Roberts
 21426 Bear Creek Rd
 Los Gatos, CA 95033



 Michael Rodriguez
 410 Beech St.
 Kerrville, TX 78028



 Michael Rojas
 2023 E. Don Carlos
 Tempe, AZ 85282



 Michael Roth
 6 Monte Cresta Court
 Belmont, CA 94002



 Michael Rounds
 119 Hoot Owl ln N
 Leander, TX 78641



 Michael Ryssemus
 2261-B Fortune Dr
 San Jose, CA 95131



 Michael Schmit
 19992 Rodrigues Ave.
 Cupertino, CA 95014



 Michael Schroeder
 5000 W. Chandler Blvd.
 Chandler, AZ 85226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1087 of
                                        1568
 Michael Schuler
 814 Pittsburgh-McKeesport Blvd
 West Mifflin, PA 15122



 Michael Schuster
 2546 Oak Valley DR
 Vienna, VA 22181



 Michael Sharf
 2268 Jackson St.
 San Francisco, CA 94115



 Michael Shaver
 6629 S 40th Way
 Phoenix, AZ 85042



 Michael Sheppard
 3891 E Ironhorse Rd
 Gilbert, AZ 85297



 Michael Sholes
 1318 Edgewood Rd.
 Redwood City, CA 94062



 Michael Shulman
 10108 Talleyran Drive
 Austin, TX 78750



 Michael Singerman
 3220 Duval Road
 Austin, TX 78759




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1088 of
                                        1568
 Michael Sittner
 914 MANOR RD. APT 103
 ALEXANDRIA, VA 22305



 Michael Skalsky
 12431 E Cloud
 Chandler, AZ 85249



 Michael Slack
 1949 Apache
 S Lake Tahoe, CA 96150



 Michael Slade
 2443 Fillmore Street #333
 San Francisco, CA 94115



 Michael Smart
 2000 Huntington Ave., #1516
 Alexandria, VA 22303



 Michael Smith
 1201 South Barton St. Unit 144
 Arlington, VA 22204



 Michael Soltis
 1917 Washtenaw Ave
 Ann Arbor, MI 48104



 Michael Spampinato
 69 Spring St
 Pittsburgh, PA 15223




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1089 of
                                        1568
 Michael Spencer
 18317 Mulberry
 Riverview, MI 48193



 Michael Steven Siegel
 24947 John Fremont Rd
 Hidden Hills, CA 91302



 Michael Strauss
 1033 Rubis Dr
 Sunnyvale, CA 94087



 Michael Strohecker
 2076 Edgewood Dr.
 Palo Alto, CA 94303



 Michael Sturtz
 2254 Santa Clara Ave.
 Alameda, CA 94501



 Michael Sukharev
 790 Church St Apt 305
 San Francisco, CA 94114



 Michael Svendsen
 201 Vicksburg St.
 San Francisco, CA 94114



 Michael Thomas
 4402 Belvedere Drive
 San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1090 of
                                        1568
 Michael Tierney
 368 N 6th St.
 San Jose, CA 95112



 Michael Tognotti
 2648 Isabelle Avenue
 San Mateo, CA 94403



 Michael Toma
 18385 Babcock Road
 San Antonio, TX 78255



 Michael Trias
 884 Sandhurst Dr.
 Vallejo, CA 94591



 Michael Trojillo
 336 Bautista Pl
 San Jose, CA 95126



 Michael Tsang
 1722 Bay St.
 Alameda, CA 94501



 Michael Tuason
 4011 Sadie Court
 Campbell, CA 95008



 Michael Tucker
 1655 E University Dr
 Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1091 of
                                        1568
 Michael Udaltsov
 26744 Arastradero Rd
 Los Altos Hills, CA 94022



 Michael Vizner
 555 deharo dr Suite 220
 San Francisco, CA 94107



 Michael Walker
 638 Los Ninos Way
 Los Altos, CA 94022



 Michael Walker
 102 Anderson ln
 Hutto, TX 78634



 Michael Ward
 2101 Pullman Ave.
 Belmont, CA 94002



 Michael Weaver
 3334 E. Tonto Dr.
 Phoenix, AZ 85044



 Michael Wideman
 4227 S 36th St
 Arlington, VA 22202



 Michael Wiggins
 3426 SACRAMENTO ST APT 2
 SAN FRANCISCO, CA 94118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1092 of
                                        1568
 Michael Wiktowy
 711 14th St. SE
 Washington, DC 20003



 Michael Wiktowy_V
 129 C St. SE
 Washington, DC 20003



 Michael Wilcoxen
 21 S 17th St.
 San Jose, CA 95112



 Michael Wilson
 13409 N. 36th St.
 Phoenix, AZ 85032



 Michael Wimble
 1144 Snowberry Court
 Sunnyvale, CA 94087



 Michael Wing
 690 Bushwick
 Brooklyn, NY 11221



 Michael Wipper
 4464 Lindell Boulevard, #12
 Saint Louis, MO 63108



 Michael Wolf
 2 Sumner Street
 San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1093 of
                                        1568
 Michael Wolfe
 365 S Graham Street
 Pittsburgh, PA 15232



 Michael Wood
 4231 Lakeshore
 Oakland, CA 94610



 Michael Woodard
 2029 East Ben White PO box: 240-1520
 Austin, TX 78741



 Michael Worry
 409 Esther Ave
 Campbell, CA 95008



 Michael Yaroschuk
 4908 S Chesterfield Rd
 Arlington, VA 22206



 Michael Zampaglione
 1615 Canyon View Dr.
 San Jose, CA 95132



 Michael Zanti
 500 East Stassney Lane, Apartment 922
 Austin, TX 78745



 Michael Zhang
 1655 E university Dr, Apt2002
 Gateway
 Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1094 of
                                        1568
 Michal Bicz
 263 Stonegate Cir
 San Jose, CA 95110



 Micheal Lund
 319 Main Street
 Bridgeport, OH 43912



 Micheal Ditto
 511 Bellwood Dr.
 Santa Clara, CA 95054



 Micheal Ohtonen
 41087 Greystone Blvd
 Plymouth, MI 48170



 Michele Kennedy
 7229 Forsyth Blvd
 St. Louis, MO 63105



 Michele Barbalet
 1015 S. 7th St
 San Jose, CA 95112



 Michele Bronstein
 505 Cornell Avenue
 San Mateo, CA 94402



 Michele Gates
 4422 24th Street
 San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1095 of
                                        1568
 Michele Guieu
 1151 Hollenback Ave.
 Sunnyvale, CA 94087



 Michele Huie
 1675 Martin Ave.
 Sunnyvale, CA 94087



 Michele Madrigal
 7681 Dowdy St.
 Gilroy, CA 95020



 Michele Paige
 75 78 177th Street
 Fresh Meadows, NY 11366



 Michele Reid
 1612 Notre Dame Ave.
 Belmont, CA 94002



 Michele Wright
 2100 Sidney St.
 Saint Louis, MO 63104



 Michelle Trigg
 4103 Komes Ct
 Alexandria, VA 22306



 Michelle Allen
 248 Berringer Place
 Pittsburgh, PA 15202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1096 of
                                        1568
 Michelle Beardmore
 292 Laquesta Dr
 Danville, CA 94526



 Michelle Bernal-Sanderson
 PO Box 11268
 Bapchule, AZ 85121



 Michelle Gohn
 442 Excelsior Avenue
 San Francisco, CA 94112



 Michelle Hamilton
 107 Lariat Circle
 Liberty Hill, TX 78642



 Michelle Koblas
 729 Anderson Dr.
 Los Altos, CA 94024



 Michelle Lelch
 1710 S. Holt
 Los Angeles, CA 90035



 Michelle Lesniak
 380 Dodds Rd
 Butler, PA 16002



 Michelle M. Trigg
 4103 Komes Ct
 Alexandria, VA 22306




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1097 of
                                        1568
 Michelle Meeker
 1515 York St
 San Francisco, CA 94110



 Michelle Molter
 520 South Brentwood Blvd Unit 1D
 Clayton, MO 63105



 Michelle Patterson
 2325 N. Labadie Rd
 Milford, MI 48380



 Michelle R. Koblas
 729 Anderson Dr.
 Los Altos, CA 94024



 Michelle Reyna
 301 SE Inner Loop #106
 Georgetown, TX 78626



 Michelle Rios
 1244 jackson st ne
 washington, DC 20017



 Michelle Romero
 1235 Clayburn Ln
 San Jose, CA 95121



 Michelle Smart
 21380 West Hampton
 Oak Park, MI 48237




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1098 of
                                        1568
 Michelle Snyder
 160 Rio Robles
 San Jose, CA 95134



 Michelle Sriprasert
 Fisk St
 Pittsburgh, PA 15201



 Michiel Baird
 185 CHANNEL ST APT 340
 San Francisco, CA 94158



 Mick Stewart
 3 Van Buren street
 San francisco, CA 94131



 Mickey Bradshaw
 12117 S Ki Rd
 Phoenix, AZ 85044



 Mie Yaginuma
 1084 De Haro St.
 San Francisco, CA 94107



 Miguel Rodriguez
 1412 Fairflied Ave
 Pittsburgh, PA 15120



 Miguel Tovar
 2290 Crown Dr
 Novi, MI 48377




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1099 of
                                        1568
 Mihaela Baney
 59508 Sierra Madre
 Austin, TX 78759



 Mihkel Joala
 Narva Mnt. 3
 Calumet, IA 51009



 Mikayla Twombly
 2348 Rosita Ave
 Santa Clara, CA 95050



 Mike Evans
 31855 Date Palm Dr, Ste 3-194
 Cathedral City, CA 92234



 Mike Minnery
 5 Geddy Way
 Stafford, VA 22554



 Mike Nycz
 1715 Broadway St #1
 San Francisco, CA 94109



 Mike Sheppard
 20425 Sheffield
 Detroit, MI 48221



 Mike Wiederhold
 188 Buchnann St #307
 San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1100 of
                                        1568
 Mike Arnold
 8490 S. Power Road Ste. 105-247
 Gilbert, AZ 85297



 Mike Austin
 225 Rock Harbor Ln
 Foster City, CA 94404



 Mike Baker
 1156 Morse Ave 109
 Sunnyvale, CA 94089



 Mike Bartelme
 2503 Iowa Drive
 Fort Collins, CO 80525



 Mike Beck
 200 Whispering Oaks Drive
 BETHALTO, IL 62010



 Mike Blakely
 739 Mill Stream Drive
 San Jose, CA 95125



 Mike Bohmer
 3102 Beverly Rd
 Austin, TX 78703



 Mike Broome
 3614 Laurel Creek Way
 Durham, NC 27712




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1101 of
                                        1568
 Mike Browne
 1911 Barbara Dr.
 Palo Alto, CA 94303



 Mike Budner
 1332 Linda Mar Blvd
 Pacifica, CA 94044



 Mike Buteau
 625 Marion Ave.
 Palo Alto, CA 94301



 Mike Carlton
 31107 Page Mill Rd
 Los Altos Hills, CA 94022



 Mike Chow
 436 University Ave
 Los Altos, CA 94022



 Mike Close
 2835 Fox Dr.
 Durham, NC 27712



 Mike Court
 1451 N. Delmar
 Mesa, AZ 85203



 Mike Cummins
 236 38Th St
 Pittsburgh, PA 15201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1102 of
                                        1568
 Mike Daly
 135 Rio Robles East
 San Jose, CA 95134



 Mike Ditto
 511 Bellwood Dr.
 Santa Clara, CA 95054



 MIke Duran
 6084 Monterey HWy Apt 102
 San Jose, CA 95138



 Mike Femiani
 6885 W. Harrison St.
 Chandler, AZ 85226



 Mike Fish
 775 25th Ave
 San Francisco, CA 94121



 Mike Ford
 1022 oronoco st
 Alexandria, VA 22314



 Mike Freeman
 10145 Northway Ave
 Allen Park, MI 48101



 Mike Frusti
 29929 mcityre
 Livonia, MI 48150




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1103 of
                                        1568
 Mike Galik
 34743 N. Laredo Ct.
 Queen Creek, AZ 85142



 Mike Gerrits
 371 Elan Village Lane #310
 San Jose, CA 95134



 Mike Gnad
 3305 Comanche Rd
 Pittsburgh, PA 15241



 Mike Grall
 52 Quail Xing
 Santa Cruz, CA 95060



 Mike Grall and Cindy Grall (prior spelle
 52 Quail Xing
 Santa Cruz, CA 95060



 Mike Grogan
 15026 Baxter Village Dr, APT E
 Chesterfield, MO 63017



 Mike Harris
 4604 Mon Blanc Drive
 Bee Cave, TX 78738



 Mike Herbeck
 815 S Main St
 Red Bud, IL 62278




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1104 of
                                        1568
 Mike Hilberman




 Mike Jennings
 4007 Ross Park Dr.
 San Jose, CA 95118



 Mike Jones
 640 Coleman Ave, Apt 1
 Menlo Park, CA 94025



 Mike Koval
 755 William Pitt Way
 Pittsburgh, PA 15238



 Mike Kriege
 1242 Collins Lane
 San Jose, CA 95129



 Mike Lanahan
 1782 Bethany Ave
 San Jose, CA 95132



 Mike Lewandowski
 2015 Oak St.
 Port Huron, MI 48060



 Mike McBroom
 3504 Goodnight Trail
 Leander, TX 78641




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1105 of
                                        1568
 Mike McNabb
 2315 Bright Future Way
 Raleigh, NC 27614



 Mike Metcalf
 1253 Love St
 Pittsburgh, PA 15218



 Mike Mian
 115 Alameda de las Pulgas
 Redwood City, CA 94062



 Mike Milchanowski
 6950 Kingsbury Blvd
 St Louis, MO 63130



 Mike Minden
 4552 GIBSON AVE
 SAINT LOUIS, MO 63110



 Mike Niday
 1739 Westhaen Drive
 San Jose, CA 95132



 Mike Orr
 1002 Big Bend Station Drive
 Manchester, MO 63088



 Mike Palmer
 12 Deer Creek Woods
 St. Louis, MO 63124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1106 of
                                        1568
 Mike Patterson
 730 Ruby St.
 Redwood City, CA 94061



 Mike Penson
 845 E. Saragupa St.
 Chandler, AZ 85225



 Mike Perez
 1304 Oak Haven Way
 Antioch, CA 94531



 Mike Pleva
 220 Marina Overlook
 lusby, MD 20657



 Mike Pogue
 808 Allison Way
 Sunnyvale, CA 94087



 Mike Popenas
 1 Turnberry Lane
 Dearborn, MI 48120



 Mike Poundstone
 906 Spruce Street
 Berkeley, CA 94707



 Mike Renaud
 34 Yucca Drive
 Kerrville, TX 78028




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1107 of
                                        1568
 Mike Richards
 12234 Arcola St
 Livonia, MI 48150



 Mike Rines
 3530 N Hawes Rd
 Mesa, AZ 85207



 Mike Robbins
 164 Middlefield Rd.
 Palo Alto, CA 94301



 Mike Roon
 76 Manchester Street
 San Francisco, CA 94110



 Mike Rossi
 1040 22nd Avenue
 Oakland, CA 94606



 Mike Russell
 10406 Loring Dr.
 Austin, TX 78750



 Mike Sailsbery
 129 Lexington Ave
 Pittsburgh, PA 15215



 Mike Savini
 1561 University Ave
 San Jose, CA 95126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1108 of
                                        1568
 Mike Scheuer
 4 Ridgemont
 Dearborn, MI 48124



 Mike Schmit
 19992 Rodrigues Ave.
 Cupertino, CA 95014



 Mike Schweyen
 263 E Woodland
 Ferndale, MI 48220



 Mike Serebrennikov
 354 n. crook rd
 clawson, MI 48017



 MIke Sheppard_V
 20425 Sheffield
 Detroit, MI 48221



 Mike Shield
 156 Beckwith ave
 Clayton, NC 27527



 Mike Smelser
 9621 Sandbur Pl
 Salinas, CA 93907



 Mike Spillane
 48049 four seasons blvd
 northville, MI 48168




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1109 of
                                        1568
 Mike Stebbins
 1901 White Oak Loop
 Round Rock, TX 78681



 Mike Stevens
 3535 S Ball St APT 510
 Arlington, VA 22202



 Mike Strang
 30421 Saint Andrews Dr
 Georgetown, TX 78628



 Mike Stuvland
 738 Harvard Ave
 University City, MO 63130



 Mike Suehring
 3998 E Esplanada
 Gilbert, AZ 85297



 Mike Sweeney
 2813 Shattuck Ave #2
 Berkeley, CA 94705



 Mike Swift
 2650 Weston Road
 Scotts Valley, CA 95066



 Mike Syfritt
 16241 N. 171st Lane
 Suprise, AZ 85388




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1110 of
                                        1568
 Mike Tam
 P.O. Box 192745
 San Francisco, CA 94119



 Mike Trainor
 710 La Prienda Drive
 Los Altos, CA 94024



 Mike Troll
 3420 Commonwealth
 St. Louis, MO 63143



 Mike Tyau
 210 Albacore Lane
 Foster City, CA 94404



 Mike Warner
 1730 Peregrino Way
 San Jose, CA 95125



 Mike Wilton
 115 Scenic Love Lane
 Saint Charles, MO 63303



 Mike Wodopian
 8900 Westminster Glen Ave
 Austin, TX 78730



 Mikel Duffy
 120 S. El Camino Real Apt. 111
 Millbrae, CA 94030




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1111 of
                                        1568
 Mikey Masters
 2605 Cami Path Loop
 Round Rock, TX 78665



 Mikey Siegel
 24947 John Fremont Rd
 Hidden Hills, CA 91302



 Milan Mitrovic
 880 25th ave #204
 San Francisco, CA 94121



 Milan Radojicic
 100 Los Gatos Saratoga Road #201
 Los Gatos, CA 95032



 Miles Bintz
 3706 Top Rock Ln
 Round Rock, TX 78681



 Miles Chamberlin
 353 Jersey St
 San Francisco, CA 94114



 Miles Harris
 678 Wellington Dr.
 San Carlos, CA 94070



 Miles Kodama
 149 Commonwealth Drive
 Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1112 of
                                        1568
 Miles Mason
 2336 Sylvan Ln
 Glendale, CA 91208



 Miles Ryan
 14932 Berry Way
 San Jose, CA 95124



 Milinda Hernandez
 1202 Ruth Avenue
 Austin, TX 78757



 Millie Arp
 317 Sulphur Lane
 Paris, IL 61944



 Milo Holt
 1503 Amarylis Dr
 Pflugerville, TX 78660



 Milo Kesteloot
 1120 Persia Ave
 San Francisco, CA 94112



 Milo Stone
 4915 Broadway Apt 3i
 New York, NY 10034



 Milton prokopiev
 5244 pleasant hall ct
 Va Bch, VA 23464




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1113 of
                                        1568
 Milton Villeda
 703 Nelray Unit B
 Austin, TX 78751



 Mim Armand
 1018 COMMODORE DR, Apt. B
 Saint Louis, MO 63117



 Mimi Lyons
 1159 Lincoln Ave.
 Palo Alto, CA 94301



 Min Huang
 1733 Crane Ave
 Mountain View, CA 94040



 Minato Yonei
 2748 Hyde Street
 San Francisco, CA 94109



 Minette wong
 847 saint kitts court
 san jose, CA 95127



 Ming Hammond
 1515 Oxford St. Apt. 26
 Berkeley, CA 94709



 Minh Tran
 3321 Famille Ct.
 San Jose, CA 95135




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1114 of
                                        1568
 Minh Trieu
 646 N White Rd
 San Jose, CA 95127



 Minh Vu
 4127 LoganBerry Dr.
 San Jose, CA 95121



 Mini Bansal
 5002 Kingston Way
 San Jose, CA 95130



 Minja Bucalo
 1036 irving ave
 royal oak, MI 48067



 Minli Xie
 1601 Molitor Rd.
 Belmont, CA 94002



 Mira Gupta
 482 Thompson Ave
 Mountain View, CA 94043



 Miranda Domico
 1927 Page Street
 San Francisco, CA 94117



 Miranda Miller_v
 1810 Hanover Street
 Pittsburgh, PA 15218




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1115 of
                                        1568
 Mircea Draghicescu
 2023 NW Lovejoy
 Portland, OR 97209



 Miri Gregor
 1132 Irwin Lane
 Santa Rosa, CA 95401



 Miriam Gennari
 727 26th Place, S
 Arlington, VA 22202



 Miriam Devlin
 5420 Black St
 Pittsburgh, PA 15206



 Miriam Devlin
 321Stratford Ave. 1
 Pittsburgh, PA 15232



 Mischa Weibel
 14309 N 64th Ave
 Glendale, AZ 85306



 Missouri Department. of Revenue
 P.O. Box 3390
 Jefferson City,, MO 65105-3390



 Mitch Bayersdorfer
 628 Harvard Avenue
 Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1116 of
                                        1568
 Mitchel Ramsey
 13509 Abraham Lincoln St
 Manor, TX 78653



 Mitchell Abramo
 24 Tennis Ave.
 Ambler, PA 19002



 Mitchell Altman
 572 Hill St.
 San Francisco, CA 94114



 Mitchell Baker
 2204 All View Way
 Belmont, CA 94002



 Mitchell Eikren
 34476 N. Valley View Road
 Queen Creek, AZ 85142



 Mitchell Hilburn
 946 Stockton St Apt 9C
 San Francisco, CA 94108



 Mitchell Mitchell Lichtenberg
 14993 Haun Ct
 Saratoga, CA 95070



 Mitchell Thumme
 623 Village Lane
 Milford, MI 48381




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1117 of
                                        1568
 Mitzi Ngim
 601 4th Street #320
 San Francisco, CA 94107



 MJ Laipenieks
 13802 Turbine Dr
 Austin, TX 78723



 Mk Feezell
 538 colecroft ct
 Alexandria, VA 22314



 Mo Olson
 662 Bryan Ave.
 Sunnyvale, CA 94086



 Modeste Goli
 430 Dolores Ave. #D
 San Leandro, CA 94577



 Modupe Adeleye
 416 E St James St
 San Jose, CA 95112



 Moe Ashrafi
 2128 edgewater pkwy
 silver spring, MD 20903



 Moe Joe Ashrafi
 2128 Edgewater Pkwy
 Silver Spring, MD 20903




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1118 of
                                        1568
 Mohamad Bazzi
 20411 Aurdette
 Dearborn, MI 48124



 Mohamed Ahmed
 5914 Elmer st.
 Detroit, MI 48210



 Mohamed Elgendy
 5597 Seminary Road
 Apt No.2508 S
 Falls Church, VA 22041



 Mohamed Elgendy
 5597 Seminary Road Apt. No.2508 S
 Falls Church, VA 22041



 Mohamed Elgendy
 5597 Seminary Road
 Apt No: 2508 S
 Falls Church, VA 22041



 Mohammad-Ali Minaie
 401 12th st South, apt 409
 arlington, VA 22202



 Mohammed Shaikh
 1439 Hyde Street
 Pittsburgh, PA 15205



 Mohammed Shenaq
 13001 Osborne St
 Dearborn, MI 48126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1119 of
                                        1568
 Mohammed Khonizi
 22238 Solomon Blvd #228
 Novi, MI 48375



 Mohammed Mehdi
 4311 W. Barbara Ave.
 Phoenix, AZ 85051



 Mohammed Rajabzadeh
 909 E. Meadow Drive
 Palo Alto, CA 94303



 Mohan Gurunathan
 775 Gantry Way
 Mountain View, CA 94040



 Mohan Toopal
 PO Box 2462
 Chandler, AZ 85244



 Mohanad Al_Sabti
 2214 S. 112th Ave.
 Avondale, AZ 85323



 Mohsen Sarabi
 386 maple ave E. # 202
 Vienna, VA 22180



 Molly Hoelper
 977 Howard St
 San Francisco, CA 92104




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1120 of
                                        1568
 Molly Johnson
 14E Mason Ave #204
 Alexandria, VA 22301



 Molly Knight
 224 Cheval Lane
 Walnut Creek, CA 94596



 Molly Winger
 550 Mansion Park Dr., #302
 Santa Clara, CA 95054



 Monica Arellano
 1260 Broadway, 103
 San Francisco, CA 94109



 Monica Bielawski
 318 Overbrook Blvd
 Pittsburgh, PA 15210



 Monica Cavallaro
 1516 Wildrose Way
 Mountain View, CA 94043



 Monica Conner
 65 Cervantes Blvd. #4
 San Francisco, CA 94123



 Monica Giovachino
 708 Enderby Drive
 Alexandria, VA 22302




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1121 of
                                        1568
 Monica Le Master
 981 Park St. Apt. B
 Alameda, CA 94501-5226



 Monica Miller Cavallaro
 1516 Wildrose Way
 Mountain View, CA 94043



 Monica Penick
 4101 Sinclair Avenue
 Austin, TX 78756



 Monika Gubernatis
 1677 Bush St #6
 San Francisco, CA 94109



 Monique McIntosh
 312 comanche circle
 hutto, TX 78634



 Monty Morris
 1520 Spruce Street #2
 South Pasadena, CA 91030



 Monyka Igielski
 2459 W Jacinto Ave
 Mesa, AZ 85202



 Mook Davenport
 5305 Wickliff Street
 Pittsburgh, PA 15201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1122 of
                                        1568
 Moray Callum
 1540 Braodway
 Ann Arbor, MI 48105



 Morgan Brown
 113 Bel Ayre Drive
 Santa Clara, CA 95050



 Morgan Carter
 350 Arguello Blvd
 San Francisco, CA 94118



 Morgan Holland
 333 1st St. N901
 San Francisco, CA 94105



 Morgen Depenthal
 516 Waller St
 San Francisco, CA 94117



 Mori Bellamy
 453 N. Rengoff Ave #21
 Mountain View, CA 94043



 Morris Kornblit
 5861 Burchfield Ave
 Pittsburgh, PA 15217



 Morten Jensen_V
 1332 N. 31st Street
 Mesa, AZ 85213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1123 of
                                        1568
 Mose Nowland
 14632 Carolee
 Dearborn Heights, MI 48125



 Moses Williamson_V
 2607 Sunflower Trail
 Copperas Cove, TX 76522



 Moshe Rienhart
 4028 Clipper Ct.
 Fremont, CA 94538



 Moxie Doctor
 5070 Westminister Pl
 St. Louis, MO 63108



 MP TempBadge#1
 2415 Bay Road
 Redwood City, CA 94063



 Mrinalini Aggarwal
 846 Shotwell St
 San Francisco, CA 94110



 MSB Lyle R Smith Trustee
 61 Yale Rd
 Menlo Park, CA 94025



 Muffie Waterman
 780 Bucknall Rd
 Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1124 of
                                        1568
 Muhammad Shiraz
 1313 Clary sage loop
 Round Rock, TX 78665



 Murat Newman
 701 Somerset Park Drive SE Apt 204
 Leesburg, VA 20175



 Murat Ozkan
 2987 22nd St
 San Francisco, CA 94110



 Murphy Moschetta
 325 S Pacific Ave Apt. 1
 Pittsburgh, PA 15224



 Mustafa Hassan
 10945 George Mason
 Fairfax, VA 22030



 Mykala Castro
 527 Menker Ave Apt A
 San Jose, CA 95128



 Mykala Castro
 572 Menker Ave.
 Apt. A
 San Jose, CA 95128



 Myla Ablog
 1545 Geary Blvd. Apt. 6
 San Francisco, CA 94115




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1125 of
                                        1568
 Myles Barman
 1427 Luning Dr
 San Jose, CA 95118



 Myles Cunningham
 2680 Illinois St.
 East Palo Alto, CA 94303



 Myles Cunningham
 2680 Illinois St. East
 Palo Alto, CA 94303



 Myles Keough
 4471 Olive Street
 St. Louis, MO 63108



 Myles Lynk
 111 E. Taylor St.
 Phoenix, AZ 85004



 Myles Oldroyd
 1388 Pine Ave
 San Jose, CA 95125



 Myrna Ehrlich
 10366 Avenida Lane
 Cupertino, CA 95014



 N'Dalo Silveira
 234 south 20th street
 san jose, CA 95116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1126 of
                                        1568
 N. Felton Cogell
 76 Waller Street
 San Francisco, CA 94102-6259



 Nabil Wessel
 1911 California St
 Mountain View, CA 94040



 Nache Snow
 10501 Keepsake Ln
 Upper Marlboro, MD 20772



 Nadeem Haidary
 332 Pine St, Floor 8
 San Francisco, CA 94104



 Nadia Kellam
 1561 E. Shannon St.
 Chandler, AZ 85225



 Nadia Mosher
 4801 Kenmore Ave Apt 1205
 Alexandria, VA 22304



 Nadia Wojcik
 1500 Woodbine
 Pittsburgh, PA 15201



 Nadia zarkeshian
 1300 Army navy Dr #707
 Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1127 of
                                        1568
 Nadine Abdeljabbar
 Campus Box 1245, 6601 Shepley Drive
 St. Louis, MO 63105



 Nadine Matar
 1080 Folsom Street
 San Francisco, CA 94103



 Naif Almasaud
 111 W 6th St.
 Tempe, AZ 85281



 Naif Alotaibi
 1055 W 2nd St
 Tempe, AZ 85281



 Nambi Gardner
 1750 Sacremento St. #301
 San Francisco, CA 94109



 Nami Shubin
 4001 San Leandro St #11
 Oakland, CA 94601



 Nan Hockin
 569 Sunnymount Ave
 Sunnyvale, CA 94087



 Nana Spade
 493 Daisydell Ct.
 San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1128 of
                                        1568
 Nancy Waltrip
 213 Wiltshire Dr
 Hutto, TX 78634



 Nancy Achter
 1064 Petie Way
 Mountain View, CA 94040



 Nancy Alvarez
 171 Tanner Circle
 Georgetown, TX 78626



 Nancy Frisch
 39 Liberty Dock
 Sausalito, CA 94965



 Nancy Frishberg
 12465 Mines Rd.
 Livermore, CA 94550



 Nancy Laidley
 20150 E. Silver Creek Ln.
 Queen Creek, AZ 85142



 Nancy Lewis
 5400 s. adrian HWY
 Adrian, MI 49221



 Nancy Pedersen
 275 S 20th Street
 San Jose, CA 95116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1129 of
                                        1568
 Nancy Pham
 701 Pine Street, APT 46
 San Francisco, CA 94108



 Nancy Romweber
 1051 Page Street #3
 San Francisco, CA 94117



 Nancy Semin
 1404 Brentwood
 Austin, TX 78757



 Nancy Spangler
 471 Carolina Ln
 Palo Alto, CA 94306



 Nanette Wylde
 33 Dexter Ave.
 Redwood City, CA 94063



 Nani Lavin
 1465 Revere Ave.
 San Jose, CA 95118



 Naomi Curtis
 5727 Dearborn Street
 Pittsburgh, PA 15206



 Naomi Evanishyn
 1141 W. Oriole Way
 Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1130 of
                                        1568
 Naomi Foss-Alfke
 825 Frederick Commons
 San Jose, CA 95126



 Naoto Sakakibara
 397 College Ave Apt C
 Palo Alto, CA 94306



 Naresh Buvaneswari
 218 Russo Commons
 San Jose, CA 95127



 Nasdaq Corporate Solutions, LLC
 LBX #11700 P.O. Box 780700
 Philadelphia, PA 19178



 Nasiba Akramova
 2275 s bascom ave
 campbell, CA 95008



 Nasser Al_Suwaidi
 11 W 6th St
 Tempe, AZ 85281



 Nat Collins
 702 Harvard Ave. apt. 4
 Santa Clara, CA 95051



 Natalia Baltazar
 417 South Idaho Steet
 San Mateo, CA 94402




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1131 of
                                        1568
 Natalia Kennedy
 7052 E. Trent Ave.
 Mesa, AZ 85212



 Natalie Jackson
 8100 E. Jefferson
 Detroit, MI 48214



 Natalie Carbary
 8100 E. Jefferson Ave, Apt A607
 Detroit, MI 48214



 Natalie Cruz
 547 N. 4th St
 San Jose, CA 95112



 Natalie Mendoza
 1519 S Chestnut Circle
 Mesa, AZ 85204



 Natalie Miller
 701 E. Apache Blvd.
 Tempe, AZ 85281



 Natalie Morales
 12501 Rush Creek Lane
 Austin, TX 78681



 Nataliya Tairbekov
 104 Yeonas Dr SE
 Vienna, VA 22180




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1132 of
                                        1568
 Natalya Robinson
 560 GROVE ST APT 4
 SAN FRANCISCO, CA 94102-4293



 Natasha Jensen
 3030 Clarendon Blvd
 Arlington, VA 22201



 Nate Padgett
 4 St. Francis Place, Apt 1
 Brooklyn, NY 11216



 nate boyce
 1185 broadway
 San Francisco, CA 94109



 Nate Briggs
 6103 Admiralty Lane
 Foster City, CA 94404



 Nate Hovey
 6747 College Park
 Clarkston, MI 48346



 Natesa Shanmugam
 12204 Seline Way
 Potomac, MD 20854



 Nathan Botts
 1106 S Cazona
 Mesa, AZ 85204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1133 of
                                        1568
 Nathan Ostrout
 200 W street NE Apt 2104
 Washington, DC 20002



 Nathan Argetsinger
 1088 S Van Ness
 San Francisco, CA 94110



 Nathan Barnes
 288 Junipero Ave
 Pacific Grove, CA 93950



 Nathan Barnes
 288 Junipero Ave.
 Pacific Grove, CA 93950



 Nathan Bernstein
 512 W 15th St
 Tempe, AZ 85281



 Nathan Bramall
 728 Lakechime Drive
 Sunnyvale, CA 94089



 Nathan Carmichael
 2020 E Broadway Rd.
 #135
 Tempe, AZ 85282



 Nathan Chamberlin
 353 Jersey St
 San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1134 of
                                        1568
 Nathan Eastburn
 11017 East Sombra Ave.
 Mesa, AZ 85212



 Nathan Gabrish
 22267 Cherry Hill
 Dearborn, MI 48124



 Nathan Gall
 538 Cassatt Way
 San Jose, CA 95125



 Nathan Ginn
 1347 Libra Dr.
 Arnold, MO 63010



 Nathan Hall
 173 43rd Street
 Pittsburgh, PA 15201



 Nathan Kossak
 16303 South Mann Ave.
 Sahuarita, AZ 85021



 Nathan Liu
 10222 Byrne Ave
 Cupertino, CA 95014



 Nathan Loofbourrow
 70 Norsall Ct.
 Glendale, CA 91206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1135 of
                                        1568
 Nathan Machak
 941 East Grant Place
 San Mateo, CA 94402



 Nathan Monson
 1245 Lakeside Dr. #2021
 Sunnyvale, CA 94085



 Nathan oh
 20595 Debbie Lane
 Saratoga, CA 95070



 Nathan Reed
 444 Chapel Ridge Dr Apt G
 Hazelwood, MO 63042



 Nathan Scott
 12811 chaparral ave
 saratoga, CA 95070



 Nathan Smiddy
 5030 E Fountain Cir
 Mesa, AZ 85205



 Nathan Spak
 7 Graib St
 Pittsburgh, PA 15201



 Nathan Stanton
 129 Jefferson Ave, 1
 Brooklyn, NY 11216




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1136 of
                                        1568
 Nathan Stevens
 2209 Spinnaker Court
 Reston, VA 20191



 Nathaniel Bryant
 495 S PepperTree Dr
 Gilbert, AZ 85296



 Nathaniel Buckner
 715 S Washington Street APT A14
 Alexandria, VA 22314



 Nathaniel Guitierrez
 1151 Madera Avenue
 Menlo Park, CA 94025



 Nathaniel Meyer
 501 Beale
 San Francisco, CA 94105



 Nathaniel Morales
 12501 Rush Creek Lane
 Austin, TX 78681



 Nathaniel Padgett
 4 St. Francis Place
 Apt. Number 1
 Brooklyn, NY 11216



 Nathaniel Puffer
 5414 Clubside Lane
 Centreville, VA 20120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1137 of
                                        1568
 Nathaniel Verbeck
 10164 Indian Ridge
 Reno, NV 89511



 Natira Matthews
 3427 Jefferson Ave
 Redwood City, CA 94062



 Natti Pierce-Thomson
 9542 Eagle Hills Way
 Gilroy, CA 95020



 Neal A. Osborn
 2053 Skyline Dr.
 Milpitas, CA 95035



 Neal Humphrey
 1322 Wallach Place NW
 Washington, DC 20009



 Neal Peters
 43152 Coit Ave.
 Fremont, CA 94539



 Neal Ulrich
 691 Post Street, #604
 San Francisco, CA 94109



 Necia Disse
 6013 Oakdale Rd
 McLean, VA 22101




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1138 of
                                        1568
 Necia Disse
 6013 Oakdale Road
 McLean, VA 22101



 Necia Disse
 6013 Oakdale Rd. McLean
 Mclean, VA 22101



 Ned Ash
 850 John Carlyle Street #336
 Alexandria, VA 22314



 Ned Henry
 834 Dolores St
 San Francisco, CA 94110



 Neil Fjell
 2592 West Ohio Street
 Apache Junction, AZ 85120



 Neil Andersen
 1050 Acacia Street
 Montara, CA 94037



 Neil Angeles
 305 N Heatherwilde Blvd
 Pflugerville, TX 78660



 Neil Basu
 3583 Madison Common
 Fremont, CA 94538




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1139 of
                                        1568
 Neil Bhairo
 2327 Plateau Dr
 San Jose, CA 95125



 Neil Crawford
 2708 W. Palomino
 Chandler, AZ 85224



 neil fjell
 2592 west ohio street
 apache junction, AZ 85120



 Neil Jacobstein
 140 Palo Alto Rd
 San Francisco, CA 94114



 Neil Macfarland
 536 N Leone Ave
 Garden City, MI 48135



 Neil Olson
 739 Westgate Avenue
 St. Louis, MO 63130



 Neil Taylor
 2009 Palos Verdes
 Leander, TX 78641



 Neill Ford
 1640 W Desert Broom Drive
 Chandler, AZ 85248




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1140 of
                                        1568
 Neill Odenwald
 25510 Schoolcraft
 Redford, MI 48239



 Neill Odenwald
 2330 N. Custer Road
 Monroe, MI 48162



 Nelia Reiter
 19826 East Reins Road
 Queen Creek, AZ 85142



 Nell Lundy
 2170 Harrison Street #5
 San Francisco, CA 94110



 Nelle Phillips
 4100 Forest Park Ave Apt 413
 Saint Louis, MO 63108



 Nels Thogerson
 2354 Old Trail Drive
 Reston, VA 20191



 Nelson Brock
 1166 Morae Ave
 Sunnyvale, CA 94089



 Nelson Chan
 1275 E Crystal Cir
 Canton, MI 48187




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1141 of
                                        1568
 Nelson Choi
 4707 Malero
 San Jose, CA 95129



 Nelson Fesas
 8600 Fm 620 North #2536
 Austin, TX 78726



 Nelson G. Reyes, Sculpture Factory Xinch
 Jingdezhen Shi Jiangxi Sheng, 333000
 CHINA



 Nelson Reyes
 8802 E. University Drive
 # 46
 Mesa, AZ 85207



 Nelson Villatoro
 1419 Shenta Oak Dr
 Norcross, VA 22060



 Nena Barley
 2808 Saint Marys View Rd
 Accokeek, MD 20607



 Nestor Llanos
 2771 S. Nolina Pl.
 Chandler, AZ 85286



 New Century Commons, LLC
 485 Alberto Way, Suite 200
 Los Gatos, CA 95032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1142 of
                                        1568
 New York City Economic Development Corp
 Attn: Current officer
 110 William Street
 New York, NY 10038



 New York City Economic Development Corpo
 Attn: Current officer
 110 William Street
 New York, NY 10038



 Nexy Andrews
 11220 N. 18th Dr.
 Phoenix, AZ 85029



 Nguyen Nguyen
 561 S 22nd St.
 San Jose, CA 95116



 Nicholas Benjamin
 85 Lombardy Lane
 Orinda, CA 94563-1330



 Nicholas Britto
 11148 Grrade Drive
 Reston, VA 20191



 Nicholas OBrien
 7058 Washington Ave
 Saint Louis, MO 63130



 Nicholas Andraka
 5725 Saint Johns Chapel Rd
 Owings, MD 20736




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1143 of
                                        1568
 Nicholas Chim
 226 Caselli Ave.
 San Francisco, CA 94114



 Nicholas Christian
 8072 Woodholme Cir
 Pasadena, MD 21122



 Nicholas Chubrich
 2602 Pacific Ave.
 San Francisco, CA 94115



 Nicholas Crumrine
 4900 Creekline Drive
 Austin, TX 78745



 Nicholas Filary
 15009 Drusillas Dr
 Pflugerville, TX 78660



 Nicholas Flowers
 981 North Western Ridge Trail
 Tucson, AZ 85748



 Nicholas Garthright
 2036 W. Hayden
 Queen Creek, AZ 85142



 Nicholas Green
 1021 Magnolia Street
 Oakland, CA 94607




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1144 of
                                        1568
 Nicholas Harrigan
 1805 Crystal Dr Unit 709
 Arlington, VA 22202



 Nicholas Huba
 15200 Sweet Caddies Dr.
 Pflugerville, TX 78660



 Nicholas Kandas
 945 East Playa del Norte Drive 1026
 2885 East Robin Court
 Tempe, AZ 85281



 Nicholas Kirschman
 2632 Roseland Terrace
 St. Louis, MO 63143



 Nicholas Michlig
 171 19th Ave
 San Francisco, CA 94043



 Nicholas Olsen
 314 E. Mckinley Ave
 Sunnyvale, CA 94086



 Nicholas Peck
 308 Comanche Circle
 Hutto, TX 78634



 Nicholas Riedel
 505 Pinon cv
 Georgetown, TX 78628




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1145 of
                                        1568
 Nicholas Sarandou
 1213 Mt. Royal Blvd.
 Pittsburgh, PA 15223



 Nicholas Scheufler
 5292 WINTERS RUN RD
 DUBLIN, OH 43016



 Nicholas Steigmann
 3412 Edison St.
 San Mateo, CA 94403



 Nicholas Strasner
 1221 E Apache Blvd Apt 3061
 Tempe, AZ 85281



 Nicholas Weeks
 106 La Questa Way
 Woodside, CA 94062



 Nicholas Yurek
 6758 Garner Ave
 St.Louis, MO 63139



 Nick Collins
 2310 Muriel Dr
 Santa Cruz, CA 95062



 Nick Avgerinos
 9914 S Wildcat Rd
 Molalla, OR 97038




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1146 of
                                        1568
 Nick Bafaro
 2700 Corliss Dr
 St. Louis, MO 63125



 Nick Baker
 10510 Copperfield Dr
 Saint Louis, MO 63123



 Nick Baxter
 801 Newhall
 Hillshorough, CA 94010



 Nick Campau
 14856 Cleveland
 Allen Park, MI 48101



 Nick Chim
 226 Caselli Ave.
 San Francisco, CA 94114



 Nick Clausen
 795 Geary Street
 San Francisco, CA 94109



 Nick Cooper
 251 Harold Ave
 San Francisco, CA 94133



 Nick Dawes
 7810 Caberfae Trail
 Clarkston, MI 48348




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1147 of
                                        1568
 Nick Dhuyvetter
 1655 E University Dr Apt 1031
 Tempe, AZ 85281



 Nick Edgington
 10721 Herd
 cary, NC 27511



 Nick Huff
 608 Elder Way
 Round Rock, TX 78664



 Nick Lawrence
 11407 San Jose
 Redford, MI 48239



 Nick Lloyd
 8550 59th St. N
 Lake Elmo, MN 55042



 Nick Martin
 1600 N Saba St, Unit 210
 Chandler, AZ 85225



 Nick Matsakis
 153 Bonita Ave.
 Redwood City, CA 94061



 Nick Nieminen
 19 Capp St
 San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1148 of
                                        1568
 Nick O'Neill
 1023 Noe St
 San Francisco, CA 94114



 Nick Parker
 730 bickneil rd
 Los Gatos, CA 95030



 Nick Peix
 871 Cape Breton Dr.
 Pacifica, CA 94044



 Nick Pourfard
 1815 17th ave.
 San Francisco, CA 94122



 Nick Reimnitz
 160 14th Street
 San Francisco, CA 94103



 Nick Rudomin
 8515 Brodie Ln #632
 Austin, TX 78745



 Nick Sanders
 22641 Mt Eden Rd
 Saratoga, CA 95070



 Nick Schaeferle
 2310 Rock St
 Apt 40, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1149 of
                                        1568
 Nick Shelton
 4517 Depew Ave.
 Austin, TX 78751



 Nick Smith
 545 Albemarle st.
 El cerrito, CA 94530



 Nick Thompson
 134 Carnegie St.
 Pittsburgh, PA 15208



 Nick Triantos
 351 La Questa Way
 Woodside, CA 94062



 Nick Verzino
 5237 nottingham ave
 st. louis, MO 63109



 Nick Wilson
 300 Bocana St Apt 3
 San Francisco, CA 94110



 Nick Young
 190 S. 15th St.
 San Jose, CA 95112



 Nicky Litle
 130 San Rafael Avenue
 Belvedere, CA 94920




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1150 of
                                        1568
 Nicolas Echeverria
 3804 Evans Street #10
 Los Angeles, CA 90027



 Nicolas Feria
 1688 Tacoma Ave
 Berkeley, CA 94707



 Nicolas Garcia
 1851 E. Kirkland Lane
 Tempe, AZ 85281



 Nicolas Kokocinski
 3473 N 1st St
 San Jose, CA 95134



 Nicolas Morales
 12501 rush creek ln
 Austin, TX 78732



 Nicolas Strauli
 1357 11th Ave
 San Francisco, CA 94122



 Nicolas Valverde
 275 s. 20th St.
 San Jose, CA 95116



 Nicolas Wolf
 601 Holland Lane Apt 508
 Alexandria, VA 22314




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1151 of
                                        1568
 Nicolas Yanuzzi
 3298a Wilson Blvd
 Arlington, VA 22201



 Nicolas ZevallosRoberts
 338 S.Atlantic Ave
 Pittsburgh, PA 15214



 Nicolay Postarnakevich
 122 Montana
 San Francisco, CA 94112



 Nicole Andrews
 1577 Koch Ln
 San Jose, CA 95125



 Nicole Aptekar
 985 Howard St.
 san francisco, CA 94103



 Nicole Bernal
 1001 Markham Ln Apt A
 Austin, TX 78753



 Nicole Catrett
 761 Colusa Ave
 El Cerrito, CA 94530



 Nicole de Jong
 3811 Acosta Rd
 Fairfax, VA 22031




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1152 of
                                        1568
 Nicole Hayes
 780 Town Center Dr APT3105B
 Dearborn, MI 48126



 Nicole Henninger
 4236 Bruce St
 Pittsburgh, PA 15201



 Nicole Hulet
 1914 West Canyon Way
 Chandler, AZ 85248



 Nicole Lee
 900 Folsom Street Apt. 452
 San Francisco, CA 94107



 Nicole Nicholson
 1747 E Erie St
 Gilbert, AZ 85295



 Nicole Weikert
 4421 Cox Road
 Glen Allen, VA 23060



 Niel Viljoen
 4555 cheeney st
 santa clara, PA 16066



 Niels van_Eck
 1635 California St Apt 72
 San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1153 of
                                        1568
 Nigel Langley
 2051 ashton ave
 menlo park, CA 94025



 Nigel Langley
 2051 Ashton Ave
 Menlo Park, CA 94025



 Nik Gervae
 547 Page St. #4
 San Francisco, CA 94117



 Nik Levy
 760 Skyline Dr. #B
 Felton, CA 95018



 Nik Levy
 2748 Belvue Dr
 Los Gatos, CA 95032



 Nikash Gupta
 482 Thompson Ave
 Mountain View, CA 94043



 Nikhil Muthuvenkatesh
 820 East Apache Blvd
 3817 Cereus Hall
 Tempe, AZ 85281



 Nikhil Bhatia
 571 Panchita Way
 Los Altos, CA 94022




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1154 of
                                        1568
 nikhil gangaram
 22399 janice avenue
 cupertino, CA 95014



 Nikhil Jali
 100 W. Fernando St. #114
 San Jose, CA 95013



 Nikhil Raghu
 169 W 81ST ST, APT 4D
 NEW YORK, NY 10024



 Niki Ernst
 12 Jennifer Pl
 San Francisco, CA 94107



 Nikita Mikros
 214A 29th Street
 Brooklyn, NY 11232



 Nikki Everett
 135 Dore St.
 San Francisco, CA 94103



 Nikki Stevens
 1522 E Southern Ave
 Tempe, AZ 85282



 Nikko Lubinski
 4418 24th St.
 San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1155 of
                                        1568
 Niko Bhatia
 571 Panchita Way
 Los Altos, CA 94022



 Nikola Uzelac
 413 E. Carter Dr.
 Tempe, AZ 85282



 Nikolai Romanenko
 101 jefferson Dr
 Menlo Park, CA 94024



 Nikolay Bryzgalov
 77 Domingo ave.
 Berkeley, CA 94705



 Nikos Troullinos
 1843 McDaniel
 San Jose, CA 95126



 Nikunj Khetan
 20307 Knollwood Dr
 Saratoga, CA 95070



 Nils Beck
 50 Mountainview
 San Mateo, CA 94025



 Nina Cho
 1 Lafayette Plaisance St
 Detroit, MI 48207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1156 of
                                        1568
 Nina Clarke-Telfer
 5003 W Saddlehorn Rd
 Phoenix, AZ 85083



 Nina Redse
 575 Elizabeth St.
 San Francisco, CA 94114



 Nina Shih
 1075 Space Pkwy
 Mountain View, CA 94043



 Nina Wilson
 66 Danton St
 San Francisco, CA 94112



 Ninad Sathe
 752 San Bruno Ave.
 San Francisco, CA 94107



 Nir Chezrony
 819 Paquerette Court
 Manchester, MO 63021



 Nirmal Merchant
 17 Paradise Ave
 San Francisco, CA 94131



 Nisha Fawcett
 703 N. Lang Ave
 Pittsburgh, PA 15208




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1157 of
                                        1568
 Nisha Rasik
 887 BUSH ST, APT 205
 SAN FRANCISCO, CA 94108



 Nishikant Sheorey
 226 Shrader
 San Francisco, CA 94117



 Nitesh Jadhav
 45101 seabrook
 Canton, MI 48188



 Nithya Somanath
 35841 Woodington ct, 40301
 Farmington Hills, MI 48335



 Nitun Verma
 530 Chestnut St. #104
 San Francisco, CA 94133



 Nitya Baddam
 5200 Thirn Creek
 San Jose, CA 95135



 Noa Bruhis
 306 S Westfall Ave
 Tempe, AZ 85281



 Noah Austin
 419 Marin Ave
 Mill Valley, CA 94941




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1158 of
                                        1568
 Noah Balmer
 1375 Fifth Ave.
 San Francisco, CA 94122



 Noah Butts
 7218 Upland St.
 Pittsburgh, PA 15208



 Noah Chittim
 305 West Shore Road
 Westport Island, ME 04578



 Noah Chittim
 852 Clayton St.
 San Francisco, CA 94117



 Noah Chittim
 111 Brackett Street #1
 Portland, ME 04102



 Noah Elliott
 618 19th street s apt 3
 Arlington, VA 22202



 Noah Frisch
 39 Liberty Dock
 Sausalito, ME 04965



 Noah Godwin
 1801 Pyramid Dr
 Austin, TX 78634




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1159 of
                                        1568
 Noah Goldstein
 5638 Marlborough Road
 Pittsburgh, PA 15217



 Noah Israel
 2726 N Harrison st
 Arlington, VA 22207



 Noah Kanter
 811 4th St NW APT 807
 Washington, DC 20001



 Noah Otero
 1128 E Loyola Dr
 Tempe, AZ 85282



 Noah Riley
 4027 Howley St
 Pittsburgh, PA 15224



 Noah Ross
 43 Peninsula Rd
 Belvedere Tiburon, CA 94920



 Noah Tsutsui
 4156 Folsom St.
 San Francisco, CA 94110



 Noel & Tracy Gorelick
 2203 Kalkaska
 Henderson, NV 89004




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1160 of
                                        1568
 Noel Commins
 835 Urbano Drive
 San Francisco, CA 94127



 Noel Cragg
 1566 Pacific Avenue
 Alameda, CA 94501



 Noel Gorelick
 2203 Kalkaska
 Henderson, NV 89004



 Noel Rabinowitz
 910 Regent St
 Alameda, CA 94501



 Noel Rosado
 1700 Hibbard ST
 Alameda, CA 94501



 Noelle Huskey
 615 Frederick St.
 San Francisco, CA 94117



 Nolan Doktor
 3151 Waukegan Avenue
 Simi Valley, CA 93063



 Nolan Groves
 11102 Spicewood Club
 Austin, TX 78750




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1161 of
                                        1568
 Nolan Leake
 1788 Elsie Ave.
 Mountain View, CA 94043



 Nolan Love
 2000 Broadway #508
 San Francisco, CA 94115



 Nolan Todd Doktor
 3151 Waukegan Avenue
 Simi Valley, CA 93063



 Nolawi Petros
 225 I ST NE, 712
 Washington, DC 20002



 Nondas Voll
 75 Elise St.
 San Francisco, CA 94110



 Nora Gilchrist
 214 N. Lexington St
 Pittsburgh, PA 15208



 Norbert Wank
 903 E El Camino Real
 Mountain View, CA 94040



 Norihiro Edwin Aoki
 115 Stadler Dr.
 Woodside, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1162 of
                                        1568
 Norm Donovan
 10185 Scenic
 Cupertino, CA 95014



 Norm Josephson
 4336 Fillmore St.
 Santa Clara, CA 95056



 Norman Guidry
 6712 Cromarty Ln.
 Austin, TX 78754



 Norman Hicks
 1428 Yates Store Rd.
 Cary, NC 27519



 Norman Lee
 735 Rivera Street
 San Francisco, CA 94116



 Norman Newlon
 2367 South Drive
 Santa Clara, CA 95051



 Norman Newton
 2367 South Drive
 Santa Clara, CA 95051



 Norman On
 225 Vista View Dr.
 Cloverdale, CA 95425




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1163 of
                                        1568
 Norman Oppenheimer
 16 Terrace Avenue
 Kentfield, CA 94904



 Normand Nantel
 2202 Charter Way
 San Leandro, CA 94579



 Northwest Signs Inc.
 120 Encinal St.
 Santa Cruz, CA 95060



 Noura Ballout
 4474 Third St. Unit B2
 Detroit, MI 48201



 Noureddine Echlouchi
 140 58th st, Unit 6C
 Brooklyn, NY 11220



 Noy Konforty
 508 San Benito Ave
 Menlo Park, CA 94025



 Numair Ahmed
 3625 E ray road, Apt 2102
 Phoenix, AZ 85044



 Nunzio DeCia
 16376 Mulberry Way
 Northville, MI 48168




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1164 of
                                        1568
 NYC Economic Development Corp
 P.O. Box 5264
 New York, NY 10008



 O.J. Vander Meiden
 8420 Ironweed Run
 Round Rock, TX 78681



 Octaviani Adam
 7 Glenn St #302
 Morgantown, WV 26505



 Octavio Ortiz
 28 Claremont Ave
 Redwood City, CA 94062



 Octavio Paguaga
 1924 C St NE
 Washington, DC 20002



 Odelia Deng
 50 Lee Ave
 San Francisco, CA 94112



 Ofer Zajicek
 1606 Blue Meadow Rd
 Potomac, MD 20854



 OIivia Maas
 9 Tupelo Way
 Acton, MA 01720




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1165 of
                                        1568
 Okhtay Azarmanesh
 2121 3rd street, #511
 San Francisco, CA 94107



 Oleg Gusikhin
 2101 Village Rd
 Dearborn, MI 48324



 Oleg Krupin
 400 ORTEGA AVE, APT 309
 Mountain View, CA 94040



 Oleg Petrov
 705 W Fremont ave, #2
 Sunnyvale, CA 94087



 Olga Escobar
 516 Arleta Ave
 San Jose, CA 95128



 Olga Green
 1030 Highlands Plz Drive E 502 E
 St. Louis, MO 63110



 Olga Pogoda
 1720 Miriam St
 Pittsburgh, PA 15213



 Olin Palmer
 96 Cedar St.
 San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1166 of
                                        1568
 Oliver Frank Juang
 2703 Mathews St.
 Berkeley, CA 94702-2215



 Oliver Holden
 201 charter oak ave
 San Francisco, CA 94124



 Oliver Juang
 2703 Mathews St.
 Berkeley, CA 94702-2215



 Oliver Ramin
 21 Weatherly Dr.
 Mill Valley, CA 94941



 Oliver Zhang
 1115 St. Joseph Ave.
 Los Altos, CA 94024



 Olivia Anderson
 1165 Miller Ave
 Berkeley, CA 94708



 Olivia Kissel
 903 Norfolk St
 Pittsburgh, PA 15217



 Olivia McCaa
 1768 Quesada Way
 Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1167 of
                                        1568
 Olivia Morgan
 901 23rd street s
 Arlington, VA 22202



 Olivia Morgan_V
 901 23rd Street S
 Arlington, VA 22202



 Olivia Morrow
 304 Summers Drive
 Alexandria, VA 22301



 Olivia Morrow_V
 1315 Gallatin St NW
 Washington, DC 20011



 Olivia Nguyen
 4006 Bull Creek Road, Unit 1
 Austin, TX 78731



 Olivier Massot
 21 S. Fenwick St
 Arlington, VA 22204-1832



 Ollie Olivieri
 313 Gross St. # 3
 Pittsburgh, PA 15224



 Olof Berner
 614 South Millvale Ave. #2
 Pittsburgh, PA 15224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1168 of
                                        1568
 Olof Berner
 614 S. Millvale Ave.
 Pittsburgh, PA 15224



 Olya Zarembo
 25885 Trabuco Rd #47
 Cupertino, CA 92630



 Om Johari
 5020 w laredo st
 chandler, AZ 85226



 Omar Alraish
 615 E. Weber Dr. B3009
 Tempe, AZ 85281



 Omar Alavi
 4911 W. Wahalla Ln.
 Glendale, AZ 85308



 Omar Albakry
 6212 rose hill dr apt 2A
 alexandria, VA 22310



 Omar Almunawer
 133 West 6th
 Tempe, AZ 85281



 Omer Khan
 8845 Spinmaker Way Apt b4
 Ypsilanti, MI 48197




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1169 of
                                        1568
 Omid Arghand
 2428 topgallant court
 fairfield, CA 94534



 Omid Karkouti
 765 Raymundo Ave.
 Los Altos, CA 94024



 Omni Constructions Services
 533 Airport Blvd
 Burlingame, CA 94010



 One Studios_V
 2104 Judah Street
 San Francisco, CA 94122



 Oran Stainbrook
 2724 Channing Way #104
 Berkeley, CA 94704



 Oreen Cohen
 162 38th St.
 Pittsburgh, PA 15201



 Oretola Thomas
 1285 66th Ave.
 Emeryville, CA 94608



 Orie Zaklad
 80 Collingwood Street #401
 San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1170 of
                                        1568
 Orkin
 5810 Trade Center Dr
 STE 300 BLDG 1
 Austin, TX 78744



 Osama Sharkas
 4910 Centre Ave Apt. L10
 Pittsburgh, PA 15213



 Oscar Lezcano
 561 Vista Del Rio
 San Diego, CA 92154



 Oscar Mendoza
 2032 Democracy Dr
 Buford, GA 30519



 Oscar Strohacker
 406 Lake Shore Circle
 Point Venture, TX 78645



 Otto Schellin
 4056 Little Spring Drive
 Allison Park, PA 15101



 Owen Bettinger
 1512 Leavenworth St
 San Francisco, CA 94109



 Owen Coutts
 5727 17th AVE NE
 Seattle, WA 98105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1171 of
                                        1568
 Owen DeLong
 3251 Firth Way
 San Jose, CA 95121



 Owen Dix
 6957 W. Wolf St.
 Phoenix, AZ 85033



 Owen Hasbach
 841 W Holstein Trail
 San Tan Valley, AZ 85143



 Owen Hoyt
 348 Scott St
 San Francisco, CA 94117



 Owen Levinthal
 956 Wilmington Way
 Redwood City, CA 94062



 Owen Stenstadvolden
 24903 Granite Bluff Ln
 Katy, TX 77494



 Owen Woods
 226 Retama Dr
 Georgetown, TX 78626



 Oybek Salokhiddinov
 3346 KIMBER CT #16
 SAN JOSE, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1172 of
                                        1568
 Pablo Iturralde
 2711 Wyoming St.
 Saint Louis, MO 63118



 Pablo MoyanoFernandez
 5 Lenox Place
 St. Louis, MO 63108



 Pablo Reyna
 313 Paige Bend
 Hutto, TX 78634



 Pace Nalbone
 19 Smith Dr.
 Allentown, NJ 08501



 Paco Levine
 549 53
 Brooklyn, NY 11220



 Paige Carrington
 1470 Fulton Street, Apt. #18
 San Francisco, CA 94117



 Paige Johnson
 541 Birch St.
 San Francisco, CA 94102



 Paige Parsons
 517 Georgia Ave.
 Palo Alto, CA 94306




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1173 of
                                        1568
 Paiju Liu
 10222 Byrne Ave
 Cupertino, CA 95014



 PaiLing Ho
 21534 Conradia Ct
 Cupertino, CA 95014



 Pam Carlton
 31107 Page Mill Road
 Los Altos, CA 94022



 Pam Fernandes
 536 Hopkins St.
 Menlo Park, CA 94025



 Pam Palmieri
 PO Box 829
 Saline, MI 48176



 Pam Tullo
 16561 Windmere Circle
 Southgate, MI 48195



 Pamela Fox
 766 S Van Ness Ave
 San Francisco, CA 94110



 Pamela Lombardi
 2505 E. Williams Field Rd.
 Apt. 1036
 Gilbert, AZ 85295




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1174 of
                                        1568
 Pamela Robertson
 365 Creekside Dr
 Buda, TX 78610



 Pantea Karimi
 1679 Brooklyn Ave
 San Jose, CA 95128



 Panya Wongsenakhum
 400 River Side Ct #202
 Santa Clara, CA 95054



 Paola Addamiano-Carts
 14877 Poplar Hill Rd.
 Accokeek, MD 20607



 Paolo Salazar
 1510 Union St., Apt 8
 San Francisco, CA 94123



 Para Weerappuli
 5553 N. Piccadilly
 West Bloomfield, MI 48322



 Paramjit Singh
 5858 laguna seca
 San Jose, CA 95123



 Paresh Patel
 1414 Shore District Dr Apt 3407
 Austin, TX 78741




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1175 of
                                        1568
 Paris Anderson
 340 s 3rd street
 san jose, CA 95112



 Pariss Yorker
 2109 Pullman Ave
 Belmont, CA 94002



 Park Avenue Coffee
 #1922 - Cortex,
 5105 Columbia Avenue,
 Saint louis, MO 63110



 Parker Dippel
 10150 E. Caron St.
 Scottsdale, AZ 85258



 Parker Heywood
 510 E Meadows Ln
 Gilbert, AZ 85234



 Parker Wood
 11140 N. 119th Pl.
 Scottsdale, AZ 85259



 Parmesh Krishen
 1717 Toomey Road #113
 Austin, TX 78704



 Parul Desai
 1962 11th Ave
 San Francisco, CA 94116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1176 of
                                        1568
 Parviz Zadeh
 1800 Patrick Place
 S.Park Twp, PA 15129



 Pasha Kravtsov
 Apt 2G 219 6th st
 San Francisco, CA 94103



 Pat Brown
 102 Shady Oak Dr.
 Georgetown, TX 78628



 Pat Brown
 204 Dowdy Cove
 Hutto, TX 78634



 Pat Crowder
 22027 Rustic Shores
 Katy, TX 77450



 Patel-Amin Trust Dated August 8, 2005
 1114 Nevada Ave.
 San Jose, CA 95125



 Patrice Coles
 2010 Rachel Ridge
 Cedar Park, TX 78613



 Patrice Hochstetler
 2405 Emmett Pkwy
 Austin, TX 78728




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1177 of
                                        1568
 Patricia Cochran
 130 E. San fernando
 San Jose, CA 95112



 Patricia Cunningham
 P.O. Box 241
 Kentfield, CA 94914



 Patricia Decker
 227 Upper Terrace
 San Francisco, CA 94117



 Patricia Feeney
 1370 Washington St #1
 San Francisco, CA 94109



 Patricia Johnson
 68 Fay Ave
 San Carlos, CA 94070



 Patricia Klenczar
 7622 Winona Ave
 Allen Park, MI 48101



 Patricia McFadden
 353 Jersey St
 San Francisco, CA 94114



 Patricia Olkowski
 1015 Atlantic Dr
 Stafford, VA 22554




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1178 of
                                        1568
 Patricia Park
 30 A Sherland Ave
 Mountain View, CA 94043



 Patrick Hines
 21477 E Roundup Way
 Queen Creek, AZ 85296



 Patrick Vostal
 10390 Woodlore Lane
 Plymouth, MI 48170



 Patrick Arnold
 132 S Nebraska St
 Chandler, AZ 85225



 Patrick Barber
 27124 Newberry Blvd
 brownstown, MI 48134



 Patrick Barron
 40 Trace Lane
 Half Moon Bay, CA 94019



 Patrick Bell
 3200 Greenfield, Suite 130
 Dearborn, MI 48120



 Patrick Bradley
 1455 Filbert Street #108
 San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1179 of
                                        1568
 Patrick Brennan
 1102 Pine St.
 Menlo Park, CA 94025



 Patrick Brown
 3 Winding Brook Lane
 St. Louis, MO 63121



 Patrick Conners
 1013 Lonesome Lilly Way
 Pflugerville, TX 78660



 Patrick Cooke
 12600 Avery Ranch Blvd
 Cedar Park, TX 78613



 Patrick Dempsey
 1240 Capri Dr.
 St. Louis, MO 63126



 Patrick Donahue
 219 Inglewood Drive
 Pittsburgh, PA 15228



 Patrick Donnelly
 2359 S NORFOLK ST
 SAN MATEO, CA 94403-1661



 Patrick Fee
 214 Elm Street
 Swissvale, PA 15218




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1180 of
                                        1568
 Patrick Hays
 1196 Noche Court
 Rio Rico, AZ 85648



 Patrick Holmes
 5005 Palmetto Ave #56
 Pacifica, CA 94044



 Patrick Hull
 5837 E Larkspur Dr
 Scottsdale, AZ 85254



 Patrick Keenan
 316 Valencia St
 San Francisco, CA 94103



 Patrick Kelly
 20 Milton Street
 San Francisco, CA 94112



 Patrick Kennedy
 25355 La Loma Drive
 Los Altos Hills, CA 94022



 Patrick Kennedy
 902 Cabriole dr
 Pflugerville, TX 78660



 Patrick Kinzley
 1800 Pacific Ave #207
 San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1181 of
                                        1568
 Patrick Lee
 2120 16th St. NW, apt 608
 Washington, DC 20009



 Patrick Lewis
 149 Trescony
 Santa Cruz, CA 95060



 Patrick Lie
 88 S. Broadway, #1202
 Milbrae, CA 94030



 Patrick Mather
 8505 Lynwood Place
 Chevy Chase, MD 20815



 Patrick Matthews
 2350 Horseshoe
 West Bloomfield, MI 48322



 Patrick McClure
 21859 E Stacy Rd
 Queen Creek, AZ 85142



 Patrick McEvoy
 3829 Russell Blvd.
 Saint Louis, MO 63110



 Patrick McGever
 2527 S. Rita Lane
 Tempe, AZ 85282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1182 of
                                        1568
 Patrick Mendez
 1000 matheson dr
 Leander, TX 78641



 Patrick Moor
 705 Elizabeth Lane
 Menlo Park, CA 94025



 Patrick O'Connell
 36 Fair Oaks St #6
 San Francisco, CA 94116



 Patrick Pfeiffer
 1763 North Point St.
 San Francisco, CA 94123



 Patrick Powell
 38526 Darbyshire
 Farmington Hills, MI 48331



 Patrick Smith
 2241 Buena Vista Ave
 Alameda, CA 94501



 Patrick Torre
 1455 GREENWICH ST APT 11
 SAN FRANCISCO, CA 94109



 Patrick VanHoecke
 52 Middlebury Ct.
 Dearborn, MI 48120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1183 of
                                        1568
 Patrick W and Lynne McClure Trust
 21859 E Stacy Rd
 Queen Creek, AZ 85142



 Patrick W and Lynne McClure Trust_Loan
 21850 E Stacey Rd
 Queen Creek, AZ 85142



 Patrick Wan
 1305 Pershing Ave
 San Mateo, CA 94403



 Patrick Wang
 1244 Harriet Ave
 Campbell, CA 95008



 Patrick Wilson
 1067 Market St #1002
 San Francisco, CA 94103



 Patti Gima
 1075 glendora ave.
 oakland, CA 94602



 Pattrick Loew
 3194 Lindenwood Dr
 Dearborn, MI 48120



 Patty Denham
 207 N. Rose Drive
 Glenshaw, PA 15116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1184 of
                                        1568
 Paul Hoke
 356 Ann
 Plymouth, MI 48170



 Paul Rust
 1666 Hester Ave
 San Jose, CA 95128



 Paul A. Gennari
 727 26th Place, S
 Arlington, VA 22202



 Paul Agu
 6423 Woodrow Ave
 St. Louis, MO 63121



 Paul Anda




 Paul Ashley
 1827 Stonycroft Ln
 Bloomfield Hills, MI 48304



 Paul Atkins
 15151 Ford Road, Condo #414
 Dearborn, MI 48126-5028



 Paul Baity
 76 Windsor Place
 Brooklyn, NY 11215




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1185 of
                                        1568
 Paul Beck
 1846 Stanley Ave
 Signal Hill, CA 90755



 Paul Belue
 5040 Alaska Ave
 Saint Louis, MO 63111



 Paul Belue
 5040 Alaska Ave
 St. Louis, MO 63111



 Paul Bergman
 9 Boyden Drive
 Foxborough, MA 02035



 Paul Bloore
 242 NOverCourt Rd.
 Toronto, CA 94040



 Paul Boulay
 201 Hardy Ave.
 Campbell, CA 95008



 Paul Bricmont
 1139 Sierra Ave
 San Jose, CA 95126



 Paul Brown
 930 Linden Ave.
 South San Francisco, CA 94080




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1186 of
                                        1568
 Paul Bryant
 15112 Reo
 Allen Park, MI 48101



 Paul Burka
 42 Holly Drive
 St. Louis, MO 63119



 Paul Burke
 111 N. Wihtfield
 Pittsburgh, PA 15206



 Paul Calmes
 12013 Bobcat Trail
 Austin, TX 78750



 Paul Chambers
 4307 Montmorency Court
 San Jose, CA 95118



 Paul Clarke
 1462 Revelstoke Way
 Sunnyvale, CA 94087



 Paul Clenahan
 15395 Thomas St.
 Glen Ellen, CA 95442



 Paul Coppala
 1630 Wells Branch ParkwayAPT 523
 Austin, TX 78728




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1187 of
                                        1568
 Paul Crone
 1783 Lancaster Drive #8
 San Jose, CA 95124



 Paul Crowley
 1111 Casual Way
 san Jose, CA 95120



 Paul Czyzewski
 7240 N. Newburgh
 Westland, MI 48185



 Paul D'Angio
 3811 N Fairfax Drive Suite 600
 Arlington, VA 22203



 Paul Del Castillo
 219 Jeter Street
 Redwood City, CA 94062



 Paul DickinsonGoodman
 406 Belmont Way
 San Jose, CA 95125



 Paul Draghicescu
 668 S. King St Apt 502
 Seattle, WA 98104



 Paul Duggan




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1188 of
                                        1568
 Paul Duggan
 340 Route des Belhiardes
 St. Jorioz, 74410
 FRANCE



 Paul Duggan
 340 Route des Belhiardes
 St Jorioz, 74410
 FRANCE



 Paul Ekas
 959 Arlington Rd
 Redwood City, CA 94062



 Paul Engel
 1201 Tennessee St 117
 San Francisco, CA 94107



 Paul Ferguson
 4022 Patterson Ave
 Oakland, CA 94619



 Paul Fitzpatrick
 450 N Mathilda Avenue, Apt B104
 Sunnyvale, CA 94085



 Paul Fogarty
 131 W William St.
 San Jose, CA 95110



 Paul Forrester
 1125 Wekiva Ave.
 Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1189 of
                                        1568
 Paul Fuge
 4567 National Pike
 Markleysburg, PA 15459



 Paul Geddes
 2328 Champlain st NW
 Washington, DC 20009



 Paul Gennari
 727 26th Place, S
 Arlington, VA 22202



 Paul Giordano
 403 Promedade Lane
 Redwood City, CA 94065



 Paul Goodman
 406 Belmont Wy
 San Jose, CA 95125



 Paul Gootherts
 2451 Rebecca Lynn Way
 Santa Clara, CA 95050-5582



 Paul Griepentrog
 34 Liberty St #5
 San Francisco, CA 94110



 Paul H. Forrester
 1125 Wekiva Ave.
 Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1190 of
                                        1568
 Paul Harpring
 1972 21st Ave.
 San Francisco, CA 94116



 Paul Hernandez
 13020 La Vista Dr
 Saratoga, CA 95070



 Paul Hocker
 63 Albion St
 San Francisco, CA 94103



 Paul Hughes
 27800 Saddle Court
 Los Altos Hills, CA 94022



 Paul Ingram
 940 34th St
 Richmond, CA 94805



 Paul Iordanides
 801 15th St S
 Arlington, VA 22202



 Paul Jardetzky
 319 Missouri St.
 San Francisco, CA 94107



 Paul Kinsky
 60 Washburn St
 San Francisco, CA 91403




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1191 of
                                        1568
 Paul Kyros
 8865 Norwin Ave Ste 27 PMB 169
 North Huntingdon PA 15642, PA 15642



 Paul Lanzi
 162 Dorado Terr
 San Francisco, CA 94112



 Paul Lelko
 1913 Overland Dr.
 Leander, TX 78641



 Paul MacDougal
 8400 Lakewood Dr.
 Raleigh, NC 27613



 Paul Maenner
 3000 South Randolph St. Apt. 168
 Arlington, VA 22206



 Paul Mans
 27271 Ursula Lane
 Los Altos Hills, CA 94022



 Paul Martinez
 365 Calle Viento
 Morgan Hill, CA 95037



 Paul McAllister
 200 W. MCKAY ST.
 SALINE, MI 48176




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1192 of
                                        1568
 Paul McCarthy
 5614 Walnut Hall
 Ann Arbor, MI 48105



 Paul McKellar
 380 Alabama St.
 San Francisco, CA 94110



 Paul McMillan
 2425 Channing Way #319
 Berkeley, CA 94704



 Paul Mele
 464 Shady Grove
 Pittsboro, NC 27312



 Paul Meyer
 4831 Rollingwood Drive
 Rollingwood, TX 78746



 Paul Mueller
 22637 englehardt st
 Saint clair shores, MI 48080



 Paul O'Leary
 4422 24th Street
 San Francisco, CA 94114



 Paul Perkins
 1553 N.
 Dearborn, MI 48128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1193 of
                                        1568
 Paul Perrine
 1216 N. 4th St
 Killeen, TX 76541



 Paul Petach
 10893 Canyon Vista Dr
 Cupertino, CA 95014



 Paul Pillitteri
 45A Cedar St
 San Anselmo, CA 94960



 Paul R. Boulay & Constance A. Boulay
 201 Hardy Ave.
 Campbell, CA 95008



 Paul Rauschelbach
 110 Liberty St.
 San Francisco, CA 94110



 Paul Rauschelbach Sr
 1529 W Port Au Prince Ln
 Phoenix, AZ 85023



 Paul Ripley
 2630 Portola Drive, Space 9
 Santa Cruz, CA 95062



 Paul Rochon
 8925 Chubb Road
 Northville, MI 48168




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1194 of
                                        1568
 Paul Sangree
 8311 Pommel Dr
 Austin, TX 78759



 Paul Satchell
 538 Ashbury St.
 San Francisco, CA 94117



 Paul Schultz
 34527 summers
 Livonia, MI 48154



 Paul SimoesdeCarvalho
 138 Alley Way
 Mountain View, CA 94040



 Paul Smith
 PO Box 50081
 Phoenix, AZ 85076



 Paul Spracklen
 1190 Talley Loop
 Buda, TX 78610



 Paul Stimson
 54 Virginia Drive
 Rochdale, MA 01542



 Paul Strauss
 1033 Rubis Drive
 Sunnyvale, IL 60641




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1195 of
                                        1568
 Paul Strauss & Felicia Gershberg
 1033 Rubis Drive
 Sunnyvale, IL 60641



 Paul Stubblebine
 45 Brentwood Ave.
 San Francisco, CA 94127



 Paul Susalla
 9604 Wall-Gene Rd.
 South Lyon, MI 48178



 Paul Tang
 376 Imperial Way Apt 103
 Daly City, CA 94015



 Paul Traina
 PO Box 2127
 Menlo Park, CA 94026



 Paul Trainer
 3491 Thomas Dr.
 Palo Alto, CA 94303



 Paul Tsier
 566 S Van Ness Ave #9
 San Francisco, CA 94110



 Paul Tsier
 566 S Van Ness, Apt 9
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1196 of
                                        1568
 paul velasquez
 45 bartlett st. apt 511
 San Francisco, CA 94110



 Paul Vinh Phan
 113 S. Mary Ave.
 Sunnyvale, CA 94086



 Paul Viscome
 14720 McGuire
 Taylor, MI 48180



 Paul William
 245 Alvarado Ave.
 Los Altos, CA 94022



 Paul Wonnacott
 10100 Bevern Ln
 Potomac, MD 20854



 Paul Youngblood
 620 36th Ave
 San Mateo, CA 94403



 Paula Luu
 1455 S. Van Ness
 San Francisco, CA 94110



 Paula McCaa
 1768 Quesada Way
 Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1197 of
                                        1568
 Pavel Lukyantsau
 7 Sangamore Court
 Bethesda, MD 20816



 Pavel Markin
 461 Northlake Dr #50
 San Jose, CA 95117



 Pavlo Iusim
 225 Coggins Drive, apt. 267
 Pleasant Hill, CA 94523



 Pawnee Leasing
 Attn: Current Corporate Officer
 3801 Automation Way Suite 207
 Fort Collins, CO 80525



 Pawnee Receivable Fund I
 P.O. Box 2289
 Hicksville, NY 11802



 Paxton Schiltz
 1024 washington st.
 San Jose, CA 95112



 Payne Sawyer
 7207 Amherst Avenue, Apartment A
 st louis, MO 63130



 Payson Beech
 205 Elva Drive
 Aptos, CA 95003




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1198 of
                                        1568
 Pearl Renaker
 623 Guinda St
 Palo Alto, CA 94301



 Pedram Rahmanian
 3310 W Braker Ln Suite 300-922
 Austin, TX 78758



 Peg Barratt
 2623 Lorcom Lane
 Arlington, VA 22207



 Pei - Ru Ko
 188 minna st.
 San Francisco, CA 94105



 Peiqi Su
 330 E 49th
 new york, NY 10017



 Peiyi Ko
 1502 Cobb St.
 San mateo, CA 94401



 Penny Mateer
 5417 Bates St.
 Pittsburgh, PA 15217



 Penny See
 1249 Saxonburg Blvd
 Glenshaw, PA 15116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1199 of
                                        1568
 Peoples Natural Gas Company
 PO BOX 644760
 Pittsburgh, PA 15264



 Peretz Partensky
 15 Langton St.
 San Francisco, CA 94103



 Perrin Gilbert
 8570 E. Indian School Rd., Unit E
 Scottsdale, AZ 85251



 Perrin Lam
 2519 31st Ave
 San Francisco, CA 94116



 Perry MacNeille
 18740 San Diego
 Latherup Village, MI 48076



 Perry Tancredi
 701 Pennsylvania Ave. #103
 San Francisco, CA 94107



 Pete Carpenter
 PO Box 360935
 Milpitas, CA 95036-0935



 Pete Aronson
 6305 West Del Rio Street
 Chandler, AZ 85226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1200 of
                                        1568
 Pete Bachant
 3831 Grindley Park Ct
 Dearborn, MI 48124



 Pete Kang
 29673 arnold dr.
 sonoma, CA 95476



 Pete Klauke
 9659 sharon
 Taylor, MI 48180



 Pete Korovesis
 32161 Camborne Lane
 Livonia, MI 48154



 Pete Luzenski
 2802 Dorchester
 Birmingham, MI 48009



 Pete Pampliega
 3675 Rocky Shore Ct.
 Vallejo, CA 94591



 Pete Ponciano
 4038 Kelvington Ct
 San Jose, CA 95121



 Pete Rodriguez
 2337 Maxwell Dr.
 Leander, TX 78661




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1201 of
                                        1568
 Pete s Brooklyn Eats
 140-58 st & 5620 - 1st ave
 Brooklyn, NY 11220



 Pete Wentz
 1000 New Jersey Ave, SE #724
 Washington, DC 20003



 Peter King
 2572 Webster Street
 Palo Alto, CA 94301



 Peter Puleo
 25 Yorkshire Lane CT
 St. Louis, MO 63144



 Peter Sotos
 1320 Sarver Road
 Freeport, PA 16229



 Peter Treman
 5393 Mill Race Way
 Commerce Township, MI 48382



 Peter Amidon
 88 Higgins Ave.
 Los Altos, CA 94022



 Peter Beck
 1300 Crystal Dr. #802
 Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1202 of
                                        1568
 Peter Bierman
 263 Winding Way
 San Carlos, CA 94070



 Peter Boscacci
 100 Jewell Street
 Santa Cruz, CA 95060



 Peter Chase
 1111 Mariposa St.
 Gilroy, CA 95020



 Peter Cleaveland
 1168 Camellia Court
 San Leandro, CA 94577



 Peter Coffey
 380 Arden Road
 Menlo Park, CA 94025



 Peter Cossaboom
 12660 Lompico Rd
 Felton, CA 95018



 Peter Coyne
 805 East Capitol Street SE
 Washington, DC 20003



 Peter Czech
 9202 Lee Mason Dr
 Lorton, VA 22079




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1203 of
                                        1568
 Peter Downes
 118 E Glendale Ave
 Alexandria, VA 00022-2301



 Peter Dwersteg
 1117 Tennessee St Apt 2
 San Francisco, CA 94107



 Peter Fisher
 6550 Quail Hollow DR
 Manassas, VA 20111



 Peter Foradori
 50 Chapel Ridge Pl
 Pittsburgh, PA 15238



 Peter Franzen
 4376 E Campo Bello Dr
 Phoenix, AZ 85032



 Peter Freeman
 67 Oakmont Ave
 Piedmont, CA 94610



 Peter French
 6182 Waterman Blvd
 Saint Louis, MO 63112



 Peter Gage
 365 Arden Rd
 Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1204 of
                                        1568
 Peter GOEHRY
 399 Heath Street
 Milpitas, CA 95035



 Peter Hicks
 3136 N 38th St #4
 Phoenix, AZ 85018



 Peter Hunt
 304 W 92nd St, Apt 8L
 New York, NY 10025



 Peter Jennings
 PO Box 336
 Ben Lomond, CA 95005



 Peter Joy
 6624 Pershing Ave.
 Saint Louis, MO 63130



 Peter Kahn
 2702 E Verbena Drive
 Phoenix, AZ 85048



 Peter Kalogiannis
 915 Walsh Ave
 Santa Clara, CA 95050



 Peter Kimball
 475 W. San Carlos St. Apt 9104
 San Jose, CA 95110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1205 of
                                        1568
 Peter Kravtsov
 1945 Pacific Ave
 San Francisco, CA 94109



 Peter Kwan
 300 San Gabriel Village Blvd #522
 Austin, TX 78626



 Peter Leeman
 4610 Torley Street
 Pittsburgh, PA 15224



 Peter Libby
 1881 15th St
 San Francisco, CA 94103



 Peter Lofting
 PO Box 2506
 Petaluma, CA 94953



 Peter Lyle-Dugas
 3605 Alameda de las Pulgas, Apt 15
 Menlo Park, CA 94025



 Peter Lyon
 206 Autumn St
 La Honda, CA 94020



 Peter Migrin
 14074 Ingram
 Livonia, MI 48154




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1206 of
                                        1568
 Peter Moser
 1250 Powell Street #7
 Emeryville, CA 94608



 Peter Muller
 2526 Cottle Ave.
 San Jose, CA 95125



 Peter Myers
 4501 Lindell Blvd 7A
 St. Louis, MO 63108



 Peter Nelson
 1815 N Bryan St
 Arlington, VA 22201



 Peter O'Leary
 4422 24th Street
 San Francisco, CA 94114



 Peter Olivo
 3323 Iowa Ave
 St Louis, MO 63118



 Peter Overstreet
 783 Castro St.
 San Francisco, CA 94114



 Peter Reardon
 709 N. Mays St
 Round Rock, TX 78664




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1207 of
                                        1568
 Peter Reintjes
 31 Sandstone Ridge Dr.
 Durham, NC 27713



 Peter Rosenbladt
 2848 Concord Lane
 Santa Clara, CA 95051



 Peter Sainsbury
 703 Elm Ave
 Takoma Park, MD 20912



 Peter Shannon
 250 King Street
 San Francisco, CA 94107



 Peter Shchepin
 18350 N 32nd St Unit 141
 Phoenix, AZ 85032



 Peter Shemonsky
 604 Rhode Island Street
 San Francisco, CA 94141



 Peter Smith
 810 Romani Ct
 San Jose, CA 95125



 Peter Spiegel
 477 Wickson Ave
 Oakland, CA 94610




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1208 of
                                        1568
 Peter Stanick
 5746 Baum Blvd 3rd Floor
 Pittsburgh, PA 15206



 Peter Szpara
 14918 Gary Lane
 Livonia, MI 48154



 Peter Thai
 8210 Woods Edge
 White Lake, MI 48386



 Peter Tooley
 127 3rd Street NE
 Washington, DC 20002



 Peter Wexler
 1078 Forest Ave
 Palo Alto, CA 94301



 Peter Wickman
 2065 California St. #302
 San Francisco, CA 94109



 Peter Wright
 2619 Pennsylvania Ave
 St. Louis, MO 63118



 Peter Yoakum
 2005 California St
 Apt 38
 Mountain View, CA 94040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1209 of
                                        1568
 Peter Yu
 1402 Bing Dr
 San Jose, CA 95129



 Peter Zich
 1051 Woodland Ave
 Menlo Park, CA 94025



 Petr Suchomel
 700 Walnut Street #3
 San Carlos, CA 94070



 Petra Mitchell
 600 Victory Rd.
 Pittsburgh, PA 15037



 Peyton Lewis
 623 E Joseph Way
 Gilbert, AZ 85295



 PG&E - 2373568732-1
 BOX 997300
 SACRAMENTO,, CA 95899-7300



 PG&E - A/c 3451869175-2
 BOX 997300
 Sacramento, CA 95899



 PG&E - A/c#5977097677-3
 Box 997300
 Sacramento, CA 95899




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1210 of
                                        1568
 Phaedra Saxon
 1322 El Camino Real
 Redwood City, CA 94063



 Phares Noel
 4673 Walnut Glen Ct
 W. Bloomfield Hills, MI 48323



 Phil Braunberger
 PO Box 431
 Forestville, CA 95436



 Phil Giammattei
 545 North Ave
 Pittsburgh, PA 15209



 Phil Gilsdorf
 2206 Greenwich st apt 306
 San Francisco, CA 94123



 Phil Smith
 234 Westridge Dr.
 Raleigh, NC 27609



 Phil Spitler
 3270 20th St
 San Francisco, CA 94110



 Phil Trinidad
 635 Glenloch Way
 Emerald Hills, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1211 of
                                        1568
 Philip Balcar
 807 Cambridge Dr
 Round Rock, TX 78664



 Philip Crompton
 1726 Gum Street
 San Mateo, CA 94402



 Philip Florence
 2100 Ash Canyon Rd.
 Carson City, NV 89703



 Philip Garrow
 3219 Joe Hammer Sq.
 Pittsburgh, PA 15213



 Philip Gilliam
 1046 Powell Stret
 San Francisco, CA 94108



 Philip Gonzales
 1401 Enfield Rd.
 Austin, TX 78703



 Philip Haasnoot
 2681 West Megan Street
 Chandler, AZ 85224



 Philip Hartstein
 1050 Ringwood Ave.
 Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1212 of
                                        1568
 Philip Kim
 903 Bonneville Way
 Sunnyvale, CA 94087



 Philip Kyler
 274 Service way
 PGh, PA 15201



 Philip Liu
 10222 Byrne Ave
 Cupertino, CA 95014



 Philip Santa_Cruz
 45679 W. Dutchman Dr.
 Maricopa, AZ 85139



 Philip Ullom
 374 Fisher Road
 Grosse Pointe, MI 48230



 Philip Wanke
 600 FAIR OAKS DR
 GEORGETOWN, TX 78628



 Philip Wheat
 14425 Bois D Arc Ln
 Manor, TX 78653



 Philip Wiethe
 8420 N Dixboro Rd
 South Lyon, MI 48178




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1213 of
                                        1568
 Philippe Dallacorte
 140 58th st, Unit 6C
 Brooklyn, NY 11220



 Phillip Chin
 268 Bush St., #3015
 San Francisco, CA 94104



 Phillip Conrad
 810 Sunflower Drive
 Pflugerville, TX 78660



 Phillip Falk
 22211 Telegraph Road
 Southfield, MI 48033



 Phillip Henry
 4167 Washington Blvd Apt A
 sT. louis, MO 63108



 Phillip Hughes
 522 San Benito Avenue
 Menlo Park, CA 94025



 Phillip Kidd
 1947 E. Dartmouth st.
 Mesa, AZ 85203



 Phillip Kravtsov
 950 Mesa View Dr
 Arroyo Grande, CA 93420




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1214 of
                                        1568
 Phillip Limbacher
 2742 Buena View Ct.
 San Jose, CA 95121



 Phillip Stears
 960 E. Morelos St.
 Chandler, AZ 85225



 Phillip Takacs
 301 North Beauregard St. #909
 Alexandria, VA 22312



 Phillip Takacs
 301 N. Beauregard St
 Alexandria, VA 22312



 Phillip White
 7240 Dacosta
 Detroit, MI 48239



 Phillip Yang
 4733 Rambling
 Troy, MI 48095



 Phoenix Wang
 701 Hartranft Avenue
 Fort Washington, PA 19034



 Phyllis Schmit
 19992 Rodrigues Ave
 Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1215 of
                                        1568
 Phyllis Singer
 1808 Sharwood Place
 Crofton, MD 21114



 Pierce Young
 13802 Turbine Dr.
 Austin, TX 78728



 Pierre Coeurdeuil
 1422 Funston Ave.
 San Francisco, CA 94122



 Pierre Andrada
 355 Buena Vista Avenue East #312W
 San Francisco, CA 94117



 Pierre Capeder
 290 Amber Drive
 San Francisco, CA 94131



 Pierre Pellissier
 1299 Settle Ave.
 San Jose, CA 95125



 Pierre Perret
 4326 W Michigan Ave
 Glendale, AZ 85308



 Pietro Valsecchi
 23 North Humboldt Street
 San Mateo, CA 94401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1216 of
                                        1568
 Pizza Petrick
 1619 Park ave, apt 3
 Baltimore, MD 21217



 Polina Litvak
 148 22nd Ave
 San Francisco, CA 94121



 Polina McGuire
 378 Harman St Apt 3F
 Brooklyn, NY 11237



 Polina McGuire
 378 Harman Street
 Apt #3F
 Brooklyn, NY 11221



 Pongyu Lee
 1688 Richard Ave.
 Santa Clara, CA 95050



 Pooja Patel
 3275 valley square lane
 san jose, CA 95117



 Poornima Natarajan
 1048 Vardin Ter.
 Fremont, CA 94536



 Port Plastics Phoenix
 P.O. BOX 398573,
 SAN FRANCISCO, CA 94139-8573




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1217 of
                                        1568
 Postoria Aguirre
 PO Box 20928
 Castro Valley, CA 94546



 Powder By The Pound
 2011 Johnson Industrial Blvd.
 Nolensville, TN 37135



 POWELL-HARRY FAMILY TRUST, dated Septemb
 1050 Borregas Ave. #92
 Sunnyvale, CA 94089



 Power Supply
 1712 Mt. Vernon Ave
 Alexandria, VA 22301



 Prachi Shukla
 1216 E Vista Del Cerro #2092
 Tempe, AZ 85281



 Pradipta Banerjee
 820 N Wakefield Street
 Arlington, VA 22203



 Pradyumna Thayi
 4701 Monterey Oaks Blvd
 Austin, TX 78749



 Pragun Vohra
 10805 Lockland Rd
 Potomac, MD 20854




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1218 of
                                        1568
 Prakriti Choudhary
 5000 W. Chandler Blvd.
 Chandler, AZ 85226



 Pranathi Peri
 10812 Gaillardia
 Austin, TX 78733



 Pranesh Saran
 1048 Vardin Ter
 Fremont, CA 94536



 Prangthip Sunghitakul
 771 35th Ave, Apt 1
 San Francisco, CA 94121



 Pras Velagapudi
 5836 Northumberland St.
 Pittsburgh, PA 15217



 Prasad Hanumalagutti
 1774 Robindale Ave
 Dearborn, MI 48128



 Prashanth Rajendran
 5179 Shady Creek
 Troy, MI 48085



 Prasun Prakash
 6218 Shadelands Drive
 San Jose, CA 95123




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1219 of
                                        1568
 Prateek Sharma
 7100 E lincoln Dr. #2130
 Scottsdale, AZ 85253



 Pratik Bhagwat
 15801, S 48th St. #2062
 Phoenix, AZ 85048



 Praveen Kumar
 1163 Kassel Terrace
 Sunnyvale, CA 94089



 Praveen Thaivalappil
 8603 Dutchman Ct
 Manassas, VA 20110



 Praxair Distribution ,Inc
 Dept 0812
 PO Box 120812
 Dallas, TX 75312-0812



 Praxair Distribution Inc
 Dept LA 21511
 Pasadena, CA 91185



 Praxair Distribution Inc,
 Dept 0812
 PO Box 120812
 Dallas, TX 75312-0812



 Prerna Uppal
 11035 Magoalena Rd
 Los Altos Hills, CA 94024




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1220 of
                                        1568
 Preston Brown
 3820 Stoneycreek Rd.
 Chapel Hill, NC 27514



 Preston Dishman
 PO Box 1165
 Pacifica, CA 94044



 Preston Padilla
 119 E Fairmont Dr
 Tempe, AZ 85282



 Preston Pierce
 1016 N Palm St
 Gilbert, AZ 85234



 Priscilla Hwang
 4545 Forest Park Ave, Apt 203, 01
 St. Louis, MO 63108



 Priyanjali Bhattacharya
 279 Tradewinds Drive apt 6
 San Jose, CA 95123



 Priyanjali Bhattacharya
 279 Tradewinds Drive
 Apt No #6
 San Jose, CA 95123



 Priyank Gajiwala
 11500 Jollyville Road, Apt. 2023
 Austin, TX 78759




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1221 of
                                        1568
 Priyanka Joshi
 19950 Bonnie ridge way
 Saratoga, CA 95070



 Priyanka Patel
 596 S 2nd St
 San Jose, CA 95112



 Production Tool Supply
 PO BOX 670587
 Detroit, MI 48267



 Pui Ho
 21384 Rizzo Ave
 Castro Valley, CA 94546



 Puja Sarna
 4281 Express Ln Ste L1016
 Sarasota, FL 34238



 Qinchen Zha
 6060 S. Tweet St.
 Mesa, AZ 85212



 Quan Ho
 2345 Amherst St.
 Palo Alto, CA 94306



 Quentin Malloy
 1025 Cadillac Way
 Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1222 of
                                        1568
 Quentin MASSON_PILET
 548 26th Ave.
 San Francisco, CA 94122



 QueWon Rhee
 38 3rd St. #105
 Los Altos, CA 94022



 Quincy Kuang
 2 college street
 Providence, RI 02903



 Quinn Emanuel
 11513 Acacia Way
 Santa Cruz, CA 95062



 Quinn Fitzgerald
 26575 California
 San Francisco, CA 94110



 Quinn Kowitt
 123 Wilshire Ct
 San Carlos, CA 94070



 Quinn Kowitt_V
 123 Wilshire ct
 San Carlos, CA 94070



 Quinn Sowells
 796 Font Blvd.
 San Francisco, CA 94132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1223 of
                                        1568
 Quinn Sweeney
 776 Stanyan St. #8
 San Francisco, CA 94117



 Quinn Wingett
 2747 S Cholla Cir
 Mesa, AZ 85202



 Quinnland Sowells
 351 Meadow Lane
 Kingsburg, CA 93631



 Quiyi (Joy) Wang
 333 S. Bouquet St. Apt 3
 Pittsburgh, PA 15213



 Quyen Nguyen
 2008 w Wildhorse
 Chandler, AZ 85286



 R. E. Stinson_V
 5714 Lenore LN
 Alexandria., VA 22303



 Rachel Berg
 13111 Nadine Ave
 Huntington Woods, MI 48070



 Rachel Agner
 8807 Slayton Dr
 Austin, TX 78753




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1224 of
                                        1568
 Rachel Asher
 1063 Parkview Blvd
 Pittsburgh, PA 15212



 Rachel Barnett
 314 Cloudview Drive
 Austin, TX 78745



 Rachel Boivin
 1402 E Guadulupe St
 Tempe, AZ 85283



 Rachel Frick
 2800 Sunrise Ranch Road, Apt #328
 Round Rock, TX 78665



 Rachel Hirsch
 22209 Lanse
 Saint Clair Shores, MI 48081



 Rachel Hoffman
 651 Addison St.
 Berkeley, CA 94710



 Rachel Javorsky
 1900 E. Apache Blvd. #5006
 Tempe, AZ 85281



 Rachel Marsico
 445 Octavia Street #12
 San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1225 of
                                        1568
 Rachel Marsico
 445 Octavia Street
 Apt. Number 12
 San Francisco, CA 94123



 Rachel Menard
 13999 Alta Vista Ave
 Saratoga, CA 95070



 Rachel Phillips
 183 Hilton Way
 Pacifica, CA 94044



 Rachel Quach
 378 Fir Tree
 Milpitas, CA 95035



 Rachel Rhoades
 1249 E. Spence Ave. Apt. 241
 Tempe, AZ 85281



 Rachel Schechtman
 6th and Constition Ave
 Washington, DC 20024



 Rachel Snow
 45207 Gerald Ct
 Canton, MI 48188



 Rachel Szabo
 335 Butler St. #143
 Pittsburgh, PA 15223




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1226 of
                                        1568
 Rachel Turkal
 226 Echo Ave. #3
 Campbell, CA 95008



 Rachelle Hughes
 1401 Red Hawk Cir
 Fremont, CA 94538



 RAD Rod Web and Application Development
 1137 Deerwood Dr
 Elgin, TX 78621



 Radoslava Dogandjieva
 125 Guerrero St, Apt 5
 San Francisco, CA 94103



 Rafael Delgado
 14142 Clubhouse Road
 Gainesville, VA 20155



 Rafael Gonzalez
 1655 E Universitey
 Tempe, AZ 85281



 Rafael Jauregui
 8787 Branch Ave
 Clinton, MD 20735



 Rafael Lara
 1004 Meadows Dr
 Austin-Round Rock, TX 78758




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1227 of
                                        1568
 Rafael Quinteiro
 711 48th Avenue
 San Francisco, CA 94121



 Rafael Vanoni
 350 Green St Apt #2
 San Francisco, CA 94133



 Raffie Colet
 171 Main St #198
 Los Altos, CA 94022



 Rahim Bhimani
 1190 mission st Apt 2115
 San Francisco, CA 94103



 Rahim Ibrahim
 88 E San Fernando, Unit 611
 San Jose, CA 95113



 Raina Tung
 160 Bleecker Street
 New York, NY 10012



 Raina Masand
 8 Bernice St #102
 San Francisco, CA 94103



 Rainer Maas
 9 Tupelo Way
 Acton, MA 01720




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1228 of
                                        1568
 Raja Krishnamoorthy
 1309 Park Rd NW, # 202
 Washington, DC 20010



 Raja Rajendran
 5179 Shady Creek
 Troy, MI 48085



 Raja Velagapudi
 31 Par Rd
 Montebello, NY 10901



 Rajiv Patel
 612 Connecticut Street
 San Francisco, CA 94107



 Rakh Hargett
 6007 Christie Ave.
 Emeryville, CA 94608



 Rakmun Bryant-Vick
 627 14th st. #5
 San Francisco, CA 94114



 Ralph Alvarez
 2808 Magellan Circle
 Corona, CA 92882



 Ralph C. McMullan and Susan R. McMullan
 807 Lombard St.
 San Francisco, CA 94133




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1229 of
                                        1568
 Ralph Collins
 5425 Harwood Rd
 Bethesda, MD 20814



 Ralph Evans
 14747 N. Northsight Blvd.
 Scottsdale, AZ 85260



 Ralph Lin
 1214 5th St NE
 Washington, DC 20002



 Ralph Longman
 2727 S. Quincy St. #818
 Arlington, VA 22206



 Ralph McMullan
 807 Lombard St.
 San Francisco, CA 94133



 Ralph Schmidt-Dunker
 934 Howard Street
 San Francisco, CA 94103



 Ralph Taylor
 805 Leavenworth St., Apt. 1008
 San Francisco, CA 94109-6162



 Ralph Thomas
 PO Box 391076
 Mountain View, CA 94039




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1230 of
                                        1568
 Ram Koirala
 5901 W. 35th Ave. #168
 Phoenix, AZ 85051



 ramarao digumarthi
 3744 starr king circle
 palo alto, CA 94306



 Ramesh Peri
 10812 Gaillardia
 Austin, TX 78733



 Ramesh V. Peri
 10812 Gaillardia
 Austin, TX 78733



 Ramon Medina
 605 orvis ave.
 San Jose, CA 95112



 Ramon Yvarra
 15 Riverton Dr.
 San Francisco, CA 94132



 Ramona Sharples
 670 De Haro St, Apartment 6
 San Francisco, CA 94107



 Ramoncito Zabala
 1269 Redwood Ln.
 Lafayette, CA 94549




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1231 of
                                        1568
 Ramya Sankar
 305 Elan Village Ln
 San Jose, CA 95134



 Ran Tian
 60 Broad Street
 New York, NY 11004



 Rana Mohamed
 8421 Broad St
 Mclean, VA 22102



 Rand Wilkinson
 39 Clermont Lane
 St. Louis, MO 63124



 Randal Kretzler
 3814 Jarrett Way
 Austin, TX 78757



 Randall Ashby
 23518 Maude Ave.
 Hayward, CA 94541



 Randall Ersoz
 478 5th Avenue
 San Francisco, WA 98114



 Randall Hilligan
 834 taylor ave
 alameda, CA 94501




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1232 of
                                        1568
 Randall HUNTER
 1840 41st ave #132
 Capitola, CA 95010



 Randall Kania
 4319 Rowalt Drive #202
 College Park, MD 20740



 Randall Ridley
 14846 Kentfield
 Detroit, MI 48233



 Randall True
 111 Ripley St
 San Francisco, CA 94110



 Randolph Graff
 160 Bleecker Street
 New York, NY 10012



 RANDOLPH GRAFF_V
 160 Bleecker Street
 New York, NY 10012



 Random Turner-Jones
 2316 S Glennwood Ave
 Springfield, IL 62704



 Randy Flores
 1010 N Quintana
 Arlington, VA 22205




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1233 of
                                        1568
 Randy Hill
 4635 Warren St., NW
 Washington, DC 20016



 Randy Leiter
 134 Roberts Ln #303
 Alexandria, VA 22314



 Randy McLaws
 1371 W Canary Way
 Chandler, AZ 85286



 Randy Ramirez
 249 N King Rd
 San Jose, CA 95116



 Randy Sargent
 3634 Frazier Street
 Pittsburgh, PA 15213



 Randy Shelton
 1763 OConnor Ave
 Lincoln Park, MI 48146



 Randy Ubillos
 4652 18th St.
 San Francisco, CA 94114



 Rani Menon
 88 Higgins Avenue
 Los Altos, CA 94022




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1234 of
                                        1568
 Ranjeet Rao
 728 Vera Avenue
 Redwood City, CA 94061



 Raonel Denova
 12813 Doorbell
 Manor, TX 78653



 Raphael DIBAJI
 874 Fell St.
 San Francisco, CA 94117



 Raphael GASSIEX
 874 Fell St
 San Francisco, CA 94107



 Raphael Korean
 7312 Sutherland Ave.
 Shrewsburg, MO 63119



 Raphael Nardari
 1690 Kentfield Ave, Apt 4
 Redwood City, CA 94061



 Raphael Varieras
 18A Henry Street
 San Francisco, CA 94114



 Raquel Kueffner
 4849 Connecticut Ave NW, Apt 523
 Washington, DC 20008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1235 of
                                        1568
 Ratheesh Rajan
 8250 Business Park Drive #250
 Austin, TX 78750



 Rathi Munukur
 3200 Hillview Ave
 Palo Alto, CA 94304



 Raul Aguilar
 5969 Shattuck Ave.
 Oakland, CA 94609



 Raul Heredia
 223 Birch Creek Dr
 Pleasanton, CA 94566



 Ravi Kotichintala
 8620 Toro Creek
 Austin, TX 78759



 Ravindra Tappeta
 24370 Murtle
 Novi, MI 48375



 Rawan Hassunah
 1103 Guerrero St.
 San Francisco, CA 94110



 Rawi Issa
 3126 E Muirfield St
 Gilbert, AZ 85298




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1236 of
                                        1568
 Ray Brayer
 1417 Sanchez Ave
 Burlingame, CA 94010



 Ray Brister
 1102 Keeshond Pl.
 Round Rock, TX 78664



 Ray Everett
 350 Alabama St. #7
 San Francisco, CA 94110



 Ray Franks
 513 Kyle Ct.
 Gibsonia, PA 15044



 Ray Gurule
 433 W. Teakwood Dr
 Sun Lakes, AZ 85248



 Ray Guzman
 7029 Faught Rd.
 Santa Rosa, CA 95403



 Ray Johnson
 3070 Academy St
 Dearborn, MI 48124



 Ray Oppenheimer
 1357 93rd Ave. #B
 Oakland, CA 94603




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1237 of
                                        1568
 Ray Raffa
 611 South 15th Street
 San Jose, CA 95112



 Rayka Yokoo
 2151 Berkeley Way, Energy Biosci Bldg Sa
 Berkeley, CA 94704



 Raymond Fiddler
 276 S 20th St
 San Jose, CA 95116



 Raymond Galias
 1819 Gunsight Dr.
 Round Rock, TX 78665



 Raymond Martinez
 2251 Eisenhower Ave. #1522
 Alexandria, VA 22314



 Raymond Chan
 452 N 13th Street
 San Jose, CA 95112



 Raymond Couture
 2686 E. Elmwood
 Chandler, AZ 85249



 Raymond Fiddler
 38 So. 2nd Street
 San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1238 of
                                        1568
 Raymond J Oppenheimer
 1357 93rd Ave. #B
 Oakland, CA 94603



 Raymond LaFreniere
 2111 Jefferson Davis Hwy APT 1103S
 Arlington, VA 22202



 Raymond Lopez
 385 Gifford Ave.
 San Jose, CA 95126



 Raymond Ngo
 3207 Remington Way
 San Jose, CA 95148



 Raymond Peck III
 24653 Summerhill Ave
 Los Altos, CA 94024



 Raymond Peck IV
 24653 Summerhill Ave
 Los Altos, CA 94024



 Raymond Savoie
 78 Union Ave
 Campbell, CA 95008



 Raymond Tom
 1187 Prescott Ave
 Sunnyvale, CA 94089




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1239 of
                                        1568
 Raymond Tsai
 19661 Falcon Ridge Lane
 Northridge, CA 91326



 Raymond Vasquez
 100th Folsom st
 Hayward, CA 94544



 Raymond Yu
 1240 Briarleaf Ct.
 San Jose, CA 95131



 Raz Dan
 1264 Hanchett Ave.
 San Jose, CA 95126



 RC Morton
 2130 Redwood Hwy F-13
 Greenbrae, CA 94904



 RD CHILDERS
 2436 rick whinery
 AUSTIN, TX 78681



 RDU Triangle
 2807 E. Geer St.
 Durham, NC 27704



 RE Stinson
 5714 Lenore LN
 Alexandria, VA 22303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1240 of
                                        1568
 Rebecca Gies
 268 Bush St #802
 San Francisco, CA 94104



 Rebecca Benedict
 555 80th Street
 Brooklyn, NY 11209



 Rebecca Benedict
 555 80th Street
 Apt #1R
 Brooklyn, NY 11209



 Rebecca Brayer
 1417 Sanchez Av.e
 Burlingame, CA 94010



 Rebecca Dohrman
 1540 Renderer Dr
 St. Louis, MO 63122



 Rebecca Frey
 3955 Mayfair
 Dearborn Heights, MI 48125



 Rebecca Huelke
 10163 Faetano Ln
 Milan, MI 48160



 Rebecca Johnson
 6200 CALIFORNIA ST APT 1
 SAN FRANCISCO, CA 94121




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1241 of
                                        1568
 Rebecca Kehl
 15450 FM 1325 Apt 1636
 Austin, TX 78728



 Rebecca Nachman
 7104 Central Ave
 Takoma Park, MD 20912



 Rebecca Nowakowski
 3317 mission st.
 san francisco, CA 94110



 Rebecca Ouwenga
 1823 Lasalle St Apt A
 Saint Louis, MO 63104



 Rebecca Owens
 1520 Cameron Matthews APT 304 dr
 Matthews, NC 28105



 Rebecca Propes
 1441 E. Lovebird Lane
 Gilbert, AZ 85297



 Rebecca Ritger
 1492 W. Hedding
 San Jose, CA 95126



 Rebecca Sachtleben
 4366 Maryland Avenue Unit 203
 St. Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1242 of
                                        1568
 Rebecca Sachtleben
 8176 Middlevalley Trail
 Saint Louis, MO 63123



 Rebecca Sites
 416 Boyd Boulevard
 Verona, PA 15147



 Rebecca Smith
 43 South 14th St
 San Jose, CA 95112



 Rebecca Susan Barber
 253 N 13th St.
 San Jose, CA 95112



 Rebecca Taylor
 104 Old Lowery Ct
 Raleigh, NC 27614



 Rebecca Tisdel
 2601 La Frontera Blvd #2423
 Round Rock, TX 00078-7681



 Rebecca Zachau
 20638 Maria Ct.
 Castro Valley, CA 94596



 Rebecca Zak
 116 E. Middlefield Rd. Apt C
 Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1243 of
                                        1568
 Rebekah Capel
 868 43rd St.
 Emeryville, CA 94608



 Recology Golden Gate - 010973099
 PO Box 60846
 Los Angeles, CA 90060-0846



 Recology Golden Gate - 011012558
 P.O. Box 60846
 Los Angeles, CA 90060



 Recology Sunset Scavenger - A0010261842
 Recology Golden Gate
 PO Box 51302
 Los Angeles, CA 90051



 Reed Fagan
 4132 Washington Blvd
 St. Louis, MO 63108



 Reed Kelso
 560A Missouri St.
 San Francisco, CA 94107



 Rees Tucker
 2280 Stonyhill Rd
 Boulder, CO 80305



 Reese Forbes
 4225 West Pine Blvd Unit # 14
 St Louis, MO 63108-2869




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1244 of
                                        1568
 Reese Zecchin
 245 Kensington Way
 San Francisco, CA 94127



 Reese Zecchin_V
 245 Kensington Way
 San Francisco, CA 94127



 Reggie Raye
 5536 Kamin Street #31
 Pittsburgh, PA 15217



 Regina Sakols
 2505 Katrina Way
 Mountain View, CA 94040



 Regina Sibylle Sakols
 2505 Katrina Way
 Mountain View, CA 94040



 Rehab Ibrahim
 7711 O'Connor Drive, #303
 Round Rock, TX 78681



 Reid Fellenbaum
 3101 Wilson Blvd
 Arlington, VA 22201



 Reid Doctor
 5070 Westminister Pl
 St. Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1245 of
                                        1568
 Reid Eggebraaten
 762 Menker Ave.
 San Jose, CA 95128



 Rein Gabrielsen
 2379 44th Ave.
 San Francisco, CA 94116



 Reinaldo Giudici
 418 Hillwood Ct
 Mountain View, CA 94040



 Rekha Das
 655 S Fair Oaks Ave.
 Sunnyvale, CA 94086



 Remy Walk
 40 N Kingshighway Apt 3c
 Saint Louis, MO 63108



 Renate Albrecht
 456 St. Francis St.
 Redwood City, CA 94062



 Renatta Fairbanks
 7307 Indiana St
 Vancouver, WA 98664



 Rene Cardenas
 1722 Laurelwood Drive
 San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1246 of
                                        1568
 Rene Erickson
 8915 E guadalupe Rd #2172
 Mesa, AZ 85212



 Rene Hernandez
 3322 Brittan Ave. #4
 San Carlos, CA 94070



 Rene Morales
 1650 S Arizona Ave
 Chandler, AZ 85286



 Rene Ravenel
 1040 Howard St. #8
 San Francisco, CA 94103



 Renea Ramos
 2809 S Columbus St
 Arlington, VA 22206



 Renee Klish
 31 Parkplace Central
 Allen Park, MI 48101



 Renee Anderson
 322 Rome Street
 San Francisco, CA 94112



 Renee Burke
 7807 E. Main
 Mesa, AZ 85207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1247 of
                                        1568
 Renee Chow
 1616 Granada Drive
 Burlingame, CA 94010



 Renee Garnham
 1802 Charlton
 Ann Arbor, MI 48103



 Renee Hollomon
 1209 Mariposa Ave.
 San Jose, CA 95126



 Renee Olague
 760 Linda Mar
 Pacifica, CA 94044



 Renee Rose Schwartz
 120 21st Avenue
 San Francisoc, CA 94121



 renford freemantle
 977 Howard Street
 San Fransisco, CA 94103



 Reno Morella
 1075 California Ave
 San Jose, CA 95125



 Renzo Olguin
 1221 S. Eads St Apt. 401
 Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1248 of
                                        1568
 Republic Services
 # 915
 PO Box 78829
 Phoenix, AZ 85062-8829



 Reto Stamm
 1271 Poplar Ave Apt 409
 Sunnyvale, CA 94086



 Rex Reeb
 10632 N Scottsdale Rd, Suite 177
 Scottsdale, AZ 85254



 Rexford Widmer
 2146 E Watson Dr
 tempe, AZ 85283



 Rey Aponte
 12527 Enchanted Forest Dr.
 Austin, TX 78727



 Reyna Arroyo
 418 Beech St. Apt. #7
 Redwood City, CA 94063



 Reynaldo Alaniz
 12215 Antoinette Pl
 Austin, TX 78727



 Reynaldo Reyes
 PO Box 250506
 San Francisco, CA 94125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1249 of
                                        1568
 Reza Yazdi
 1109 Vincent dr
 San Francisco, CA 94116



 Rhys Andersen
 720 Airport Blvd #86
 Austin, TX 78702



 Rhys Charlot
 1619 Alabama Street
 San Francisco, CA 94110



 Rhys Charlot
 1022 N. MORENA BLVD.
 SAN DIEGO, CA 92111



 Ricarda Burke
 271 57th Street 2nd Flr
 Brooklyn, NY 11220



 Ricarda Burke
 271 57th Street
 Apt No: 2nd Floor
 Brooklyn, NY 11203



 Ricardo Amezquita
 465 Fairchild Dr.
 Mountain View, CA 94043



 Ricardo Figueroa
 515 E Apache Blvd
 Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1250 of
                                        1568
 Ricardo Robinson
 5720 Friendship Ave.
 Pittsburgh, PA 15206



 Ricardo Villagomez
 1540 Shafter Ave
 San Francisco, CA 94124



 Ricco Houston
 19201 Nicole Ln
 Pflugerville, TX 78660



 Rich Morin
 281 Amador Ave.
 San Bruno, CA 94066



 Rich Birch
 2112 Sarah St
 Pittsburgh, PA 15203



 Rich Daniels
 1588 Indiana St. #8
 San Francisco, CA 94107



 Rich Gee
 1579 Belmont Ave
 San Carlos, CA 94070



 Rich Mazel
 2200 Faymont Ave.
 Manhattan Beach, CA 90266-4154




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1251 of
                                        1568
 Rich Muehlberg
 4930 Neoslo
 Saint Louis, MO 63109



 Rich Upton
 4512 Ellen St.
 Oakland, CA 94601



 Richard Henery
 P.O Box 994
 Sawanee, GA 30024



 Richard Jakacki
 7652 Shonandoah
 Allen Park, MI 48101



 Richard Lotti
 96 Pepper Dr
 Los Altos, CA 94022



 Richard Mistler
 1038 Lafayette Drive
 Yardley, PA 19067



 Richard Paco Levine
 549 53 St.
 Brooklyn, NY 11220



 Richard Shuff
 1855 Pacific Ave. #103
 San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1252 of
                                        1568
 Richard Simms
 4487 Merlin Way
 Soquel, CA 95073



 Richard Williams
 1405 Searcy Dr.
 San Jose, CA 95118



 Richard A. Shine
 195 Thompson Square
 Mountain View, CA 94043



 Richard and Elizabeth Jacobs
 44963 Sondra Dr.
 Belleville, MI 48111



 Richard Babb
 93 Spindrift Passage
 Corte Madera, CA 94925



 Richard Barkkume
 10705 Spring Valley Rd
 Austin, TX 78737



 Richard Bennett
 700 Ravenswood Ave. Apt 2
 Pittsburgh, PA 15202



 Richard Boyd
 152 W Del Rio Street
 Gilbert, AZ 85233




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1253 of
                                        1568
 Richard Buchanan
 924 Aruba Lane
 Foster City, CA 94404



 Richard Cason
 50263 Monroe St
 Canton, MI 48188



 Richard Cavallaro_Loan
 1516 Wildrose Way
 Mountain View, CA 94043



 Richard Cavallaro_Loan
 1516 Wild Rose Way
 Mountain View, CA 94043



 Richard Clark
 1362 Geneva Ave
 San Carlos, CA 94070



 Richard Davis Trapani
 178 10th St.
 Oakland, CA 94607



 Richard DeLaRosa
 211 Riker Terrace
 Salinas, CA 93901



 Richard Drake
 1507 N Kirkwood Rd
 Arlington, VA 22201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1254 of
                                        1568
 Richard Ehrenhaus
 33-20 48th Ave
 Long Island City, NY 11101



 Richard Ely
 6275 Mojave Drive
 San Jose, CA 95120



 Richard Englert
 11986 Ruth St
 South Lyon, MI 48178



 Richard Ensslin
 541 Hermosa Ave.
 Half Moon Bay, CA 94019



 Richard F. McAllister
 149 Webster St.
 Palo Alto, CA 94301



 Richard Flubacher
 827 W. Carob Dr.
 Chandler, AZ 85248



 Richard Ford
 900 East Hamilton Ave Suite 100
 Campbell, CA 95008



 Richard Fosmoe
 219 N VISTA
 Auburn Hills, MI 48326




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1255 of
                                        1568
 Richard G. Perry
 4812 Birmingham Dr
 San Jose, CA 95136



 Richard Garb
 1141 Polk Ave
 Sunnyvale, CA 94086



 Richard Haddock
 703 Vernal Way
 Emerald Hills, CA 94062



 Richard Hayden
 1375 Montecito Ave #15
 Mountain View, CA 94043



 Richard Hibbs
 952 Sanchez St
 San Francisco, CA 94114



 Richard Hornbaker
 4225 W. Monterey St.
 Chandler, AZ 85226



 Richard Jones
 151 Stratford St.
 Redwood City, CA 94062



 Richard Kimbrough
 431 Lewis Lane
 Pacifica, CA 94044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1256 of
                                        1568
 Richard Lane
 1266 Sandia Ave
 Sunnyvale, CA 94089



 Richard Lee
 1099 Mississippi St. #9
 San Francisco, CA 94107



 Richard Lindsay
 7 Steed Place
 Potomac Falls, VA 20165



 Richard M. Seman
 2320 Forest Drive
 Pittsburgh, PA 15235



 Richard Maceira
 5925 E. Norwood St.
 Mesa, AZ 85215



 Richard Man
 2625 Middlefield Rd. #685
 Palo Alto, CA 94306



 Richard Marasas
 6336 Sponson Ct
 San Jose, CA 95123



 Richard McAllister
 149 Webster St.
 Palo Alto, CA 94301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1257 of
                                        1568
 Richard McDougall
 PO Box 165
 Menlo Park, CA 94026



 Richard Mortensen
 1236 E. Buffalo St.
 Chandler, AZ 85225



 Richard Pekelney
 841 Union St.
 San Francisco, CA 94133



 Richard Peltier
 5539 Anza Street
 San Francisco, CA 94121



 Richard Rodgers
 433 S. 7th. St. #3
 San Jose, CA 95112



 Richard Rogers
 8817 West Prospector Drive
 Queen Creek, AZ 85142



 Richard Schaefer
 442 Haight St Apt 2
 San Francisco, CA 94117



 Richard Seman
 2320 Forest Drive
 PIttsburgh, PA 15235




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1258 of
                                        1568
 Richard Shapiro
 438 Arkansas Drive
 San Francisco, CA 94107



 Richard Shine
 195 Thompson Square
 Mountain View, CA 94043



 Richard Shuff
 1855 Pacific Ave. Apt. 103
 San Francisco, CA 94109



 Richard Sloan
 12100 Samsung Blvd
 Austin, TX 78754



 Richard Stibich
 230 Donahue Street
 Sausalito, CA 94965



 Richard Stibich_V
 475 W San Carlos #9302
 San Jose, CA 95110



 Richard Sutherland
 7505 Waldon Dr.
 Austin, TX 78750



 Richard Szabo
 335 butler St. #143
 Pittsburgh, PA 15223




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1259 of
                                        1568
 richard tarlov
 379 Eureka St
 San Francisco, CA 94114



 Richard Tincher
 567 Cresta Vista Lane
 Portola Valley, CA 94028



 Richard Tinsley
 16555 S Kennedy Rd
 Los Gatos, CA 95030



 Richard Trapani
 178 10th St
 oakland, CA 94607



 Richard Turner
 419 W. Dana st
 mountain view, CA 94041



 Richard Veal
 3570 N. Lindbergh Blvd
 St. Ann, MO 63074



 Richard Very, III
 227 Woodcroft Rd
 Baden, PA 15005



 Richard Walter
 1015 Tulipan Dr.
 San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1260 of
                                        1568
 Richard Wimmer
 526 Shorebird Circle Unit 16102
 Redwood City, CA 94065



 Richelle Duclayan
 1060 S. 3rd St. #350
 San Jose, CA 95112



 Richie Marasas
 6336 Spouson Court
 San Jose, CA 95123



 Rici Hoffarth
 2755 Armand Place
 Saint Louiss, MO 63104



 Rick Anzaldua
 19605 Kennemer Dr
 Pflugerville, TX 78660



 Rick Brade
 21732 Tenny St.
 dearborn, MI 48124



 Rick Byrd
 154 10th street apt 2
 San Francisco, CA 94102



 Rick Johnson
 184 Linda Street
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1261 of
                                        1568
 Rick Ashford
 1016 Dyer Creek Pl
 Round Rock, TX 78665



 Rick Burch
 2840 E. Baughn Ave.
 Coolidge, AZ 85128



 Rick Cavallaro
 1516 Wild Rose Way
 Mountain View, CA 94043



 Rick Duncan
 5882 Ausable Way
 Centreville, VA 20121



 Rick Eckstrom
 1854 Riverside Mews
 Pittsburgh, PA 15203



 Rick Ehrhart
 1045 Willow Glen Way
 San Jose, CA 95125



 Rick Jacobs
 44963 Sondra Dr.
 Belleville, MI 48111



 RICK JAMISON
 335 TROON WAY
 HALF MOON BAY, CA 94019




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1262 of
                                        1568
 Rick Krieger
 943 E Boston St
 Gilbert, AZ 85295



 Rick Linden
 163 Zander Dr.
 Orinda, CA 94563



 Rick Linklater
 1901 E. 51st street
 Austin, TX 78723



 Rick Marcus
 1819 Drew
 Mountain View, CA 94043



 Rick McGee
 313 Biddle Ave
 Pittsburgh, PA 15221



 Rick Myers
 P.O. Box 1073
 Daly City, CA 94017



 Rick Oberst
 575 Corbett Ave.
 San Francisco, CA 94114



 Rick Peerce
 1012 E Port Au Prince
 Phoenix, AZ 85022




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1263 of
                                        1568
 Rick Pennington
 847 45th Ave
 San Francisco, CA 94121



 Rick Pilachowski
 3126 Houston St
 Dearborn, MI 48124



 Rick Smith
 1525 Westmont Ave.
 Campbell, CA 95008



 Rick Stewart
 1702 Messick Loop East
 Round Rock, TX 78681



 Rick Taylor
 36 Vista Pointe Dr.
 Watsonville, CA 95076



 Rick Tinsley
 16555 S Kennedy Rd
 Los Gatos, CA 95030



 Rick Wesson
 355 Brookside Dr
 Richmond, CA 94801



 Rick Widden
 7126 E Osborn Rd #2004
 Scottsdale, AZ 85251




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1264 of
                                        1568
 Rick Zuzow
 1330 Taylor street
 San Francisco, CA 94108



 Ricky Johnson
 510 E. University Dr.
 Tempe, AZ 85281



 Ricky Webb
 2505 Larrikeet Court
 Pleasanton, CA 94566



 Ries Wytenburg
 5255 Stevens Creek Blvd #230
 Santa Clara, CA 95051



 Riho Puusemp
 753 Cream Circle, Apt 102
 Rochester, MI 48307



 Riley Hoskins-Butts
 4137 N 78th Way
 Scottsdale, AZ 85251



 Rishi Ishairzay
 620 Guerrero Street, Apt. 7
 San Francisco, CA 94110



 Rita Chu
 285 Hanover Ave. #3
 Oakland, CA 94606




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1265 of
                                        1568
 Rita Guess
 1314 gainsville ave
 San Jose, CA 95122



 Rita LaneSmith
 4049 Acapulco Dr.
 Campbell, CA 95008



 Rita Melamud
 15 Justice Drive
 Redwood, CA 94063



 Rithy Chan
 1760 Quesada Ave
 San Francisco, CA 94124



 Ritobrata Sur
 908 O'Connor St
 East Palo Alto, CA 94303



 Roam Gunn
 10906 York town Trail
 Austin, TX 78726



 Roanan McCaa
 1768 Quesada Way
 Burlingame, CA 94010



 Rob Kranenburg
 19228 W Reed Park Rd
 Jonestown, TX 78013




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1266 of
                                        1568
 ROB BRAND
 45 WREDEN AVE
 FAIRFAX, CA 94930



 ROB BRAND
 45 WREDEN
 FAIRFAX, CA 94930



 Rob Brown
 8004 Recreation Ct.
 Austin, TX 78717



 Rob Bullington
 1005 Gravenstein Hwy North
 Sebastopol, CA 95472



 Rob Ciarrocchi
 PO Box 9
 Stockbridge, MI 49285



 Rob Ellis
 460 Natoma #2
 San Francisco, CA 94103



 Rob Grailer
 739 Dickson st
 Kirkwood, MO 63122



 Rob Kimball
 3520 E. Kachina Dr.
 Phoenix, AZ 85044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1267 of
                                        1568
 Rob Lamb
 2017 Barnhill Ct
 St. Louis, MO 63146



 Rob Mann
 2250 Jerrold Ave, Unit #13
 San Francisco, CA 94124



 Rob McMillan
 124 Almonte Blvd
 Mill Valley, CA 94941



 Rob Passaro
 281 Missouri street
 San Francisco, CA 94107



 Rob Perry
 20601 Preakness Ct
 Arlington, VA 20147



 Rob Poling
 1518 High Knoll Dr
 Pittsburgh, PA 15241



 Rob Redman
 2893 E. Birchwood Pl.
 Chandler, AZ 85249



 Rob Roberts
 82 Caselli Ave
 San Francisco, CA 94114




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1268 of
                                        1568
 Rob Rutterford
 2 Meandering Way
 Round Rock, TX 78664



 Rob Simon
 3065 Emerald Wind St.
 Henderson, NV 89052



 Robbie Iannucci
 1866 Clifford Street
 Santa Clara, CA 95050



 Robbie Moffat
 2786 Kensington Road
 Redwood City, CA 94061



 Robby Gilson
 808 Leavenworth St.
 San Francisco, CA 94109



 Robert Ervin
 6416 Woodbrook Dr
 Grand Rapids, MI 49546



 Robert Tranter
 1511 Gough St. #201
 San Francisco, CA 94109



 Robert Adamson
 P O box 320902
 los Gatos, CA 95032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1269 of
                                        1568
 Robert Anthony Feretich, as Trustee of t
 6868 Eldridge Dr.
 San Jose, CA 95120



 Robert Badhorn
 2510 S. Cherrywood
 Chandler, AZ 85249



 Robert Barnett
 5309 Creek Est
 San Jose, CA 95135



 Robert Batdorf
 3646 Hartford St
 Saint Louis, MO 63116



 Robert Bell
 1907 Pennsylania
 Austin, TX 78702



 Robert Betsy
 742 East Morelos Court
 Chandler, AZ 85225



 Robert Black
 1305 Montclaire Way
 Los Altos, CA 94024



 Robert Blakeley
 2940 W. Gregg Dr.
 Chandler, AZ 85250




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1270 of
                                        1568
 Robert Borries
 2745 Pardee Ave
 Dearborn, MI 48124



 Robert Bradley Mann
 2250 Jerrold Ave, Unit #13
 San Francisco, CA 94124



 Robert C. Bernstein and Lisa J. Bernstei
 1711 Valley View Ave.
 Belmont, CA 94002



 Robert Cardinal
 1132 Kayellen Ct
 San Jose, CA 95125



 Robert Carver
 9804 Thinleaf Cove
 Austin, TX 78759



 Robert Caudill
 2107 Wilson Blvd, Suite 1100
 Arlington, VA 22201



 Robert Chin
 255 King St. Apt 253
 San Francisco, CA 94107



 Robert Cisneros
 2039 Minto Drive
 San Jose, CA 95132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1271 of
                                        1568
 Robert Connelly
 2901 Kenwick Ct
 Raleigh, NC 27613



 Robert Cook
 148 Park Dr
 Bastrop, TX 78602



 Robert Corvus
 17017 Capri Isle Lane
 Austin, TX 78717



 Robert Cote
 172, Potter Dr.
 Belleville, MI 48111



 Robert Daly
 1142 Sundrop Pl
 Round Rock, TX 78665



 Robert DeWitty
 2665 MLK, Jr. Ave, #201
 Washington, DC 20020



 Robert Ditchey
 918 26th Place South
 Arlington, VA 22202



 Robert Doyle
 6678 Copperwood
 San Jose, CA 95120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1272 of
                                        1568
 Robert DuPerier
 8801 Pepper Rock Dr
 Austin, TX 78717



 Robert Dyke
 101 Commodore Dr.
 Richmond, CA 94804



 Robert Easthope
 600 E. Weddell Dr., #107
 Sunnyvale, CA 94089



 Robert Edward Lavin and Nani-Jay Kuualoh
 1465 Revere Ave.
 San Jose, CA 95118



 Robert Ehara
 1424 S. Stelling Road
 Cupertino, CA 95014



 Robert Eppard
 221 Hyltin St.
 Hutto, TX 78634



 Robert Faull Wexford
 10491 Menert Rd.
 Wexford, PA 15090



 Robert Feder
 1415 Joliet Pl
 Detroit, MI 48207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1273 of
                                        1568
 Robert Fiedler
 9002 Middlebie Dr.
 Austin, TX 78750



 Robert Fleming
 44 Hawthorne Avenue
 San Anselmo, CA 94960



 Robert Fuller
 2601 Prindle Road
 Belmont, CA 94002



 Robert Garcia
 5724 Nordeen Oak Court
 Burke, VA 22015



 Robert Gatliff
 18328 Masi Loop
 Pflugerville, TX 78660



 Robert Goldkuhl
 10655 Roanna Ct.
 St. Louis, MO 63128



 Robert Goodson
 1212 Oakland Road #92
 San Jose, CA 95112



 Robert Grabowski
 401 Amberson Ave Apt 305
 Pittsburgh, PA 15232




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1274 of
                                        1568
 Robert Greenberg
 4809 Fox Branch Ct.
 Raleigh, NC 27614



 Robert Greenberger
 4573 Norwin Road
 Pittsburgh, PA 15236



 Robert Greenwood
 2267 Cottle Ave
 San Jose, CA 95125



 Robert Groszewski
 200 Rue Dauphine, Box 107
 Bonne Terre, MO 63628



 Robert Hanson
 424 Carlyn Ave
 Campbell, CA 95008



 Robert Harker
 PO Box 3345
 Redwood City, CA 94064



 Robert Hasslen
 805 Evergreen St.
 Menlo Park, CA 94025



 Robert Heaney
 596 Upper Conway Cir.
 Chesterfield, MO 63017




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1275 of
                                        1568
 Robert Herzberg
 996 Whitcomb Ct
 Milpitas, CA 95035



 Robert Hinden
 3271 Murray Way
 Palo Alto, CA 94303



 Robert Hines
 5490 Provincial
 Bloomfield, MI 48302



 Robert Hoomes
 4805 Shady Waters Lane
 Birmingham, AL 35243



 Robert Hudson
 301 6th Street
 Petaluma, CA 94952



 Robert Isaacs
 11501 Hyde Pl
 Raleigh, NC 27614



 Robert Jaros
 250 King St. #1006
 San Francisco, CA 94107



 Robert Kennedy
 3 St Stanislaus Ct
 Florrisant, MO 63031




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1276 of
                                        1568
 Robert Kinderlehrer
 1193 Maria Privada
 Mountain View, CA 94040



 Robert Kinley
 2661 Doidse Ave
 Pinole, CA 94164



 Robert Kleinschmidt
 266 N 20th St
 San Jose, CA 95112



 Robert Knight
 2809 NW 161
 Gainsville, FL 32609



 Robert Kosai
 340 Hayes St, Apt 602
 San Francisco, CA 94102



 Robert l Simon
 3065 Emerald Wind St.
 Henderson, NV 89052



 Robert Lacis
 160 Rio Robles
 San Jose, CA 95134



 Robert Last
 428 N. Winchester Blvd #6
 Santa Clara, CA 95050




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1277 of
                                        1568
 Robert Lee
 13806 Old Highway 20
 Manor, TX 78653



 Robert Lee
 PO Box 4371
 Alexandria, VA 22303



 Robert Lehr
 7205 Hart Ln
 Austin, TX 78731



 Robert Li
 736 Charter Street
 Redwood City, CA 94063



 Robert Lowry
 1525 Grand Ave Pkwy
 Pflugerville, TX 78660



 Robert M Greenberg
 4809 Fox Branch Ct.
 Raleigh, NC 27614



 Robert M Hinden & Maryann S Hinden
 3271 Murray Way
 Palo Alto, CA 94303



 Robert M. Charles, Jr. Lewis Roca Rothge
 One South Church Ave.
 Suie 700
 Tucson, AZ 85701




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1278 of
                                        1568
 Robert M. Hinden & Maryann S. Hinden
 3271 Murray Way
 Palo Alto, CA 94303



 Robert MacDowell
 236 West Portal Ave. #224
 San Francisco, CA 94127



 Robert Mack
 802 Goodwin Ave.
 San Jose, CA 95128



 Robert McCormick
 3506 Kings Cross Rd
 Alexandria, VA 22303



 Robert McKinney
 331 S Bouquet st
 Pittsburgh, PA 15213



 Robert McMaster
 1807 Valdez Ave
 Belmont, CA 94002



 Robert Metzler
 12 Herbert Street
 Brooklyn, NY 11222



 Robert Moisey
 105 Barley Road
 Pittsburgh, PA 15143




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1279 of
                                        1568
 Robert Moon
 1109 Hancock Ave
 Vandergrift, PA 15690-1650



 Robert Moore
 7739 N FRONTIER RD
 McNeal, AZ 85617



 Robert Mussler
 5308 Taylor Road
 Riverdale Park, MD 20737



 Robert Neville
 PO Box 5508
 San Mateo, CA 94402



 Robert Nielsen
 88 South 3rd St. #122
 San Jose, CA 95113



 Robert O'Donnell
 2360 Cherrystone Dr.
 San Jose, CA 95128



 Robert ODonnell
 2360 Cherrystone Dr.
 San Jose, CA 95128



 Robert Olivier
 8605 Santa Monica Blvd #18053
 Los Angeles, CA 90069




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1280 of
                                        1568
 Robert Parker
 3030 Hillside Dr.
 Burlingame, CA 94010



 Robert Parker
 12832 Dongal Lane
 Milton, GA 30004



 Robert Patterson
 1728 Oconnell Ave
 Overland, MO 63114-2411



 Robert Proffitt
 1716 Euclid Rd
 Durham, NC 27713



 Robert Proudfoot
 3511 Tracy Drive
 Santa Clara, CA 95051-6430



 Robert Quinn
 4007 Meadow Bluff Way
 Round Rock, TX 78665



 Robert Read
 1709 Norris Dr.
 Austin, TX 78704



 Robert Reininger
 2992 Cottle Ave
 San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1281 of
                                        1568
 Robert Rissell
 2551 Mercury Dr.
 Lake Orion, MI 48360



 Robert Roeder
 3766 Lake Mead Drive
 Fremont, CA 94555



 Robert Ryan-Silva
 2418 Homestead Drive
 Silver Spring, MD 20902



 Robert Sartin
 10412 EMBER GLEN DR
 AUSTIN, TX 78726



 Robert Scheidt
 7325 Foley Rd
 Racine, MO 63119



 Robert Selin-Williams
 2945 Garfield Ter NW
 Washington, DC 20008



 Robert Sharkey
 9200 N Plaza #2302
 Austin, TX 78753



 Robert Shield
 3109 Sunset Ter.
 San Mateo, CA 94403




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1282 of
                                        1568
 Robert Shield_V
 3109 Sunset Ter
 San Mateo, CA 94403



 Robert Slack
 3695 Stevenson Blvd
 Fremont, CA 94538



 Robert Slack
 3695 Stevenson Blvd.,
 Apt #102
 Fremont, CA 94538



 Robert Smay
 966 Summerplace Dr
 San Jose, CA 95122



 Robert Smith
 19011 E San tan Blvd. #108
 Queen Creek, AZ 85142



 Robert Smith
 2760 Melendy Dr, #2
 San Carlos, CA 94070



 Robert Smith
 2760 Melendy Dr.
 Apt #2
 San Carlos, CA 94070



 Robert Smith_V
 2670 Melendy Dr # 2
 San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1283 of
                                        1568
 Robert Snedegar
 1621 Pecan Ct
 Redwood City, CA 94061



 Robert Snow
 730 Agnew Rd
 Santa Clara, CA 95054



 Robert Starling
 245 Bush St. Apt. 25
 Mountain View, CA 94041



 Robert Stewart
 1702 Messick Loop East
 Round Rock, TX 78681



 Robert Stockton
 50 Camelot Court
 Pittsburgh, PA 15235



 Robert Taylor
 104 Old Lowery Ct
 Raleigh, NC 27614



 Robert Thomas
 1401 E. 17th Street
 Georgetown, TX 78626



 Robert Thomas
 1401 East 17th Street
 Georgetown, TX 78626




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1284 of
                                        1568
 Robert Tilghman
 207 Marietta Dr.
 San Francisco, CA 94127



 Robert Townley
 2301 E Street NW Apt A608
 Washington, DC 20037



 Robert Twiggs
 690 Persian Dr. #64
 Sunnyvale, CA 94089



 Robert Vance
 234 Lucas Avenue
 St. Louis, MO 63103



 Robert Weissburg
 1601 Molitor Rd.
 Belmont, CA 94002



 Robert Wells
 255 Donohoe St
 E Palo Alto, CA 94303-1807



 Robert Wesley Snedegar
 1621 Pecan Ct
 Redwood City, CA 94061



 Robert Wilcoxon
 5412 Agatha Circle
 Austin, TX 78724




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1285 of
                                        1568
 Robert Williams
 3134 Misty Shore Ln
 Pflugerville, TX 78660



 Robert Wineland
 2260 Cobblehill Place
 San Mateo, CA 94402



 Robert Wood
 2702 E. Pinchot Ave
 Phoenix, AZ 85016



 Robert Woodrell
 698 Jonathan Rd.
 Linden, VA 22642



 Robert Worobey
 26 HAYWARD AVE APT 110
 SAN MATEO, CA 94401



 Robert Yu
 823 Beaver Creek Wy
 San Jose, CA 95133



 Robert Zehner
 738 Henrietta Ave
 Sunnyvale, CA 94086



 Robert Zylstra
 2424 E Barnhart Rd
 Denair, CA 95316




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1286 of
                                        1568
 Roberta Miller
 146 Hartwood Drive
 Pittsburgh, PA 15208



 Roberto Andaya
 12012 Milton Street
 Silver Spring, MD 20902



 Roberto Barrueto
 1453 66th Street
 Berkeley, CA 94702



 Roberto Konishi
 50 Vulcan Stairway
 San Franciso, CA 94114



 Roberto Ortiz-Soto
 21327 Canyon View Dr
 Saratoga, CA 95070



 Roberto Peon
 870 El Camino Real #110
 Mountain View, CA 94040



 Roberto Quinones
 4426 W Paseo Way
 Laveen, AZ 85339



 Roberts Oxygen Company, INC.
 PO Box 5507
 Rockville, MD 20855




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1287 of
                                        1568
 Robey Kazak
 268 Donner Ave #A
 Monessan, PA 15062



 Robillard Castor
 3459 Crittenden St Apt A
 Saint Louis, MO 63118



 Robin Olson
 10440 Collingham Dr
 Fairfax, VA 22032



 Robin Abramo
 924 Tennis Ave.
 Ambler, PA 19002



 Robin Gruver
 555 De Haro St #120
 San Francisco, CA 94107



 Robin Lloyd
 47 Columbia Ave
 Redwood City, CA 94063



 Robin Mason
 24707 Carley CLE
 Dearborn, MI 48124



 Robin Purohit
 122 Johnson Ave
 Los Gatos, CA 95030-6216




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1288 of
                                        1568
 Robin Rath
 317 N 11th St.
 St. Louis, MO 63101



 Robin Smetana
 213 Taylor st, apt 2
 Pittsburgh, PA 15224



 Robin Smetana
 213 Taylor st
 Pittsburgh, PA 15225



 Robin Tran
 1165 Whit Pine
 San Jose, CA 95125



 Robin Wanke
 600 FAIR OAKS DR
 GEORGETOWN, TX 78628



 Robyn Kwok
 830 Chandler Way
 Burlingame, CA 94010



 Robyn Nariyoshi
 260 SHIPLEY ST
 San Francisco, CA 94107



 Rocco Lattanzio
 1092 BD Marlin Keys Blvd
 Novato, CA 94949




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1289 of
                                        1568
 Rock Dodds
 1050 Burregas Ave #103
 Sunnyvale, CA 94089



 Rock Rakosi
 7648 W Creosote Spring Ct
 Tucson, AZ 85745



 Rocky Kimbrell
 6815 S McClintock Dr Apt 2222
 Tempe, AZ 85283



 Rod Smith
 60 Holmes Drive
 San Jose, CA 95127



 Rodel Bautista
 100 Water Oak Cove
 Round Rock, TX 78664



 Roderick Hogan
 521 Capp St
 San Francsico, CA 94110



 Rodin Banica
 310 E4th St,#1B
 New York, NY 10009



 Rodney Lewis
 4345 E Chuckwalla Cyn
 Phoenix, AZ 85044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1290 of
                                        1568
 Rodney Rash
 841 Satellite View
 Round Rock, TX 78665



 Rodney Rash_V
 841 Satellite View
 Round Rock, TX 78665



 Rodrigo Araya
 44 Riverton Drive
 San Francisco, CA 94132



 Roger Arnold
 566 Carrick Ct
 Sunnyvale, CA 94087



 Roger Dale Arnold
 566 Carrick Ct
 Sunnyvale, CA 94087



 Roger Drye
 8008 Manx Dr
 Round Rock, TX 78681



 Roger Fleig
 856 Pine Ave
 San Jose, CA 95125



 Roger Her
 861 E Zesta Ln
 Gilbert, AZ 85297




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1291 of
                                        1568
 Roger Hill
 1245 N State Pkwy
 Chicago, IL 60610



 Roger Irwin
 1108 E Thunderhill Pl
 Phoenix, AZ 85048



 Roger Jennings
 6070 Stanley Ct
 San Jose, CA 95123



 Roger Khami
 5081 reitshaw
 troy, MI 48085



 Roger LeMesurier
 1450 Chapin Ave Ste. 200
 Burlingame, CA 94062



 Roger Ocampo
 1331 S EADS #1701
 ARLINGTON, VA 22202



 Roger Terrill
 2208 Camden Avenue
 San Jose, CA 95124



 Roger Zielinski
 23356 outer drive
 allen park, MI 48101




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1292 of
                                        1568
 Rohan Ganguli
 118 S. Dallas Ave.
 Pittsburgh, PA 15208



 Rohin Bhalla
 4701 Monterey Oaks Blvd #619
 Austin, TX 78749



 Rohit Paliwal
 12320 Alameda Trace Cir, Apt 102 Riata E
 Austin, TX 78727



 Rohit_Kumar Ladda
 1255 E University Dr
 Tempe, AZ 85281



 Rohith Mathews
 1137 East Orange St. #15
 Tempe, AZ 85281



 Roie Black
 11713 Onion Hollow RUN
 Austin, TX 78739



 Roku Kai
 5 Bel Rea Ct
 St Charles, MO 63301



 Rolf Hendriks
 8203 Kentbury Dr
 Bethesda, MD 20814




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1293 of
                                        1568
 Rolf Pielemeier
 1355 Holly St.
 San Carlos, CA 94070



 Roman Hamilton
 1218 Carrollsburg Place SW
 Washington, DC 20024



 Romane THOUVENIN
 848 42nd AVE.
 SAN FRANCISCO, CA 94121



 Rommel Halili
 1186 Spiro Dr
 San Jose, CA 95116



 Rommel Halili
 1186 Spiro Drive
 San Jose, CA 95116



 Rommel Racelis
 3247 honey suckle Dr
 Ann Arbor, MI 48103



 Ron Beck
 1 Dorey Way
 Monterey, CA 93940



 Ron Berry
 1702 E 38th St
 Austin, TX 78722




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1294 of
                                        1568
 Ron Craig
 127 Andrews Store Rd
 Pittsboro, NC 27312



 Ron Dack
 52 Prague St.
 San Francisco, CA 94110



 Ron Heikes
 329 Brookwood Ave
 San Jose, CA 95116



 Ron Hochsprung
 18467 Las Cumbres Rd
 Los Gatos, CA 95033



 Ron Kuris
 18 10th Street Unit 935
 San Francisco, CA 94103



 Ron Lee
 1153 Alderborrk Lane
 San Jose, CA 95129



 Ron Rotole
 49935 fuller ct
 Plymouth, MI 48170



 Ron Saxon
 835 Milo Court
 San Jose, CA 95133




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1295 of
                                        1568
 Ron Scudder
 3073 Talinga Dr.
 Livermore, CA 94550



 Ron Thomas
 224 California St
 Calipatria, CA 92233



 Ron Whitham
 515 South Bernardo ave #8
 Sunnyvale, CA 94086



 Ronald Beck
 1 Dorey Way
 Monterey, CA 93940



 Ronald Brombach
 44750 pinetree
 plymouth, MI 48170



 Ronald Cooke
 3216 N. California Ave.
 Peoria, IL 61603



 Ronald Denisi
 241 Meadowbrook Ave
 Wexford, PA 15090



 Ronald Hochsprung
 18467 Las Cumbres Rd
 Los Gatos, CA 95033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1296 of
                                        1568
 Ronald Kolb
 16601 S. 18th Way
 Phoenix, AZ 85048



 Ronald Morrison
 8515 Sinon St
 Annandale, VA 22003



 Ronald Scudder
 3073 Talinga Dr.
 Livermore, CA 94550



 Ronald Smith
 16450 S. 29th St.
 Phoenix, AZ 85048



 Ronda Estrada
 0140 Hirasaki Ct.
 Gilroy, CA 95020



 Ronen Sarig
 1919 berkeley way
 Berkeley, CA 94704



 Ronnie Kinner
 299 Mariposa Ave.
 Mountain View, CA 94041



 Ronnie Ramirez
 707 W. Gregory Rd.
 Phoenix, AZ 85041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1297 of
                                        1568
 Ronnie Wilson
 13617 Fitzhugh Road
 Austin, TX 78736



 Roque Manzanares
 3761 Alice St
 Dearborn, MI 48124



 Rory Carmichael
 199 New Montgomery Street #1501
 San Francisco, CA 94105



 Rory Doolin
 950 Charter St.
 Redwood City, CA 94063



 Rory Ward
 2101 Pullman Ave
 Belmont, CA 94002



 Rosa Nevarez
 3341A Ohio Ave.
 St. Louis, MO 63118



 Rosa Nevarez
 3341A Ohio Ave
 St. Louis, MO 63118



 Rosa Salinas
 1822 Fell St Unit 4
 San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1298 of
                                        1568
 Rosalie Kitts
 1328 M.L.K. JR WAY
 BERKELEY, CA 94709



 Rosalyn Lum
 20 S 2nd St #433
 San Jose, CA 95113



 Rosalyn Ragland
 7646 Carswold
 Clayton, MO 63105



 Rosalynn Hillenbrand
 212 S. Lang Ave
 Pittsburgh, PA 15202



 Rosanna Weigant
 150 Saratoga Avenue, Unit 368
 Santa Clara, CA 95051



 Rosario Acosta
 440 Oak St.
 Mountain View, CA 94041



 Rose Gennari
 727 26th Place, S
 Arlington, VA 22202



 Rose Britton
 293 Cactus Dr
 Prospect Hill, NC 27314




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1299 of
                                        1568
 Rose Peruski
 210 W Liberty
 South Lyon, MI 48178



 Rosemarie Hughes-Croucher
 78 Pearl Street
 San Francisco, CA 94103



 Rosemarie Shield
 3109 Sunset Terrace
 San Mateo, CA 94403



 Rosemary Busher
 1357 Webster Street
 Palo Alto, CA 94301



 Rosemary Fitzgerald
 12300 Obrad Dr
 Saratoga, CA 95070



 Rosemary Villagmoez
 110 Gardenside Drive Apt 401
 San Francisco, CA 94131



 Rosie Hanna
 77 Douglass St
 San Francisco, CA 94114



 Ross Becker
 220 S. Main
 Britton, MI 49229




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1300 of
                                        1568
 Ross Bishop
 1537 4th St. #233
 San Rafael, CA 94901



 Ross Brown
 3867 W Misty Willow Ln
 Glendale, AZ 85310



 Ross Evans
 872 43rd St
 Oakland, CA 94608



 Ross Frizzell
 318 gordon ave
 san jose, CA 95127



 Ross Havlick
 1507 S. College St
 Georgetown, TX 78626



 Ross Larner
 Po box 72
 Palo alto, CA 94302



 Ross Oliver
 443 Costa Mesa Terrace, Unit G
 Sunnyvale, CA 94085



 Ross Rickards
 540 O Farrell St. apt# 501
 San Francisco, CA 94102




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1301 of
                                        1568
 Ross Spangler
 433 Stege Ave
 Richmond, CA 94804



 Ross Veltman
 1053 Sierra
 Menlo Park, CA 94025



 Ross Wardenburg
 24 Williamsburg Estates Dr.
 St. Louis, MO 63131



 Roxane Pearsall
 6821 Thomas Blvd Apt #1
 Pittsburgh, PA 15208



 Roxanne Black
 860 Fell Street
 San Francisco, CA 94117



 Roy Robinson
 7715 E Old Paint Trail
 Scottsdale, AZ 85266



 Roy A. Sasselli
 2196 Westchester Dr
 San Jose, CA 95124



 Roy Armstrong
 2625 E Southern Ave
 Tempe, AZ 85282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1302 of
                                        1568
 Roy Belanger
 4013 Casa Grande Way
 San Jose, CA 95118



 Roy Kaylor
 1918 Menalto Av
 Menlo Park, CA 94025



 Roy Neil
 165 E O
 Menlo Park, CA 94025



 Roy Ponferrada
 947 Madeline Ln.
 Santa Clara, CA 95050



 Roy Sasselli
 2196 Westchester Dr
 San Jose, CA 95124



 Roy Seta
 107 Duane St #B
 San jose, CA 95110



 Roy Weil
 5337 Darlington Rd
 Pittsburgh, PA 15217



 Roy Zhou
 3200 Hillview Ave
 Palo Alto, CA 94304




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1303 of
                                        1568
 Royce Brock
 941 Hesters Crossing
 Round Rock, TX 78681



 Royce Brock
 4100 weeks park lane
 Wichita Falls, TX 76308



 Ruben Ramirez
 2217 Ceynowa Lane
 San Jose, CA 95212



 Ruby Southard
 2128 Grove St.
 San Francisco, CA 94117



 Rudresh Ghosh
 400 Parker Drive Suite 110
 Austin, TX 78728



 Rudy Ayala
 1344 Norman Dr
 Sunnyvale, CA 94087



 Ruiyan Zhang
 3095 Rubino Circle
 San Jose, CA 95125



 Ruiyang Zhang
 3095 Rubino Circle
 San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1304 of
                                        1568
 Rupal Gupta
 482 Thompson Ave.
 Mountain View, CA 94043



 Rupinder Kaloti
 3396 Lucian Ave
 San Jose, CA 95127



 Rupinder Kaloti
 317 Lassen Park Cirl
 San Jose, CA 95136



 Rush Cosgrove
 491 Millbrae
 Santa Rosa, CA 95407



 Rushikesh Sheth
 930 Stanley Ave.
 Los Altos, CA 94024



 Russ Hegarty
 2237 Hampton RD
 Livermore, CA 94550



 Russ Norton
 23773 Thorn Ct
 Brownstown Twp, MI 48134



 Russel Hosking
 824 Alabama Apt. B
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1305 of
                                        1568
 Russell Davis
 425 Peralta Ave
 Sunnyvale, CA 94086



 Russell Ginns
 4504 Twinbrook RD
 Fairfax, VA 22032



 Russell Lewandowski
 887 South Ash Street
 Gilbert, AZ 85233



 Russell Melick
 1838 Ogden Drive, Apt 307
 Burlingame, CA 94010



 Russell Pfohl
 177 43 1/2 Street
 Pittsburgh, PA 15201



 Russell Read
 1201 Meadowild Drive
 Round Rock, TX 78664



 Russell S Greer
 244 Johnson Ave.
 Los Gatos, CA 95030



 Russell Sitka
 1111 D street NE apt#21
 Washington, DC 20002




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1306 of
                                        1568
 Russell Stanphill
 8405 Bent Tree Rd, #2823
 Austin, TX 78759



 Russell Webner
 3323 McPherson St
 Detroit, MI 48212



 Rusti Icenogle
 956 franquette ave
 san jose, CA 95125



 Rustom Meyer
 7501 Blair Road Unit 301
 Takoma Park, MD 20912



 Rustom Meyer
 7501 Blair Road Unit 301
 Takoma Park, MD 20912



 Rusty Greer
 244 Johnson Ave.
 Los Gatos, CA 95030



 Ruth Crump
 707 Leahy Street Apt 332C
 Redwood City, CA 94061



 Ruth Okamoto
 1 Brookings Dr.
 St. Louis, MO 63130




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1307 of
                                        1568
 Ruth Oliver
 3222 E Dover St
 Mesa, AZ 85213



 Ruth Temple
 1838 Valota Road
 Redwood City, CA 94061



 Ruth Werner
 43480 Southerland Way
 Fremont, CA 94539



 Rutooj Deshpande
 4500 Cass AVe Apt 806
 Detroit, MI 48201



 Ruttapon Ritprasert
 5047 Mitty Way
 San Jose, CA 95129



 Ruy Garciaacosta
 1221 N. Longmore St.
 Chandler, AZ 85224



 Ryan Chan
 4527 N Lamar Blvd #1107
 Austin, TX 78751



 Ryan Craig
 39240 Muffat St
 Harrison Twp, MI 48045




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1308 of
                                        1568
 Ryan Lei
 2438 32nd Ave
 San Francisco, CA 94116



 Ryan Marshment
 6167 Dunn Ave
 San Jose, CA 95123



 Ryan Acks
 165 Burlwood Ln
 Los Gatos, CA 95033



 Ryan Ayler
 402 Alder Lane
 Palo Alto, CA 94306



 Ryan Bates
 160 Glenn St #203
 Pittsburgh, PA 15205



 Ryan Bates-V
 559 South Trenton Ave. Apt B
 Pittsburgh, PA 15221



 Ryan Bowermaster
 1045 Mission St. #20
 San Francisco, CA 94103



 Ryan Brand
 6919 Sutherland Ave.
 St. Louis, MO 63109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1309 of
                                        1568
 Ryan Buchner
 690 Covington Rd.
 Los Altos, CA 94024



 Ryan Carag
 4019 Thistlebridge Way
 Rockville, MD 20853



 Ryan Carver
 1533 Shrader St
 San Francisco, CA 94117



 Ryan Clabots
 2315 Meadow Lane
 Green Bay, WI, MO 63108



 Ryan Damm
 649 Minna St.
 San Francisco, CA 94123



 Ryan Doolittle
 1021 Joshua Place
 Fremont, CA 94539



 Ryan Doyle
 1600 Clay St. BLDG 6
 Detroit, MI 48211



 Ryan Drebin
 62 Delmar
 San Francisco, CA 94117




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1310 of
                                        1568
 Ryan Eberly
 1808 Vallejo
 Austin, TX 78757



 Ryan Feeley
 1326 N HUMBOLDT ST
 DENVER, CO 80218



 Ryan Fulmer
 12501 Brandywine Rd
 Brandywine, MD 20613



 Ryan Hanks
 1535 N. Scottsdale #2118
 Tempe, AZ 85281



 Ryan Hanson
 9909 david st
 livonia, MI 48150



 Ryan Harrison
 51 Lucy St.
 San Francisco, CA 94124



 Ryan Harrison
 854 36th St
 Emeryville, CA 94608



 Ryan Harroun
 1130 Vinewood
 Detroit, MI 48202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1311 of
                                        1568
 Ryan Harter
 2329 Sherbrook St.
 Pittsburgh, PA 15217



 Ryan Helmuth
 373 Carlos Ave
 redwood city, CA 94061



 Ryan Hibbeler
 11204 Slippery Elm Trl
 Austin, TX 78750



 Ryan Hoagland
 2308 Dundee Dr.
 Santa Clara, CA 95051



 Ryan Hoskin
 830 Corbett Ave. Apt. 402
 San Francisco, CA 94131



 Ryan Jacobs
 2613 California Street
 San Fransisco, CA 94115



 Ryan Johansen
 2426 E Redwood Ct
 Chandler, AZ 85286



 Ryan Jung
 1111 The Alameda
 Berkeley, CA 94707




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1312 of
                                        1568
 Ryan Keene
 741 S. Millvale Ave.
 Pittsburgh, PA 15213



 Ryan Kellogg
 936 18th St S
 Arlington, VA 22202



 Ryan Kemmet
 4632 W. Gary Dr.
 Chandler, AZ 85226



 Ryan Kendall
 1357 Oak St.
 San Francisco, CA 94117



 Ryan Kieffer
 100 Arlen Drive
 North Versales, PA 15137



 Ryan La
 42 43rd st se
 Kentwood, MI 49548



 Ryan Lee
 10856 Linda Vista Dr
 Cupertino, CA 95014



 Ryan Lind
 1329 E Parkview Dr
 Gilbert, AZ 85295




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1313 of
                                        1568
 Ryan Maas
 18905 Ten Acres Rd
 Saratoga, CA 95070



 Ryan Merlini
 1049 N Daniel Street
 Arlington, VA 22201



 Ryan Meyer
 3435 Mission St, Apt 1
 San Francisco, CA 94110



 Ryan Murray
 4107 E. Pinchot
 Phoenix, AZ 85018



 Ryan Noonan
 1 N Grand
 St. Louis, MO 63103



 Ryan Olson
 222 Vallejo St. #320
 San Francisco, CA 94111



 Ryan Pearl
 39 Diamond St
 San Francisco, CA 94114



 Ryan Piazzo
 105 N. Beebe St. #1018
 Gilbert, AZ 85234




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1314 of
                                        1568
 Ryan Rahn
 1020 E Balboa Cir
 Tempe, AZ 85282



 Ryan Roppel
 5307 Wellesley Ave
 Pittsburgh, PA 15206



 Ryan Routh
 226 n riata st
 Gilbert, AZ 85234



 Ryan Russell
 190 Morning Sun
 Mill Valley, CA 94941



 Ryan Sauer
 4909 S Willow Dr.
 Tempe, AZ 85282



 Ryan Silva
 2204 Nestlewood Dr
 Austin, TX 78754



 Ryan Simpson
 2777 Stone Hollow Dr
 Vienna, VA 22180



 Ryan Smith
 3104 E Broadway Rd #144
 MESA, AZ 85204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1315 of
                                        1568
 Ryan Snedegar
 5208 Downs Drive
 Austin, TX 78721



 Ryan Spurlock
 926 Howard St.
 San Francisco, CA 94103



 Ryan Spurlock
 1389 Crespi Dr.
 Pacifica, CA 94044



 Ryan Stark
 810 Wake Forest Drive
 Mountain View, CA 94043



 Ryan Swauger
 2035 California Street, #32
 Mountain View, CA 94040



 Ryan Switzer
 677 Selden St. Apt BL
 Detroit, MI 48201



 Ryan Testoni
 814 S. Braddock ave.
 Pittsburgh, PA 15212



 Ryan Thompson
 12507 Loston Circle #402
 Fairfax, VA 22033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1316 of
                                        1568
 Ryan Usselton
 2206 S. Cherry
 Mesa, AZ 85210



 Ryan Walkington
 17 Ambrosius Place
 Caseyville, IL 62232



 Ryan Westphal
 5449 Bartlett St.
 Pittsburgh, PA 15217



 Ryan Wigley
 4409 Sunburst Ct
 Raleigh, NC 27613



 Ryan Williams
 1160 Mission St Unit 1806
 San Francisco, CA 94103



 Ryan Wingard
 526 Penn Avenue, Apt 601
 Pittsburgh, PA 15222



 Ryan Wistort
 843 Hayes St. Apt C.
 San Francisco, CA 94117



 Ryan wolfe
 3015 myrtle #12
 oakland, CA 94608




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1317 of
                                        1568
 Ryan Wood
 441 Alcatraz Ave.
 Oakland, CA 94609



 Ryan Wu
 5861 Nina Place
 St. Louis, MO 63112



 Ryan Yardley
 1473 W Glenmere Dr
 Chandler, AZ 85224



 Ryan Zobel
 14959 Crosby Street
 San Leandro, CA 94579



 Ryley Lyon
 803 Laurel St #1
 Santa Cruz, CA 95060



 S.D. McDonald
 2711 E. Earll Dr.
 Phoenix, AZ 85016



 Saad Al_Merikhi
 577 E. Baseline Rd.
 Tempe, AZ 85283



 Sabbir Sattar
 4549 central ave. apt#3
 Fremont, CA 94536




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1318 of
                                        1568
 Sabine Castagnet
 767 Sunshine Drive
 Los Altos, CA 94024



 Sabine Savage
 1405 E Sapium Way
 Phoenix, AZ 85048



 Sabri Gomuc
 1345 N 87th St.
 Scottsdale, AZ 85257



 Sabrina Seeger
 706 E 2nd Street
 Elgin, TX 78621



 Sabrina Spracklen
 1190 Talley Loop
 Buda, TX 78610



 Sachin Anand
 39 W Julian St. Apt 346
 San Jose, CA 95110



 Sachin Jain
 34227 Siward Dr, Fremont, Ca, USA 94555
 Fremont, CA 94555



 Sachin Radhakrishnan
 370 North Tenth Street
 San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1319 of
                                        1568
 Sadhika Batra
 631 O'Farrell St, Apt 1604
 San Francisco, CA 94109



 Sadie Crome
 5060 Kingston Way
 San Jose, CA 95130



 Sadie Powers
 15 Brown St
 Pittsburgh, PA 15209



 Sagar Patel
 813 Woodhams Oaks Pl
 Santa Clara, CA 95051



 Sage Brown
 4509 Gage RD
 Alexandria, VA 22309



 Sahlan Almuntashiri
 1221 E. Broadway Rd.
 Tempe, AZ 85282



 Sahrye Cohen
 525 19th ave
 San Francisco, CA 94121



 Saige Glatzel
 17905 Mozelle Court
 Los Gatos, CA 95033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1320 of
                                        1568
 Sair Buckle
 Apt. 397 1910 Nantucket circle
 Santa Clara, CA 95054



 Sal Yusoof
 4046 E. Alder Ave.
 Mesa, AZ 85206



 Saleh Alattal
 5302 Van Burren #3029
 Phoenix, AZ 85008



 Sally Azer
 3211 North Coronado Street
 Chandler, AZ 85224



 Sally Byers
 2111 Owls Cove Ln
 Reston, VA 20191



 Sally Chow
 27915 Iberville Glen Dr
 Katy, TX 77494



 Sally Medling
 611 Ellgan Dr
 Cary, NC 27511



 Salvador Mireles
 PO box 371342
 Montava, CA 94037




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1321 of
                                        1568
 Salvador Santolucito
 10725 Casitas Dr.
 Austin, TX 78717



 Sam Blackburn
 PO Box 6086
 Pittsburgh, PA 15211



 Sam Regimbal
 507 Dry Creek Cv
 Round Rock, TX 78681



 Sam Sarraf
 1444 Croaker Ct. Unit D
 San Francisco, CA 94130



 Sam Abihana
 10525 South Morrow Cir.
 Dearborn, MI 48126



 Sam Alvarez
 171 Tanner Circle
 Georgetown, TX 78626



 Sam Brown
 851 81st Ave #225
 Oakland, CA 94621



 Sam Brown_V
 851 81ST AVE, Suite 225
 Oakland, CA 94621




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1322 of
                                        1568
 Sam Burnes
 3075 Boys Ranch Road
 Kempner, TX 76539



 Sam Cipriani
 3106 S Hayes St
 Arlington, VA 22202



 Sam Clay
 789 Buena Vista Ave. West #301
 San Francisco, CA 94117



 Sam Crowder
 22027 Rustic Shores Lane
 Katy, TX 77450



 Sam Detweiler
 1408 cora marie cove
 Pflugerville, TX 78660



 Sam Drake
 327 Curie Dr.
 San Jose, CA 95119



 Sam Fanjoy
 5917 Greenlawn Dr.
 Bethesda, MD 20814



 Sam Fox-Halperin
 3926 Benton Street NW
 Washington, DC 20007




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1323 of
                                        1568
 Sam Inala
 2033 Ralston Ave. #167
 Belmont, CA 94002



 Sam Jackson
 1036 14th St.
 San Francisco, CA 94114



 Sam Krakaur
 174 Randall Street
 San Francisco, CA 94131



 Sam Lamott
 721 Geary Apt #4
 San Francisco, CA 94109



 Sam Lewis
 641 S St NW, Third Floor
 Washington, DC 20001



 Sam Ludeke
 1 Encline Ct.
 San Francisco, CA 94127



 Sam Mahmoud
 516 N. 180th St.
 Shoreline, WA 98133



 Sam McCallister
 3339 E Tanglewood Dr
 Phoenix, AZ 85048




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1324 of
                                        1568
 Sam McCauley
 7919 E Sierra Morena Cir
 Mesa, AZ 85207



 Sam McClanahan
 2601 La Frontera Blvd #4308
 Round Rock, TX 78681



 Sam Morton
 483 N. 15th St
 San Jose, CA 95112



 sam psihoyos
 1275 Jackson St.
 San Francisco, CA 94109



 Sam Robertson
 3943 Mission St.
 San Francisco, CA 94112



 Sam Roy
 1953 E Redfield Rd
 Tempe, AZ 85283



 Sam Siu
 14795 Farnsworth St
 San Leandro, CA 94579



 Sam sweeley
 314 pestana ave
 santa cruz, CA 95065




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1325 of
                                        1568
 Sam Thigpen
 411 Park Ave. Unit 305
 San Jose, CA 95110



 Sam Waldbaum
 336 Duncan St. #3
 San Francisco, CA 94131



 Sam Wertheimer
 1910 Haskell
 Austin, TX 78702



 Samantha Dorsey
 2929 Landover Street
 Alexandria, VA 22305



 Samantha Leasure
 101 Purple Martin
 Leander, TX 78641



 Samantha anne Nielsen
 1550 N Stapley Dr # 1,
 Mesa, AZ 85203



 Samantha Bainbridge
 950 E Rowland Ave
 Madison Heights, MI 48071



 Samantha Brown
 6152 Waterman Apt. 206
 Saint Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1326 of
                                        1568
 Samantha Cooper
 375 S 9th St. Box 2924
 San Jose, CA 95112



 Samantha Cooper
 16456 Meadow Vista Dr.
 Pioneer, CA 95666



 Samantha Decesare
 3206 Impala Dr #12
 San Jose, CA 95117



 Samantha Janis
 3025 Graham Ct
 Falls Church, VA 22042



 Samantha Kingham
 19609 E Emperor Blvd
 Queen Creek, AZ 85142



 Samantha Lanoue
 2343 W Main St Apt 1094
 Mesa, AZ 85201



 Samantha Leasure
 101 Purple Martin Cv
 Leander, TX 78641



 Samantha McDonough
 439 Franklin Ave #1
 Pittsburgh, PA 15221




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1327 of
                                        1568
 Samantha Nielsen
 1550 North Stapley Drive
 Drive #1
 Mesa, AZ 85203



 Samantha Perry
 910 Lake Shore
 Grosse Pointe, MI 48236



 Samantha Senn
 3645 17th St.
 San Francisco, CA 94114



 Samantha Welch
 151 Caldron Ave. Apt.212
 Mountain View, CA 94041



 Samantha Wishnak
 27807 Mesa del Toro
 Salinas, CA 93908



 Samer Ibrahim
 6336 williamson
 Dearborn, MI 48126



 Samer Abbas
 7744 Appoline St
 Dearborn, MI 48126



 Sami Harfouch
 4115 E. Meadow Dr.
 Phoenix, AZ 85032




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1328 of
                                        1568
 Sami Nielsen
 1550 N Stapley Dr,
 Mesa, AZ



 Sami Nielsen
 1550 N Stapley Drive #1
 Mesa, AZ 85203



 Samir Kandil
 3400 Stevenson Blvd., Unit T32
 Fremont, CA 94538



 Samson Ng
 29000 Marvin Rd
 Farmington Hills, MI 48331



 Samuel Ansley
 195 E Meadows Ct
 Alpharetta, GA 30005



 Samuel Backes
 579 S. 10th Street
 San Jose, CA 95112



 Samuel Becker
 1270 Cedar St
 Palo Alto, CA 94301



 Samuel Drake
 327 Curie Dr.
 San Jose, CA 95119




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1329 of
                                        1568
 Samuel Galvin
 11805 Cat Hollow Dr
 Austin, TX 78731



 Samuel Gooch
 1123 20th St
 San francisco, CA 94107



 Samuel Harrell
 2505 Londonderry
 Ann Arbor, MI 48104



 Samuel Heldman
 2805 31st Street NW
 Washington, DC 20008



 Samuel Henteleff
 5905 Hobart
 Pittsburgh, PA 15217



 Samuel Hilliard
 1433 11th st.
 arcata, CA 95521



 Samuel John Waldbaum
 336 Duncan St. #3
 San Francisco, CA 94131



 Samuel Kho
 245 Bush St. #22
 Mountain View, CA 94041




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1330 of
                                        1568
 Samuel Wight
 21 Stillman St, Apt 3
 San Francisco, CA 94107



 SAN FRANCISCO CHRONICLE
 P.O. BOX 80070
 PRESCOTT, AZ 86304



 San Francisco Tax Collector
 Unsecured Property Tax
 P.O. Box 7427
 San Francisco, CA 94120-7427



 San Francisco Tax Collector-GR-PR tax
 Business Tax Section
 PO Box 7425
 San Francisco, CA 94120-7425



 San Jose Fire Department
 Bureau of Fire Prevention
 200 East Santa Clara St (2nd Floor)
 San Jose, CA 95113-1905



 San Mateo County Tax Collector
 P.O. Box 45901
 San Francisco, CA 94145-0901



 San Mateo County Tax Collector
 555 County Center
 Redwood City, CA 94063



 Sanad Affara
 2757 Parker St
 Dearborn, MI 48124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1331 of
                                        1568
 Sanchez O'Leary
 4422 24th Street
 San Francisco, CA 94114



 Sandeep Chandra
 3453 Croissant
 Dearborn, MI 48124



 Sandeep Patel
 21051 Crystal Falls Dr.
 Sonora, CA 95370



 Sandra Davis
 21616 Califa St., Suite 204
 Woodland Hills, CA 91367



 Sandra Fazio
 589 Lakewood Dr.
 Sunnyvale, CA 94089



 Sandra GouldFord
 7123 Race St.
 Pittsburgh, PA 15208



 Sandra Karieg
 595 Anglum Road
 Hazelwood, MO 63385



 Sandra Martino
 116 Leroy Place
 San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1332 of
                                        1568
 Sandra McHenry
 466 Joost Avenue
 San Francisco, CA 94127



 Sandra Richardson
 333 S Sutton Rd
 Jackson, MI 49203



 Sandy Stonesifer
 1322 Wallach Pl NW
 Washington, DC 20009



 Sangwei lu
 325 colusa avenue
 kensington, CA 94707



 Sanjay Uppal
 11035 Magdalena Rd
 Los Altos Hills, CA 94024



 Sanjay Uppal_Loan
 11035 Magdalena Road
 Los Altos Hills, CA 94024



 Sanniti Pimpley
 298 2nd Street, #2R
 Jersey City, NJ 07302



 Santhosh Rao
 1472 Filbert Street, Apt 201
 San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1333 of
                                        1568
 Santiago Alfaro
 2200 Mission College Blvd.
 Santa Clara, CA 95008



 Saptarshi Desai
 1962 11th ave
 San Francisco, CA 94116



 Sara Aronson
 913 Peggotty
 Austin, TX 78753



 Sara Bernstein
 1915 Biltmore St. NW.
 Washington, DC 20009



 Sara Beth Purdy
 18333 Bassano Ave
 Pflugerville, TX 78660



 Sara Cohen
 577 Castro st.
 San Francisco, CA 94114



 Sara Felix
 8609 Toro Creek Cv
 Austin, TX 78759



 Sara Fugami
 774 Owl Court
 Louisville, CO 80027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1334 of
                                        1568
 Sara Gilbert
 6343 Alexander Drive
 Saint Louis, MO 63105



 Sara Kali
 15450 FM 1325 Apt 1927
 Austin, TX 78728



 Sara O'Neill
 848 Rhode Island St.
 San Francisco, CA 94107



 Sara Schultz
 1374 W. Remington Dr.
 Chandler, AZ 85286



 Sara Young
 5960 Harvey Road
 WESTLAND, MI 48185



 Sarah Coleman
 1521 Washington Ave
 Saint Louis, MO 63103



 Sarah Aerni
 411 S. Murtland St.
 Pittsburgh, PA 15208



 Sarah Baker
 1034 Pine St. #3
 Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1335 of
                                        1568
 Sarah Banach
 177 41st street
 Pittsburgh, PA 15201



 Sarah Carey
 3390 Stuyvesant Place NW
 Washington, DC 20015



 Sarah Carney
 PO Box 74, 67 Freeman Cemetery Rd
 Cherryville, MO 65446



 Sarah Cavins
 1255 Annette Ave.
 Redwood City, CA 94063



 Sarah Ceurvorst
 216 Elysian Street
 Pittsburgh, PA 15206



 Sarah Cho
 5050 Hacienda Dr #1512
 Dublin, CA 94568



 Sarah Day
 8000 Bridle Path Way
 Pollock Pines, CA 95726



 Sarah Ditto
 511 Bellwood Dr.
 Santa Clara, CA 95054




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1336 of
                                        1568
 Sarah Gaffen
 41 Lebanon Hills Dr.
 Pgh, PA 15228



 Sarah Geitz
 429 N St. Sw apt 307S
 washington, DC 20024



 Sarah Geitz
 429 N St SW, APt 307S
 WASHINGTON, DC 20024



 Sarah Grams
 408 Cole St
 San Francisco, CA 94117



 Sarah Hodsdon
 4926 Sawmill Lake Rd
 Ortonville, MI 48462



 Sarah Hull
 1875 Mintwood Pl NW #40
 Washington, DC 20009



 SARAH KATE MULLINS
 675 FELL ST APT 6
 SAN FRANCISCO, CA 94102



 Sarah Kung
 3297 Vin Santo Lane
 San Jose, CA 95148




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1337 of
                                        1568
 Sarah Lacy
 105 Bower Hill Rd
 Pittsburgh, PA 15228



 Sarah McBride-Gagyi
 931 Dalkeith Lane
 Saint Louis, MO 63132



 Sarah McGregor
 PO box
 Elgin, TX 78621



 Sarah Menard
 1332 Hoover St.
 Menlo Park, CA 94025



 Sarah Merlau
 588 Chestnut St
 San Francisco, CA 94133



 Sarah Port
 217 College St
 Mountain View, CA 94040



 Sarah Powers
 15 Brown St
 Pittsburgh, PA 15209



 Sarah Reid
 1612 Notre Dame Ave.
 Belmont, CA 94002




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1338 of
                                        1568
 Sarah Rogers
 820 E. Apache Blvd. #3925
 Tempe, AZ 85281



 Sarah Roth
 6703 McPherson Blvd. Apt 2
 Pittsburgh, PA 15208



 Sarah Ryan
 2813 Brittan Ave
 San Carlos, CA 94070



 Sarah Scherk
 6022 Broad St
 PGH, PA 15206



 Sarah Sindler
 26 Howard St.
 Pittsburgh, PA 15209



 Sarah Sindler / David I. Helfer Jewelers
 717 Liberty Ave. #312
 Pittsburgh, PA 15222



 Sarah Stawski
 245 W. Breckenridge
 Ferndale, MI 48220



 sarah webber
 9 tupelo way
 acton, MA 01720




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1339 of
                                        1568
 Saravana Shanmugam
 1048 Vardin Ter
 Fremont, CA 94536



 Sarayah Moore
 555 W. Kinzie ST
 Chicago, IL 60654



 Sari Elaian
 4 Heritage Village Lane
 Campbell, CA 95008



 Sasha Arijanto
 2070 Valparaiso Ave
 Menlo Park, CA 94025



 Sasha Jaffarove
 21530 Jessie Way
 Los gatos, CA 95033



 Sasha Williams
 1458 Miller Ave.
 San Jose, CA 95129



 Satoshi Sugie
 1028 Noel Drive
 Menlo Park, CA 94025



 Satya Vadlamani
 10812 Gaillardia
 Austin, TX 78733




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1340 of
                                        1568
 Satyajit Patwardhan
 670 Navajo Way
 Fremont, CA 94539



 Saul Gurdus
 1517 Folger Dr.
 Belmont, CA 94002



 Saurabh Ambre
 880 Franklin St
 San Francisco, CA 94102



 Saurabh Vyas
 1469 Bellerue Ave. Apt. 203
 Burlingame, CA 94010



 Savannah Buchner
 690 Covington Rd
 Los Altos, CA 94024



 Sawyer Caryl
 436 Fulton Rd
 San Mateo, CA 94402



 Sawyer Eschliman
 6252 E. Preston St.
 Mesa, AZ 85215



 Sawyer Schumacher
 341 Eden Roc
 Sausalito, CA 94965




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1341 of
                                        1568
 Sayli Benadikar
 3407 Snively Ave
 Santa Clara, CA 95051



 Scanner Luce
 318 McEvoy St
 Redwood City, CA 94061



 SCC DTAC
 6th Floor
 San Jose, CA 95110-1767



 Schuyler Robertson
 3235 3rd St
 San Francisco, CA 94124



 Schuyler Schiltz
 1024 Washington st
 San Jose, CA 95112



 Scot Millican_V
 PO Box 358
 Pflugerville, TX 78691



 Scott Adams
 965 Primrose Ln
 Milan, MI 48160



 Scott Ardisson
 3537 Laird St
 Pittsburgh, PA 15212




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1342 of
                                        1568
 Scott Bell
 34496 Sandpebble Dr
 Sterling Heights, MI 48310



 Scott Pitz
 3033 Remington Avenue
 Baltimore, MD 21211



 Scott A. Waterman
 780 Bucknall Rd
 Campbell, CA 95008



 Scott Albritton
 921 Alvarado St. Apt. A.
 San Francisco, CA 94114



 SCOTT ALLEN
 9011 Yucca Mountain Rd
 AUSTIN, TX 78759



 Scott Allen
 6622 CHABOT RD
 OAKLAND, CA 94618



 Scott Amman
 4132 Merna Lane
 Milford, MI 48380



 Scott Bentson
 6525 E. Santa Elena
 Tucson, AZ 85715




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1343 of
                                        1568
 Scott Bhal
 122 woodleaf way
 mountain view, CA 94040



 Scott Bridgman
 35 Lobos St
 San Francisco, CA 94112



 Scott Brunson
 4813 Canyonbend Cir.
 Austin, TX 78735



 Scott Carey
 3700 S Jefferson Ave
 Saint Louis, MO 63118



 Scott Chaney
 1 Daybreak Est
 St Louis, MO 63128



 Scott Christopher Heeschen
 275 Carlyn Ave.
 Campbell, CA 95008



 Scott Cilmi
 324 Devon Dr
 San Rafael, CA 94903



 Scott Cutler
 445 Milan Dr. #219
 San Jose, CA 95134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1344 of
                                        1568
 Scott Drennan
 1220 Tasman Dr
 Sunnyvale, CA 94089



 Scott Dunham
 15407 Kinloch
 Redford, MI 48239



 Scott Eaton
 104 Franconia Street
 San Francisco, CA 94110



 Scott Eikenberry
 1810 Bay Laurel Drive
 Menlo Park, CA 94025



 Scott Esters
 521 Broderick Street
 San Francisco, CA 94117



 Scott Ferrell
 430 Wallace Road
 Wexford, PA 15090



 Scott Foss
 8916 romayne lane
 Austin, TX 78748



 Scott Freeman
 584 Coventry
 Grosse Pointe, MI 48236




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1345 of
                                        1568
 Scott Freeman
 17338 Moss Side Ln
 Olney, MD 20832



 Scott Friedman
 2148 Francis ave
 Santa Clara, CA 95051



 Scott Furman
 123 Hedge Road
 Menlo Park, CA 94025



 Scott Gent
 2961 Bailey
 Lincoln Park, MI 48146



 Scott Greer
 71 East Vivian Drive
 Pleasant Hill, CA 94523



 Scott Heeschen
 275 Carlyn Ave.
 Campbell, CA 95008



 Scott Herz
 1229 Clark Way
 San Jose, CA 95125



 Scott Jewett
 237 Bocana Street
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1346 of
                                        1568
 Scott Johnston
 309 N Pastoria Ave
 Sunnyvale, CA 94085



 Scott Jung
 4100 E 3rd Ave. #400
 Foster City, CA 94404



 Scott Kapelanski
 3085 Painted Dr
 Howell, MI 48843



 Scott Kempf
 12925 Portsmouth Crossing
 Plymouth, MI 48170



 Scott Knight
 5831 NW 45th Dr
 Gainesville, FL 32653



 Scott Landon
 1808 Trudean Way
 San Jose, CA 95132



 Scott Lewis
 12704 Bransford Cv.
 Austin, TX 78753



 Scott Ludeke
 1 Encline Ct
 San Francisco, CA 94127-1836




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1347 of
                                        1568
 Scott Ludwig
 70 Cherry Ridge Court
 San Jose, CA 95136



 Scott Ludwig
 70 Cherry Ridge Court
 San Jose, CA 95127



 Scott Ludwig_V
 70 Cherry Ridge Court
 San Jose, CA 95136



 Scott Martin
 41 Arkansas St
 San Francisco, CA 94107



 Scott McCulley
 102 Costances Ct
 Los Gatos, CA 95032



 Scott McKane
 8318 Old Lebanon Troy Road
 Troy, IL 62294



 Scott McLaughlin
 1775 Lark Lane
 Sunnyvale, CA 94087



 Scott McMahon
 304 Laurelwood Dr
 Austin, TX 78733




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1348 of
                                        1568
 Scott McMullen
 402 Winecup Trail
 Cedar Park, TX 78613



 Scott McNew
 4068 Outpost Trace
 Lago Vista, TX 78645



 Scott McRae
 2123 Sterling Ave
 Menlo Park, CA 94025



 Scott Miller
 0
 Sunnyvale, CA 94087



 Scott Miner
 4124 Haldane St.
 Pittsburgh, PA 15207



 Scott Murman
 3126 Oak Knoll Dr.
 Redwood City, CA 94062



 Scott Nguyen
 2400 Homedale Cir
 Austin, TX 78704



 Scott Phillip Cutler
 445 Milan Dr. #219
 San Jose, CA 95134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1349 of
                                        1568
 Scott Raffaele
 175 van dyke st, build 319-c
 Brooklyn, NY 11231



 Scott Rust
 22303 Regnart Road
 Cupertino, CA 95014



 Scott Sakamoto
 2334 21st Street
 Santa Monica, CA 90405



 Scott Sampley
 20951 Trenton Circle
 Leesburg, VA 20175



 Scott Savage
 1405 E Sapium Way
 Phoenix, AZ 85048



 Scott Saxon
 2807 E. Geer St.
 Durham, NC 27704



 Scott Small
 1155 Spruance St
 San Jose, CA 95128



 Scott Smith
 147 Julius St
 Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1350 of
                                        1568
 Scott Smith
 PO Box 37
 Moss Beach, CA 94038



 Scott Smith
 2020 Wayward Sun Drive
 Austin, TX 78754



 Scott Spencer
 419 Nimitz Ave.
 Redwood City, CA 94061



 Scott Stewart
 1702 East Messick Loop
 Round Rock, TX 78681



 Scott Storkel
 257 Fay Way
 Mountain View, CA 94043



 Scott Strayer
 263 Stonegate Circle
 San Jose, CA 95110



 Scott Sul
 550 Ortega Ave A109
 Mountain View, CA 94040



 Scott Sundvor
 2850 Golden Gate Ave Apt 2
 San Francisco, CA 94118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1351 of
                                        1568
 Scott Urdahl
 1205 Mayan Way
 Austin, TX 78703



 Scott Vander Meiden
 1401 Green Terrace
 Round Rock, TX 78664



 Scott Waterman
 780 Bucknall Rd
 Campbell, CA 95008



 Scott Whitman
 350 Bay ST STE 100
 San Francisco, CA 94133



 Scott Willis
 30941 island dr
 Gibraltor, MI 48173



 Scott Wills
 809B Cuesta Dr. #207
 Mountain View, CA 94040



 Scott Winterstein
 100 Webster St. Apt A
 Palo Alto, CA 94301



 Scott Wootton
 81 Decora Drive
 Saint Louis, MO 63146




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1352 of
                                        1568
 Scott Written
 350 Bay ST STE 100 PMB 331
 San Francisco, CA 94133



 Seamus Whyte
 1548 Cottage Grove
 San Mateo, CA 94401



 Sean Bertles
 1900 E Apache Blvd
 Tempe, AZ 85281



 Sean Carroll
 243 44th Street #1
 Pittsburgh, PA 15201



 Sean Thornton
 145 McNeilly Road Apt 2
 Pittsburgh, PA 15226



 Sean Andraka
 5725 Saint Johns Chapel Rd
 Owings, MD 20736



 Sean Behm
 463 Broadway
 San Francisco, CA 94133



 Sean Bryant
 495 S. Peppertree Dr.
 Gilbert, AZ 85296




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1353 of
                                        1568
 Sean Copeland
 2032 Kimbrook Dr
 Round Rock, TX 78681



 Sean Crotty
 P.O. Box 61119
 Palo Alto, CA 94306



 Sean Doherty
 1410 Topar Ave.
 Los Altos, CA 94024



 Sean Eagleton
 1152 garden st
 east palo alto, CA 94303



 Sean Echevarria
 119 12th Ave.
 San Mateo, CA 94402



 Sean Frick
 1301 29th St. Apt 1
 San Francisco, CA 94107



 Sean Garner
 481 Clementina St. Apt. F
 San Francisco, CA 94103



 Sean Gies
 268 Bush St. #802
 San Francisco, CA 94104




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1354 of
                                        1568
 Sean Gray
 PO Box 9037
 Pittsburgh, PA 15224



 Sean Greenslade
 168 Tobin Clark Dr.
 Hillsborough, CA 94010



 Sean Griffin
 188 Minna #27F
 San Francisco, CA 94105



 Sean Guthrie
 3444 E Beryl Ln
 Phoenix, AZ 85028



 Sean Hagan
 521 Victoria St.
 San Francisco, CA 94132



 Sean Headrick
 410 Mayellen Ave
 San Jose, CA 95126



 Sean Holden
 312 Chestnut St.
 Redwood City, CA 94063



 Sean Holloway
 5401 E Van Buren St - Unit 1069
 Phoenix, AZ 85008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1355 of
                                        1568
 Sean HortonMurphy
 350 N. Whisman
 Mountain View, CA 94065



 Sean Kelly
 967 44th Street
 Oakland, CA 94608



 Sean Kennon
 997 Jefferson Ave #4B
 Brooklyn, NY 11221



 Sean Kennon
 10316 Crestmoor Dr
 Silver Spring, VA 22202



 Sean Kennon
 10316 Crestmoor Dr
 Silver Spring, MD 20901



 Sean Kerrel
 1042 Leo Way
 Oakland, CA 94611



 Sean Knox
 11621 MILL RIDGE TRCE
 MANOR, TX 78653



 Sean Lee
 725 Crane Canyon Pl
 Round Rock, TX 78665




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1356 of
                                        1568
 Sean McMahon
 2025 Monroe Avenue
 Belmont, CA 94002



 Sean Pieper
 144 S. 3rd Street Unit 610
 San Jose, CA 95112



 Sean Ponce
 2262 Grand Ave
 Long Beach, CA 90815



 Sean Powell
 2619 Pitcairn Road
 Monroeville, PA 15146



 Sean Randall
 207 Parable Cove
 Pflugerville, TX 78660



 Sean Rhea
 554 Liberty St
 San Francisco, CA 94114



 Sean Sarram
 14747 N. Northsight Blvd #111-223
 Scottsdale, AZ 85260



 Sean Savage
 2223 Broadway #810
 Oaklandq, CA 94607




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1357 of
                                        1568
 Sean Stasio
 1249 18th Ave #101
 San Francisco, CA 94122



 Sean Stoner
 2534 Powderhorn Ridge Rd
 Rochester Hills, MI 48309



 Sean Sullivan
 685 Haight #5
 San Francisco, CA 94117



 Sean Twomey
 3663 Skyline Dr.
 Hayward, CA 94542



 Sean Velcich
 2905 1/2 Harrison St.
 San Francisco, CA 94103



 Sean Wachob
 23480 Summit Rd
 Los Gatos, CA 95033



 Sean Wagstaff
 2601 Cowper St
 Palo Alto, CA 94306



 Sean Wang
 2650 California St # 36
 Mountain View, CA 94040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1358 of
                                        1568
 Sean Zumkeller
 1416 Sheltie Lane
 Round Rock, TX 78664



 Sean-Franc Strang
 225 Murray Street
 San Francisco, CA 94112



 Sebastian Parker
 1060 Cole #2
 San Francisco, CA 94117



 Sebastian Peter Jr.
 71 Ocean Parkway, Apartment 5L
 Brooklyn, NY 11218



 Sebastian Schloesser
 757 Treat Ave
 San Francisco, CA 94110



 Sebastien Arbona
 403 S Bouldin Street
 Balitmore, MD 21224



 Sebastien Benoit
 108 Central
 Redwood City, CA 94063



 Sebastien Tilmans
 169 Waverley St.
 Palo Alto, CA 93401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1359 of
                                        1568
 Secretary of State
 Business Programs Division
 PO Box 944230
 Sacramento, CA 94244-2300



 Selina Fong
 581 W Remington Dr.
 Sunnyvale, CA 94087



 Semar Prom
 35 Poncetta Drive #322
 San Francisco, CA 94015



 Semir Kasumovic
 3648 N. 40th S. #17
 Phoenix, AZ 85018



 Senate Ghamin
 5035 Argyle
 Dearborn, MI 48126



 seran wilson
 518 beresford ave
 redwood city, CA 94061



 Serena Stitcher
 3015 Paulowna St.
 Pittsburgh, PA 15219



 Serge Guillot
 700 Clearlake Point
 Seneca, SC 29672




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1360 of
                                        1568
 SERGE RAHARISON
 2700 Pleasantdale Rd, Apt 204
 Vienna, VA 22180



 Sergei Menchenin
 1718 Hillman Ave.
 Belmont, CA 94002



 Serges Lemo
 3554 Shiraz Loop
 Round Rock, TX 78665



 Sergey Shkolnikov
 2255 Showers Drive
 Mountain View, CA 94040



 Sergey Ivankov
 636 Guadalupe Ave.
 Milbrae, CA 94080



 Sergey Kashperskiy
 1547 Palos Verdes Mall #159
 Walnut Creek, CA 94597



 Sergey Levchin
 362 Jefferson Ave, apt 3
 Brooklyn, NY 11221



 Sergio Feria
 1688 Tacoma Ave.
 Berkeley, CA 94707




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1361 of
                                        1568
 Sergio Villotta
 1326 The Alameda
 San Jose, CA 95126



 Sergio Zacarias
 221 Crest Trail
 San Antonio, TX 78232



 Sergiy Kuklenko
 1220 Vicente Dr. Apt. #e
 Sunnyvale, CA 94086



 Serguey Kondratieff
 1660 Belleville
 Sunnyvale, CA 94087



 Seth LaPierre
 1021 N Garfield St #417
 Arlington, VA 22201



 Seth Davis
 6821 Fyler Ave
 Saint Louis, MO 63139



 Seth Holliday
 1484 Stardust Ct
 Santa Clara, CA 95050



 Seth Hondl
 893 Stagl Ln
 Los Altos, CA 94024




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1362 of
                                        1568
 Seth Kuhlman
 6634 E Venue Circle
 Mesa, AZ 85215



 Seth Levy
 7120 Thorndale Dr.
 Oakland, CA 94611



 Seth Lewis
 7474 Cromwell Dr.
 Saint Louis, MO 63105



 Seth Newsome
 5235 Diamond Hts. Blvd. Apt. #315
 San Francisco, CA 94131



 Seth Newsome-V
 5235 Diamond Heights Blvd. # 315
 San Francisco, CA 94131



 Seth Quest
 424 1st street
 san francisco, CA 94117



 Seth Voltz
 1333 Gough St., Apt 5J
 San Fancisco, CA 94109



 Seyed Yazdi
 2247 N 1st Ave
 Upland, CA 91784




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1363 of
                                        1568
 Shade Flaniken
 4620 17th St
 San Francisco, CA 94117



 Shae Brown
 909 Shields St
 San Francisco, CA 94025



 Shafqat Ahmed
 260 King St #615
 San Francisco, CA 94107



 Shah Jamshidpour
 4826 S. Country Club Way
 Tempe, AZ 85282



 Shahid Siddiqui
 44410 WHITE PINE CIRCLE WEST
 NORTHVILLE, MI 48168



 Shahzia Rahn
 2400 W. El Camino Real
 Mountain View, CA 94040



 Shaibal Roy
 738 Torreya Court
 Palo Alto, CA 94303



 Shalabh Agarwal
 903 Sunrose Terrace #303
 Sunnyvale, CA 94086




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1364 of
                                        1568
 Shalim Sanchez
 218 North Columbus St
 Alexandria, VA 22314



 Shamika Baker
 58 Woodward Street, Apt. 58a
 San Francisco, CA 94103



 Shams Hameed
 Program Manager, Dept. of Education and
 P.O. Box No. 36005
 UNITED ARAB EMIRATES



 Shanda Sansing
 1428 Briarcliff Blvd
 Austin, TX 78723



 Shandor Dektor
 2721 Midtown Ct
 Palo Alto, CA 94303



 Shandy Brown
 43 Abbey St
 San Francisco, CA 94114



 Shane Martin
 5534 Kentucky Ave
 Pittsburgh, PA 15232



 Shane Alan
 1285 Guerrero, #3
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1365 of
                                        1568
 Shane Gilbreath
 1317 East 3rd Street
 Georgetown, TX 78626



 Shane Koo
 359 Austin Ave.
 Atherton, CA 94027



 Shane Peper
 875 S Nebraska St. Unit 66
 Chandler, AZ 85225



 Shane Sischo
 1321 Peralta st apt#11
 Oakland, CA 94607



 Shane Williams
 5208 Curtis Street
 Fremont, CA 94538



 Shannon Emery
 12807 Littleton St
 Silver Spring, MD 20906



 Shannon Cory
 100 Adios Drive, APT 320
 Washington, PA 15301



 Shannon Edwards
 25690 Adams Rd
 Los Gatos, CA 95033




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1366 of
                                        1568
 Shannon Newton
 1237 chestnut st
 San Francisco, CA 94109



 Shant Bezdjian
 1591 Laurel Street #1
 San Carlos, CA 94070



 Shant Bezdjian_V
 19223 Vineyard Lane
 Saratoga, CA 95070



 Shanta Ambady
 3876 Vinewood St.
 Detroit, MI 48208



 Shanta Ambady
 5551 Cranbrook St
 Dearborn Heights, MI 48125



 Shantaea JonesAllen
 51 Larimer Ave
 Pittsburgh, PA 15206



 Shanti Kanhai
 Sparrenrode
 Pittsburgh, PA 15213



 Sharad Narayan
 1134 Tangerine Way
 Sunnyvale, CA 94087




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1367 of
                                        1568
 Sharad Saha
 400 River Side ct, apt no 110
 Santa Clara, CA 95054



 Sharath Veldanda
 3548 AGATE DR APT 1
 SANTA CLARA, CA 95051



 Shari Shinn
 206C Mcknight Circle
 Pgh, PA 15237



 Sharnice Geohaghan
 19 42nd ST NE Apt 40
 Washington, DC 20019



 Sharnita James
 3831 13th Street NW
 Washington, DC 20011



 Sharon S Shindel
 3833 E. Carson Rd
 Phoenix, AZ 85042



 Sharon Schibler
 1150 Diamond Ct
 Los Altos, CA 94024



 Sharon Shindel
 3833 E. Carson Rd
 Phoenix, AZ 85042




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1368 of
                                        1568
 Shashi Dookhee
 888 Leith Ave
 Santa Clara, CA 95054



 ShashiKiran Chilappagari
 6227 Tillamook Dr.
 San Jose, CA 95123



 Shaun Siems
 231 the Oaks Blvd
 Elgin, TX 78621



 Shauna Austin
 160 S. 230th Dr.
 Buckeye, AZ 85326



 Shawn Dornoff
 2101 W. Lafayette Blvd apt#312
 Detroit, MI 48216



 Shawn Ryan
 12016 Paper Birch Ln
 Gainesville, VA 20155



 Shawn Clonts
 9390 E Buena Vista Rd
 Safford, AZ 85546



 Shawn Coyl
 72 loyola ave
 Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1369 of
                                        1568
 Shawn Currin
 442 Ruxton st
 Pittsburgh, PA 15211



 Shawn Elson
 3208 Pierce St. #101
 San Francisco, CA 94123



 Shawn Gee
 12646 Mateus Dr.
 Maryland Heights, MO 63146



 Shawn Holbrook
 331 Kaercher Street
 Pittsburgh, PA 15207



 Shawn Holbrook_V
 5469 Black Street, Apt 3
 Pittsburgh, PA 15206



 Shawn Mitchell
 7107 Auignon Dr
 Round Rock, TX 78681



 Shawn Raymond
 460 Alger Dr.
 Palo Alto, CA 94306



 Shawn Simone
 2864 Marshall
 Southfield, MI 48076




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1370 of
                                        1568
 Shawn Simone
 28064 Marshall St.
 Southfield, MI 48076



 Shawna Burd
 755 Chislett St
 Pittsburgh, PA 15206



 Shay Pak
 723 Tudor Rd
 San Leandro, CA 94577



 Shayne Martinsen
 3831 West Street
 Oakland, CA 94608



 She Jinwen
 88 Rolstou St.
 San Francisco, CA 94132



 Shea Clifford
 6566 Whitbourne Dr.
 San Jose, CA 95120



 Sheena McNeal
 88 Howard St #1815
 San Francisco, CA 94111



 Sheila Bible
 2470 W Thompson Way
 Chandler, AZ 85286




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1371 of
                                        1568
 Sheila Finch
 548 Market St. #10073
 San Francisco, CA 94104



 Sheila Lenkman
 9119 Madge Ave
 Brentwood, MO 63144



 Sheila Lenkman
 9119 Madge Avenue
 Brentwood, MO 63144



 Sheila Rollo
 4404 South Grandview
 Tempe, AZ 85282



 Sheila Smith
 17117 Russell Ave
 Allen Park, MI 48101



 Shelby Manford
 17 Bull Elk Run
 Cloudcroft, NM 88317



 Shelby Cates
 499-1 Howard's Creek Rd
 Boone, NC 28604



 Shelby Payne
 434 Maryland Ave Apt 103
 Saint Luis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1372 of
                                        1568
 Shelby Solivais
 736 E Brooks St
 Chandler, AZ 85225



 Shelley Curtis
 1655 Manitoba Dr.
 Sunnyvale, CA 94087



 Shelley Sweazey
 1157 Treat Ave
 San Francisco, CA 94110



 Shelly Glennon
 476 N. 16th St.
 San Jose, CA 95112



 Shelly Laughlin
 1 N, Grand Blvd
 St. Louis, MO 63108



 Shelly Monfort
 22900 Big Basin Way
 Saratoga, CA 95070



 Shemaria Scharmann
 1701 Garden Drive
 Verona, PA 15147



 Sheng Yuan
 7202 Clarendon St
 san jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1373 of
                                        1568
 Sher Jacobson
 4821 Au Sable Drive
 Gibsonia, PA 15044



 Sheri Kenawell
 2029 Sterling Drive
 McDonald, PA 15057



 Sheri Sable
 6315 Forbes Avenue, 714
 Pittsburgh, PA 15217



 Sherman Boyd
 1040 S. Hardy Dr.
 Tempe, AZ 85281



 Sherry Allen
 248 Berringer Place
 Pittsburgh, PA 15202



 Sherry Moore
 47 View St.
 Los Altos, CA 94022



 Sherry Waki
 209 Kit Carson Court
 Santa Clara, CA 95050



 Sherwin Cruz
 1665 East 12th Street
 Brooklyn, NY 11229




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1374 of
                                        1568
 Sheryl Williams
 1405 Searcy Dr
 San Jose, CA 95118



 SheungLam Wong
 571 Panchita Way
 Los Altos, CA 94022



 Shih-Hui Wu
 6 Miller Blvd
 Syosset, NY 11791



 Shih-jen Hwong
 16 Stockbridge Ave
 Atherton, CA 94027



 Shiloh Curtis
 1655 Manituba Dr
 Sunnyvale, CA 94087



 Shiloh Nordby
 32526 lake barlee ave
 Fremont, CA 94555



 Shiming Xu
 670 w fremont dr
 tempe, AZ 85282



 Shine Low
 505 Cypress Point Dr
 Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1375 of
                                        1568
 Shiohir Malani
 900 Pepper Tree lane #1123
 Santa Clara, CA 95051



 Shirlee Kimsey
 21557 Rainbow Drive
 Cupertino, CA 95014



 Shirley Reinhart
 11320 William
 Taylor, MI 48180



 Shirley Reinhart
 1116 Lebanc
 Lincoln Park, MI 48146



 Shirley Reinhart_V
 1116 Leblane
 Lincoln Park, MI 48146



 Shiva Ghose
 1737, Cedar St, LOWR
 Berkeley, CA 94703



 Shmuel Branover
 67 35th St STE B224
 Brooklyn, NY 11232-2018



 Shouyu Zeng
 2300 W. Bentrup St.
 Chandler, AZ 85224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1376 of
                                        1568
 Shrey Bhatia
 571 Panchita Way
 Los Altos, CA 94022



 Shreya Parikh
 1016 Monica Lane
 San Jose, CA 95128



 Shridhar Reddy
 351 Naples
 San Francisco, CA 94112



 Shrimpware
 700 Elm Street
 San Carlos, CA 94070



 Shriphani Palakodety
 166 Bryant Street, Apartment B
 Palo Alto, CA 94301



 Shuai Chen
 574 Kansas St
 San Francisco, CA 94107



 Shubham Banerjee
 1897 Silva Pl
 Santa Clara, CA 95054



 Shunsuke Okubo
 16531 Haggerty
 Belleville, MI 48111




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1377 of
                                        1568
 Shyamala Malladi
 130 Greenoaks Drive
 Atherton, CA 94027



 Siaka Yusuf
 1118 Cambria Drive
 East Lansing, MI 48823



 Siane Kung
 3297 Vin Santo Lane
 San Jose, CA 95148



 Sibel Yalin
 2027 Pacific Street
 Brooklyn, NY 11233



 Siddharth Srivastava
 3504 Skyline Dr.
 Hayward, CA 94542



 Siddharth Suri
 1620 Beechwood Blvd APT 8
 Pittsburgh, PA 15217



 Sierra Sholes
 1318 Edgewood Rd
 Redwood City, CA 94062



 Silas Newman
 729 Lafayette Ave
 Brooklyn, NY 11224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1378 of
                                        1568
 Silicon Carbon
 Brenton White
 69 16th St, Ste 2
 Brooklyn, NY 11215



 Silvan Graf
 1935 Mt Vernon Ct
 Mountain View, CA 94040



 Simon Lane
 915 West Carmen St.
 Tempe, AZ 85283



 Simon Anton
 5153 Commonwealth
 Detroit, MI 48208



 Simon Bennett
 2440 Chalet Drive
 Rochester Hills, MI 48309



 Simon Cooper
 PMB 112, 20660 Stevens Creek Blvd
 Cupertino, CA 95014



 Simon Hastings
 760 N 7th St.
 San Jose, CA 95112



 Simon Jakesch
 2106 Kenbridge Dr
 Austin, TX 78757




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1379 of
                                        1568
 Simon Liu
 420 Yorkshire Road
 Alameda, CA 94501



 Simon Murtha Smith
 1274 Dolores St.
 San Francisco, CA 94110



 Simon Rodan
 1257 Sanguinetti Rd, # 203
 Sonora, CA 95370-6215



 Simon Sorensen
 383 Goldenslopes ct
 Benicia, CA 94510



 Simon Steinfeld
 19281 Mountain Way
 Los Gatos, CA 95030



 Simon Vana
 255 South Rengstorff Avenue, #30
 Mountain View, CA 94040



 Simon Varga
 13214 Quadros Pass
 Austin, TX 78729



 Simon Woo
 6811 Spout Lane
 Fairfax Station, VA 22039




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1380 of
                                        1568
 Simon Xu
 2 North 1 Street
 San Jose, CA 95113



 Simone Hasslen
 805 Evergreen St
 Menlo Park, CA 94025



 Simone Johnson
 4708 Albany Drive
 San Jose, CA 95129



 Sin ad Toolis
 1148 Lincoln Drive
 Mountain View, CA 94040



 Sina Lawson
 916 Garfield Ave
 Braddock Hills, PA 15221



 Singer Blake
 122 Maynard St
 San Francisco, CA 94112



 Sitki Isler
 701 Somerset Park Drive SE Apt 204
 Leesburg, VA 20175



 Siying Liu
 401 Shady Ave Apt. D-604
 Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1381 of
                                        1568
 Skip Stritter
 1315 San Mateo Dr
 Menlo Park, CA 94025



 Skot Carruth
 6 Locksley Ave. #8L
 San Francisco, CA 94122



 Skylar Young
 3507 Palmilla Dr, Apt 4151
 San Jose, CA 95134



 Skyler Mogensen
 1306 W 4th St., Apt. C
 Tempe, AZ 85281



 Skyler Riske
 1934 W Lynx Ct
 Chandler, AZ 85248



 Skyler Yu
 5944 Cabral Ave
 San Jose, CA 95123



 Sloane Hawkins
 1917 Washtenaw
 Ann Arbor, MI 48104



 SM_Bukola Obayomi
 3331 W Ross Dr
 Chandler, AZ 85226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1382 of
                                        1568
 Sneha Shenoy
 1111 East University Drive, Unit 127
 Tempe, AZ 85281



 Sobha Varma
 21090 Hazelbrook Dr
 Cupertino, CA 95014



 Sofia Hogqvist
 621 Jarboe Ave
 San Francisco, CA 94110



 Sofia Regenbogen
 1058 De Haro street
 San Francisco, CA 94017



 sofia sinibaldi
 1563 pacific
 san francisco, CA 94109



 Sofia Williams
 5208 Curtis Street
 Fremont, CA 94538



 Solas Concepts, LLC
 404 Sheldon Street
 Petaluma, CA 94952



 Solomon Kibreab
 3934 10th Street, NE, #3
 Washington, DC 20017




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1383 of
                                        1568
 Sonali Kothari
 555 4th St
 San Francisco, CA 94107



 Songyan Shi
 1130 E. Orange St.
 #206
 Tempe, AZ 85281



 Sonia Bidlack
 1259 El Camino Real, #403
 Menlo Park, CA 94025



 Sonia Faletti
 230 9th St. NE
 Washington, DC 20002



 Sonia Lee
 433 Lorell Ave.
 Mill Valley, CA 94941



 Sonia Lee & Alan M Grumet
 433 Lorell Ave.
 Mill Valley, CA 94941



 Sonia Uppal
 11035 Magdalena Road
 Los Altos, CA 94024



 Sonja Jeter
 4360 Watson Circle
 Santa Clara, CA 95054-4164




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1384 of
                                        1568
 Sonja Koblas
 729 Anderson Drive`
 Los Altos, CA 94024



 Sonny Hoang
 131 West C St
 Port Hueneme, CA 93041



 Sonny Swords
 370 Bodega St.
 Foster City, CA 94404



 Soojin Chung
 4393 Watson Cir.
 Santa Clara, CA 95054



 Sophia Sperman
 165 Cambridge Ave
 San Leandro, CA 94577



 Soren Anderson
 2671 Avalon Ct #104
 Alexandria, VA 22314



 Soren Sprissler
 4224 Lost Oasis Hollow
 Austin, TX 78739



 Soufien Rhimi
 1208 Stephen St
 Killeen, TX 76549




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1385 of
                                        1568
 SP Plus_1074
 P O Box 790402
 St. Louis, MO 63179-0402



 SP Plus_2469
 PO Box 790402
 St. Louis, MO 63179-0402



 Spark Tech, Inc.
 1308 Chisholm Trail Ste. 105
 Round Rock, TX 78681



 Speedy Metals
 2505 S. 162nd St.
 New Berlin, WI 53151



 Spencer Thompson
 21167 East Cliff Dr.
 Santa Cruz, CA 95062



 Spencer Canizales
 10949 E. Sheppard Ave.
 Mesa, AZ 85212



 Spencer Crim
 328 Shotwell Street
 San Francisco, CA 94110



 Spencer Davis
 120 Pearl St
 Santa Cruz, CA 95060




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1386 of
                                        1568
 Spencer Gore
 24899 Olive Tree Ln
 Los Altos Hills, CA 94024



 Spencer Ott
 239 Kensington Way
 Los Gatos, CA 95032



 Spencer Reynolds
 1273 Hayes St Apt 12
 San Francisco, CA 94117



 Spencer Trefilek
 1118 Michelle Ln
 Combard, MO 63109



 Srdjan Todorovic
 16023 N. 34th Ave.
 Phoenix, AZ 85053



 Sreecharan Chandrasekharan
 555 San Antonio Road Apt 528
 Mountain View, CA 94040



 Sri Welaratna
 767 Sunshine Dr
 Los Altos, CA 94024



 Sridhar Rajagopal
 1153 Elena Privada
 Mountain View, CA 94040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1387 of
                                        1568
 Srikanth Gururajan
 3450 Lindell Blvd
 St. Louis, MO 63108



 Srujan Mhetar
 1122 E. Lemon St. #18
 Tempe, AZ 85281



 Stacey Abram
 10901 voltaire ave
 Oakland, CA 94603



 Stacey Burgin
 1200 Mayruth Dr. Apt 4
 Durham, NC 27713



 Stacey Montoya
 3508 S. Arroyo Lane
 Gilbert, AZ 85297



 Stacey Stevenson
 2731 Fleetwood Dr
 San Bruno, CA 94066



 Staci Anderson
 3951 E Horseshoe Pl
 Chandler, AZ 85249



 Staci Offutt
 262 1/2 46th St.
 Pittsburgh, PA 15201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1388 of
                                        1568
 Staci Offutt
 262 1/2 46th Street
 Pittsburgh, PA 15201



 Staci Rose Hagler
 2709 Corabella Pl
 Cedar Park, TX 78613



 Stacie Reeves
 24317 Foxmoor blvd
 Woodhaven, MI 48183



 Stacie Tamaki
 PO Box 654
 Campbell, CA 95008



 Stacy Binns
 1660 Celeste Drive
 San Mateo, CA 94402



 Stacy Gowler
 12752 N. Quinoa Dr
 Marana, AZ 85653



 Stacy Kingham
 19609 E Emperor Blvd
 Queen Creek, AZ 85142



 Stan Forbes
 844 Alta Vista
 Pacifica, CA 94044




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1389 of
                                        1568
 STAN HOGREBE
 2079 CONGRESSIONAL DRIVE
 SAINT LOUIS, MO 63146



 Stan Honey
 827 Lytton Ave.
 Palo Alto, CA 94301



 Stanley Isaacs
 210 E Meadow Dr
 Palo Alto, CA 94306



 Stanley Lundrigan
 1209 Springbrook Rd
 Pflugerville, TX 78660



 Stanley Mason
 3643 Liberty Ave Apt 3
 Pittsburgh, PA 15201



 Stanley Pipkin
 1309 East 21st
 Clovis, NM 88101



 Staples Advantage
 P.O. Box 415256,
 Boston, MA 02241-5256



 Starr_King_School Spring_Fling_01
 1215 Carolina Street
 San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1390 of
                                        1568
 Starr_King_School Spring_Fling_02
 1215 Carolina Street
 San Francisco, CA 94107



 Stas Casa
 7301 Pyle Rd
 Bethesda, MD 20817



 State Board of Equalization
 P. O. Box 942879
 Sacrament, CA 94279-0001



 Stef Jones
 1372 Rosewood Ave
 San Carlos, CA 94070



 Stefan Altberg
 38 Country Club Dr
 Mill Valley, CA 94941



 Stefan Braun
 350 N 2nd St. #113
 San Jose, CA 95112



 Stefan Giroux
 1426 Bretton View RD
 Annapolis, MD 21409



 Stefan Gottschalk
 422 Fairoaks Cir
 Chapel Hill, NC 27516




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1391 of
                                        1568
 Stefan Medley
 1709 Old Mill Road
 Austin, TX 78613



 Stefan Rahimian
 600 H St NE apt 109
 Washington, DC 20002



 Stefani Asato
 523 W. Clark St.
 Mesa, AZ 85201



 Stefania Cargnello
 354 5th St
 San Francisco, CA 94107



 Stefanie Tong
 10570 White Fir Court
 Cupertino, CA 95014



 Stein Lien
 5049 Ashberry Rd
 Carlsbad, CA 92008



 Stella Carlin
 6701 Carlsbrooke Ln
 Austin, TX 78754



 Stella Henley
 2230 Carmelita Drive
 San Carlos, CA 94070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1392 of
                                        1568
 Stella Kim
 2936 Schyler Street, Apt 14
 Oakland, CA 94602



 Stener Breese
 21412 Alum Creek Ct
 Ashburn, VA 20147



 Stepan Davidovic
 109 2nd Place, Apt 3
 Brooklyn, NY 11231



 Steph Reisdorf
 667 W. Hancock, apt 110
 Detroit, MI 48201



 Stephan Chun
 1525 CALIFORNIA ST
 MOUNTAIN VIEW, CA 94041



 Stephan Eiter
 17715 NW Fall Ct
 Beaverton, OR 97006



 Stephan Uecker_V
 414 hillcrest road
 San Mateo, CA 94402



 Stephan Weiss
 4840 Kingbrook Dr.
 San Jose, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1393 of
                                        1568
 Stephane Magne
 318 Frederick St
 San Francisco, CA 94117



 Stephani Williams
 2325 Granite Hill Dr
 Leander, TX 78641



 Stephanie Ciancio
 6 Gaiser Ct
 San Francisco, CA 94110



 Stephanie Feniello
 9883 Moccasin Trail
 Wexford, PA 15090



 Stephanie Fung
 101 E. San Fernando St. Apt 425
 San Jose, CA 95112



 Stephanie Gobby Thomas
 5223 Bancroft Ave
 St. Louis, MO 63109



 Stephanie Harvey
 39 Franklin St NE
 Washington, DC 20002



 Stephanie Lim
 201 San Antonio circle, Suite 280
 Mountain View, CA 94040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1394 of
                                        1568
 Stephanie Liu
 941 Broderick St. #2
 San Francisco, CA 94115



 Stephanie Liv
 239 Kensington Way
 Los Gatos, CA 95032



 Stephanie Lloyd
 42537 Lemonwood St.
 Fremont, CA 94538



 Stephanie Margolis
 1605 Andrew Dr
 St. Louis, MO 63122



 Stephanie Phan
 1260 Sleepy Hollow Lane
 Millbrae, CA 94030



 Stephanie Sachtleben
 600 North Pleasant Avenue
 Centralia, IL 62801



 Stephanie Saunders
 1421 E. Redwood Dr.
 Chandler, AZ 85286



 Stephanie Segal
 7806 S. 64th Place
 Laveen, AZ 85339




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1395 of
                                        1568
 Stephanie Swan
 210 Crest Road
 Woodside, CA 94062



 Stephanie Thomas
 5223 Bancroft Ave
 St. Louis, MO 63109



 Stephanie Vacher
 301 11th St. #2B
 San Francisco, CA 94103



 Stephanie Vinces
 915 Park Pacifica
 Pacifica, CA 94044



 Stephanie Wan
 51 Skyhill Rd
 Alexandria, VA 22314



 Stephannie Williams
 11905 Stout Oak Trail
 Austin, TX 78750



 Stephen McGillivary
 2426 Hollyhead Dr
 Des Peres, MO 63131



 Stephen Orris
 23644 W Creek Dr
 New Boston, MI 48164




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1396 of
                                        1568
 Stephen Pingston
 607 Maxwell
 Royal Oak, MI 48067



 Stephen R Hochstetler
 2405 Emmett Pkwy
 Austin, TX 78728



 Stephen Ridgway
 2601 Scofield Ridge Pkwy
 Austin, TX 78727



 Stephen (Marsh) Schoenhard
 11667 aerie crescent
 happy valley, OR 97086



 Stephen Balinski
 10310 Breeden Rd
 Lusby, MD 20657



 Stephen Bernard
 260 n. 3rd st C
 san jose, CA 95112



 Stephen Blackwell
 1300 Bear Gulch Road
 Woodside, CA 94062



 Stephen Bond
 35872 Adobe dr.
 Fremont, CA 94536




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1397 of
                                        1568
 Stephen Casner
 1454 revelstoke way
 Sunnyvale, CA 94087



 Stephen Caudle
 7740 Silver View Ln
 Raleigh, NC 27613-1455



 Stephen Chisa
 617 Spartan Dr.
 Rochester Hills, MI 48309



 Stephen Cochran
 10041 S 46th way
 Phoenix, AZ 85044



 Stephen Cooper
 6400 Shoal Creek Blvd
 Austin, TX 78757



 Stephen Daniel
 5 Fallen Oak Ct.
 Durham, NC 27713



 Stephen E Librande
 673 Hamilton Ave
 Milpitas, CA 95035



 Stephen Fillman
 906 Garwood St
 Smithville, TX 78957




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1398 of
                                        1568
 Stephen Frick
 1137 Deerwood Dr
 Elgin, TX 78621



 Stephen Gates
 1388 Forrestal Ave.
 san jose, CA 95110



 Stephen Grinalds
 5580 La Jolla Blvd 25
 La Jolla, CA 92037



 Stephen Hall
 33427 Nth 25th Ave
 Pheonix, AZ 85085



 Stephen Hall
 19624 Sangremon Way
 Pflugerville, TX 78660



 Stephen Harmon
 4906 28TH ST N
 Arlington, VA 22207-2712



 Stephen Hochstetler
 2405 Emmett Pkwy
 Austin, TX 78728



 Stephen House
 341 S. Aiken Ave
 Pittsburgh, PA 15232




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1399 of
                                        1568
 Stephen Huber
 1156 Civic Center Dr.
 Santa Clara, CA 95050



 Stephen Huber_V
 1156 Civic Center Dr.
 Santa Clara, CA 95050



 Stephen Jacklyn
 768 22nd st.
 Oakland, CA 94612



 Stephen Johnson
 1600 S. Eads St. #735N
 Arlington, VA 22202



 Stephen Johnson_V
 1600 S Eads St #735N
 Arlington, VA 22202



 Stephen Kernosky
 11486 Plymouth Woods Rd
 Livonia, MI 48150



 Stephen Kim
 70 E 10th St Apt 18J
 New York, NY 10003



 Stephen Kovacic
 437 14th st,
 San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1400 of
                                        1568
 Stephen Kovacic
 437 14th St
 San Francisco, CA 94103



 Stephen Leonard
 42 Hibiscus Lane
 Robbinsville, NJ 08691



 Stephen Levinson
 66 Rockwell Pl #27F
 Brooklyn, NY 11217



 Stephen Lipinski
 437 Tyndal Street
 Los Altos, CA 94022



 Stephen Moeckel
 960 Hanna Rd
 Manchester, MO 63021



 Stephen Morgret
 8160 Olympic Ct
 Newark, CA 94560



 Stephen Myers
 4504 Belfield Ln
 Austin, TX 78725



 Stephen Olsen
 3445 Cade Drive
 Fremont, CA 94536




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1401 of
                                        1568
 Stephen Osborn
 445 Iris St.
 Redwood City, CA 94062



 Stephen Purcell
 365 Preston Drive
 Mountain View, CA 94040



 Stephen Samuel
 5330 Standish Dr
 Troy, MI 48085



 Stephen Sherman
 437 Ruthven Ave.
 Palo Alto, CA 94301



 Stephen Smith
 728 North Plumas Drive
 Tracy, CA 95391



 Stephen Spencer
 3236 Parkview Ave.
 Pittsburgh, PA 15213



 Stephen Strong
 921 Park St SE
 Vienna, VA 22180



 Stephen Traskos
 13507 copper bed road
 herndon, VA 20171




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1402 of
                                        1568
 Stephen Troll
 3420 Commonwealth Ave
 Maplewood, MO 63143



 Stephen Vincent
 1337 Winding Ridge #3A
 Grand Blanc, MI 48439



 Stephen Vincent
 1725 Van Dyke St, Apt 27
 Detroit, MI 48214



 Stephen Wade
 16363 Lilac Lane
 Los Gatos, CA 95032



 Stephen Warren
 1002 N St NW
 Washington, DC 20001



 Stephen Waun
 15216 koester
 Lakeland, MI 48143



 Stephen Weir
 1517 N POINT #306
 San Francisco, CA 94123



 Stephen Widmark
 221 Acorn Dr
 Boulder Creek, CA 95006




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1403 of
                                        1568
 Stephen Williams
 1085 Tasman Drive, Spc 508
 Sunnyvale, CA 94089



 Stephen Williams
 13000 Wingate Way
 Austin, TX 78727



 Stephen Wolfe
 365 S. Graham St.
 Pittsburgh, PA 15232



 Stephen Wyszomirski
 23341 Maud Ave.
 Hayward, CA 94541



 Stephen Zelenko
 109 McKelvey Ave.
 Pittsburgh, PA 15218



 Sterling Sullivan
 197 Hardwick Rd
 Woodside, CA 94062



 Steve Boucher
 2979 Gardendale Drive
 San Jose, CA 95125



 Steve Ashby
 22063 Thelma St.
 Hayward, CA 94541




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1404 of
                                        1568
 Steve Atkins
 955 Mouton Circle
 East Palo Alto, CA 94303



 Steve Austin
 160 S 230th Dr
 Buckeye, AZ 85326



 Steve Bauer
 4317 Maryland Ave.
 St Louis, MO 63108



 Steve Beamer
 27915 Iberville Glen Dr
 Katy, TX 77494



 Steve Beane
 9 Amherst Lane.
 Dearborn, MI 48120



 Steve Beauchamp
 72 Berkshire dr
 St. Louis, MO 63117



 Steve Bell
 980 Woodland Drive
 Hillsborough, CA 94010



 Steve Benner
 143 CadyCentre #191
 Northville, MI 48167




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1405 of
                                        1568
 Steve Bennett
 2520 Lost Oaks Dr.
 San Jose, CA 95124



 Steve Bigham
 2412 Woodgreen Ct
 Canton, MI 48188



 Steve Buck
 1124 Clayton Ln. APT K
 Austin, TX 78723



 Steve Connell
 400 Locust St. #10
 San Francisco, CA 94118



 Steve Cook
 2190 Chakgrove Dr
 Troy, MI 48098



 Steve Cooley
 569 West Rincon Ave.
 Campbell, CA 95008



 Steve Craig
 5773 Dora Lane
 Clarkston, MI 48348



 Steve Frank
 241 N. Melborn
 Dearborn, MI 48128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1406 of
                                        1568
 Steve Frey
 3955 Mayfair
 Dearborn, MI 48125



 Steve Heintz
 800 High Street #101
 Palo Alto, CA 94301



 Steve Hotz
 7113 Mason Grove Ct
 Alexandria, VA 22306



 Steve Hunter
 714 Tilman Rd
 Charlottesville, VA 22901



 Steve James
 13349 Indian Oak Bend
 Manor, TX 78653



 steve johnson
 5719 indian ct
 alexandria, VA 22303



 Steve Kelem
 26323 Esperanza Drive
 Los Altos Hills, CA 94022



 Steve Knodl
 2413 Spanish Camp Cv
 Austin, TX 78725




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1407 of
                                        1568
 Steve Kuypers
 19189 Elkhart
 Harper Woods, MI 48225



 Steve Leaney
 49609 Timber Trail
 Novi, MI 48374



 Steve LeVine
 319 Deerfield Drive
 Moraga, CA 94556



 Steve Liebenow
 765 Orkney Ave
 Santa Clara, CA 95054



 Steve Little
 11300 Slippery Elm Trail
 Austin, TX 78750



 Steve Macica
 11658 Nordic Lane
 Truckee, CA 96161



 Steve Malik
 1200 Gough street
 San Francisco, CA 94109



 Steve McAdams
 83 De Bell Dr.
 Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1408 of
                                        1568
 Steve McCallister
 3339 E Tanglewood Dr
 Phoenix, AZ 85048



 Steve McMannis
 128 Henderson Street
 Pittsburgh, PA 15212



 Steve Metz
 339 29th Ave.
 San Francisco, CA 94121



 Steve Okay
 1230 Market Street Box 351
 San Francisco, CA 94102



 Steve Ortiz
 2120 Jefferson
 redwood city, CA 94062



 Steve Payonzeck
 345 Green St
 San Francisco, CA 94133-4189



 Steve Purcell
 365 Preston Dr.
 Mountain View, CA 94040



 Steve Ray
 6665 Parkland
 Dearborn Heights, MI 48127




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1409 of
                                        1568
 Steve Ricks
 2711 E. LeGrand Loop
 Chandler, AZ 85286



 Steve Ricks
 2721 E Le Grand Loop
 Chandler, AZ 85286



 Steve Rightnour
 1601 Cindy Ct
 Round Rock, TX 78664



 Steve Roon
 119 Old Orchard Court
 Los Gatos, CA 95032



 Steve Schoettler
 3130 Alpine Road #288-481
 Portola Valley, CA 94028



 Steve Smith
 2900 Holiday Ct.
 Morgan Hill, CA 95037



 Steve Stram
 3235 Lafayette Drive
 Trenton, MI 48183



 Steve Switaj
 14430 NW Whistler Ln
 Portland, OR 97229




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1410 of
                                        1568
 Steve Szwabowski
 973 SpringField
 Northville, MI 48167



 Steve Traugott
 472 Kings Court
 Campbell, CA 95008



 Steve Votava
 2131 Pardoroyal Dr
 St Louis, MO 63131



 Steve Watson
 155 College St.
 Mountain View, CA 94040



 Steve Wendl
 486 Ferne Ave.
 Palo Alto, CA 94306



 Steve Wesolowski
 10338 Bonny Drive
 Sunnyvale, CA 94086



 Steve Young
 4780 Cheeney Street
 Santa Clara, CA 95054



 Steve Zettler
 835 O'Farrell St. #611,
 San Francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1411 of
                                        1568
 Steve Zettler
 835 O'farrell St, Apt 611
 San Francisco, CA 94109



 Steven Drake
 1201 S Courthouse unit 612
 Arlington, VA 22204



 Steven Scotten
 838 Ceder St, Apt H
 Alameda, CA 94501



 Steven Wheeler
 111 Monticello Ave
 Piedmont, CA 94611



 Steven and Linda Liebenow
 765 Orkney Ave
 Santa Clara, CA 95054



 Steven Bakondi
 330 Alvarado St.
 San Francisco, CA 94114



 Steven Bible
 2470 W Thompson Way
 Chandler, AZ 85286



 Steven Brow
 59 Washington
 Santa Clara, CA 95050




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1412 of
                                        1568
 Steven Brow
 304 La Honda Drive
 Milpitas, CA 95035



 Steven Brown
 2392 E. Kempton Rd
 Chandler, AZ 85225



 Steven Ciraolo
 20 Lower Via Casitas, 3
 Greenbrae, CA 94904



 Steven Covington
 4129 4TH STREET NW
 WASHINGTON, DC 20011



 Steven Dyke
 1 Brookings Drive
 St. Louis, MO 63130



 Steven Finch
 1025 Alameda de las Pulgas, #217
 Belmont, CA 94002



 Steven Forman
 7526 Graymore Rd
 Pittsburgh, PA 15221



 Steven Garcia
 801 North Federal Street
 Chandler, AZ 85226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1413 of
                                        1568
 Steven Haman
 651 E Julian St. #B
 San Jose, CA 95112



 Steven Hernandez
 1528 Bird Ave
 San Jose, CA 95125



 Steven Houtchens
 130 San Juan Ct
 Los Altos, CA 94022



 Steven Houtchens and Bernadette Houtchen
 130 San Juan Ct
 Los Altos, CA 94022



 Steven J. Frey
 3955 Mayfair Street,
 Dearborn Heights,, MI 48125



 Steven Jones
 804 Avalon Ave.
 Lafayette, CA 94549



 Steven Kasapi
 584 Castro St. #681
 San Francisco, CA 94114



 Steven Korzelius
 4397 Chestnut Ridge Rd.
 Amherst, NY 14228




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1414 of
                                        1568
 Steven Kuypers
 7332 Oakland ST
 Detroit, MI 48211



 Steven Lawu
 2635 23rd Ave
 San Francisco, CA 94116



 Steven Leibson
 130 E San Fernando St., PH4
 San Jose, CA 95112



 Steven Maas
 1662 Fenton Business Park Ct, Suite 109
 Fenton, MO 63026



 Steven McCaa
 1768 Quesada Way
 Burlingame, CA 94010



 Steven Michaelis
 1312 E3rd St
 Georgetown, TX 78626



 Steven Mitchel
 801 S. 17th Ave 28
 Phoenix, AZ 85301



 Steven Monda
 4167 Washington Blvd, Unit A
 St. Louis, MO 63108




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1415 of
                                        1568
 Steven Mosbrucker
 3651 Springbrook Ave.
 San Jose, CA 95148



 Steven Nelson
 1404 Bonita Ave
 Mountain View, CA 94040



 Steven Nersesian
 385 Tehama
 San Francisco, CA 94103



 STEVEN OSBURN
 300 3rd St. #1101
 San Francisco, CA 94107



 Steven Pariseau
 636 Fan Tail Way #913
 Redwood City, CA 94063



 Steven Pollack
 707 Leahy St.
 Redwood City, CA 94063



 Steven Prior
 24537 Queens Point
 Novi, MI 48375



 Steven R. Atkins
 955 Mouton Circle
 East Palo Alto, CA 94303




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1416 of
                                        1568
 Steven Rockwood
 5126 Durham Road West
 Columbia, MD 21044



 Steven Roy
 194 Bayline Cir.
 Folsom, CA 95630



 Steven Saunders
 411 Kings Ct
 Campbell, CA 95008



 Steven Schondorf
 3 Shady Hollow Dr.
 Dearborn, MI 48124



 Steven Simoni
 104 Baker St apt 4
 San Francisco, CA 94117



 Steven Tucker
 19250 Black Road
 Los Gatos, CA 95033



 Steven Tucker_V
 19250 Black Rd.
 Los Gatos, CA 95033



 Steven VanRoekel
 2991 Woodland Drive NW
 Washington, DC 20008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1417 of
                                        1568
 Steven Zhou
 3041 honeysuckle dr
 ann arbor, MI 48103



 Steven Zupan
 425 Euclid Avenue Apt 3
 San Francisco, CA 94118



 Steven_B Wheeler
 111 monticello Ave
 Piedmont, CA 94604



 Stevven Garcia
 9509 E 14th St
 Mesa, AZ 85212



 Stewart Cobb
 PO Box 50091
 Palo Alto, CA 94303



 Stewart Slater
 1203 Caspian Sea Dr
 San Jose, CA 95126



 Stewart Williams
 1921 The Alameda, #1
 San Jose, CA 95126



 Stijn Jansen
 1100 Sansome Street
 San Francisco, CA 94111




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1418 of
                                        1568
 Stillman Taylor
 1225 Pine Street, Apt 14
 San Francisco, CA 94109



 Stinson Leonard Street
 PO Box 843052
 Kansas City, MO 94184



 Stinson Leonard Street LLP
 PO Box 843052
 Kansas City, MO 64184



 Stone Librande
 673 Hamilton Ave
 Milpitas, CA 95035



 Stone Yu
 16 Museum Way
 San Francisco, CA 94114



 Strata Chalup
 1225 Vienna Dr. SPC 674
 Sunnyvale, CA 94089



 Stratasys
 28043 Network Place
 Chicago, IL 60673-1280



 Stratasys, Inc
 28043 Network Place
 Chicago, IL 60673




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1419 of
                                        1568
 Stratasys, Inc.
 Attn: Current Corporate Officer
 7665 Commerce Way
 Eden Prairie, MN 55344-2020



 Stratasys,Inc
 28043 Network Place
 Chicago,, IL 60673



 Stripe Attn: Corporate Officer
 185 Berry St #550
 San Francisco, CA 94107



 Stu Waters
 739 Durshire Way
 Sunnyvale, CA 94087



 Stuart Cheshire
 16756 Littlefield Lane
 Los Gatos, CA 95032



 Stuart Davis
 P.O. Box 24961
 San Jose, CA 95154



 Stuart Morris
 117 47th Street
 pittsburgh, PA 15201



 Stuart Nafey
 7 Sea Breeze Drive
 Half Moon Bay, CA 94019




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1420 of
                                        1568
 Stuart Parker
 1208 Overidge
 Ann Arbor, MI 48103



 Stuart Wahlers
 401 12th Street South #519
 Arlington, VA 22202



 Stuart Yusem
 1145 Steeplechase Lane
 Cupertino, CA 95014



 Su Lee
 737 Center Dr.
 Palo Alto, CA 94301



 Sualp Ozel
 123 Carriage Drive
 Pittsburgh, PA 15237



 Suave Bascomb
 2751 12 Mile Rd
 Berkley, MI 48072



 Subashinee Krishnamurthy
 423 CamilleCircle #11
 San Jose, CA 95134



 Subbaiah Malladi
 130 Greenoaks Drive
 Atherton, CA 94027




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1421 of
                                        1568
 Subban Raghunathan
 386 E Hedding St
 San Jose, CA 95112



 Subbarao Raikar
 109 East Broadway Road. #38
 Tempe, AZ 85282



 Sudarshan Krishnamoorthy
 1455 CHURCH DR
 San Jose, CA 95118



 Sudeep Dutta
 8101 Maplegate Pl
 Glenn Dale, MD 20769-2048



 Sudeep Dutta
 8101 Maplegate Pl
 Glenn Dale, MD 20769



 Sudhakar Bobba
 4229 Marston Ln
 Santa Clara, CA 95054



 Sudhanshu Jain
 610 Jackson St., Suite 220
 Santa Clara, CA 95050



 Suds Jain
 610 Jackson St., Suite 220
 Santa Clara, CA 95050




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1422 of
                                        1568
 Sue Howell
 1024 Polk Ln
 San Jose, CA 95117



 Sue Kim
 514 High Street Atelier
 Palo Alto, CA 94301



 Sue Rushkowski
 1380 Bishop Crest Court
 Alexandria, VA 22308



 Sue Williams
 5013 Vanderbilt Dr.
 San Jose, CA 95130



 Sue Wrbican
 5340 Holmes Run Pkwy #612
 Alexandria, VA 22304



 Suhas Patil
 21647 Rainbow Dr.
 Cupertino, CA 95014



 Suman Jandhyala
 2200 22nd St
 San Francisco, CA 94107



 Sumeet Jain
 34227 Siward Dr.
 Fremont, CA 94555




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1423 of
                                        1568
 Summer Barham
 420 S. Eldorado St
 San Mateo, CA 94402



 Summit Funding Group, Inc
 Lease Administration Centre PO BOX 63-64
 Cinccinnati, OH 45263



 Summit Funding Group, Inc
 Attn: Current Corporate Officer
 4680 Parkway Drive, Suite 300
 Mason, OH 45040



 Summit Funding Group, Inc #106519
 Lease Administration Centre PO BOX 63-64
 Cinccinnati, OH 45263



 Summit Funding Group, Inc.
 Lease Administration Centre PO BOX 63-64
 Cinccinnati, OH 45263



 Suneel Jain
 34227 Siward Dr.
 Fremont, CA 94555



 Sunggyun Kim
 1320 Fairmont st NW
 Washington, DC 20009



 Sunil Bilgi
 5124 Heather Dr
 Dearborn, MI 48126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1424 of
                                        1568
 Sunil Hadap
 7529 Mindy Mae Ln
 Dublin, CA 94568



 Sunil Katragadda
 41562 Strawberry Court
 Canton, MI 48188



 Sunni Paredes
 2099 E. Huron Ct.
 Gilbert, AZ 85234



 Sunny Khan
 24402 Audrey Ave.
 Warren, MI 48091



 Suntae Kim
 2954 Signature Blvd.
 Ann Arbor, MI 48103



 Suraj Gangaram
 21445 Millard Ln
 Cupertino, CA 95014



 Surj Gish
 3927 Maybelle Avenue
 Oakland, CA 94619



 Surya Prakash Reddy Dasari
 1215 E. Vista Del Cerro Dr.
 Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1425 of
                                        1568
 Susan Doherty
 100 E. Cliff St
 Alexandria, VA 22301



 Susan Raney
 1008 Saratoga Springs Ct
 Florissant, MO 63034



 Susan Bradley
 1563 E Zion Way
 Chandler, AZ 85249



 Susan Bragg
 10834 Greene Drive
 Lorton, VA 22079



 Susan Carver
 9804 Thinleaf Cove
 Austin, TX 78759



 Susan Clay
 1411 E Orangewood Ave #117
 Phoenix, AZ 85020



 Susan Conklu
 909 S Acapulco Lane # B
 Tempe, AZ 85281



 Susan Dybbs
 10440 Bubb Road, Suite E
 Cupertino, CA 95014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1426 of
                                        1568
 Susan Faull
 10491 Meinert Rd.
 Wexford, PA 15090



 Susan Gore
 2389 Westgate Ave.
 San Jose, CA 95125



 Susan Herrell
 10091 Bromont
 Sun Valley, CA 91352



 Susan Herrick
 9693 Woodbend Dr.
 Saline, MI 48176



 Susan Kistler
 66 Spring St
 Marion, MA 02738



 Susan Lato
 113 W Ferndale Ave.
 Sunnyvale, CA 94085



 Susan McComb
 989 Chenery St
 San Francisco, CA 94131



 Susan McMullan
 649 Faxon Ave
 San Francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1427 of
                                        1568
 Susan Menta
 2211 kenbridge drive apt A
 Austin, TX 78757



 Susan Olsen
 3445 Cade Drive
 Fremont, CA 94536



 Susan Schwab
 4270 Bakerstown-Culmerville Road
 Gibsonia, PA 15044



 Susan Swei
 3332 LA MESA DR.Apt 6
 San Carlos, CA 94070



 Susan Tolley
 3340 Diablo Shadow Drive
 Walnut Creek, CA 94598



 Susan Van Valkenburg
 14817 East Hills Drive
 San Jose, CA 95127



 Susan Warren
 3571 Far West Blvd #90
 Austin, TX 78731



 Susan Watkins
 1267 Fremont St
 San Jose, CA 95126




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1428 of
                                        1568
 Susannah Lohr
 2017 Washington Ave
 St. Louis, MO 63103



 Sushanta Das
 306 Village Green Blvd, #206
 Ann Arbor, MI 48105



 Susi Menazza
 1610 N. Greenbrier St.
 Arlington, VA 22205



 Susie Vosky
 15970 Longwood Dr
 Los Gatos, CA 95032



 Susie Zampaglione
 1615 Canyon View Dr.
 San Jose, CA 95132



 Suzannah Marek
 19975 Stanton Ave.
 Castro Valley, CA 94546



 Suzanne Bohanon
 5601 S 6th St
 Arlington, VA 22204



 Suzanne Dimitri
 127 Austin Ave
 Royal Oak, MI 48067




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1429 of
                                        1568
 Suzanne Pierce
 5903 Deep Spring Cove
 Austin, TX 78730



 Suzy Kerbs
 1709 Washignton Ave #702
 St. Louis, MO 63103



 Swadhruth Komanduri
 5268 Commonweatlth St
 Detroit, MI 48208



 Sya Warfield
 225 9th St A
 San Francisco, CA 94103



 Syd Klinge
 610 Moulton Ave
 Los Angeles, CA 90031



 Sydney Bell
 980 Woodland Dr.
 Hillsborough, CA 94010



 Sydney Schatz
 1100 Hamilton Court
 Menlo Park, CA 94025



 sylvester guard_jr
 770 O'Farrell st
 san francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1430 of
                                        1568
 Sylvie Bello
 916 G Street, NW
 Washington, DC, DC 20001



 Sym Colovos
 54 B Parnassus Ave
 San Francisco, CA 94117



 T.A. Ritchie Interiors
 7707 Wisconsin Ave #1004
 Bethesda, MD 20814



 Taber Smith
 14239 Worden Way
 Saratoga, CA 95070



 Tabor Robak
 381 Sterling Pl #2
 Brooklyn, NY 11238



 Tackett Austin
 8958 Barcelona St
 Oakland, CA 90405



 Tadao Arimoto
 525 Pat Haven Drive
 Pittsburgh, PA 15243



 Tae Hun Yun
 1115 E. Lemon St.
 Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1431 of
                                        1568
 TaeAjah cannon
 727 Washington Ave
 Braddock, PA 15104



 Tahj Merriman
 723 19th St
 Beaver Falls, PA 15010



 Tahllee Baynard
 4388 El Camino Real Unit 339
 Los Altos, CA 94022



 Taimoor Tariq
 1372 Creekside Dr. Apt 2
 Walnut Creek, CA 94596



 Taitan Capel
 868 43rd St.
 Oakland, CA 94608



 Takumi Kawaguchi
 1408 Old County Road
 Belmont, CA 94002



 Takuro Hashitaka
 78 Ringold St
 San Francisco, CA 94103



 Talal Alshammari
 1440 E Broadway apt1028
 Tempe, AZ 85282




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1432 of
                                        1568
 Talan Cooksey
 5105 Columbia Avenue
 St Louis, MO 63139



 Talanda Williams
 375 S. 9th St. #5596
 San Jose, CA 95112



 Talat Gjimishka
 117B 11th Street
 Brooklyn, NY 11215



 Taleen Der-Ghazarian
 3324 S Pine St
 Tempe, AZ 85282



 Talya Sohnis
 1637 E28 street
 Brooklyn, NY 11229



 Tam Taft-Walker
 710 E Austin Ave
 Round Rock, TX 78664



 Tam Thao Pham
 3463A 17th St
 San Francisco, CA 94110



 Tam Thao T Pham
 3463A 17th St
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1433 of
                                        1568
 Tamara Brown
 12081 Lincolnshire Dr
 Austin, TX 78758



 Tamara Donohoe
 7205 Doreset Ave
 Saint Louis, MO 63130



 Tamara Hoyt
 382 s 10th St. Unit B
 San Jose, CA 95112



 Tamara Sharp
 905 Parker
 Berkeley, CA 94710



 Tammy Lakkis
 744 Dover St
 Dearborn Heights, MI 48127



 Tammy Wilson
 2822 S Paseo Loma
 Mesa, AZ 85202



 Tamsen Brown
 15550 Meyer Ave
 Allen Park, MI 48101



 Tan Sirinumas
 747 geary street #104
 San francisco, CA 94109




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1434 of
                                        1568
 Tan Tran
 1549 Firestone Loop
 Select an Airport, CA 95116



 Tandeep Chadha
 4320 Forest Park Ave STE 304
 St Louis, MO 63108



 Tanner Blum
 638 26th Ave
 San Mateo, CA 94403



 Tanuj Siddharth
 10570 Whitney Way
 Cupertino, CA 95014



 Tanya Lyles
 PO Box #1093
 Half Moon Bay, CA 94019



 Tanya Quinlan
 38 Newman St
 San Francisco, CA 94110



 Tanyawan Norachit
 588 chestnut St
 San Francisco, CA 94133



 Tara Baccus
 1750 CR 255
 Georgetown, TX 78633




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1435 of
                                        1568
 Tara Banta
 1503 Redwood Ave
 Redwood City, CA 94061



 Tara Bluford
 10958 E. Sombra Ave.
 Mesa, AZ 85212



 Tara Coughlin
 38095 Circle Dr
 Harrison TWP, MI 48045



 Tara Johnson
 398 olivehill drive
 san jose, CA 95125



 Tara Johnson
 3080 Mary Helen Lane
 San Jose, CA 95136



 Tara Munier
 3340 St. Mary's Rd
 Lafayette, CA 94549



 Tara Mutukisna
 3616 Folsom St #2
 San Francisco, CA 94110



 Tara O
 3330 2nd St. S.
 Arlington, VA 22204




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1436 of
                                        1568
 Tara Samuels
 30 E Julian St Unit 102
 San Jose, CA 95112



 Tara Youngborg
 4268 Cotswolds Hill Lane
 Fairfax, VA 22030



 Taras Kravtchouk
 117 B 11th St
 Brooklyn, NY 11215



 Tary Geesey
 74 E Silver Creek Rd
 Gilbert, AZ 85296



 Taso Mullen
 588 Page St
 San Francisco, CA 94117



 Tavco Services, Inc.
 P.O. Box 15985
 Austin, TX 78761



 Tax Assessor - Deborah M. Hunt CTA
 Williamson County
 904 S. Main Street
 Georgetwon, TX 78626



 Taylor Strand
 333 Main St
 Santa Cruz, CA 95061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1437 of
                                        1568
 Taylor Estrada
 1040 Hirasaki Ct.
 Gilroy, CA 95020



 Taylor Gandolfi
 1600 S Eads St, 319 N
 Arlington, VA 22202



 Taylor Neuburger
 321 W. Palomino Dr.
 Chandler, AZ 85225



 Taylor Nicholson
 570 Shotwell St.
 San Francisco, CA 94110



 Taylor Reid
 1612 Notre Dame Ave.
 Belmont, CA 94002



 Taylor Swihart
 4042 Shona Ct.
 San Jose, CA 95124



 Teagan Savage
 1405 E Sapium Way
 Phoenix, AZ 85048



 Tealdo Teal
 22296 N. Caven Dr.
 Maricopa, AZ 85138




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1438 of
                                        1568
 Techshop 2.0 LLC
 Attn: Dan Rasure CEO/Current Officer
 2130 Grand Ave #2
 Des Moines, IA 50312



 Techshop 2.0 LLC
 Attn Current Officer, c/o
 Megan Drew Wieslander, Reg. Agent
 6488 Road 16
 Goodland, KS 67735



 Techshop 2.0 San Francisco, LLC
 Attn: Dan Rasure, CEO / Current Officer
 2130 Grant Ave. #2
 Des Moines, IA 50312



 Techshop 2.0 San Francisco, LLC
 Attn: Current Officer, c/o
 Megan Drew Wieslander, Reg. Agent
 6488 Road 16
 Goodland, KS 67735



 Techshop Global Ltd.
 Attn: Mark Hatch, CEO / Current Officer
 Lackafinna South,
 Loughrea, Galway
 IRELAND



 Ted Bohrer
 3150 Rubino Dr #210
 San Jose, CA 95125



 Ted Arnn
 10494 Olde Villa Drive
 Gibsonia, PA 15044



 Ted Bosch
 3109 E. Hackamore St.
 Mesa, AZ 85213



Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1439 of
                                        1568
 Ted Dickenson
 1515 Jefferson Davis Hwy #202
 Arlington, VA 22202



 Ted Hindes
 Box 1245, Lindell & Skinker Blvds.
 St. Louis, MO 63130



 Ted Jackson
 529 Anza Street
 Mountain View, CA 94041



 Ted Johnson
 31 Manor Dr
 Princeton, NJ 08540



 Ted Larson
 544 E. Weddell Dr. #7
 Sunnyvale, CA 94089



 Ted Marshall
 4889 Tonino Dr
 San Jose, CA 95136



 Ted Moore
 2817 Monte Cresta Dr.
 Belmont, CA 94002



 Ted Phipps
 615 N Main St. #150
 Euless, TX 76039




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1440 of
                                        1568
 Ted Wayne
 1173 E. Galveston St
 Gilbert, AZ 85295



 Teddie Davis
 605 San Gabriel Ave.
 St.Louis, MO 63125



 Teddy Yeh
 77 van ness ave #801
 san francisco, CA 94102



 Tej Modi
 6552 Gartenoak Ct.
 San Jose, CA 95120



 Tejas Shah
 2723 Morgan Drive Apt 10
 San Ramon, CA 94583



 Tejas Ulavi
 398 Boynton Ave, Apt 31
 San Jose, CA 95117



 Tejesh Makanawala
 1951 Plymouth Street
 Mountain View, CA 94043



 Tendani Mpulubusi
 2500 martin luther king jr ave se
 washington, DC 20020




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1441 of
                                        1568
 Tenea Nelson
 823 S. Bayshore Blvd.
 San Mateo, CA 94401



 Teng Yu
 100 Willoughby Street
 Brooklyn, NY 11201



 Tennille Christensen, Esq. Tech Law Gard
 650 Castro Street, Suite 120-414
 Mountain View, CA 94041



 Teo Brandt
 2205 Mayburn Street
 Dearborn, MI 48128



 Terell Lewis
 3634 Frazier St.
 Pittsburgh, PA 15213



 Terence McPartland
 716 Monroe St NE C438
 Washington, DC 20017



 Teresa Blevins
 17859 Graystone #202
 Chino Hills, CA 91709



 Teresa Blevins
 17859 Graystone Ave Unit #202
 Chino Hills, CA 91709




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1442 of
                                        1568
 Teresa Blevins
 123 Main Street
 Anywhere, NY 12345



 Teresa Blevins
 17859 Graystone Avenue
 Unit No #202
 Chino Hills, CA 91709



 Teresa Drake
 327 Curie Dr
 San Jose, CA 95119



 Teresa Luther
 20373 Via Portofino
 Cupertino, CA 95014



 Teresa Nguyen
 101 Mississippi Street
 San Francisco, CA 94134



 Teresa Rusin
 2729 Fort Scott Dr.
 Arlington, VA 22202



 Teresa Y. Luther
 20373 Via Portofino
 Cupertino, CA 95014



 Terje Oseberg
 1139 17th Ave
 Redwood City, CA 94063




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1443 of
                                        1568
 Terra Savage
 3508 S. Arroyo Ln.
 Gilbert, AZ 85297



 Terrance Johnson
 3312 Wyndham Cir Ste 4207
 Alexandria, MD 20772



 Terrance Jude Kessler
 5902 Mount Eagle Drive apt 909
 Alexandria, VA 22303



 Terrell Fuqua
 668 Camden Ct
 Rochester Hills, MI 48307



 Terri Buchner
 690 Covington Rd
 Los Altos, CA 94024



 Terri Leung
 50 Lee Ave
 San Francisco, CA 94112



 Terri Matsakis
 153 Bonita Ave.
 Redwood City, CA 94061



 Terrie Rasmussen
 50 Liberty Dock
 Sausalito, CA 94965




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1444 of
                                        1568
 Terry Ludwick
 22521 Carleton Ave
 Southfield, MI 48033



 Terry 2009 Living Trust
 6081 Foothill Glen Ct
 San Jose, CA 95123



 Terry Beier
 6831 South 42nd Place
 Phoenix, AZ 85042



 Terry Boyer
 58 Treehaven Dr.
 San Rafael, CA 94901



 Terry Denham
 207 North Rose
 Glenshaw, PA 15116



 Terry Fries
 2326 Columbia St.
 Palo Alto, CA 94306



 Terry Hartley
 804 Black Locust Dr
 Pflugerville, TX 78660



 Terry Rorison
 89 Sumner Ave. #2
 Pittsburgh, PA 15202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1445 of
                                        1568
 Terry Rutterford
 409 Rio Grande
 Hutto, TX 78634



 Terry Sandin
 1341 58th Ave #14
 Oakland, CA 94621



 Terry Smith
 2119 Rhonda Rd
 Hillsborough, NC 27278



 Terry Thompson
 P O Box 841431
 Houston, TX 77284



 Tesla Yaginuma
 126 Bridgeview Dr.
 San Francisco, CA 94124



 Tess Wilson
 2013 Delaware Ave
 Pittsburgh, PA 15218



 Tetis Chang
 2727 S. Quincy St 1207
 Arlington, VA 22206



 Tevel Oakes
 1763 W Carla Vista Dr
 Chandler, AZ 85224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1446 of
                                        1568
 Texas Welding Supply Co.
 4705 Commercial Park DR.
 Austin, TX 78724



 Thaddeus Lindsay
 24051 Powers
 Dearborn Heights, MI 48125



 thayer smyth
 5705 19th St N
 Arlington, VA 22205



 The Amidon/Menon 2003 Revocable Trust
 88 Higgins Ave.
 Los Altos, CA 94022



 The Barn Door Lumber Co Inc.
 2020 Hemlock Rd.
 Hemlock, MI 48626



 The Butler/Simmons Family 2001 Trust
 19 Kimmie Ct.
 Belmont, CA 94002



 The David B. Gustavson and Deanna L. Gus
 1946 Fallen Leaf Ln
 Los Altos, CA 94024



 The Hasslen Family Trust U/D/T 10/9/02
 805 Evergreen St.
 Menlo Park, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1447 of
                                        1568
 The Knuth Family Trust, Donald E. Knuth
 1063 Vernier Place
 Stanford, CA 94305



 The Lincoln Electric Company
 P.O. Box 644248
 Pittsburgh, PA 15264-4248



 The Lincon Electric Company
 PO bOX 677561,
 Dallas, TX 75267



 The_Nueva_School Auction_2015_01
 6565 SKYLINE BOULEVARD
 Burlingame, CA 94010



 The_Nueva_School Auction_2015_02
 6565 SKYLINE BOULEVARD
 Burlingame, CA 94010



 Thea Paar
 6410 San Bonita Ave
 St. Louis, MO 63105



 Thea Reid
 1865 E Troy
 Ferndale, MI 48220



 Theo Callahan
 1958 Ellen Ave.
 San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1448 of
                                        1568
 Theo Chakkapark
 261 Rayos Del Sol Dr.
 San Jose, CA 95116



 Theo Ferrin
 741 W. Euclid St
 Detroit, MI 48202



 Theo Revlock
 4243 25th Street
 San Francisco, CA 94114



 Theo Wells
 26 Hillandia
 Metropolis, IL 62960



 Theodore & Laura Phipps
 615 N Main St. #150
 Euless, TX 76039



 Theodore Raab
 1106 James Ave
 Redwood City, CA 94062



 Theodore Williams
 16312 Charter Oaks Dr
 Davison, MI 48423



 Theodore Wisniewski
 11724 Negley Dr.
 San Diego, CA 92131




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1449 of
                                        1568
 Theresa Bryant
 495 S PepperTree Dr
 Gilbert, AZ 85296



 theresa hemmen
 733 Irving St. NW
 Washington, DC 20010



 Theresa Howard
 5075 Bel Estos Dr
 San Jose, CA 95124



 Theresa Weaks
 8338 Manchester Blvd
 Grosse Ile, MI 48138



 Therese McNeely
 1200 First St Apt 1329
 Alexandria, VA 22314



 Thibault Robert
 4633 36th st south #A1
 Arlington, VA 22206



 Thomas Melita
 1128 E Broadmor Dr.
 Tempe, AZ 85282



 Thomas Van_De_Woghe
 922 E. Apache Blvd. Apt. 801
 Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1450 of
                                        1568
 Thomas Waters
 434 Central Ave #301
 Alameda, CA 94501



 Thomas Wernke
 119 E Fairmont Dr
 Tempe, AZ 85282



 Thomas & Jessica Flanigan
 8609 Aponi Rd
 Vienna, VA 22180



 Thomas Ansley
 195 E Meadows Ct
 Alpharetta, GA 30005



 Thomas Apczynski
 28995 Pickford
 Livonia, MI 48152



 Thomas Arillotta
 6735 Smithfield St.
 McKeesport, PA 15135



 Thomas Baker
 920 E. Concorda Dr.
 Tempe, AZ 85282



 Thomas Barley
 2808 Saint Marys View Rd
 Accokeek, MD 20607




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1451 of
                                        1568
 Thomas Boots
 6831 Murray Lane
 Annandale, VA 22003



 Thomas Bowen
 3450 E Glenhaven Dr
 Phoenix, AZ 85048



 Thomas Browne
 165 Ridge Ave
 Pittsburgh, PA 15237



 Thomas Carabajal
 1435 W Cedar St
 Oxnard, CA 93033



 Thomas Carlino
 549 Quail Bush Ct
 San Jose, CA 95117



 Thomas Cheung
 160 Island Dr.
 Palo Alto, CA 94301



 Thomas Claburn
 1274 Guerrero St.
 San Francisco, CA 94110



 Thomas Clark
 3860 S. Peden Drive
 Chandler, AZ 85248




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1452 of
                                        1568
 Thomas Clear
 28 Southmoor Drive
 Clayton, MO 63105



 Thomas Cooke
 433 Conway Meadows Drive
 Chesterfield, MO 63017



 Thomas Costanzo
 1146 N. Mesa Drive #102-159
 Mesa, AZ 85201



 Thomas Dittler
 350 Velarde St.
 Mountain View, CA 94041



 Thomas Dixon
 924 Hyde Park Dr
 Round Rock, TX 78665



 Thomas Eastman
 284 Tyrella Ave, Apt 8
 Mt. View, CA 94043



 Thomas Edwards
 2649 Cedar Grove Dr
 Belleville, IL 62221



 Thomas Fetterolf
 13 Francis Street
 Annapolis, MD 21401




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1453 of
                                        1568
 Thomas Flanigan
 8609 Aponi Rd
 Vienna, VA 22180



 Thomas Furneisen
 72-4366 Mav Loa Hema Pl.
 Cailva Kona, HI 96740



 Thomas Goglio
 1735 Willow Creek Dr.
 San Jose, CA 95124



 Thomas Gonzales
 1921 The Alameda, Apt. 7
 San Jose, CA 95126



 Thomas Graziano
 6413 N 85th Street
 Scottsdale, AZ 85250



 Thomas Hanna
 1175 PARK PL APT 315
 San Mateo, CA 94403



 Thomas Herbst
 192 Selby Lane
 Atherton, CA 94027



 Thomas Hermann
 2825 West Wattles
 Troy, MI 48098




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1454 of
                                        1568
 Thomas Houser
 1016 Leah Lane
 Round Rock, TX 78665



 Thomas Jewell
 7807 Killbarron Dr
 Laurel, MD 20707



 Thomas Keeton
 502 Tony Tank Ln
 Salisbury, MD 21801



 Thomas Kelley
 337 Parker Street
 Pittsburgh, PA 15209



 Thomas Klisdonk & Beverly Sanford
 147 Anchor Bay Terr.
 Sunnyvale, CA 94086



 Thomas Koltiska
 4112A 17th Street
 San Francisco, CA 94114



 thomas kozlowski
 2251 pimmit dr
 falls church, VA 22043



 Thomas Kyer
 11090 Lighthouse Dr APT 121
 Belleville, MI 48111




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1455 of
                                        1568
 Thomas Lech
 1271 potrero Ave.
 San Francisco, CA 94110



 Thomas Li
 1648 Leavenworth St
 San Francisco, CA 94109



 Thomas MacDevitt
 3545 Shafer Dr.
 Santa Clara, CA 95051



 Thomas Matter
 3100 Esperanza Crossing APT 6126
 Austin, TX 78758



 Thomas McDonnell
 215 Jill Dr.
 Pittsburgh, PA 15236



 Thomas McIntosh
 780 Ivy Dr
 Menlo Park, CA 94025



 Thomas McIntosh
 3151 Payne Avenue #8
 San Jose, CA 95117



 Thomas McKenzie
 138 south glenora road
 dundee, NY 14837




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1456 of
                                        1568
 Thomas McLaughlin
 PO Box 1861
 Cupertino, CA 95015-1861



 Thomas Miller
 4112 Wyoming St
 St. Louis, MO 63116



 Thomas Miller
 1740 Sanger Peak Way
 Antioch, CA 94531



 Thomas nevin
 3 Liberty st
 San francisco, CA 94110



 Thomas Nguyen
 2808 monte crests way
 San jose, CA 95132



 Thomas Nichols
 550 14th Rd South, Apt 503
 Arlington, VA 22202



 Thomas Norton
 3920 Bridle Pass
 Ann Arbor, MI 48108



 Thomas Pass
 1588 Willowgate Drive
 San Jose, CA 95118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1457 of
                                        1568
 Thomas Reposa
 4497 Poinsettia Court
 San Jose, CA 95136



 Thomas RIMBAUD
 922 Folsom St
 San Francsico, CA 94107



 Thomas Rivell
 88 E. San Fernando St.
 San Jose, CA 95113



 Thomas Robertus
 398 Bluefield Drive
 San Jose, CA 95136



 Thomas Roncco
 600 Ramble Ln A
 Austin, TX 78745



 Thomas Rossi
 270 Eleanor Drive
 Woodside, CA 94062



 Thomas Rusnock
 5511 Begonia Drive
 San jose, CA 95124



 Thomas S Duff
 3111 Deakin St.
 Berkeley, CA 94705




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1458 of
                                        1568
 Thomas Schaefer
 208 Oakwood Ave
 Saint Louis, MO 63119



 Thomas Sitch
 2621 Oak Meadow Drive
 Round Rock, TX 78681



 Thomas Sollars
 1055 W Lakeridge Dr
 Gilbert, AZ 85233



 Thomas Southworth
 1600 Amphitheater Pkwy.
 Mountview, CA 94043



 Thomas Strohmann
 3730 Parish Ave.
 Fremont, CA 94536



 Thomas Swift
 7402 cedar avenue
 Takoma park, MD 20912



 Thomas Valentine
 5444 S Santa Claus Ave
 Sierra Vista, AZ 85650



 Thomas Whalley
 4115 Davis Pl NW
 Washington, DC 20007




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1459 of
                                        1568
 Thomas Wizinsky
 20216 meriman
 romulus, MI 48174



 Thomas Younsi
 223 N3RD ST #A
 CAMPBELL, CA 95008



 Thorin Tobiassen
 5113 Rosetta Street
 Pittsburgh, PA 15224



 Thu Trinh
 555 S. Frances St.
 Sunnyvale, CA 94086



 Tia Bible
 1709 Foley Dr.
 St. Louis, MO 63136



 Tia Bible
 1709 Foley Drive
 St Louis, MO 63136



 Tian Tian
 575 S Rengstroff Ave Unit 51
 Mountain View, CA 94040



 Tiburcio de la Carcova
 442 Old La honda rd
 Woodside, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1460 of
                                        1568
 Tiburcio Herrera
 4303 Willow Springs Rd
 Austin, TX 78745



 Tiffani Mascarella
 639 W 3rd St
 Tempe, AZ 85281



 Tiffany Chung
 PO Box 26056
 Austin, TX 78755



 Tiffany Lewis
 1426 E Hoover Ave
 Phoenix, AZ 85006



 Tiffany Renwick
 3231 S Martingale Rd
 Gilbert, AZ 85297



 Tiffany Wade
 426 29th St
 San Francisco, CA 94131



 Tiffany Wise
 128 Hobart Ave #4
 San Mateo, CA 94402



 Tiffany Wise
 355 Serrano Drive Apt 1E
 San Francisco, CA 94132




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1461 of
                                        1568
 Tim Chen
 836 Shetland Pl
 Sunnyvale, CA 94087



 Tim Moffat
 2355 W Chandler Blvd
 Chandler, AZ 85224



 Tim Murcko
 448 North 10th Street
 San Jose, CA 95112



 Tim Aaronson
 706 Balra Drive
 El Cerrito, CA 94530



 Tim and Avery Swihart
 4042 Shona Ct
 San Jose, CA 95124



 Tim Anderson
 839 E. Elgin St
 Chandler, AZ 85225



 Tim Blatchley
 22914 Nona St.
 Dearborn, MI 48124



 Tim Byers
 815 E Rose Ln Unit 112
 Phoenix, AZ 85014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1462 of
                                        1568
 Tim Cannady
 2407 Harrison Street, 013
 San Francisco, CA 94110



 Tim Coldenhoff
 9 S Galaxy Dr
 Chandler, AZ 85226-4807



 Tim Currence
 111 Carol Drive
 McMurray, PA 15317



 Tim Curry
 4505 Harvey Penick Dr
 Round Rock, TX 78664



 Tim Doerzbacher
 136 North South Drive
 Pittsburgh, PA 15237



 Tim Driedger
 933 Hall St.
 San Carlos, CA 94070



 Tim Gaylord
 2700 Dorr Ave, Apt 332
 Fairfax, VA 22031



 Tim Gaylord
 9070 Loreleigh Way
 Fairfax, VA 22031




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1463 of
                                        1568
 Tim Green
 1731 Taylor Lake Road
 Holly, MI 48442



 Tim Herbert
 313 E Oxford Ave.
 Alexandria, VA 22301



 Tim Johnson
 4949 West Pine Blvd.
 St. Louis, MO 63108



 Tim King
 14595 Oceana Ave.
 allen park, MI 48101



 Tim Kordas
 638 Minna St., #7
 San Francisco, CA 94103



 Tim Kumper
 229 40th Street
 Pittsburgh, PA 15201



 Tim Kurant
 18860 Robert
 Melvindale, MI 48122



 Tim Little
 1005 Shinnecock Hills
 Georgetown, TX 78628




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1464 of
                                        1568
 Tim Lothamer
 29140 Outrigger St
 Lake Elsinore, CA 92530



 Tim McCracken
 1136 Johnson St
 Redwood City, CA 94061



 Tim McFadden
 375 Mandarin Drive, 201
 Daly City, CA 94015



 Tim McNabb
 3651 Dover
 St. Louis, MO 63116



 Tim McShea
 8172 Stone Ridge Dr
 Frederick, MD 21702



 Tim Mitchell
 20875 Fargo Drive
 Cupertino, CA 95014



 Tim Mouch
 6821 Alber Rd
 Saline, MI 48176



 Tim Parker
 1561 Lyle Dr
 San Jose, CA 95129




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1465 of
                                        1568
 Tim Paterson
 6633 Broadacres Dr
 San Jose, CA 95120



 Tim Peck
 606 Losoya Ct.
 Hutto, TX 78634



 Tim Rezac
 8133 Chelaberry Ct
 Gaithersburg, MD 20879



 Tim Robinson
 216 Blackstone Dr.
 Boulder Creek, CA 95006



 Tim Roscoe
 109 Oakview Drive
 Cranberry Twp., PA 16066



 Tim Sefton
 193 S. Saginaw
 Pontiac, MI 48342



 Tim Shideler
 19349 E Germann Rd Ste 3
 Queen Creek, AZ 85142



 Tim Skornia
 603 Holiday Ave
 Hazelwood, MO 63042




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1466 of
                                        1568
 Tim Stehle
 89 La Quinta Dr
 San Jose, CA 95127



 Tim Swihart
 4042 Shona Ct
 San Jose, CA 95124



 Tim Thompson
 943 Willow Glen Way
 San Jose, CA 95125



 Tim Tisdel
 2601 La Frontera Blvd #2423
 Round Rock, TX 78681



 Tim Wilkie
 302 N St. SW
 Washington, DC 20024



 Tim Williams
 9000 crow canyon rd s173
 Danville, CA 94506



 Tim Ziegler
 1010 W Annie St
 Austin, TX 78704



 Time Warner Cable
 Box 223085
 Pittsburgh, PA 15251




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1467 of
                                        1568
 Timm Barczy
 118 Lilmont Dr
 Pittsburgh, PA 15218



 Timonthe Hockin
 569 Sunnymount Ave
 Sunnyvale, CA 94087



 Timothy Feldkamp
 1128 Brooks St
 Ann Arbor, MI 48103



 Timothy Annin
 604 Bush Street #605
 San Francisco, CA 94108



 Timothy B. Robinson & Lisa A. Robinson,
 216 Blackstone Dr.
 Boulder Creek, CA 95006



 Timothy Barten
 308 BIRCH ST
 MONETT, MO 65708



 Timothy Faletti
 230 9th St. NE
 Washington, DC 20002



 Timothy Fitch
 1167 -G Larochelle
 Sunnyvale, CA 94089




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1468 of
                                        1568
 Timothy Freundlich
 7 Elizabeth Street
 San Francisco, CA 94110



 Timothy Gerrits
 11187 Westside Ave
 Forestville, CA 95436



 Timothy Hauenstein
 7300 Florence Ave
 Pittsburgh, PA 15218



 Timothy Herron
 1214 Eastbrook Lane
 Saint Louis, MO 63119



 Timothy J. Cherre, CRZ, CLS Sansone Grou
 120 South Central, Suite 500
 St. Louis, MO 63105



 Timothy J. Thompson
 943 Willow Glen Way
 San Jose, CA 95125



 Timothy Kearney
 6190 Edsall Rd
 Alexandria, VA 22304-5815



 Timothy Kettering
 245 Clinton Park
 San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1469 of
                                        1568
 Timothy Nichols
 2722 Bryant St
 San Francisco, CA 94110



 Timothy Nummela
 9420 Watson Industrial Park
 Crestwood, MO 63126



 Timothy Perry
 204 Estate Drive
 Hutto, TX 78634



 Timothy Rittenhouse
 1550 7th St NW #701
 Washington, DC 20001



 Timothy Secor
 1243 Highland Blvd
 Hayward, CA 94542



 Timothy Skornia
 603 Holiday Ave
 Hazelwood, MO 63042



 Timothy St.Louis
 1004 wood st.
 oakland, CA 94608



 Timothy Sun
 840 Burlway Road
 Burlingame, CA 94010




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1470 of
                                        1568
 Timothy Swihart
 4042 Shana Ct
 San Jose, CA 95124



 Timothy Woudenberg
 95 Grand View Ave #5
 San Francisco, CA 94114



 Tin Ilakovac
 88 E. San Fernando St #1304
 san jose, CA 95113



 Tina Beckwith
 520 12th St. South Apt 215
 Arlington, VA 22202



 Tina Claflin
 3221 Clayborne Ave
 Alexandria, VA 22306



 Tina Best
 289 El Portal Way
 San Jose, CA 95119



 Tina Frey
 147 alhambra st
 san francisco, CA 94123



 Tina Nikfarjam
 126630 Lampico Rd
 Felton, CA 95018




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1471 of
                                        1568
 tina shen
 1010 16th st apt 203
 San Francisco, CA 94107



 Titaina Prevot
 867 E Meadow Dr
 Palo Alto, CA 94303



 TJ Fitzgerald
 44200 Wapool Rd
 Ashburn, VA 20147



 TJ Rhodes
 95 Hobson St, Apt 12B
 San Jose, CA 95110



 Toai Doan
 14435C Big Basin Way, #284
 Saratoga, CA 95070



 Tobi Adamolekun
 1290 RHODE ISLAND STREET, 21
 San Francisco, CA 94107



 Tobi Chen
 88 E. San Fernando Street Unit 1811
 San Jose, CA 95113



 Tobias McCandless
 5529 Jackson St.
 Pittsburgh, PA 15206




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1472 of
                                        1568
 Tobin Brockett
 449 Costa Masa terrace apt c
 Sunnyvale, CA 94085



 Toby Anderson
 1165 Miller Ave
 Berkeley, CA 94708



 Toby Herrera
 3112 Windsor Rd
 Austin, TX 78703



 Toby McPheeters
 2994 Cottonwood Ct
 Santa Clara, CA 95051



 Toby Millman
 220 20th Street, Apt 1308
 Arlington, VA 22202



 Toby Owen
 1701 Springlake Dr
 Dripping Springs, TX 78620



 Todd Ansbacher
 8312 N. Grace
 Westland, MI 48185



 Todd Berkebile
 1514 Barton Drive
 Sunnyvale, CA 94087




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1473 of
                                        1568
 Todd Bigelow
 837 Fillmore St. Apt 7
 San Francisco, CA 94117



 Todd Bradfute
 2250 CR 105
 Hutto, TX 78634



 Todd Carlson
 218 Glasgow Rd
 Pittsburgh, PA 15221



 Todd Cushman
 2601 Cortez Dr. Unit 5105
 Santa Clara, CA 95051



 Todd Evans
 575 12th Road South, No. 207
 Arlington, VA 22202



 Todd Grabowsky
 600 Water St Sw
 Washington, DC 20024



 Todd Gustavson
 1076 Freestone Ave
 Sunnyvale, CA 94087



 Todd Herrick
 3970 Peninsula Dr.
 Bay Harbor, MI 49770




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1474 of
                                        1568
 Todd Hoffmann
 1860 W Azalea Drive
 Chandler, AZ 85248



 Todd Kingham
 19609 E Emperor Blvd
 Queen Creek, AZ 85142



 Todd Lackner
 18912 Great Falls Dr.
 Manor, TX 78653



 Todd Masonis
 2064 Pine Street
 San Francisco, CA 94115



 Todd Medema
 7048 Meade Place
 Pittsburgh, PA 15208



 Todd Merkel
 23042 Hollander st.
 Dearborn, MI 48128



 Todd Nelson
 1431 Washington Blvd #1709
 Detroit, MI 48226



 Todd Nicholas
 PO Box 2595
 Gilbert, AZ 85299




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1475 of
                                        1568
 Todd Nicol
 11375 Greentree Dr.
 Warren, MI 48093



 Todd Silva
 64 Stoddard CT
 Danville, CA 94526



 Todd Sobieralski
 2175 N. Raisinville Rd
 Monroe, MI 48162



 Todd Standish
 124 Danvers street
 San francisco, CA 94114



 Todd Whitmer
 4901 Country Ln
 San Jose, CA 95129



 Tolga Kuru
 532 S Bay Shore Blvd
 Gilbert, AZ 85233



 Tom Burick
 3020 E. Main St. Lot B32
 Mesa, AZ 85213



 Tom Dunbar
 2416 S Eads St
 Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1476 of
                                        1568
 Tom Litle
 130 San Rafael Avenue
 Belvedere, CA 94920



 Tom Lunday
 429 Edgewood Road
 San Mateo, CA 94402



 Tom Adams
 13313 Ivywood Cove
 Austin, TX 78729



 Tom Anderson
 829 E. Elgin St.
 Chandler, AZ 85225



 Tom Bailey
 5548 Baca Circle
 Boulder, CO 80301



 Tom Brackett
 3807 Grindley Park
 Dearborn, MI 48124



 Tom Burnett
 95 City View Dr
 Daly City, CA 94014



 Tom Clayton
 2541 Dumbarton Ave
 San Jose, CA 95124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1477 of
                                        1568
 Tom Closs
 45301 Middlebury Ln.
 Canton, MI 48188



 Tom Colson
 1598 Vireo Ave.
 Sunnyvale, CA 94087



 Tom Connolly
 7342 Dartford Dr #9
 McLean, VA 22102



 Tom Conroy
 1105 Lorne Way
 Sunnyvale, CA 94087



 Tom Crowe
 3320 valley dr
 alexandria, VA 22302



 Tom Dalton
 244 Acacia
 San Bruno, CA 94066



 Tom Darbonne
 1847 Granite Creek
 Santa Cruz, CA 95065



 Tom Downs
 3086 Arroba Way
 San Jose, CA 95118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1478 of
                                        1568
 Tom Duff
 3111 Deakin St.
 Berkeley, CA 94705



 Tom Durkin
 725 Pine St. #303
 San Francisco, CA 94108



 Tom Ellis
 145 Sage Ln
 Soquel, CA 95073



 Tom English
 912 Cole St. #216
 San Francisco, CA 94117



 Tom Fruin
 20 Jay St., Studio M13
 Brooklyn, NY 11201



 Tom Geare
 3273 W. Megan
 Chandler, AZ 85226



 Tom Haney
 13795 Highwood Dr.
 San Jose, CA 95127



 Tom Hartnagel
 1606 Bluff
 Round Rock, TX 78681




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1479 of
                                        1568
 Tom Hemenway
 1730 W 10th Place Ste 5
 Tempe, AZ 85281



 Tom Hess
 337 Chateau La Salle Drive
 San Jose, CA 95111



 Tom Howard
 1550 homestead ave
 Walnut Creek, CA 94598-1336



 Tom Jakubowski
 8509 Gray St.
 Westland, MI 48185



 Tom Jalbert
 356 Winding Way
 San Francisco, CA 94112



 Tom Jensen
 1078 Haven Ave
 Redwood City, CA 94063



 Tom Jolley
 1739 Garfield St
 Aliquippa, PA 15001



 Tom Jolley_V
 1739 Garfield St.
 Aliquippa, PA 15001




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1480 of
                                        1568
 Tom Jones
 501 Oregon
 Santa Cruz, CA 95032



 Tom Joseph
 187 36th Street
 Pittsburgh, PA 15201



 Tom Kenyon
 1236 Happy Valley Ave
 San Jose, CA 95129



 Tom Kessler
 20325 carlysle
 dearborn, MI 48124



 Tom Kilsdonk
 147 Anchor Bay Terr.
 Sunnyvale, CA 94086



 Tom Kuhn
 7351 W Red Hawk Dr
 Peoria, AZ 85383



 Tom Lough
 812 Wood Mesa Drive
 Round Rock, TX 78665



 Tom MacDevitt
 3545 Shafer Dr.
 Santa Clara, CA 95051




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1481 of
                                        1568
 Tom McCaughan
 35 San Mateo Drive
 Florissant, MO 63031



 Tom McNamara
 P.O Box 1542
 Los Gatos, CA 95031



 Tom Meyer
 4129 El Camino Way, Apt P
 Palo Alto, CA 94306



 Tom Murphy
 5410 Ellsworth Ave 2 Fl
 Pittsburgh, PA 15232



 Tom Musolf
 447 MOUNTAIN VIEW AVE
 MOUNTAIN VIEW, CA 94041



 Tom Nguyen
 3058 Reynolds Ct
 Fremont, CA 94536



 Tom Nguyen
 445 Francisco St. #4o1
 San Francisco, CA 94133



 Tom O'Mahony
 1631 W. Selby Ln.
 Redwood City, CA 94061




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1482 of
                                        1568
 Tom Okumu
 16731 Saint Mary's Street
 DETROIT, MI 48235



 Tom Pannell
 10873 Wilkinson Ave
 Cupertino, CA 95014



 Tom Peterson
 822 Wilmington Ave
 St. Louis, MO 63111



 Tom Rudick
 11 Ellery #8
 Cambridge, MA 01238



 Tom s Martins
 488 University Ave
 Palo Alto, CA 94301



 Tom Seeger
 1 Bon Hills
 Olivette, MO 63132



 Tom Sullivan
 103 East Oak St
 Alexandria, VA 22301



 Tom Taber
 2407 S Congress Ave - Unit E380
 Austin, TX 78704




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1483 of
                                        1568
 Tom Waters
 434 Central Ave. #301
 Alameda, CA 94501



 Tom Wetteroth
 1061 N. Ash Dr
 Chandler, AZ 85224



 Tom Zipprian
 708 38th Ave, Apt 3
 San Francisco, CA 94121



 Tomas Krones
 3909 Ave C Apt D
 Austin, TX 78751



 Tomer Ben-Gal
 922 25TH STREET NW
 WASHINGTON, DC 20037



 Tommy DoBell
 1664 E Glenhaven Dr
 Phoenix, AZ 85048



 Tommy Haddock
 703 Vernal Way
 Emerald Hills, CA 94062



 Tommy Hutcheson
 320 23rd St South, 1334
 Arlington, VA 22202




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1484 of
                                        1568
 Tommy Thorn
 2115 Sepulveda Ave
 Milpitas, CA 95035



 Tommy Tran
 340 Saint Louis St
 Ferndale, MI 48226



 Toni Hicks
 3 Shratton Avenue
 San Carlos, CA 94070



 Toni Singletary
 2201 HWY 1431
 Marble Falls, TX 78654



 Tonia Bascomb
 2751 12 Mile Rd
 Berkley, MI 48072



 Tony Rivera
 338 W Princeton Ave
 Gilbert, AZ 85233



 Tony Blodgett
 44586 W. Venture Ln.
 Maricopa, AZ 85139



 Tony DeMattei
 300 H St., Ste D
 Antioch, CA 94509




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1485 of
                                        1568
 Tony DiBase
 4686 Alex Dr.
 San Jose, CA 95130



 Tony DiBiase
 4686 Alex Dr.
 San Jose, CA 95130



 Tony DiPasquale
 1083 Clay St, 301
 San Francisco, CA 94108



 Tony Fargnoli
 745 willow glen way
 san jose, CA 95125



 Tony Faustini
 4 N 2nd Street
 San Jose, CA 95113



 Tony Garcia_Jr
 1620 E. Park Ave
 Chandler, AZ 85225



 Tony Garcia_V
 1620 E. Park Ave.
 Chandler, AZ 85225



 Tony Jordan
 177 Spence Lane
 Elgin, TX 78621




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1486 of
                                        1568
 Tony King
 4179 Mackin Woods Lane
 San Jose, CA 95135



 Tony Liechty
 7106 Providence Ave
 Austin, TX 78752



 Tony Lopez
 7326 Allan Ave
 Arlington, VA 22202



 Tony Misovski
 1470 White Hawk
 Oxford, MI 48371



 Tony Paciolla
 4164 Victoria Park Drive
 San Jose, CA 95136



 Tony Paciolla
 4164 Victoria Park Dr
 San Jose, CA 95136



 Tony Paciolla_V
 4164 Victoria Park Drive
 San Jose, CA 95136



 Tony Phillips
 625 East St.
 Northville, MI 48167




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1487 of
                                        1568
 Tony Ritchie
 7707 Wisconsin Ave #1105
 Bethesda, MD 20814



 Tony Savelli
 1989 Johnston Ave
 San Jose, CA 95125



 Tony Sebastian
 3165 Dallas
 Dearborn, MI 48124



 Tony Stafford
 600 Powder Horn ct
 San Martin, CA 95128



 Tony Villano
 540 E Chesterfild
 Ferndale, MI 48220



 Tony Wingo
 1535 Arena St
 San Leandro, CA 94579



 Tony Yeh
 300 3rd Street, #419
 San Francisco, CA 94107



 Tony Young
 190 S. 15th St.
 San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1488 of
                                        1568
 Tonya Jones
 PO Box 591
 Vallejo, CA 94590



 Tor Lundgren
 2034 Pierce St.
 San Francisco, CA 94115



 Tori Chin
 712 Canyon Crest Dr.
 Sierra Madre, CA 91024



 Tori Moore
 1724 Zenato Pl
 Pleasanton, CA 94566



 Tori Schulz
 1701 Buttercup Rd
 Pflugerville, TX 78660



 Toriano Hardin
 2196 Redwood Road
 Hercules, CA 94547



 Torie Sims
 711 Gier Court
 San Jose, CA 95111



 Tormod Holt
 4 Bayside Village, appt 408
 San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1489 of
                                        1568
 Torrey Smith
 1503 Redwood Ave
 Redwood City, CA 94061



 Torsten Becker
 10253 Parkwood Dr, Apt #4
 Cupertino, CA 95014



 Torsten Wendl
 486 Ferne Ave
 Palo Alto, CA 94306



 Tra Bouscaren
 102 Carlos Ave
 Watsonville, CA 95076



 Tracy Bartlett
 231 Dale Drive
 Silver Spring, MD 20910



 Tracy Gorelick
 2203 Kalkaska
 Henderson, NV 89004



 Tracy Jen
 167 Hillside Ave.
 Menlo Park, CA 94025



 Tracy Jung
 475 Tehama Street #204
 San Francisco, CA 94103




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1490 of
                                        1568
 Tracy Lagomarsino
 2167 39th Ave
 San Francisco, CA 94118



 Tracy Scott
 21 Fountain St.
 San Francisco, CA 94114



 Tracy Steinhauser
 862 Green ave
 Saint Louis, MO 63108



 Tracy Storer
 1066 47th Ave #16
 Oakland, CA 94601



 Tracy Tunstall
 1105 Bluebird Dr
 Florissant, MO 63031



 Tracy Wheeler
 110 Liberty Street
 San Francisco, CA 94110



 TransUnion
 P.O. Box 2000
 Chester, PA 19022-2000



 Travis Ashkenasy
 320 Grand Street
 Alameda, CA 94501




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1491 of
                                        1568
 Travis Becker
 770 Homer Avenue
 Palo Alto, CA 94301



 Travis Berkner
 2526 N. 52nd St
 Phoenix, AZ 85008



 Travis Carr
 39 Boardman Place, Unit 201
 San Francisco, CA 94103



 Travis Carr
 913 Peggotty
 Austin, TX 78753



 Travis Hall_V
 6325 W Del Rio St
 Chandler, AZ 85226



 Travis Halle
 1989A Santa Rita Road, Suite 266
 Pleasanton, CA 94566



 Travis May
 1232 Lanvale Dr
 St Louis, MO 63119



 Travis Nash
 590 E Heather Dr
 SanTan Valley, AZ 85140




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1492 of
                                        1568
 Travis Ricker
 1900 Rockledge St, #2
 Pittsburgh, PA 15212



 Travis Seeger
 706 E 2nd street
 Elgin, TX 78621



 Travis Sheridan
 1408 Wright Street
 St Louis, MO 63107



 Travis Skinner
 530 S Dobson Rd Apt 453
 Mesa, AZ 85202



 Travis Taylor
 97 California St
 Highland Park, MI 48203



 Travis Thaxton
 4939 W Ray Rd Ste 4-122
 Chandler, AZ 85226



 Travis Thompson
 375 N. Federal Street #222
 Chandler, AZ 85226



 Travis Thornton
 2252 N. 44th St. #3152
 Phoenix, AZ 85008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1493 of
                                        1568
 Travis White
 11602 N 131 St
 Scottsdale, AZ 85259



 travis Woodworth
 1151 4th street SW 1018
 washington, DC 20024



 Trent Bishopp
 2880 E. Lindrick Drive
 Chandler, AZ 85249



 Trent Johnston
 120 Vreeland Rd
 Hillsboro, MO 63050



 Trent Ostrander
 27 Chenery Street
 San Francisco, CA 94131



 Trent Thomas
 1469 E Ironwood Dr
 Chandler, AZ 85225



 Trenton Shehan
 1275 E University Dr
 Tempe, AZ 85281



 Trevor Cuba
 30815 Barrington
 Westland, MI 48186




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1494 of
                                        1568
 Trevor Dumitru
 4100 Campana Drive
 Palo Alto, CA 94306



 Trevor Ely
 6275 mojave dr
 San Jose, CA 95120



 Trevor Fitzgerald
 6332 Avenue G
 La Salle, MI 48145



 Trevor Gardon
 18632 N 44th Pl
 Phoenix, AZ 85050



 Trevor Gould
 2515 Nedson Court
 Mountain View, CA 94043



 Trevor Halle
 1989A Santa Rita Road, Suite 266
 Pleasanton, CA 94566



 Trevor Kortman
 1836 E Apache Blvd
 Tempe, AZ 85281



 Trevor Lerner
 4901 Evergreen Rd
 Dearborn, MI 48128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1495 of
                                        1568
 Trevor Longley
 321 Scott St
 Livermore, CA 94551



 Trevor Morris
 736 Alfred Nobel Dr
 Hercules, CA 94547



 Trevor Pan
 1901 E. El. Parque Dr.
 Tempe, AZ 85282



 Trevor Pierce
 209 Harrison Ave, Apt 3
 Brooklyn, NY 11206



 Trevor Sell
 9 August Alley
 San Francisco, CA 94133



 Trevor Tisdel
 9001 Full Moon Cove
 Round Rock, TX 78681



 Trevor VanHorn
 16747 Babler View Dr
 Wildwood, MO 63011



 Trey Leveque
 2646 E Calle Del Norte Dr
 Gilbert, AZ 85296




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1496 of
                                        1568
 Triantos Living Trust
 351 La Questa Way
 Woodside, CA 94062



 Tricia Kellison
 2802 Louis Rd
 Palo Alto, CA 94303



 Trina Camping
 450 Walnut St
 Woodland, CA 95695



 Trinco Tool Company
 34600 Commerce Road
 P O Box 98
 Fraser, MI 48026



 Trip Lee
 1205 Sheldon Cove, Suite D
 Austin, TX 78753



 Trip Vest
 827 Guerrero Street
 San Francisco, CA 94110



 Trisha Huang
 6370 Tucker Dr.
 San Jose, CA 95129



 Tristan Colson
 1598 Virso Ave.
 Sunnyvale, CA 94087




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1497 of
                                        1568
 Tristan Denyer
 478 Warren Dr
 San Francisco, CA 94131



 Tristan Horn
 11 Nordhoff Street
 San Francisco, CA 94131



 Tristan Koivisto
 308-13601 Greenfield Way
 Southgate, MI 48195



 Tristan Lloyd
 8350 59th St. N
 Lake Elmo, MN 55042



 Tristan Sopp
 439 Franklin Avenue Apt. 2
 Pittsburgh, PA 15221



 Tristen Young
 6100 W. Port Rd
 Chandler, AZ 85226



 Troy Trimble
 91 Winfield St.
 San Francisco, CA 94110



 Troy Cooley
 11320 Taylor Draper Ln
 Austin, TX 78759




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1498 of
                                        1568
 Troy Duncan
 2460 E. Fairview St.
 Chandler, AZ 85225



 Troy Duncan_V
 4387 Horseshoe Dr Happy Jack
 Chandler, AZ 86024



 Troy Harris
 601 chadwick ln
 bay point, CA 94565



 Troy Hawkins
 702 N Alexander Ave
 Royal Oak, MI 48067



 Troy Le
 5516 Sunspring Circle
 San Jose, CA 95138



 Troy ONeal
 233 N 3rd Street Apt #4
 San Jose, CA 95112



 Troy Porter
 3130 Steiner
 San Francisco, CA 94123



 Troy Welch
 1309 Green Terrace Dr
 Round Rock, TX 78664




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1499 of
                                        1568
 TSSF NMA
 926 Howard St
 San Francisco, CA 94103



 Tsu Han
 465 Fairchild Dr Ste B-209
 Mountain View, CA 94043



 Tuan Nguyen
 198 Seaside Dr.
 Milpitas, CA 95035



 Tucker Brown
 720 E Apache Blvd., #3203 Agave Hall
 Tempe, AZ 85281



 Tucker Jeveli
 1182 Upper Happy Valley Rd.
 Lafayette, CA 94549



 Tucker Redfern
 381 Pennsylvania Ave
 LosGatos, CA 95030



 Tully Gould
 426 Geranium Cir
 Galt, CA 95632



 Tunuviel Luv
 1127 South Daniel Way
 San Jose, CA 95128




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1500 of
                                        1568
 TUPOU HOKO
 21168 WESTERN BLVD
 HAYWARD, CA 94541



 Turner Bohlen
 711 Scott St.
 San Francisco, CA 94117



 TXU Energy
 PO Box 650638
 Dallas, TX 75265



 Ty Derousseau
 40 N. Interstate HW 35
 Austin, TX 78701



 Ty Shemin
 3801 Georgia Ave NW #501
 Washington, DC 20011



 Ty Voliter
 79 Lily Court
 Brisbane, CA 94005



 Tyco Integrated Security LLC
 P.O. Box 371967
 Pittsburgh, PA 15250



 Tyco Integrated Security LLC
 P.O.Box 371967
 Pittsburgh, PA 15250-7967




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1501 of
                                        1568
 Tyco Integrated Security LLc
 P.O Box 371967,
 Pittsburgh, PA 15250-7967



 Tye Winkel
 5647 Denton
 Canton, MI 48188



 Tyler Harris
 3447 Miami St.
 St. Louis, MO 63116



 Tyler Hudgins
 1301 N. Quintana
 Arlington, VA 22205



 Tyler Balogh
 2360 mission st
 San Francisco, CA 94110



 Tyler Chesebro
 132 Freelon St. Apt. A
 San Francisco, CA 94107



 Tyler Farmer
 31447 Tyler St
 Wayne, MI 48184



 Tyler Farris
 1022 5th ave
 Oakland, CA 94606




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1502 of
                                        1568
 Tyler Fellman
 8302 N. 74th Pl.
 Scottsdale, AZ 85258



 Tyler Glenn
 4490 Hunt Club Dr
 Ypsilanti, MI 48197



 Tyler Heibeck
 372 W Portal Ave, #11
 San Francisco, CA 94127



 Tyler Hoffman
 1400 47th Ave #4
 San Francisco, CA 94122



 Tyler Kroymann
 1 Somerset Pl
 Palo Alto, CA 94301



 Tyler Larson
 850 S River Dr #1053
 Tempe, AZ 85281



 Tyler Larson
 1960 W Keating Ave
 Mesa, AZ 85202



 Tyler Mann
 PO Box 13351
 Austin, TX 78711




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1503 of
                                        1568
 Tyler Matsumoto
 823 Romani Ct
 San Jose, CA 95125



 Tyler McDaniel
 106 N Horne
 Mesa, AZ 85203



 Tyler Odean
 68 Collingwood St
 San Francisco, CA 94114



 Tyler Russell
 383 Pine Tree Loop
 Bastrop, TX 78602



 Tyler Sheaffer
 4609 Market St
 Oakland, CA 94608



 Tyler Style
 6828 S 41 Ln
 Phoenix, AZ 85041



 Tyler Washington
 500 E University
 Tempe, AZ 85281



 Tyler Webb
 7820 W. Surrey Ave
 Peoria, AZ 85381




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1504 of
                                        1568
 Tyler Williams
 536 Hopkins Street
 Menlo Park, CA 94025



 Tyler Wynn
 233 Shady Knoll Drive
 Pittsburgh, PA 15220



 TzuYu Chen
 38 N Almaden Blvd.
 San Jose, CA 95110



 Uchechukwu Omegara
 840 Burlway Road
 Burlingame, CA 94010



 Uchechukwu Omegara_V
 761 Carolina Street,
 San Francisco, CA 94107



 Uel Jones
 363 N. Rengstorff Ave #9
 Mountain View, CA 94043



 Uline
 12575 Uline Drive
 Pleasant Prairie, WI 53158



 Ulrich Norbisrath
 700 North Wayne St. #305
 Arlington, VA 22201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1505 of
                                        1568
 Ulrike Kotak
 98 San Benito Ave.
 Atherton, CA 94027



 Unique Ratliff
 500 E. University Dr. #1573
 Tempe, AZ 85210



 Universal Laser Systems Inc.
 16008 NORTH 81ST STREET
 SCOTTSDALE, AZ 85260



 Unnathi Peri
 10812 Gaillardia
 Austin, TX 78733



 UNUM Life Insurance Company of America
 PO Box 406990
 Atlanta, GA 30384



 Uri Geva
 1715 Dewey Street
 San Mateo, CA 94403



 Uri Shatten
 4406 Vistaview St
 West Mifflin, PA 15122



 Urs Ross
 120 Clement Street
 San Francisco, CA 94118




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1506 of
                                        1568
 Ursula DegenBertsch
 3251 South Court
 Palo Alto, CA 94306



 Utility Composites Inc
 RAPTOR Nails & Staples
 2704 A Meister Pl.
 Round Rock, TX 78664



 Utility Composites Inc
 Raptor Division
 2704-A Meister Place
 Round Rock, TX 78664



 Utility Composites Inc
 Polymer Composite Technology
 2704 Meister PIace, Suite A
 Round rock, TX 78664



 Uwe Grosse
 31220 Hennepin St.
 Garden City, MI 48135



 Vadim Bishtein
 1228 W Mckinley Ave Apt 2
 Sunnyvale, CA 94086



 Vaibhav Bhandari
 2724 Bryant St
 San Francisco, CA 94110



 Vaibhav Kachare
 25701 W 12 Mile rd APT 209
 southfield, MI 48034




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1507 of
                                        1568
 Vaishnari Sridhar
 386 E. Hedding Street
 San Jose, CA 95112



 vakhtang nikolava
 10003 parkwood dr
 Bethesda, MD 20814



 Vakil Kuner
 145 Forrest Ave
 Fairfax, CA 94930-1804



 Valentino Del Rio
 1223 38th Street
 San Francisco, CA 94122



 Valerie Nogueira
 3006 Longhorn Blvd
 Austin, TX 78758



 Valerie Groves
 11102 Spicewood Club
 Austin, TX 78750



 Valerie Hilligan
 834 taylor ave
 alameda, CA 94501



 Valerie Roseborough
 2330 Dulles Station Blvd Suite 2111
 Herndon, VA 20171




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1508 of
                                        1568
 Valerie Roseborough_V
 2330 Dulles Station Blvd, Suite 2111
 Herndon, VA 20171



 Valerie Terry
 986 Spencer Avenue
 San Jose, CA 95125



 Valerij Samoluk
 1540 Oak Creek Drive apt #207
 Palo Alto, CA 94304



 Vamsee Kandimalla
 3038 Dante Ct
 San Jose, CA 95135



 Vance Bjorn
 37 Park Dr.
 Atherton, CA 94027



 Vance Hatch
 2270 N. Towne Avenue #2
 Pomona, CA 91767



 Vance Hatch
 120 Independence Drive
 Menlo Park, CA 94025



 Vance Hatch
 300 S 2nd Street
 San Jose, CA 95113




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1509 of
                                        1568
 Vance Ingalls
 1439 21st ave
 San Francisco, CA 94122



 Vance Parker
 13224 High Sierra Street
 Manor, TX 78653



 Vanessa Donasco
 1097 Jost Lane
 Alameda, CA 94502



 Vanessa Ginzton
 228 San Jose Ave.
 San Francisco, CA 94110



 Vanessa Glenn
 16695 Wild Horse Creek Rd.
 Chesterfield, MO 63005



 Vanessa Perez
 1158 Morse ave apt 104
 Sunnyvale, CA 94089



 Vanessa Wallace
 456 Heatherbray Ct.
 San Jose, CA 95136



 Vargas Living Trust
 18941 Quiet Oak Ln
 Germantown, MD 20874




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1510 of
                                        1568
 Varun Loiwal
 831 Runningwood Circle
 Mountain View, CA 94040



 Varun Sivamani
 1190 Mission St., #0218
 San Francisco, CA 94103



 Vashish Misir
 188 Elton St
 Brooklyn, NY 11208



 Vasile Vincent
 68 W. Elmwood
 Clawson, MI 48017



 Vasile Vincent
 68 W. Elmwood Ave
 Clawson, MI 48017



 Vasilina Khanavina
 615 leavenworth Apt 3
 San francicso, CA 94109



 Vectric Ltd Precision House
 2 Arden Road Warwickshire, B49 6HN
 ENGLAND



 Vedika Sridhar
 386 E. Hedding Street
 San Jose, CA 95112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1511 of
                                        1568
 Ven Jandhyala
 11806 Pine Brook Court
 Cupertino, CA 95014



 Venkata Naga Pranathi Vemuri
 2122, Bryant Street
 San Francisco, CA 94110



 Venkatraghavan Ramesh
 1221 Elm Lake Ct
 San Jose, CA 95131



 Venu Devu
 3548 AGATE DR APT 1
 SANTA CLARA, CA 95051



 Verena Klug
 901 15th Street South 404
 Arlington, VA 22202



 Verizon
 PO BOX 15124
 Albany, NY 12212



 Verizon Wireless
 PO Box 660108
 Dallas, TX 75266



 Verne Smith
 370 Ashton Ave.
 San Francisco, CA 94112




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1512 of
                                        1568
 Veronica Helton
 2901 Saint christina court
 Round rock, TX 78665



 Veronica Head
 1975 E University Dr
 Apt. 323
 Tempe, AZ 85281



 Vic Pirrone
 12214 Bliss Ct
 Sterling Heights, MI 48310



 Vic Mitnick
 859 Hemlock St
 San Carlos, CA 94070-3853



 Vicente Llopis
 1630 Jones Apt 5
 San Francisco, CA 94109



 Vicia_V
 4260 Forest Park Avenue,, MO 63108




 Vicki Anderson
 65 Brady St.
 San Francisco, CA 94103



 Vicki Murley
 3514 26th Street, #3
 San Francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1513 of
                                        1568
 Vicki Scott
 6404 Harrogate Dr.
 Austin, TX 78759



 Vickie Lockhart
 7807 E. Main St. #AA-10
 Mesa, AZ 85207



 Vicky Fleming
 44A Orchard Avenue
 Redwood City, CA 94061



 Vicky Snyder
 14516 Homestead Circle
 Austin, TX 78717



 Vicky Snyder
 14516 Homestead Village Circle
 Austin, TX 78717



 Victor Manzanilla
 23 Sonaa Place
 Hayward, CA 94542



 Victor Fraga
 7142 W. Cambridge Ave.
 Phoenix, AZ 85035



 Victor Jiang
 1071 Wallace Dr.
 San Jose, CA 95120




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1514 of
                                        1568
 Victor Jiang_V
 1071 Wallace Dr.
 San Jose,, CA 95120



 Victor Jiang_V
 1071 Wallace Dr.
 San Jose, CA 95120



 Victor Lew
 998 Bella Vista Ave.
 Pasadena, CA 91107



 Victor LopezKlein
 820 W University Dr
 Unit 21
 Tempe, AZ 85281



 Victor Mitnick_V
 859 Hemlock St
 San Carlos, CA 94070



 Victor Santini
 77 Bluxome Street, Unit 606
 San Francisco, CA 94107



 Victor Stevko
 335 Granada Ave
 San Francisco, CA 94112



 Victor Worlanyo
 525 S Forest Ave
 Tempe, AZ 85281




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1515 of
                                        1568
 Victoria Shaheen
 38 Williams St apt 5
 Pontiac, MI 48341



 Victoria B Mitchell
 394 Davis Street
 Northborough, MA 01532



 Victoria Engel
 810 Deer Creek Rd
 O'Fallon, IL 62269



 Victoria Fong
 1090 HAMPSHIRE ST.
 SAN FRANCISCO, CA 94110



 Victoria Hendrix
 16 Terrace Ave.
 Kentfield, CA 94904



 Victoria Leonard
 640 2nd Ln
 South San Francisco, CA 94080



 Victoria Leventin
 610 E Gilbert Dr Apt. 240
 Tempe, AZ 85281



 Victoria McGovern
 Box 564
 Durham, NC 27702




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1516 of
                                        1568
 Victoria Mitchell
 394 Davis Street
 Northborough, MA 01532



 Victoria Paulino
 2154 W OLIVE WAY
 CHANDLER, AZ 85248



 Victoria Schramm
 11055 Greenspring Ave
 Utherville, MD 21093



 Victoria Taylor
 1130 Schooner St
 Foster City, CA 94404



 Victoria Valencia
 2208 Mission St
 San Francisco, CA 94110



 Vijay Brihmadesam
 31 UNION SQ W, APT 7F
 NEW YORK, NY 10003-3206



 Vijay Pentapati
 1137 E. Orange St.
 Tempe, AZ 85281



 Vijay Shanmugam
 12204 Seline Way
 Potomac, MD 20854




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1517 of
                                        1568
 Viki Parsons
 6904 Bancroft Woods Dr
 Austin, TX 78729



 Vikram Subramaniam
 1154 Eagle Cliff Ct
 San Jose, CA 95120



 Vikrant Mehta
 585 Broadway
 Redwood City, CA 94063



 Viktor Orekhov
 6835G Washington Blvd
 Arlington, VA 22213



 Vin Li
 6105 Delmer Blvd Apt 14
 St. Louis, MO 63112



 Vince Koloski
 1094 Revere A-11
 San Francisco, CA 94117



 Vincent Black
 8550 W McDowell Rd
 Phoenix, AZ 85037



 Vincent Schell
 1526 Holly Drive
 Webster Groves, MO 63119




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1518 of
                                        1568
 Vincent Acevedo
 1316 Town Center
 Pflugerville, TX 78660



 Vincent Bjorge
 966 Prospect Street
 San Jose, CA 95110



 Vincent Bjorge
 966 Prospect St
 San Jose, CA 95110



 Vincent Farquharson
 749 3rd Street SW
 Washington, DC 20024



 Vincent Howard
 76 Length St.
 Morgantown, WV 26505



 Vincent Sabatini
 654 Pinecrest Dr
 Ferndale, MI 48220



 Vincent Valdez
 4912 H PARKWAY
 SACRAMENTO, CA 95823



 Vinh Lien
 729 S 22nd St
 San Jose, CA 95116




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1519 of
                                        1568
 Vinh Nguyen
 501 N Oakland St
 Arlington, VA 22203



 Vinny Truchsess
 1090 Main Street apt 103
 Redwood City, CA 94063



 Vinod Shidham
 26277 E. River Rd
 Grosse Ile, MI 48138



 Violet Riggs
 29 Lucky St
 San Francisco, CA 94110



 Virag Saksena
 809B Cuesta Dr #197
 Mountain View, CA 94040



 Virdell Hickman
 654 Main Street
 Sausalito, CA 94965



 Virgil Poma
 18626 Harman St
 Melvindale, MI 48122



 Virginia Guillen
 12607 lamppost Ln
 Austin, TX 78727




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1520 of
                                        1568
 Virginia Stocker
 5618 Nevada Ave NW
 Washington, DC 20015



 Virginia Braco
 460 Natoma st. Apt #8
 San Francisco, CA 94103



 Virginia Fleck
 1900 Larchmont Drive
 Austin, TX 78704



 Virginia Rothenflue
 9808 Parkfield Drive
 Austin, TX 78758



 Virginie Manichon
 1570 26th Avenue
 San Francisco, CA 94122



 Vishal Guntur
 4701 Staggerbrush Road, Apt 1015
 Austin, TX 78749



 Vishal Kapur
 3813 Pasadena Dr
 San Mateo, CA 94403



 Vishnu Velayuthan
 34 Los Altos Sq
 Los Altos, CA 94022




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1521 of
                                        1568
 Vishwakanth Brahmaiah
 1528 Birchmeadow Ct
 San Jose, CA 95131



 Vishy Swaz
 4321 Swaz Circle
 San Jose, CA 95116



 Vision Service Plan
 P.O. BOX 45210
 San Francisco, CA 94145



 Viswanath Potluri
 2623 East Laird St.
 Tempe, AZ 85281



 Vitaliy Danylov
 7474 DACOSTA
 DETROIT, MI 48239



 Vitaly Yurchenko
 4101 Anza Street
 San Francisco, CA 94121



 Vivek Sarkar
 119 Cherry Blossom Lane
 Los Gatos, CA 95032



 Vivek Vidyasagaran
 2675 Fayette Drive, Apt. 207
 Mountain View, CA 94040




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1522 of
                                        1568
 Vivian Sophia
 574 48th St. #203
 Oakland, CA 94609



 Vivienne Lee
 185 Estancia Dr Unit 146
 San Jose, CA 95134



 Vladimir Dragunsky
 1600 S Eads Sr, #1025M
 Arlington, VA 22202



 Vladimir Dubal
 34 Hugo Street, #2
 San Francisco, CA 94122



 Vladimir Kovalevsky
 1430 York street
 San Francisco, CA 94110



 Volodymyr Ivchenko
 1360 Burrows Rd
 Campbell, CA 95008



 Vong Lee
 73A Danton St
 San Francisco, CA 94112



 Vornado/Charles E Smith LP_V
 P.O. Box 642006
 Pittsburgh, PA 15264




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1523 of
                                        1568
 Vyechi Low
 1561 Mcrandles Drive
 Milpitas, CA 95035



 Wachovia Graham
 1900 East Apache Blvd
 Tempe, AZ 85281



 Wade Catron
 597 Morse Ave.
 Sunnyvale, CA 94085



 Wade Lewis
 Apt 12203
 Austin, TX 78730



 Wade Lin
 821 Folsom St. #508
 San Francisco, CA 94107



 Wade McDonald
 880 E Willis Rd
 Chandler, AZ 85286



 Wai-Ming_Raymond Tsang
 1060 Schwerin Street
 Daly City, CA 94014



 Wai_Hong Tsang
 1060 Schuverin St
 Daly City, CA 94014




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1524 of
                                        1568
 WaiLi Wong
 490 Jeter Street
 Redwood City, CA 94062



 Waiming Mok
 21745 Regnart Rd
 Cupertino, CA 95014



 Waleed Johnson
 15437 Edmore Dr
 Detroit, MI 48205



 Walker Anderson
 2323 E Flower St.
 Phoenix, AZ 85016



 Walker Glass
 82105 S 15th St
 Phoenix, AZ 85042



 Walker Houston
 741 E. Yale Dr.
 Tempe, AZ 85283



 Walker Tatem
 333 South Glebe Road, Apt. 716
 Arlington, VA 22204



 Wallace Campbell
 4300 Penn Ave
 Pittsburgh, PA 15224




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1525 of
                                        1568
 Wally Drake
 161 golden Ln.
 Brisbane, CA 94005



 Walter Carl Riordan
 2352 W. Longhorn Pl.
 Chandler, AZ 85286



 Walter Fender
 560 N 19th St
 San Jose, CA 95112



 Walter Gurdak
 2610 Pine Valley Road
 Columbus, PA 16405



 Walter Hsiao
 681 Starbush Dr.
 Sunnyvale, CA 94086



 Walter Hurwitz
 6405 Vicanna Dr.
 San Jose, CA 95129



 Walter Jenkins
 1478 Jeffrey Ave
 San Jose, CA 95118



 Walter Jones
 163 Cooperwyck Rd.
 Wentzville, MO 63385




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1526 of
                                        1568
 Walter Kargu
 38430 Grennada St.
 Livonia, MI 48154



 Walter Kargus 4th
 38430 Grennada St.
 Livonia, MI 48154



 Walter Mak
 2201 bridge pointe pkwy
 San Mateo, CA 94404



 Walter Riordan
 2352 W. Longhorn Pl.
 Chandler, AZ 85286



 Walter Simonetti
 1361 S Canyon Oaks Way
 Chandler, AZ 85286



 Walter Simonetti_V
 1361 S Canyon Oaks Way
 Chandler, AZ 85286



 Walton Sumner
 7 Old Westbury Lane
 Webster Groves, MO 63119



 Wantin Living Trust / CDI Development
 REF: Wantin Living Trust
 490 Chadbourne Road, Suite C
 Fairfield, CA 94534




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1527 of
                                        1568
 Ward Bingham
 100 Vallecitos Wau
 Los Gatos, CA 95032



 Ward Hanson
 2450 West Bayshore, #10
 Palo Alto, CA 94303



 Ward Harriman
 14672 Gypsy Hill Rd
 Saratoga, CA 95070



 Warren Gee
 225 Oakhurst way
 Milpitas, CA 95035



 Warren Jones
 14914 Damson Terrace
 North Potomac, MD 20878



 Warren Lopez
 5818 Antigua Dr.
 San Jose, CA 95120



 Warren Lueker
 11438 N. 53rd Pl
 Scottsdale, AZ 85254



 Warren Turkal
 226 echo ave
 Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1528 of
                                        1568
 Warren Wu
 5 Dana Point Ct
 Redwood City, CA 94065



 Washington Gas
 PO Box 37747
 Philadelphia, PA 19101-5047



 Waste Management
 PO Box 13648
 Philadelphia, PA 19101



 Waverly Shivers
 2647 s 18th st apt #2
 Pittsburgh, PA 15210



 Wayne Sayer
 242 N. Tumbleweed Rd
 Bishop, CA 93514



 Wayne Campbell
 14 Ranch Dr
 Novato, CA 94945



 Wayne Jordan
 121 Capp St
 San Francisco, CA 94110



 Wayne King
 2330 Westgate Ave
 San Jose, CA 95125




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1529 of
                                        1568
 Wayne Pecchia
 12701 Burson Dr
 Manchaca, TX 78652



 Wayne West
 6626 E Venue Circle
 Mesa, AZ 85215



 Wayne Wittig
 1619 S Quincy St.
 Arlington, VA 22204



 Wayne Zieschang
 12501 Pecan School Rd
 Bartlett, TX 76511



 Weber Tractor Service
 867 2nd Avenue
 Redwood City, CA 94063



 Wei-Hwa Huang
 6370 Tucker Dr.
 San Jose, CA 95129



 WeiHwa Huang
 6370 Tucker Dr.
 San Jose, CA 95129



 Weldon Hall
 925 Harrison Street
 San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1530 of
                                        1568
 Weldon Johnson
 200 E. Van Buren
 Phoenix, AZ 85004



 Wendell Wiggins
 20805 Layton Ridge Drive
 Gaithersburg, MD 20882



 Wendy Ockers
 244 Berkley
 Dearborn, MI 48124



 Wendy Sample
 22055 Tenny
 Dearborn, MI 48124



 Wendy Scoggins
 2621 Oak Meadow Drive
 Round Rock, TX 78681



 Wendy Staub
 1424 Mason St.
 Dearborn, MI 48124



 Werner Garner
 1025 1st Street SE, #1108
 Washington, DC 20003



 Werner Graf
 219 Chester St
 MENLO PARK, CA 94025




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1531 of
                                        1568
 Wes McPheeters
 896 Pepper Tree Ct
 Santa Clara, CA 95051



 Wes Watson
 1641 Kassidy Pl
 Rohnert Park, CA 94928



 Wesley Burkman
 1543 Rose Lane
 Dearborn, MI 48126



 Wesley Campbell
 5307 Backtrail Dr.
 Austin, TX 78731



 Wesley Chang
 34352 Gadwall cmn
 Fremont, CA 94555



 Wesley Mason
 20620 Bellerive Dr
 Pflugerville, TX 78660



 Wesley Wiley
 610 Gennessee St.
 San Francisco, CA 94127



 Wesley Wortman
 9108 Flamepool Way
 Columbia, MD 21045




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1532 of
                                        1568
 Western Allied Mechanical,Inc
 1180 O'Brien Drive
 Menlo Park, CA 94025



 Weston Alvarez
 801 N Granada
 Chandler, AZ 85226



 Weston Norton
 3312 Cherrywood Rd
 Austin, TX 78722



 WeuHwa Huang
 6370 Tucker Dr.
 San Jose, CA 95129



 Whitfield Fowler
 3212 Rustic Drive
 Santa Clara, CA 95051



 Whitman Rogers
 2341 S. Compton
 St. Louis, MO 63104



 Whitney Hughes
 804 PALO DURO LOOP
 ROUND ROCK, TX 78664



 Whitney Kinservik
 1001 Hidden Ridge Ct
 Round Rock, TX 78681




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1533 of
                                        1568
 Wilbert Briggs
 1793 Paducah Court
 Woodbridge, VA 22191



 Wilfredo Sanchez
 785 Cole St.
 San Francisco, CA 94117



 Will Atwood
 307 Chestnut Ave.
 Palo Alto, CA 94306



 Will Brick
 2588 Columbia Road
 Berkley, MI 48072



 Will Cook
 13700 Sage Grouse Drive #2702
 Austin, TX 78729



 Will Hilzinger
 15724 Cadoz Dr
 Austin-Round Rock, TX 78728



 Will Morris
 660 4th st #339
 San Francisco, CA 94107



 Will Porter
 181 Ada Ave #23
 Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1534 of
                                        1568
 Will Prentice
 4053 Harlan St #304
 Emeryville, CA 94608



 Will Riddell-McKay
 315 E Del Ray Ave, Apt. A, A
 Alexandria, VA 22301



 Will Vatis
 1775 S Hayes St. Apt. B
 Arlington, VA 22202



 Will Vatis
 3207 Brush Drive
 Falls Church, VA 22042



 William Booth-Dunbar
 1003 Anza Dr
 Pacifica, CA 94044



 William Cao
 925 Eaton Way
 Sunnyvale, CA 94087



 William D. Baker
 P.O Box #1246
 San Jose, CA 95100



 William Graves
 332 East William St #202
 Ann Arbor, MI 48104




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1535 of
                                        1568
 William Said
 1117 10th St NW Unit 512
 Washington, DC 20001



 William Abernathy
 15436 Eagle Tavern Lane
 Centreville, VA 20120



 William Andrew Ellis
 10066 pasadena ave apt c
 cupertino, CA 95014



 William Arnold
 118 N. Wycoff Ave.
 Bremerton, WA 98312



 William Balderrama
 1616 Highland Way
 Brentwood, CA 94513



 William Bozgan
 111 Hampshire Ct.
 Dearborn, MI 48124



 William Brick
 2588 Columbia Road
 Berkley, MI 48072



 William Brick
 2588 Columbia Road
 Berkeley, MI 48072




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1536 of
                                        1568
 William C. Last, Jr. Esq. Last & Faoro
 520 South El Camino Real, Suite 430
 San Mateo, CA 94402



 William Carmichael
 4510 n 12th ave
 phoenix, AZ 85013



 William Carrier
 17323 Sandy Knoll Drive
 Olney, MD 20832



 William Cox
 6649 Lynndale Dr
 Raleigh, NC 27612



 William Craig
 1830 Nugget Dr
 Lake Havasu City, AZ 86404



 William Dale
 142 N Milpitas Blvd. #264
 Milpitas, CA 95035



 William Daniel Klemt
 1349 East Capital St SE, Unit B
 Washington, DC 20003



 William Dickinson
 310 E glendale ave
 alexandria, VA 22301




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1537 of
                                        1568
 William Douglas Wester
 4317 Verdigris Circle
 San Jose, CA 95134



 William Duckwall
 707 Graham Hill Rd
 Santa Cruz, CA 95060



 William Elwell
 119 Star View
 Cranberry Township, PA 16066



 William Falconer
 560 E. Philadelphia
 Detroit, MI 48202



 William Falk-Wallace
 905 West End Ave
 New York, NY 10025



 William Fitzgerald
 1530 Robin Hood Ct.
 St. Louis, MO 63122



 William Floyd
 2206 Klattenhoff Dr
 Austin, TX 78728



 William Francis
 555 De Haro St #120
 San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1538 of
                                        1568
 William Francois
 2437 Terova Dr
 Troy, MI 48085



 William Ghauri
 7724 Lee Ave
 Alexandria, VA 22308



 William Ghuari
 7724 Lee Ave
 Alexandria, VA 22308



 William Gilmore
 34 Grove St. #1
 New York, NY 10014



 William Gilmore
 34 Grove St #1
 New York, NY 10014



 WILLIAM GOLDKAMP
 10 HORTUS COURT
 ST.LOUIS, MO 63110



 William Grant
 2336 E. Inglewood St
 mesa, AZ 85213



 William Heil
 310 Holiday Dr
 PGH, PA 15237




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1539 of
                                        1568
 William Hendrix
 1111 belle pre way, 709
 alexandria, VA 22314



 William J. Wanagaitis and Natalie A. Chu
 P.O. Box 620689
 Woodside, CA 94062



 William John Williams
 5315 Sierra Rd
 San Jose, CA 95132



 William Kingham
 19609 E. Emperor Blvd.
 Queen Creek, AZ 85142



 William Kinsley
 140 Butler Rd
 Princeton, NJ 08540



 William Klear
 231 Virginia Ave-PO 916
 Moss Beach, CA 94038



 William Klemt
 1349 E Capital St SE Unit B
 Washington, DC 20003



 William Klemt
 1349 E Capitol St SE,
 Unit B
 Washington, DC 20003




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1540 of
                                        1568
 William Kushner
 77 Buena Vista Terrace
 San Francisco, CA 94117



 William Lane
 3148 Westover Dr SE
 washington, DC 20020



 William Lo
 1600 Chula Vista Dr.
 Belmont, CA 94002



 William Long
 923 Cameron St
 Alexandria, VA 22314



 William Lumpkin
 6460 Oakman Blvd
 Detroit, MI 48228



 William Lynn
 2415 Arbor Dr
 Round Rock, TX 78681



 William Matthews
 2461 Thaddeus Dr
 Oakland, CA 94043



 William McGlynn
 31155 San Juan street
 Harrison Twp., MI 48045




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1541 of
                                        1568
 William McGowan
 4647 Pershing Pl
 St. Louis, MO 63108



 William McLeod
 333 Lexington St
 San Francisco, CA 94110



 William Merrill
 4822 Coleridge St.
 Pittsburgh, PA 15201



 William Miller
 2855 E Linda Court
 Gilbert, AZ 85234



 William Mince
 1300 Middle Ave
 Menlo Park, CA 94025



 William Morgan
 1579 Dominion Ave.
 Sunnyvale, CA 94087



 William Moskalik
 565 14th St. Apt #3
 San Francisco, CA 94103



 William Murphy
 PO Box 87902
 Phoenix, AZ 85080




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1542 of
                                        1568
 William New
 PO Box 620951
 Woodside, CA 94062-0951



 William Odell
 2332 Whittemore
 St. Louis, MO 63104



 William Ona
 529 Whittier St
 St. Louis, MO 63108



 William Palmer
 18780 Aspesi Drive
 Saratoga, CA 95070



 William Price
 2986 22nd St. APT #1
 San Francisco, CA 94110



 William Ruckman
 1567 Oak Canyon Dr
 San Jose, CA 95120



 William Scullin
 2461 Thaddeus Dr
 Mountain View, CA 94043



 William Shannon
 1005 Oglethorpe Ave.
 Pittsburgh, PA 15201




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1543 of
                                        1568
 William Sprowes
 4549 El Cajon Avenue
 Fremont, CA 94536



 William Stein
 2715 Ralston Ave
 Hillsborough, CA 94010



 William Sutton
 19520 Creekside Ct.
 Salinas, CA 93908



 William Tedeski
 421 Sharon Rd
 Moon, PA 15108



 William Thompson
 4856 Westmont Ave
 Campbell, CA 95008-5748



 William Thompson
 20827 Midway
 Southfield, MI 48075



 William Walker
 26058 Carol Ave.
 Franklin, MI 48025



 William Wanagaitis
 P.O. Box 620689
 Woodside, CA 94062




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1544 of
                                        1568
 William Ward
 601 Van Ness Ave Suite E-446
 San Francisco, CA 94102



 William Warnock
 5233 Wickliff Street
 Pittsburgh, PA 15201



 William WatermanSr
 5 Camino Vista Ct.
 Belmont, CA 94002



 William Webner
 3323 McPherson St
 Detroit, MI 48212



 William White
 16 E Manilla Avenue
 Pittsburgh, PA 15220



 William Wiley
 2385 S Dove St
 Alexandria, VA 22301



 William Willson
 5943 8th Road N
 Arlington, VA 22205



 William Woodfill
 550 Chapman Dr.
 Campbell, CA 95008




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1545 of
                                        1568
 William Woodruff
 970 Guerrero St.
 San Francisco, CA 94110



 Willie Gatling
 22669 Garrison APT 201
 Dearborn, MI 48124



 Willie Anderson
 2718 2nd St. SE
 Washington, DC 20032



 Willie Tang
 1419 w pueblo ave
 mesa, AZ 85202



 Willy Russell
 5612 Maxwelton road
 Oakland, CA 94618



 Wilson Chao
 60 Wilson Way Spc 93
 Milpitas, CA 95035



 Wilson Eng
 2486 Sherlock Dr
 San Jose, CA 95121



 Wilson Lee
 2200 22nd St
 San Francisco, CA 94107




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1546 of
                                        1568
 Wilson Rhodes
 602 Spirea Ct
 Chesterfield, VA 23236



 Windell Oskay
 1193 Redrock Ct.
 Sunnyvale, CA 94089



 Windstream Communication_V
 PO Box 9001013
 Louisville, KY 40290



 Wing Ho
 10126 Imperial Ave
 Cupertino, CA 95014



 Winnie Wong
 2816 wakefield drive
 belmont, CA 94002



 Winona Tong
 2663 Emerson St
 Palo Alto, CA 94306



 Winston Qi
 One MedImmune Way
 Gaithersburg, MD 20878



 Winston W Wyckoff
 315 Elm St.
 San Carlos, CA 94070-2214




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1547 of
                                        1568
 Winston Wyckoff
 315 Elm St.
 San Carlos, CA 94070-2214



 Winter Eastmond
 18905 Still Pond Rd
 Pflugerville, TX 78660



 Wittaya Buckley
 249 Los Gatos Blvd
 Los Gatos, CA 95030



 Wojciech Stryjewski
 2973 Freemont st
 Round Rock, TX 78681



 Wolf Dilworth
 8005 Bramble Bush Dr.
 Austin, TX 78747



 Wolfgang Heinle
 1591 Page Street #202
 San Francisco, CA 94117



 Woodson Martin
 580 Middlefield Road
 Atherton, CA 94027



 Woody Poulard
 10 Menahan Street, Apt 3L
 Brooklyn, NY 11221




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1548 of
                                        1568
 Woody Poulard
 10 Menahan St, APT 3L
 Brooklyn, NY 11221



 Woody Washington
 2010 Sugarbush Drive
 Charlotte, NC 28277



 Wut Htwe
 971 Gellert Blvd
 Daly City, CA 94105



 Wyatt Davenport
 14431 Kingston St.
 Oak Park, MI 48237



 Wyatt Davenport
 2481 Cummings
 Berkley, MI 48072



 Wylie Standage-Beier
 6831 S. 42nd place
 Phoenix, AZ 85042



 Wyn RobertsonIII
 33255 Lark Way
 Fremont, CA 94555



 Wyndham Robertson III
 33255 Lark Way
 Fremont, CA 94555




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1549 of
                                        1568
 Wyndham Robertson III and Maria Ana M. R
 33255 Lark Way
 Fremont, CA 94555



 Xander Bremer
 550 15th Street, Suite 37
 San Francisco, CA 94103



 Xander Mangulabnan
 30 Brooklyn Ave
 San Jose, CA 95128



 Xander Twombly
 2348 Rosita Ave
 Santa Clara, CA 95050



 Xavier Legros
 150 Crest Rd.
 Woodside, CA 94062



 Xavier Liggs
 1081 Springfield Dr
 Campbell, CA 95008



 Xavier Warren
 124 N. California St. #24
 Chandler, AZ 85225



 Xiaodan Liu
 312 Bowdoin St
 San Francisco, CA 94134




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1550 of
                                        1568
 Xiaohua Jiang
 1375 Stonegate Dr
 Alamo, CA 94507



 Xiaotian Yang
 639 Geary St. #413
 San Francisco, CA 94102



 Xiaoyi Ren
 3200 Hillview Ave
 Palo Alto, CA 94304



 Xinyi Du
 6323 S Rosebury Ave Apt 3E
 St. Louis, MO 63105



 Xinyi Wang
 1025 Thomas Jefferson Street NW Floor 6
 Washington, DC 20007



 Xochilt Guerrero
 721 Menlo Ave #B
 Menlo Park, CA 94025



 Xuan Commagere
 934 Baines St
 Palo Alto, CA 94303



 Xuhua Wang
 228 S. Bernardo Ave
 Sunnyvale, CA 94086




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1551 of
                                        1568
 Yacob Nigatu
 27200 Franklin Road
 Southfield, MI 48034



 Yael Shimoni
 5117 Kenesaw St
 College Park, MD 20740



 Yagmur Uyanik
 1511 9th Ave.
 San Francisco, CA 94122-3711



 Yakira Dixon
 814 Mission Street
 San Francisco, CA 94103



 Yakov Shkolnikov
 2255 Showers Dr, 331
 Mountain view, CA 94040



 Yale Thomas
 1560 Howard St
 San Francisco, CA 94103



 Yamen Hama
 4560 CONWELL DRIVE
 ANNANDALE, VA 22003



 Yana Malysheva
 1634 Wallace Ave
 San Francisco, CA 94124




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1552 of
                                        1568
 Yang Li
 4366 Forest Park Ave
 Saint Louis, MO 63108



 Yangene Chan
 2085 S Denise Dr
 Santa Clara, CA 95050



 YANIQUE MOORE
 810 JESSICA PL
 FT WASHINGTON, MD 20744



 Yaniv Ben-Zaken
 1137 Webster
 San Francisco, CA 94115



 Yara Kamali
 507 W 19th St
 Tempe, AZ 85281



 Yarden Harari
 399 S 5th Street, Apt. 1
 Brooklyn, NY 11211



 Yasemin Eskin
 PO Box 2425
 Cupertino, CA 95015



 YasminAdriana MullaCarrillo
 18690 Westview Dr
 Saratoga, CA 95070




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1553 of
                                        1568
 YASSER NEGRETE
 55 SAN GABRIEL AVE
 SAN FRANCISCO, CA 94112



 Yateendra Deshpande
 1857 Northwest Cir
 San Jose, CA 95131



 Yau-Gene Chan
 2085 Denuse Drive
 Santa Clara, CA 95050



 Yazdan Mantilla
 1847 Comstock Lane
 San Jose, CA 95124



 Yekaterina Kashperskaya
 1547 Palos Verdes Mall #159
 Walnut Creek, CA 94597



 Yeliz Karadayi
 754 The Alameda #3421
 San Jose, CA 95126



 Yi Zhang
 3119 Appleridge Dr
 Ann Arbor, MI 48103



 Yi He
 168 NMeramac Ave #400
 St. Louis, MO 63105




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1554 of
                                        1568
 Yian Cheng
 185 Estancia Dr Unit 146
 San Jose, CA 95134



 Yicheng Zhu
 1130 Manzano Way
 san jose, CA 94089



 Yilmaz Akyondem
 1428 Corona Dr
 Austin, TX 78723



 Ying Cao
 3095 Rubino Circle
 San Jose, CA 95125



 Ying Khong
 1343 W Roadrunner Dr
 Chandler, AZ 85286



 Yingwei Zhang
 1115 St. Joseph Ave.
 Los Altos, CA 94024



 Yizhu Gu
 6901 Lynn Way, Suite 310
 Pittsburgh, PA 15206



 Yolanda Curry
 16884 Griggs
 Detroit, MI 48221




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1555 of
                                        1568
 Yolanda Guerra
 276 North 3rd St Apt D
 San Jose, CA 95112



 Yolanda Tapia
 3485 East Hills Drive
 San Jose, CA 95129



 Yona Cloonan
 4336 Glen Lytle Rd
 Pittsburgh, PA 15217



 Yongxin Yuan
 1708 Via Flores Ct
 San Jose, CA 95132



 Yoo hsiu Yeh
 198 easy st.
 mountain view, CA 94043



 Yoon-Jung Kim
 4970 Walking Stick Rd APT K
 Ellicott City, MD 21043



 Yossi Ben Abu
 542 Brannan #309
 San Francisco, CA 94107



 Yossi Wolfe
 1340 Lincoln Place
 Brookyln, NY 11213




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1556 of
                                        1568
 YoungMi Pak
 10 Avenida Dr.
 Berkeley, CA 94708



 Yousef Alkandari
 621 S. Roosevelt
 Tempe, AZ 85281



 Yousif Ahmed
 9705 Forest Grove Dr
 Silver Spring, MD 20910



 Ysabel Yow
 945 Taraval
 San Francisco, CA 94116



 Yuchen Zhao
 1949 E. University Dr
 Apt 3026C
 Tempe, AZ 85281



 Yufei Yang
 1269 Lakeside Dr, Apt 2105
 Sunnyvale, CA 94085



 Yuhang Chen
 617 Moscow Street
 San Francisco, CA 94112



 Yuki Nishida
 1045 Linda Vista Ave.
 Mountain View, CA 94043




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1557 of
                                        1568
 Yuki Uema
 1811 E Apache Blvd
 Apt A2001
 Tempe, AZ 85281



 Yukihito Saiki
 2210 Villanova Rd
 San Jose, CA 95130



 Yukun Yuan
 961 Holloway Ave.
 San Francisco, CA 94132



 Yumirle Turmelle
 4526 Tower Grove Pl
 St. Louis, MO 63110



 YunHo Lee
 2620 Lotus St
 Pleasanton, CA 94588



 yuriy tolstykh
 3220 Yucca Ave, #8
 San Jose, CA 95124



 Yvonne Fox
 707 Concord Ave
 San Jose, CA 95128



 Zac Nelson
 6533 E Jefferson apt 603
 Detroit, MI 48207




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1558 of
                                        1568
 Zach Heineman
 121 Capp St
 San Francisco, CA 94110



 Zach Morriss
 2326 mission st
 San Francisco, CA 94110



 Zach Purser
 13201 Old Creedmoor Rd
 Raleigh, NC 27613



 Zach Richardson
 300 Bowie St #3006
 Austin, TX 78703



 Zach steinheiser
 2945 Rosa Parks
 Detroit, MI 48216



 Zach Swauger
 1500 E Gary Dr
 Chandler, AZ 85225



 Zach Velky
 3571 Far West Blvd #134
 Austin, TX 78731



 Zachariah pavitt
 3317 mission st.
 san francisco, CA 94110




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1559 of
                                        1568
 Zacharjah Rivenburgh
 6121 R Colby St
 Mesa, AZ 85205



 Zachary Beller
 4949 West Pine Blve
 St Louis, MO 63108



 Zachary Aardahl
 2304 Huntington Station Ct.
 Alexandria, VA 22303



 Zachary Batts
 1445 Wightman Street
 Pittsburgh, PA 15217



 Zachary Becker
 1270 Cedar St
 Palo Alto, CA 94301



 Zachary Bundy
 1614 e. Hudson Dr.
 Tempe, AZ 85281



 Zachary Bursi
 6411 S. River Dr., Unit 55
 Tempe, AZ 85283



 Zachary ForbesRestifo
 108 Berwick Dr
 Pittsburgh, PA 15215




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1560 of
                                        1568
 Zachary Gurule
 16840 W Bristol ln
 Surprise, AZ 85374



 Zachary Hoyt
 531 9th St SE
 Washington, DC 20003



 Zachary Johnson
 3440 20th St. Apt. #111
 San Francisco, CA 94110



 Zachary Margolies
 3824 Dawson Street
 Pittsburgh, PA 15213



 Zachary Michaels
 4701 San Leandro Ave 2A
 Oakland, CA 94601



 zachary mitton
 635 minna
 San Francisco, CA 94103



 Zachary Rubin
 35 Wood St
 San Francisco, CA 94118



 Zachary Smith
 421 W. 3rd St #1805
 Austin, TX 78701




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1561 of
                                        1568
 Zachary Taffany
 111 N. Market St #420
 San Jose, CA 95113



 Zachary Waldman
 329 Morewood Avenue, Apt B
 Pittsburgh, PA 15213



 Zachery Howser
 29661 N 45th St
 Cave Creek, AZ 85331



 Zachery Whitlock
 625 Wiltshire Drive
 Hutto, TX 78634



 Zack Bright
 306 Fair Oaks Street
 San Francisco, CA 94110



 Zack platt
 785 la para
 palo alto, CA 94306



 Zack Seeger
 103 Lehman Ln
 Bastrop, TX 78602



 Zack Silverman
 6903 W Laredo St
 Chandler, AZ 85226




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1562 of
                                        1568
 Zackery Opheim
 1390 Creekside Dr. Apt 70
 Oklahoma City, OK 73167



 Zade Ramsey
 5112 Clinton Rd
 Alexandria, VA 22312



 Zahava Zuniga
 1840 Alford Ave.
 Los Altos, CA 94024



 Zak Jarvis
 436 Inverness Drive
 Pacifica, CA 94044



 Zaki Mahomed
 550 Battery St., Apt 813
 San Francisco, CA 94111



 Zakkee Moghul
 1870 Canterbury Ct
 Bloomfield Hills, MI 48302



 Zander Pantelick
 2111 Leavenworth Street
 San Francisco, CA 94133



 Zane Hagler
 2709 Corabella
 CP, TX 78613




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1563 of
                                        1568
 Zane Lewin
 3720 Eagles Nest St
 Round Rock, TX 78665



 Zane McCarthy
 8317 Canola Bend
 Austin, TX 78729



 Zavier Alexander
 805 Leavenworth #704
 San Jose, CA 95113



 Zaw Aung
 404 El Dorado Drive
 Daly City, CA 94015



 Zebra Butt
 800 Republic Dr.
 Allen Park, MI 48101



 Zechariah Caires
 332 north 9th street
 San Jose, CA 95112



 Zeev Kirsh
 347 west 57th street 31a
 New York, NY 10019



 Zeineb Alieva
 9906 Hundred Oaks Cir, Unit A
 Austin, TX 78750




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1564 of
                                        1568
 Zeke Harris
 1 Hollywood Ct
 San Francisco, CA 94112



 Zelia Sims
 1095 Santa Cruz Ave. #1
 Menlo Park, CA 94025



 Zhbin Gary Zhang
 1408 Nighthawk Dr
 Santa Rosa, CA 95409



 Zhen Belleville
 1708 Via Flores Ct
 San Jose, CA 95132



 Zheng Xu
 1600 S Joyce St
 Arlington, VA 22202



 Zi Deng
 3459 Tanager Circle
 Concord, CA 94520



 Ziba Kellum
 5323 Middleton Rd.
 Durham, NC 27713



 Zig Matyskiewicz
 3477 Ramsino Dr.
 San Jose, CA 95127




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1565 of
                                        1568
 Zion Young
 3531 Alden Way Apt 5
 San Jose, CA 95117



 Ziona Bates
 4735 Hersand Ct
 Woodbridge, VA 22193



 Zishan Huq
 7 Gull Court
 American Canyon, CA 94503



 Ziv Paz
 4054 Crawford Circle
 San Jose, CA 95124



 Zobia Khan
 81 9th st.
 Apt #202
 San Francisco, CA 94103



 Zoe Davis
 48 Langton St. #2
 San Francisco, CA 94103



 Zoe Merrell
 128 Braddock rd
 Pittsburgh, PA 15221



 Zoheir Alradiedeh
 2061 second street pike
 Newtown, PA 18940




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1566 of
                                        1568
 Zoltan Horvath
 1249 Martin Ave
 San Jose, CA 95126



 Zonker Harris
 42326 Gatewood St
 Fremont, CA 94538



 Zourab Bebia
 4400 E West Hwy Apt 331
 Bethesda, MD 20814-4502



 zourab bebia
 4400 east west hwy, apt.331
 bethesda, MD 20814




Case: 18-50398   Doc# 1   Filed: 02/26/18 Entered: 02/26/18 17:48:40   Page 1567 of
                                        1568
                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      TechShop, Inc.                                                                                 Case No.
                                                                                   Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for TechShop, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 February 26, 2018                                                     /s/ Matthew D. Metzger
 Date                                                                  Matthew D. Metzger 240437
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for TechShop, Inc.
                                                                       Belvedere Legal, PC
                                                                       1777 Borel Place, Suite 314
                                                                       San Mateo, CA 94402
                                                                       415-513-5980 Fax:415-513-5985
                                                                       info@belvederelegal.com




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
           Case: 18-50398                    Doc# 1            Filed: 02/26/18 Entered: 02/26/18 17:48:40                 Page 1568 of
                                                                             1568
